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                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLORADO

    Civil Action No.: 19-CV-874

    WARNER RECORDS INC., ATLANTIC RECORDING CORPORATION, BAD BOY
    RECORDS LLC, ELEKTRA ENTERTAINMENT GROUP INC., FUELED BY RAMEN
    LLC, LAVA RECORDS LLC, MAVERICK RECORDING COMPANY, NONESUCH
    RECORDS INC., THE ALL BLACKS U.S.A., INC., WARNER MUSIC INC., WARNER
    RECORDS/SIRE VENTURES LLC, WEA INTERNATIONAL INC., WARNER
    CHAPPELL MUSIC, INC., WARNER-TAMERLANE PUBLISHING CORP., W
    CHAPPELL MUSIC CORP. D/B/A WC MUSIC CORP., W.C.M. MUSIC CORP.,
    UNICHAPPELL MUSIC INC., RIGHTSONG MUSIC INC., COTILLION MUSIC, INC.,
    INTERSONG U.S.A., INC., CHAPPELL & CO. INC., SONY MUSIC ENTERTAINMENT,
    ARISTA MUSIC, ARISTA RECORDS LLC, LAFACE RECORDS LLC, PROVIDENT
    LABEL GROUP, LLC, SONY MUSIC ENTERTAINMENT US LATIN, THE CENTURY
    FAMILY, INC., VOLCANO ENTERTAINMENT III, LLC, ZOMBA RECORDINGS LLC,
    SONY/ATV MUSIC PUBLISHING LLC, EMI AL GALLICO MUSIC CORP., EMI
    ALGEE MUSIC CORP., EMI APRIL MUSIC INC., EMI BLACKWOOD MUSIC INC.,
    COLGEMS-EMI MUSIC INC., EMI CONSORTIUM MUSIC PUBLISHING INC. D/B/A
    EMI FULL KEEL MUSIC, EMI CONSORTIUM SONGS, INC., INDIVIDUALLY AND
    D/B/A EMI LONGITUDE MUSIC, EMI ENTERTAINMENT WORLD INC. D/B/A EMI
    FORAY MUSIC, EMI JEMAXAL MUSIC INC., EMI FEIST CATALOG INC., EMI
    MILLER CATALOG INC., EMI MILLS MUSIC, INC., EMI UNART CATALOG INC.,
    EMI U CATALOG INC., FAMOUS MUSIC LLC, JOBETE MUSIC CO. INC., STONE
    AGATE MUSIC, SCREEN GEMS-EMI MUSIC INC., STONE DIAMOND MUSIC CORP.,
    UMG RECORDINGS, INC., CAPITOL RECORDS, LLC, UNIVERSAL MUSIC CORP.,
    UNIVERSAL MUSIC – MGB NA LLC, UNIVERSAL MUSIC PUBLISHING INC.,
    UNIVERSAL MUSIC PUBLISHING AB, UNIVERSAL MUSIC PUBLISHING LIMITED,
    UNIVERSAL MUSIC PUBLISHING MGB LIMITED, UNIVERSAL MUSIC – Z TUNES
    LLC, UNIVERSAL/ISLAND MUSIC LIMITED, UNIVERSAL/MCA MUSIC LIMITED,
    UNIVERSAL/MCA MUSIC PUBLISHING PTY. LIMITED, MUSIC CORPORATION OF
    AMERICA, INC., MUSIK EDITION DISCOTON GMBH, POLYGRAM PUBLISHING,
    INC., AND SONGS OF UNIVERSAL, INC.

                 Plaintiffs,

          v.

    CHARTER COMMUNICATIONS, INC.

                 Defendant.


                   FIRST AMENDED COMPLAINT AND JURY DEMAND
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           Plaintiffs Warner Records Inc., Atlantic Recording Corporation, Bad Boy Records LLC,

    Elektra Entertainment Group Inc., Fueled By Ramen LLC, Lava Records LLC, Maverick

    Recording Company, Nonesuch Records Inc., The All Blacks U.S.A., Inc., Warner Music Inc.,

    Warner Records/SIRE Ventures LLC, WEA International Inc., Warner Chappell Music, Inc.,

    Warner-Tamerlane Publishing Corp., W Chappell Music Corp. d/b/a WC Music Corp., W.C.M.

    Music Corp., Unichappell Music Inc., Rightsong Music Inc., Cotillion Music, Inc., Intersong

    U.S.A., Inc., and Chappell & Co. Inc. (collectively, the “Warner Plaintiffs”); and Plaintiffs Sony

    Music Entertainment, Arista Music, Arista Records LLC, LaFace Records LLC, Provident Label

    Group, LLC, Sony Music Entertainment US Latin, The Century Family, Inc., Volcano

    Entertainment III, LLC, and Zomba Recordings LLC (collectively, the “Sony Music Plaintiffs”);

    and Plaintiffs Sony/ATV Music Publishing LLC, EMI Al Gallico Music Corp., EMI Algee Music

    Corp., EMI April Music Inc., EMI Blackwood Music Inc., Colgems-EMI Music Inc., EMI

    Consortium Music Publishing Inc. d/b/a EMI Full Keel Music, EMI Consortium Songs, Inc.,

    individually and d/b/a EMI Longitude Music, EMI Entertainment World Inc. d/b/a EMI Foray

    Music, EMI Jemaxal Music Inc., EMI Feist Catalog Inc., EMI Miller Catalog Inc., EMI Mills

    Music, Inc., EMI Unart Catalog Inc., EMI U Catalog Inc., Famous Music LLC, Jobete Music Co.

    Inc., Stone Agate Music, Screen Gems-EMI Music Inc., and Stone Diamond Music Corp.

    (collectively, the “Sony/ATV and EMI Plaintiffs”); and UMG Recordings, Inc., Capitol Records,

    LLC, Universal Music Corp., Universal Music – MGB NA LLC, Universal Music Publishing Inc.,

    Universal Music Publishing AB, Universal Music Publishing Limited, Universal Music Publishing

    MGB Limited, Universal Music – Z Tunes LLC, Universal/Island Music Limited, Universal/MCA

    Music Limited, Universal/MCA Music Publishing Pty. Limited, Music Corporation of America,

    Inc., Musik Edition Discoton GmbH, PolyGram Publishing, Inc., and Songs of Universal, Inc.



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    (collectively, the “Universal Plaintiffs,” and with the Warner Plaintiffs, Sony Music Plaintiffs, and

    Sony/ATV and EMI Plaintiffs, the “Plaintiffs”), for their Complaint against defendant Charter

    Communications, Inc. (“Charter” or “Defendant”), allege, on personal knowledge as to matters

    relating to themselves and on information and belief as to all other matters, as set forth below:



                                            INTRODUCTION

           1.      Plaintiffs are record companies that produce, manufacture, distribute, sell, and

    license commercial sound recordings, and music publishers that acquire, license, and otherwise

    exploit musical compositions, both in the United States and internationally. Through their

    enormous investments of money, time, and exceptional creative efforts, Plaintiffs and their

    representative recording artists and songwriters have developed and marketed some of the world’s

    most famous and popular music. Plaintiffs own and/or control exclusive rights to the copyrights

    to some of the most famous sound recordings performed by classic artists and contemporary

    superstars, as well as the copyrights to large catalogs of iconic musical compositions and modern

    hit songs. Their investments and creative efforts have shaped the musical landscape as we know

    it, both in the United States and around the world.

           2.      Charter is one of the largest Internet service providers (“ISPs”) in the country. It

    markets and sells high-speed Internet services to consumers nationwide. Through the provision of

    those services, Charter has knowingly contributed to, and reaped substantial profits from, massive

    copyright infringement committed by thousands of its subscribers, causing great harm to Plaintiffs,

    their recording artists and songwriters, and others whose livelihoods depend upon the lawful

    acquisition of music. Charter’s contribution to its subscribers’ infringement is both willful and

    extensive, and renders Charter equally liable. Indeed, for years, Charter deliberately refused to




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    take reasonable measures to curb customers from using its Internet services to infringe on others’

    copyrights, including Plaintiffs’ copyrights—even after Charter became aware of particular

    customers engaging in specific, repeated acts of infringement. Plaintiffs’ representatives (as well

    as others) sent hundreds of thousands of statutory infringement notices to Charter, under penalty

    of perjury. Those notices advised Charter of its subscribers’ blatant and systematic use of Charter’s

    Internet service to illegally download, copy, and distribute Plaintiffs’ copyrighted music through

    BitTorrent and other online file-sharing services. Rather than working with Plaintiffs to curb this

    massive infringement, Charter did nothing, choosing to prioritize its own profits over its legal

    obligations.

           3.       It is well-established law that a party may not assist someone it knows is engaging

    in copyright infringement. Further, when a party has a direct financial interest in the infringing

    activity, and the right and practical ability to stop or limit it, that party must act. Ignoring and

    flouting those basic responsibilities, Charter deliberately turned a blind eye to its subscribers’

    infringement. Charter failed to terminate or otherwise take meaningful action against the accounts

    of repeat infringers of which it was aware. Despite its professed commitment to taking action

    against repeat offenders, Charter routinely thumbed its nose at Plaintiffs by continuing to provide

    service to subscribers it knew to be serially infringing copyrighted sound recordings and musical

    compositions. In reality, Charter operated its service as an attractive tool and safe haven for

    infringement.

           4.       Charter has derived an obvious and direct financial benefit from its customers’

    infringement. The unlimited ability to download and distribute Plaintiffs’ works through Charter’s

    service has served as a draw for Charter to attract, retain, and charge higher fees to subscribers.

    By failing to terminate the accounts of specific recidivist infringers known to Charter, Charter




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    obtained a direct financial benefit from its subscribers’ continuing infringing activity. That

    financial benefit included improper revenue that it would not have received had it appropriately

    shut down those accounts. Charter decided not to terminate infringers because it wanted to

    maintain the revenue that is generated from their accounts.

           5.      The infringing activity of Charter’s subscribers that is the subject of Plaintiffs’

    claims, and for which Charter is secondarily liable, occurred after Charter received multiple

    notices of each subscriber’s infringing activity. Specifically, Plaintiffs seek relief for claims that

    accrued between March 24, 2013 and May 17, 2016 for infringement of works by Charter

    subscribers after those particular subscribers were identified to Charter in multiple infringement

    notices. 1 These claims have been preserved through tolling agreements entered into with Charter

    in March, April, and June 2016, as applicable.

                                         NATURE OF ACTION

           6.     This is a civil action in which Plaintiffs seek damages for copyright infringement

    under the Copyright Act, 17 U.S.C. § 101, et seq.

           7.     This Court has original subject matter jurisdiction over Plaintiffs’ copyright

    infringement claims pursuant to 28 U.S.C. §§ 1331 and 1338(a).

           8.     This Court has personal jurisdiction over Charter pursuant to Colo. Rev. Stat. § 13-

    1-124. Charter continuously and systematically transacts business in Colorado and maintains

    sizable operations in the state—employing thousands of people, and providing an array of services

    to customers, within the state. In addition to its physical presence in the state, Charter has




    1
     Specifically, the Universal Plaintiffs seek relief for claims that accrued on or after March 24,
    2013; the Sony Music Plaintiffs and Warner Plaintiffs seek relief for claims that accrued on or
    after April 18, 2013; and the Sony/ATV and EMI Plaintiffs seek relief for claims that accrued on
    or after June 15, 2013.


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    deliberately exploited the Colorado market, establishing significant network management

    operations in this district, selling its services to over 100,000 Colorado customers, and advertising

    its “blazing-fast Internet speeds” to potential subscribers in the state.

           9.     Moreover, Charter has engaged in substantial activities purposefully directed at

    Colorado from which Plaintiffs’ claims arise, including providing Internet service to Colorado

    subscribers who used Charter’s network to directly and repeatedly infringe Plaintiffs’ copyrights;

    continuing to provide Internet service to, and failing to suspend or terminate the accounts of,

    Colorado customers, even after receiving multiple notices of their infringing activity; advertising

    its high-speed Internet services in Colorado to serve as a draw for subscribers who sought faster

    download speeds to facilitate their direct and repeated infringements; employing individuals within

    Colorado with responsibility for overseeing its network and subscriber use policies; and/or

    responding or failing to respond to repeated notices of copyright infringement directed to

    infringing subscribers located in the state.

           10.    Much of the misconduct alleged in this Complaint arises directly from Charter’s

    forum-directed activities—specifically, repeated acts of infringement by specific subscribers using

    Charter’s network; Charter’s awareness of those activities; Charter’s receipt of and failure to act

    in response to Plaintiffs’ notices of infringement; and Charter’s failure to take reasonable measures

    to terminate repeat infringers.

           11.     Many of the acts complained of herein occurred in Colorado and in this judicial

    district. For example, a number of egregious repeat infringers who are Charter subscribers reside

    in and infringed Plaintiffs’ rights in Colorado and this judicial district, using Internet service

    provided by Charter in the state. Indeed, Plaintiffs have identified over a hundred Charter

    subscribers who appear to reside in Colorado and who have repeatedly infringed Plaintiffs’




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    copyrighted works. For example, one Charter subscriber believed to be located in Grand Junction,

    Colorado, with the IP address 72.175.144.149 at the time of the infringing conduct, was identified

    in infringement notices 63 times between June 26, 2014 and September 28, 2014. Another Charter

    subscriber believed to be located in Grand Junction, Colorado, with the IP address 98.127.105.135

    at the time of infringement, was identified in infringement notices 54 times between May 29, 2014

    and March 29, 2015. Yet another Charter subscriber believed to be located in Montrose, Colorado,

    with the IP address 184.167.217.19 at the time of infringement, was identified in infringement

    notices 53 times between September 11, 2014 and January 12, 2015. Still another Charter

    subscriber believed to be located in Canon City, Colorado, with the IP address 72.174.161.193 at

    the time of infringement, was identified in infringement notices 50 times between October 1, 2014

    and March 29, 2015.

             12.   Venue is proper in this district under 28 U.S.C. §§ 1391(b) and (c), and 1400(a). A

    substantial part of the acts of infringement, and other events and omissions complained of herein,

    occur or have occurred in this district, and this is a district in which Charter resides or may be

    found.

                        PLAINTIFFS AND THEIR COPYRIGHTED MUSIC

             13.   Plaintiffs are the copyright owners of, and/or control exclusive rights with respect

    to, millions of sound recordings (i.e., recorded music) and/or musical compositions (i.e., the songs

    embodied in sound recordings), including by some of the most prolific and well-known

    songwriters and recording artists throughout the world.

             14.   Plaintiff Warner Records Inc. (f/k/a Warner Bros. Records Inc.) (“WRI”) is a

    Delaware corporation with its principal place of business at 777 South Santa Fe Avenue, Los

    Angeles, California 90021.




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           15.    Plaintiff Atlantic Recording Corporation (“Atlantic”) is a Delaware corporation

    with its principal place of business at 1633 Broadway, New York, New York 10019.

           16.    Plaintiff Bad Boy Records LLC (“Bad Boy”) is a Delaware Limited Liability

    Company with its principal place of business at 1633 Broadway, New York, New York 10019.

           17.    Plaintiff Elektra Entertainment Group Inc. (“Elektra”) is a Delaware corporation

    with its principal place of business at 1633 Broadway, New York, New York 10019.

           18.    Plaintiff Fueled By Ramen LLC (“FBR”) is a Delaware Limited Liability Company

    with its principal place of business at 1633 Broadway, New York, New York 10019.

           19.    Plaintiff Lava Records LLC (“Lava”) is a Delaware Limited Liability Company

    with its principal place of business at 1633 Broadway, New York, New York 10019.

           20.    Plaintiff Maverick Recording Company (“Maverick”) is a California general

    partnership, with its principal place of business at 777 South Santa Fe Avenue, Los Angeles,

    California 90021.

           21.    Plaintiff Nonesuch Records Inc. (“Nonesuch”) is a Delaware corporation with its

    principal place of business at 1633 Broadway, New York, New York 10019.

           22.    Plaintiff The All Blacks U.S.A., Inc. (“The All Blacks”) is a Delaware corporation

    with its principal place of business at 1633 Broadway, New York, New York 10019.

           23.    Plaintiff Warner Music Inc. (“Warner Music”) is a Delaware corporation with its

    principal place of business at 1633 Broadway, New York, New York 10019.

           24.    Plaintiff Warner Records/SIRE Ventures LLC (“Warner Records/SIRE”) is a

    Delaware Limited Liability Company with its principal place of business at 777 South Santa Fe

    Avenue, Los Angeles, California 90021.

           25.    Plaintiff WEA International Inc. (“WEA”) is a Delaware corporation with its




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    principal place of business at 1633 Broadway, New York, New York 10019.

           26.    Plaintiff Sony Music Entertainment (“Sony”) is a Delaware general partnership, the

    partners of which are citizens of New York and Delaware. Sony’s headquarters and principal place

    of business are located at 25 Madison Avenue, New York, New York 10010.

           27.    Plaintiff Arista Music (“Arista Music”) is a New York partnership with its principal

    place of business at 25 Madison Avenue, New York, New York 10010.

           28.    Plaintiff Arista Records LLC (“Arista Records”) is a Delaware Limited Liability

    Company with its principal place of business at 25 Madison Avenue, New York, New York 10010.

           29.    Plaintiff LaFace Records LLC (“LaFace”) is a Delaware Limited Liability

    Company with its principal place of business at 25 Madison Avenue, New York, New York 10010.

           30.    Plaintiff Provident Label Group, LLC (“Provident”) is a Delaware Limited

    Liability Company with its principal place of business at 741 Cool Springs Boulevard, Franklin,

    Tennessee 37067.

           31.    Plaintiff Sony Music Entertainment US Latin (“Sony Latin”) is a Delaware Limited

    Liability Company with its principal place of business at 3390 Mary Street, Suite 220, Coconut

    Grove, Florida 33133.

           32.    Plaintiff The Century Family, Inc. (“Century”) is a California corporation with its

    principal place of business at 12706 West Washington Boulevard, Culver City, California 90066.

           33.    Plaintiff Volcano Entertainment III, LLC (“Volcano”) is a Delaware Limited

    Liability Company with its principal place of business at 25 Madison Avenue, New York, New

    York 10010.

           34.    Plaintiff Zomba Recording LLC (“Zomba”) is a Delaware Limited Liability

    Company with its principal place of business at 25 Madison Avenue, New York, New York 10010.




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             35.   Plaintiff UMG Recordings, Inc. (“UMG”) is a Delaware corporation with its

  principal place of business at 2220 Colorado Avenue, Santa Monica, California 90404.

             36.   Plaintiff Capitol Records, LLC (“Capitol Records”) is Delaware Limited Liability

  Company with its principal place of business at 1750 N. Vine Street, Los Angeles, California

  90068.

             37.   Plaintiffs WRI, Atlantic, Bad Boy, Elektra, FBR, Lava, Maverick, Nonesuch, The

  All Blacks, Warner Music, Warner Records/SIRE, WEA, Sony, Arista Music, Arista Records,

  LaFace, Provident, Sony Latin, Century, Volcano, Zomba, UMG, and Capitol Records are referred

  to herein collectively as the “Record Company Plaintiffs.”

             38.   The Record Company Plaintiffs are some of the largest record companies in the

  world, engaged in the business of producing, manufacturing, distributing, selling, licensing, and

  otherwise exploiting sound recordings in the United States through various media. They invest

  substantial money, time, effort, and talent in creating, advertising, promoting, selling, and licensing

  unique and valuable sound recordings embodying the performances of their exclusive recording

  artists.

             39.   Plaintiff Warner Chappell Music, Inc. (f/k/a Warner/Chappell Music, Inc.)

  (“Warner Chappell”) is a Delaware corporation with its principal place of business at 777 South

  Santa Fe Avenue, Los Angeles, California 90021.

             40.   Plaintiff Warner-Tamerlane Publishing Corp. (“Warner-Tamerlane”) is a

  California corporation with its principal place of business at 777 South Santa Fe Avenue, Los

  Angeles, California 90021.

             41.   Plaintiff W Chappell Music Corp. d/b/a WC Music Corp. (f/k/a WB Music Corp).

  (“WC Music”) is a California corporation with its principal place of business at 777 South Santa




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  Fe Avenue, Los Angeles, California 90021.

         42.     Plaintiff W.C.M. Music Corp. (f/k/a W.B.M. Music Corp.) (“W.C.M.”) is a

  Delaware corporation with its principal place of business at 777 South Santa Fe Avenue, Los

  Angeles, California 90021.

         43.     Plaintiff Unichappell Music Inc. (“Unichappell”) is a Delaware corporation with its

  principal place of business at 777 South Santa Fe Avenue, Los Angeles, California 90021.

         44.     Plaintiff Rightsong Music Inc. (“Rightsong Music”) is a Delaware corporation with

  its principal place of business at 777 South Santa Fe Avenue, Los Angeles, California 90021.

  Plaintiff Cotillion Music, Inc. (“Cotillion”) is a Delaware corporation with its principal place of

  business at 777 South Santa Fe Avenue, Los Angeles, California 90021.

         45.     Plaintiff Intersong U.S.A., Inc. (“Intersong”) is a Delaware corporation with its

  principal place of business at 777 South Santa Fe Avenue, Los Angeles, California 90021.

         46.     Chappell & Co. Inc. (“Chappell”) is a Delaware corporation with its principal place

  of business at 777 South Santa Fe Avenue, Los Angeles, California 90021.

         47.     Plaintiff Sony/ATV Music Publishing LLC (“Sony/ATV”) is a Delaware Limited

  Liability Company with its principal place of business at 25 Madison Avenue, New York, New

  York 10010.

         48.     Plaintiff EMI Al Gallico Music Corp. (“EMI Al Gallico”), an affiliate of

  Sony/ATV, is a Delaware corporation with its principal place of business at 25 Madison Avenue,

  New York, New York 10010.

         49.     Plaintiff EMI Algee Music Corp. (“EMI Algee”), an affiliate of Sony/ATV, is a

  Delaware corporation with its principal place of business at 25 Madison Avenue, New York, New

  York 10010.




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           50.   Plaintiff EMI April Music Inc. (“EMI April”), an affiliate of Sony/ATV, is a

  Connecticut corporation with its principal place of business at 25 Madison Avenue, New York,

  New York 10010.

           51.   Plaintiff EMI Blackwood Music Inc. (“EMI Blackwood”), an affiliate of

  Sony/ATV, is a Connecticut corporation with its principal place of business at 25 Madison

  Avenue, New York, New York 10010.

           52.   Plaintiff Colgems-EMI Music Inc. (“EMI Colgems”), an affiliate of Sony/ATV, is

  a Delaware corporation with its principal place of business at 25 Madison Avenue, New York,

  New York 10010.

           53.   Plaintiff EMI Consortium Music Publishing Inc. d/b/a EMI Full Keel Music (“EMI

  Full Keel”), an affiliate of Sony/ATV, is a New York corporation with its principal place of

  business at 25 Madison Avenue, New York, New York 10010.

           54.   Plaintiff EMI Consortium Songs, Inc., individually and d/b/a EMI Longitude Music

  (“EMI Longitude”), an affiliate of Sony/ATV, is a New York corporation with its principal place

  of business at 25 Madison Avenue, New York, New York 10010.

           55.   EMI Entertainment World Inc. d/b/a EMI Foray Music (“EMI Entertainment”), an

  affiliate of Sony/ATV, is a Delaware corporation with its principal place of business at 25 Madison

  Avenue, New York, New York 10010.

           56.   EMI Jemaxal Music Inc. (“EMI Jemaxal”), an affiliate of Sony/ATV, is a Delaware

  corporation with its principal place of business at 25 Madison Avenue, New York, New York

  10010.

           57.   Plaintiff EMI Feist Catalog Inc. (“EMI Feist”), an affiliate of Sony/ATV, is a New

  York corporation with its principal place of business at 25 Madison Avenue, New York, New York




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  10010.

           58.   Plaintiff EMI Miller Catalog Inc. (“EMI Miller”), an affiliate of Sony/ATV, is a

  New York corporation with its principal place of business at 25 Madison Avenue, New York, New

  York 10010.

           59.   Plaintiff EMI Mills Music, Inc. (“EMI Mills”), an affiliate of Sony/ATV, is a

  Delaware corporation with its principal place of business at 25 Madison Avenue, New York, New

  York 10010.

           60.   Plaintiff EMI Unart Catalog Inc. (“EMI Unart”), an affiliate of Sony/ATV, is a New

  York corporation with its principal place of business at 25 Madison Avenue, New York, New York

  10010.

           61.   Plaintiff EMI U Catalog Inc. (“EMI U”), an affiliate of Sony/ATV, is a New York

  corporation with its principal place of business at 25 Madison Avenue, New York, New York

  10010.

           62.   Plaintiff Famous Music LLC (“Famous Music”) is a Delaware Limited Liability

  Company with its principal place of business at 25 Madison Avenue, New York, New York 10010.

           63.   Plaintiff Jobete Music Co. Inc. (“Jobete”), an affiliate of Sony/ATV, is a Michigan

  corporation with its principal place of business at 25 Madison Avenue, New York, New York

  10010. Plaintiff Stone Agate Music (“Stone Agate”) is a division of Jobete.

           64.   Plaintiff Screen Gems-EMI Music Inc. (“Gems-EMI”), an affiliate of Sony/ATV,

  is a Delaware corporation with its principal place of business at 25 Madison Avenue, New York,

  New York 10010.

           65.   Plaintiff Stone Diamond Music Corp. (“Stone”), an affiliate of Sony/ATV, is a

  Michigan corporation with its principal place of business at 25 Madison Avenue, New York, New




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  York 10010.

         66.    Plaintiff Universal Music Corp. (“UMC”) is a California corporation with its

  principal place of business at 2100 Colorado Avenue, Santa Monica, California 90404.

         67.    Plaintiff Universal Music – MGB NA LLC (“MGB”) is a California Limited

  Liability Company with its principal place of business at 2100 Colorado Avenue, Santa Monica,

  California 90404.

         68.    Plaintiff Universal Music Publishing Inc. (“Universal Music Publishing”) is a

  California corporation with its principal place of business at 2100 Colorado Avenue, Santa

  Monica, California 90404.

         69.    Plaintiff Universal Music Publishing AB (“AB”) is a company organized under the

  laws of Sweden.

         70.    Plaintiff Universal Music Publishing Limited (“Publishing Limited”) is a company

  incorporated under the laws of England and Wales.

         71.    Plaintiff Universal Music Publishing MGB Limited (“MGB Limited”) is a

  company incorporated under the laws of England and Wales.

         72.    Plaintiff Universal Music – Z Tunes LLC (“Z Tunes”) is a California corporation

  with its principal place of business at 2100 Colorado Avenue, Santa Monica, California 90404.

         73.    Plaintiff Universal/Island Music Limited (“Island”) is a company incorporated

  under the laws of England and Wales.

         74.    Plaintiff Universal/MCA Music Limited (“MCA Limited”) is a company

  incorporated under the laws of England and Wales.

         75.    Plaintiff Universal/MCA Music Publishing Pty. Limited (“MCA Publishing

  Limited”) is a company organized under the laws of the Australia.




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         76.     Plaintiff Music Corporation of America, Inc. (“Music Corp.”) is a California

  corporation with its principal place of business at 2100 Colorado Avenue, Santa Monica,

  California 90404.

         77.     Plaintiff Musik Edition Discoton GmbH (“Musik Edition”) is a company

  incorporated under the laws of Germany.

         78.     Plaintiff Polygram Publishing, Inc. (“Polygram Publishing”) is a California

  corporation with its principal place of business at 2100 Colorado Avenue, Santa Monica,

  California 90404.

         79.     Plaintiff Songs of Universal, Inc. (“Songs of Universal”) is a California corporation

  with its principal place of business at 2100 Colorado Avenue, Santa Monica, California 90404.

         80.     Plaintiffs Warner Chappell, Warner-Tamerlane, WC Music, W.C.M., Unichappell,

  Rightsong Music, Cotillion, Intersong, Chappell, Sony/ATV, EMI Al Gallico, EMI Algee, EMI

  April, EMI Blackwood, EMI Colgems, EMI Full Keel, EMI Longitude, EMI Entertainment, EMI

  Jemaxal, EMI Feist, EMI Miller, EMI Mills, EMI Unart, EMI U, Famous Music, Jobete, Stone

  Agate, Gems-EMI, Stone, UMC, MGB, Universal Music Publishing, AB, Publishing Limited,

  MGB Limited, Z Tunes, Island, MCA Limited, MCA Publishing Limited, Music Corp., Musik

  Edition, Polygram Publishing, and Songs of Universal are referred to herein collectively as the

  “Music Publisher Plaintiffs.”

         81.     The Music Publisher Plaintiffs are leading music publishers engaged in the business

  of acquiring, owning, publishing, licensing, and otherwise exploiting copyrighted musical

  compositions. Each invests substantial money, time, effort, and talent to acquire, administer,

  publish, license, and otherwise exploit such copyrights, on its own behalf and on behalf of

  songwriters and others who have assigned exclusive copyright interests to the Music Publisher




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  Plaintiffs.

          82.    Plaintiffs own and/or control in whole or in part the copyrights and/or exclusive

  rights in innumerable popular sound recordings and musical compositions, including the sound

  recordings listed on Exhibit A and musical compositions listed on Exhibit B, both of which are

  illustrative and non-exhaustive. All of the sound recordings and musical compositions listed on

  Exhibits A and B have been registered with the U.S. Copyright Office.

                                CHARTER AND ITS ACTIVITIES

          83.    Defendant Charter Communications, Inc. is a Delaware corporation, with its

  principal place of business at 400 Atlantic Street, Stamford, Connecticut 06901. Charter also

  maintains substantial operations and offices in Colorado, including in Greenwood Village,

  Colorado.

          84.    Charter is one of the largest ISPs in the country. In 2015, Charter had more than 5

  million subscribers and today has more than 22 million subscribers. At all pertinent times,

  Charter’s customers, including those in Colorado, have paid substantial subscription fees for

  access to its high-speed Internet network, with Charter offering a tiered pricing structure whereby

  a subscriber can have even higher downloading speeds for a higher monthly fee.

          85.    Many of Charter’s customers are motivated to subscribe to Charter’s service

  because it allows them to download music and other copyrighted content—including unauthorized

  content—as efficiently as possible. Accordingly, in its consumer marketing material, including

  material directed to Colorado customers, Charter has touted how its service enables subscribers to

  download and upload large amounts of content at “blazing-fast Internet speeds.” Charter has told

  existing and prospective customers that its high-speed service enables subscribers to “download

  just about anything instantly,” and subscribers have the ability to “download 8 songs in 3 seconds.”




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  Charter has further told subscribers that its Internet service “has the speed you need for everything

  you do online.” In exchange for this service, Charter has charged its customers monthly fees

  ranging in price based on the speed of service.

          86.     At the same time, Charter has consistently and actively engaged in network

  management practices to suit its own purposes. This includes monitoring for, and taking action

  against, spam and other unwanted activity that might otherwise interfere with its provision of

  Internet service to its subscribers. But Charter has gone out of its way not to take action against

  subscribers engaging in repeated copyright infringement, for its own financial benefit and at the

  expense of the underlying owners and controllers of copyright interests, including Plaintiffs,

  ultimately forcing Plaintiffs to bring this litigation.

          87.     At all pertinent times, Charter knew that its subscribers routinely used its networks

  for illegally downloading and uploading copyrighted works, especially music. As described

  below, Plaintiffs repeatedly notified Charter that many of its subscribers were actively utilizing its

  service to infringe their works. Those notices gave Charter the specific identities of its infringing

  subscribers, referred to by their unique Internet Protocol (or “IP”) addresses.          Yet Charter

  persistently turned a blind eye to the massive infringement of Plaintiffs’ works occurring over its

  network. Charter condoned the illegal activity because it was popular with subscribers and acted

  as a draw to attract and retain new and existing subscribers. Charter’s customers, in turn,

  purchased more bandwidth and continued using Charter’s services to infringe Plaintiffs’

  copyrights. Charter undoubtedly recognized that if it terminated or otherwise prevented repeat

  infringer subscribers from using its service to infringe, or made it less attractive for such use,

  Charter would enroll fewer new subscribers, lose existing subscribers, and ultimately lose revenue.

  For those account holders and subscribers who wanted to download files illegally at faster speeds,




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  Charter obliged them in exchange for higher rates. In other words, the greater the bandwidth its

  subscribers required for pirating content, the more money Charter made.

                            THE GLOBAL P2P PIRACY PROBLEM

                                         General Landscape

         88.     While the digital age has brought many benefits, one notable exception is its

  facilitation of unprecedented online piracy of music and other copyrighted works. As the Supreme

  Court has recognized, the level of copyright infringement on the Internet is “staggering.” Metro-

  Goldwyn-Mayer Studios Inc. v. Grokster, Ltd., 545 U.S. 913, 923 (2005).

         89.     Use of peer-to-peer (“P2P”) distribution systems has dominated unauthorized

  downloading and distribution of copyrighted music. P2P is a generic term used to refer to a

  decentralized network of users whereby each Internet-connected participant (i.e., a “peer” or a

  “node”) can act as both a supplier and consumer of content files. Early P2P services, such as

  Napster and KaZaA, have been replaced by even more robust and efficient systems, most notably

  a protocol called “BitTorrent.” The online piracy committed via BitTorrent is stunning in nature,

  speed, and scope. Utilizing a BitTorrent client—essentially a tool that manages the uploading and

  downloading of files through BitTorrent technology—persons connected to the Internet can locate,

  access, and download copyrighted content from other peers in the blink of an eye. They download

  copyrighted music from other network users, usually total strangers, and end up with complete

  digital copies of any music they desire—including entire catalogues of music—without payment

  to copyright owners or creators.

          90.    BitTorrent is uniquely efficient in the way it facilitates illegal file transfers. On

   earlier P2P networks, a user wanting to download a music file would have to locate another

   Internet-connected peer with the desired file and download the entire file from that peer.




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   BitTorrent facilitates much faster downloading by breaking each file into pieces, allowing users

   to download different pieces of content simultaneously from different peers. At the same time,

   the system allows users to begin disseminating the copyrighted content before the complete file

   has even downloaded. This means that, at any given time, each user connected to the Internet can

   be both downloading and uploading different pieces of a file from, and to, multiple other users.

   Once a user has downloaded all the pieces, the file is automatically reassembled into its complete

   form and available for playback by the user. Needless to say, acquiring copyrighted music in this

   fashion eliminates the need to obtain it through legitimate channels and eliminates the

   requirement of paying a fee.

          91.    Not surprisingly, then, during the time period in which the claims in this action

   arose, BitTorrent was used widely as a vehicle to infringe content online. In a report from January

   2011, a survey conducted by the firm Envisional estimated that 11.4 percent of all Internet traffic

   involved the unauthorized distribution of non-pornographic copyrighted content via BitTorrent.

   In a report from September 24, 2013, another company, NetNames, estimated that 99.97 percent

   of non-pornographic files distributed via BitTorrent systems infringe copyrights. To illustrate, in

   one well-publicized incident in 2015, millions of individual BitTorrent users downloaded an

   episode of HBO’s “Game of Thrones” within just 24 hours of its airing.

            Plaintiffs’ Enforcement Activities and Charter’s Efforts to Thwart Them

         92.     Over the past two decades, as P2P piracy became widespread, music and other

  copyright owners have employed litigation and other means to attempt to curtail the massive theft

  of their copyrighted works. Charter has been keenly aware of those efforts and the use of its

  network for P2P piracy, including the specific identities of subscribers using its network to infringe

  Plaintiffs’ works.




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         93.     Indeed, Charter knew subscribers were using its network for such infringing

  activities as early as 2003. A number of record companies, including some of the Record Company

  Plaintiffs, initiated a multi-year effort to enforce their copyrights against persons using P2P

  systems to infringe copyrighted musical works directly. Because the copyright holders could only

  determine the unique IP addresses of an ISP’s infringing subscribers, but not their actual identities,

  they served subpoenas on Charter and other ISPs to obtain the infringing subscribers’ names and

  contact information.     Although Charter’s customer agreements allowed it to produce that

  information, and no real doubt existed as to their customers’ underlying infringement, Charter

  vigorously opposed the subpoenas, undermining the record companies’ efforts to curb direct

  infringement activity.

         94.     As a result, the record companies were forced to pursue the slower and more

  expensive process of filing “John Doe” lawsuits to ascertain the infringers’ identities. In those

  litigations, Charter was required to provide identifying information about infringing subscribers.

  As Charter is aware, many of those cases resulted in judgments confirming its subscribers’ liability

  for copyright infringement through Charter’s Internet service, including infringement of works

  owned or exclusively controlled by Plaintiffs.

         95.     Thereafter, the Record Company Plaintiffs began sending notices to Charter (and

  other ISPs) identifying additional specific instances of its subscribers’ infringement through P2P

  activities. From 2012 through 2015, Charter received hundreds of thousands of notices, provided

  under penalty of perjury, detailing specific instances of its subscribers using P2P protocols on its

  network to distribute and copy Plaintiffs’ copyrighted content unlawfully both within, and beyond,

  the Charter network.

         96.     The infringement notices provided to Charter identify the unique IP address




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  assigned to each user of Charter’s network, and the date and time the infringing activity was

  detected. Only Charter, as the provider of the technology and system used to infringe, had the

  information required to match the IP address to a particular subscriber, and to contact that

  subscriber or terminate that subscriber’s service.

         97.     Plaintiffs’ infringement notices notified Charter of clear and unambiguous

  infringing activity by Charter subscribers—that is, unauthorized downloading and distribution of

  copyrighted music. Charter’s subscribers had no legal basis or justification for downloading or

  distributing digital copies of Plaintiffs’ sound recordings and musical compositions to thousands

  or millions of strangers over the Internet. Tellingly, to the extent that Charter forwarded Plaintiffs’

  infringement notices to subscribers accused of using Charter’s network to infringe, those

  subscribers did not challenge the claims of infringement by sending counter-notices to Charter

  contesting those claims (a process that Charter outlined and made available to its users).

         98.     Apart from attesting to the sheer volume of the infringing activity on its network,

  the infringement notices sent to Charter pointed to specific subscribers who were flagrant and

  serial infringers. The infringement notices identified tens of thousands of Charter subscribers

  engaged in blatant and repeated infringement of Plaintiffs’ copyrighted works. To cite just a few

  specific examples:

         •       During a 623-day period, Charter’s subscriber with IP address 66.189.102.119 was
                 identified in 220 infringement notices, which were sent on at least 184 separate
                 days.

         •       During a 395-day period, Charter’s subscriber with IP address 71.85.202.236 was
                 identified in 206 infringement notices, which were sent on at least 138 separate
                 days.

         •       During a 547-day period, Charter’s subscriber with IP address 68.187.189.36 was
                 identified in 197 infringement notices, which were sent on at least 157 separate
                 days.




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         •       During a 363-day period, Charter’s subscriber with IP address 75.130.165.208 was
                 identified in 189 infringement notices, which were sent on at least 123 separate
                 days.

         •       During a 393-day period, Charter’s subscriber with IP address 24.159.16.82 was
                 identified in 174 infringement notices, which were sent on at least 134 separate
                 days.

         •       During a 304-day period, Charter’s subscriber with IP address 98.127.105.135 was
                 identified in 54 infringement notices, which were sent on at least 53 separate days.

  These examples and countless others amply illustrate that, rather than terminating repeat

  infringers—and losing subscription revenues—Charter simply looked the other way.

         99.     During all pertinent times, Charter had the full legal right, obligation, and technical

  ability to prevent or limit the infringements occurring on its network. Under Charter’s “Terms of

  Service/Policies,” which its subscribers agreed to as a condition of using its Internet service,

  Charter was empowered to exercise its right and ability to suspend or terminate a customer’s

  Internet access. Charter could do so for a variety of reasons, including a subscriber’s copyright

  infringement activity. Charter’s Copyright Policy expressly provided that “[i]f Charter receives

  more than one Notice of Copyright Infringement on the customer’s part, the customer may be

  deemed a ‘repeat copyright infringer . . . [and Charter] reserves the right to terminate the accounts

  of ‘repeat copyright infringers.’” (Emphasis added.)

         100.    Despite these alleged policies, and despite receiving hundreds of thousands of

  infringement notices from Plaintiffs, as well as thousands of similar notices from other copyright

  owners, Charter knowingly permitted specifically identified repeat infringers to continue to use its

  network to infringe. Rather than disconnect the Internet access of blatant repeat infringers to

  curtail their infringement, Charter knowingly continued to provide these subscribers with the

  Internet access that enabled them to continue to illegally download or distribute Plaintiffs’

  copyrighted works unabated.       Charter’s provision of high-speed Internet service to known


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  infringers materially contributed to these direct infringements.

         101.    Charter’s motivation for refusing to terminate or suspend the accounts of blatant

  infringing subscribers is simple: it valued corporate profits over its legal responsibilities. Charter

  did not want to lose subscriber revenue by terminating accounts of infringing subscribers.

  Retaining infringing subscribers provided a direct financial benefit to Charter. Nor did Charter

  want to risk the possibility that account terminations would make its service less attractive to other

  existing or prospective users. Moreover, Charter was simply disinterested in devoting sufficient

  resources to tracking repeat infringers, responding to infringement notices, and terminating

  accounts in appropriate circumstances. Considering only its own pecuniary gain, Charter ignored

  and turned a blind eye to flagrant, repeat violations by known specific subscribers using its service

  to infringe, thus facilitating and multiplying the harm to Plaintiffs. And Charter’s failure to police

  its infringing subscribers adequately was a draw to subscribers to purchase Charter’s services, so

  that the subscribers could then use those services to infringe Plaintiffs’ (and others’) copyrights.

  The specific infringing subscribers identified in Plaintiffs’ notices, including the egregious

  infringers identified herein, knew Charter would not terminate their accounts despite receiving

  multiple notices identifying them as infringers, and they remained Charter subscribers to continue

  illegally downloading copyrighted works.

         102.    The consequences of Charter’s support of and profit from infringement are obvious

  and stark. When Charter’s subscribers use Charter’s network to obtain infringing copies of

  Plaintiffs’ copyrighted works illegally, that activity undercuts the legitimate music market,

  depriving Plaintiffs and those recording artists and songwriters whose works they sell and license

  of the compensation to which they are entitled. Without such compensation, Plaintiffs, and their

  recording artists and songwriters, have fewer resources available to invest in the further creation




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  and distribution of high-quality music.

                                        CLAIMS FOR RELIEF

                           Count I – Contributory Copyright Infringement

         103.    Plaintiffs repeat and re-allege each and every allegation contained in paragraphs 1

  through 102 as if fully set forth herein.

         104.    Charter and its subscribers do not have any authorization, permission, license, or

  consent to exploit the copyrighted sound recordings or musical compositions at issue.

         105.    Charter’s subscribers, using Internet access and services provided by Charter, have

  unlawfully reproduced and distributed via BitTorrent, or other P2P networks, thousands of sound

  recordings and musical compositions for which Plaintiffs are the legal or beneficial copyright

  owners or exclusive licensees. The copyrighted works infringed by Charter’s subscribers, which

  have been registered with the U.S. Copyright Office, include those listed on Exhibits A and B, and

  many others. The foregoing activity constitutes direct infringement in violation of 17 U.S.C. §§

  106 and 501, et seq.

         106.    Charter is liable as a contributory copyright infringer for the direct infringements

  described above.       Through Plaintiffs’ infringement notices and other means, Charter had

  knowledge that its network was being used for infringement of Plaintiffs’ copyrighted works on a

  massive scale, and also knew of specific subscribers engaged in such repeated and flagrant

  infringement. Nevertheless, Charter facilitated, encouraged, and materially contributed to such

  infringement by continuing to provide its network and the facilities necessary for its subscribers

  to commit repeated infringements. Charter had the means to withhold that assistance upon learning

  of specific infringing activity by specific users but failed to do so.

         107.    By purposefully ignoring and turning a blind eye to its subscribers’ flagrant and




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  repeated infringements, Charter knowingly caused and materially contributed to the unlawful

  reproduction and distribution of Plaintiffs’ copyrighted works, including but not limited to those

  listed on Exhibits A and B hereto, in violation of Plaintiffs’ exclusive rights under the copyright

  laws of the United States.

          108.    Each infringement of Plaintiffs’ copyrighted sound recordings and musical

  compositions constitutes a separate and distinct act of infringement.           Plaintiffs’ claims of

  infringement against Charter are timely pursuant to tolling agreements.

          109.    The foregoing acts of infringement by Charter have been willful, intentional, and

  purposeful, in blatant disregard of Plaintiffs’ rights. Indeed, the sound recordings on Exhibit A

  and the musical compositions on Exhibit B represent works infringed by Charter’s subscribers

  after those particular subscribers were identified to Charter in multiple infringement notices.

          110.    As a direct and proximate result of Charter’s willful infringement of Plaintiffs’

  copyrights, Plaintiffs are entitled to statutory damages pursuant to 17 U.S.C. § 504(c), in an amount

  of up to $150,000 with respect to each work infringed, or such other amount as may be proper

  under 17 U.S.C. § 504(c). Alternatively, at Plaintiffs’ election, Plaintiffs shall be entitled to their

  actual damages pursuant to 17 U.S.C. § 504(b), including Charter’s profits from the infringements,

  as will be proven at trial.

          111.    Plaintiffs also are entitled to their attorneys’ fees and full costs pursuant to 17

  U.S.C. § 505.

                            Count II – Vicarious Copyright Infringement

          112.    Plaintiffs repeat and re-allege each and every allegation contained in paragraphs 1

  through 111 as if fully set forth herein.

          113.    Charter and its subscribers have no authorization, license, or other consent to




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  exploit the copyrighted sound recordings or musical compositions at issue.

         114.    Charter’s subscribers, using Internet access and services provided by Charter, have

  unlawfully reproduced and distributed via BitTorrent or other P2P services thousands of sound

  recordings and musical compositions of which Plaintiffs are the legal or beneficial copyright

  owners or exclusive licensees. The copyrighted works infringed by Charter’s subscribers, which

  have been registered with the U.S. Copyright Office, include those listed on Exhibits A and B, and

  many others. The foregoing activity constitutes direct infringement in violation of 17 U.S.C. §§

  106 and 501, et seq.

         115.    Charter is liable as a vicarious copyright infringer for the direct infringements

  described above. Charter has the legal and practical right and ability to supervise and control the

  infringing activities that occur through the use of its network, and at all relevant times has had a

  financial interest in, and derived direct financial benefit from, the infringing use of its network.

  Charter has derived an obvious and direct financial benefit from its customers’ infringement. The

  ability to use Charter’s high-speed Internet facilities to illegally download Plaintiffs’ copyrighted

  works has served to draw, maintain, and generate higher fees from paying subscribers to Charter’s

  service. Among other financial benefits, by failing to terminate the accounts of specific repeat

  infringers known to Charter, Charter has profited from illicit revenue through user subscription

  fees that it would not have otherwise received from repeat infringers, as well as new subscribers

  drawn to Charter’s services for the purpose of illegally downloading copyrighted works. The

  specific infringing subscribers identified in Plaintiffs’ notices, including the egregious infringers

  identified herein, knew Charter would not terminate their accounts despite receiving multiple

  notices identifying them as infringers, and they remained Charter subscribers to continue illegally

  downloading copyrighted works.




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         116.     Charter is vicariously liable for the unlawful reproduction and distribution of

  Plaintiffs’ copyrighted works, including but not limited to those listed on Exhibits A and B hereto,

  in violation of Plaintiffs’ exclusive rights under the copyright laws of the United States.

         117.     Each infringement of Plaintiffs’ copyrighted sound recordings and musical

  compositions constitutes a separate and distinct act of infringement.          Plaintiffs’ claims of

  infringement against Charter are timely pursuant to tolling agreements.

         118.     The foregoing acts of infringement by Charter have been willful, intentional, and

  purposeful, in blatant disregard of Plaintiffs’ rights. Indeed, the sound recordings on Exhibit A

  and the musical compositions on Exhibit B are works infringed by Charter’s subscribers after those

  particular subscribers were identified to Charter in multiple prior infringement notices.

         119.     As a direct and proximate result of Charter’s willful infringement of Plaintiffs’

  copyrights, Plaintiffs are entitled to statutory damages, pursuant to 17 U.S.C. § 504(c), in an

  amount of up to $150,000 with respect to each work infringed, or such other amount as may be

  proper under 17 U.S.C. § 504(c). Alternatively, at Plaintiffs’ election, pursuant to 17 U.S.C. §

  504(b), Plaintiffs shall be entitled to their actual damages, including Charter’s profits from the

  infringements, as will be proven at trial.

         120.     Plaintiffs are further entitled to their attorneys’ fees and full costs pursuant to 17

  U.S.C. § 505.

                                       PRAYER FOR RELIEF

         WHEREFORE, Plaintiffs pray for judgment from this Court against Charter as follows:

      a. For a declaration that Charter willfully infringed Plaintiffs’ copyrights;

      b. For statutory damages pursuant to 17 U.S.C. § 504(c), in an amount up to the maximum

          provided by law, arising from Charter’s willful violations of Plaintiffs’ rights under the




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           Copyright Act; or, in the alternative, at Plaintiffs’ election, Plaintiffs’ actual damages

           pursuant to 17 U.S.C. § 504(b), including Charter’s profits from infringement, in an

           amount to be proven at trial;

       c. For an award of Plaintiffs’ costs in this action, including reasonable attorneys’ fees,

           pursuant to 17 U.S.C. § 505;

       d. For pre-judgment and post-judgment interest at the applicable rate on any monetary award

           made part of the judgment against Charter; and

       e. For such other and further relief as the Court deems proper.

                                      JURY TRIAL DEMAND

          Pursuant to Federal Rule of Civil Procedure 38, Plaintiffs hereby demand a trial by jury of

  all issues that are so triable.



   Dated: February 14, 2020                  Respectfully submitted,

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           EXHIBIT A
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                                                                             EXHIBIT A - SOUND RECORDINGS

                                    Artist                                                Track                          Registration Number                  Plaintiff
   1     Alabama                                              Mountain Music                                    SR0000045289                   Arista Music
   2     Alan Jackson                                         Drive (For Daddy Gene)                            SR0000311615                   Arista Music
   3     Alan Jackson                                         It's Five O' Clock Somewhere                      SR0000340026                   Arista Music
   4     Alan Jackson                                         Where Were You (When the World Stopped Turning)   SR0000311615                   Arista Music
   5     Alan Jackson                                         www.memory                                        SR0000289367                   Arista Music
   6     Alicia Keys                                          As I Am (Intro)                                   SR0000627148                   Arista Music
   7     Alicia Keys                                          Butterflyz                                        SR0000299410                   Arista Music
   8     Alicia Keys                                          Caged Bird                                        SR0000299410                   Arista Music
   9     Alicia Keys                                          Diary                                             SR0000346869                   Arista Music
   10    Alicia Keys                                          Dragon Days                                       SR0000346869                   Arista Music
   11    Alicia Keys                                          Fallin                                            PA0001328763                   Arista Music
   12    Alicia Keys                                          Feeling U, Feeling Me (Interlude)                 SR0000346869                   Arista Music
   13    Alicia Keys                                          Girlfriend                                        SR0000299410                   Arista Music
   14    Alicia Keys                                          Go Ahead                                          SR0000627148                   Arista Music
   15    Alicia Keys                                          Goodbye                                           SR0000299410                   Arista Music
   16    Alicia Keys                                          Harlem's Nocturne                                 SR0000346869                   Arista Music
   17    Alicia Keys                                          Heartburn                                         SR0000346869                   Arista Music
   18    Alicia Keys                                          I Need You                                        SR0000627148                   Arista Music
   19    Alicia Keys                                          If I Ain't Got You                                SR0000346869                   Arista Music
   20    Alicia Keys                                          If I Was Your Woman / Walk On By                  SR0000346869                   Arista Music
   21    Alicia Keys                                          Jane Doe                                          SR0000299410                   Arista Music
   22    Alicia Keys                                          Karma                                             SR0000346869                   Arista Music
   23    Alicia Keys                                          Lesson Learned                                    SR0000627148                   Arista Music
   24    Alicia Keys                                          Like You'll Never See Me Again                    SR0000627148                   Arista Music
   25    Alicia Keys                                          Lovin U                                           SR0000299410                   Arista Music
   26    Alicia Keys                                          Mr. Man                                           SR0000299410                   Arista Music
   27    Alicia Keys                                          Never Felt This Way                               SR0000299410                   Arista Music
   28    Alicia Keys                                          No One                                            SR0000627148                   Arista Music
   29    Alicia Keys                                          Nobody Not Really (Interlude)                     SR0000346869                   Arista Music
   30    Alicia Keys                                          Piano & I                                         SR0000299410                   Arista Music
   31    Alicia Keys                                          Prelude To A Kiss                                 SR0000627148                   Arista Music
   32    Alicia Keys                                          Rock Wit U                                        SR0000299410                   Arista Music
   33    Alicia Keys                                          Samsonite Man                                     SR0000346869                   Arista Music
   34    Alicia Keys                                          Slow Down                                         SR0000346869                   Arista Music
   35    Alicia Keys                                          Streets Of New York                               SR0000379937                   Arista Music
   36    Alicia Keys                                          Superwoman                                        SR0000627148                   Arista Music
   37    Alicia Keys                                          Sure Looks Good To Me                             SR0000627148                   Arista Music
   38    Alicia Keys                                          Teenage Love Affair                               SR0000627148                   Arista Music
   39    Alicia Keys                                          Tell You Something (Nana's Reprise)               SR0000627148                   Arista Music
   40    Alicia Keys                                          The Life                                          SR0000299410                   Arista Music
   41    Alicia Keys                                          The Thing About Love                              SR0000627148                   Arista Music
   42    Alicia Keys                                          Troubles                                          SR0000299410                   Arista Music
   43    Alicia Keys                                          Waiting For Your Love                             SR0000627148                   Arista Music
   44    Alicia Keys                                          Wake Up                                           SR0000346869                   Arista Music
   45    Alicia Keys                                          When You Really Love Someone                      SR0000346869                   Arista Music
   46    Alicia Keys                                          Where Do We Go From Here                          SR0000627148                   Arista Music
   47    Alicia Keys                                          Why Do I Feel So Sad                              SR0000299410                   Arista Music
   48    Alicia Keys                                          Wreckless Love                                    SR0000627148                   Arista Music
   49    Alicia Keys                                          You Don't Know My Name                            SR0000346869                   Arista Music
   50    Alicia Keys feat. Lellow                             So Simple                                         SR0000346869                   Arista Music
   51    Angie Stone feat. Alicia Keys & Eve                  Brotha Part II                                    SR0000303830                   Arista Music
   52    Avril Lavigne                                        Complicated                                       PA0001328757                   Arista Music
   53    Avril Lavigne                                        Contagious                                        SR0000609671                   Arista Music
   54    Avril Lavigne                                        Don't Tell Me                                     SR0000332312                   Arista Music
   55    Avril Lavigne                                        Everything Back But You                           SR0000609671                   Arista Music
   56    Avril Lavigne                                        Fall To Pieces                                    SR0000332312                   Arista Music
   57    Avril Lavigne                                        Forgotten                                         SR0000332312                   Arista Music
   58    Avril Lavigne                                        Freak Out                                         SR0000332312                   Arista Music
   59    Avril Lavigne                                        He Wasn't                                         SR0000332312                   Arista Music
   60    Avril Lavigne                                        Hot                                               SR0000609671                   Arista Music
   61    Avril Lavigne                                        How Does It Feel                                  SR0000332312                   Arista Music
   62    Avril Lavigne                                        I Can Do Better                                   SR0000609671                   Arista Music
   63    Avril Lavigne                                        I Don't Have To Try                               SR0000609671                   Arista Music
   64    Avril Lavigne                                        Innocence                                         SR0000609671                   Arista Music
   65    Avril Lavigne                                        Keep Holding On                                   SR0000609671                   Arista Music
   66    Avril Lavigne                                        My Happy Ending                                   SR0000332312                   Arista Music
   67    Avril Lavigne                                        Nobody's Home                                     SR0000332312                   Arista Music
   68    Avril Lavigne                                        One Of Those Girls                                SR0000609671                   Arista Music
   69    Avril Lavigne                                        Runaway                                           SR0000609671                   Arista Music
   70    Avril Lavigne                                        Slipped Away                                      SR0000332312                   Arista Music
   71    Avril Lavigne                                        Take Me Away                                      SR0000332312                   Arista Music
   72    Avril Lavigne                                        The Best Damn Thing                               SR0000609671                   Arista Music
   73    Avril Lavigne                                        Together                                          SR0000332312                   Arista Music
   74    Avril Lavigne                                        When You're Gone                                  SR0000609671                   Arista Music
   75    Avril Lavigne                                        Who Knows                                         SR0000332312                   Arista Music
   76    Brad Paisley                                         All I Wanted Was a Car                            SR0000610946                   Arista Music
   77    Brad Paisley                                         Better Than This                                  SR0000610946                   Arista Music
   78    Brad Paisley                                         Easy Money                                        SR0000366007                   Arista Music
   79    Brad Paisley                                         Flowers                                           SR0000366007                   Arista Music
   80    Brad Paisley                                         If Love Was a Plane                               SR0000610946                   Arista Music
   81    Brad Paisley                                         I'll Take You Back                                SR0000366007                   Arista Music
   82    Brad Paisley                                         I'm Still A Guy                                   SR0000610946                   Arista Music
   83    Brad Paisley                                         It Did                                            SR0000610946                   Arista Music
   84    Brad Paisley                                         Letter To Me                                      SR0000610946                   Arista Music
   85    Brad Paisley                                         Love Is Never-Ending                              SR0000366007                   Arista Music
   86    Brad Paisley                                         Mr. Policeman                                     SR0000610946                   Arista Music


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                                   Artist                                              Track                            Registration Number                  Plaintiff
  87     Brad Paisley                                         Oh Love                                          SR0000610946                   Arista Music
  88     Brad Paisley                                         Online                                           SR0000610946                   Arista Music
  89     Brad Paisley                                         Out In The Parkin' Lot                           SR0000366007                   Arista Music
  90     Brad Paisley                                         Out Take 3                                       SR0000366007                   Arista Music
  91     Brad Paisley                                         Out Take 4                                       SR0000366007                   Arista Music
  92     Brad Paisley                                         Outtake #2                                       SR0000610946                   Arista Music
  93     Brad Paisley                                         Previously                                       SR0000610946                   Arista Music
  94     Brad Paisley                                         Rainin' You                                      SR0000366007                   Arista Music
  95     Brad Paisley                                         She's Everything                                 SR0000366007                   Arista Music
  96     Brad Paisley                                         Some Mistakes                                    SR0000610946                   Arista Music
  97     Brad Paisley                                         The Uncloudy Day                                 SR0000366007                   Arista Music
  98     Brad Paisley                                         The World                                        SR0000366007                   Arista Music
  99     Brad Paisley                                         Throttleneck                                     SR0000610946                   Arista Music
  100    Brad Paisley                                         Ticks                                            SR0000610946                   Arista Music
  101    Brad Paisley                                         Time Warp                                        SR0000366007                   Arista Music
  102    Brad Paisley                                         Time Well Wasted                                 SR0000366007                   Arista Music
  103    Brad Paisley                                         Waitin' On a Woman                               SR0000366007                   Arista Music
  104    Brad Paisley                                         When I Get Where I'm Going                       SR0000366007                   Arista Music
  105    Brad Paisley                                         When We All Get to Heaven                        SR0000610946                   Arista Music
  106    Brad Paisley                                         With You, Without You                            SR0000610946                   Arista Music
  107    Brad Paisley                                         You Need a Man Around Here                       SR0000366007                   Arista Music
  108    Brad Paisley feat. James Burton and The Kung Pao     Cornography                                      SR0000366007                   Arista Music
         Buckaroos
  109    Brad Paisley feat. The Kung Pao Buckaroos            Bigger Fish to Fry                               SR0000610946                   Arista Music
  110    Bruce Hornsby & the Range                            Down the Road Tonight                            SR0000071024                   Arista Music
  111    Bruce Hornsby & the Range                            Every Little Kiss                                SR0000071024                   Arista Music
  112    Bruce Hornsby & the Range                            Mandolin Rain                                    SR0000071024                   Arista Music
  113    Bruce Hornsby & the Range                            On The Western Skyline                           SR0000071024                   Arista Music
  114    Bruce Hornsby & the Range                            The Long Race                                    SR0000071024                   Arista Music
  115    Bruce Hornsby & the Range                            The Red Plains                                   SR0000071024                   Arista Music
  116    Bruce Hornsby & the Range                            The River Runs Low                               SR0000071024                   Arista Music
  117    Bruce Hornsby & the Range                            The Way It Is                                    SR0000071024                   Arista Music
  118    Bruce Hornsby & the Range                            The Wild Frontier                                SR0000071024                   Arista Music
  119    Christina Aguilera                                   Candyman                                         SR0000393677                   Arista Music
  120    Citizen Cope                                         107°                                             SR0000395941                   Arista Music
  121    Citizen Cope                                         All Dressed Up                                   SR0000395941                   Arista Music
  122    Citizen Cope                                         Awe                                              SR0000395941                   Arista Music
  123    Citizen Cope                                         Back Together                                    SR0000395941                   Arista Music
  124    Citizen Cope                                         Brother Lee                                      SR0000395941                   Arista Music
  125    Citizen Cope                                         Bullet And A Target                              SR0000355314                   Arista Music
  126    Citizen Cope                                         D'Artagnan's Theme                               SR0000355314                   Arista Music
  127    Citizen Cope                                         Deep                                             SR0000355314                   Arista Music
  128    Citizen Cope                                         Every Waking Moment                              SR0000395941                   Arista Music
  129    Citizen Cope                                         Fame                                             SR0000355314                   Arista Music
  130    Citizen Cope                                         Friendly Fire                                    SR0000395941                   Arista Music
  131    Citizen Cope                                         Hurricane Waters                                 SR0000355314                   Arista Music
  132    Citizen Cope                                         John Lennon                                      SR0000395941                   Arista Music
  133    Citizen Cope                                         Left For Dead                                    SR0000395941                   Arista Music
  134    Citizen Cope                                         More Than It Seems                               SR0000395941                   Arista Music
  135    Citizen Cope                                         My Way Home                                      SR0000355314                   Arista Music
  136    Citizen Cope                                         Nite Becomes Day                                 SR0000355314                   Arista Music
  137    Citizen Cope                                         Pablo Picasso                                    SR0000355314                   Arista Music
  138    Citizen Cope                                         Penitentiary                                     SR0000355314                   Arista Music
  139    Citizen Cope                                         Sideways                                         SR0000355314                   Arista Music
  140    Citizen Cope                                         Somehow                                          SR0000395941                   Arista Music
  141    Citizen Cope                                         Son's Gonna Rise                                 SR0000355314                   Arista Music
  142    Dave Matthews Band                                   #34                                              SR0000285688                   Arista Music
  143    Dave Matthews Band                                   #41                                              SR0000212572                   Arista Music
  144    Dave Matthews Band                                   Alligator Pie                                    SR0000628753                   Arista Music
  145    Dave Matthews Band                                   American Baby Intro                              SR0000385935                   Arista Music
  146    Dave Matthews Band                                   Angel                                            SR0000300313                   Arista Music
  147    Dave Matthews Band                                   Ants Marching                                    SR0000285688                   Arista Music
  148    Dave Matthews Band                                   Baby Blue                                        SR0000628753                   Arista Music
  149    Dave Matthews Band                                   Bartender                                        SR0000321902                   Arista Music
  150    Dave Matthews Band                                   Big Eyed Fish                                    SR0000321902                   Arista Music
  151    Dave Matthews Band                                   Busted Stuff                                     SR0000321902                   Arista Music
  152    Dave Matthews Band                                   Captain                                          SR0000321902                   Arista Music
  153    Dave Matthews Band                                   Crash Into Me                                    SR0000212572                   Arista Music
  154    Dave Matthews Band                                   Crush                                            SR0000257982                   Arista Music
  155    Dave Matthews Band                                   Cry Freedom                                      SR0000212572                   Arista Music
  156    Dave Matthews Band                                   Dancing Nancies                                  SR0000285688                   Arista Music
  157    Dave Matthews Band                                   Digging a Ditch                                  SR0000321902                   Arista Music
  158    Dave Matthews Band                                   Dive In                                          SR0000628753                   Arista Music
  159    Dave Matthews Band                                   Don't Drink The Water                            SR0000257982                   Arista Music
  160    Dave Matthews Band                                   Dreamgirl                                        SR0000385935                   Arista Music
  161    Dave Matthews Band                                   Dreams of Our Fathers                            SR0000300313                   Arista Music
  162    Dave Matthews Band                                   Drive in Drive Out                               SR0000212572                   Arista Music
  163    Dave Matthews Band                                   Everybody Wake Up (Our Finest Hour Arrives)      SR0000385935                   Arista Music
  164    Dave Matthews Band                                   Everyday                                         SR0000300313                   Arista Music
  165    Dave Matthews Band                                   Fool to Think                                    SR0000300313                   Arista Music
  166    Dave Matthews Band                                   Funny the Way It Is                              SR0000628753                   Arista Music
  167    Dave Matthews Band                                   Grace Is Gone                                    SR0000321902                   Arista Music
  168    Dave Matthews Band                                   Grey Street                                      SR0000321902                   Arista Music
  169    Dave Matthews Band                                   Grux                                             SR0000628753                   Arista Music
  170    Dave Matthews Band                                   Halloween                                        SR0000257982                   Arista Music
  171    Dave Matthews Band                                   Hunger For The Great Light                       SR0000385935                   Arista Music


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                                    Artist                                                       Track                           Registration Number                  Plaintiff
  172    Dave Matthews Band                                       I Did It                                              SR0000300313                   Arista Music
  173    Dave Matthews Band                                       If I Had It All                                       SR0000300313                   Arista Music
  174    Dave Matthews Band                                       Jimi Thing                                            SR0000285688                   Arista Music
  175    Dave Matthews Band                                       Kit Kat Jam                                           SR0000321902                   Arista Music
  176    Dave Matthews Band                                       Let You Down                                          SR0000212572                   Arista Music
  177    Dave Matthews Band                                       Lie in Our Graves                                     SR0000212572                   Arista Music
  178    Dave Matthews Band                                       Louisiana Bayou                                       SR0000385935                   Arista Music
  179    Dave Matthews Band                                       Lover Lay Down                                        SR0000285688                   Arista Music
  180    Dave Matthews Band                                       Lying in the Hands of God                             SR0000628753                   Arista Music
  181    Dave Matthews Band                                       Mother Father                                         SR0000300313                   Arista Music
  182    Dave Matthews Band                                       Old Dirt Hill (Bring That Beat Back)                  SR0000385935                   Arista Music
  183    Dave Matthews Band                                       Out of My Hands                                       SR0000385935                   Arista Music
  184    Dave Matthews Band                                       Pantala Naga Pampa                                    SR0000257982                   Arista Music
  185    Dave Matthews Band                                       Pay for What You Get                                  SR0000285688                   Arista Music
  186    Dave Matthews Band                                       Pig                                                   SR0000257982                   Arista Music
  187    Dave Matthews Band                                       Proudest Monkey                                       SR0000212572                   Arista Music
  188    Dave Matthews Band                                       Rapunzel                                              SR0000257982                   Arista Music
  189    Dave Matthews Band                                       Raven                                                 SR0000321902                   Arista Music
  190    Dave Matthews Band                                       Rhyme & Reason                                        SR0000285688                   Arista Music
  191    Dave Matthews Band                                       Satellite                                             SR0000285688                   Arista Music
  192    Dave Matthews Band                                       Say Goodbye                                           SR0000212572                   Arista Music
  193    Dave Matthews Band                                       Seven                                                 SR0000628753                   Arista Music
  194    Dave Matthews Band                                       Shake Me Like A Monkey                                SR0000628753                   Arista Music
  195    Dave Matthews Band                                       Sleep to Dream Her                                    SR0000300313                   Arista Music
  196    Dave Matthews Band                                       Smooth Rider                                          SR0000385935                   Arista Music
  197    Dave Matthews Band                                       So Much To Say                                        SR0000212572                   Arista Music
  198    Dave Matthews Band                                       So Right                                              SR0000300313                   Arista Music
  199    Dave Matthews Band                                       Spaceman                                              SR0000628753                   Arista Music
  200    Dave Matthews Band                                       Spoon                                                 SR0000257982                   Arista Music
  201    Dave Matthews Band                                       Squirm                                                SR0000628753                   Arista Music
  202    Dave Matthews Band                                       Stand Up (For It)                                     SR0000385935                   Arista Music
  203    Dave Matthews Band                                       Stay (Wasting Time)                                   SR0000257982                   Arista Music
  204    Dave Matthews Band                                       Steady as We Go                                       SR0000385935                   Arista Music
  205    Dave Matthews Band                                       Stolen Away on 55th & 3rd                             SR0000385935                   Arista Music
  206    Dave Matthews Band                                       The Best of What's Around                             SR0000285688                   Arista Music
  207    Dave Matthews Band                                       The Dreaming Tree                                     SR0000257982                   Arista Music
  208    Dave Matthews Band                                       The Last Stop                                         SR0000257982                   Arista Music
  209    Dave Matthews Band                                       The Space Between                                     SR0000300313                   Arista Music
  210    Dave Matthews Band                                       The Stone                                             SR0000257982                   Arista Music
  211    Dave Matthews Band                                       Time Bomb                                             SR0000628753                   Arista Music
  212    Dave Matthews Band                                       Too Much                                              SR0000212572                   Arista Music
  213    Dave Matthews Band                                       Tripping Billies                                      SR0000212572                   Arista Music
  214    Dave Matthews Band                                       Two Step                                              SR0000212572                   Arista Music
  215    Dave Matthews Band                                       Typical Situation                                     SR0000285688                   Arista Music
  216    Dave Matthews Band                                       Warehouse                                             SR0000285688                   Arista Music
  217    Dave Matthews Band                                       What Would You Say                                    SR0000285688                   Arista Music
  218    Dave Matthews Band                                       What You Are                                          SR0000300313                   Arista Music
  219    Dave Matthews Band                                       When The World Ends                                   SR0000300313                   Arista Music
  220    Dave Matthews Band                                       Where Are You Going                                   SR0000321902                   Arista Music
  221    Dave Matthews Band                                       Why I Am                                              SR0000628753                   Arista Music
  222    Dave Matthews Band                                       You & Me                                              SR0000628753                   Arista Music
  223    Dave Matthews Band                                       You Might Die Trying                                  SR0000385935                   Arista Music
  224    Dave Matthews Band                                       You Never Know                                        SR0000321902                   Arista Music
  225    Diamond Rio                                              Beautiful Mess                                        SR0000319527                   Arista Music
  226    Etta James                                               Crawlin' King Snake                                   SR0000356724                   Arista Music
  227    Etta James                                               If I Had Any Pride Left At All                        SR0000279857                   Arista Music
  228    Etta James                                               I'll Be Seeing You                                    SR0000187947                   Arista Music
  229    Etta James                                               It's a Man's Man's Man's World                        SR0000386246                   Arista Music
  230    Etta James                                               I've Been Lovin' You Too Long                         SR0000279857                   Arista Music
  231    Etta James                                               Strongest Weakness                                    SR0000339597                   Arista Music
  232    Etta James                                               The Blues Is My Business                              SR0000339597                   Arista Music
  233    Etta James                                               The Man I Love                                        SR0000187947                   Arista Music
  234    Etta James                                               The Very Thought Of You                               SR0000187947                   Arista Music
  235    Etta James                                               Try a Little Tenderness                               SR0000270247                   Arista Music
  236    Heather Headley                                          Am I Worth It                                         SR0000382683                   Arista Music
  237    Heather Headley                                          Back When It Was                                      SR0000382683                   Arista Music
  238    Heather Headley                                          Change                                                SR0000382683                   Arista Music
  239    Heather Headley                                          I Didn't Mean To                                      SR0000382683                   Arista Music
  240    Heather Headley                                          In My Mind                                            SR0000382683                   Arista Music
  241    Heather Headley                                          Losing You                                            SR0000382683                   Arista Music
  242    Heather Headley                                          Me Time                                               SR0000382683                   Arista Music
  243    Heather Headley                                          The Letter                                            SR0000382683                   Arista Music
  244    Heather Headley                                          Wait A Minute                                         SR0000382683                   Arista Music
  245    Heather Headley                                          What's Not Being Said                                 SR0000382683                   Arista Music
  246    Heather Headley feat. Shaggy                             Rain                                                  SR0000382683                   Arista Music
  247    Heather Headley feat. Vybz Kartel                        How Many Ways                                         SR0000382683                   Arista Music
  248    Hurricane Chris                                          Beat In My Trunk                                      SR0000620403                   Arista Music
  249    Hurricane Chris                                          Do Something                                          SR0000620403                   Arista Music
  250    Hurricane Chris                                          Doin' My Thang                                        SR0000620403                   Arista Music
  251    Hurricane Chris                                          Leaving You                                           SR0000620403                   Arista Music
  252    Hurricane Chris                                          New Fashion                                           SR0000620403                   Arista Music
  253    Hurricane Chris                                          Touch Me                                              SR0000620403                   Arista Music
  254    Hurricane Chris                                          Walk Like That                                        SR0000620403                   Arista Music
  255    Hurricane Chris feat. Big Poppa of Ratchet City & Bigg   Bang                                                  SR0000620403                   Arista Music
         Redd
  256    Hurricane Chris feat. Boxie                              Playas Rock                                           SR0000620403                   Arista Music


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                                   Artist                                                 Track                                    Registration Number                  Plaintiff
  257    Hurricane Chris feat. Nicole Wray                    Getting Money                                               SR0000620403                   Arista Music
  258    Hurricane Chris feat. Nicole Wray                    Momma                                                       SR0000620403                   Arista Music
  259    Jamey Johnson                                        It Was Me                                                   SR0000374946                   Arista Music
  260    Jamey Johnson                                        Redneck Side of Me                                          SR0000374946                   Arista Music
  261    Jamie Foxx                                           DJ Play A Love Song                                         SR0000374820                   Arista Music
  262    Jamie Foxx                                           Love Changes                                                SR0000374820                   Arista Music
  263    Jamie Foxx                                           Unpredictable (Radio Edit)                                  SR0000374820                   Arista Music
  264    Jamie Foxx                                           With You                                                    SR0000374820                   Arista Music
  265    Jazmine Sullivan                                     After The Hurricane                                         SR0000618093                   Arista Music
  266    Jazmine Sullivan                                     Bust Your Windows                                           SR0000618093                   Arista Music
  267    Jazmine Sullivan                                     Call Me Guilty                                              SR0000618093                   Arista Music
  268    Jazmine Sullivan                                     Dream Big                                                   SR0000618093                   Arista Music
  269    Jazmine Sullivan                                     Fear                                                        SR0000618093                   Arista Music
  270    Jazmine Sullivan                                     In Love With Another Man                                    SR0000618093                   Arista Music
  271    Jazmine Sullivan                                     Lions, Tigers & Bears                                       SR0000618093                   Arista Music
  272    Jazmine Sullivan                                     Live A Lie                                                  SR0000618093                   Arista Music
  273    Jazmine Sullivan                                     My Foolish Heart                                            SR0000618093                   Arista Music
  274    Jazmine Sullivan                                     Need U Bad                                                  SR0000613934                   Arista Music
  275    Jazmine Sullivan                                     One Night Stand                                             SR0000618093                   Arista Music
  276    Jazmine Sullivan                                     Switch!                                                     SR0000618093                   Arista Music
  277    Jefferson Starship                                   Find Your Way Back                                          SR0000030619                   Arista Music
  278    Jefferson Starship                                   Jane                                                        SR0000014668                   Arista Music
  279    Jefferson Starship                                   Layin' It on the Line                                       SR0000058222                   Arista Music
  280    Jefferson Starship                                   No Way Out                                                  SR0000058222                   Arista Music
  281    Jefferson Starship                                   Stranger                                                    SR0000026534                   Arista Music
  282    John Denver                                          Darcy Farrow                                                RE0000919266                   Arista Music
  283    John Denver                                          Fall                                                        RE0000919266                   Arista Music
  284    John Denver                                          For Baby (For Bobbie)                                       RE0000919266                   Arista Music
  285    John Denver                                          Goodbye Again                                               RE0000919266                   Arista Music
  286    John Denver                                          Late Winter, Early Spring (When Everybody Goes To Mexico)   RE0000919266                   Arista Music

  287    John Denver                                          Mother Nature's Son                                         RE0000919266                   Arista Music
  288    John Denver                                          Prisoners                                                   RE0000919266                   Arista Music
  289    John Denver                                          Rocky Mountain High                                         RE0000919266                   Arista Music
  290    John Denver                                          Spring                                                      RE0000919266                   Arista Music
  291    John Denver                                          Summer                                                      RE0000919266                   Arista Music
  292    John Denver                                          Winter                                                      RE0000919266                   Arista Music
  293    Kenny Chesney                                        All I Need To Know                                          SR0000208984                   Arista Music
  294    Kenny Chesney                                        All I Want For Christmas Is A Real Good Tan                 SR0000333554                   Arista Music
  295    Kenny Chesney                                        Anything But Mine                                           SR0000341104                   Arista Music
  296    Kenny Chesney                                        Back Where I Come From                                      SR0000277700                   Arista Music
  297    Kenny Chesney                                        Baptism                                                     SR0000263302                   Arista Music
  298    Kenny Chesney                                        Because Of Your Love                                        SR0000277700                   Arista Music
  299    Kenny Chesney                                        Being Drunk's A Lot Like Loving You                         SR0000341104                   Arista Music
  300    Kenny Chesney                                        Christmas In Dixie                                          SR0000333554                   Arista Music
  301    Kenny Chesney                                        Don't Happen Twice                                          SR0000277700                   Arista Music
  302    Kenny Chesney                                        Fall In Love                                                SR0000208984                   Arista Music
  303    Kenny Chesney                                        For The First Time                                          SR0000277700                   Arista Music
  304    Kenny Chesney                                        How Forever Feels                                           SR0000263302                   Arista Music
  305    Kenny Chesney                                        I Go Back                                                   SR0000341104                   Arista Music
  306    Kenny Chesney                                        I Lost It                                                   SR0000277700                   Arista Music
  307    Kenny Chesney                                        I'll Be Home For Christmas                                  SR0000333554                   Arista Music
  308    Kenny Chesney                                        Jingle Bells                                                SR0000333554                   Arista Music
  309    Kenny Chesney                                        Just A Kid                                                  SR0000333554                   Arista Music
  310    Kenny Chesney                                        Keg In The Closet                                           SR0000341104                   Arista Music
  311    Kenny Chesney                                        Live Those Songs                                            SR0000341104                   Arista Music
  312    Kenny Chesney                                        Me And You                                                  SR0000208984                   Arista Music
  313    Kenny Chesney                                        O Little Town Of Bethlehem                                  SR0000333554                   Arista Music
  314    Kenny Chesney                                        Old Blue Chair                                              SR0000341104                   Arista Music
  315    Kenny Chesney                                        Outta Here                                                  SR0000341104                   Arista Music
  316    Kenny Chesney                                        Please Come To Boston                                       SR0000341104                   Arista Music
  317    Kenny Chesney                                        Pretty Paper                                                SR0000333554                   Arista Music
  318    Kenny Chesney                                        She Thinks My Tractor's Sexy                                SR0000263302                   Arista Music
  319    Kenny Chesney                                        She's Got It All                                            SR0000238371                   Arista Music
  320    Kenny Chesney                                        Silent Night                                                SR0000333554                   Arista Music
  321    Kenny Chesney                                        Silver Bells                                                SR0000333554                   Arista Music
  322    Kenny Chesney                                        Some People Change                                          SR0000341104                   Arista Music
  323    Kenny Chesney                                        Thank God For Kids                                          SR0000333554                   Arista Music
  324    Kenny Chesney                                        That's Why I'm Here                                         SR0000238371                   Arista Music
  325    Kenny Chesney                                        The Angel At The Top Of My Tree                             SR0000333554                   Arista Music
  326    Kenny Chesney                                        The Tin Man                                                 SR0000208984                   Arista Music
  327    Kenny Chesney                                        The Woman With You                                          SR0000341104                   Arista Music
  328    Kenny Chesney                                        There Goes My Life                                          SR0000341104                   Arista Music
  329    Kenny Chesney                                        What I Need To Do                                           SR0000263302                   Arista Music
  330    Kenny Chesney                                        When I Close My Eyes                                        SR0000238371                   Arista Music
  331    Kenny Chesney                                        When I Think About Leaving                                  SR0000341104                   Arista Music
  332    Kenny Chesney                                        When The Sun Goes Down                                      SR0000341104                   Arista Music
  333    Kenny Chesney                                        You Had Me From Hello                                       SR0000263302                   Arista Music
  334    Kenny Rogers with Dolly Parton                       Islands In The Stream                                       SR0000049409                   Arista Music
  335    Kings Of Leon                                        California Waiting                                          SR0000330401                   Arista Music
  336    Kings Of Leon                                        Holy Roller Novocaine                                       SR0000330401                   Arista Music
  337    Kings Of Leon                                        Molly's Chambers                                            SR0000330401                   Arista Music
  338    Kings Of Leon                                        Wasted Time                                                 SR0000330401                   Arista Music
  339    Kings Of Leon                                        Wicker Chair                                                SR0000330401                   Arista Music
  340    Luther Vandross                                      I'd Rather                                                  SR0000298047                   Arista Music
  341    Luther Vandross                                      Take You Out                                                SR0000298047                   Arista Music


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                                                                               EXHIBIT A - SOUND RECORDINGS

                                 Artist                                                  Track                            Registration Number                        Plaintiff
  342    Mario                                                Let Me Love You                                    SR0000363091                   Arista Music
  343    Ronnie Milsap & Kenny Rogers                         Make No Mistake, She's Mine                        SR0000084019                   Arista Music
  344    Starship                                             Hearts Of The World (Will Understand)              SR0000065899                   Arista Music
  345    Starship                                             It's Not Enough                                    SR0000107373                   Arista Music
  346    Starship                                             Love Among The Cannibals                           SR0000107373                   Arista Music
  347    Starship                                             Rock Myself To Sleep                               SR0000065899                   Arista Music
  348    Starship                                             Sara                                               SR0000065899                   Arista Music
  349    Starship                                             We Built This City                                 SR0000065899                   Arista Music
  350    SWV                                                  Anything                                           SR0000146905                   Arista Music
  351    SWV                                                  Blak Pudd'n                                        SR0000146905                   Arista Music
  352    SWV                                                  Can We                                             SR0000249300                   Arista Music
  353    SWV                                                  Come And Get Some                                  SR0000249300                   Arista Music
  354    SWV                                                  Coming Home                                        SR0000146905                   Arista Music
  355    SWV                                                  Downtown                                           SR0000146905                   Arista Music
  356    SWV                                                  Gettin' Funky                                      SR0000249300                   Arista Music
  357    SWV                                                  Give It To Me                                      SR0000146905                   Arista Music
  358    SWV                                                  Give It Up                                         SR0000249300                   Arista Music
  359    SWV                                                  Here For You                                       SR0000249300                   Arista Music
  360    SWV                                                  I'm So Into You                                    SR0000146905                   Arista Music
  361    SWV                                                  It's About Time                                    SR0000146905                   Arista Music
  362    SWV                                                  Lose Myself                                        SR0000249300                   Arista Music
  363    SWV                                                  Love Like This                                     SR0000249300                   Arista Music
  364    SWV                                                  Rain                                               SR0000249300                   Arista Music
  365    SWV                                                  Release Some Tension                               SR0000249300                   Arista Music
  366    SWV                                                  Right Here                                         SR0000146905                   Arista Music
  367    SWV                                                  SWV (In The House)                                 SR0000146905                   Arista Music
  368    SWV                                                  That's What I Need                                 SR0000146905                   Arista Music
  369    SWV                                                  Think You're Gonna Like It                         SR0000146905                   Arista Music
  370    SWV                                                  Weak                                               SR0000146905                   Arista Music
  371    SWV                                                  Weak (A Cappella)                                  SR0000146905                   Arista Music
  372    SWV                                                  When U Cry                                         SR0000249300                   Arista Music
  373    SWV                                                  You're Always On My Mind                           SR0000146905                   Arista Music
  374    SWV                                                  You're The One                                     PA0001288814                   Arista Music
  375    SWV feat. Puff Daddy                                 Someone                                            SR0000249300                   Arista Music
  376    SWV feat. Redman                                     Lose My Cool                                       SR0000249300                   Arista Music
  377    Usher                                                Bad Girl                                           SR0000354784                   Arista Music
  378    Usher                                                Burn                                               SR0000354784                   Arista Music
  379    Usher                                                Can U Handle It?                                   SR0000354784                   Arista Music
  380    Usher                                                Caught Up                                          SR0000354784                   Arista Music
  381    Usher                                                Confessions                                        SR0000354784                   Arista Music
  382    Usher                                                Confessions Part II                                SR0000354784                   Arista Music
  383    Usher                                                Do It To Me                                        SR0000354784                   Arista Music
  384    Usher                                                Follow Me                                          SR0000354784                   Arista Music
  385    Usher                                                Simple Things                                      SR0000354784                   Arista Music
  386    Usher                                                Superstar                                          SR0000354784                   Arista Music
  387    Usher                                                Take Your Hand                                     SR0000354784                   Arista Music
  388    Usher                                                That's What It's Made For                          SR0000354784                   Arista Music
  389    Usher                                                Throwback                                          SR0000354784                   Arista Music
  390    Usher                                                Truth Hurts                                        SR0000354784                   Arista Music
  391    Usher                                                Yeah!                                              SR0000354784                   Arista Music
  392    Waylon Jennings                                      Luckenbach, Texas (Back to the Basics of Love)     RE0000919768                   Arista Music
  393    Alan Jackson                                         Chasin' That Neon Rainbow                          SR0000120465                   Arista Records LLC
  394    Alan Jackson                                         Chattahoochee                                      SR0000147716                   Arista Records LLC
  395    Alan Jackson                                         Don't Rock The Jukebox                             SR0000138302                   Arista Records LLC
  396    Alan Jackson                                         Everything I Love                                  SR0000227719                   Arista Records LLC
  397    Alan Jackson                                         Gone Country                                       SR0000202090                   Arista Records LLC
  398    Alan Jackson                                         Here In The Real World                             SR0000120465                   Arista Records LLC
  399    Alan Jackson                                         It Must Be Love                                    SR0000303828                   Arista Records LLC
  400    Alan Jackson                                         Little Bitty                                       SR0000227719                   Arista Records LLC
  401    Alan Jackson                                         Little Man                                         SR0000295185                   Arista Records LLC
  402    Alan Jackson                                         Livin' On Love                                     SR0000202090                   Arista Records LLC
  403    Alan Jackson                                         Midnight In Montgomery                             SR0000138302                   Arista Records LLC
  404    Alan Jackson                                         Pop A Top                                          SR0000303828                   Arista Records LLC
  405    Alan Jackson                                         Right On the Money                                 SR0000295185                   Arista Records LLC
  406    Alan Jackson                                         She's Got the Rhythm (And I Got the Blues)         SR0000147716                   Arista Records LLC
  407    Alan Jackson                                         Tall, Tall Trees                                   SR0000216936                   Arista Records LLC
  408    Alan Jackson                                         Who's Cheatin' Who                                 SR0000227719                   Arista Records LLC
  409    Alan Parsons Project                                 Eye In The Sky                                     SR0000037591                   Arista Records LLC
  410    Annie Lennox                                         Cold                                               SR0000145693                   Arista Records LLC
  411    Annie Lennox                                         Little Bird                                        SR0000145693                   Arista Records LLC
  412    Annie Lennox                                         Precious                                           SR0000145693                   Arista Records LLC
  413    Annie Lennox                                         Walking On Broken Glass                            SR0000145693                   Arista Records LLC
  414    Annie Lennox                                         Why                                                SR0000145693                   Arista Records LLC
  415    Anthony Hamilton                                     Diamond In The Rough                               SR0000625444                   Arista Records LLC
  416    Anthony Hamilton                                     Fallin' In Love                                    SR0000625444                   Arista Records LLC
  417    Anthony Hamilton                                     Fine Again                                         SR0000625444                   Arista Records LLC
  418    Anthony Hamilton                                     Hard To Breathe                                    SR0000625444                   Arista Records LLC
  419    Anthony Hamilton                                     Her Heart                                          SR0000625444                   Arista Records LLC
  420    Anthony Hamilton                                     I Did It For Sho                                   SR0000625444                   Arista Records LLC
  421    Anthony Hamilton                                     Please Stay                                        SR0000625444                   Arista Records LLC
  422    Anthony Hamilton                                     Prayin' For You/Superman                           SR0000625444                   Arista Records LLC
  423    Anthony Hamilton                                     Soul's On Fire                                     SR0000625444                   Arista Records LLC
  424    Anthony Hamilton                                     The Day We Met                                     SR0000625444                   Arista Records LLC
  425    Anthony Hamilton                                     The News                                           SR0000625444                   Arista Records LLC
  426    Anthony Hamilton                                     The Point Of It All                                SR0000625444                   Arista Records LLC
  427    Anthony Hamilton feat. David Banner                  Cool                                               PA0001640157                   Arista Records LLC


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                                                                               EXHIBIT A - SOUND RECORDINGS

                                  Artist                                                     Track                             Registration Number                        Plaintiff
  428    Avril Lavigne                                        Anything But Ordinary                                   SR0000312786                   Arista Records LLC
  429    Avril Lavigne                                        I'm With You                                            SR0000312786                   Arista Records LLC
  430    Avril Lavigne                                        Losing Grip                                             SR0000312786                   Arista Records LLC
  431    Avril Lavigne                                        Mobile                                                  SR0000312786                   Arista Records LLC
  432    Avril Lavigne                                        Naked                                                   SR0000312786                   Arista Records LLC
  433    Avril Lavigne                                        Nobody's Fool                                           SR0000312786                   Arista Records LLC
  434    Avril Lavigne                                        Sk8er Boi                                               SR0000312786                   Arista Records LLC
  435    Avril Lavigne                                        Things I'll Never Say                                   SR0000312786                   Arista Records LLC
  436    Avril Lavigne                                        Tomorrow                                                SR0000312786                   Arista Records LLC
  437    Brandy                                               Sittin' Up In My Room                                   SR0000219539                   Arista Records LLC
  438    Brooks & Dunn                                        Boot Scootin' Boogie                                    SR0000140290                   Arista Records LLC
  439    John Williams                                        March from 1941                                         SR0000019891                   Arista Records LLC
  440    Kenny G                                              Against Doctor's Orders                                 SR0000135107                   Arista Records LLC
  441    Kenny G                                              Brazil                                                  SR0000321704                   Arista Records LLC
  442    Kenny G                                              Desafinado                                              SR0000289898                   Arista Records LLC
  443    Kenny G                                              Havana                                                  SR0000236228                   Arista Records LLC
  444    Kenny G                                              Have Yourself a Merry Little Christmas                  SR0000206848                   Arista Records LLC
  445    Kenny G                                              I'm in the Mood for Love                                SR0000399076                   Arista Records LLC
  446    Kenny G                                              It Had To Be You                                        SR0000399076                   Arista Records LLC
  447    Kenny G                                              Loving You                                              SR0000248755                   Arista Records LLC
  448    Kenny G                                              Medley: Deck the Halls / The Twelve Days of Christmas   SR0000322511                   Arista Records LLC
  449    Kenny G                                              Round Midnight                                          SR0000289898                   Arista Records LLC
  450    Kenny G                                              Sade                                                    SR0000079028                   Arista Records LLC
  451    Kenny G                                              Silhouette                                              SR0000135107                   Arista Records LLC
  452    Kenny G                                              Slip of the Tongue                                      SR0000079028                   Arista Records LLC
  453    Kenny G                                              Songbird                                                SR0000079028                   Arista Records LLC
  454    Kenny G                                              The Champion's Theme                                    SR0000236228                   Arista Records LLC
  455    Kenny G                                              The Look Of Love                                        SR0000289898                   Arista Records LLC
  456    Kenny G                                              The Moment                                              SR0000236228                   Arista Records LLC
  457    Kenny G                                              Theme from "Dying Young"                                SR0000263707                   Arista Records LLC
  458    Monica feat. OutKast                                 Gone Be Fine                                            SR0000263982                   Arista Records LLC
  459    OutKast                                              A Life In The Life of Benjamin Andre (Incomplete)       SR0000340520                   Arista Records LLC
  460    OutKast                                              Da Art of Storytellin' (Pt. 1)                          SR0000264092                   Arista Records LLC
  461    OutKast                                              Da Art of Storytellin' (Pt. 2)                          SR0000264092                   Arista Records LLC
  462    OutKast                                              Return of the "G"                                       SR0000264092                   Arista Records LLC
  463    OutKast feat. George Clinton                         Synthesizer                                             SR0000264092                   Arista Records LLC
  464    P!nk                                                 18 Wheeler                                              SR0000326672                   Arista Records LLC
  465    P!nk                                                 Dear Diary                                              SR0000326672                   Arista Records LLC
  466    P!nk                                                 Don't Let Me Get Me                                     SR0000326672                   Arista Records LLC
  467    P!nk                                                 Eventually                                              SR0000326672                   Arista Records LLC
  468    P!nk                                                 Family Portrait                                         SR0000326672                   Arista Records LLC
  469    P!nk                                                 Get The Party Started                                   SR0000326672                   Arista Records LLC
  470    P!nk                                                 God Is A DJ                                             SR0000345431                   Arista Records LLC
  471    P!nk                                                 Gone to California                                      SR0000326672                   Arista Records LLC
  472    P!nk                                                 Just Like A Pill                                        SR0000326672                   Arista Records LLC
  473    P!nk                                                 Lonely Girl                                             SR0000326672                   Arista Records LLC
  474    P!nk                                                 Misery                                                  SR0000326672                   Arista Records LLC
  475    P!nk                                                 Missundaztood                                           SR0000326672                   Arista Records LLC
  476    P!nk                                                 My Vietnam                                              SR0000326672                   Arista Records LLC
  477    P!nk                                                 Numb                                                    SR0000326672                   Arista Records LLC
  478    P!nk                                                 Trouble                                                 SR0000344428                   Arista Records LLC
  479    Paula DeAnda                                         Breathe                                                 SR0000393631                   Arista Records LLC
  480    Paula DeAnda                                         Doing Too Much                                          SR0000393631                   Arista Records LLC
  481    Paula DeAnda                                         Easy                                                    SR0000393631                   Arista Records LLC
  482    Paula DeAnda                                         Footprints On My Heart                                  SR0000393631                   Arista Records LLC
  483    Paula DeAnda                                         Good Girl                                               SR0000393631                   Arista Records LLC
  484    Paula Deanda                                         I'll Be Down For You                                    SR0000393631                   Arista Records LLC
  485    Paula DeAnda                                         Overloved                                               SR0000393631                   Arista Records LLC
  486    Paula DeAnda                                         So Cold                                                 SR0000393631                   Arista Records LLC
  487    Paula DeAnda                                         When It Was Me                                          SR0000393631                   Arista Records LLC
  488    Paula DeAnda feat. Ak'Sent                           Clap Ta This                                            SR0000393631                   Arista Records LLC
  489    Paula DeAnda feat. P.B.                              Let's Go Out Tonight                                    SR0000393631                   Arista Records LLC
  490    Paula DeAnda feat. The Dey                           Walk Away (Remember Me)                                 SR0000393631                   Arista Records LLC
  491    Paula DeAnda feat. V Nice                            Wanna Be With You                                       SR0000393631                   Arista Records LLC
  492    Run D.M.C.                                           Beats to the Rhyme                                      SR0000124365                   Arista Records LLC
  493    Run D.M.C.                                           Down With The King                                      SR0000291221                   Arista Records LLC
  494    Run D.M.C.                                           Faces                                                   SR0000124852                   Arista Records LLC
  495    Run D.M.C.                                           Hit It Run                                              SR0000124846                   Arista Records LLC
  496    Run D.M.C.                                           I'm Not Going Out Like That                             SR0000124365                   Arista Records LLC
  497    Run D.M.C.                                           It's Like That                                          SR0000044959                   Arista Records LLC
  498    Run D.M.C.                                           It's Tricky                                             SR0000124846                   Arista Records LLC
  499    Run D.M.C.                                           King Of Rock                                            SR0000124851                   Arista Records LLC
  500    Run D.M.C.                                           Mary, Mary                                              SR0000124365                   Arista Records LLC
  501    Run D.M.C.                                           My Adidas                                               SR0000124846                   Arista Records LLC
  502    Run D.M.C.                                           Run's House                                             SR0000124365                   Arista Records LLC
  503    Run D.M.C.                                           What's It All About                                     SR0000124852                   Arista Records LLC
  504    Run D.M.C.                                           You Be Illin'                                           SR0000124846                   Arista Records LLC
  505    Run D.M.C.                                           You Talk Too Much                                       SR0000124851                   Arista Records LLC
  506    Santana                                              (Da Le) Yaleo                                           SR0000289833                   Arista Records LLC
  507    Santana                                              Africa Bamba                                            SR0000289833                   Arista Records LLC
  508    Santana                                              Corazon Espinado                                        SR0000289833                   Arista Records LLC
  509    Santana                                              El Farol                                                SR0000289833                   Arista Records LLC
  510    Santana                                              Migra                                                   SR0000289833                   Arista Records LLC
  511    Santana                                              Primavera                                               SR0000289833                   Arista Records LLC
  512    Santana                                              Put Your Lights On                                      SR0000289833                   Arista Records LLC



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                                   Artist                                                   Track                      Registration Number                      Plaintiff
  513    Santana                                              Smooth                                          SR0000289833                   Arista Records LLC
  514    Santana feat. Dave Matthews & Carter Beauford        Love Of My Life                                 SR0000289833                   Arista Records LLC
  515    Santana feat. Eagle-Eye Cherry                       Wishing It Was                                  SR0000289833                   Arista Records LLC
  516    Santana feat. Lauryn Hill & Cee-Lo                   Do You Like The Way                             SR0000289833                   Arista Records LLC
  517    Sarah McLachlan                                      Adia                                            SR0000243027                   Arista Records LLC
  518    Sarah McLachlan                                      Ben's Song                                      SR0000137750                   Arista Records LLC
  519    Sarah McLachlan                                      Building A Mystery                              SR0000243027                   Arista Records LLC
  520    Sarah McLachlan                                      Drawn to the Rhythm                             SR0000140285                   Arista Records LLC
  521    Sarah McLachlan                                      Fallen                                          SR0000345432                   Arista Records LLC
  522    Sarah McLachlan                                      Fumbling Towards Ecstasy                        SR0000200152                   Arista Records LLC
  523    Sarah McLachlan                                      Good Enough                                     SR0000200152                   Arista Records LLC
  524    Sarah McLachlan                                      Hold On                                         SR0000200152                   Arista Records LLC
  525    Sarah McLachlan                                      I Will Remember You                             SR0000219471                   Arista Records LLC
  526    Sarah McLachlan                                      Ice Cream                                       SR0000200152                   Arista Records LLC
  527    Sarah McLachlan                                      Into the Fire                                   SR0000140285                   Arista Records LLC
  528    Sarah McLachlan                                      Mercy                                           SR0000140285                   Arista Records LLC
  529    Sarah McLachlan                                      Possession                                      SR0000200152                   Arista Records LLC
  530    Sarah McLachlan                                      Push                                            SR0000345432                   Arista Records LLC
  531    Sarah McLachlan                                      Steaming                                        SR0000137750                   Arista Records LLC
  532    Sarah McLachlan                                      Stupid                                          SR0000345432                   Arista Records LLC
  533    Sarah McLachlan                                      Sweet Surrender                                 SR0000243027                   Arista Records LLC
  534    Sarah McLachlan                                      The Path of Thorns (Terms)                      SR0000140285                   Arista Records LLC
  535    Sarah McLachlan                                      Vox                                             SR0000137750                   Arista Records LLC
  536    Sarah McLachlan                                      World On Fire                                   SR0000345432                   Arista Records LLC
  537    The Alan Parsons Project                             Any Other Day                                   SR0000609687                   Arista Records LLC
  538    The Alan Parsons Project                             Children Of The Moon                            SR0000037591                   Arista Records LLC
  539    The Alan Parsons Project                             Eye Pieces                                      SR0000609687                   Arista Records LLC
  540    The Alan Parsons Project                             Gemini                                          SR0000037591                   Arista Records LLC
  541    The Alan Parsons Project                             Mammagamma                                      SR0000037591                   Arista Records LLC
  542    The Alan Parsons Project                             Old & Wise                                      SR0000609687                   Arista Records LLC
  543    The Alan Parsons Project                             Old and Wise                                    SR0000037591                   Arista Records LLC
  544    The Alan Parsons Project                             Psychobabble                                    SR0000037591                   Arista Records LLC
  545    The Alan Parsons Project                             Silence and I                                   SR0000037591                   Arista Records LLC
  546    The Alan Parsons Project                             SIRIUS                                          SR0000037591                   Arista Records LLC
  547    The Alan Parsons Project                             Step By Step                                    SR0000037591                   Arista Records LLC
  548    The Alan Parsons Project                             The Naked Eye                                   SR0000609687                   Arista Records LLC
  549    The Alan Parsons Project                             You're Gonna Get Your Fingers Burned            SR0000037591                   Arista Records LLC
  550    Whitney Houston                                      Didn't We Almost Have It All                    SR0000089966                   Arista Records LLC
  551    Whitney Houston                                      Exhale                                          SR0000219539                   Arista Records LLC
  552    Whitney Houston                                      Get It Back                                     SR0000298453                   Arista Records LLC
  553    Whitney Houston                                      Greatest Love Of All                            SR0000060716                   Arista Records LLC
  554    Whitney Houston                                      Heartbreak Hotel                                SR0000298453                   Arista Records LLC
  555    Whitney Houston                                      How Will I Know                                 SR0000060716                   Arista Records LLC
  556    Whitney Houston                                      I Bow Out                                       SR0000298453                   Arista Records LLC
  557    Whitney Houston                                      I Have Nothing                                  SR0000152583                   Arista Records LLC
  558    Whitney Houston                                      I Learned From The Best                         SR0000298453                   Arista Records LLC
  559    Whitney Houston                                      I Wanna Dance With Somebody                     SR0000089966                   Arista Records LLC
  560    Whitney Houston                                      I Was Made To Love Him                          SR0000298453                   Arista Records LLC
  561    Whitney Houston                                      I Will Always Love You                          SR0000152583                   Arista Records LLC
  562    Whitney Houston                                      If I Told You That                              SR0000298453                   Arista Records LLC
  563    Whitney Houston                                      I'm Every Woman                                 SR0000152583                   Arista Records LLC
  564    Whitney Houston                                      I'm Your Baby Tonight                           SR0000129257                   Arista Records LLC
  565    Whitney Houston                                      In My Business                                  SR0000298453                   Arista Records LLC
  566    Whitney Houston                                      It's Not Right But It's Okay                    SR0000298453                   Arista Records LLC
  567    Whitney Houston                                      My Love Is Your Love                            SR0000298453                   Arista Records LLC
  568    Whitney Houston                                      Oh Yes                                          SR0000298453                   Arista Records LLC
  569    Whitney Houston                                      One Moment In Time                              SR0000097640                   Arista Records LLC
  570    Whitney Houston                                      Run To You                                      SR0000152583                   Arista Records LLC
  571    Whitney Houston                                      Saving All My Love For You                      SR0000060716                   Arista Records LLC
  572    Whitney Houston                                      So Emotional                                    SR0000089966                   Arista Records LLC
  573    Whitney Houston                                      Until You Come Back                             SR0000298453                   Arista Records LLC
  574    Whitney Houston                                      When You Believe                                SR0000298453                   Arista Records LLC
  575    Whitney Houston                                      Where Do Broken Hearts Go                       SR0000089966                   Arista Records LLC
  576    Whitney Houston                                      You'll Never Stand Alone                        SR0000298453                   Arista Records LLC
  577    3OH!3                                                StarStrukk                                      SR0000652637                   Atlantic Recording Corporation
  578    B.o.B                                                Nothin' On You                                  SR0000704831                   Atlantic Recording Corporation
  579    Brandy                                               (Everything I Do) I Do It For You               SR0000256701                   Atlantic Recording Corporation
  580    Brandy                                               Afrodisiac                                      SR0000370673                   Atlantic Recording Corporation
  581    Brandy                                               All In Me                                       SR0000345858                   Atlantic Recording Corporation
  582    Brandy                                               Almost Doesn't Count                            SR0000256701                   Atlantic Recording Corporation
  583    Brandy                                               Always On My Mind                               SR0000202696                   Atlantic Recording Corporation
  584    Brandy                                               Angel In Disquise                               SR0000256701                   Atlantic Recording Corporation
  585    Brandy                                               Anybody                                         SR0000345858                   Atlantic Recording Corporation
  586    Brandy                                               Apart                                           SR0000345858                   Atlantic Recording Corporation
  587    Brandy                                               As Long As You're Here                          SR0000202696                   Atlantic Recording Corporation
  588    Brandy                                               B Rocka Intro                                   SR0000345858                   Atlantic Recording Corporation
  589    Brandy                                               Baby                                            SR0000202696                   Atlantic Recording Corporation
  590    Brandy                                               Best Friend                                     SR0000202696                   Atlantic Recording Corporation
  591    Brandy                                               Brokenhearted (feat. Wanya Morris)              SR0000373291                   Atlantic Recording Corporation
  592    Brandy                                               Can We                                          SR0000345858                   Atlantic Recording Corporation
  593    Brandy                                               Come A Little Closer                            SR0000345858                   Atlantic Recording Corporation
  594    Brandy                                               Come As You Are                                 SR0000370673                   Atlantic Recording Corporation
  595    Brandy                                               Die Without You                                 SR0000345858                   Atlantic Recording Corporation
  596    Brandy                                               Finally                                         SR0000370673                   Atlantic Recording Corporation
  597    Brandy                                               Focus                                           SR0000370673                   Atlantic Recording Corporation
  598    Brandy                                               Full Moon                                       SR0000345858                   Atlantic Recording Corporation


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                                   Artist                                              Track                            Registration Number                      Plaintiff
  599    Brandy                                               Give Me You                                      SR0000202696                   Atlantic Recording Corporation
  600    Brandy                                               Happy                                            SR0000256701                   Atlantic Recording Corporation
  601    Brandy                                               Have You Ever?                                   SR0000256701                   Atlantic Recording Corporation
  602    Brandy                                               He Is                                            SR0000345858                   Atlantic Recording Corporation
  603    Brandy                                               How I Feel                                       SR0000370673                   Atlantic Recording Corporation
  604    Brandy                                               I Dedicate (Part I)                              SR0000202696                   Atlantic Recording Corporation
  605    Brandy                                               I Dedicate (Part II)                             SR0000202696                   Atlantic Recording Corporation
  606    Brandy                                               I Dedicate (Part III)                            SR0000202696                   Atlantic Recording Corporation
  607    Brandy                                               I Thought                                        SR0000345858                   Atlantic Recording Corporation
  608    Brandy                                               I Tried                                          SR0000370673                   Atlantic Recording Corporation
  609    Brandy                                               I Wanna Be Down                                  SR0000202696                   Atlantic Recording Corporation
  610    Brandy                                               I'm Yours                                        SR0000202696                   Atlantic Recording Corporation
  611    Brandy                                               In The Car Interlude                             SR0000256701                   Atlantic Recording Corporation
  612    Brandy                                               Intro                                            SR0000256701                   Atlantic Recording Corporation
  613    Brandy                                               It's Not Worth It                                SR0000345858                   Atlantic Recording Corporation
  614    Brandy                                               Learn The Hard Way                               SR0000256701                   Atlantic Recording Corporation
  615    Brandy                                               Like This                                        SR0000345858                   Atlantic Recording Corporation
  616    Brandy                                               Love Is On My Side                               SR0000202696                   Atlantic Recording Corporation
  617    Brandy                                               Love Wouldn't Count Me Out                       SR0000345858                   Atlantic Recording Corporation
  618    Brandy                                               Movin' On                                        SR0000202696                   Atlantic Recording Corporation
  619    Brandy                                               Necessary                                        SR0000370673                   Atlantic Recording Corporation
  620    Brandy                                               Never Say Never                                  SR0000256701                   Atlantic Recording Corporation
  621    Brandy                                               Nothing                                          SR0000345858                   Atlantic Recording Corporation
  622    Brandy                                               One Voice                                        SR0000256701                   Atlantic Recording Corporation
  623    Brandy                                               Put That On Everything                           SR0000256701                   Atlantic Recording Corporation
  624    Brandy                                               Sadiddy                                          SR0000370673                   Atlantic Recording Corporation
  625    Brandy                                               Say You Will                                     SR0000370673                   Atlantic Recording Corporation
  626    Brandy                                               Should I Go                                      SR0000370673                   Atlantic Recording Corporation
  627    Brandy                                               Sunny Day                                        SR0000202696                   Atlantic Recording Corporation
  628    Brandy                                               Talk About Our Love                              SR0000370673                   Atlantic Recording Corporation
  629    Brandy                                               Tomorrow                                         SR0000256701                   Atlantic Recording Corporation
  630    Brandy                                               Truthfully                                       SR0000256701                   Atlantic Recording Corporation
  631    Brandy                                               Turn It Up                                       SR0000370673                   Atlantic Recording Corporation
  632    Brandy                                               U Dont Know Me (Like U Used To)                  SR0000256701                   Atlantic Recording Corporation
  633    Brandy                                               What About Us?                                   SR0000345858                   Atlantic Recording Corporation
  634    Brandy                                               When You Touch Me                                SR0000345858                   Atlantic Recording Corporation
  635    Brandy                                               Where You Wanna Be                               SR0000370673                   Atlantic Recording Corporation
  636    Brandy                                               Who I Am                                         SR0000370673                   Atlantic Recording Corporation
  637    Brandy                                               Who Is She To U                                  SR0000370673                   Atlantic Recording Corporation
  638    Brandy                                               Wow                                              SR0000345858                   Atlantic Recording Corporation
  639    Brandy                                               Top Of The World                                 SR0000256701                   Atlantic Recording Corporation
  640    Brandy & Monica                                      The Boy Is Mine                                  SR0000256110                   Atlantic Recording Corporation
  641    Brandy & Ray J                                       Another Day In Paradise                          SR0000373291                   Atlantic Recording Corporation
  642    Bruno Mars                                           Gorilla                                          SR0000715738                   Atlantic Recording Corporation
  643    Bruno Mars                                           Locked Out of Heaven                             SR0000715738                   Atlantic Recording Corporation
  644    Bruno Mars                                           Treasure                                         SR0000715738                   Atlantic Recording Corporation
  645    Carolina Liar                                        All That Sh** Is Gone                            SR0000637774                   Atlantic Recording Corporation
  646    Carolina Liar                                        Better Alone                                     SR0000637774                   Atlantic Recording Corporation
  647    Carolina Liar                                        California Bound                                 SR0000637774                   Atlantic Recording Corporation
  648    Carolina Liar                                        Coming To Terms                                  SR0000637774                   Atlantic Recording Corporation
  649    Carolina Liar                                        Done Stealin'                                    SR0000637774                   Atlantic Recording Corporation
  650    Carolina Liar                                        I'm Not Over                                     SR0000637774                   Atlantic Recording Corporation
  651    Carolina Liar                                        Last Night                                       SR0000637774                   Atlantic Recording Corporation
  652    Carolina Liar                                        Show Me What I'm Looking For                     SR0000637774                   Atlantic Recording Corporation
  653    Carolina Liar                                        Simple Life                                      SR0000637774                   Atlantic Recording Corporation
  654    Carolina Liar                                        Something To Die For                             SR0000637774                   Atlantic Recording Corporation
  655    Carolina Liar                                        When You Are Near                                SR0000637774                   Atlantic Recording Corporation
  656    Christina Perri                                      arms                                             SR0000704080                   Atlantic Recording Corporation
  657    Christina Perri                                      backwards                                        SR0000705202                   Atlantic Recording Corporation
  658    Christina Perri                                      bang bang bang                                   SR0000704080                   Atlantic Recording Corporation
  659    Christina Perri                                      black + blue                                     SR0000705202                   Atlantic Recording Corporation
  660    Christina Perri                                      bluebird                                         SR0000704080                   Atlantic Recording Corporation
  661    Christina Perri                                      interlude                                        SR0000704080                   Atlantic Recording Corporation
  662    Christina Perri                                      Jar Of Hearts                                    SR0000704080                   Atlantic Recording Corporation
  663    Christina Perri                                      miles                                            SR0000704080                   Atlantic Recording Corporation
  664    Christina Perri                                      mine                                             SR0000704080                   Atlantic Recording Corporation
  665    Christina Perri                                      my eyes                                          SR0000705202                   Atlantic Recording Corporation
  666    Christina Perri                                      penguin                                          SR0000704080                   Atlantic Recording Corporation
  667    Christina Perri                                      sad song                                         SR0000704080                   Atlantic Recording Corporation
  668    Christina Perri                                      the lonely                                       SR0000704080                   Atlantic Recording Corporation
  669    Christina Perri                                      tragedy                                          SR0000704080                   Atlantic Recording Corporation
  670    Clean Bandit                                         Rather Be                                        SR0000767823                   Atlantic Recording Corporation
  671    Flo Rida                                             21                                               SR0000672870                   Atlantic Recording Corporation
  672    Flo Rida                                             Ack Like You Know                                SR0000629161                   Atlantic Recording Corporation
  673    Flo Rida                                             All My Life                                      SR0000629161                   Atlantic Recording Corporation
  674    Flo Rida                                             American Superstar                               SR0000629161                   Atlantic Recording Corporation
  675    Flo Rida                                             Available                                        SR0000658178                   Atlantic Recording Corporation
  676    Flo Rida                                             Be On You                                        SR0000658178                   Atlantic Recording Corporation
  677    Flo Rida                                             Club Can't Handle Me                             SR0000672870                   Atlantic Recording Corporation
  678    Flo Rida                                             Don't Know How To Act                            SR0000629161                   Atlantic Recording Corporation
  679    Flo Rida                                             Elevator                                         SR0000629161                   Atlantic Recording Corporation
  680    Flo Rida                                             Finally Here                                     SR0000658178                   Atlantic Recording Corporation
  681    Flo Rida                                             Freaky Deaky                                     SR0000629161                   Atlantic Recording Corporation
  682    Flo Rida                                             Gotta Get It (Dancer)                            SR0000658178                   Atlantic Recording Corporation
  683    Flo Rida                                             I Cry                                            SR0000754532                   Atlantic Recording Corporation
  684    Flo Rida                                             In My Mind (Part 2)                              SR0000754532                   Atlantic Recording Corporation


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                                   Artist                                                 Track                          Registration Number                      Plaintiff
  685    Flo Rida                                             In The Ayer                                       SR0000629161                   Atlantic Recording Corporation
  686    Flo Rida                                             Jump                                              SR0000658178                   Atlantic Recording Corporation
  687    Flo Rida                                             Let it Roll                                       SR0000754532                   Atlantic Recording Corporation
  688    Flo Rida                                             Low                                               SR0000629161                   Atlantic Recording Corporation
  689    Flo Rida                                             Me & U                                            SR0000629161                   Atlantic Recording Corporation
  690    Flo Rida                                             Mind On My Money                                  SR0000658178                   Atlantic Recording Corporation
  691    Flo Rida                                             Money Right                                       SR0000629161                   Atlantic Recording Corporation
  692    Flo Rida                                             Ms. Hangover                                      SR0000629161                   Atlantic Recording Corporation
  693    Flo Rida                                             Never                                             SR0000658178                   Atlantic Recording Corporation
  694    Flo Rida                                             On and On                                         SR0000672870                   Atlantic Recording Corporation
  695    Flo Rida                                             Priceless                                         SR0000629161                   Atlantic Recording Corporation
  696    Flo Rida                                             R.O.O.T.S.                                        SR0000658178                   Atlantic Recording Corporation
  697    Flo Rida                                             Respirator                                        SR0000672870                   Atlantic Recording Corporation
  698    Flo Rida                                             Rewind                                            SR0000658178                   Atlantic Recording Corporation
  699    Flo Rida                                             Right Round                                       SR0000658178                   Atlantic Recording Corporation
  700    Flo Rida                                             Roll                                              SR0000629161                   Atlantic Recording Corporation
  701    Flo Rida                                             Run                                               SR0000754532                   Atlantic Recording Corporation
  702    Flo Rida                                             Shone                                             SR0000658178                   Atlantic Recording Corporation
  703    Flo Rida                                             Still Missin                                      SR0000629161                   Atlantic Recording Corporation
  704    Flo Rida                                             Sugar                                             SR0000658178                   Atlantic Recording Corporation
  705    Flo Rida                                             Sweet Spot                                        SR0000754532                   Atlantic Recording Corporation
  706    Flo Rida                                             Thinking Of You                                   SR0000754532                   Atlantic Recording Corporation
  707    Flo Rida                                             Touch Me                                          SR0000658178                   Atlantic Recording Corporation
  708    Flo Rida                                             Turn Around (5,4,3,2,1)                           SR0000672870                   Atlantic Recording Corporation
  709    Flo Rida                                             Who Dat Girl                                      SR0000672870                   Atlantic Recording Corporation
  710    Flo Rida                                             Why You Up In Here                                SR0000672870                   Atlantic Recording Corporation
  711    Flo Rida                                             Wild Ones                                         SR0000754532                   Atlantic Recording Corporation
  712    Genesis                                              Congo                                             SR0000239424                   Atlantic Recording Corporation
  713    Genesis                                              I Know What I Like (In Your Wardrobe)             N10834                         Atlantic Recording Corporation
  714    Genesis                                              Mama                                              SR0000047558                   Atlantic Recording Corporation
  715    Genesis                                              The Carpet Crawlers                               N19639                         Atlantic Recording Corporation
  716    Gnarls Barkley                                       Crazy                                             SR0000398345                   Atlantic Recording Corporation
  717    Gnarls Barkley                                       Feng Shui                                         SR0000398345                   Atlantic Recording Corporation
  718    Gnarls Barkley                                       Go-Go Gadget Gospel                               SR0000398345                   Atlantic Recording Corporation
  719    Gnarls Barkley                                       Gone Daddy Gone                                   SR0000398345                   Atlantic Recording Corporation
  720    Gnarls Barkley                                       Just A Thought                                    SR0000398345                   Atlantic Recording Corporation
  721    Gnarls Barkley                                       Necromancer                                       SR0000398345                   Atlantic Recording Corporation
  722    Gnarls Barkley                                       Online                                            SR0000398345                   Atlantic Recording Corporation
  723    Gnarls Barkley                                       Smiley Faces                                      SR0000398345                   Atlantic Recording Corporation
  724    Gnarls Barkley                                       St. Elsewhere                                     SR0000398345                   Atlantic Recording Corporation
  725    Gnarls Barkley                                       The Boogie Monster                                SR0000398345                   Atlantic Recording Corporation
  726    Gnarls Barkley                                       The Last Time                                     SR0000398345                   Atlantic Recording Corporation
  727    Gnarls Barkley                                       Transformer                                       SR0000398345                   Atlantic Recording Corporation
  728    Gnarls Barkley                                       Who Cares?                                        SR0000398345                   Atlantic Recording Corporation
  729    Grouplove                                            Betty's a Bombshell                               SR0000704081                   Atlantic Recording Corporation
  730    Grouplove                                            Chloe                                             SR0000704081                   Atlantic Recording Corporation
  731    Grouplove                                            Close Your Eyes and Count to Ten                  SR0000704081                   Atlantic Recording Corporation
  732    Grouplove                                            Colours                                           SR0000707748                   Atlantic Recording Corporation
  733    Grouplove                                            Cruel and Beautiful World                         SR0000704081                   Atlantic Recording Corporation
  734    Grouplove                                            Don't Say Oh Well                                 SR0000707748                   Atlantic Recording Corporation
  735    Grouplove                                            Get Giddy                                         SR0000707748                   Atlantic Recording Corporation
  736    Grouplove                                            Getaway Car                                       SR0000707748                   Atlantic Recording Corporation
  737    Grouplove                                            Goldcoast                                         SR0000707748                   Atlantic Recording Corporation
  738    Grouplove                                            Itchin' On A Photograph                           SR0000704081                   Atlantic Recording Corporation
  739    Grouplove                                            Love Will Save Your Soul                          SR0000704081                   Atlantic Recording Corporation
  740    Grouplove                                            Lovely Cup                                        SR0000704081                   Atlantic Recording Corporation
  741    Grouplove                                            Naked Kids                                        SR0000704081                   Atlantic Recording Corporation
  742    Grouplove                                            Slow                                              SR0000704081                   Atlantic Recording Corporation
  743    Grouplove                                            Spun                                              SR0000704081                   Atlantic Recording Corporation
  744    Grouplove                                            Tongue Tied                                       SR0000704081                   Atlantic Recording Corporation
  745    Hootie & The Blowfish                                Be The One                                        SR0000223661                   Atlantic Recording Corporation
  746    Hootie & The Blowfish                                Hey Hey What Can I Do?                            SR0000207905                   Atlantic Recording Corporation
  747    Hootie & The Blowfish                                Hold My Hand                                      SR0000193960                   Atlantic Recording Corporation
  748    Hootie & The Blowfish                                I Go Blind                                        SR0000230125                   Atlantic Recording Corporation
  749    Hootie & The Blowfish                                I Will Wait                                       SR0000246482                   Atlantic Recording Corporation
  750    Hootie & The Blowfish                                Innocence                                         SR0000334892                   Atlantic Recording Corporation
  751    Hootie & The Blowfish                                Let Her Cry                                       SR0000193960                   Atlantic Recording Corporation
  752    Hootie & The Blowfish                                Not Even The Trees                                SR0000193960                   Atlantic Recording Corporation
  753    Hootie & The Blowfish                                Old Man & Me                                      SR0000223661                   Atlantic Recording Corporation
  754    Hootie & The Blowfish                                Only Lonely                                       SR0000246482                   Atlantic Recording Corporation
  755    Hootie & The Blowfish                                Only Wanna Be With You                            SR0000193960                   Atlantic Recording Corporation
  756    Hootie & The Blowfish                                Sad Caper                                         SR0000223661                   Atlantic Recording Corporation
  757    Hootie & The Blowfish                                Space                                             SR0000334892                   Atlantic Recording Corporation
  758    Hootie & The Blowfish                                Time                                              SR0000193960                   Atlantic Recording Corporation
  759    Hootie & The Blowfish                                Tucker's Town                                     SR0000223661                   Atlantic Recording Corporation
  760    Hootie & The Blowfish                                Use Me                                            SR0000311807                   Atlantic Recording Corporation
  761    Hunter Hayes                                         I Want Crazy (Encore)                             SR0000748751                   Atlantic Recording Corporation
  762    Icona Pop                                            I Love It                                         SR0000723485                   Atlantic Recording Corporation
  763    INXS                                                 Baby Don't Cry                                    SR0000152091                   Atlantic Recording Corporation
  764    INXS                                                 Beautiful Girl                                    SR0000152091                   Atlantic Recording Corporation
  765    INXS                                                 Bitter Tears                                      SR0000121377                   Atlantic Recording Corporation
  766    INXS                                                 Black And White                                   SR0000042945                   Atlantic Recording Corporation
  767    INXS                                                 Burn For You                                      SR0000054062                   Atlantic Recording Corporation
  768    INXS                                                 By My Side                                        SR0000121377                   Atlantic Recording Corporation
  769    INXS                                                 Dancing On The Jetty                              SR0000054062                   Atlantic Recording Corporation
  770    INXS                                                 Devil Inside                                      SR0000085232                   Atlantic Recording Corporation


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                                   Artist                                                   Track                        Registration Number                      Plaintiff
  771    INXS                                                 Disappear                                         SR0000121377                   Atlantic Recording Corporation
  772    INXS                                                 Don't Change                                      SR0000042945                   Atlantic Recording Corporation
  773    INXS                                                 Heaven Sent                                       SR0000152091                   Atlantic Recording Corporation
  774    INXS                                                 I Send A Message                                  SR0000054062                   Atlantic Recording Corporation
  775    INXS                                                 Just Keep Walking                                 SR0000054970                   Atlantic Recording Corporation
  776    INXS                                                 Kiss The Dirt (Falling Down The Mountain)         SR0000066559                   Atlantic Recording Corporation
  777    INXS                                                 Listen Like Thieves                               SR0000066559                   Atlantic Recording Corporation
  778    INXS                                                 Love Is (What I Say)                              SR0000054062                   Atlantic Recording Corporation
  779    INXS                                                 Mystify                                           SR0000085232                   Atlantic Recording Corporation
  780    INXS                                                 Need You Tonight                                  SR0000085232                   Atlantic Recording Corporation
  781    INXS                                                 Never Tear Us Apart                               SR0000085232                   Atlantic Recording Corporation
  782    INXS                                                 New Sensation                                     SR0000085232                   Atlantic Recording Corporation
  783    INXS                                                 Not Enough Time                                   SR0000152091                   Atlantic Recording Corporation
  784    INXS                                                 Original Sin                                      SR0000054753                   Atlantic Recording Corporation
  785    INXS                                                 Stay Young                                        SR0000054971                   Atlantic Recording Corporation
  786    INXS                                                 Suicide Blonde                                    SR0000121377                   Atlantic Recording Corporation
  787    INXS                                                 Taste It                                          SR0000152091                   Atlantic Recording Corporation
  788    INXS                                                 The Gift                                          SR0000175450                   Atlantic Recording Corporation
  789    INXS                                                 The One Thing                                     SR0000042945                   Atlantic Recording Corporation
  790    INXS                                                 The Stairs                                        SR0000121377                   Atlantic Recording Corporation
  791    INXS                                                 This Time                                         SR0000065969                   Atlantic Recording Corporation
  792    INXS                                                 To Look At You                                    SR0000042945                   Atlantic Recording Corporation
  793    INXS                                                 What You Need                                     SR0000066559                   Atlantic Recording Corporation
  794    INXS with Jimmy Barnes                               Good Times                                        SR0000084356                   Atlantic Recording Corporation
  795    Jason Mraz                                           A Beautiful Mess                                  SR0000623312                   Atlantic Recording Corporation
  796    Jason Mraz                                           Butterfly                                         SR0000623312                   Atlantic Recording Corporation
  797    Jason Mraz                                           Coyotes                                           SR0000623312                   Atlantic Recording Corporation
  798    Jason Mraz                                           Details in the Fabric                             SR0000623312                   Atlantic Recording Corporation
  799    Jason Mraz                                           I Won't Give Up                                   SR0000704463                   Atlantic Recording Corporation
  800    Jason Mraz                                           If It Kills Me                                    SR0000623312                   Atlantic Recording Corporation
  801    Jason Mraz                                           I'm Yours                                         SR0000623312                   Atlantic Recording Corporation
  802    Jason Mraz                                           Live High                                         SR0000623312                   Atlantic Recording Corporation
  803    Jason Mraz                                           Love For A Child                                  SR0000623312                   Atlantic Recording Corporation
  804    Jason Mraz                                           Lucky                                             SR0000623312                   Atlantic Recording Corporation
  805    Jason Mraz                                           Make It Mine                                      SR0000623312                   Atlantic Recording Corporation
  806    Jason Mraz                                           Only Human                                        SR0000623312                   Atlantic Recording Corporation
  807    Jason Mraz                                           The Dynamo Of Volition                            SR0000623312                   Atlantic Recording Corporation
  808    Kid Rock                                             All Summer Long                                   SR0000622796                   Atlantic Recording Corporation
  809    Kid Rock                                             Amen                                              SR0000622796                   Atlantic Recording Corporation
  810    Kid Rock                                             Blue Jeans And A Rosary                           SR0000622796                   Atlantic Recording Corporation
  811    Kid Rock                                             Don't Tell Me You Love Me                         SR0000622796                   Atlantic Recording Corporation
  812    Kid Rock                                             Half Your Age                                     SR0000622796                   Atlantic Recording Corporation
  813    Kid Rock                                             Lowlife (Living The Highlife)                     SR0000622796                   Atlantic Recording Corporation
  814    Kid Rock                                             New Orleans                                       SR0000622796                   Atlantic Recording Corporation
  815    Kid Rock                                             Rock N Roll Jesus                                 SR0000622796                   Atlantic Recording Corporation
  816    Kid Rock                                             Roll On                                           SR0000622796                   Atlantic Recording Corporation
  817    Kid Rock                                             So Hott                                           SR0000622796                   Atlantic Recording Corporation
  818    Kid Rock                                             Sugar                                             SR0000622796                   Atlantic Recording Corporation
  819    Kid Rock                                             When U Love Someone                               SR0000622796                   Atlantic Recording Corporation
  820    Lupe Fiasco                                          All Black Everything                              SR0000704469                   Atlantic Recording Corporation
  821    Lupe Fiasco                                          Beautiful Lasers (2 Ways)                         SR0000704469                   Atlantic Recording Corporation
  822    Lupe Fiasco                                          BREAK THE CHAIN                                   SR0000704469                   Atlantic Recording Corporation
  823    Lupe Fiasco                                          Coming Up                                         SR0000704469                   Atlantic Recording Corporation
  824    Lupe Fiasco                                          Dumb It Down                                      SR0000639320                   Atlantic Recording Corporation
  825    Lupe Fiasco                                          Fighters                                          SR0000639320                   Atlantic Recording Corporation
  826    Lupe Fiasco                                          Free Chilly                                       SR0000639320                   Atlantic Recording Corporation
  827    Lupe Fiasco                                          Go Go Gadget Flow                                 SR0000639320                   Atlantic Recording Corporation
  828    Lupe Fiasco                                          Gotta Eat                                         SR0000639320                   Atlantic Recording Corporation
  829    Lupe Fiasco                                          Hip-Hop Saved My Life                             SR0000639320                   Atlantic Recording Corporation
  830    Lupe Fiasco                                          I Don't Wanna Care Right Now                      SR0000704469                   Atlantic Recording Corporation
  831    Lupe Fiasco                                          Intruder Alert                                    SR0000639320                   Atlantic Recording Corporation
  832    Lupe Fiasco                                          Letting Go                                        SR0000704469                   Atlantic Recording Corporation
  833    Lupe Fiasco                                          Little Weapon                                     SR0000639320                   Atlantic Recording Corporation
  834    Lupe Fiasco                                          Never Forget You                                  SR0000704469                   Atlantic Recording Corporation
  835    Lupe Fiasco                                          Out Of My Head                                    SR0000704469                   Atlantic Recording Corporation
  836    Lupe Fiasco                                          Paris, Tokyo                                      SR0000639320                   Atlantic Recording Corporation
  837    Lupe Fiasco                                          Put You On Game                                   SR0000639320                   Atlantic Recording Corporation
  838    Lupe Fiasco                                          State Run Radio                                   SR0000704469                   Atlantic Recording Corporation
  839    Lupe Fiasco                                          Streets On Fire                                   SR0000639320                   Atlantic Recording Corporation
  840    Lupe Fiasco                                          Superstar                                         SR0000639320                   Atlantic Recording Corporation
  841    Lupe Fiasco                                          The Coolest                                       SR0000639320                   Atlantic Recording Corporation
  842    Lupe Fiasco                                          The Die                                           SR0000639320                   Atlantic Recording Corporation
  843    Lupe Fiasco                                          The Show Goes On                                  SR0000704469                   Atlantic Recording Corporation
  844    Lupe Fiasco                                          Till I Get There                                  SR0000704469                   Atlantic Recording Corporation
  845    Lupe Fiasco                                          Words I Never Said                                SR0000704469                   Atlantic Recording Corporation
  846    Lupe Fiasco                                          Go Baby                                           SR0000639320                   Atlantic Recording Corporation
  847    Lupe Fiasco                                          Hi-Definitions                                    SR0000639320                   Atlantic Recording Corporation
  848    Matchbox Twenty                                      3AM                                               SR0000227755                   Atlantic Recording Corporation
  849    Matchbox Twenty                                      All I Need                                        SR0000345857                   Atlantic Recording Corporation
  850    Matchbox Twenty                                      All Your Reasons                                  SR0000633456                   Atlantic Recording Corporation
  851    Matchbox Twenty                                      Angry                                             SR0000305708                   Atlantic Recording Corporation
  852    Matchbox Twenty                                      Argue                                             SR0000227755                   Atlantic Recording Corporation
  853    Matchbox Twenty                                      Back 2 Good (Remastered)                          SR0000633456                   Atlantic Recording Corporation
  854    Matchbox Twenty                                      Bed Of Lies                                       SR0000305708                   Atlantic Recording Corporation
  855    Matchbox Twenty                                      Bent (Remastered)                                 SR0000633456                   Atlantic Recording Corporation



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                                   Artist                                                  Track                           Registration Number                      Plaintiff
  856    Matchbox Twenty                                      Black & White People                                SR0000305708                   Atlantic Recording Corporation
  857    Matchbox Twenty                                      Busted                                              SR0000227755                   Atlantic Recording Corporation
  858    Matchbox Twenty                                      Can't Let You Go                                    SR0000633456                   Atlantic Recording Corporation
  859    Matchbox Twenty                                      Cold                                                SR0000345857                   Atlantic Recording Corporation
  860    Matchbox Twenty                                      Could I Be You                                      SR0000345857                   Atlantic Recording Corporation
  861    Matchbox Twenty                                      Crutch                                              SR0000305708                   Atlantic Recording Corporation
  862    Matchbox Twenty                                      Damn                                                SR0000227755                   Atlantic Recording Corporation
  863    Matchbox Twenty                                      Disease (Acoustic)                                  SR0000353594                   Atlantic Recording Corporation
  864    Matchbox Twenty                                      Disease (Remastered)                                SR0000633456                   Atlantic Recording Corporation
  865    Matchbox Twenty                                      Downfall                                            SR0000345857                   Atlantic Recording Corporation
  866    Matchbox Twenty                                      English Town                                        SR0000714896                   Atlantic Recording Corporation
  867    Matchbox Twenty                                      Feel                                                SR0000345857                   Atlantic Recording Corporation
  868    Matchbox Twenty                                      Girl Like That                                      SR0000227755                   Atlantic Recording Corporation
  869    Matchbox Twenty                                      Hand Me Down                                        SR0000345857                   Atlantic Recording Corporation
  870    Matchbox Twenty                                      Hang                                                SR0000227755                   Atlantic Recording Corporation
  871    Matchbox Twenty                                      How Far We've Come                                  SR0000633456                   Atlantic Recording Corporation
  872    Matchbox Twenty                                      How Long                                            SR0000714896                   Atlantic Recording Corporation
  873    Matchbox Twenty                                      I Will                                              SR0000714896                   Atlantic Recording Corporation
  874    Matchbox Twenty                                      If I Fall                                           SR0000633456                   Atlantic Recording Corporation
  875    Matchbox Twenty                                      If You're Gone                                      SR0000305708                   Atlantic Recording Corporation
  876    Matchbox Twenty                                      I'll Believe You When                               SR0000633456                   Atlantic Recording Corporation
  877    Matchbox Twenty                                      Kody                                                SR0000227755                   Atlantic Recording Corporation
  878    Matchbox Twenty                                      Last Beautiful Girl                                 SR0000305708                   Atlantic Recording Corporation
  879    Matchbox Twenty                                      Leave                                               SR0000305708                   Atlantic Recording Corporation
  880    Matchbox Twenty                                      Like Sugar                                          SR0000714896                   Atlantic Recording Corporation
  881    Matchbox Twenty                                      Long Day                                            SR0000227755                   Atlantic Recording Corporation
  882    Matchbox Twenty                                      Mad Season (Remastered)                             SR0000633456                   Atlantic Recording Corporation
  883    Matchbox Twenty                                      Our Song                                            SR0000714896                   Atlantic Recording Corporation
  884    Matchbox Twenty                                      Overjoyed                                           SR0000714896                   Atlantic Recording Corporation
  885    Matchbox Twenty                                      Push                                                SR0000227755                   Atlantic Recording Corporation
  886    Matchbox Twenty                                      Push (Remastered)                                   SR0000633456                   Atlantic Recording Corporation
  887    Matchbox Twenty                                      Put Your Hands Up                                   SR0000714896                   Atlantic Recording Corporation
  888    Matchbox Twenty                                      Radio                                               SR0000714896                   Atlantic Recording Corporation
  889    Matchbox Twenty                                      Real World                                          SR0000227755                   Atlantic Recording Corporation
  890    Matchbox Twenty                                      Rest Stop                                           SR0000305708                   Atlantic Recording Corporation
  891    Matchbox Twenty                                      She's So Mean                                       SR0000714896                   Atlantic Recording Corporation
  892    Matchbox Twenty                                      Sleeping At The Wheel                               SR0000714896                   Atlantic Recording Corporation
  893    Matchbox Twenty                                      Soul                                                SR0000345857                   Atlantic Recording Corporation
  894    Matchbox Twenty                                      Stop                                                SR0000305708                   Atlantic Recording Corporation
  895    Matchbox Twenty                                      The Burn                                            SR0000305708                   Atlantic Recording Corporation
  896    Matchbox Twenty                                      The Difference                                      SR0000345857                   Atlantic Recording Corporation
  897    Matchbox Twenty                                      These Hard Times                                    SR0000633456                   Atlantic Recording Corporation
  898    Matchbox Twenty                                      Unwell                                              SR0000345857                   Atlantic Recording Corporation
  899    Matchbox Twenty                                      You Won't Be Mine                                   SR0000305708                   Atlantic Recording Corporation
  900    Matchbox Twenty                                      You're So Real                                      SR0000345857                   Atlantic Recording Corporation
  901    Meek Mill                                            Amen                                                SRu001109021                   Atlantic Recording Corporation
  902    Musiq Soulchild                                      backagain                                           SR0000706644                   Atlantic Recording Corporation
  903    Musiq Soulchild                                      dearjohn                                            SR0000706644                   Atlantic Recording Corporation
  904    Musiq Soulchild                                      deserveumore                                        SR0000706644                   Atlantic Recording Corporation
  905    Musiq Soulchild                                      ifuleave                                            SR0000706644                   Atlantic Recording Corporation
  906    Musiq Soulchild                                      iwannabe                                            SR0000706644                   Atlantic Recording Corporation
  907    Musiq Soulchild                                      loveofmylife                                        SR0000706644                   Atlantic Recording Corporation
  908    Musiq Soulchild                                      moneyright                                          SR0000706644                   Atlantic Recording Corporation
  909    Musiq Soulchild                                      Radio                                               SR0000706644                   Atlantic Recording Corporation
  910    Musiq Soulchild                                      sobeautiful                                         SR0000706644                   Atlantic Recording Corporation
  911    Musiq Soulchild                                      someone                                             SR0000706644                   Atlantic Recording Corporation
  912    Musiq Soulchild                                      special                                             SR0000706644                   Atlantic Recording Corporation
  913    Musiq Soulchild                                      until                                               SR0000706644                   Atlantic Recording Corporation
  914    P.O.D.                                               Youth Of The Nation                                 SR0000303757                   Atlantic Recording Corporation
  915    Paramore                                             (One Of Those) Crazy Girls                          SR0000724441                   Atlantic Recording Corporation
  916    Paramore                                             All I Wanted                                        SR0000657157                   Atlantic Recording Corporation
  917    Paramore                                             Anklebiters                                         SR0000724441                   Atlantic Recording Corporation
  918    Paramore                                             Be Alone                                            SR0000724441                   Atlantic Recording Corporation
  919    Paramore                                             Born For This                                       SR0000631909                   Atlantic Recording Corporation
  920    Paramore                                             Careful                                             SR0000657157                   Atlantic Recording Corporation
  921    Paramore                                             crushcrushcrush                                     SR0000631909                   Atlantic Recording Corporation
  922    Paramore                                             Daydreaming                                         SR0000724441                   Atlantic Recording Corporation
  923    Paramore                                             Fast In My Car                                      SR0000724441                   Atlantic Recording Corporation
  924    Paramore                                             Feeling Sorry                                       SR0000657157                   Atlantic Recording Corporation
  925    Paramore                                             Fences                                              SR0000631909                   Atlantic Recording Corporation
  926    Paramore                                             For A Pessimist, I'm Pretty Optimistic              SR0000631909                   Atlantic Recording Corporation
  927    Paramore                                             Future                                              SR0000724441                   Atlantic Recording Corporation
  928    Paramore                                             Grow Up                                             SR0000724441                   Atlantic Recording Corporation
  929    Paramore                                             Hallelujah                                          SR0000631909                   Atlantic Recording Corporation
  930    Paramore                                             Hate To See Your Heart Break                        SR0000724441                   Atlantic Recording Corporation
  931    Paramore                                             Interlude: Holiday                                  SR0000724441                   Atlantic Recording Corporation
  932    Paramore                                             Interlude: I'm Not Angry Anymore                    SR0000724441                   Atlantic Recording Corporation
  933    Paramore                                             Interlude: Moving On                                SR0000724441                   Atlantic Recording Corporation
  934    Paramore                                             Last Hope                                           SR0000724441                   Atlantic Recording Corporation
  935    Paramore                                             Let The Flames Begin                                SR0000631909                   Atlantic Recording Corporation
  936    Paramore                                             Looking Up                                          SR0000657157                   Atlantic Recording Corporation
  937    Paramore                                             Miracle                                             SR0000631909                   Atlantic Recording Corporation
  938    Paramore                                             Misguided Ghosts                                    SR0000657157                   Atlantic Recording Corporation
  939    Paramore                                             Now                                                 SR0000724441                   Atlantic Recording Corporation
  940    Paramore                                             Part II                                             SR0000724441                   Atlantic Recording Corporation
  941    Paramore                                             Proof                                               SR0000724441                   Atlantic Recording Corporation


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                                   Artist                                                  Track                           Registration Number                      Plaintiff
  942    Paramore                                             Still Into You                                      SR0000724441                   Atlantic Recording Corporation
  943    Paramore                                             That's What You Get                                 SR0000631909                   Atlantic Recording Corporation
  944    Paramore                                             Turn It Off                                         SR0000657157                   Atlantic Recording Corporation
  945    Paramore                                             We Are Broken                                       SR0000631909                   Atlantic Recording Corporation
  946    Paramore                                             When It Rains                                       SR0000631909                   Atlantic Recording Corporation
  947    Plies                                                1 Mo Time                                           SR0000612286                   Atlantic Recording Corporation
  948    Plies                                                100 Years                                           SR0000612286                   Atlantic Recording Corporation
  949    Plies                                                Friday                                              SR0000612286                   Atlantic Recording Corporation
  950    Plies                                                Goons Lurkin                                        SR0000612286                   Atlantic Recording Corporation
  951    Plies                                                I Am The Club                                       SR0000612286                   Atlantic Recording Corporation
  952    Plies                                                I Kno U Workin                                      SR0000612286                   Atlantic Recording Corporation
  953    Plies                                                Kept It Too Real                                    SR0000612286                   Atlantic Recording Corporation
  954    Plies                                                Money Straight                                      SR0000612286                   Atlantic Recording Corporation
  955    Plies                                                Murkin Season                                       SR0000612286                   Atlantic Recording Corporation
  956    Plies                                                On My D**k                                          SR0000612286                   Atlantic Recording Corporation
  957    Plies                                                Runnin' My Momma Crazy                              SR0000612286                   Atlantic Recording Corporation
  958    Plies                                                The Real Testament Intro                            SR0000612286                   Atlantic Recording Corporation
  959    Plies                                                You                                                 SR0000612286                   Atlantic Recording Corporation
  960    Plies                                                Shawty                                              SR0000612286                   Atlantic Recording Corporation
  961    Plies feat. Akon                                     Hypnotized                                          SR0000612286                   Atlantic Recording Corporation
  962    Rob Thomas                                           All That I Am                                       SR0000373876                   Atlantic Recording Corporation
  963    Rob Thomas                                           Ever The Same                                       SR0000373876                   Atlantic Recording Corporation
  964    Rob Thomas                                           Fallin' To Pieces                                   SR0000373876                   Atlantic Recording Corporation
  965    Rob Thomas                                           I Am An Illusion                                    SR0000373876                   Atlantic Recording Corporation
  966    Rob Thomas                                           Lonely No More                                      SR0000373876                   Atlantic Recording Corporation
  967    Rob Thomas                                           My, My, My                                          SR0000373876                   Atlantic Recording Corporation
  968    Rob Thomas                                           Now Comes The Night                                 SR0000373876                   Atlantic Recording Corporation
  969    Rob Thomas                                           Problem Girl                                        SR0000373876                   Atlantic Recording Corporation
  970    Rob Thomas                                           Something To Be                                     SR0000373876                   Atlantic Recording Corporation
  971    Rob Thomas                                           This Is How A Heart Breaks                          SR0000373876                   Atlantic Recording Corporation
  972    Rob Thomas                                           When The Heartache Ends                             SR0000373876                   Atlantic Recording Corporation
  973    Shinedown                                            45                                                  SR0000342566                   Atlantic Recording Corporation
  974    Shinedown                                            All I Ever Wanted                                   SR0000342566                   Atlantic Recording Corporation
  975    Shinedown                                            Better Version                                      SR0000342566                   Atlantic Recording Corporation
  976    Shinedown                                            Breaking Inside                                     SR0000673788                   Atlantic Recording Corporation
  977    Shinedown                                            Burning Bright                                      SR0000342566                   Atlantic Recording Corporation
  978    Shinedown                                            Call Me                                             SR0000673788                   Atlantic Recording Corporation
  979    Shinedown                                            Cry For Help                                        SR0000673788                   Atlantic Recording Corporation
  980    Shinedown                                            Crying Out                                          SR0000342566                   Atlantic Recording Corporation
  981    Shinedown                                            Cyanide Sweet Tooth Suicide                         SR0000673788                   Atlantic Recording Corporation
  982    Shinedown                                            Devour                                              SR0000673788                   Atlantic Recording Corporation
  983    Shinedown                                            Fly From The Inside                                 SR0000342566                   Atlantic Recording Corporation
  984    Shinedown                                            I Own You                                           SR0000673788                   Atlantic Recording Corporation
  985    Shinedown                                            If You Only Knew                                    SR0000673788                   Atlantic Recording Corporation
  986    Shinedown                                            In Memory                                           SR0000342566                   Atlantic Recording Corporation
  987    Shinedown                                            Lacerated                                           SR0000342566                   Atlantic Recording Corporation
  988    Shinedown                                            Left Out                                            SR0000342566                   Atlantic Recording Corporation
  989    Shinedown                                            Lost In The Crowd                                   SR0000342566                   Atlantic Recording Corporation
  990    Shinedown                                            No More Love                                        SR0000342566                   Atlantic Recording Corporation
  991    Shinedown                                            Second Chance                                       SR0000673788                   Atlantic Recording Corporation
  992    Shinedown                                            Sin With A Grin                                     SR0000673788                   Atlantic Recording Corporation
  993    Shinedown                                            Son Of Sam                                          SR0000673788                   Atlantic Recording Corporation
  994    Shinedown                                            Sound Of Madness                                    SR0000673788                   Atlantic Recording Corporation
  995    Shinedown                                            Stranger Inside                                     SR0000342566                   Atlantic Recording Corporation
  996    Shinedown                                            The Crow & The Butterfly                            SR0000673788                   Atlantic Recording Corporation
  997    Shinedown                                            The Energy                                          SR0000673788                   Atlantic Recording Corporation
  998    Shinedown                                            What A Shame                                        SR0000673788                   Atlantic Recording Corporation
  999    Simple Plan                                          Generation                                          SR0000639323                   Atlantic Recording Corporation
  1000   Simple Plan                                          Holding On                                          SR0000639323                   Atlantic Recording Corporation
  1001   Simple Plan                                          I Can Wait Forever                                  SR0000639323                   Atlantic Recording Corporation
  1002   Simple Plan                                          No Love                                             SR0000639323                   Atlantic Recording Corporation
  1003   Simple Plan                                          Running Out of Time                                 SR0000686779                   Atlantic Recording Corporation
  1004   Simple Plan                                          Save You                                            SR0000639323                   Atlantic Recording Corporation
  1005   Simple Plan                                          Take My Hand                                        SR0000639323                   Atlantic Recording Corporation
  1006   Simple Plan                                          The End                                             SR0000639323                   Atlantic Recording Corporation
  1007   Simple Plan                                          Time To Say Goodbye                                 SR0000639323                   Atlantic Recording Corporation
  1008   Simple Plan                                          When I'm Gone                                       SR0000639323                   Atlantic Recording Corporation
  1009   Simple Plan                                          When I'm Gone (Acoustic Version)                    SR0000686779                   Atlantic Recording Corporation
  1010   Simple Plan                                          Your Love Is A Lie                                  SR0000639323                   Atlantic Recording Corporation
  1011   Staind                                               All I Want                                          SR0000652574                   Atlantic Recording Corporation
  1012   Staind                                               Believe                                             SR0000652574                   Atlantic Recording Corporation
  1013   Staind                                               Break Away                                          SR0000652574                   Atlantic Recording Corporation
  1014   Staind                                               It's Been Awhile (Live at Hiro Ballroom)            SR0000708769                   Atlantic Recording Corporation
  1015   Staind                                               Lost Along The Way                                  SR0000652574                   Atlantic Recording Corporation
  1016   Staind                                               Nothing Left To Say                                 SR0000652574                   Atlantic Recording Corporation
  1017   Staind                                               Pardon Me                                           SR0000652574                   Atlantic Recording Corporation
  1018   Staind                                               Raining Again                                       SR0000652574                   Atlantic Recording Corporation
  1019   Staind                                               Rainy Day Parade                                    SR0000652574                   Atlantic Recording Corporation
  1020   Staind                                               Tangled Up In You                                   SR0000652574                   Atlantic Recording Corporation
  1021   Staind                                               The Corner                                          SR0000652574                   Atlantic Recording Corporation
  1022   Staind                                               The Way I Am                                        SR0000652574                   Atlantic Recording Corporation
  1023   Staind                                               This Is It                                          SR0000652574                   Atlantic Recording Corporation
  1024   Trey Songz                                           2 Reasons                                           SR0000715080                   Atlantic Recording Corporation
  1025   Trey Songz                                           Alone                                               SR0000671697                   Atlantic Recording Corporation
  1026   Trey Songz                                           Bad Decisions                                       SR0000715080                   Atlantic Recording Corporation
  1027   Trey Songz                                           Blind                                               SR0000671697                   Atlantic Recording Corporation


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                                   Artist                                             Track                            Registration Number                      Plaintiff
  1028   Trey Songz                                           Bottoms Up                                      SR0000671697                   Atlantic Recording Corporation
  1029   Trey Songz                                           Can't Be Friends                                SR0000671697                   Atlantic Recording Corporation
  1030   Trey Songz                                           Chapter V                                       SR0000715080                   Atlantic Recording Corporation
  1031   Trey Songz                                           Check Me Out                                    SR0000715080                   Atlantic Recording Corporation
  1032   Trey Songz                                           Dive In                                         SR0000715080                   Atlantic Recording Corporation
  1033   Trey Songz                                           Don't Be Scared                                 SR0000715080                   Atlantic Recording Corporation
  1034   Trey Songz                                           Doorbell                                        SR0000671697                   Atlantic Recording Corporation
  1035   Trey Songz                                           Forever Yours                                   SR0000715080                   Atlantic Recording Corporation
  1036   Trey Songz                                           Fumble                                          SR0000715080                   Atlantic Recording Corporation
  1037   Trey Songz                                           Hail Mary                                       SR0000715080                   Atlantic Recording Corporation
  1038   Trey Songz                                           Heart Attack                                    SR0000715080                   Atlantic Recording Corporation
  1039   Trey Songz                                           Inside Interlewd                                SR0000715080                   Atlantic Recording Corporation
  1040   Trey Songz                                           Interlude4U                                     SR0000715080                   Atlantic Recording Corporation
  1041   Trey Songz                                           Love Faces                                      SR0000671697                   Atlantic Recording Corporation
  1042   Trey Songz                                           Made To Be Together                             SR0000671697                   Atlantic Recording Corporation
  1043   Trey Songz                                           Massage                                         SR0000671697                   Atlantic Recording Corporation
  1044   Trey Songz                                           Never Again                                     SR0000715080                   Atlantic Recording Corporation
  1045   Trey Songz                                           Pain (Interlude)                                SR0000671697                   Atlantic Recording Corporation
  1046   Trey Songz                                           Panty Wetter                                    SR0000715080                   Atlantic Recording Corporation
  1047   Trey Songz                                           Passion (Interlude)                             SR0000671697                   Atlantic Recording Corporation
  1048   Trey Songz                                           Playin' Hard                                    SR0000715080                   Atlantic Recording Corporation
  1049   Trey Songz                                           Please Return My Call                           SR0000671697                   Atlantic Recording Corporation
  1050   Trey Songz                                           Pleasure (Interlude)                            SR0000671697                   Atlantic Recording Corporation
  1051   Trey Songz                                           Pretty Girl's Lie                               SR0000715080                   Atlantic Recording Corporation
  1052   Trey Songz                                           Red Lipstick                                    SR0000671697                   Atlantic Recording Corporation
  1053   Trey Songz                                           Simply Amazing                                  SR0000715080                   Atlantic Recording Corporation
  1054   Trey Songz                                           Unfortunate                                     SR0000671697                   Atlantic Recording Corporation
  1055   Trey Songz                                           Unusual                                         SR0000671697                   Atlantic Recording Corporation
  1056   Trey Songz                                           Without A Woman                                 SR0000715080                   Atlantic Recording Corporation
  1057   Trey Songz                                           You Just Need Me                                SR0000671697                   Atlantic Recording Corporation
  1058   Ty Dolla $ign                                        Or Nah                                          SR0000743306                   Atlantic Recording Corporation
  1059   Uncle Kracker                                        Smile                                           SR0000657108                   Atlantic Recording Corporation
  1060   Waka Flocka Flame                                    Bang                                            SR0000672357                   Atlantic Recording Corporation
  1061   Waka Flocka Flame                                    Bricksquad                                      SR0000672357                   Atlantic Recording Corporation
  1062   Waka Flocka Flame                                    Bustin' At 'Em                                  SR0000672357                   Atlantic Recording Corporation
  1063   Waka Flocka Flame                                    F**k The Club Up                                SR0000672357                   Atlantic Recording Corporation
  1064   Waka Flocka Flame                                    F**k This Industry                              SR0000672357                   Atlantic Recording Corporation
  1065   Waka Flocka Flame                                    For My Dawgs                                    SR0000672357                   Atlantic Recording Corporation
  1066   Waka Flocka Flame                                    G Check                                         SR0000672357                   Atlantic Recording Corporation
  1067   Waka Flocka Flame                                    Grove St. Party                                 SR0000672357                   Atlantic Recording Corporation
  1068   Waka Flocka Flame                                    Homies                                          SR0000672357                   Atlantic Recording Corporation
  1069   Waka Flocka Flame                                    Karma                                           SR0000672357                   Atlantic Recording Corporation
  1070   Waka Flocka Flame                                    Live By The Gun                                 SR0000672357                   Atlantic Recording Corporation
  1071   Waka Flocka Flame                                    No Hands                                        SR0000672357                   Atlantic Recording Corporation
  1072   Waka Flocka Flame                                    O Let's Do It                                   SR0000672357                   Atlantic Recording Corporation
  1073   Waka Flocka Flame                                    Smoke, Drank                                    SR0000672357                   Atlantic Recording Corporation
  1074   Waka Flocka Flame                                    Snake In The Grass                              SR0000672357                   Atlantic Recording Corporation
  1075   Waka Flocka Flame                                    TTG (Trained To Go)                             SR0000672357                   Atlantic Recording Corporation
  1076   Wale & Meek Mill                                     Bag Of Money                                    SR0000718581                   Atlantic Recording Corporation
  1077   Wiz Khalifa                                          Bluffin                                         SR0000715951                   Atlantic Recording Corporation
  1078   Wiz Khalifa                                          Fall Asleep                                     SR0000715951                   Atlantic Recording Corporation
  1079   Wiz Khalifa                                          Got Everything                                  SR0000715951                   Atlantic Recording Corporation
  1080   Wiz Khalifa                                          Initiation                                      SR0000715951                   Atlantic Recording Corporation
  1081   Wiz Khalifa                                          Intro                                           SR0000715951                   Atlantic Recording Corporation
  1082   Wiz Khalifa                                          It's Nothin                                     SR0000715951                   Atlantic Recording Corporation
  1083   Wiz Khalifa                                          Let It Go                                       SR0000715951                   Atlantic Recording Corporation
  1084   Wiz Khalifa                                          Medicated                                       SR0000715951                   Atlantic Recording Corporation
  1085   Wiz Khalifa                                          No Limit                                        SR0000715951                   Atlantic Recording Corporation
  1086   Wiz Khalifa                                          Paperbond                                       SR0000715951                   Atlantic Recording Corporation
  1087   Wiz Khalifa                                          Remember You                                    SR0000715951                   Atlantic Recording Corporation
  1088   Wiz Khalifa                                          Rise Above                                      SR0000715951                   Atlantic Recording Corporation
  1089   Wiz Khalifa                                          The Bluff                                       SR0000715951                   Atlantic Recording Corporation
  1090   Wiz Khalifa                                          The Plan                                        SR0000715951                   Atlantic Recording Corporation
  1091   Wiz Khalifa                                          Time                                            SR0000715951                   Atlantic Recording Corporation
  1092   Wiz Khalifa                                          Up In It                                        SR0000715951                   Atlantic Recording Corporation
  1093   Wiz Khalifa                                          Work Hard, Play Hard                            SR0000715951                   Atlantic Recording Corporation
  1094   Zac Brown Band                                       Day That I Die                                  SR0000726685                   Atlantic Recording Corporation
  1095   Zac Brown Band                                       Goodbye In Her Eyes                             SR0000726685                   Atlantic Recording Corporation
  1096   Zac Brown Band                                       Island Song                                     SR0000726685                   Atlantic Recording Corporation
  1097   Zac Brown Band                                       Lance's Song                                    SR0000726685                   Atlantic Recording Corporation
  1098   Zac Brown Band                                       Last But Not Least                              SR0000726685                   Atlantic Recording Corporation
  1099   Zac Brown Band                                       Natural Disaster                                SR0000726685                   Atlantic Recording Corporation
  1100   Zac Brown Band                                       Overnight                                       SR0000726685                   Atlantic Recording Corporation
  1101   Zac Brown Band                                       Sweet Annie                                     SR0000726685                   Atlantic Recording Corporation
  1102   Zac Brown Band                                       The Wind                                        SR0000726685                   Atlantic Recording Corporation
  1103   Zac Brown Band                                       Uncaged                                         SR0000726685                   Atlantic Recording Corporation
  1104   Gorilla Zoe                                          Lost                                            SR0000663781                   Bad Boy Records LLC
  1105   P. Diddy feat. Keyshia Cole                          Last Night                                      SR0000400868                   Bad Boy Records LLC
  1106   The Notorious B.I.G.                                 Notorious Thugs                                 SR0000220411                   Bad Boy Records LLC
  1107   Yung Joc                                             1st Time                                        SR0000393525                   Bad Boy Records LLC
  1108   Yung Joc                                             Bottle Poppin'                                  SR0000622799                   Bad Boy Records LLC
  1109   Yung Joc                                             Brand New                                       SR0000622799                   Bad Boy Records LLC
  1110   Yung Joc                                             BYOB                                            SR0000622799                   Bad Boy Records LLC
  1111   Yung Joc                                             Chevy Smile                                     SR0000622799                   Bad Boy Records LLC
  1112   Yung Joc                                             Coffee Shop                                     SR0000622799                   Bad Boy Records LLC
  1113   Yung Joc                                             Cut Throat                                      SR0000622799                   Bad Boy Records LLC


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                                   Artist                                                 Track                        Registration Number                      Plaintiff
  1114   Yung Joc                                             Do Yah Bad                                      SR0000393525                   Bad Boy Records LLC
  1115   Yung Joc                                             Don't Play Wit It                               SR0000393525                   Bad Boy Records LLC
  1116   Yung Joc                                             Dope Boy Magic                                  SR0000393525                   Bad Boy Records LLC
  1117   Yung Joc                                             Excuse Me Officer (Interlude)                   SR0000393525                   Bad Boy Records LLC
  1118   Yung Joc                                             Flip Flop                                       SR0000393525                   Bad Boy Records LLC
  1119   Yung Joc                                             Getting to da Money                             SR0000622799                   Bad Boy Records LLC
  1120   Yung Joc                                             He Stayed In Trouble (Interlude)                SR0000393525                   Bad Boy Records LLC
  1121   Yung Joc                                             Hear Me Coming                                  SR0000393525                   Bad Boy Records LLC
  1122   Yung Joc                                             Hell Yeah                                       SR0000622799                   Bad Boy Records LLC
  1123   Yung Joc                                             Hustlemania (Skit)                              SR0000622799                   Bad Boy Records LLC
  1124   Yung Joc                                             Hustlenomics                                    SR0000622799                   Bad Boy Records LLC
  1125   Yung Joc                                             I Know You See It                               SR0000393525                   Bad Boy Records LLC
  1126   Yung Joc                                             I'm Him                                         SR0000393525                   Bad Boy Records LLC
  1127   Yung Joc                                             It's Goin' Down                                 SR0000393525                   Bad Boy Records LLC
  1128   Yung Joc                                             Knock It Out                                    SR0000393525                   Bad Boy Records LLC
  1129   Yung Joc                                             Livin' The Life                                 SR0000622799                   Bad Boy Records LLC
  1130   Yung Joc                                             New Joc City (Intro)                            SR0000393525                   Bad Boy Records LLC
  1131   Yung Joc                                             Pak Man                                         SR0000622799                   Bad Boy Records LLC
  1132   Yung Joc                                             Patron                                          SR0000393525                   Bad Boy Records LLC
  1133   Yung Joc                                             Picture Perfect                                 SR0000393525                   Bad Boy Records LLC
  1134   Yung Joc                                             Play Your Cards                                 SR0000622799                   Bad Boy Records LLC
  1135   Yung Joc                                             I'm A G                                         SR0000622799                   Bad Boy Records LLC
  1136   Yung Joc                                             Momma                                           SR0000622799                   Bad Boy Records LLC
  1137   30 Seconds To Mars                                   A Modern Myth (Without Hidden Track)            SR0000377457                   Capitol Records, LLC
  1138   30 Seconds To Mars                                   Battle Of One                                   SR0000377457                   Capitol Records, LLC
  1139   30 Seconds To Mars                                   Hunter                                          SR0000377457                   Capitol Records, LLC
  1140   30 Seconds To Mars                                   R-Evolve                                        SR0000377457                   Capitol Records, LLC
  1141   30 Seconds To Mars                                   Savior                                          SR0000377457                   Capitol Records, LLC
  1142   30 Seconds To Mars                                   The Fantasy                                     SR0000377457                   Capitol Records, LLC
  1143   30 Seconds To Mars                                   The Kill [Bury Me]                              SR0000377457                   Capitol Records, LLC
  1144   30 Seconds To Mars                                   The Story                                       SR0000377457                   Capitol Records, LLC
  1145   30 Seconds To Mars                                   Was It A Dream?                                 SR0000377457                   Capitol Records, LLC
  1146   5 Seconds Of Summer                                  Heartache On The Big Screen                     SR0000741298                   Capitol Records, LLC
  1147   5 Seconds Of Summer                                  She Looks So Perfect                            SR0000741298                   Capitol Records, LLC
  1148   5 Seconds Of Summer                                  The Only Reason                                 SR0000741298                   Capitol Records, LLC
  1149   5 Seconds Of Summer                                  What I Like About You                           SR0000764151                   Capitol Records, LLC
  1150   Avant                                                Break Ya Back                                   SR0000648878                   Capitol Records, LLC
  1151   Avant                                                French Pedicure                                 SR0000648878                   Capitol Records, LLC
  1152   Avant                                                Involve Yourself                                SR0000648878                   Capitol Records, LLC
  1153   Avant                                                Material Things                                 SR0000648878                   Capitol Records, LLC
  1154   Avant                                                Out of Character                                SR0000648878                   Capitol Records, LLC
  1155   Avant                                                Perfect Gentleman                               SR0000648878                   Capitol Records, LLC
  1156   Avant                                                Sailing                                         SR0000648878                   Capitol Records, LLC
  1157   Avant                                                Sensuality                                      SR0000648878                   Capitol Records, LLC
  1158   Avant                                                When It Hurts                                   SR0000649607                   Capitol Records, LLC
  1159   Avant                                                Y.O.U.                                          SR0000648878                   Capitol Records, LLC
  1160   Avant feat. Snoop Dogg                               Attention                                       SR0000648878                   Capitol Records, LLC
  1161   Blind Melon                                          2X4                                             SR0000262682                   Capitol Records, LLC
  1162   Blind Melon                                          All That I Need                                 SR0000336269                   Capitol Records, LLC
  1163   Blind Melon                                          Car Seat (God's Presents)                       SR0000262682                   Capitol Records, LLC
  1164   Blind Melon                                          Change                                          SR0000384161                   Capitol Records, LLC
  1165   Blind Melon                                          Dear Ol' Dad                                    SR0000384161                   Capitol Records, LLC
  1166   Blind Melon                                          Deserted                                        SR0000384161                   Capitol Records, LLC
  1167   Blind Melon                                          Drive                                           SR0000384161                   Capitol Records, LLC
  1168   Blind Melon                                          Dumptruck                                       SR0000262682                   Capitol Records, LLC
  1169   Blind Melon                                          Galaxie                                         SR0000262682                   Capitol Records, LLC
  1170   Blind Melon                                          Glitch                                          SR0000336269                   Capitol Records, LLC
  1171   Blind Melon                                          Hell                                            SR0000336269                   Capitol Records, LLC
  1172   Blind Melon                                          Holyman                                         SR0000384161                   Capitol Records, LLC
  1173   Blind Melon                                          I Wonder                                        SR0000384161                   Capitol Records, LLC
  1174   Blind Melon                                          John Sinclair                                   SR0000336269                   Capitol Records, LLC
  1175   Blind Melon                                          Lemonade                                        SR0000262682                   Capitol Records, LLC
  1176   Blind Melon                                          Letters From A Porcupine                        SR0000336269                   Capitol Records, LLC
  1177   Blind Melon                                          Life Ain't So Shitty                            SR0000336269                   Capitol Records, LLC
  1178   Blind Melon                                          Mouthful Of Cavities                            SR0000262682                   Capitol Records, LLC
  1179   Blind Melon                                          New Life                                        SR0000262682                   Capitol Records, LLC
  1180   Blind Melon                                          No Rain                                         SR0000384161                   Capitol Records, LLC
  1181   Blind Melon                                          No Rain (Ripped Away Version)                   SR0000336269                   Capitol Records, LLC
  1182   Blind Melon                                          Paper Scratcher                                 SR0000384161                   Capitol Records, LLC
  1183   Blind Melon                                          Pull                                            SR0000336269                   Capitol Records, LLC
  1184   Blind Melon                                          Seed To A Tree                                  SR0000384161                   Capitol Records, LLC
  1185   Blind Melon                                          Skinned                                         SR0000262682                   Capitol Records, LLC
  1186   Blind Melon                                          Sleepyhouse                                     SR0000384161                   Capitol Records, LLC
  1187   Blind Melon                                          Soak The Sin                                    SR0000384161                   Capitol Records, LLC
  1188   Blind Melon                                          Soul One                                        SR0000336269                   Capitol Records, LLC
  1189   Blind Melon                                          Soup                                            SR0000336269                   Capitol Records, LLC
  1190   Blind Melon                                          St. Andrew's Fall                               SR0000262682                   Capitol Records, LLC
  1191   Blind Melon                                          St. Andrew's Hall                               SR0000336269                   Capitol Records, LLC
  1192   Blind Melon                                          Swallowed                                       SR0000336269                   Capitol Records, LLC
  1193   Blind Melon                                          The Duke                                        SR0000262682                   Capitol Records, LLC
  1194   Blind Melon                                          The Pusher                                      SR0000336269                   Capitol Records, LLC
  1195   Blind Melon                                          Time                                            SR0000384161                   Capitol Records, LLC
  1196   Blind Melon                                          Toes Across The Floor                           SR0000262682                   Capitol Records, LLC
  1197   Blind Melon                                          Tones Of Home                                   SR0000384161                   Capitol Records, LLC
  1198   Blind Melon                                          Vernie                                          SR0000262682                   Capitol Records, LLC
  1199   Blind Melon                                          Walk                                            SR0000262682                   Capitol Records, LLC


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                                  Artist                                                     Track                            Registration Number                      Plaintiff
  1200   Blind Melon                                          Wilt                                                   SR0000262682                   Capitol Records, LLC
  1201   Capital Cities                                       Center Stage                                           SR0000725325                   Capitol Records, LLC
  1202   Capital Cities                                       Chartreuse                                             SR0000725325                   Capitol Records, LLC
  1203   Capital Cities                                       Chasing You                                            SR0000725325                   Capitol Records, LLC
  1204   Capital Cities                                       Farrah Fawcett Hair                                    SR0000725325                   Capitol Records, LLC
  1205   Capital Cities                                       I Sold My Bed, But Not My Stereo                       SR0000725325                   Capitol Records, LLC
  1206   Capital Cities                                       Kangaroo Court                                         SR0000725325                   Capitol Records, LLC
  1207   Capital Cities                                       Lazy Lies                                              SR0000725325                   Capitol Records, LLC
  1208   Capital Cities                                       Love Away                                              SR0000725325                   Capitol Records, LLC
  1209   Capital Cities                                       Origami                                                SR0000725325                   Capitol Records, LLC
  1210   Capital Cities                                       Patience Gets Us Nowhere Fast                          SR0000725325                   Capitol Records, LLC
  1211   Capital Cities                                       Safe and Sound                                         SR0000725325                   Capitol Records, LLC
  1212   Capital Cities                                       Tell Me How To Live                                    SR0000725325                   Capitol Records, LLC
  1213   Darius Rucker                                        Heartbreak Road                                        SR0000724693                   Capitol Records, LLC
  1214   Darius Rucker                                        Leavin' The Light On                                   SR0000724693                   Capitol Records, LLC
  1215   Darius Rucker                                        Lie To Me                                              SR0000724693                   Capitol Records, LLC
  1216   Darius Rucker                                        Lost In You                                            SR0000724693                   Capitol Records, LLC
  1217   Darius Rucker                                        Miss You                                               SR0000724693                   Capitol Records, LLC
  1218   Darius Rucker                                        Radio                                                  SR0000724693                   Capitol Records, LLC
  1219   Darius Rucker                                        Shine                                                  SR0000724693                   Capitol Records, LLC
  1220   Darius Rucker                                        Take Me Home                                           SR0000724693                   Capitol Records, LLC
  1221   Darius Rucker                                        True Believers                                         SR0000724693                   Capitol Records, LLC
  1222   Darius Rucker                                        Wagon Wheel                                            SR0000724693                   Capitol Records, LLC
  1223   Darius Rucker/Mallary Hope                           I Will Love You Still                                  SR0000724693                   Capitol Records, LLC
  1224   Darius Rucker/Sheryl Crow                            Love Without You                                       SR0000724693                   Capitol Records, LLC
  1225   David Guetta                                         Sweat                                                  SR0000683521                   Capitol Records, LLC
  1226   Garth Brooks                                         Dance, The                                             SR0000109121                   Capitol Records, LLC
  1227   Heart                                                All I Wanna Do Is Make Love To You                     SR0000114803                   Capitol Records, LLC
  1228   Heart                                                Alone                                                  SR0000088275                   Capitol Records, LLC
  1229   Heart                                                Crazy On You                                           SR0000102964                   Capitol Records, LLC
  1230   Heart                                                Dog And Butterfly                                      SR0000276088                   Capitol Records, LLC
  1231   Heart                                                Dreamboat Annie                                        SR0000102964                   Capitol Records, LLC
  1232   Heart                                                Heartless                                              SR0000102963                   Capitol Records, LLC
  1233   Heart                                                If Looks Could Kill                                    SR0000075726                   Capitol Records, LLC
  1234   Heart                                                Magic Man                                              SR0000102964                   Capitol Records, LLC
  1235   Heart                                                Never                                                  SR0000075726                   Capitol Records, LLC
  1236   Heart                                                Nothin' At All                                         SR0000075726                   Capitol Records, LLC
  1237   Heart                                                Stranded                                               SR0000114803                   Capitol Records, LLC
  1238   Heart                                                These Dreams                                           SR0000276088                   Capitol Records, LLC
  1239   Heart                                                What About Love                                        SR0000075726                   Capitol Records, LLC
  1240   Heart                                                Who Will You Run To                                    SR0000088275                   Capitol Records, LLC
  1241   Heart                                                Will You Be There (In The Morning)                     SR0000212555                   Capitol Records, LLC
  1242   Katy Perry                                           Circle The Drain                                       SR0000662268                   Capitol Records, LLC
  1243   Katy Perry                                           Dressin' Up                                            SR0000695553                   Capitol Records, LLC
  1244   Katy Perry                                           E.T.                                                   SR0000681293                   Capitol Records, LLC
  1245   Katy Perry                                           Fingerprints                                           SR0000638214                   Capitol Records, LLC
  1246   Katy Perry                                           Firework                                               SR0000662268                   Capitol Records, LLC
  1247   Katy Perry                                           Hot N Cold                                             SR0000638214                   Capitol Records, LLC
  1248   Katy Perry                                           Hummingbird Heartbeat                                  SR0000662268                   Capitol Records, LLC
  1249   Katy Perry                                           I Kissed A Girl                                        SR0000638214                   Capitol Records, LLC
  1250   Katy Perry                                           If You Can Afford Me                                   SR0000638214                   Capitol Records, LLC
  1251   Katy Perry                                           I'm Still Breathing                                    SR0000638214                   Capitol Records, LLC
  1252   Katy Perry                                           Last Friday Night (T.G.I.F.)                           SR0000662268                   Capitol Records, LLC
  1253   Katy Perry                                           Last Friday Night (T.G.I.F.) (feat. Missy Elliot)      SR0000695549                   Capitol Records, LLC
  1254   Katy Perry                                           Lost                                                   SR0000638213                   Capitol Records, LLC
  1255   Katy Perry                                           Mannequin                                              SR0000638214                   Capitol Records, LLC
  1256   Katy Perry                                           Not Like The Movies                                    SR0000662268                   Capitol Records, LLC
  1257   Katy Perry                                           One Of The Boys                                        SR0000638214                   Capitol Records, LLC
  1258   Katy Perry                                           Part Of Me                                             SR0000695742                   Capitol Records, LLC
  1259   Katy Perry                                           Peacock                                                SR0000662268                   Capitol Records, LLC
  1260   Katy Perry                                           Pearl                                                  SR0000662268                   Capitol Records, LLC
  1261   Katy Perry                                           Roar                                                   SR0000734383                   Capitol Records, LLC
  1262   Katy Perry                                           Self Inflicted                                         SR0000638214                   Capitol Records, LLC
  1263   Katy Perry                                           Teenage Dream                                          SR0000662267                   Capitol Records, LLC
  1264   Katy Perry                                           Teenage Dream (Kaskade Club Remix)                     SR0000662268                   Capitol Records, LLC
  1265   Katy Perry                                           The One That Got Away                                  SR0000662268                   Capitol Records, LLC
  1266   Katy Perry                                           The One That Got Away (Acoustic)                       SR0000695553                   Capitol Records, LLC
  1267   Katy Perry                                           Thinking Of You                                        SR0000638214                   Capitol Records, LLC
  1268   Katy Perry                                           Tommie Sunshine's Megasix Smash-Up                     SR0000695553                   Capitol Records, LLC
  1269   Katy Perry                                           Ur So Gay                                              SR0000638214                   Capitol Records, LLC
  1270   Katy Perry                                           Waking Up In Vegas                                     SR0000638214                   Capitol Records, LLC
  1271   Katy Perry                                           Who Am I Living For?                                   SR0000662268                   Capitol Records, LLC
  1272   Katy Perry feat. Snoop Dogg                          California Gurls                                       SR0000662264                   Capitol Records, LLC
  1273   Katy Perry feat. Snoop Dogg                          California Gurls (Armand Van Helden Remix)             SR0000669922                   Capitol Records, LLC
  1274   Katy Perry feat. Snoop Dogg                          California Gurls (Passion Pit Main Mix)                SR0000662268                   Capitol Records, LLC
  1275   Kenny Rogers                                         Daytime Friends                                        N44114                         Capitol Records, LLC
  1276   Kenny Rogers                                         Don't Fall In Love With A Dreamer                      SR0000017924                   Capitol Records, LLC
  1277   Kenny Rogers                                         Share Your Love With Me                                SR0000027768                   Capitol Records, LLC
  1278   Kenny Rogers                                         Through The Years                                      SR0000027768                   Capitol Records, LLC
  1279   Kenny Rogers                                         What Are We Doin' In Love                              SR0000024347                   Capitol Records, LLC
  1280   Lady Antebellum                                      All For Love                                           SR0000724696                   Capitol Records, LLC
  1281   Lady Antebellum                                      And The Radio Played                                   SR0000724696                   Capitol Records, LLC
  1282   Lady Antebellum                                      As You Turn Away                                       SR0000686148                   Capitol Records, LLC
  1283   Lady Antebellum                                      Better Man                                             SR0000724696                   Capitol Records, LLC




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                                   Artist                                                Track                             Registration Number                      Plaintiff
  1284   Lady Antebellum                                      Better Off Now (That You're Gone)                   SR0000724696                   Capitol Records, LLC

  1285   Lady Antebellum                                      Can't Stand The Rain                                SR0000724696                   Capitol Records, LLC
  1286   Lady Antebellum                                      Cold As Stone                                       SR0000686148                   Capitol Records, LLC
  1287   Lady Antebellum                                      Compass                                             SR0000750709                   Capitol Records, LLC
  1288   Lady Antebellum                                      Dancin' Away With My Heart                          SR0000686147                   Capitol Records, LLC
  1289   Lady Antebellum                                      Downtown                                            SR0000721174                   Capitol Records, LLC
  1290   Lady Antebellum                                      Friday Night                                        SR0000686148                   Capitol Records, LLC
  1291   Lady Antebellum                                      Generation Away                                     SR0000723786                   Capitol Records, LLC
  1292   Lady Antebellum                                      Get To Me                                           SR0000724696                   Capitol Records, LLC
  1293   Lady Antebellum                                      Golden                                              SR0000741953                   Capitol Records, LLC
  1294   Lady Antebellum                                      Goodbye Town                                        SR0000724696                   Capitol Records, LLC
  1295   Lady Antebellum                                      Heart Of The World                                  SR0000686148                   Capitol Records, LLC
  1296   Lady Antebellum                                      I Run To You                                        SR0000732681                   Capitol Records, LLC
  1297   Lady Antebellum                                      It Ain't Pretty                                     SR0000724696                   Capitol Records, LLC
  1298   Lady Antebellum                                      Just A Kiss                                         SR0000679267                   Capitol Records, LLC
  1299   Lady Antebellum                                      Life As We Know It                                  SR0000724696                   Capitol Records, LLC
  1300   Lady Antebellum                                      Long Teenage Goodbye                                SR0000724696                   Capitol Records, LLC
  1301   Lady Antebellum                                      Love I've Found In You                              SR0000686148                   Capitol Records, LLC
  1302   Lady Antebellum                                      Nothin' Like The First Time                         SR0000724696                   Capitol Records, LLC
  1303   Lady Antebellum                                      Singing Me Home                                     SR0000686148                   Capitol Records, LLC
  1304   Lady Antebellum                                      Somewhere Love Remains                              SR0000686148                   Capitol Records, LLC
  1305   Lady Antebellum                                      Wanted You More                                     SR0000686145                   Capitol Records, LLC
  1306   Lady Antebellum                                      We Owned The Night                                  SR0000686144                   Capitol Records, LLC
  1307   Lady Antebellum                                      When You Were Mine                                  SR0000686148                   Capitol Records, LLC
  1308   Luke Bryan                                           All My Friends Say                                  SR0000612029                   Capitol Records, LLC
  1309   Luke Bryan                                           Baby's On The Way                                   SR0000612029                   Capitol Records, LLC
  1310   Luke Bryan                                           Beer In The Headlights                              SR0000728445                   Capitol Records, LLC
  1311   Luke Bryan                                           Better Than My Heart                                SR0000728445                   Capitol Records, LLC
  1312   Luke Bryan                                           Blood Brothers                                      SR0000722027                   Capitol Records, LLC
  1313   Luke Bryan                                           Country Man                                         SR0000612029                   Capitol Records, LLC
  1314   Luke Bryan                                           Crash My Party                                      SR0000722027                   Capitol Records, LLC
  1315   Luke Bryan                                           Dirt Road Diary                                     SR0000722027                   Capitol Records, LLC
  1316   Luke Bryan                                           Drink A Beer                                        SR0000728445                   Capitol Records, LLC
  1317   Luke Bryan                                           First Love Song                                     SR0000612032                   Capitol Records, LLC
  1318   Luke Bryan                                           Goodbye Girl                                        SR0000728445                   Capitol Records, LLC
  1319   Luke Bryan                                           I'll Stay Me                                        SR0000612032                   Capitol Records, LLC
  1320   Luke Bryan                                           Out Like That                                       SR0000728445                   Capitol Records, LLC
  1321   Luke Bryan                                           Over The River                                      SR0000612032                   Capitol Records, LLC
  1322   Luke Bryan                                           Play It Again                                       SR0000728445                   Capitol Records, LLC
  1323   Luke Bryan                                           Pray About Everything                               SR0000612032                   Capitol Records, LLC
  1324   Luke Bryan                                           Roller Coaster                                      SR0000728445                   Capitol Records, LLC
  1325   Luke Bryan                                           Shut It Down                                        SR0000728445                   Capitol Records, LLC
  1326   Luke Bryan                                           Sunburnt Lips                                       SR0000728445                   Capitol Records, LLC
  1327   Luke Bryan                                           Tackle Box                                          SR0000612032                   Capitol Records, LLC
  1328   Luke Bryan                                           That's My Kind Of Night                             SR0000728445                   Capitol Records, LLC
  1329   Luke Bryan                                           The Car In Front Of Me                              SR0000612029                   Capitol Records, LLC
  1330   Luke Bryan                                           We Rode In Trucks                                   SR0000612032                   Capitol Records, LLC
  1331   Luke Bryan                                           We Run This Town                                    SR0000728445                   Capitol Records, LLC
  1332   Luke Bryan                                           What Is It With You                                 SR0000728445                   Capitol Records, LLC
  1333   Luke Bryan                                           You Make Me Want To                                 SR0000612032                   Capitol Records, LLC
  1334   Luke Bryan                                           Your Mama Should've Named You Whiskey               SR0000728445                   Capitol Records, LLC
  1335   Maze                                                 Changing Times                                      SR0000034187                   Capitol Records, LLC
  1336   Maze                                                 Dee's Song (Live)                                   SR0000337846                   Capitol Records, LLC
  1337   Maze                                                 Feel That You're Feelin'                            SR0000034187                   Capitol Records, LLC
  1338   Maze                                                 Feel That You're Feelin' (Live)                     SR0000337846                   Capitol Records, LLC
  1339   Maze                                                 Golden Time Of Day                                  SR0000007973                   Capitol Records, LLC
  1340   Maze                                                 I Wanna Thank You (Live)                            SR0000337846                   Capitol Records, LLC
  1341   Maze                                                 I Want To Feel Wanted (Live)                        SR0000337846                   Capitol Records, LLC
  1342   Maze                                                 Introduction                                        SR0000034187                   Capitol Records, LLC
  1343   Maze                                                 Joy & Pain                                          SR0000034187                   Capitol Records, LLC
  1344   Maze                                                 Joy And Pain                                        SR0000034187                   Capitol Records, LLC
  1345   Maze                                                 Lady Of Magic                                       SR0000048450                   Capitol Records, LLC
  1346   Maze                                                 Reason                                              SR0000034187                   Capitol Records, LLC
  1347   Maze                                                 Running Away                                        SR0000034187                   Capitol Records, LLC
  1348   Maze                                                 Running Away (Live)                                 SR0000337846                   Capitol Records, LLC
  1349   Maze                                                 We Are One (Live)                                   SR0000337846                   Capitol Records, LLC
  1350   Maze                                                 You (Live)                                          SR0000096013                   Capitol Records, LLC
  1351   Maze feat. Frankie Beverly                           Ain't It Strange                                    SR0000008107                   Capitol Records, LLC
  1352   Maze feat. Frankie Beverly                           Back In Stride                                      SR0000337846                   Capitol Records, LLC
  1353   Maze feat. Frankie Beverly                           Back In Stride (Live)                               SR0000337846                   Capitol Records, LLC
  1354   Maze feat. Frankie Beverly                           Call On Me                                          SR0000008107                   Capitol Records, LLC
  1355   Maze feat. Frankie Beverly                           Feel That You're Feelin'                            SR0000007931                   Capitol Records, LLC
  1356   Maze feat. Frankie Beverly                           Freedom (South Africa) (Live)                       SR0000337846                   Capitol Records, LLC
  1357   Maze feat. Frankie Beverly                           Happy Feelings (Live)                               SR0000096013                   Capitol Records, LLC
  1358   Maze feat. Frankie Beverly                           I Need You                                          SR0000007973                   Capitol Records, LLC
  1359   Maze feat. Frankie Beverly                           I Wanna Thank You                                   SR0000046840                   Capitol Records, LLC
  1360   Maze feat. Frankie Beverly                           Lovely Inspiration (Instrumental)                   SR0000008107                   Capitol Records, LLC
  1361   Maze feat. Frankie Beverly                           Song For My Mother                                  SR0000007973                   Capitol Records, LLC
  1362   Maze feat. Frankie Beverly                           Timin'                                              SR0000008107                   Capitol Records, LLC
  1363   Maze feat. Frankie Beverly                           Too Many Games (Live)                               SR0000337846                   Capitol Records, LLC
  1364   Maze feat. Frankie Beverly                           Welcome Home                                        SR0000008107                   Capitol Records, LLC
  1365   Maze feat. Frankie Beverly                           When You Love Someone (Live)                        SR0000337846                   Capitol Records, LLC
  1366   Maze feat. Frankie Beverly                           Woman Is A Wonder                                   SR0000008107                   Capitol Records, LLC
  1367   Maze feat. Frankie Beverly                           You                                                 N39985                         Capitol Records, LLC



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                                  Artist                                                   Track                            Registration Number                      Plaintiff
  1368   Maze feat. Frankie Beverly                           Your Own Kind Of Way                                 SR0000046840                   Capitol Records, LLC
  1369   Maze feat. Frankie Beverly                           You're Not The Same                                  SR0000007973                   Capitol Records, LLC
  1370   Rolling Stones                                       Harlem Shuffle                                       SR0000071259                   Capitol Records, LLC
  1371   Bruno Mars                                           The Lazy Song                                        SR0000671062                   Elektra Entertainment Group Inc.
  1372   Busta Rhymes                                         Tear Da Roof Off                                     SR0000269647                   Elektra Entertainment Group Inc.
  1373   CeeLo Green                                          Bodies                                               SR0000673160                   Elektra Entertainment Group Inc.
  1374   CeeLo Green                                          Cry Baby                                             SR0000673160                   Elektra Entertainment Group Inc.
  1375   CeeLo Green                                          Forget You                                           SR0000673158                   Elektra Entertainment Group Inc.
  1376   CeeLo Green                                          I Want You                                           SR0000673160                   Elektra Entertainment Group Inc.
  1377   CeeLo Green                                          It's OK                                              SR0000673160                   Elektra Entertainment Group Inc.
  1378   CeeLo Green                                          Love Gun                                             SR0000673160                   Elektra Entertainment Group Inc.
  1379   CeeLo Green                                          No One's Gonna Love You                              SR0000673160                   Elektra Entertainment Group Inc.
  1380   CeeLo Green                                          Old Fashioned                                        SR0000673160                   Elektra Entertainment Group Inc.
  1381   CeeLo Green                                          Satisfied                                            SR0000673160                   Elektra Entertainment Group Inc.
  1382   CeeLo Green                                          The Lady Killer Theme (Intro)                        SR0000673160                   Elektra Entertainment Group Inc.
  1383   CeeLo Green                                          The Lady Killer Theme (Outro)                        SR0000673160                   Elektra Entertainment Group Inc.
  1384   CeeLo Green                                          Wildflower                                           SR0000673160                   Elektra Entertainment Group Inc.
  1385   CeeLo Green                                          Bright Lights Bigger City                            SR0000673160                   Elektra Entertainment Group Inc.
  1386   Fitz & The Tantrums                                  6am                                                  SR0000724442                   Elektra Entertainment Group Inc.
  1387   Fitz & The Tantrums                                  Break The Walls                                      SR0000724442                   Elektra Entertainment Group Inc.
  1388   Fitz & The Tantrums                                  Fools Gold                                           SR0000724442                   Elektra Entertainment Group Inc.
  1389   Fitz & The Tantrums                                  Get Away                                             SR0000724442                   Elektra Entertainment Group Inc.
  1390   Fitz & The Tantrums                                  House On Fire                                        SR0000724442                   Elektra Entertainment Group Inc.
  1391   Fitz & The Tantrums                                  Keepin Our Eyes Out                                  SR0000724442                   Elektra Entertainment Group Inc.
  1392   Fitz & The Tantrums                                  Last Raindrop                                        SR0000724442                   Elektra Entertainment Group Inc.
  1393   Fitz & The Tantrums                                  MerryGoRound                                         SR0000724442                   Elektra Entertainment Group Inc.
  1394   Fitz & The Tantrums                                  Out Of My League                                     SR0000724442                   Elektra Entertainment Group Inc.
  1395   Fitz & The Tantrums                                  Spark                                                SR0000724442                   Elektra Entertainment Group Inc.
  1396   Fitz & The Tantrums                                  The End                                              SR0000724442                   Elektra Entertainment Group Inc.
  1397   Fitz & The Tantrums                                  The Walker                                           SR0000724442                   Elektra Entertainment Group Inc.
  1398   George Jones                                         Choices                                              SR0000178893                   Elektra Entertainment Group Inc.
  1399   Grover Washington, Jr.                               Just The Two Of Us                                   SR0000023451                   Elektra Entertainment Group Inc.
  1400   Keith Sweat                                          (There You Go) Tellin' Me No Again                   SR0000150241                   Elektra Entertainment Group Inc.
  1401   Keith Sweat                                          Come With Me                                         SR0000226496                   Elektra Entertainment Group Inc.
  1402   Keith Sweat                                          Don't Stop Your Love                                 SR0000086761                   Elektra Entertainment Group Inc.
  1403   Keith Sweat                                          Get Up On It                                         SR0000193836                   Elektra Entertainment Group Inc.
  1404   Keith Sweat                                          How Deep Is Your Love                                SR0000086761                   Elektra Entertainment Group Inc.
  1405   Keith Sweat                                          I Want Her                                           SR0000085227                   Elektra Entertainment Group Inc.
  1406   Keith Sweat                                          I'll Give All My Love To You                         SR0000150379                   Elektra Entertainment Group Inc.
  1407   Keith Sweat                                          Make It Last Forever                                 SR0000086761                   Elektra Entertainment Group Inc.
  1408   Keith Sweat                                          Merry Go Round                                       SR0000150379                   Elektra Entertainment Group Inc.
  1409   Keith Sweat                                          Right And A Wrong Way                                SR0000086761                   Elektra Entertainment Group Inc.
  1410   Keith Sweat                                          Something Just Ain't Right                           SR0000086761                   Elektra Entertainment Group Inc.
  1411   Keith Sweat                                          Why Me Baby?                                         SR0000150241                   Elektra Entertainment Group Inc.
  1412   Keith Sweat                                          Yumi                                                 SR0000226496                   Elektra Entertainment Group Inc.
  1413   Kenny Rogers                                         Love The World Away                                  SR0000021092                   Elektra Entertainment Group Inc.
  1414   Nada Surf                                            Deeper Well                                          SR0000225933                   Elektra Entertainment Group Inc.
  1415   Nada Surf                                            Hollywood                                            SR0000225933                   Elektra Entertainment Group Inc.
  1416   Nada Surf                                            Icebox                                               SR0000225933                   Elektra Entertainment Group Inc.
  1417   Nada Surf                                            Psychic Caramel                                      SR0000225933                   Elektra Entertainment Group Inc.
  1418   Nada Surf                                            Sleep                                                SR0000225933                   Elektra Entertainment Group Inc.
  1419   Nada Surf                                            Stalemate                                            SR0000225933                   Elektra Entertainment Group Inc.
  1420   Nada Surf                                            The Plan                                             SR0000225933                   Elektra Entertainment Group Inc.
  1421   Nada Surf                                            Treehouse                                            SR0000225933                   Elektra Entertainment Group Inc.
  1422   Nada Surf                                            Zen Brain                                            SR0000225933                   Elektra Entertainment Group Inc.
  1423   Staind                                               Blow Away                                            SR0000332424                   Elektra Entertainment Group Inc.
  1424   Staind                                               Can't Believe                                        SR0000297677                   Elektra Entertainment Group Inc.
  1425   Staind                                               Change                                               SR0000297677                   Elektra Entertainment Group Inc.
  1426   Staind                                               Could It Be                                          SR0000332424                   Elektra Entertainment Group Inc.
  1427   Staind                                               Epiphany                                             SR0000297677                   Elektra Entertainment Group Inc.
  1428   Staind                                               Fade                                                 SR0000297677                   Elektra Entertainment Group Inc.
  1429   Staind                                               Falling Down                                         SR0000332424                   Elektra Entertainment Group Inc.
  1430   Staind                                               Fill Me Up                                           SR0000332424                   Elektra Entertainment Group Inc.
  1431   Staind                                               For You                                              SR0000297677                   Elektra Entertainment Group Inc.
  1432   Staind                                               Fray                                                 SR0000332424                   Elektra Entertainment Group Inc.
  1433   Staind                                               How About You                                        SR0000332424                   Elektra Entertainment Group Inc.
  1434   Staind                                               Intro                                                SR0000332424                   Elektra Entertainment Group Inc.
  1435   Staind                                               Layne                                                SR0000332424                   Elektra Entertainment Group Inc.
  1436   Staind                                               Open Your Eyes                                       SR0000297677                   Elektra Entertainment Group Inc.
  1437   Staind                                               Outside                                              SR0000297677                   Elektra Entertainment Group Inc.
  1438   Staind                                               Pressure                                             SR0000297677                   Elektra Entertainment Group Inc.
  1439   Staind                                               Price To Play                                        SR0000332424                   Elektra Entertainment Group Inc.
  1440   Staind                                               Reality                                              SR0000332424                   Elektra Entertainment Group Inc.
  1441   Staind                                               So Far Away                                          SR0000332424                   Elektra Entertainment Group Inc.
  1442   Staind                                               Suffer                                               SR0000297677                   Elektra Entertainment Group Inc.
  1443   Staind                                               Take It                                              SR0000297677                   Elektra Entertainment Group Inc.
  1444   Staind                                               Tonight                                              SR0000332424                   Elektra Entertainment Group Inc.
  1445   Staind                                               Warm Safe Place                                      SR0000297677                   Elektra Entertainment Group Inc.
  1446   Staind                                               Yesterday                                            SR0000332424                   Elektra Entertainment Group Inc.
  1447   Staind                                               Zoe Jane                                             SR0000332424                   Elektra Entertainment Group Inc.
  1448   The Cars                                             Bye Bye Love                                         SR0000004128                   Elektra Entertainment Group Inc.
  1449   The Cars                                             Dangerous Type                                       SR0000010621                   Elektra Entertainment Group Inc.
  1450   The Cars                                             Drive                                                SR0000052759                   Elektra Entertainment Group Inc.
  1451   The Cars                                             Good Times Roll                                      SR0000004128                   Elektra Entertainment Group Inc.
  1452   The Cars                                             Heartbeat City                                       SR0000053584                   Elektra Entertainment Group Inc.
  1453   The Cars                                             Hello Again                                          SR0000052759                   Elektra Entertainment Group Inc.


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                                   Artist                                                 Track                        Registration Number                      Plaintiff
  1454   The Cars                                             I'm Not The One                                 SR0000032055                   Elektra Entertainment Group Inc.
  1455   The Cars                                             It's All I Can Do                               SR0000010621                   Elektra Entertainment Group Inc.
  1456   The Cars                                             Just What I Needed                              SR0000004127                   Elektra Entertainment Group Inc.
  1457   The Cars                                             Let's Go                                        SR0000010639                   Elektra Entertainment Group Inc.
  1458   The Cars                                             Moving In Stereo                                SR0000004128                   Elektra Entertainment Group Inc.
  1459   The Cars                                             My Best Friend's Girl                           SR0000004128                   Elektra Entertainment Group Inc.
  1460   The Cars                                             Shake It Up                                     SR0000032055                   Elektra Entertainment Group Inc.
  1461   The Cars                                             Since You're Gone                               SR0000032055                   Elektra Entertainment Group Inc.
  1462   The Cars                                             Tonight She Comes                               SR0000066519                   Elektra Entertainment Group Inc.
  1463   The Cars                                             Touch and Go                                    SR0000020897                   Elektra Entertainment Group Inc.
  1464   The Cars                                             Why Can't I Have You                            SR0000052759                   Elektra Entertainment Group Inc.
  1465   The Cars                                             You Are The Girl                                SR0000083709                   Elektra Entertainment Group Inc.
  1466   The Cars                                             You Might Think                                 SR0000053584                   Elektra Entertainment Group Inc.
  1467   The Cars                                             You're All I've Got Tonight                     SR0000004128                   Elektra Entertainment Group Inc.
  1468   The Cure                                             10:15 Saturday Night                            SR0000072309                   Elektra Entertainment Group Inc.
  1469   The Cure                                             A Few Hours After This ...                      SR0000072370                   Elektra Entertainment Group Inc.
  1470   The Cure                                             A Man Inside My Mouth                           SR0000070179                   Elektra Entertainment Group Inc.
  1471   The Cure                                             A Night Like This                               SR0000065872                   Elektra Entertainment Group Inc.
  1472   The Cure                                             Boys Don't Cry                                  SR0000075783                   Elektra Entertainment Group Inc.
  1473   The Cure                                             Charlotte Sometimes                             SR0000192615                   Elektra Entertainment Group Inc.
  1474   The Cure                                             Close To Me                                     SR0000065872                   Elektra Entertainment Group Inc.
  1475   The Cure                                             Closedown                                       SR0000104305                   Elektra Entertainment Group Inc.
  1476   The Cure                                             Disintegration                                  SR0000104305                   Elektra Entertainment Group Inc.
  1477   The Cure                                             Fascination Street                              SR0000104305                   Elektra Entertainment Group Inc.
  1478   The Cure                                             In Between Days                                 SR0000065872                   Elektra Entertainment Group Inc.
  1479   The Cure                                             Jumping Someone Else's Train                    SR0000072371                   Elektra Entertainment Group Inc.
  1480   The Cure                                             Killing An Arab                                 SR0000072371                   Elektra Entertainment Group Inc.
  1481   The Cure                                             Kyoto Song                                      SR0000065872                   Elektra Entertainment Group Inc.
  1482   The Cure                                             Lovesong                                        SR0000104305                   Elektra Entertainment Group Inc.
  1483   The Cure                                             Lullaby                                         SR0000104305                   Elektra Entertainment Group Inc.
  1484   The Cure                                             Pictures Of You                                 SR0000104305                   Elektra Entertainment Group Inc.
  1485   The Cure                                             Plainsong                                       SR0000104305                   Elektra Entertainment Group Inc.
  1486   The Cure                                             Prayers For Rain                                SR0000104305                   Elektra Entertainment Group Inc.
  1487   The Cure                                             Push                                            SR0000065872                   Elektra Entertainment Group Inc.
  1488   The Cure                                             Screw                                           SR0000065872                   Elektra Entertainment Group Inc.
  1489   The Cure                                             Sinking                                         SR0000065872                   Elektra Entertainment Group Inc.
  1490   The Cure                                             Six Different Ways                              SR0000065872                   Elektra Entertainment Group Inc.
  1491   The Cure                                             Stop Dead                                       SR0000065387                   Elektra Entertainment Group Inc.
  1492   The Cure                                             The Baby Screams                                SR0000065872                   Elektra Entertainment Group Inc.
  1493   The Cure                                             The Blood                                       SR0000065872                   Elektra Entertainment Group Inc.
  1494   The Cure                                             The Exploding Boy                               SR0000072370                   Elektra Entertainment Group Inc.
  1495   The Cure                                             The Hanging Garden                              SR0000036019                   Elektra Entertainment Group Inc.
  1496   The Cure                                             The Same Deep Water As You                      SR0000104305                   Elektra Entertainment Group Inc.
  1497   The Cure                                             Untitled                                        SR0000104305                   Elektra Entertainment Group Inc.
  1498   Third Eye Blind                                      10 Days Late                                    SR0000278241                   Elektra Entertainment Group Inc.
  1499   Third Eye Blind                                      1000 Julys                                      SR0000278241                   Elektra Entertainment Group Inc.
  1500   Third Eye Blind                                      An Ode To Maybe                                 SR0000278241                   Elektra Entertainment Group Inc.
  1501   Third Eye Blind                                      Anything                                        SR0000278241                   Elektra Entertainment Group Inc.
  1502   Third Eye Blind                                      Burning Man                                     SR0000188673                   Elektra Entertainment Group Inc.
  1503   Third Eye Blind                                      Camouflage                                      SR0000278241                   Elektra Entertainment Group Inc.
  1504   Third Eye Blind                                      Darwin                                          SR0000278241                   Elektra Entertainment Group Inc.
  1505   Third Eye Blind                                      Deep Inside Of You                              SR0000278241                   Elektra Entertainment Group Inc.
  1506   Third Eye Blind                                      Farther                                         SR0000278241                   Elektra Entertainment Group Inc.
  1507   Third Eye Blind                                      God Of Wine                                     SR0000188673                   Elektra Entertainment Group Inc.
  1508   Third Eye Blind                                      Good For You                                    SR0000188673                   Elektra Entertainment Group Inc.
  1509   Third Eye Blind                                      Graduate                                        SR0000188673                   Elektra Entertainment Group Inc.
  1510   Third Eye Blind                                      How's It Going To Be                            SR0000188673                   Elektra Entertainment Group Inc.
  1511   Third Eye Blind                                      I Want You                                      SR0000188673                   Elektra Entertainment Group Inc.
  1512   Third Eye Blind                                      Jumper                                          SR0000188673                   Elektra Entertainment Group Inc.
  1513   Third Eye Blind                                      London                                          SR0000188673                   Elektra Entertainment Group Inc.
  1514   Third Eye Blind                                      Losing A Whole Year                             SR0000188673                   Elektra Entertainment Group Inc.
  1515   Third Eye Blind                                      Motorcycle Drive By                             SR0000188673                   Elektra Entertainment Group Inc.
  1516   Third Eye Blind                                      Narcolepsy                                      SR0000188673                   Elektra Entertainment Group Inc.
  1517   Third Eye Blind                                      Never Let You Go                                SR0000278241                   Elektra Entertainment Group Inc.
  1518   Third Eye Blind                                      Semi-Charmed Life                               SR0000188673                   Elektra Entertainment Group Inc.
  1519   Third Eye Blind                                      Slow Motion                                     SR0000278241                   Elektra Entertainment Group Inc.
  1520   Third Eye Blind                                      Slow Motion (Instrumental)                      SR0000278241                   Elektra Entertainment Group Inc.
  1521   Third Eye Blind                                      Thanks A Lot                                    SR0000188673                   Elektra Entertainment Group Inc.
  1522   Third Eye Blind                                      The Background                                  SR0000188673                   Elektra Entertainment Group Inc.
  1523   Third Eye Blind                                      The Red Summer Sun                              SR0000278241                   Elektra Entertainment Group Inc.
  1524   Third Eye Blind                                      Wounded                                         SR0000278241                   Elektra Entertainment Group Inc.
  1525   Cobra Starship                                       Cobras Never Say Die                            SR0000711457                   Fueled By Ramen LLC
  1526   Cobra Starship                                       Fold Your Hands Child                           SR0000657140                   Fueled By Ramen LLC
  1527   Cobra Starship                                       Good Girls Go Bad                               SR0000657140                   Fueled By Ramen LLC
  1528   Cobra Starship                                       Hot Mess                                        SR0000657140                   Fueled By Ramen LLC
  1529   Cobra Starship                                       I May Be Rude But I'm The Truth                 SR0000711457                   Fueled By Ramen LLC
  1530   Cobra Starship                                       Living In The Sky With Diamonds                 SR0000657140                   Fueled By Ramen LLC
  1531   Cobra Starship                                       Move Like You Gonna Die                         SR0000657140                   Fueled By Ramen LLC
  1532   Cobra Starship                                       Nice Guys Finish Last                           SR0000657140                   Fueled By Ramen LLC
  1533   Cobra Starship                                       Pete Wentz Is The Only Reason We're Famous      SR0000657140                   Fueled By Ramen LLC
  1534   Cobra Starship                                       The Scene Is Dead; Long Live The Scene          SR0000657140                   Fueled By Ramen LLC
  1535   Cobra Starship                                       The World Will Never Do                         SR0000657140                   Fueled By Ramen LLC
  1536   Cobra Starship                                       Wet Hot American Summer                         SR0000657140                   Fueled By Ramen LLC
  1537   Cobra Starship                                       You're Not In On The Joke                       SR0000657140                   Fueled By Ramen LLC
  1538   fun.                                                 All Alone                                       SR0000704930                   Fueled By Ramen LLC
  1539   fun.                                                 All Alright                                     SR0000704930                   Fueled By Ramen LLC


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                                   Artist                                                 Track                            Registration Number                      Plaintiff
  1540   fun.                                                 Carry On                                            SR0000704930                   Fueled By Ramen LLC
  1541   fun.                                                 It Gets Better                                      SR0000704930                   Fueled By Ramen LLC
  1542   fun.                                                 One Foot                                            SR0000704930                   Fueled By Ramen LLC
  1543   fun.                                                 Out on the Town                                     SR0000704930                   Fueled By Ramen LLC
  1544   fun.                                                 Some Nights                                         SR0000704930                   Fueled By Ramen LLC
  1545   fun.                                                 Some Nights (Intro)                                 SR0000704930                   Fueled By Ramen LLC
  1546   fun.                                                 Stars                                               SR0000704930                   Fueled By Ramen LLC
  1547   fun.                                                 We Are Young                                        SR0000704930                   Fueled By Ramen LLC
  1548   Gym Class Heroes                                     The Fighter                                         SR0000704012                   Fueled By Ramen LLC
  1549   Travie McCoy                                         Billionaire                                         SR0000706137                   Fueled By Ramen LLC
  1550   Young the Giant                                      Anagram                                             SR0000746139                   Fueled By Ramen LLC
  1551   Young the Giant                                      Camera                                              SR0000746139                   Fueled By Ramen LLC
  1552   Young the Giant                                      Crystallized                                        SR0000746139                   Fueled By Ramen LLC
  1553   Young the Giant                                      Daydreamer                                          SR0000746139                   Fueled By Ramen LLC
  1554   Young the Giant                                      Eros                                                SR0000746139                   Fueled By Ramen LLC
  1555   Young the Giant                                      Firelight                                           SR0000746139                   Fueled By Ramen LLC
  1556   Young the Giant                                      In My Home                                          SR0000746139                   Fueled By Ramen LLC
  1557   Young the Giant                                      Mind Over Matter                                    SR0000746139                   Fueled By Ramen LLC
  1558   Young the Giant                                      Paralysis                                           SR0000746139                   Fueled By Ramen LLC
  1559   Young the Giant                                      Slow Dive                                           SR0000746139                   Fueled By Ramen LLC
  1560   Young the Giant                                      Teachers                                            SR0000746139                   Fueled By Ramen LLC
  1561   Young the Giant                                      Waves                                               SR0000746139                   Fueled By Ramen LLC
  1562   Ciara                                                Bang It Up                                          SR0000404728                   LaFace Records LLC
  1563   Ciara                                                Go Girl                                             PA0001640177                   LaFace Records LLC
  1564   Ciara                                                I Proceed                                           SR0000404728                   LaFace Records LLC
  1565   Ciara                                                Make It Last Forever                                SR0000404728                   LaFace Records LLC
  1566   Ciara                                                My Love                                             SR0000404728                   LaFace Records LLC
  1567   Ciara                                                Promise                                             SR0000404728                   LaFace Records LLC
  1568   Ciara feat. Lil Jon                                  That's Right                                        SR0000404728                   LaFace Records LLC
  1569   OutKast                                              13th Floor/Growing Old                              SR0000233296                   LaFace Records LLC
  1570   OutKast                                              ATLiens                                             SR0000233296                   LaFace Records LLC
  1571   OutKast                                              B.O.B.                                              SR0000306741                   LaFace Records LLC
  1572   OutKast                                              Babylon                                             SR0000233296                   LaFace Records LLC
  1573   OutKast                                              Decatur Psalm                                       SR0000233296                   LaFace Records LLC
  1574   OutKast                                              E.T. (Extraterrestrial)                             SR0000233296                   LaFace Records LLC
  1575   OutKast                                              Elevators                                           SR0000233296                   LaFace Records LLC
  1576   OutKast                                              Elevators (DNP 86 Mix)                              SR0000233296                   LaFace Records LLC
  1577   OutKast                                              Funkin' Around                                      SR0000326671                   LaFace Records LLC
  1578   OutKast                                              Hollywood Divorce                                   SR0000395944                   LaFace Records LLC
  1579   OutKast                                              Jazzy Belle                                         SR0000233296                   LaFace Records LLC
  1580   OutKast                                              Mainstream                                          SR0000233296                   LaFace Records LLC
  1581   OutKast                                              Millennium                                          SR0000233296                   LaFace Records LLC
  1582   OutKast                                              Morris Brown                                        SR0000395944                   LaFace Records LLC
  1583   OutKast                                              Movin' Cool (The After Party)                       SR0000326671                   LaFace Records LLC
  1584   OutKast                                              Ms. Jackson                                         SR0000306741                   LaFace Records LLC
  1585   OutKast                                              Ova Da Wudz                                         SR0000233296                   LaFace Records LLC
  1586   OutKast                                              So Fresh, So Clean                                  SR0000306741                   LaFace Records LLC
  1587   OutKast                                              The Whole World                                     SR0000309898                   LaFace Records LLC
  1588   OutKast                                              Wailin'                                             SR0000233296                   LaFace Records LLC
  1589   OutKast                                              Wheelz of Steel                                     SR0000233296                   LaFace Records LLC
  1590   OutKast                                              You May Die                                         SR0000233296                   LaFace Records LLC
  1591   P!nk                                                 Ave Mary A                                          SR0000619959                   LaFace Records LLC
  1592   P!nk                                                 Bad Influence                                       SR0000619959                   LaFace Records LLC
  1593   P!nk                                                 Crystal Ball                                        SR0000619959                   LaFace Records LLC
  1594   P!nk                                                 Dear Mr. President                                  SR0000395942                   LaFace Records LLC
  1595   P!nk                                                 Funhouse                                            SR0000619959                   LaFace Records LLC
  1596   P!nk                                                 Glitter In The Air                                  SR0000619959                   LaFace Records LLC
  1597   P!nk                                                 I Don't Believe You                                 SR0000619959                   LaFace Records LLC
  1598   P!nk                                                 It's All Your Fault                                 SR0000619959                   LaFace Records LLC
  1599   P!nk                                                 Leave Me Alone (I'm Lonely)                         SR0000403184                   LaFace Records LLC
  1600   P!nk                                                 Mean                                                SR0000619959                   LaFace Records LLC
  1601   P!nk                                                 Most Girls                                          SR0000279958                   LaFace Records LLC
  1602   P!nk                                                 Nobody Knows                                        SR0000395942                   LaFace Records LLC
  1603   P!nk                                                 One Foot Wrong                                      SR0000619959                   LaFace Records LLC
  1604   P!nk                                                 Please Don't Leave Me                               SR0000619959                   LaFace Records LLC
  1605   P!nk                                                 Sober                                               SR0000619959                   LaFace Records LLC
  1606   P!nk                                                 There You Go                                        SR0000279958                   LaFace Records LLC
  1607   P!nk                                                 U + Ur Hand (Explicit)                              SR0000403184                   LaFace Records LLC
  1608   P!nk                                                 U + Ur Hand (Main Version/Clean)                    SR0000395942                   LaFace Records LLC
  1609   P!nk                                                 Who Knew                                            SR0000395942                   LaFace Records LLC
  1610   TLC                                                  Can I Get a Witness-Interlude                       SR0000198743                   LaFace Records LLC
  1611   TLC                                                  Case Of The Fake People                             SR0000198743                   LaFace Records LLC
  1612   TLC                                                  CrazySexyCool-Interlude                             SR0000198743                   LaFace Records LLC
  1613   TLC                                                  Creep                                               SR0000198743                   LaFace Records LLC
  1614   TLC                                                  Diggin' on You                                      SR0000198743                   LaFace Records LLC
  1615   TLC                                                  If I Was Your Girlfriend                            SR0000198743                   LaFace Records LLC
  1616   TLC                                                  Intermission-lude                                   SR0000198743                   LaFace Records LLC
  1617   TLC                                                  Intro-Iude                                          SR0000198743                   LaFace Records LLC
  1618   TLC                                                  Kick Your Game                                      SR0000198743                   LaFace Records LLC
  1619   TLC                                                  Let's Do It Again                                   SR0000198743                   LaFace Records LLC
  1620   TLC                                                  Sexy-Interlude                                      SR0000198743                   LaFace Records LLC
  1621   TLC                                                  Sumthin' Wicked This Way Comes                      SR0000198743                   LaFace Records LLC
  1622   TLC                                                  Switch                                              SR0000198743                   LaFace Records LLC
  1623   TLC                                                  Take Our Time                                       SR0000198743                   LaFace Records LLC
  1624   TLC                                                  Waterfalls                                          SR0000198743                   LaFace Records LLC



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                                   Artist                                                Track                            Registration Number                      Plaintiff
  1625   Usher                                                Appetite                                           SR0000620940                   LaFace Records LLC
  1626   Usher                                                Bedtime                                            SR0000257730                   LaFace Records LLC
  1627   Usher                                                Before I Met You                                   SR0000620940                   LaFace Records LLC
  1628   Usher                                                Can U Help Me                                      SR0000307207                   LaFace Records LLC
  1629   Usher                                                Come Back                                          SR0000257730                   LaFace Records LLC
  1630   Usher                                                Here I Stand                                       SR0000620940                   LaFace Records LLC
  1631   Usher                                                His Mistakes                                       SR0000620940                   LaFace Records LLC
  1632   Usher                                                Hottest Thing                                      SR0000307207                   LaFace Records LLC
  1633   Usher                                                How Do I Say                                       SR0000307207                   LaFace Records LLC
  1634   Usher                                                I Can't Let U Go                                   SR0000307207                   LaFace Records LLC
  1635   Usher                                                I Will                                             SR0000257730                   LaFace Records LLC
  1636   Usher                                                If I Want To                                       SR0000307207                   LaFace Records LLC
  1637   Usher                                                Intro                                              SR0000620940                   LaFace Records LLC
  1638   Usher                                                Just Like Me                                       SR0000257730                   LaFace Records LLC
  1639   Usher                                                Lifetime                                           SR0000620940                   LaFace Records LLC
  1640   Usher                                                Love In This Club, Part II                         SR0000620940                   LaFace Records LLC
  1641   Usher                                                Love You Gently                                    SR0000620940                   LaFace Records LLC
  1642   Usher                                                Moving Mountains                                   SR0000620940                   LaFace Records LLC
  1643   Usher                                                My Way                                             SR0000257730                   LaFace Records LLC
  1644   Usher                                                Nice And Slow                                      SR0000257730                   LaFace Records LLC
  1645   Usher                                                One Day You'll Be Mine                             SR0000257730                   LaFace Records LLC
  1646   Usher                                                Prayer For You (Interlude)                         SR0000620940                   LaFace Records LLC
  1647   Usher                                                Something Special                                  SR0000620940                   LaFace Records LLC
  1648   Usher                                                This Ain't Sex                                     SR0000620940                   LaFace Records LLC
  1649   Usher                                                Trading Places                                     SR0000620940                   LaFace Records LLC
  1650   Usher                                                Twork It Out                                       SR0000307207                   LaFace Records LLC
  1651   Usher                                                U Don't Have to Call                               SR0000307207                   LaFace Records LLC
  1652   Usher                                                U Got It Bad                                       SR0000307207                   LaFace Records LLC
  1653   Usher                                                U Remind Me                                        SR0000307207                   LaFace Records LLC
  1654   Usher                                                What's A Man To Do                                 SR0000620940                   LaFace Records LLC
  1655   Usher                                                Will Work For Love                                 SR0000620940                   LaFace Records LLC
  1656   Usher                                                Without U                                          SR0000307207                   LaFace Records LLC
  1657   Usher                                                You Make Me Wanna...                               SR0000257730                   LaFace Records LLC
  1658   Usher feat. Jay-Z                                    Best Thing                                         SR0000620940                   LaFace Records LLC
  1659   Usher feat. Monica                                   Slow Jam                                           SR0000257730                   LaFace Records LLC
  1660   Usher feat. will.i.am                                What's Your Name                                   SR0000620940                   LaFace Records LLC
  1661   Simple Plan                                          Addicted                                           SR0000351060                   Lava Records LLC
  1662   Simple Plan                                          Crazy                                              SR0000375167                   Lava Records LLC
  1663   Simple Plan                                          Everytime                                          SR0000375167                   Lava Records LLC
  1664   Simple Plan                                          God Must Hate Me                                   SR0000351060                   Lava Records LLC
  1665   Simple Plan                                          I Won't Be There                                   SR0000351060                   Lava Records LLC
  1666   Simple Plan                                          I'd Do Anything                                    SR0000351060                   Lava Records LLC
  1667   Simple Plan                                          I'm Just A Kid                                     SR0000351060                   Lava Records LLC
  1668   Simple Plan                                          Jump                                               SR0000375167                   Lava Records LLC
  1669   Simple Plan                                          Me Against The World                               SR0000375167                   Lava Records LLC
  1670   Simple Plan                                          Meet You There                                     SR0000351060                   Lava Records LLC
  1671   Simple Plan                                          My Alien                                           SR0000351060                   Lava Records LLC
  1672   Simple Plan                                          One                                                SR0000375167                   Lava Records LLC
  1673   Simple Plan                                          One Day                                            SR0000351060                   Lava Records LLC
  1674   Simple Plan                                          Perfect                                            SR0000351060                   Lava Records LLC
  1675   Simple Plan                                          Perfect World                                      SR0000375167                   Lava Records LLC
  1676   Simple Plan                                          Promise                                            SR0000375167                   Lava Records LLC
  1677   Simple Plan                                          Thank You                                          SR0000375167                   Lava Records LLC
  1678   Simple Plan                                          The Worst Day Ever                                 SR0000351060                   Lava Records LLC
  1679   Simple Plan                                          When I'm With You                                  SR0000351060                   Lava Records LLC
  1680   Alanis Morissette                                    Crazy (James Michael Mix)                          SR0000382587                   Maverick Recording Company
  1681   Alanis Morissette                                    Eight Easy Steps                                   SR0000356595                   Maverick Recording Company
  1682   Alanis Morissette                                    Everything                                         SR0000356595                   Maverick Recording Company
  1683   Alanis Morissette                                    Hand In My Pocket                                  SR0000213545                   Maverick Recording Company
  1684   Alanis Morissette                                    Hands Clean                                        SR0000315266                   Maverick Recording Company
  1685   Alanis Morissette                                    Head Over Feet                                     SR0000213545                   Maverick Recording Company
  1686   Alanis Morissette                                    Ironic                                             SR0000213545                   Maverick Recording Company
  1687   Alanis Morissette                                    Princes Familiar                                   SR0000276685                   Maverick Recording Company
  1688   Alanis Morissette                                    Simple Together                                    SR0000314676                   Maverick Recording Company
  1689   Alanis Morissette                                    Sister Blister                                     SR0000315266                   Maverick Recording Company
  1690   Alanis Morissette                                    Still                                              SR0000276563                   Maverick Recording Company
  1691   Alanis Morissette                                    Thank U                                            SR0000228847                   Maverick Recording Company
  1692   Alanis Morissette                                    That I Would Be Good                               SR0000228847                   Maverick Recording Company
  1693   Alanis Morissette                                    Uninvited                                          SR0000252550                   Maverick Recording Company
  1694   Alanis Morissette                                    You Learn                                          SR0000213545                   Maverick Recording Company
  1695   Alanis Morissette                                    You Oughta Know                                    SR0000213545                   Maverick Recording Company
  1696   Deftones                                             Back To School (Mini Maggit)                       SR0000288286                   Maverick Recording Company
  1697   Deftones                                             Battle-axe                                         SR0000335169                   Maverick Recording Company
  1698   Deftones                                             Be Quiet And Drive (Far Away)                      SR0000244493                   Maverick Recording Company
  1699   Deftones                                             Birthmark                                          SR0000171111                   Maverick Recording Company
  1700   Deftones                                             Black Moon                                         SR0000390931                   Maverick Recording Company
  1701   Deftones                                             Bored                                              SR0000171111                   Maverick Recording Company
  1702   Deftones                                             Change (In The House Of Flies)                     SR0000284862                   Maverick Recording Company
  1703   Deftones                                             Change (In The House Of Flies) (Acoustic)          SR0000390931                   Maverick Recording Company
  1704   Deftones                                             Crenshaw Punch / I'll Throw Rocks At You           SR0000390931                   Maverick Recording Company
  1705   Deftones                                             Dai The Flu                                        SR0000244493                   Maverick Recording Company
  1706   Deftones                                             Deathblow                                          SR0000335169                   Maverick Recording Company
  1707   Deftones                                             Digital Bath                                       SR0000284862                   Maverick Recording Company
  1708   Deftones                                             Digital Bath (Acoustic)                            SR0000390931                   Maverick Recording Company
  1709   Deftones                                             Fireal                                             SR0000171111                   Maverick Recording Company



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                                   Artist                                                Track                          Registration Number                      Plaintiff
  1710   Deftones                                             Headup                                           SR0000244493                   Maverick Recording Company
  1711   Deftones                                             Hexagram                                         SR0000335169                   Maverick Recording Company
  1712   Deftones                                             If Only Tonight We Could Sleep                   SR0000390931                   Maverick Recording Company
  1713   Deftones                                             Knife Prty                                       SR0000284862                   Maverick Recording Company
  1714   Deftones                                             Lhabia                                           SR0000244493                   Maverick Recording Company
  1715   Deftones                                             Lifter                                           SR0000171111                   Maverick Recording Company
  1716   Deftones                                             Lucky You                                        SR0000335169                   Maverick Recording Company
  1717   Deftones                                             Minerva                                          SR0000335169                   Maverick Recording Company
  1718   Deftones                                             Minus Blindfold                                  SR0000171111                   Maverick Recording Company
  1719   Deftones                                             Moana                                            SR0000335169                   Maverick Recording Company
  1720   Deftones                                             MX                                               SR0000244493                   Maverick Recording Company
  1721   Deftones                                             No Ordinary Love                                 SR0000390931                   Maverick Recording Company
  1722   Deftones                                             Nosebleed                                        SR0000171111                   Maverick Recording Company
  1723   Deftones                                             One Weak                                         SR0000171111                   Maverick Recording Company
  1724   Deftones                                             Passenger                                        SR0000284862                   Maverick Recording Company
  1725   Deftones                                             Pink Maggit                                      SR0000284862                   Maverick Recording Company
  1726   Deftones                                             Please Please Please Let Me Get What I Want      SR0000390931                   Maverick Recording Company
  1727   Deftones                                             Rx Queen                                         SR0000284862                   Maverick Recording Company
  1728   Deftones                                             Savory                                           SR0000390931                   Maverick Recording Company
  1729   Deftones                                             Simple Man                                       SR0000390931                   Maverick Recording Company
  1730   Deftones                                             Sinatra                                          SR0000390931                   Maverick Recording Company
  1731   Deftones                                             The Chauffeur                                    SR0000390931                   Maverick Recording Company
  1732   Deftones                                             Wax And Wane                                     SR0000390931                   Maverick Recording Company
  1733   Deftones                                             When Girls Telephone Boys                        SR0000335169                   Maverick Recording Company
  1734   Muse                                                 Cave                                             SR0000273528                   Maverick Recording Company
  1735   Muse                                                 Muscle Museum                                    SR0000273528                   Maverick Recording Company
  1736   Muse                                                 Sunburn                                          SR0000273528                   Maverick Recording Company
  1737   Muse                                                 Unintended                                       SR0000273528                   Maverick Recording Company
  1738   Muse                                                 Uno                                              SR0000273528                   Maverick Recording Company
  1739   The Black Keys                                       Lonely Boy                                       SR0000733194                   Nonesuch Records Inc.
  1740   The Black Keys                                       Strange Times                                    SR0000644154                   Nonesuch Records Inc.
  1741   The Black Keys                                       Tighten Up                                       SR0000669071                   Nonesuch Records Inc.
  1742   The Black Keys                                       Turn Blue                                        SR0000757078                   Nonesuch Records Inc.
  1743   Wilco                                                Airline To Heaven                                SR0000374907                   Nonesuch Records Inc.
  1744   Casting Crowns                                       Already There                                    SR0000689742                   Provident Label Group, LLC
  1745   Casting Crowns                                       Always Enough - Demo                             SR0000643694                   Provident Label Group, LLC
  1746   Casting Crowns                                       And Now My Lifesong Sings                        SR0000375845                   Provident Label Group, LLC
  1747   Casting Crowns                                       At Your Feet                                     SR0000643694                   Provident Label Group, LLC
  1748   Casting Crowns                                       Blessed Redeemer                                 SR0000643694                   Provident Label Group, LLC
  1749   Casting Crowns                                       City On The Hill                                 SR0000689742                   Provident Label Group, LLC
  1750   Casting Crowns                                       Courageous                                       SR0000689742                   Provident Label Group, LLC
  1751   Casting Crowns                                       Does Anybody Hear Her                            SR0000375845                   Provident Label Group, LLC
  1752   Casting Crowns                                       Face Down                                        SR0000689742                   Provident Label Group, LLC
  1753   Casting Crowns                                       Father, Spirit, Jesus                            SR0000375845                   Provident Label Group, LLC
  1754   Casting Crowns                                       Holy One                                         SR0000643694                   Provident Label Group, LLC
  1755   Casting Crowns                                       If We've Ever Needed You - Demo                  SR0000643694                   Provident Label Group, LLC
  1756   Casting Crowns                                       In Me (Demo)                                     SR0000375845                   Provident Label Group, LLC
  1757   Casting Crowns                                       Jesus, Friend Of Sinners                         SR0000689742                   Provident Label Group, LLC
  1758   Casting Crowns                                       Jesus, Hold Me Now                               SR0000643694                   Provident Label Group, LLC
  1759   Casting Crowns                                       Joyful, Joyful                                   SR0000643694                   Provident Label Group, LLC
  1760   Casting Crowns                                       Just Another Birthday                            SR0000689742                   Provident Label Group, LLC
  1761   Casting Crowns                                       Lifesong                                         SR0000375845                   Provident Label Group, LLC
  1762   Casting Crowns                                       Love Them Like Jesus                             SR0000375845                   Provident Label Group, LLC
  1763   Casting Crowns                                       Mercy                                            SR0000643694                   Provident Label Group, LLC
  1764   Casting Crowns                                       My Own Worst Enemy                               SR0000689742                   Provident Label Group, LLC
  1765   Casting Crowns                                       Praise You In This Storm                         SR0000375845                   Provident Label Group, LLC
  1766   Casting Crowns                                       Prodigal                                         SR0000375845                   Provident Label Group, LLC
  1767   Casting Crowns                                       Set Me Free                                      SR0000375845                   Provident Label Group, LLC
  1768   Casting Crowns                                       Shadow Of Your Wings                             SR0000643694                   Provident Label Group, LLC
  1769   Casting Crowns                                       So Far To Find You                               SR0000689742                   Provident Label Group, LLC
  1770   Casting Crowns                                       Spirit Wind                                      SR0000689742                   Provident Label Group, LLC
  1771   Casting Crowns                                       Stained Glass Masquerade                         SR0000375845                   Provident Label Group, LLC
  1772   Casting Crowns                                       The Well                                         SR0000689742                   Provident Label Group, LLC
  1773   Casting Crowns                                       To Know You - Demo                               SR0000643694                   Provident Label Group, LLC
  1774   Casting Crowns                                       Until The Whole World Hears                      SR0000643694                   Provident Label Group, LLC
  1775   Casting Crowns                                       Wedding Day                                      SR0000689742                   Provident Label Group, LLC
  1776   Casting Crowns                                       While You Were Sleeping                          SR0000375845                   Provident Label Group, LLC
  1777   Adam Lambert                                         Whataya Want From Me                             SR0000654886                   Sony Music Entertainment
  1778   Adele                                                Best For Last                                    SR0000616701                   Sony Music Entertainment
  1779   Adele                                                Chasing Pavements                                SR0000616701                   Sony Music Entertainment
  1780   Adele                                                Cold Shoulder                                    SR0000616701                   Sony Music Entertainment
  1781   Adele                                                Crazy For You                                    SR0000616701                   Sony Music Entertainment
  1782   Adele                                                Daydreamer                                       SR0000616701                   Sony Music Entertainment
  1783   Adele                                                Don't You Remember                               SR0000673074                   Sony Music Entertainment
  1784   Adele                                                First Love                                       SR0000616701                   Sony Music Entertainment
  1785   Adele                                                He Won't Go                                      SR0000673074                   Sony Music Entertainment
  1786   Adele                                                Hometown Glory                                   SR0000616701                   Sony Music Entertainment
  1787   Adele                                                I Found A Boy                                    SR0000718312                   Sony Music Entertainment
  1788   Adele                                                I'll Be Waiting                                  SR0000673074                   Sony Music Entertainment
  1789   Adele                                                Lovesong                                         SR0000673074                   Sony Music Entertainment
  1790   Adele                                                Make You Feel My Love                            SR0000616701                   Sony Music Entertainment
  1791   Adele                                                Melt My Heart To Stone                           SR0000616701                   Sony Music Entertainment
  1792   Adele                                                My Same                                          SR0000616701                   Sony Music Entertainment
  1793   Adele                                                One And Only                                     SR0000673074                   Sony Music Entertainment
  1794   Adele                                                Right As Rain                                    SR0000616701                   Sony Music Entertainment
  1795   Adele                                                Rolling In The Deep                              SR0000673074                   Sony Music Entertainment


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                                  Artist                                                    Track                        Registration Number                     Plaintiff
  1796   Adele                                                Rumour Has It                                     SR0000673074                   Sony Music Entertainment
  1797   Adele                                                Set Fire To The Rain                              SR0000673074                   Sony Music Entertainment
  1798   Adele                                                Someone Like You                                  SR0000673074                   Sony Music Entertainment
  1799   Adele                                                Take It All                                       SR0000673074                   Sony Music Entertainment
  1800   Adele                                                That's It, I Quit, I'm Moving On                  SR0000616701                   Sony Music Entertainment
  1801   Adele                                                Tired                                             SR0000616701                   Sony Music Entertainment
  1802   Adele                                                Turning Tables                                    SR0000673074                   Sony Music Entertainment
  1803   Aerosmith                                            Adam's Apple                                      N25838                         Sony Music Entertainment
  1804   Aerosmith                                            Angel's Eye                                       SR0000294320                   Sony Music Entertainment
  1805   Aerosmith                                            Baby, Please Don't Go                             SR0000355804                   Sony Music Entertainment
  1806   Aerosmith                                            Back In The Saddle                                N33961                         Sony Music Entertainment
  1807   Aerosmith                                            Big Ten Inch Record                               N25838                         Sony Music Entertainment
  1808   Aerosmith                                            Chip Away The Stone                               SR0000005095                   Sony Music Entertainment
  1809   Aerosmith                                            Critical Mass                                     RE0000927389                   Sony Music Entertainment
  1810   Aerosmith                                            Devil's Got a New Disguise                        SR0000400132                   Sony Music Entertainment
  1811   Aerosmith                                            Dream On                                          RE0000928145                   Sony Music Entertainment
  1812   Aerosmith                                            Falling In Love (Is Hard On The Knees)            SR0000246031                   Sony Music Entertainment
  1813   Aerosmith                                            Fly Away From Here                                SR0000299932                   Sony Music Entertainment
  1814   Aerosmith                                            Full Circle                                       SR0000246031                   Sony Music Entertainment
  1815   Aerosmith                                            Girls of Summer                                   SR0000314304                   Sony Music Entertainment
  1816   Aerosmith                                            Helter Skelter                                    SR0000138466                   Sony Music Entertainment
  1817   Aerosmith                                            Hole In My Soul                                   SR0000246031                   Sony Music Entertainment
  1818   Aerosmith                                            I Don't Want to Miss a Thing                      SR0000730819                   Sony Music Entertainment
  1819   Aerosmith                                            Jaded                                             PA0001065844                   Sony Music Entertainment
  1820   Aerosmith                                            Jailbait                                          SR0000039598                   Sony Music Entertainment
  1821   Aerosmith                                            Just Push Play                                    SR0000299932                   Sony Music Entertainment
  1822   Aerosmith                                            Kings And Queens                                  RE0000927389                   Sony Music Entertainment
  1823   Aerosmith                                            Last Child                                        N33961                         Sony Music Entertainment
  1824   Aerosmith                                            Lay It Down                                       SR0000314304                   Sony Music Entertainment
  1825   Aerosmith                                            Lick And A Promise                                N33961                         Sony Music Entertainment
  1826   Aerosmith                                            Lightning Strikes                                 SR0000039598                   Sony Music Entertainment
  1827   Aerosmith                                            Lord Of The Thighs                                RE0000871991                   Sony Music Entertainment
  1828   Aerosmith                                            Mama Kin                                          RE0000928145                   Sony Music Entertainment
  1829   Aerosmith                                            Nine Lives                                        SR0000246031                   Sony Music Entertainment
  1830   Aerosmith                                            No Surprize                                       SR0000014473                   Sony Music Entertainment
  1831   Aerosmith                                            Nobody's Fault                                    N33961                         Sony Music Entertainment
  1832   Aerosmith                                            One Way Street                                    RE0000928145                   Sony Music Entertainment
  1833   Aerosmith                                            Pink                                              SR0000246031                   Sony Music Entertainment
  1834   Aerosmith                                            Rats In The Cellar                                N33961                         Sony Music Entertainment
  1835   Aerosmith                                            Remember (Walking In The Sand)                    SR0000014473                   Sony Music Entertainment
  1836   Aerosmith                                            Round And Round                                   N25838                         Sony Music Entertainment
  1837   Aerosmith                                            Seasons of Wither                                 RE0000871991                   Sony Music Entertainment
  1838   Aerosmith                                            Sedona Sunrise                                    SR0000400132                   Sony Music Entertainment
  1839   Aerosmith                                            Sunshine                                          SR0000299932                   Sony Music Entertainment
  1840   Aerosmith                                            Sweet Emotion                                     N25838                         Sony Music Entertainment
  1841   Aerosmith                                            Theme From Spider Man                             SR0000316861                   Sony Music Entertainment
  1842   Aerosmith                                            Toys In The Attic                                 N25838                         Sony Music Entertainment
  1843   Aerosmith                                            Train Kept A Rollin'                              RE0000871991                   Sony Music Entertainment
  1844   Aerosmith                                            Walk This Way                                     N25838                         Sony Music Entertainment
  1845   Aerosmith                                            You See Me Crying                                 N25838                         Sony Music Entertainment
  1846   Alicia Keys                                          Dah Dee Dah (Sexy Thing)                          SR0000252535                   Sony Music Entertainment
  1847   Alicia Keys                                          Empire State Of Mind (Part II) Broken Down        SR0000752597                   Sony Music Entertainment
  1848   Alicia Keys                                          I Got A Little Something                          SR0000685875                   Sony Music Entertainment
  1849   Alicia Keys                                          Un-thinkable (I'm Ready)                          SR0000752593                   Sony Music Entertainment
  1850   Annie Lennox                                         Dark Road                                         SR0000627150                   Sony Music Entertainment
  1851   Annie Lennox                                         Sing                                              SR0000627150                   Sony Music Entertainment
  1852   Audioslave                                           Like A Stone                                      SR0000322103                   Sony Music Entertainment
  1853   Avril Lavigne                                        4 Real                                            SR0000680182                   Sony Music Entertainment
  1854   Avril Lavigne                                        Alice                                             SR0000680182                   Sony Music Entertainment
  1855   Avril Lavigne                                        Bad Reputation                                    SR0000680182                   Sony Music Entertainment
  1856   Avril Lavigne                                        Black Star                                        SR0000680182                   Sony Music Entertainment
  1857   Avril Lavigne                                        Darlin                                            SR0000680182                   Sony Music Entertainment
  1858   Avril Lavigne                                        Everybody Hurts                                   SR0000680182                   Sony Music Entertainment
  1859   Avril Lavigne                                        Girlfriend                                        SR0000719163                   Sony Music Entertainment
  1860   Avril Lavigne                                        Goodbye                                           SR0000680182                   Sony Music Entertainment
  1861   Avril Lavigne                                        I Love You                                        SR0000680182                   Sony Music Entertainment
  1862   Avril Lavigne                                        Knockin' on Heaven's Door                         SR0000680182                   Sony Music Entertainment
  1863   Avril Lavigne                                        Not Enough                                        SR0000680182                   Sony Music Entertainment
  1864   Avril Lavigne                                        Push                                              SR0000680182                   Sony Music Entertainment
  1865   Avril Lavigne                                        Remember When                                     SR0000680182                   Sony Music Entertainment
  1866   Avril Lavigne                                        Smile                                             SR0000680182                   Sony Music Entertainment
  1867   Avril Lavigne                                        Stop Standing There                               SR0000680182                   Sony Music Entertainment
  1868   Avril Lavigne                                        What The Hell                                     SR0000670616                   Sony Music Entertainment
  1869   Avril Lavigne                                        Wish You Were Here                                SR0000680182                   Sony Music Entertainment
  1870   Barbra Streisand duet with Neil Diamond              You Don't Bring Me Flowers                        SR0000004765                   Sony Music Entertainment
  1871   Becky G                                              Shower                                            SR0000760239                   Sony Music Entertainment
  1872   Beyoncé                                              1+1                                               SR0000683948                   Sony Music Entertainment
  1873   Beyoncé                                              Ave Maria                                         SR0000623449                   Sony Music Entertainment
  1874   Beyoncé                                              Best Thing I Never Had                            SR0000683948                   Sony Music Entertainment
  1875   Beyoncé                                              Blow                                              SR0000747291                   Sony Music Entertainment
  1876   Beyoncé                                              Broken-Hearted Girl                               SR0000623449                   Sony Music Entertainment
  1877   Beyoncé                                              Countdown                                         SR0000683948                   Sony Music Entertainment
  1878   Beyoncé                                              Disappear                                         SR0000623449                   Sony Music Entertainment
  1879   Beyoncé                                              Ego                                               SR0000623449                   Sony Music Entertainment
  1880   Beyoncé                                              Halo                                              SR0000623449                   Sony Music Entertainment



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                                   Artist                                                  Track                            Registration Number                     Plaintiff
  1881   Beyoncé                                              Hello                                                SR0000623449                   Sony Music Entertainment
  1882   Beyoncé                                              I Miss You                                           SR0000683948                   Sony Music Entertainment
  1883   Beyoncé                                              If I Were A Boy                                      SR0000718926                   Sony Music Entertainment
  1884   Beyoncé                                              Love On Top                                          SR0000683948                   Sony Music Entertainment
  1885   Beyoncé                                              Naughty Girl                                         SR0000342236                   Sony Music Entertainment
  1886   Beyoncé                                              No Angel                                             SR0000747291                   Sony Music Entertainment
  1887   Beyoncé                                              Party                                                SR0000683948                   Sony Music Entertainment
  1888   Beyoncé                                              Radio                                                SR0000623449                   Sony Music Entertainment
  1889   Beyoncé                                              Rather Die Young                                     SR0000683948                   Sony Music Entertainment
  1890   Beyoncé                                              Run The World (Girls)                                SR0000683948                   Sony Music Entertainment
  1891   Beyoncé                                              Satellites                                           SR0000623449                   Sony Music Entertainment
  1892   Beyoncé                                              Scared Of Lonely                                     SR0000623449                   Sony Music Entertainment
  1893   Beyoncé                                              Single Ladies (Put A Ring On It)                     SR0000723765                   Sony Music Entertainment
  1894   Beyoncé                                              Smash Into You                                       SR0000623449                   Sony Music Entertainment
  1895   Beyoncé                                              Start Over                                           SR0000683948                   Sony Music Entertainment
  1896   Beyoncé                                              Sweet Dreams                                         SR0000623449                   Sony Music Entertainment
  1897   Beyoncé                                              That's Why You're Beautiful                          SR0000623449                   Sony Music Entertainment
  1898   Beyoncé                                              Video Phone                                          SR0000623449                   Sony Music Entertainment
  1899   Beyoncé                                              ***Flawless                                          SR0000747291                   Sony Music Entertainment
  1900   Beyoncé                                              Be With You                                          SR0000342236                   Sony Music Entertainment
  1901   Beyoncé                                              Check On It                                          SR0000395861                   Sony Music Entertainment
  1902   Beyoncé                                              Crazy in Love                                        SR0000787489                   Sony Music Entertainment
  1903   Beyoncé                                              Dance For You                                        SR0000683948                   Sony Music Entertainment
  1904   Beyoncé                                              Diva                                                 SR0000623449                   Sony Music Entertainment
  1905   Beyoncé                                              End Of Time                                          SR0000683948                   Sony Music Entertainment
  1906   Beyoncé                                              Gift From Virgo                                      SR0000342236                   Sony Music Entertainment
  1907   Beyoncé                                              Haunted                                              SR0000747291                   Sony Music Entertainment
  1908   Beyoncé                                              Heaven                                               SR0000747291                   Sony Music Entertainment
  1909   Beyoncé                                              I Care                                               SR0000683948                   Sony Music Entertainment
  1910   Beyoncé                                              I Was Here                                           SR0000683948                   Sony Music Entertainment
  1911   Beyoncé                                              Jealous                                              SR0000747291                   Sony Music Entertainment
  1912   Beyoncé                                              Lay Up Under Me                                      SR0000683948                   Sony Music Entertainment
  1913   Beyoncé                                              Me, Myself And I                                     SR0000342236                   Sony Music Entertainment
  1914   Beyoncé                                              Partition                                            SR0000747291                   Sony Music Entertainment
  1915   Beyoncé                                              Pretty Hurts                                         SR0000747291                   Sony Music Entertainment
  1916   Beyoncé                                              Rocket                                               SR0000747291                   Sony Music Entertainment
  1917   Beyoncé                                              Schoolin' Life                                       SR0000683948                   Sony Music Entertainment
  1918   Beyoncé                                              Speechless                                           SR0000342236                   Sony Music Entertainment
  1919   Beyoncé                                              XO                                                   SR0000747291                   Sony Music Entertainment
  1920   Beyoncé feat. Big Boi and Sleepy Brown               Hip Hop Star                                         SR0000342236                   Sony Music Entertainment
  1921   Beyoncé feat. Blue Ivy                               Blue                                                 SR0000747291                   Sony Music Entertainment
  1922   Beyoncé feat. Drake                                  Mine                                                 SR0000747291                   Sony Music Entertainment
  1923   Beyoncé feat. Frank Ocean                            Superpower                                           SR0000747291                   Sony Music Entertainment
  1924   Beyoncé feat. Jay-Z                                  Drunk in Love                                        SR0000747291                   Sony Music Entertainment
  1925   Beyoncé feat. Jay-Z                                  That's How You Like It                               SR0000342236                   Sony Music Entertainment
  1926   Beyoncé feat. Jay-Z                                  Upgrade U                                            SR0000395861                   Sony Music Entertainment
  1927   Beyoncé feat. Missy Elliott                          Signs                                                SR0000342236                   Sony Music Entertainment
  1928   Big Time Rush                                        All Over Again                                       SR0000697856                   Sony Music Entertainment
  1929   Big Time Rush                                        Big Night                                            SR0000668082                   Sony Music Entertainment
  1930   Big Time Rush                                        Big Time Rush                                        SR0000668082                   Sony Music Entertainment
  1931   Big Time Rush                                        City Is Ours                                         SR0000668082                   Sony Music Entertainment
  1932   Big Time Rush                                        Cover Girl                                           SR0000697856                   Sony Music Entertainment
  1933   Big Time Rush                                        Elevate                                              SR0000697856                   Sony Music Entertainment
  1934   Big Time Rush                                        Halfway There                                        SR0000668082                   Sony Music Entertainment
  1935   Big Time Rush                                        If I Ruled The World                                 SR0000697856                   Sony Music Entertainment
  1936   Big Time Rush                                        Invisible                                            SR0000697856                   Sony Music Entertainment
  1937   Big Time Rush                                        Love Me Love Me                                      SR0000697856                   Sony Music Entertainment
  1938   Big Time Rush                                        Music Sounds Better                                  SR0000697856                   Sony Music Entertainment
  1939   Big Time Rush                                        No Idea                                              SR0000697856                   Sony Music Entertainment
  1940   Big Time Rush                                        Nothing Even Matters                                 SR0000668082                   Sony Music Entertainment
  1941   Big Time Rush                                        Oh Yeah                                              SR0000668082                   Sony Music Entertainment
  1942   Big Time Rush                                        Show Me                                              SR0000697856                   Sony Music Entertainment
  1943   Big Time Rush                                        Superstar                                            SR0000697856                   Sony Music Entertainment
  1944   Big Time Rush                                        Til I Forget About You                               SR0000668082                   Sony Music Entertainment
  1945   Big Time Rush                                        Time Of Our Life                                     SR0000697856                   Sony Music Entertainment
  1946   Big Time Rush                                        Worldwide                                            SR0000668082                   Sony Music Entertainment
  1947   Big Time Rush                                        You're Not Alone                                     SR0000697856                   Sony Music Entertainment
  1948   Big Time Rush feat. Cymphonique                      I Know You Know                                      SR0000668082                   Sony Music Entertainment
  1949   Big Time Rush feat. Jordin Sparks                    Count On You                                         SR0000668082                   Sony Music Entertainment
  1950   Bill Withers                                         I Don't Know                                         N1596                          Sony Music Entertainment
  1951   Bill Withers                                         I Don't Want You on My Mind                          N1596                          Sony Music Entertainment
  1952   Bill Withers                                         Kissing My Love                                      N1596                          Sony Music Entertainment
  1953   Bill Withers                                         Lean On Me                                           N1596                          Sony Music Entertainment
  1954   Bill Withers                                         Lonely Town, Lonely Street                           N1596                          Sony Music Entertainment
  1955   Bill Withers                                         Use Me                                               N1596                          Sony Music Entertainment
  1956   Bill Withers                                         Watching You Watching Me                             SR0000065774                   Sony Music Entertainment
  1957   Billy Joel                                           A Matter Of Trust                                    SR0000077612                   Sony Music Entertainment
  1958   Billy Joel                                           All About Soul                                       SR0000185184                   Sony Music Entertainment
  1959   Billy Joel                                           All For Leyna                                        SR0000017630                   Sony Music Entertainment
  1960   Billy Joel                                           Allentown                                            SR0000040031                   Sony Music Entertainment
  1961   Billy Joel                                           An Innocent Man                                      SR0000047532                   Sony Music Entertainment
  1962   Billy Joel                                           Don't Ask Me Why                                     SR0000017630                   Sony Music Entertainment
  1963   Billy Joel                                           Honesty                                              SR0000004681                   Sony Music Entertainment
  1964   Billy Joel                                           I Go To Extremes                                     SR0000109420                   Sony Music Entertainment
  1965   Billy Joel                                           It's Still Rock & Roll to Me                         SR0000017630                   Sony Music Entertainment
  1966   Billy Joel                                           Just The Way You Are                                 RE0000927434                   Sony Music Entertainment


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                                    Artist                                                   Track                           Registration Number                     Plaintiff
  1967   Billy Joel                                              Leave A Tender Moment Alone                        SR0000047532                   Sony Music Entertainment
  1968   Billy Joel                                              Leningrad                                          SR0000109420                   Sony Music Entertainment
  1969   Billy Joel                                              My Life                                            SR0000004681                   Sony Music Entertainment
  1970   Billy Joel                                              Piano Man                                          N11702                         Sony Music Entertainment
  1971   Billy Joel                                              Say Goodbye To Hollywood                           SR0000031638                   Sony Music Entertainment
  1972   Billy Joel                                              Streetlife Serenader (Audio)                       RE0000872265                   Sony Music Entertainment
  1973   Billy Joel                                              Tell Her About It                                  SR0000047534                   Sony Music Entertainment
  1974   Billy Joel                                              The Downeaster 'Alexa'                             SR0000109420                   Sony Music Entertainment
  1975   Billy Joel                                              The Entertainer                                    RE0000872265                   Sony Music Entertainment
  1976   Billy Joel                                              The Longest Time                                   SR0000047532                   Sony Music Entertainment
  1977   Billy Joel                                              This Is The Time                                   SR0000077612                   Sony Music Entertainment
  1978   Billy Joel                                              Uptown Girl                                        SR0000047532                   Sony Music Entertainment
  1979   Billy Joel                                              We Didn't Start the Fire                           SR0000111680                   Sony Music Entertainment
  1980   Billy Joel                                              You May Be Right                                   SR0000017630                   Sony Music Entertainment
  1981   Billy Joel                                              You're My Home                                     N11702                         Sony Music Entertainment
  1982   Billy Joel                                              You're Only Human (Second Wind)                    SR0000068501                   Sony Music Entertainment
  1983   Boston                                                  A Man I'll Never Be                                SR0000004079                   Sony Music Entertainment
  1984   Boston                                                  Don't Look Back                                    SR0000003614                   Sony Music Entertainment
  1985   Boston                                                  Feelin' Satisfied                                  SR0000004079                   Sony Music Entertainment
  1986   Boston                                                  Higher Power                                       SR0000239485                   Sony Music Entertainment
  1987   Boston                                                  Higher Power (Kalodner Edit)                       SR0000239485                   Sony Music Entertainment
  1988   Boston                                                  More Than A Feeling                                N36238                         Sony Music Entertainment
  1989   Boston                                                  Party                                              SR0000004079                   Sony Music Entertainment
  1990   Boston                                                  Tell Me                                            SR0000239485                   Sony Music Entertainment
  1991   Boston                                                  The Star Spangled Banner, 4th of July Reprise      SR0000239485                   Sony Music Entertainment
  1992   Boys Like Girls                                         Be Your Everything                                 SR0000717244                   Sony Music Entertainment
  1993   Boys Like Girls                                         Broken Man                                         SR0000724396                   Sony Music Entertainment
  1994   Boys Like Girls                                         Cheated                                            SR0000731314                   Sony Music Entertainment
  1995   Boys Like Girls                                         Chemicals Collide                                  SR0000643654                   Sony Music Entertainment
  1996   Boys Like Girls                                         Contagious                                         SR0000643654                   Sony Music Entertainment
  1997   Boys Like Girls                                         Crazy World                                        SR0000731314                   Sony Music Entertainment
  1998   Boys Like Girls                                         Dance Hall Drug                                    SR0000724396                   Sony Music Entertainment
  1999   Boys Like Girls                                         Five Minutes To Midnight                           SR0000724396                   Sony Music Entertainment
  2000   Boys Like Girls                                         Go                                                 SR0000643654                   Sony Music Entertainment
  2001   Boys Like Girls                                         Heart Heart Heartbreak                             SR0000643654                   Sony Music Entertainment
  2002   Boys Like Girls                                         Heels Over Head                                    SR0000724396                   Sony Music Entertainment
  2003   Boys Like Girls                                         Hero / Heroine                                     SR0000724396                   Sony Music Entertainment
  2004   Boys Like Girls                                         Hey You                                            SR0000731314                   Sony Music Entertainment
  2005   Boys Like Girls                                         Holiday                                            SR0000724396                   Sony Music Entertainment
  2006   Boys Like Girls                                         Learning To Fall                                   SR0000724396                   Sony Music Entertainment
  2007   Boys Like Girls                                         Leaving California                                 SR0000731314                   Sony Music Entertainment
  2008   Boys Like Girls                                         Life Of The Party                                  SR0000717244                   Sony Music Entertainment
  2009   Boys Like Girls                                         Love Drunk                                         SR0000643654                   Sony Music Entertainment
  2010   Boys Like Girls                                         Me, You And My Medication                          SR0000724396                   Sony Music Entertainment
  2011   Boys Like Girls                                         On Top Of The World                                SR0000724396                   Sony Music Entertainment
  2012   Boys Like Girls                                         Real Thing                                         SR0000643654                   Sony Music Entertainment
  2013   Boys Like Girls                                         Red Cup Hands Up Long Brown Hair                   SR0000731314                   Sony Music Entertainment
  2014   Boys Like Girls                                         She's Got A Boyfriend Now                          SR0000643654                   Sony Music Entertainment
  2015   Boys Like Girls                                         Shoot                                              SR0000731314                   Sony Music Entertainment
  2016   Boys Like Girls                                         Someone Like You                                   SR0000643654                   Sony Music Entertainment
  2017   Boys Like Girls                                         Stuck in the Middle                                SR0000731314                   Sony Music Entertainment
  2018   Boys Like Girls                                         Take Me Home                                       SR0000731314                   Sony Music Entertainment
  2019   Boys Like Girls                                         The First One                                      SR0000643654                   Sony Music Entertainment
  2020   Boys Like Girls                                         The First Time                                     SR0000717244                   Sony Music Entertainment
  2021   Boys Like Girls                                         The Great Escape                                   SR0000724396                   Sony Music Entertainment
  2022   Boys Like Girls                                         The Shot Heard 'Round The World                    SR0000643654                   Sony Music Entertainment
  2023   Boys Like Girls                                         Thunder                                            SR0000724396                   Sony Music Entertainment
  2024   Boys Like Girls                                         Up Against The Wall                                SR0000724396                   Sony Music Entertainment
  2025   Boys Like Girls feat. Taylor Swift                      Two Is Better Than One                             SR0000639800                   Sony Music Entertainment
  2026   Brad Paisley                                            A Man Don't Have to Die                            SR0000680360                   Sony Music Entertainment
  2027   Brad Paisley                                            Alcohol                                            SR0000746295                   Sony Music Entertainment
  2028   Brad Paisley                                            Be The Lake                                        SR0000680360                   Sony Music Entertainment
  2029   Brad Paisley                                            Camouflage                                         SR0000680360                   Sony Music Entertainment
  2030   Brad Paisley                                            I Do Now                                           SR0000680360                   Sony Music Entertainment
  2031   Brad Paisley                                            New Favorite Memory                                SR0000680360                   Sony Music Entertainment
  2032   Brad Paisley                                            Old Alabama                                        SR0000680360                   Sony Music Entertainment
  2033   Brad Paisley                                            One of Those Lives                                 SR0000680360                   Sony Music Entertainment
  2034   Brad Paisley                                            This Is Country Music                              SR0000680360                   Sony Music Entertainment
  2035   Brad Paisley                                            Toothbrush                                         SR0000680360                   Sony Music Entertainment
  2036   Brad Paisley                                            Working On A Tan                                   SR0000680360                   Sony Music Entertainment
  2037   Brad Paisley feat. Blake Shelton                        Don't Drink the Water                              SR0000680360                   Sony Music Entertainment
  2038   Brad Paisley feat. Clint Eastwood                       Eastwood                                           SR0000680360                   Sony Music Entertainment
  2039   Brad Paisley feat. Don Henley                           Love Her Like She's Leavin'                        SR0000680360                   Sony Music Entertainment
  2040   Brad Paisley feat. Marty Stuart, Sheryl Crow and Carl   Life's Railway to Heaven                           SR0000680360                   Sony Music Entertainment
         Jackson
  2041   Brad Praisley                                           Remind Me                                          SR0000680360                   Sony Music Entertainment
  2042   Brandi Carlile                                          Again Today / Hiding My Heart                      SR0000609517                   Sony Music Entertainment
  2043   Brandi Carlile                                          Cannonball                                         SR0000609517                   Sony Music Entertainment
  2044   Brandi Carlile                                          Downpour                                           SR0000609517                   Sony Music Entertainment
  2045   Brandi Carlile                                          Have You Ever                                      SR0000609517                   Sony Music Entertainment
  2046   Brandi Carlile                                          Josephine                                          SR0000609517                   Sony Music Entertainment
  2047   Brandi Carlile                                          Late Morning Lullaby                               SR0000609517                   Sony Music Entertainment
  2048   Brandi Carlile                                          Losing Heart                                       SR0000609517                   Sony Music Entertainment
  2049   Brandi Carlile                                          My Song                                            SR0000609517                   Sony Music Entertainment
  2050   Brandi Carlile                                          Shadow On The Wall                                 SR0000609517                   Sony Music Entertainment
  2051   Brandi Carlile                                          Turpentine                                         SR0000609517                   Sony Music Entertainment


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                                                                               EXHIBIT A - SOUND RECORDINGS

                                     Artist                                              Track                           Registration Number                     Plaintiff
  2052   Brandi Carlile                                       Until I Die                                       SR0000609517                   Sony Music Entertainment
  2053   Brandi Carlile                                       Wasted                                            SR0000609517                   Sony Music Entertainment
  2054   Brandy                                               1st & Love                                        SR0000622255                   Sony Music Entertainment
  2055   Brandy                                               A Capella (Something's Missing)                   SR0000622255                   Sony Music Entertainment
  2056   Brandy                                               Camouflage                                        SR0000622255                   Sony Music Entertainment
  2057   Brandy                                               Can You Hear Me Now                               SR0000710136                   Sony Music Entertainment
  2058   Brandy                                               Do You Know What You Have                         SR0000710136                   Sony Music Entertainment
  2059   Brandy                                               Fall                                              SR0000622255                   Sony Music Entertainment
  2060   Brandy                                               Hardly Breathing                                  SR0000710136                   Sony Music Entertainment
  2061   Brandy                                               Human                                             SR0000622255                   Sony Music Entertainment
  2062   Brandy                                               Let Me Go                                         SR0000710136                   Sony Music Entertainment
  2063   Brandy                                               Long Distance                                     SR0000622255                   Sony Music Entertainment
  2064   Brandy                                               Long Distance Interlude                           SR0000622255                   Sony Music Entertainment
  2065   Brandy                                               Music                                             SR0000710136                   Sony Music Entertainment
  2066   Brandy                                               No Such Thing As Too Late                         SR0000710136                   Sony Music Entertainment
  2067   Brandy                                               Outro                                             SR0000710136                   Sony Music Entertainment
  2068   Brandy                                               Paint This House                                  SR0000710136                   Sony Music Entertainment
  2069   Brandy                                               Piano Man                                         SR0000622255                   Sony Music Entertainment
  2070   Brandy                                               Scared Of Beautiful                               SR0000710136                   Sony Music Entertainment
  2071   Brandy                                               Shattered Heart                                   SR0000622255                   Sony Music Entertainment
  2072   Brandy                                               Slower                                            SR0000710136                   Sony Music Entertainment
  2073   Brandy                                               So Sick                                           SR0000710136                   Sony Music Entertainment
  2074   Brandy                                               The Definition                                    SR0000622255                   Sony Music Entertainment
  2075   Brandy                                               Torn Down                                         SR0000622255                   Sony Music Entertainment
  2076   Brandy                                               True                                              SR0000622255                   Sony Music Entertainment
  2077   Brandy                                               Warm It Up (With Love)                            SR0000622255                   Sony Music Entertainment
  2078   Brandy                                               What You Need                                     SR0000710136                   Sony Music Entertainment
  2079   Brandy                                               Wildest Dreams                                    SR0000710136                   Sony Music Entertainment
  2080   Brandy                                               Wish Your Love Away                               SR0000710136                   Sony Music Entertainment
  2081   Brandy                                               Without You                                       SR0000710136                   Sony Music Entertainment
  2082   Brandy feat. Chris Brown                             Put It Down                                       SR0000710136                   Sony Music Entertainment
  2083   Britney Spears                                       Alien                                             SR0000738040                   Sony Music Entertainment
  2084   Britney Spears                                       Body Ache                                         SR0000738040                   Sony Music Entertainment
  2085   Britney Spears                                       Brightest Morning Star                            SR0000738040                   Sony Music Entertainment
  2086   Britney Spears                                       Criminal                                          SR0000673693                   Sony Music Entertainment
  2087   Britney Spears                                       Don't Cry                                         SR0000738040                   Sony Music Entertainment
  2088   Britney Spears                                       Don't Keep Me Waiting                             SR0000677693                   Sony Music Entertainment
  2089   Britney Spears                                       Gasoline                                          SR0000673693                   Sony Music Entertainment
  2090   Britney Spears                                       He About To Lose Me                               SR0000677693                   Sony Music Entertainment
  2091   Britney Spears                                       Hold It Against Me                                SR0000673693                   Sony Music Entertainment
  2092   Britney Spears                                       Hold On Tight                                     SR0000738040                   Sony Music Entertainment
  2093   Britney Spears                                       How I Roll                                        SR0000673693                   Sony Music Entertainment
  2094   Britney Spears                                       I Wanna Go                                        SR0000673693                   Sony Music Entertainment
  2095   Britney Spears                                       Inside Out                                        SR0000673693                   Sony Music Entertainment
  2096   Britney Spears                                       Now That I Found You                              SR0000738040                   Sony Music Entertainment
  2097   Britney Spears                                       Passenger                                         SR0000738040                   Sony Music Entertainment
  2098   Britney Spears                                       Perfume                                           SR0000738038                   Sony Music Entertainment
  2099   Britney Spears                                       Perfume (The Dreaming Mix)                        SR0000738040                   Sony Music Entertainment
  2100   Britney Spears                                       Seal It With A Kiss                               SR0000673693                   Sony Music Entertainment
  2101   Britney Spears                                       Selfish                                           SR0000677693                   Sony Music Entertainment
  2102   Britney Spears                                       Til It's Gone                                     SR0000738040                   Sony Music Entertainment
  2103   Britney Spears                                       Till The World Ends                               SR0000674674                   Sony Music Entertainment
  2104   Britney Spears                                       Trip To Your Heart                                SR0000673693                   Sony Music Entertainment
  2105   Britney Spears                                       Trouble For Me                                    SR0000673693                   Sony Music Entertainment
  2106   Britney Spears                                       Up N' Down                                        SR0000677693                   Sony Music Entertainment
  2107   Britney Spears feat. Jamie Lynn                      Chillin' With You                                 SR0000738040                   Sony Music Entertainment
  2108   Britney Spears feat. Sabi                            (Drop Dead) Beautiful                             SR0000673693                   Sony Music Entertainment
  2109   Britney Spears feat. T.I.                            Tik Tik Boom                                      SR0000738040                   Sony Music Entertainment
  2110   Britney Spears feat. will.i.am                       Big Fat Bass                                      SR0000673693                   Sony Music Entertainment
  2111   Britney Spears feat. will.i.am                       It Should Be Easy                                 SR0000738040                   Sony Music Entertainment
  2112   Bruce Springsteen                                    American Land                                     SR0000705192                   Sony Music Entertainment
  2113   Bruce Springsteen                                    American Skin (41 Shots)                          SR0000742574                   Sony Music Entertainment
  2114   Bruce Springsteen                                    Death To My Hometown                              SR0000705192                   Sony Music Entertainment
  2115   Bruce Springsteen                                    Down in the Hole                                  SR0000742574                   Sony Music Entertainment
  2116   Bruce Springsteen                                    Dream Baby Dream                                  SR0000742197                   Sony Music Entertainment
  2117   Bruce Springsteen                                    Easy Money                                        SR0000705192                   Sony Music Entertainment
  2118   Bruce Springsteen                                    Frankie Fell in Love                              SR0000742574                   Sony Music Entertainment
  2119   Bruce Springsteen                                    Harry's Place                                     SR0000742574                   Sony Music Entertainment
  2120   Bruce Springsteen                                    Heaven's Wall                                     SR0000742574                   Sony Music Entertainment
  2121   Bruce Springsteen                                    High Hopes                                        SR0000742572                   Sony Music Entertainment
  2122   Bruce Springsteen                                    Hunter of Invisible Game                          SR0000742574                   Sony Music Entertainment
  2123   Bruce Springsteen                                    Jack Of All Trades                                SR0000705192                   Sony Music Entertainment
  2124   Bruce Springsteen                                    Just Like Fire Would                              SR0000742574                   Sony Music Entertainment
  2125   Bruce Springsteen                                    Land of Hope and Dreams                           SR0000705192                   Sony Music Entertainment
  2126   Bruce Springsteen                                    Rocky Ground                                      SR0000705192                   Sony Music Entertainment
  2127   Bruce Springsteen                                    Shackled And Drawn                                SR0000705192                   Sony Music Entertainment
  2128   Bruce Springsteen                                    Swallowed Up (In The Belly Of The Whale)          SR0000705192                   Sony Music Entertainment
  2129   Bruce Springsteen                                    The Ghost of Tom Joad                             SR0000742574                   Sony Music Entertainment
  2130   Bruce Springsteen                                    The Wall                                          SR0000742574                   Sony Music Entertainment
  2131   Bruce Springsteen                                    This Depression                                   SR0000705192                   Sony Music Entertainment
  2132   Bruce Springsteen                                    This is Your Sword                                SR0000742574                   Sony Music Entertainment
  2133   Bruce Springsteen                                    We Are Alive                                      SR0000705192                   Sony Music Entertainment
  2134   Bruce Springsteen                                    We Take Care Of Our Own                           SR0000705192                   Sony Music Entertainment
  2135   Bruce Springsteen                                    Wrecking Ball                                     SR0000705192                   Sony Music Entertainment
  2136   Bruce Springsteen                                    You've Got It                                     SR0000705192                   Sony Music Entertainment
  2137   Bullet For My Valentine                              A Place Where You Belong                          SR0000706395                   Sony Music Entertainment


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                                                                               EXHIBIT A - SOUND RECORDINGS

                                   Artist                                                 Track                            Registration Number                     Plaintiff
  2138   Bullet For My Valentine                              Alone                                               SR0000706395                   Sony Music Entertainment
  2139   Bullet For My Valentine                              Ashes Of The Innocent                               SR0000619985                   Sony Music Entertainment
  2140   Bullet For My Valentine                              Begging For Mercy                                   SR0000706395                   Sony Music Entertainment
  2141   Bullet For My Valentine                              Bittersweet Memories                                SR0000706395                   Sony Music Entertainment
  2142   Bullet For My Valentine                              Breaking Out, Breaking Down                         SR0000706395                   Sony Music Entertainment
  2143   Bullet For My Valentine                              Deliver Us from Evil                                SR0000619985                   Sony Music Entertainment
  2144   Bullet For My Valentine                              Dignity                                             SR0000706395                   Sony Music Entertainment
  2145   Bullet For My Valentine                              Disappear                                           SR0000619985                   Sony Music Entertainment
  2146   Bullet For My Valentine                              End Of Days                                         SR0000619985                   Sony Music Entertainment
  2147   Bullet For My Valentine                              Eye Of The Storm                                    SR0000619985                   Sony Music Entertainment
  2148   Bullet For My Valentine                              Fever                                               SR0000706395                   Sony Music Entertainment
  2149   Bullet For My Valentine                              Forever And Always                                  SR0000619985                   Sony Music Entertainment
  2150   Bullet For My Valentine                              Hearts Burst Into Fire                              SR0000619985                   Sony Music Entertainment
  2151   Bullet For My Valentine                              Last To Know                                        SR0000619985                   Sony Music Entertainment
  2152   Bullet For My Valentine                              One Good Reason Why                                 SR0000619985                   Sony Music Entertainment
  2153   Bullet For My Valentine                              Pleasure And Pain                                   SR0000706395                   Sony Music Entertainment
  2154   Bullet For My Valentine                              Pretty On The Outside                               SR0000706395                   Sony Music Entertainment
  2155   Bullet For My Valentine                              Road To Nowhere                                     SR0000619985                   Sony Music Entertainment
  2156   Bullet For My Valentine                              Say Goodnight                                       SR0000619985                   Sony Music Entertainment
  2157   Bullet For My Valentine                              Scream Aim Fire                                     PA0001607594                   Sony Music Entertainment
  2158   Bullet For My Valentine                              Take It Out On Me                                   SR0000619985                   Sony Music Entertainment
  2159   Bullet For My Valentine                              The Last Fight                                      SR0000706395                   Sony Music Entertainment
  2160   Bullet For My Valentine                              Waking The Demon                                    SR0000619985                   Sony Music Entertainment
  2161   Bullet For My Valentine                              Watching Us Die Tonight                             SR0000619985                   Sony Music Entertainment
  2162   Bullet For My Valentine                              Your Betrayal                                       SR0000706395                   Sony Music Entertainment
  2163   Cage The Elephant                                    2024                                                SR0000703665                   Sony Music Entertainment
  2164   Cage The Elephant                                    Aberdeen                                            SR0000703665                   Sony Music Entertainment
  2165   Cage The Elephant                                    Ain't No Rest for the Wicked                        SR0000615871                   Sony Music Entertainment
  2166   Cage The Elephant                                    Always Something                                    SR0000703665                   Sony Music Entertainment
  2167   Cage The Elephant                                    Around My Head                                      SR0000703665                   Sony Music Entertainment
  2168   Cage The Elephant                                    Back Against The Wall                               SR0000631003                   Sony Music Entertainment
  2169   Cage The Elephant                                    Back Stabbin' Betty                                 SR0000631003                   Sony Music Entertainment
  2170   Cage The Elephant                                    Cover Me Again                                      SR0000631003                   Sony Music Entertainment
  2171   Cage The Elephant                                    Drones In The Valley                                SR0000631003                   Sony Music Entertainment
  2172   Cage The Elephant                                    Flow                                                SR0000703665                   Sony Music Entertainment
  2173   Cage The Elephant                                    Free Love                                           SR0000631003                   Sony Music Entertainment
  2174   Cage The Elephant                                    In One Ear                                          SR0000631003                   Sony Music Entertainment
  2175   Cage The Elephant                                    Indy Kidz                                           SR0000703665                   Sony Music Entertainment
  2176   Cage The Elephant                                    James Brown                                         SR0000631003                   Sony Music Entertainment
  2177   Cage The Elephant                                    Japanese Buffalo                                    SR0000703665                   Sony Music Entertainment
  2178   Cage The Elephant                                    Judas                                               SR0000631003                   Sony Music Entertainment
  2179   Cage The Elephant                                    Lotus                                               SR0000631003                   Sony Music Entertainment
  2180   Cage The Elephant                                    Right Before My Eyes                                SR0000703665                   Sony Music Entertainment
  2181   Cage The Elephant                                    Rubber Ball                                         SR0000703665                   Sony Music Entertainment
  2182   Cage The Elephant                                    Sabertooth Tiger                                    SR0000703665                   Sony Music Entertainment
  2183   Cage The Elephant                                    Sell Yourself                                       SR0000703665                   Sony Music Entertainment
  2184   Cage The Elephant                                    Shake Me Down                                       SR0000703665                   Sony Music Entertainment
  2185   Cage The Elephant                                    Soil To The Sun                                     SR0000631003                   Sony Music Entertainment
  2186   Cage The Elephant                                    Tiny Little Robots                                  SR0000631003                   Sony Music Entertainment
  2187   Calvin Harris                                        I Need Your Love                                    SR0000710756                   Sony Music Entertainment
  2188   Camila                                               Coleccionista De Canciones                          SR0000393905                   Sony Music Entertainment
  2189   Camila                                               Me Basto                                            SR0000393905                   Sony Music Entertainment
  2190   Camila                                               Me Da Igual                                         SR0000393905                   Sony Music Entertainment
  2191   Camila                                               Nanga Ti Feo                                        SR0000393905                   Sony Music Entertainment
  2192   Camila                                               Perderte de Nuevo                                   SR0000393905                   Sony Music Entertainment
  2193   Camila                                               Sin Tu Amor                                         SR0000393905                   Sony Music Entertainment
  2194   Camila                                               Todo Cambio                                         SR0000393905                   Sony Music Entertainment
  2195   Camila                                               U Got My Love                                       SR0000393905                   Sony Music Entertainment
  2196   Camila                                               Va Para Ti                                          SR0000393905                   Sony Music Entertainment
  2197   Camila                                               Yo Quiero                                           SR0000393905                   Sony Music Entertainment
  2198   Carlos Santana                                       Havana Moon                                         SR0000045295                   Sony Music Entertainment
  2199   Carrie Underwood                                     All-American Girl                                   SR0000627157                   Sony Music Entertainment
  2200   Carrie Underwood                                     Before He Cheats                                    SR0000742546                   Sony Music Entertainment
  2201   Carrie Underwood                                     Blown Away                                          SR0000700157                   Sony Music Entertainment
  2202   Carrie Underwood                                     Crazy Dreams                                        SR0000627157                   Sony Music Entertainment
  2203   Carrie Underwood                                     Cupid's Got A Shotgun                               SR0000700157                   Sony Music Entertainment
  2204   Carrie Underwood                                     Do You Think About Me                               SR0000700157                   Sony Music Entertainment
  2205   Carrie Underwood                                     Don't Forget to Remember Me                         SR0000383054                   Sony Music Entertainment
  2206   Carrie Underwood                                     Flat On The Floor                                   SR0000627157                   Sony Music Entertainment
  2207   Carrie Underwood                                     Forever Changed                                     SR0000700157                   Sony Music Entertainment
  2208   Carrie Underwood                                     Get Out Of This Town                                SR0000627157                   Sony Music Entertainment
  2209   Carrie Underwood                                     Good Girl                                           SR0000700157                   Sony Music Entertainment
  2210   Carrie Underwood                                     Good In Goodbye                                     SR0000700157                   Sony Music Entertainment
  2211   Carrie Underwood                                     I Ain't In Checotah Anymore                         SR0000383054                   Sony Music Entertainment
  2212   Carrie Underwood                                     I Just Can't Live A Lie                             SR0000383054                   Sony Music Entertainment
  2213   Carrie Underwood                                     I Know You Won't                                    SR0000627157                   Sony Music Entertainment
  2214   Carrie Underwood                                     I Told You So                                       SR0000627157                   Sony Music Entertainment
  2215   Carrie Underwood                                     Inside Your Heaven                                  SR0000383054                   Sony Music Entertainment
  2216   Carrie Underwood                                     Jesus Take The Wheel                                SR0000742547                   Sony Music Entertainment
  2217   Carrie Underwood                                     Just A Dream                                        SR0000627157                   Sony Music Entertainment
  2218   Carrie Underwood                                     Last Name                                           SR0000627157                   Sony Music Entertainment
  2219   Carrie Underwood                                     Leave Love Alone                                    SR0000700157                   Sony Music Entertainment
  2220   Carrie Underwood                                     Lessons Learned                                     SR0000383054                   Sony Music Entertainment
  2221   Carrie Underwood                                     Nobody Ever Told You                                SR0000700157                   Sony Music Entertainment
  2222   Carrie Underwood                                     One Way Ticket                                      SR0000700157                   Sony Music Entertainment
  2223   Carrie Underwood                                     See You Again                                       SR0000700157                   Sony Music Entertainment


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                                                                               EXHIBIT A - SOUND RECORDINGS

                                   Artist                                                  Track                                  Registration Number                     Plaintiff
  2224   Carrie Underwood                                     So Small                                                   SR0000742208                   Sony Music Entertainment
  2225   Carrie Underwood                                     Some Hearts                                                SR0000383054                   Sony Music Entertainment
  2226   Carrie Underwood                                     Starts With Goodbye                                        SR0000383054                   Sony Music Entertainment
  2227   Carrie Underwood                                     Thank God For Hometowns                                    SR0000700157                   Sony Music Entertainment
  2228   Carrie Underwood                                     That's Where It Is                                         SR0000383054                   Sony Music Entertainment
  2229   Carrie Underwood                                     The More Boys I Meet                                       SR0000627157                   Sony Music Entertainment
  2230   Carrie Underwood                                     The Night Before (Life Goes On)                            SR0000383054                   Sony Music Entertainment
  2231   Carrie Underwood                                     Twisted                                                    SR0000627157                   Sony Music Entertainment
  2232   Carrie Underwood                                     Two Black Cadillacs                                        SR0000700157                   Sony Music Entertainment
  2233   Carrie Underwood                                     Wasted                                                     SR0000383054                   Sony Music Entertainment
  2234   Carrie Underwood                                     We're Young and Beautiful                                  SR0000383054                   Sony Music Entertainment
  2235   Carrie Underwood                                     Wheel Of The World                                         SR0000627157                   Sony Music Entertainment
  2236   Carrie Underwood                                     Whenever You Remember                                      SR0000383054                   Sony Music Entertainment
  2237   Carrie Underwood                                     Who Are You                                                SR0000700157                   Sony Music Entertainment
  2238   Carrie Underwood                                     Wine After Whiskey                                         SR0000700157                   Sony Music Entertainment
  2239   Carrie Underwood                                     You Won't Find This                                        SR0000627157                   Sony Music Entertainment
  2240   Celine Dion                                          I Hate You Then I Love You (Duet with Luciano Pavarotti)   SR0000248109                   Sony Music Entertainment
  2241   Celine Dion                                          Just A Little Bit Of Love                                  SR0000248109                   Sony Music Entertainment
  2242   Celine Dion                                          Let's Talk About Love                                      SR0000248109                   Sony Music Entertainment
  2243   Celine Dion                                          Love Is On The Way                                         SR0000248109                   Sony Music Entertainment
  2244   Celine Dion                                          Miles To Go (Before I Sleep)                               SR0000248109                   Sony Music Entertainment
  2245   Celine Dion                                          Treat Her Like A Lady                                      SR0000248109                   Sony Music Entertainment
  2246   Celine Dion                                          Us                                                         SR0000248109                   Sony Music Entertainment
  2247   Celine Dion                                          When I Need You                                            SR0000248109                   Sony Music Entertainment
  2248   Celine Dion                                          Where Does My Heart Beat Now                               SR0000124245                   Sony Music Entertainment
  2249   Celine Dion                                          Where Is The Love                                          SR0000248109                   Sony Music Entertainment
  2250   Celine Dion                                          Why Oh Why                                                 SR0000248109                   Sony Music Entertainment
  2251   Charlie Daniels                                      The Devil Went Down To Georgia                             SR0000008973                   Sony Music Entertainment
  2252   Charlie Wilson                                       Crying For You                                             SR0000679365                   Sony Music Entertainment
  2253   Charlie Wilson                                       I Can't Let Go                                             SR0000679365                   Sony Music Entertainment
  2254   Charlie Wilson                                       Life Of The Party                                          SR0000679365                   Sony Music Entertainment
  2255   Charlie Wilson                                       Lotto                                                      SR0000679365                   Sony Music Entertainment
  2256   Charlie Wilson                                       My Girl Is A Dime                                          SR0000679365                   Sony Music Entertainment
  2257   Charlie Wilson                                       Never Got Enough                                           SR0000679365                   Sony Music Entertainment
  2258   Charlie Wilson                                       Once And Forever                                           SR0000679365                   Sony Music Entertainment
  2259   Charlie Wilson                                       Where Would I Be                                           SR0000679365                   Sony Music Entertainment
  2260   Charlie Wilson                                       You Are                                                    SR0000679365                   Sony Music Entertainment
  2261   Charlie Wilson feat. Fantasia                        I Wanna Be Your Man                                        SR0000679365                   Sony Music Entertainment
  2262   Cher Lloyd                                           Swagger Jagger                                             SR0000724733                   Sony Music Entertainment
  2263   Cher Lloyd                                           Want U Back                                                SR0000724736                   Sony Music Entertainment
  2264   Chevelle                                             Closure                                                    SR0000324184                   Sony Music Entertainment
  2265   Chevelle                                             Comfortable Liar                                           SR0000324184                   Sony Music Entertainment
  2266   Chevelle                                             Forfeit                                                    SR0000324184                   Sony Music Entertainment
  2267   Chevelle                                             Get Some                                                   SR0000363500                   Sony Music Entertainment
  2268   Chevelle                                             I Get It                                                   SR0000407044                   Sony Music Entertainment
  2269   Chevelle                                             Panic Prone                                                SR0000363500                   Sony Music Entertainment
  2270   Chevelle                                             Send The Pain Below                                        SR0000324184                   Sony Music Entertainment
  2271   Chevelle                                             Straight Jacket Fashion                                    SR0000407044                   Sony Music Entertainment
  2272   Chevelle                                             The Clincher                                               SR0000363500                   Sony Music Entertainment
  2273   Chevelle                                             The Fad                                                    SR0000407044                   Sony Music Entertainment
  2274   Chevelle                                             The Red                                                    PA0001060682                   Sony Music Entertainment
  2275   Chevelle                                             Vitamin R (Leading Us Along)                               PA0001263996                   Sony Music Entertainment
  2276   Chipmunk Feat. Chris Brown                           Champion                                                   SR0000751658                   Sony Music Entertainment
  2277   Chris Brown                                          2012                                                       SR0000711816                   Sony Music Entertainment
  2278   Chris Brown                                          4 Years Old                                                SR0000711816                   Sony Music Entertainment
  2279   Chris Brown                                          All Back                                                   SR0000679366                   Sony Music Entertainment
  2280   Chris Brown                                          Bassline                                                   SR0000711816                   Sony Music Entertainment
  2281   Chris Brown                                          Beg For It                                                 SR0000679366                   Sony Music Entertainment
  2282   Chris Brown                                          Biggest Fan                                                SR0000711816                   Sony Music Entertainment
  2283   Chris Brown                                          Don't Judge Me                                             SR0000711816                   Sony Music Entertainment
  2284   Chris Brown                                          Don't Wake Me Up                                           SR0000711816                   Sony Music Entertainment
  2285   Chris Brown                                          Free Run                                                   SR0000711816                   Sony Music Entertainment
  2286   Chris Brown                                          Oh My Love                                                 SR0000679366                   Sony Music Entertainment
  2287   Chris Brown                                          Say It With Me                                             SR0000679366                   Sony Music Entertainment
  2288   Chris Brown                                          She Ain't You                                              SR0000679366                   Sony Music Entertainment
  2289   Chris Brown                                          Should've Kissed You                                       SR0000679366                   Sony Music Entertainment
  2290   Chris Brown                                          Strip                                                      SR0000711816                   Sony Music Entertainment
  2291   Chris Brown                                          Stuck On Stupid                                            SR0000711816                   Sony Music Entertainment
  2292   Chris Brown                                          Sweet Love                                                 SR0000711816                   Sony Music Entertainment
  2293   Chris Brown                                          Tell Somebody                                              SR0000711816                   Sony Music Entertainment
  2294   Chris Brown                                          Up To You                                                  SR0000679366                   Sony Music Entertainment
  2295   Chris Brown                                          Wait For You                                               SR0000711816                   Sony Music Entertainment
  2296   Chris Brown                                          Yeah 3x                                                    SR0000679366                   Sony Music Entertainment
  2297   Chris Brown feat. B.o.B                              Get Down (Rarities & B-Sides)                              SR0000708122                   Sony Music Entertainment
  2298   Chris Brown feat. Benny Benassi                      Beautiful People                                           SR0000679366                   Sony Music Entertainment
  2299   Chris Brown feat. Big Sean & Wiz Khalifa             Till I Die                                                 SR0000711816                   Sony Music Entertainment
  2300   Chris Brown feat. Eva Simons                         Love The Girls                                             SR0000679366                   Sony Music Entertainment
  2301   Chris Brown feat. Eva Simons                         Pass Out                                                   SR0000747286                   Sony Music Entertainment
  2302   Chris Brown feat. Justin Bieber                      Next To You                                                SR0000679366                   Sony Music Entertainment
  2303   Chris Brown feat. Kevin McCall                       No BS                                                      SR0000679366                   Sony Music Entertainment
  2304   Chris Brown feat. Lil Wayne & Busta Rhymes           Look At Me Now                                             SR0000677541                   Sony Music Entertainment
  2305   Chris Brown feat. Lil Wayne & Swizz Beatz            I Can Transform Ya                                         SR0000747284                   Sony Music Entertainment
  2306   Chris Brown feat. Lil Wayne & Tyga                   Loyal                                                      SR0000760918                   Sony Music Entertainment
  2307   Chris Brown feat. Ludacris                           Wet The Bed                                                SR0000679366                   Sony Music Entertainment
  2308   Chris Brown feat. Nas                                Mirage                                                     SR0000711816                   Sony Music Entertainment



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                                    Artist                                                  Track                            Registration Number                     Plaintiff
  2309   Chris Brown feat. Nicki Minaj                        Love More                                             SR0000726473                   Sony Music Entertainment
  2310   Chris Brown feat. Sabrina Antionette                 Trumpet Lights                                        SR0000711816                   Sony Music Entertainment
  2311   Chris Brown feat. Sevyn                              Party Hard / Cadillac (Interlude)                     SR0000711816                   Sony Music Entertainment
  2312   Chris Brown feat. Sevyn                              Remember My Name                                      SR0000711816                   Sony Music Entertainment
  2313   Chris Brown feat. Sevyn                              Touch Me                                              SR0000711816                   Sony Music Entertainment
  2314   Chris Brown feat. Tyga & Kevin McCall                Deuces                                                SR0000679366                   Sony Music Entertainment
  2315   Chris Brown feat. Wiz Khalifa                        Bomb                                                  SR0000679366                   Sony Music Entertainment
  2316   Chris Young                                          A.M.                                                  SR0000726878                   Sony Music Entertainment
  2317   Chris Young                                          Aw Naw                                                SR0000726910                   Sony Music Entertainment
  2318   Chris Young                                          Forgiveness                                           SR0000726878                   Sony Music Entertainment
  2319   Chris Young                                          Goodbye                                               SR0000736687                   Sony Music Entertainment
  2320   Chris Young                                          Hold You To It                                        SR0000726878                   Sony Music Entertainment
  2321   Chris Young                                          Lighters In the Air                                   SR0000726878                   Sony Music Entertainment
  2322   Chris Young                                          Nothin' But the Cooler Left                           SR0000726878                   Sony Music Entertainment
  2323   Chris Young                                          Text Me Texas                                         SR0000726878                   Sony Music Entertainment
  2324   Chris Young                                          We're Gonna Find It Tonight                           SR0000726878                   Sony Music Entertainment
  2325   Chris Young                                          Who I Am With You                                     SR0000726878                   Sony Music Entertainment
  2326   Ciara                                                Body Party                                            SR0000724526                   Sony Music Entertainment
  2327   Ciara                                                Ciara To The Stage                                    SR0000631011                   Sony Music Entertainment
  2328   Ciara                                                G Is For Girl (A-Z)                                   SR0000631011                   Sony Music Entertainment
  2329   Ciara                                                I Don't Remember                                      SR0000631011                   Sony Music Entertainment
  2330   Ciara                                                Keep Dancin' On Me                                    SR0000631011                   Sony Music Entertainment
  2331   Ciara                                                Like A Surgeon                                        SR0000631011                   Sony Music Entertainment
  2332   Ciara                                                Never Ever                                            SR0000723761                   Sony Music Entertainment
  2333   Ciara                                                Pucker Up                                             SR0000631011                   Sony Music Entertainment
  2334   Ciara                                                Ride                                                  SR0000671337                   Sony Music Entertainment
  2335   Ciara                                                So Hard                                               SR0000757150                   Sony Music Entertainment
  2336   Ciara                                                Speechless                                            SR0000671337                   Sony Music Entertainment
  2337   Ciara                                                Tell Me What Your Name Is                             SR0000631011                   Sony Music Entertainment
  2338   Ciara feat. Chris Brown                              Turntables                                            SR0000631011                   Sony Music Entertainment
  2339   Ciara feat. Justin Timberlake                        Love Sex Magic                                        SR0000631011                   Sony Music Entertainment
  2340   Ciara feat. Ludacris                                 High Price                                            SR0000631011                   Sony Music Entertainment
  2341   Ciara feat. Nicki Minaj                              I'm Out                                               SR0000724534                   Sony Music Entertainment
  2342   Ciara feat. The-Dream                                Lover's Thing                                         SR0000631011                   Sony Music Entertainment
  2343   Clash                                                I Fought The Law                                      SR0000013444                   Sony Music Entertainment
  2344   Clash                                                Should I Stay Or Should I Go                          SR0000034959                   Sony Music Entertainment
  2345   Crossfade                                            Cold                                                  SR0000697112                   Sony Music Entertainment
  2346   Crossfade                                            Colors                                                SR0000354126                   Sony Music Entertainment
  2347   Crossfade                                            Dead Skin                                             SR0000354126                   Sony Music Entertainment
  2348   Crossfade                                            Death Trend Setta                                     SR0000354126                   Sony Music Entertainment
  2349   Crossfade                                            Disco                                                 SR0000354126                   Sony Music Entertainment
  2350   Crossfade                                            No Giving Up                                          SR0000354126                   Sony Music Entertainment
  2351   Crossfade                                            So Far Away                                           SR0000354126                   Sony Music Entertainment
  2352   Crossfade                                            Starless                                              SR0000354126                   Sony Music Entertainment
  2353   Crossfade                                            The Deep End                                          SR0000354126                   Sony Music Entertainment
  2354   Crossfade                                            The Unknown                                           SR0000354126                   Sony Music Entertainment
  2355   Cypress Hill                                         (Rock) Superstar                                      SR0000287128                   Sony Music Entertainment
  2356   Cypress Hill                                         Can't Get the Best of Me                              SR0000287128                   Sony Music Entertainment
  2357   Cypress Hill                                         Dr. Greenthumb                                        SR0000263930                   Sony Music Entertainment
  2358   Cypress Hill                                         EZ Come EZ Go                                         SR0000384639                   Sony Music Entertainment
  2359   Cypress Hill                                         Hand On The Pump                                      SR0000134573                   Sony Music Entertainment
  2360   Cypress Hill                                         Latin Thugs                                           SR0000354123                   Sony Music Entertainment
  2361   Cypress Hill                                         Tequila Sunrise                                       SR0000263930                   Sony Music Entertainment
  2362   Cypress Hill                                         The Only Way                                          SR0000384639                   Sony Music Entertainment
  2363   Cypress Hill                                         Throw Your Set In The Air                             SR0000215690                   Sony Music Entertainment
  2364   Daughtry                                             All These Lives                                       SR0000399960                   Sony Music Entertainment
  2365   Daughtry                                             Breakdown                                             SR0000399960                   Sony Music Entertainment
  2366   Daughtry                                             Crashed                                               SR0000399960                   Sony Music Entertainment
  2367   Daughtry                                             Crawling Back to You                                  SR0000715606                   Sony Music Entertainment
  2368   Daughtry                                             Feels Like Tonight                                    SR0000399960                   Sony Music Entertainment
  2369   Daughtry                                             Gone                                                  SR0000399960                   Sony Music Entertainment
  2370   Daughtry                                             Home                                                  SR0000399960                   Sony Music Entertainment
  2371   Daughtry                                             It's Not Over                                         SR0000399960                   Sony Music Entertainment
  2372   Daughtry                                             Over You                                              SR0000399960                   Sony Music Entertainment
  2373   Daughtry                                             There And Back Again                                  SR0000399960                   Sony Music Entertainment
  2374   Daughtry                                             Used To                                               SR0000399960                   Sony Music Entertainment
  2375   Daughtry                                             What About Now                                        SR0000399960                   Sony Music Entertainment
  2376   Daughtry                                             What I Want                                           SR0000399960                   Sony Music Entertainment
  2377   Dave Matthews Band                                   American Baby                                         SR0000719468                   Sony Music Entertainment
  2378   Destiny's Child                                      Dangerously In Love                                   SR0000289199                   Sony Music Entertainment
  2379   Dixie Chicks                                         Bitter End                                            SR0000391109                   Sony Music Entertainment
  2380   Dixie Chicks                                         Cowboy Take Me Away                                   SR0000275086                   Sony Music Entertainment
  2381   Dixie Chicks                                         Easy Silence                                          SR0000391109                   Sony Music Entertainment
  2382   Dixie Chicks                                         Everybody Knows                                       SR0000391109                   Sony Music Entertainment
  2383   Dixie Chicks                                         Give It Up Or Let Me Go                               SR0000252000                   Sony Music Entertainment
  2384   Dixie Chicks                                         Goodbye Earl                                          SR0000275086                   Sony Music Entertainment
  2385   Dixie Chicks                                         Heartbreak Town                                       SR0000275086                   Sony Music Entertainment
  2386   Dixie Chicks                                         I Believe in Love                                     SR0000314722                   Sony Music Entertainment
  2387   Dixie Chicks                                         I Can Love You Better                                 SR0000252000                   Sony Music Entertainment
  2388   Dixie Chicks                                         Landslide                                             SR0000314722                   Sony Music Entertainment
  2389   Dixie Chicks                                         Let Him Fly                                           SR0000275086                   Sony Music Entertainment
  2390   Dixie Chicks                                         Lil' Jack Slade                                       SR0000314722                   Sony Music Entertainment
  2391   Dixie Chicks                                         Lubbock or Leave It                                   SR0000391109                   Sony Music Entertainment
  2392   Dixie Chicks                                         Lullaby                                               SR0000391109                   Sony Music Entertainment
  2393   Dixie Chicks                                         Not Ready To Make Nice                                SR0000697321                   Sony Music Entertainment
  2394   Dixie Chicks                                         Ready To Run                                          SR0000309667                   Sony Music Entertainment


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                                     Artist                                              Track                           Registration Number                     Plaintiff
  2395   Dixie Chicks                                         Silent House                                      SR0000391109                   Sony Music Entertainment
  2396   Dixie Chicks                                         Sin Wagon                                         SR0000275086                   Sony Music Entertainment
  2397   Dixie Chicks                                         Some Days You Gotta Dance                         SR0000275086                   Sony Music Entertainment
  2398   Dixie Chicks                                         The Long Way Around                               SR0000391109                   Sony Music Entertainment
  2399   Dixie Chicks                                         There's Your Trouble                              SR0000252000                   Sony Music Entertainment
  2400   Dixie Chicks                                         Tonight the Heartache's on Me                     SR0000252000                   Sony Music Entertainment
  2401   Dixie Chicks                                         Top of the World                                  SR0000314722                   Sony Music Entertainment
  2402   Dixie Chicks                                         Travelin' Soldier                                 SR0000314722                   Sony Music Entertainment
  2403   Dixie Chicks                                         Truth No. 2                                       SR0000314722                   Sony Music Entertainment
  2404   Dixie Chicks                                         White Trash Wedding                               SR0000314722                   Sony Music Entertainment
  2405   Dixie Chicks                                         Wide Open Spaces                                  SR0000252000                   Sony Music Entertainment
  2406   Dixie Chicks                                         Without You                                       SR0000275086                   Sony Music Entertainment
  2407   Dixie Chicks                                         You Were Mine                                     SR0000252000                   Sony Music Entertainment
  2408   Eddie Money                                          Baby Hold On                                      RE0000923174                   Sony Music Entertainment
  2409   Eddie Money                                          I Wanna Go Back                                   SR0000071987                   Sony Music Entertainment
  2410   Eddie Money                                          Looking Through The Eyes Of A Child               SR0000109485                   Sony Music Entertainment
  2411   Eddie Money                                          No Control                                        SR0000038050                   Sony Music Entertainment
  2412   Eddie Money                                          Peace in Our Time                                 SR0000109485                   Sony Music Entertainment
  2413   Eddie Money                                          Shakin'                                           SR0000038050                   Sony Music Entertainment
  2414   Eddie Money                                          Stop Steppin' On My Heart                         SR0000109485                   Sony Music Entertainment
  2415   Eddie Money                                          Think I'm In Love                                 SR0000038226                   Sony Music Entertainment
  2416   Eddie Money                                          Two Tickets To Paradise                           RE0000923174                   Sony Music Entertainment
  2417   Eddie Money                                          We Should Be Sleeping                             SR0000071987                   Sony Music Entertainment
  2418   Eddie Money                                          Where's The Party?                                SR0000050822                   Sony Music Entertainment
  2419   Electric Light Orchestra                             Across the Border                                 N46612                         Sony Music Entertainment
  2420   Electric Light Orchestra                             Confusion                                         SR0000012943                   Sony Music Entertainment
  2421   Electric Light Orchestra                             Do Ya                                             N36991                         Sony Music Entertainment
  2422   Electric Light Orchestra                             Don't Bring Me Down                               SR0000012943                   Sony Music Entertainment
  2423   Electric Light Orchestra                             Evil Woman                                        N27257                         Sony Music Entertainment
  2424   Electric Light Orchestra                             Four Little Diamonds                              SR0000046784                   Sony Music Entertainment
  2425   Electric Light Orchestra                             Getting to the Point                              SR0000070477                   Sony Music Entertainment
  2426   Electric Light Orchestra                             Here Is the News                                  SR0000030537                   Sony Music Entertainment
  2427   Electric Light Orchestra                             Illusions In G Major                              N19100                         Sony Music Entertainment
  2428   Electric Light Orchestra                             Last Train to London                              SR0000012943                   Sony Music Entertainment
  2429   Electric Light Orchestra                             Livin' Thing                                      N36991                         Sony Music Entertainment
  2430   Electric Light Orchestra                             Ma Ma Ma Belle                                    N11365                         Sony Music Entertainment
  2431   Electric Light Orchestra                             Mr Blue Sky                                       N46612                         Sony Music Entertainment
  2432   Electric Light Orchestra                             Nightrider                                        N27257                         Sony Music Entertainment
  2433   Electric Light Orchestra                             Rockaria!                                         N36991                         Sony Music Entertainment
  2434   Electric Light Orchestra                             Secret Messages                                   SR0000046784                   Sony Music Entertainment
  2435   Electric Light Orchestra                             Shine a Little Love                               SR0000009161                   Sony Music Entertainment
  2436   Electric Light Orchestra                             Showdown                                          N11365                         Sony Music Entertainment
  2437   Electric Light Orchestra                             So Serious                                        SR0000070477                   Sony Music Entertainment
  2438   Electric Light Orchestra                             Strange Magic                                     N27257                         Sony Music Entertainment
  2439   Electric Light Orchestra                             Sweet Talkin' Woman                               N46612                         Sony Music Entertainment
  2440   Electric Light Orchestra                             Telephone Line                                    N36991                         Sony Music Entertainment
  2441   Electric Light Orchestra                             The Diary Of Horace Wimp                          SR0000012943                   Sony Music Entertainment
  2442   Electric Light Orchestra                             The Way Life's Meant To Be                        SR0000030537                   Sony Music Entertainment
  2443   Electric Light Orchestra                             Ticket To The Moon                                SR0000030537                   Sony Music Entertainment
  2444   Electric Light Orchestra                             Turn To Stone                                     N46612                         Sony Music Entertainment
  2445   Electric Light Orchestra                             Twilight                                          SR0000030537                   Sony Music Entertainment
  2446   Electric Light Orchestra                             Wild West Hero                                    N46612                         Sony Music Entertainment
  2447   Elle Varner                                          Damn Good Friends                                 SR0000721189                   Sony Music Entertainment
  2448   Elle Varner                                          Leaf                                              SR0000721189                   Sony Music Entertainment
  2449   Elle Varner                                          Not Tonight                                       SR0000721189                   Sony Music Entertainment
  2450   Elle Varner                                          Oh What A Night                                   SR0000721189                   Sony Music Entertainment
  2451   Elle Varner                                          Refill                                            SR0000721190                   Sony Music Entertainment
  2452   Elle Varner                                          So Fly                                            SR0000721187                   Sony Music Entertainment
  2453   Elle Varner                                          Sound Proof Room                                  SR0000721189                   Sony Music Entertainment
  2454   Elle Varner                                          Stop The Clock                                    SR0000721189                   Sony Music Entertainment
  2455   Elle Varner                                          Welcome Home                                      SR0000721189                   Sony Music Entertainment
  2456   Elle Varner feat. J. Cole                            Only Wanna Give It To You                         SR0000721192                   Sony Music Entertainment
  2457   Emblem3                                              3000 Miles                                        SR0000726978                   Sony Music Entertainment
  2458   Emblem3                                              Chloe (You're The One I Want)                     SR0000726979                   Sony Music Entertainment
  2459   Emblem3                                              Do It All Again                                   SR0000726978                   Sony Music Entertainment
  2460   Emblem3                                              Girl Next Door                                    SR0000726978                   Sony Music Entertainment
  2461   Emblem3                                              I Love LA                                         SR0000726978                   Sony Music Entertainment
  2462   Emblem3                                              I Wish                                            SR0000726978                   Sony Music Entertainment
  2463   Emblem3                                              Jaiden                                            SR0000726978                   Sony Music Entertainment
  2464   Emblem3                                              Just For One Day                                  SR0000726978                   Sony Music Entertainment
  2465   Emblem3                                              Nothing To Lose                                   SR0000726978                   Sony Music Entertainment
  2466   Emblem3                                              One Day                                           SR0000726978                   Sony Music Entertainment
  2467   Emblem3                                              Reason                                            SR0000726978                   Sony Music Entertainment
  2468   Emblem3                                              Spaghetti                                         SR0000726978                   Sony Music Entertainment
  2469   Emblem3                                              Sunset Blvd                                       SR0000726978                   Sony Music Entertainment
  2470   Emblem3                                              Teenage Kings                                     SR0000726978                   Sony Music Entertainment
  2471   Emblem3                                              XO                                                SR0000726978                   Sony Music Entertainment
  2472   Europe                                               Carrie                                            SR0000076395                   Sony Music Entertainment
  2473   Europe                                               Cherokee                                          SR0000076395                   Sony Music Entertainment
  2474   Europe                                               Danger On the Track                               SR0000076395                   Sony Music Entertainment
  2475   Europe                                               Heart Of Stone                                    SR0000076395                   Sony Music Entertainment
  2476   Europe                                               Love Chaser                                       SR0000076395                   Sony Music Entertainment
  2477   Europe                                               Ninja                                             SR0000076395                   Sony Music Entertainment
  2478   Europe                                               On The Loose                                      SR0000076395                   Sony Music Entertainment
  2479   Europe                                               Rock the Night                                    SR0000076395                   Sony Music Entertainment
  2480   Europe                                               The Final Countdown                               SR0000076395                   Sony Music Entertainment


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                                   Artist                                                Track                          Registration Number                     Plaintiff
  2481   Europe                                               Time Has Come                                    SR0000076395                   Sony Music Entertainment
  2482   Fabulous Thunderbirds                                Amnesia                                          SR0000076616                   Sony Music Entertainment
  2483   Fabulous Thunderbirds                                Down At Antwones                                 SR0000076616                   Sony Music Entertainment
  2484   Fabulous Thunderbirds                                I Don't Care                                     SR0000076616                   Sony Music Entertainment
  2485   Fabulous Thunderbirds                                Tell Me                                          SR0000076616                   Sony Music Entertainment
  2486   Fabulous Thunderbirds                                True Love                                        SR0000076616                   Sony Music Entertainment
  2487   Fabulous Thunderbirds                                Tuff Enuff                                       SR0000076616                   Sony Music Entertainment
  2488   Fifth Harmony                                        BO$$                                             SR0000768358                   Sony Music Entertainment
  2489   Foo Fighters                                         Ain't It The Life                                SR0000285034                   Sony Music Entertainment
  2490   Foo Fighters                                         All My Life (Edit)                               SR0000325862                   Sony Music Entertainment
  2491   Foo Fighters                                         Another Round                                    SR0000377762                   Sony Music Entertainment
  2492   Foo Fighters                                         Aurora                                           SR0000285034                   Sony Music Entertainment
  2493   Foo Fighters                                         Ballad Of The Beaconsfield Miners                SR0000617325                   Sony Music Entertainment
  2494   Foo Fighters                                         Best Of You                                      SR0000734391                   Sony Music Entertainment
  2495   Foo Fighters                                         Breakout                                         SR0000285034                   Sony Music Entertainment
  2496   Foo Fighters                                         But, Honestly                                    SR0000617325                   Sony Music Entertainment
  2497   Foo Fighters                                         Cheer Up, Boys (Your Make Up Is Running)         SR0000617325                   Sony Music Entertainment
  2498   Foo Fighters                                         Cold Day In The Sun                              SR0000377762                   Sony Music Entertainment
  2499   Foo Fighters                                         Come Alive                                       SR0000617325                   Sony Music Entertainment
  2500   Foo Fighters                                         Danny Says                                       SR0000325862                   Sony Music Entertainment
  2501   Foo Fighters                                         DOA                                              SR0000377762                   Sony Music Entertainment
  2502   Foo Fighters                                         Doll                                             SR0000297253                   Sony Music Entertainment
  2503   Foo Fighters                                         End Over End                                     SR0000377762                   Sony Music Entertainment
  2504   Foo Fighters                                         Enough Space                                     SR0000297253                   Sony Music Entertainment
  2505   Foo Fighters                                         Everlong                                         SR0000297253                   Sony Music Entertainment
  2506   Foo Fighters                                         February Stars                                   SR0000297253                   Sony Music Entertainment
  2507   Foo Fighters                                         Free Me                                          SR0000377762                   Sony Music Entertainment
  2508   Foo Fighters                                         Friend Of A Friend                               SR0000377762                   Sony Music Entertainment
  2509   Foo Fighters                                         Generator                                        SR0000285034                   Sony Music Entertainment
  2510   Foo Fighters                                         Gimme Stitches                                   SR0000285034                   Sony Music Entertainment
  2511   Foo Fighters                                         Headwires                                        SR0000285034                   Sony Music Entertainment
  2512   Foo Fighters                                         Hell                                             SR0000377762                   Sony Music Entertainment
  2513   Foo Fighters                                         Hey, Johnny Park!                                SR0000297253                   Sony Music Entertainment
  2514   Foo Fighters                                         Home                                             SR0000617325                   Sony Music Entertainment
  2515   Foo Fighters                                         In Your Honor                                    SR0000377762                   Sony Music Entertainment
  2516   Foo Fighters                                         Learn To Fly                                     SR0000285034                   Sony Music Entertainment
  2517   Foo Fighters                                         Let It Die                                       SR0000617325                   Sony Music Entertainment
  2518   Foo Fighters                                         Live-In Skin                                     SR0000285034                   Sony Music Entertainment
  2519   Foo Fighters                                         Long Road To Ruin                                SR0000617325                   Sony Music Entertainment
  2520   Foo Fighters                                         M.I.A.                                           SR0000285034                   Sony Music Entertainment
  2521   Foo Fighters                                         Marigold                                         SR0000396409                   Sony Music Entertainment
  2522   Foo Fighters                                         Miracle                                          SR0000377762                   Sony Music Entertainment
  2523   Foo Fighters                                         Monkey Wrench                                    SR0000297253                   Sony Music Entertainment
  2524   Foo Fighters                                         My Hero                                          SR0000297253                   Sony Music Entertainment
  2525   Foo Fighters                                         My Hero (Live)                                   SR0000396409                   Sony Music Entertainment
  2526   Foo Fighters                                         My Poor Brain                                    SR0000297253                   Sony Music Entertainment
  2527   Foo Fighters                                         New Way Home                                     SR0000297253                   Sony Music Entertainment
  2528   Foo Fighters                                         Next Year                                        SR0000285034                   Sony Music Entertainment
  2529   Foo Fighters                                         No Way Back                                      SR0000377762                   Sony Music Entertainment
  2530   Foo Fighters                                         On The Mend                                      SR0000377762                   Sony Music Entertainment
  2531   Foo Fighters                                         Once & For All (Demo)                            SR0000617325                   Sony Music Entertainment
  2532   Foo Fighters                                         Over And Out                                     SR0000377762                   Sony Music Entertainment
  2533   Foo Fighters                                         Razor                                            SR0000396409                   Sony Music Entertainment
  2534   Foo Fighters                                         Resolve                                          SR0000377762                   Sony Music Entertainment
  2535   Foo Fighters                                         See You                                          SR0000297253                   Sony Music Entertainment
  2536   Foo Fighters                                         Skin And Bones                                   SR0000396409                   Sony Music Entertainment
  2537   Foo Fighters                                         Stacked Actors                                   SR0000285034                   Sony Music Entertainment
  2538   Foo Fighters                                         Statues                                          SR0000617325                   Sony Music Entertainment
  2539   Foo Fighters                                         Still                                            SR0000377762                   Sony Music Entertainment
  2540   Foo Fighters                                         Stranger Things Have Happened                    SR0000617325                   Sony Music Entertainment
  2541   Foo Fighters                                         Summer's End                                     SR0000617325                   Sony Music Entertainment
  2542   Foo Fighters                                         The Deepest Blues Are Black                      SR0000377762                   Sony Music Entertainment
  2543   Foo Fighters                                         The Last Song                                    SR0000377762                   Sony Music Entertainment
  2544   Foo Fighters                                         The Pretender                                    SR0000748786                   Sony Music Entertainment
  2545   Foo Fighters                                         Up In Arms                                       SR0000297253                   Sony Music Entertainment
  2546   Foo Fighters                                         Virginia Moon                                    SR0000377762                   Sony Music Entertainment
  2547   Foo Fighters                                         Walking After You                                SR0000297253                   Sony Music Entertainment
  2548   Foo Fighters                                         What If I Do?                                    SR0000377762                   Sony Music Entertainment
  2549   Foo Fighters                                         Wheels                                           SR0000636262                   Sony Music Entertainment
  2550   Foo Fighters                                         Wind Up                                          SR0000297253                   Sony Music Entertainment
  2551   Foo Fighters                                         Word Forward                                     SR0000636262                   Sony Music Entertainment
  2552   Foster The People                                    Call It What You Want                            SR0000752474                   Sony Music Entertainment
  2553   Foster The People                                    Chin Music For The Unsuspecting Hero             SR0000754312                   Sony Music Entertainment
  2554   Foster The People                                    Don't Stop (Color on the Walls)                  SR0000752474                   Sony Music Entertainment
  2555   Foster The People                                    Helena Beat                                      SR0000752475                   Sony Music Entertainment
  2556   Foster The People                                    Houdini                                          SR0000752475                   Sony Music Entertainment
  2557   Foster The People                                    I Would Do Anything For You                      SR0000752474                   Sony Music Entertainment
  2558   Foster The People                                    Life on the Nickel                               SR0000752474                   Sony Music Entertainment
  2559   Foster The People                                    Love                                             SR0000742408                   Sony Music Entertainment
  2560   Foster The People                                    Miss You                                         SR0000752474                   Sony Music Entertainment
  2561   Foster The People                                    Pumped Up Kicks                                  SR0000754312                   Sony Music Entertainment
  2562   Foster The People                                    Warrant                                          SR0000752474                   Sony Music Entertainment
  2563   Foster The People                                    Waste                                            SR0000752474                   Sony Music Entertainment
  2564   Fuel                                                 Again                                            SR0000616497                   Sony Music Entertainment
  2565   Fuel                                                 Angels Take a Soul                               SR0000616497                   Sony Music Entertainment
  2566   Fuel                                                 Bad Day                                          SR0000269920                   Sony Music Entertainment


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                                    Artist                                                  Track                       Registration Number                     Plaintiff
  2567   Fuel                                                 Days With You                                    SR0000342237                   Sony Music Entertainment
  2568   Fuel                                                 Die Like This                                    SR0000342237                   Sony Music Entertainment
  2569   Fuel                                                 Down                                             SR0000269920                   Sony Music Entertainment
  2570   Fuel                                                 Down Inside Of You                               SR0000342237                   Sony Music Entertainment
  2571   Fuel                                                 Easy                                             SR0000269920                   Sony Music Entertainment
  2572   Fuel                                                 Empty Spaces                                     SR0000269920                   Sony Music Entertainment
  2573   Fuel                                                 Falls On Me                                      PA0001234071                   Sony Music Entertainment
  2574   Fuel                                                 Forever                                          SR0000616497                   Sony Music Entertainment
  2575   Fuel                                                 Getting Thru?                                    SR0000342237                   Sony Music Entertainment
  2576   Fuel                                                 Gone                                             SR0000616497                   Sony Music Entertainment
  2577   Fuel                                                 Halos of the Son                                 SR0000616497                   Sony Music Entertainment
  2578   Fuel                                                 Hangin Round                                     SR0000616497                   Sony Music Entertainment
  2579   Fuel                                                 I Should Have Told You                           SR0000616497                   Sony Music Entertainment
  2580   Fuel                                                 Innocent                                         SR0000269920                   Sony Music Entertainment
  2581   Fuel                                                 Jesus Or A Gun                                   PA0000939885                   Sony Music Entertainment
  2582   Fuel                                                 Knives                                           SR0000269920                   Sony Music Entertainment
  2583   Fuel                                                 Last Time                                        SR0000269920                   Sony Music Entertainment
  2584   Fuel                                                 Leave the Memories Alone                         SR0000616497                   Sony Music Entertainment
  2585   Fuel                                                 Luck                                             SR0000342237                   Sony Music Entertainment
  2586   Fuel                                                 Million Miles                                    SR0000342237                   Sony Music Entertainment
  2587   Fuel                                                 Most Of All                                      SR0000342237                   Sony Music Entertainment
  2588   Fuel                                                 Not This Time                                    SR0000616497                   Sony Music Entertainment
  2589   Fuel                                                 Prove                                            SR0000269920                   Sony Music Entertainment
  2590   Fuel                                                 Quarter                                          SR0000342237                   Sony Music Entertainment
  2591   Fuel                                                 Running Away                                     SR0000342237                   Sony Music Entertainment
  2592   Fuel                                                 Scar                                             SR0000269920                   Sony Music Entertainment
  2593   Fuel                                                 Scars in the Making                              SR0000616497                   Sony Music Entertainment
  2594   Fuel                                                 Shimmer                                          SR0000253431                   Sony Music Entertainment
  2595   Fuel                                                 Slow                                             SR0000269920                   Sony Music Entertainment
  2596   Fuel                                                 Solace                                           SR0000269920                   Sony Music Entertainment
  2597   Fuel                                                 Sunburn                                          SR0000253431                   Sony Music Entertainment
  2598   Fuel                                                 These Things                                     SR0000342237                   Sony Music Entertainment
  2599   Fuel                                                 Wasted Time                                      SR0000616497                   Sony Music Entertainment
  2600   Fuel 238                                             Hideaway                                         SR0000253431                   Sony Music Entertainment
  2601   Fuel 238                                             Mary Pretends                                    SR0000253431                   Sony Music Entertainment
  2602   Fuel 238                                             New Thing                                        SR0000253431                   Sony Music Entertainment
  2603   Fuel 238                                             Ozone                                            SR0000253431                   Sony Music Entertainment
  2604   Fuel 238                                             Song For You                                     SR0000253431                   Sony Music Entertainment
  2605   Fuel 238                                             Untitled**                                       SR0000253431                   Sony Music Entertainment
  2606   Fugees                                               Manifest/Outro                                   SR0000222005                   Sony Music Entertainment
  2607   Fugees                                               Mista Mista                                      SR0000222005                   Sony Music Entertainment
  2608   Fugees                                               No Woman No Cry                                  SR0000222005                   Sony Music Entertainment
  2609   Fugees                                               Ready Or Not                                     SR0000222005                   Sony Music Entertainment
  2610   Fugees                                               Red Intro                                        SR0000222005                   Sony Music Entertainment
  2611   Fugees                                               The Score                                        SR0000222005                   Sony Music Entertainment
  2612   Fugees                                               Zealots                                          SR0000222005                   Sony Music Entertainment
  2613   Future                                               Astronaut Chick                                  SR0000701457                   Sony Music Entertainment
  2614   Future                                               Neva End                                         SR0000701457                   Sony Music Entertainment
  2615   Future                                               Permanent Scar                                   SR0000701457                   Sony Music Entertainment
  2616   Future                                               Same Damn Time                                   SR0000701457                   Sony Music Entertainment
  2617   Future                                               Straight Up                                      SR0000701457                   Sony Music Entertainment
  2618   Future                                               Tony Montana                                     SR0000701457                   Sony Music Entertainment
  2619   Future                                               Truth Gonna Hurt You                             SR0000701457                   Sony Music Entertainment
  2620   Future                                               Turn On The Lights                               SR0000701457                   Sony Music Entertainment
  2621   Future                                               You Deserve It                                   SR0000701457                   Sony Music Entertainment
  2622   Future feat. Big Rube                                The Future Is Now                                SR0000701457                   Sony Music Entertainment
  2623   Future feat. Juicy J                                 I'm Trippin                                      SR0000701457                   Sony Music Entertainment
  2624   Future feat. Pharrell, Pusha T and Casino            Move That Dope                                   SR0000762576                   Sony Music Entertainment
  2625   Future feat. R. Kelly                                Parachute                                        SR0000701457                   Sony Music Entertainment
  2626   Future feat. Snoop Dogg                              Homicide                                         SR0000701457                   Sony Music Entertainment
  2627   Future feat. T.I.                                    Magic                                            SR0000701457                   Sony Music Entertainment
  2628   Future feat. Trae The Truth                          Long Live The Pimp                               SR0000701457                   Sony Music Entertainment
  2629   Gavin DeGraw                                         Candy                                            SR0000412465                   Sony Music Entertainment
  2630   Gavin DeGraw                                         Radiation                                        SR0000412465                   Sony Music Entertainment
  2631   Gavin DeGraw                                         Run Every Time                                   SR0000412465                   Sony Music Entertainment
  2632   Gavin DeGraw                                         Spell It Out                                     SR0000412465                   Sony Music Entertainment
  2633   Gavin DeGraw                                         Stealing                                         SR0000412465                   Sony Music Entertainment
  2634   Gavin DeGraw                                         Sweeter                                          SR0000412465                   Sony Music Entertainment
  2635   Gavin DeGraw                                         Where You Are                                    SR0000412465                   Sony Music Entertainment
  2636   Gavin DeGraw                                         You Know Where I'm At                            SR0000412465                   Sony Music Entertainment
  2637   George Jones                                         He Stopped Loving Her Today                      SR0000018496                   Sony Music Entertainment
  2638   George Jones                                         I Always Get Lucky With You                      SR0000045294                   Sony Music Entertainment
  2639   George Jones                                         If Drinkin' Don't Kill Me (Her Memory Will)      SR0000021788                   Sony Music Entertainment
  2640   George Jones                                         I'm A One Woman Man                              SR0000101829                   Sony Music Entertainment
  2641   George Jones                                         I've Aged Twenty Years In Five                   SR0000021788                   Sony Music Entertainment
  2642   George Jones                                         Someday My Day Will Come                         SR0000010280                   Sony Music Entertainment
  2643   George Jones                                         Still Doin' Time                                 SR0000030506                   Sony Music Entertainment
  2644   George Jones                                         Tennessee Whiskey                                SR0000045294                   Sony Music Entertainment
  2645   George Jones                                         The One I Loved Back Then (The Corvette Song)    SR0000067238                   Sony Music Entertainment
  2646   George Jones                                         The Right Left Hand                              SR0000078097                   Sony Music Entertainment
  2647   George Jones                                         Who's Gonna Fill Their Shoes                     PA0000262395                   Sony Music Entertainment
  2648   George Jones                                         You've Still Got a Place In My Heart             SR0000055734                   Sony Music Entertainment
  2649   George Jones & Tammy Wynette                         Near You                                         RE0000905501                   Sony Music Entertainment
  2650   George Michael                                       An Easier Affair                                 SR0000618251                   Sony Music Entertainment
  2651   George Michael                                       Cowboys and Angels                               SR0000133600                   Sony Music Entertainment
  2652   George Michael                                       Father Figure                                    SR0000092432                   Sony Music Entertainment


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                                                                               EXHIBIT A - SOUND RECORDINGS

                                   Artist                                                  Track                            Registration Number                     Plaintiff
  2653   George Michael                                       Freedom! '90                                         SR0000133600                   Sony Music Entertainment
  2654   George Michael                                       I Want Your Sex                                      SR0000092432                   Sony Music Entertainment
  2655   George Michael                                       Kissing A Fool                                       SR0000092432                   Sony Music Entertainment
  2656   George Michael                                       One More Try                                         SR0000092432                   Sony Music Entertainment
  2657   George Michael                                       Praying For Time                                     SR0000133600                   Sony Music Entertainment
  2658   George Michael                                       They Won't Go When I Go                              SR0000133600                   Sony Music Entertainment
  2659   Good Charlotte                                       A New Beginning                                      SR0000309099                   Sony Music Entertainment
  2660   Good Charlotte                                       Emotionless                                          SR0000309099                   Sony Music Entertainment
  2661   Good Charlotte                                       Girls & Boys                                         SR0000309099                   Sony Music Entertainment
  2662   Good Charlotte                                       Hold On                                              SR0000309099                   Sony Music Entertainment
  2663   Good Charlotte                                       Movin' On                                            SR0000309099                   Sony Music Entertainment
  2664   Good Charlotte                                       My Bloody Valentine                                  SR0000309099                   Sony Music Entertainment
  2665   Good Charlotte                                       Riot Girl                                            SR0000309099                   Sony Music Entertainment
  2666   Good Charlotte                                       Say Anything                                         SR0000309099                   Sony Music Entertainment
  2667   Good Charlotte                                       The Anthem                                           SR0000309099                   Sony Music Entertainment
  2668   Good Charlotte                                       The Day That I Die                                   SR0000309099                   Sony Music Entertainment
  2669   Good Charlotte                                       The Story Of My Old Man                              SR0000309099                   Sony Music Entertainment
  2670   Good Charlotte                                       The Young & The Hopeless                             SR0000309099                   Sony Music Entertainment
  2671   Good Charlotte                                       Wondering                                            SR0000309099                   Sony Music Entertainment
  2672   Gossip                                               2012                                                 SR0000643177                   Sony Music Entertainment
  2673   Gossip                                               8th Wonder                                           SR0000643177                   Sony Music Entertainment
  2674   Gossip                                               Dimestore Diamond                                    SR0000643177                   Sony Music Entertainment
  2675   Gossip                                               For Keeps                                            SR0000643177                   Sony Music Entertainment
  2676   Gossip                                               Four Letter Word                                     SR0000643177                   Sony Music Entertainment
  2677   Gossip                                               Love and Let Love                                    SR0000643177                   Sony Music Entertainment
  2678   Gossip                                               Love Long Distance                                   SR0000643177                   Sony Music Entertainment
  2679   Gossip                                               Men In Love                                          SR0000643177                   Sony Music Entertainment
  2680   Gossip                                               Pop Goes the World                                   SR0000643177                   Sony Music Entertainment
  2681   Gossip                                               Spare Me From The Mold                               SR0000643177                   Sony Music Entertainment
  2682   Gossip                                               The Breakdown                                        SR0000643177                   Sony Music Entertainment
  2683   Gossip                                               Vertical Rhythm                                      SR0000643177                   Sony Music Entertainment
  2684   Gretchen Wilson                                      All Jacked Up                                        PA0001259117                   Sony Music Entertainment
  2685   Gretchen Wilson                                      California Girls                                     SR0000388036                   Sony Music Entertainment
  2686   Gretchen Wilson                                      Chariot                                              PA0001245662                   Sony Music Entertainment
  2687   Gretchen Wilson                                      Here For The Party                                   PA0001245662                   Sony Music Entertainment
  2688   Gretchen Wilson                                      Holdin' You                                          PA0001245662                   Sony Music Entertainment
  2689   Gretchen Wilson                                      Homewrecker                                          PA0001245662                   Sony Music Entertainment
  2690   Gretchen Wilson                                      I Don't Feel Like Loving You Today                   SR0000388036                   Sony Music Entertainment
  2691   Gretchen Wilson                                      One Of The Boys                                      SR0000609494                   Sony Music Entertainment
  2692   Gretchen Wilson                                      Pocahontas Proud                                     PA0001245662                   Sony Music Entertainment
  2693   Gretchen Wilson                                      Politically Uncorrect                                SR0000388036                   Sony Music Entertainment
  2694   Gretchen Wilson                                      Redneck Woman                                        PA0001233077                   Sony Music Entertainment
  2695   Gretchen Wilson                                      The Bed                                              PA0001245662                   Sony Music Entertainment
  2696   Gretchen Wilson                                      What Happened                                        PA0001245662                   Sony Music Entertainment
  2697   Gretchen Wilson                                      When I Think About Cheatin'                          PA0001245662                   Sony Music Entertainment
  2698   Gretchen Wilson                                      When It Rains                                        PA0001245662                   Sony Music Entertainment
  2699   Heatwave                                             Ain't No Half Steppin'                               SR0000004075                   Sony Music Entertainment
  2700   Heatwave                                             All You Do Is Dial                                   SR0000000875                   Sony Music Entertainment
  2701   Heatwave                                             Always And Forever                                   SR0000000875                   Sony Music Entertainment
  2702   Heatwave                                             Boogie Nights                                        SR0000000875                   Sony Music Entertainment
  2703   Heatwave                                             Central Heating                                      SR0000005108                   Sony Music Entertainment
  2704   Heatwave                                             Eyeballin'                                           SR0000008717                   Sony Music Entertainment
  2705   Heatwave                                             Gangsters of the Groove                              SR0000023077                   Sony Music Entertainment
  2706   Heatwave                                             Happiness Togetherness                               SR0000005108                   Sony Music Entertainment
  2707   Heatwave                                             I'll Beat Your Booty                                 SR0000000875                   Sony Music Entertainment
  2708   Heatwave                                             Lay It On Me                                         SR0000000875                   Sony Music Entertainment
  2709   Heatwave                                             Lettin' It Loose                                     SR0000041027                   Sony Music Entertainment
  2710   Heatwave                                             Look After Love                                      SR0000041402                   Sony Music Entertainment
  2711   Heatwave                                             Mind Blowing Decisions                               SR0000005108                   Sony Music Entertainment
  2712   Heatwave                                             Sho'Nuff Must Be Luv                                 SR0000000875                   Sony Music Entertainment
  2713   Heatwave                                             The Groove Line                                      SR0000005108                   Sony Music Entertainment
  2714   Heatwave                                             Too Hot To Handle                                    SR0000000875                   Sony Music Entertainment
  2715   Heatwave                                             Where Did I Go Wrong                                 SR0000024332                   Sony Music Entertainment
  2716   Hot Chelle Rae                                       Beautiful Freaks                                     SR0000412466                   Sony Music Entertainment
  2717   Hot Chelle Rae                                       Downtown Girl                                        SR0000412466                   Sony Music Entertainment
  2718   Hot Chelle Rae                                       Forever Unstoppable                                  SR0000412466                   Sony Music Entertainment
  2719   Hot Chelle Rae                                       Honestly                                             SR0000412466                   Sony Music Entertainment
  2720   Hot Chelle Rae                                       Keep You With Me                                     SR0000412466                   Sony Music Entertainment
  2721   Hot Chelle Rae                                       The Only One                                         SR0000412466                   Sony Music Entertainment
  2722   Hot Chelle Rae                                       Tonight Tonight                                      SR0000412466                   Sony Music Entertainment
  2723   Hot Chelle Rae                                       Whatever                                             SR0000412466                   Sony Music Entertainment
  2724   Hot Chelle Rae feat. Bei Maejor                      Radio                                                SR0000412466                   Sony Music Entertainment
  2725   Hot Chelle Rae feat. Demi Lovato                     Why Don't You Love Me                                SR0000412466                   Sony Music Entertainment
  2726   Hurricane Chris                                      A Bay Bay                                            SR0000719410                   Sony Music Entertainment
  2727   In This Moment                                       Adrenalize                                           SR0000703747                   Sony Music Entertainment
  2728   In This Moment                                       Aries                                                SR0000703747                   Sony Music Entertainment
  2729   In This Moment                                       Beast Within                                         SR0000703747                   Sony Music Entertainment
  2730   In This Moment                                       Blood                                                SR0000703747                   Sony Music Entertainment
  2731   In This Moment                                       Burn                                                 SR0000703747                   Sony Music Entertainment
  2732   In This Moment                                       Comanche                                             SR0000703747                   Sony Music Entertainment
  2733   In This Moment                                       From the Ashes                                       SR0000703747                   Sony Music Entertainment
  2734   In This Moment                                       Rise With Me                                         SR0000703747                   Sony Music Entertainment
  2735   In This Moment                                       Scarlet                                              SR0000703747                   Sony Music Entertainment
  2736   In This Moment                                       The Blood Legion                                     SR0000703747                   Sony Music Entertainment
  2737   In This Moment                                       Whore                                                SR0000703747                   Sony Music Entertainment
  2738   In This Moment                                       You're Gonna' Listen                                 SR0000703747                   Sony Music Entertainment


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                                   Artist                                                 Track                        Registration Number                     Plaintiff
  2739   Incubus                                              A Kiss to Send Us Off                           SR0000403204                   Sony Music Entertainment
  2740   Incubus                                              Anna Molly                                      SR0000742203                   Sony Music Entertainment
  2741   Incubus                                              Aqueous Transmission                            SR0000306181                   Sony Music Entertainment
  2742   Incubus                                              Are You In?                                     SR0000306181                   Sony Music Entertainment
  2743   Incubus                                              Battlestar Scralatchtica                        SR0000278818                   Sony Music Entertainment
  2744   Incubus                                              Blood on the Ground                             SR0000306181                   Sony Music Entertainment
  2745   Incubus                                              Circles                                         SR0000306181                   Sony Music Entertainment
  2746   Incubus                                              Clean                                           SR0000278818                   Sony Music Entertainment
  2747   Incubus                                              Consequence                                     SR0000278818                   Sony Music Entertainment
  2748   Incubus                                              Diamonds and Coal                               SR0000403204                   Sony Music Entertainment
  2749   Incubus                                              Dig                                             SR0000403204                   Sony Music Entertainment
  2750   Incubus                                              Drive                                           SR0000278818                   Sony Music Entertainment
  2751   Incubus                                              Earth To Bella (Part I)                         SR0000403204                   Sony Music Entertainment
  2752   Incubus                                              Earth To Bella (Part II)                        SR0000403204                   Sony Music Entertainment
  2753   Incubus                                              Echo                                            SR0000306181                   Sony Music Entertainment
  2754   Incubus                                              Have You Ever                                   SR0000306181                   Sony Music Entertainment
  2755   Incubus                                              I Miss You                                      SR0000278818                   Sony Music Entertainment
  2756   Incubus                                              Just a Phase                                    SR0000306181                   Sony Music Entertainment
  2757   Incubus                                              Light Grenades                                  SR0000403204                   Sony Music Entertainment
  2758   Incubus                                              Love Hurts                                      SR0000403204                   Sony Music Entertainment
  2759   Incubus                                              Magic Medicine                                  SR0000249690                   Sony Music Entertainment
  2760   Incubus                                              Make Yourself                                   SR0000278818                   Sony Music Entertainment
  2761   Incubus                                              Mexico                                          SR0000306181                   Sony Music Entertainment
  2762   Incubus                                              Nice To Know You                                SR0000306181                   Sony Music Entertainment
  2763   Incubus                                              Nowhere Fast                                    SR0000278818                   Sony Music Entertainment
  2764   Incubus                                              Oil And Water                                   SR0000403204                   Sony Music Entertainment
  2765   Incubus                                              Out from Under                                  SR0000278818                   Sony Music Entertainment
  2766   Incubus                                              Paper Shoes                                     SR0000403204                   Sony Music Entertainment
  2767   Incubus                                              Pendulous Threads                               SR0000403204                   Sony Music Entertainment
  2768   Incubus                                              Privilege                                       SR0000278818                   Sony Music Entertainment
  2769   Incubus                                              Quicksand                                       SR0000403204                   Sony Music Entertainment
  2770   Incubus                                              Rogues                                          SR0000403204                   Sony Music Entertainment
  2771   Incubus                                              Stellar                                         SR0000278818                   Sony Music Entertainment
  2772   Incubus                                              Summer Romance (Anti-Gravity Love Song)         SR0000249690                   Sony Music Entertainment
  2773   Incubus                                              The Warmth                                      SR0000278818                   Sony Music Entertainment
  2774   Incubus                                              Under My Umbrella                               SR0000306181                   Sony Music Entertainment
  2775   Incubus                                              Warning                                         SR0000306181                   Sony Music Entertainment
  2776   Incubus                                              When It Comes                                   SR0000278818                   Sony Music Entertainment
  2777   Incubus                                              Wish You Were Here                              PA0001065849                   Sony Music Entertainment
  2778   Itzhak Perlman                                       Theme from"Far and Away"                        SR0000247495                   Sony Music Entertainment
  2779   Itzhak Perlman; John Williams                        Schindler's List: Theme                         SR0000247495                   Sony Music Entertainment
  2780   J. Cole                                              Chaining Day                                    SR0000730319                   Sony Music Entertainment
  2781   J. Cole                                              Let Nas Down                                    SR0000730319                   Sony Music Entertainment
  2782   J. Cole                                              Mo Money (Interlude)                            SR0000730319                   Sony Music Entertainment
  2783   J. Cole                                              Power Trip                                      SR0000730319                   Sony Music Entertainment
  2784   J. Cole                                              Rich Niggaz                                     SR0000730319                   Sony Music Entertainment
  2785   J. Cole                                              Trouble                                         SR0000730319                   Sony Music Entertainment
  2786   J. Cole                                              Where's Jermaine? (Skit)                        SR0000730319                   Sony Music Entertainment
  2787   J. Cole feat. TLC                                    Crooked Smile                                   SR0000730319                   Sony Music Entertainment
  2788   Jace Everett                                         Bad Things                                      SR0000385664                   Sony Music Entertainment
  2789   Jack White                                           Blunderbuss                                     SR0000699383                   Sony Music Entertainment
  2790   Jack White                                           Freedom At 21                                   SR0000699383                   Sony Music Entertainment
  2791   Jack White                                           Hip (Eponymous) Poor Boy                        SR0000699383                   Sony Music Entertainment
  2792   Jack White                                           Hypocritical Kiss                               SR0000699383                   Sony Music Entertainment
  2793   Jack White                                           I Guess I Should Go To Sleep                    SR0000699383                   Sony Music Entertainment
  2794   Jack White                                           I'm Shakin'                                     SR0000699383                   Sony Music Entertainment
  2795   Jack White                                           Love Interruption                               SR0000699383                   Sony Music Entertainment
  2796   Jack White                                           Missing Pieces                                  SR0000699383                   Sony Music Entertainment
  2797   Jack White                                           On And On And On                                SR0000699383                   Sony Music Entertainment
  2798   Jack White                                           Sixteen Saltines                                SR0000699383                   Sony Music Entertainment
  2799   Jack White                                           Take Me With You When You Go                    SR0000699383                   Sony Music Entertainment
  2800   Jack White                                           Trash Tongue Talker                             SR0000699383                   Sony Music Entertainment
  2801   Jack White                                           Weep Themselves To Sleep                        SR0000699383                   Sony Music Entertainment
  2802   Jake Owen                                            Alone With You                                  SR0000697851                   Sony Music Entertainment
  2803   Jake Owen                                            Anywhere With You                               SR0000697851                   Sony Music Entertainment
  2804   Jake Owen                                            Apple Pie Moonshine                             SR0000697851                   Sony Music Entertainment
  2805   Jake Owen                                            Barefoot Blue Jean Night                        SR0000697851                   Sony Music Entertainment
  2806   Jake Owen                                            Beachin'                                        SR0000737050                   Sony Music Entertainment
  2807   Jake Owen                                            Heaven                                          SR0000697851                   Sony Music Entertainment
  2808   Jake Owen                                            Keepin' It Country                              SR0000697851                   Sony Music Entertainment
  2809   Jake Owen                                            Nobody Feelin' No Pain                          SR0000697851                   Sony Music Entertainment
  2810   Jake Owen                                            Settin' The World On Fire                       SR0000697851                   Sony Music Entertainment
  2811   Jake Owen                                            The Journey Of Your Life                        SR0000697851                   Sony Music Entertainment
  2812   Jake Owen                                            The One That Got Away                           SR0000697851                   Sony Music Entertainment
  2813   Jake Owen                                            Wide Awake                                      SR0000697851                   Sony Music Entertainment
  2814   James Taylor                                         Bartender's Blues                               SR0000000157                   Sony Music Entertainment
  2815   James Taylor                                         Only A Dream In Rio                             SR0000068536                   Sony Music Entertainment
  2816   James Taylor                                         Up On The Roof                                  SR0000009172                   Sony Music Entertainment
  2817   James Taylor                                         Your Smiling Face                               RE0000923126                   Sony Music Entertainment
  2818   Jamie Foxx feat. Drake                               Fall For Your Type                              SR0000671348                   Sony Music Entertainment
  2819   Jamiroquai                                           Virtual Insanity                                SR0000299909                   Sony Music Entertainment
  2820   Jennifer Hudson                                      Angel                                           SR0000674220                   Sony Music Entertainment
  2821   Jennifer Hudson                                      Believe                                         SR0000674220                   Sony Music Entertainment
  2822   Jennifer Hudson                                      Don't Look Down                                 SR0000674220                   Sony Music Entertainment
  2823   Jennifer Hudson                                      Everybody Needs Love                            SR0000674220                   Sony Music Entertainment
  2824   Jennifer Hudson                                      Gone                                            SR0000674220                   Sony Music Entertainment


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                                   Artist                                                  Track                                 Registration Number                     Plaintiff
  2825   Jennifer Hudson                                      I Got This                                                SR0000674220                   Sony Music Entertainment
  2826   Jennifer Hudson                                      I Remember Me                                             SR0000674220                   Sony Music Entertainment
  2827   Jennifer Hudson                                      No One Gonna Love You                                     SR0000674220                   Sony Music Entertainment
  2828   Jennifer Hudson                                      Still Here                                                SR0000674220                   Sony Music Entertainment
  2829   Jennifer Hudson                                      Where You At                                              SR0000674220                   Sony Music Entertainment
  2830   Jennifer Hudson                                      Why Is It So Hard                                         SR0000674220                   Sony Music Entertainment
  2831   Jennifer Hudson & Ne-Yo feat. Rick Ross              Think Like A Man                                          SR0000712017                   Sony Music Entertainment
  2832   Jennifer Lopez                                       No Me Ames                                                SR0000267571                   Sony Music Entertainment
  2833   Jerrod Niemann                                       Drink to That All Night                                   SR0000738148                   Sony Music Entertainment
  2834   John Legend                                          Cross The Line                                            SR0000619653                   Sony Music Entertainment
  2835   John Legend                                          Everybody Knows                                           SR0000619653                   Sony Music Entertainment
  2836   John Legend                                          Good Morning                                              SR0000742202                   Sony Music Entertainment
  2837   John Legend                                          I Love, You Love                                          SR0000619653                   Sony Music Entertainment
  2838   John Legend                                          If You're Out There                                       SR0000619653                   Sony Music Entertainment
  2839   John Legend                                          Quickly                                                   SR0000619653                   Sony Music Entertainment
  2840   John Legend                                          Satisfaction                                              SR0000619653                   Sony Music Entertainment
  2841   John Legend                                          Take Me Away                                              SR0000619653                   Sony Music Entertainment
  2842   John Legend                                          This Time                                                 SR0000619653                   Sony Music Entertainment
  2843   John Legend feat. Buju Banton                        Can't Be My Lover                                         SR0000619653                   Sony Music Entertainment
  2844   John Legend feat. Estelle                            No Other Love                                             SR0000619653                   Sony Music Entertainment
  2845   John Legend feat. Kanye West                         It's Over                                                 SR0000619653                   Sony Music Entertainment
  2846   John Mayer                                           83                                                        SR0000305049                   Sony Music Entertainment
  2847   John Mayer                                           3x5                                                       SR0000305049                   Sony Music Entertainment
  2848   John Mayer                                           A Face To Call Home                                       SR0000701446                   Sony Music Entertainment
  2849   John Mayer                                           Back to You                                               SR0000305049                   Sony Music Entertainment
  2850   John Mayer                                           Belief                                                    SR0000398715                   Sony Music Entertainment
  2851   John Mayer                                           Bold As Love                                              SR0000398715                   Sony Music Entertainment
  2852   John Mayer                                           Born and Raised                                           SR0000701446                   Sony Music Entertainment
  2853   John Mayer                                           City Love                                                 SR0000305049                   Sony Music Entertainment
  2854   John Mayer                                           Crossroads                                                SR0000650569                   Sony Music Entertainment
  2855   John Mayer                                           Daughters                                                 SR0000405307                   Sony Music Entertainment
  2856   John Mayer                                           Do You Know Me                                            SR0000650569                   Sony Music Entertainment
  2857   John Mayer                                           Dreaming With A Broken Heart                              SR0000398715                   Sony Music Entertainment
  2858   John Mayer                                           Edge Of Desire                                            SR0000650569                   Sony Music Entertainment
  2859   John Mayer                                           Fool To Love You                                          SR0000701446                   Sony Music Entertainment
  2860   John Mayer                                           Friends, Lovers Or Nothing                                SR0000650569                   Sony Music Entertainment
  2861   John Mayer                                           Gravity                                                   SR0000398715                   Sony Music Entertainment
  2862   John Mayer                                           Great Indoors                                             SR0000305049                   Sony Music Entertainment
  2863   John Mayer                                           Half Of My Heart                                          SR0000650569                   Sony Music Entertainment
  2864   John Mayer                                           Heartbreak Warfare                                        SR0000650569                   Sony Music Entertainment
  2865   John Mayer                                           I Don't Trust Myself (With Loving You)                    SR0000398715                   Sony Music Entertainment
  2866   John Mayer                                           If I Ever Get Around To Living                            SR0000701446                   Sony Music Entertainment
  2867   John Mayer                                           I'm Gonna Find Another You                                SR0000398715                   Sony Music Entertainment
  2868   John Mayer                                           In Repair                                                 SR0000398715                   Sony Music Entertainment
  2869   John Mayer                                           Love Is A Verb                                            SR0000701446                   Sony Music Entertainment
  2870   John Mayer                                           Love Song For No One                                      SR0000305049                   Sony Music Entertainment
  2871   John Mayer                                           My Stupid Mouth                                           SR0000305049                   Sony Music Entertainment
  2872   John Mayer                                           Neon                                                      SR0000305049                   Sony Music Entertainment
  2873   John Mayer                                           No Such Thing                                             SR0000305049                   Sony Music Entertainment
  2874   John Mayer                                           Not Myself                                                SR0000305049                   Sony Music Entertainment
  2875   John Mayer                                           Perfectly Lonely                                          SR0000650569                   Sony Music Entertainment
  2876   John Mayer                                           Queen of California                                       SR0000701446                   Sony Music Entertainment
  2877   John Mayer                                           Shadow Days                                               SR0000701446                   Sony Music Entertainment
  2878   John Mayer                                           Slow Dancing In A Burning Room                            SR0000398715                   Sony Music Entertainment
  2879   John Mayer                                           Something Like Olivia                                     SR0000701446                   Sony Music Entertainment
  2880   John Mayer                                           Speak For Me                                              SR0000701446                   Sony Music Entertainment
  2881   John Mayer                                           St. Patrick's Day                                         SR0000305049                   Sony Music Entertainment
  2882   John Mayer                                           Stop This Train                                           SR0000398715                   Sony Music Entertainment
  2883   John Mayer                                           The Age of Worry                                          SR0000701446                   Sony Music Entertainment
  2884   John Mayer                                           The Heart Of Life                                         SR0000398715                   Sony Music Entertainment
  2885   John Mayer                                           Vultures                                                  SR0000398715                   Sony Music Entertainment
  2886   John Mayer                                           Waiting On The World To Change                            SR0000718995                   Sony Music Entertainment
  2887   John Mayer                                           Walt Grace's Submarine Test, January 1967                 SR0000701446                   Sony Music Entertainment
  2888   John Mayer                                           War Of My Life                                            SR0000650569                   Sony Music Entertainment
  2889   John Mayer                                           Whiskey, Whiskey, Whiskey                                 SR0000701446                   Sony Music Entertainment
  2890   John Mayer                                           Who Says                                                  SR0000650569                   Sony Music Entertainment
  2891   John Mayer                                           Why Georgia                                               SR0000305049                   Sony Music Entertainment
  2892   John Mayer                                           Your Body Is A Wonderland                                 SR0000305049                   Sony Music Entertainment
  2893   John Williams                                        Bugler's Dream and Olympic Fanfare Medley                 SR0000224437                   Sony Music Entertainment
  2894   John Williams                                        Hook: Flight To Neverland                                 SR0000233783                   Sony Music Entertainment
  2895   John Williams                                        Summon The Heroes                                         SR0000224437                   Sony Music Entertainment
  2896   John Williams                                        Theme From Jurassic Park                                  SR0000233783                   Sony Music Entertainment
  2897   John Williams; London Symphony Orchestra             Main Title (From "Star Wars")                             SR0000247474                   Sony Music Entertainment
  2898   John Williams; The Boston Pops Orchestra             Close Encounters of the Third Kind/When You Wish Upon a   SR0000186141                   Sony Music Entertainment
                                                              Star Medley
  2899   John Williams; The Boston Pops Orchestra             Scherzo for Motorcycle and Orchestra from Indiana Jones   SR0000186141                   Sony Music Entertainment
                                                              and the Last Crusade
  2900   John Williams; The Boston Pops Orchestra             Theme from "Sugarland Express"                            SR0000186141                   Sony Music Entertainment
  2901   Johnny Cash                                          (Ghost) Riders in the Sky                                 SR0000010496                   Sony Music Entertainment
  2902   Johnny Cash                                          Cocaine Blues                                             SR0000011119                   Sony Music Entertainment
  2903   Johnny Cash                                          Sunday Morning Coming Down                                RE0000923063                   Sony Music Entertainment
  2904   Johnny Cash                                          The General Lee                                           SR0000035327                   Sony Music Entertainment
  2905   Josh Thompson                                        A Name In This Town                                       SR0000652025                   Sony Music Entertainment
  2906   Josh Thompson                                        Always Been Me                                            SR0000652025                   Sony Music Entertainment
  2907   Josh Thompson                                        Back Around                                               SR0000652025                   Sony Music Entertainment
  2908   Josh Thompson                                        Beer On The Table                                         SR0000652025                   Sony Music Entertainment


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                                    Artist                                                  Track                      Registration Number                     Plaintiff
  2909   Josh Thompson                                        Blame It On Waylon                              SR0000652025                   Sony Music Entertainment
  2910   Josh Thompson                                        I Won't Go Crazy                                SR0000652025                   Sony Music Entertainment
  2911   Josh Thompson                                        Sinner                                          SR0000652025                   Sony Music Entertainment
  2912   Josh Thompson                                        Way Out Here                                    SR0000652025                   Sony Music Entertainment
  2913   Josh Thompson                                        Won't Be Lonely Long - On The Road              SR0000652025                   Sony Music Entertainment
  2914   Josh Thompson                                        You Ain't Seen Country Yet                      SR0000652025                   Sony Music Entertainment
  2915   Journey                                              Dead or Alive                                   SR0000030088                   Sony Music Entertainment
  2916   Journey                                              Don't Stop Believin'                            SR0000030088                   Sony Music Entertainment
  2917   Journey                                              Escape                                          SR0000030088                   Sony Music Entertainment
  2918   Journey                                              Keep on Runnin'                                 SR0000030088                   Sony Music Entertainment
  2919   Journey                                              Lay It Down                                     SR0000030088                   Sony Music Entertainment
  2920   Journey                                              Mother, Father                                  SR0000030707                   Sony Music Entertainment
  2921   Journey                                              Open Arms                                       SR0000030088                   Sony Music Entertainment
  2922   Journey                                              Still They Ride                                 SR0000030088                   Sony Music Entertainment
  2923   Journey                                              Stone In Love                                   SR0000030088                   Sony Music Entertainment
  2924   Journey                                              Who's Crying Now                                SR0000030707                   Sony Music Entertainment
  2925   Julio Iglesias duet with Willie Nelson               To All the Girls I've Loved Before              SR0000058185                   Sony Music Entertainment
  2926   Justin Timberlake                                    Blue Ocean Floor                                SR0000717770                   Sony Music Entertainment
  2927   Justin Timberlake                                    Body Count                                      SR0000717770                   Sony Music Entertainment
  2928   Justin Timberlake                                    Don't Hold The Wall                             SR0000717770                   Sony Music Entertainment
  2929   Justin Timberlake                                    Dress On                                        SR0000717770                   Sony Music Entertainment
  2930   Justin Timberlake                                    Let The Groove Get In                           SR0000717770                   Sony Music Entertainment
  2931   Justin Timberlake                                    Not A Bad Thing                                 SR0000743696                   Sony Music Entertainment
  2932   Justin Timberlake                                    Pusher Love Girl                                SR0000717770                   Sony Music Entertainment
  2933   Justin Timberlake                                    Spaceship Coupe                                 SR0000717770                   Sony Music Entertainment
  2934   Justin Timberlake                                    Strawberry Bubblegum                            SR0000717770                   Sony Music Entertainment
  2935   Justin Timberlake                                    That Girl                                       SR0000717770                   Sony Music Entertainment
  2936   Justin Timberlake                                    TKO                                             SR0000743696                   Sony Music Entertainment
  2937   Justin Timberlake                                    Tunnel Vision                                   SR0000717770                   Sony Music Entertainment
  2938   Justin Timberlake feat. JAY Z                        Suit & Tie                                      SR0000714855                   Sony Music Entertainment
  2939   Kansas                                               Closet Chronicles                               RE0000927442                   Sony Music Entertainment
  2940   Kansas                                               Dust in The Wind                                RE0000927442                   Sony Music Entertainment
  2941   Kansas                                               Hopelessly Human                                RE0000927442                   Sony Music Entertainment
  2942   Kansas                                               Lightning's Hand                                RE0000927442                   Sony Music Entertainment
  2943   Kansas                                               Nobody's Home                                   RE0000927442                   Sony Music Entertainment
  2944   Kansas                                               Paradox                                         RE0000927442                   Sony Music Entertainment
  2945   Kansas                                               Point Of Know Return                            RE0000927442                   Sony Music Entertainment
  2946   Kansas                                               Portrait (He Knew)                              RE0000927442                   Sony Music Entertainment
  2947   Kansas                                               Sparks of the Tempest                           RE0000927442                   Sony Music Entertainment
  2948   Kansas                                               The Spider                                      RE0000927442                   Sony Music Entertainment
  2949   Karmin                                               Acapella                                        SR0000746675                   Sony Music Entertainment
  2950   Karmin                                               Brokenhearted                                   SR0000719608                   Sony Music Entertainment
  2951   Karmin                                               Coming Up Strong                                SR0000717565                   Sony Music Entertainment
  2952   Karmin                                               Crash Your Party                                SR0000719621                   Sony Music Entertainment
  2953   Karmin                                               Hello                                           SR0000717565                   Sony Music Entertainment
  2954   Karmin                                               I Told You So                                   SR0000717565                   Sony Music Entertainment
  2955   Karmin                                               I'm Just Sayin'                                 SR0000717565                   Sony Music Entertainment
  2956   Karmin                                               Too Many Fish                                   SR0000717565                   Sony Music Entertainment
  2957   Karmin                                               Walking On The Moon                             SR0000717565                   Sony Music Entertainment
  2958   Keb' Mo'                                             A Better Man                                    SR0000237597                   Sony Music Entertainment
  2959   Kellie Pickler                                       100 Proof                                       SR0000697940                   Sony Music Entertainment
  2960   Kellie Pickler                                       Best Days Of Your Life                          SR0000618096                   Sony Music Entertainment
  2961   Kellie Pickler                                       Didn't You Know How Much I Loved You            SR0000618096                   Sony Music Entertainment
  2962   Kellie Pickler                                       Going Out In Style                              SR0000618096                   Sony Music Entertainment
  2963   Kellie Pickler                                       I'm Your Woman                                  SR0000618096                   Sony Music Entertainment
  2964   Kellie Pickler                                       Little House On The Highway                     SR0000697940                   Sony Music Entertainment
  2965   Kellie Pickler                                       Long As I Never See You Again                   SR0000697940                   Sony Music Entertainment
  2966   Kellie Pickler                                       Lucky Girl                                      SR0000618096                   Sony Music Entertainment
  2967   Kellie Pickler                                       Makin' Me Fall In Love Again                    SR0000618096                   Sony Music Entertainment
  2968   Kellie Pickler                                       Mother's Day                                    SR0000697940                   Sony Music Entertainment
  2969   Kellie Pickler                                       One Last Time                                   SR0000618096                   Sony Music Entertainment
  2970   Kellie Pickler                                       Rockaway (The Rockin' Chair Song)               SR0000697940                   Sony Music Entertainment
  2971   Kellie Pickler                                       Rocks Instead of Rice                           SR0000618096                   Sony Music Entertainment
  2972   Kellie Pickler                                       Somebody to Love Me                             SR0000618096                   Sony Music Entertainment
  2973   Kellie Pickler                                       Stop Cheatin' On Me                             SR0000697940                   Sony Music Entertainment
  2974   Kellie Pickler                                       The Letter (To Daddy)                           SR0000697940                   Sony Music Entertainment
  2975   Kellie Pickler                                       Tough                                           SR0000697940                   Sony Music Entertainment
  2976   Kellie Pickler                                       Turn On The Radio And Dance                     SR0000697940                   Sony Music Entertainment
  2977   Kellie Pickler                                       Unlock That Honky Tonk                          SR0000697940                   Sony Music Entertainment
  2978   Kellie Pickler                                       Where's Tammy Wynette                           SR0000697940                   Sony Music Entertainment
  2979   Kelly Clarkson                                       Breaking Your Own Heart                         SR0000693113                   Sony Music Entertainment
  2980   Kelly Clarkson                                       Dark Side                                       SR0000693113                   Sony Music Entertainment
  2981   Kelly Clarkson                                       Don't Be A Girl About It                        SR0000693113                   Sony Music Entertainment
  2982   Kelly Clarkson                                       Einstein                                        SR0000693113                   Sony Music Entertainment
  2983   Kelly Clarkson                                       Hello                                           SR0000693113                   Sony Music Entertainment
  2984   Kelly Clarkson                                       Honestly                                        SR0000693113                   Sony Music Entertainment
  2985   Kelly Clarkson                                       I Forgive You                                   SR0000693113                   Sony Music Entertainment
  2986   Kelly Clarkson                                       Mr. Know It All                                 SR0000715680                   Sony Music Entertainment
  2987   Kelly Clarkson                                       Standing In Front Of You                        SR0000693113                   Sony Music Entertainment
  2988   Kelly Clarkson                                       Stronger (What Doesn't Kill You)                SR0000693113                   Sony Music Entertainment
  2989   Kelly Clarkson                                       The War Is Over                                 SR0000693113                   Sony Music Entertainment
  2990   Kelly Clarkson                                       You Can't Win                                   SR0000693113                   Sony Music Entertainment
  2991   Kelly Clarkson                                       You Love Me                                     SR0000693113                   Sony Music Entertainment
  2992   Kenny Chesney                                        Always Gonna Be You                             SR0000722762                   Sony Music Entertainment
  2993   Kenny Chesney                                        Come Over                                       SR0000734917                   Sony Music Entertainment
  2994   Kenny Chesney                                        El Cerrito Place                                SR0000722762                   Sony Music Entertainment


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                                    Artist                                               Track                          Registration Number                     Plaintiff
  2995   Kenny Chesney                                        Happy On The Hey Now (A Song For Kristi)         SR0000726972                   Sony Music Entertainment
  2996   Kenny Chesney                                        I'm A Small Town                                 SR0000722762                   Sony Music Entertainment
  2997   Kenny Chesney                                        It's That Time Of Day                            SR0000726972                   Sony Music Entertainment
  2998   Kenny Chesney                                        Life On A Rock                                   SR0000726972                   Sony Music Entertainment
  2999   Kenny Chesney                                        Lindy                                            SR0000726972                   Sony Music Entertainment
  3000   Kenny Chesney                                        Makes Me Wonder                                  SR0000722762                   Sony Music Entertainment
  3001   Kenny Chesney                                        Marley                                           SR0000726972                   Sony Music Entertainment
  3002   Kenny Chesney                                        Must Be Something I Missed                       SR0000726972                   Sony Music Entertainment
  3003   Kenny Chesney                                        Pirate Flag                                      SR0000726974                   Sony Music Entertainment
  3004   Kenny Chesney                                        Sing 'Em Good My Friend                          SR0000722762                   Sony Music Entertainment
  3005   Kenny Chesney                                        Time Flies                                       SR0000722762                   Sony Music Entertainment
  3006   Kenny Chesney                                        To Get To You (55th And 3rd)                     SR0000722762                   Sony Music Entertainment
  3007   Kenny Chesney                                        Welcome To The Fishbowl                          SR0000722762                   Sony Music Entertainment
  3008   Kenny Chesney                                        When I See This Bar                              SR0000726972                   Sony Music Entertainment
  3009   Kenny Chesney                                        While He Still Knows Who I Am                    SR0000722762                   Sony Music Entertainment
  3010   Kenny Chesney feat. Grace Potter                     You And Tequila                                  SR0000722762                   Sony Music Entertainment
  3011   Kenny Chesney feat. The Wailers with Elan            Spread The Love                                  SR0000726972                   Sony Music Entertainment
  3012   Kenny Chesney with Willie Nelson                     Coconut Tree (with Willie Nelson)                SR0000726972                   Sony Music Entertainment
  3013   Kenny G                                              Forever In Love                                  SR0000709272                   Sony Music Entertainment
  3014   Kenny G                                              Morning                                          SR0000709272                   Sony Music Entertainment
  3015   Kenny G                                              Sentimental                                      SR0000709272                   Sony Music Entertainment
  3016   Kenny G                                              Sister Rose                                      SR0000709272                   Sony Music Entertainment
  3017   Kenny G                                              The Wedding Song                                 SR0000709272                   Sony Music Entertainment
  3018   Kid Ink                                              Hello World                                      SR0000742556                   Sony Music Entertainment
  3019   Kid Ink                                              Money and the Power                              SR0000761343                   Sony Music Entertainment
  3020   Kid Ink                                              More Than A King                                 SR0000742556                   Sony Music Entertainment
  3021   Kid Ink                                              My System                                        SR0000742556                   Sony Music Entertainment
  3022   Kid Ink                                              Rollin'                                          SR0000742556                   Sony Music Entertainment
  3023   Kid Ink                                              Show Me                                          SR0000742549                   Sony Music Entertainment
  3024   Kid Ink                                              Star Player                                      SR0000742556                   Sony Music Entertainment
  3025   Kid Ink                                              Tattoo Of My Name                                SR0000742556                   Sony Music Entertainment
  3026   Kid Ink                                              The Movement                                     SR0000742556                   Sony Music Entertainment
  3027   Kid Ink feat. A$AP Ferg & French Montana             Bossin' Up                                       SR0000761343                   Sony Music Entertainment
  3028   Kid Ink feat. August Alsina                          We Just Came to Party                            SR0000742556                   Sony Music Entertainment
  3029   Kid Ink feat. Chris Brown                            Main Chick                                       SR0000742556                   Sony Music Entertainment
  3030   Kid Ink feat. Elle Varner & MGK                      No Miracles                                      SR0000742552                   Sony Music Entertainment
  3031   Kid Ink feat. King Los                               No Option                                        SR0000742553                   Sony Music Entertainment
  3032   Kid Ink feat. Maejor Ali                             I Don't Care                                     SR0000742556                   Sony Music Entertainment
  3033   Kid Ink feat. Meek Mill & Wale                       Bad Ass                                          SR0000742551                   Sony Music Entertainment
  3034   Kid Ink feat. Pusha T                                Murda                                            SR0000742556                   Sony Music Entertainment
  3035   Kid Ink feat. Tyga                                   Iz U Down                                        SR0000742550                   Sony Music Entertainment
  3036   Kings Of Leon                                        17                                               SR0000617761                   Sony Music Entertainment
  3037   Kings Of Leon                                        Be Somebody                                      SR0000617761                   Sony Music Entertainment
  3038   Kings Of Leon                                        Beautiful War                                    SR0000734388                   Sony Music Entertainment
  3039   Kings Of Leon                                        Closer                                           SR0000617761                   Sony Music Entertainment
  3040   Kings Of Leon                                        Cold Desert                                      SR0000617761                   Sony Music Entertainment
  3041   Kings Of Leon                                        Comeback Story                                   SR0000734388                   Sony Music Entertainment
  3042   Kings Of Leon                                        Coming Back Again                                SR0000734388                   Sony Music Entertainment
  3043   Kings Of Leon                                        Crawl                                            SR0000723763                   Sony Music Entertainment
  3044   Kings Of Leon                                        Don't Matter                                     SR0000734388                   Sony Music Entertainment
  3045   Kings Of Leon                                        Family Tree                                      SR0000734388                   Sony Music Entertainment
  3046   Kings Of Leon                                        Last Mile Home                                   SR0000734388                   Sony Music Entertainment
  3047   Kings Of Leon                                        Manhattan                                        SR0000617761                   Sony Music Entertainment
  3048   Kings Of Leon                                        Notion                                           SR0000617761                   Sony Music Entertainment
  3049   Kings Of Leon                                        On the Chin                                      SR0000734388                   Sony Music Entertainment
  3050   Kings Of Leon                                        Revelry                                          SR0000617761                   Sony Music Entertainment
  3051   Kings Of Leon                                        Rock City                                        SR0000734388                   Sony Music Entertainment
  3052   Kings Of Leon                                        Sex On Fire                                      SR0000617761                   Sony Music Entertainment
  3053   Kings Of Leon                                        Supersoaker                                      SR0000726617                   Sony Music Entertainment
  3054   Kings Of Leon                                        Temple                                           SR0000734388                   Sony Music Entertainment
  3055   Kings Of Leon                                        Tonight                                          SR0000734388                   Sony Music Entertainment
  3056   Kings Of Leon                                        Wait for Me                                      SR0000734389                   Sony Music Entertainment
  3057   Kings Of Leon                                        Work On Me                                       SR0000734388                   Sony Music Entertainment
  3058   Korn                                                 B.B.K.                                           SR0000263749                   Sony Music Entertainment
  3059   Korn                                                 Cameltosis                                       SR0000263749                   Sony Music Entertainment
  3060   Korn                                                 Children Of The Korn                             SR0000263749                   Sony Music Entertainment
  3061   Korn                                                 Dead Bodies Everywhere                           SR0000263749                   Sony Music Entertainment
  3062   Korn                                                 Earache My Eye                                   SR0000263749                   Sony Music Entertainment
  3063   Korn                                                 Freak On A Leash                                 SR0000263749                   Sony Music Entertainment
  3064   Korn                                                 Got The Life                                     SR0000263749                   Sony Music Entertainment
  3065   Korn                                                 It's On!                                         SR0000263749                   Sony Music Entertainment
  3066   Korn                                                 Justin                                           SR0000263749                   Sony Music Entertainment
  3067   Korn                                                 My Gift To You                                   SR0000263749                   Sony Music Entertainment
  3068   Korn                                                 Pretty                                           SR0000263749                   Sony Music Entertainment
  3069   Korn                                                 Reclaim My Place                                 SR0000263749                   Sony Music Entertainment
  3070   Korn                                                 Seed                                             SR0000263749                   Sony Music Entertainment
  3071   Kreayshawn                                           Gucci Gucci                                      SR0000733390                   Sony Music Entertainment
  3072   L-Burna aka Layzie Bone                              Carole Of The Bones                              SR0000291785                   Sony Music Entertainment
  3073   L-Burna aka Layzie Bone                              Still The Greatest                               SR0000291785                   Sony Music Entertainment
  3074   Leona Lewis                                          Better In Time                                   SR0000619647                   Sony Music Entertainment
  3075   London Symphony Orchestra; John Williams             Theme (From "Jaws")                              SR0000247474                   Sony Music Entertainment
  3076   Los Lonely Boys                                      Crazy Dream                                      SR0000352465                   Sony Music Entertainment
  3077   Los Lonely Boys                                      Dime Mi Amor                                     SR0000352465                   Sony Music Entertainment
  3078   Los Lonely Boys                                      Heaven                                           SR0000352465                   Sony Music Entertainment
  3079   Los Lonely Boys                                      Hollywood                                        SR0000352465                   Sony Music Entertainment
  3080   Los Lonely Boys                                      La Contestacion                                  SR0000352465                   Sony Music Entertainment


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                                   Artist                                                 Track                               Registration Number                     Plaintiff
  3081   Los Lonely Boys                                      More Than Love                                         SR0000352465                   Sony Music Entertainment
  3082   Los Lonely Boys                                      Nobody Else                                            SR0000352465                   Sony Music Entertainment
  3083   Los Lonely Boys                                      Onda                                                   SR0000352465                   Sony Music Entertainment
  3084   Los Lonely Boys                                      Real Emotions                                          SR0000352465                   Sony Music Entertainment
  3085   Los Lonely Boys                                      Senorita                                               SR0000352465                   Sony Music Entertainment
  3086   Los Lonely Boys                                      Tell Me Why                                            SR0000352465                   Sony Music Entertainment
  3087   Los Lonely Boys                                      Velvet Sky                                             SR0000352465                   Sony Music Entertainment
  3088   Love and Theft                                       Angel Eyes                                             PA0001922065                   Sony Music Entertainment
  3089   Luther Vandross                                      A House Is Not A Home                                  SR0000030527                   Sony Music Entertainment
  3090   Luther Vandross                                      Ain't No Stoppin' Us Now                               SR0000317135                   Sony Music Entertainment
  3091   Luther Vandross                                      Always And Forever                                     SR0000317135                   Sony Music Entertainment
  3092   Luther Vandross                                      Any Love - Wembley Stadium 1989                        PA0000434017                   Sony Music Entertainment
  3093   Luther Vandross                                      Emotional Love                                         SR0000185186                   Sony Music Entertainment
  3094   Luther Vandross                                      Give Me the Reason                                     SR0000071632                   Sony Music Entertainment
  3095   Luther Vandross                                      Heaven Knows                                           SR0000171321                   Sony Music Entertainment
  3096   Luther Vandross                                      Killing Me Softly                                      SR0000317135                   Sony Music Entertainment
  3097   Luther Vandross                                      Lady, Lady                                             SR0000171321                   Sony Music Entertainment
  3098   Luther Vandross                                      Love Is On The Way (Real Love)                         SR0000171321                   Sony Music Entertainment
  3099   Luther Vandross                                      Never Too Much                                         SR0000030497                   Sony Music Entertainment
  3100   Luther Vandross                                      So Amazing                                             SR0000079450                   Sony Music Entertainment
  3101   Luther Vandross                                      Superstar/Until You Come Back To Me (That's What I'm   SR0000054317                   Sony Music Entertainment
                                                              Gonna Do)
  3102   Luther Vandross                                      The Night I Fell in Love                               SR0000064351                   Sony Music Entertainment
  3103   Luther Vandross                                      What The World Needs Now                               SR0000317135                   Sony Music Entertainment
  3104   Macy Gray                                            A Moment To Myself                                     SR0000267460                   Sony Music Entertainment
  3105   Macy Gray                                            Blowin' Up Your Speakers                               SR0000302804                   Sony Music Entertainment
  3106   Macy Gray                                            Boo                                                    SR0000302804                   Sony Music Entertainment
  3107   Macy Gray                                            Caligula                                               SR0000267460                   Sony Music Entertainment
  3108   Macy Gray                                            Come Together                                          SR0000336638                   Sony Music Entertainment
  3109   Macy Gray                                            Do Something                                           SR0000267460                   Sony Music Entertainment
  3110   Macy Gray                                            Every Now And Then                                     SR0000336638                   Sony Music Entertainment
  3111   Macy Gray                                            Forgiveness                                            SR0000302804                   Sony Music Entertainment
  3112   Macy Gray                                            Freak Like Me                                          SR0000302804                   Sony Music Entertainment
  3113   Macy Gray                                            Gimme All Your Lovin' or I Will Kill You               SR0000302804                   Sony Music Entertainment
  3114   Macy Gray                                            Happiness                                              SR0000336638                   Sony Music Entertainment
  3115   Macy Gray                                            Harry                                                  SR0000302804                   Sony Music Entertainment
  3116   Macy Gray                                            I Can't Wait To Meetchu                                SR0000267460                   Sony Music Entertainment
  3117   Macy Gray                                            I Try                                                  SR0000267460                   Sony Music Entertainment
  3118   Macy Gray                                            I've Committed Murder                                  SR0000267460                   Sony Music Entertainment
  3119   Macy Gray                                            Jesus For A Day                                        SR0000336638                   Sony Music Entertainment
  3120   Macy Gray                                            My Fondest Childhood Memories                          SR0000336638                   Sony Music Entertainment
  3121   Macy Gray                                            Oblivion                                               SR0000302804                   Sony Music Entertainment
  3122   Macy Gray                                            Relating To A Psychopath                               SR0000302804                   Sony Music Entertainment
  3123   Macy Gray                                            Screamin'                                              SR0000336638                   Sony Music Entertainment
  3124   Macy Gray                                            Sex-o-matic Venus Freak                                SR0000267460                   Sony Music Entertainment
  3125   Macy Gray                                            Sexual Revolution                                      SR0000302804                   Sony Music Entertainment
  3126   Macy Gray                                            She Don't Write Songs About You                        SR0000336638                   Sony Music Entertainment
  3127   Macy Gray                                            Speechless                                             SR0000336638                   Sony Music Entertainment
  3128   Macy Gray                                            Still                                                  SR0000267460                   Sony Music Entertainment
  3129   Macy Gray                                            The Letter                                             SR0000267460                   Sony Music Entertainment
  3130   Macy Gray                                            Things That Made Me Change                             SR0000336638                   Sony Music Entertainment
  3131   Macy Gray                                            When I See You                                         PA0001207765                   Sony Music Entertainment
  3132   Macy Gray                                            Why Didn't You Call Me                                 SR0000267460                   Sony Music Entertainment
  3133   Macy Gray feat. Angie Stone and Mos Def              My Nutmeg Phantasy                                     SR0000302804                   Sony Music Entertainment
  3134   Macy Gray feat. Erykah Badu                          Sweet Baby                                             PA0001074698                   Sony Music Entertainment
  3135   Macy Gray feat. Slick Rick                           Hey Young World, Pt. 2                                 SR0000302804                   Sony Music Entertainment
  3136   Macy Gray feat. Sunshine Anderson                    Don't Come Around                                      SR0000302804                   Sony Music Entertainment
  3137   Manchester Orchestra                                 Apprehension                                           SR0000680374                   Sony Music Entertainment
  3138   Manchester Orchestra                                 April Fool                                             SR0000680374                   Sony Music Entertainment
  3139   Manchester Orchestra                                 Deer                                                   SR0000680374                   Sony Music Entertainment
  3140   Manchester Orchestra                                 Leaky Breaks                                           SR0000680374                   Sony Music Entertainment
  3141   Manchester Orchestra                                 Leave It Alone                                         SR0000680374                   Sony Music Entertainment
  3142   Manchester Orchestra                                 Mighty                                                 SR0000680374                   Sony Music Entertainment
  3143   Manchester Orchestra                                 Pale Black Eye                                         SR0000680374                   Sony Music Entertainment
  3144   Manchester Orchestra                                 Pensacola                                              SR0000680374                   Sony Music Entertainment
  3145   Manchester Orchestra                                 Simple Math                                            SR0000680374                   Sony Music Entertainment
  3146   Manchester Orchestra                                 Virgin                                                 SR0000680374                   Sony Music Entertainment
  3147   Marc Anthony                                         Ahora Quien                                            SR0000355308                   Sony Music Entertainment
  3148   Marc Anthony                                         Amigo                                                  SR0000355308                   Sony Music Entertainment
  3149   Marc Anthony                                         Escapémonos                                            SR0000355308                   Sony Music Entertainment
  3150   Marc Anthony                                         Lamento Borincano                                      SR0000358132                   Sony Music Entertainment
  3151   Marc Anthony                                         Se Esfuma Tu Amor                                      SR0000355308                   Sony Music Entertainment
  3152   Marc Anthony                                         Tu Amor Me Hace Bien                                   SR0000355308                   Sony Music Entertainment
  3153   Marc Anthony                                         Valio La Pena                                          SR0000355308                   Sony Music Entertainment
  3154   Marc Anthony                                         Vivir Mi Vida                                          SR0000727153                   Sony Music Entertainment
  3155   Marc Anthony                                         Volando Entre Tus Brazos                               SR0000355308                   Sony Music Entertainment
  3156   Marcela Morelo                                       Para Toda La Vida                                      SR0000290235                   Sony Music Entertainment
  3157   Mariah Carey                                         Breakdown                                              SR0000244014                   Sony Music Entertainment
  3158   Marvin Gaye                                          Sexual Healing                                         SR0000038850                   Sony Music Entertainment
  3159   Marvin Sapp                                          Comfort Zone                                           PA0001749838                   Sony Music Entertainment
  3160   Marvin Sapp                                          Don't Count Me Out                                     PA0001749838                   Sony Music Entertainment
  3161   Marvin Sapp                                          Fresh Wind                                             PA0001749838                   Sony Music Entertainment
  3162   Marvin Sapp                                          He Has His Hands On You                                PA0001749838                   Sony Music Entertainment
  3163   Marvin Sapp                                          Here I Am                                              PA0001749838                   Sony Music Entertainment
  3164   Marvin Sapp                                          I Came                                                 PA0001749838                   Sony Music Entertainment
  3165   Marvin Sapp                                          I Came (Intro)                                         PA0001749838                   Sony Music Entertainment


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                                  Artist                                                  Track                            Registration Number                     Plaintiff
  3166   Marvin Sapp                                          Keep Holding On                                     PA0001749838                   Sony Music Entertainment
  3167   Marvin Sapp                                          More Than A Conqueror                               PA0001749838                   Sony Music Entertainment
  3168   Marvin Sapp                                          Praise You Forever                                  PA0001749838                   Sony Music Entertainment
  3169   Marvin Sapp                                          The Best In Me                                      PA0001749838                   Sony Music Entertainment
  3170   Marvin Sapp                                          Wait                                                PA0001749838                   Sony Music Entertainment
  3171   Mary Mary                                            Can't Give Up Now                                   SR0000711038                   Sony Music Entertainment
  3172   Mary Mary                                            Dirt                                                SR0000711038                   Sony Music Entertainment
  3173   Mary Mary                                            Go Get It                                           SR0000711038                   Sony Music Entertainment
  3174   Mary Mary                                            God Bless                                           SR0000711038                   Sony Music Entertainment
  3175   Mary Mary                                            He Said                                             SR0000317087                   Sony Music Entertainment
  3176   Mary Mary                                            I'm Running                                         SR0000711038                   Sony Music Entertainment
  3177   Mary Mary                                            Little Girl                                         SR0000317087                   Sony Music Entertainment
  3178   Mary Mary                                            Sunday Morning                                      SR0000711038                   Sony Music Entertainment
  3179   Mary Mary feat. Destiny's Child                      Good To Me                                          SR0000269994                   Sony Music Entertainment
  3180   Mary Mary feat. Kirk Franklin                        And I                                               SR0000378079                   Sony Music Entertainment
  3181   Maxwell                                              Bad Habits                                          SR0000639738                   Sony Music Entertainment
  3182   Maxwell                                              Cold                                                SR0000639738                   Sony Music Entertainment
  3183   Maxwell                                              Fistful Of Tears                                    SR0000639738                   Sony Music Entertainment
  3184   Maxwell                                              Help Somebody                                       SR0000639738                   Sony Music Entertainment
  3185   Maxwell                                              Love You                                            SR0000639738                   Sony Music Entertainment
  3186   Maxwell                                              Phoenix Rise                                        SR0000639738                   Sony Music Entertainment
  3187   Maxwell                                              Playing Possum                                      SR0000639738                   Sony Music Entertainment
  3188   Maxwell                                              Pretty Wings                                        SR0000639738                   Sony Music Entertainment
  3189   Maxwell                                              Stop The World                                      SR0000639738                   Sony Music Entertainment
  3190   Meat Loaf                                            Bat Out Of Hell                                     RE0000925597                   Sony Music Entertainment
  3191   Meat Loaf                                            Great Boleros of Fire                               SR0000293673                   Sony Music Entertainment
  3192   Meat Loaf                                            Heaven Can Wait                                     RE0000925597                   Sony Music Entertainment
  3193   Meat Loaf                                            Midnight at the Lost and Found                      SR0000046157                   Sony Music Entertainment
  3194   Meat Loaf                                            Nocturnal Pleasure                                  SR0000030226                   Sony Music Entertainment
  3195   Meat Loaf                                            Paradise By The Dashboard Light                     RE0000925597                   Sony Music Entertainment
  3196   Meat Loaf                                            Two Out of Three Ain't Bad                          RE0000925597                   Sony Music Entertainment
  3197   Meat Loaf with Cher                                  Dead Ringer for Love                                SR0000030226                   Sony Music Entertainment
  3198   MGMT                                                 4th Dimensional Transition                          SR0000670166                   Sony Music Entertainment
  3199   MGMT                                                 Brian Eno                                           SR0000655661                   Sony Music Entertainment
  3200   MGMT                                                 Congratulations                                     SR0000655661                   Sony Music Entertainment
  3201   MGMT                                                 Electric Feel                                       SR0000670166                   Sony Music Entertainment
  3202   MGMT                                                 Flash Delirium                                      SR0000655661                   Sony Music Entertainment
  3203   MGMT                                                 Future Reflections                                  SR0000670166                   Sony Music Entertainment
  3204   MGMT                                                 I Found a Whistle                                   SR0000655661                   Sony Music Entertainment
  3205   MGMT                                                 It's Working                                        SR0000655661                   Sony Music Entertainment
  3206   MGMT                                                 Kids                                                SR0000670166                   Sony Music Entertainment
  3207   MGMT                                                 Lady Dada's Nightmare                               SR0000655661                   Sony Music Entertainment
  3208   MGMT                                                 Of Moons, Birds & Monsters                          SR0000670166                   Sony Music Entertainment
  3209   MGMT                                                 Pieces of What                                      SR0000670166                   Sony Music Entertainment
  3210   MGMT                                                 Siberian Breaks                                     SR0000655661                   Sony Music Entertainment
  3211   MGMT                                                 Someone's Missing                                   SR0000655661                   Sony Music Entertainment
  3212   MGMT                                                 Song for Dan Treacy                                 SR0000655661                   Sony Music Entertainment
  3213   MGMT                                                 The Handshake                                       SR0000670166                   Sony Music Entertainment
  3214   MGMT                                                 The Youth                                           SR0000670166                   Sony Music Entertainment
  3215   MGMT                                                 Time To Pretend                                     SR0000697485                   Sony Music Entertainment
  3216   MGMT                                                 Weekend Wars                                        SR0000670166                   Sony Music Entertainment
  3217   Michael Jackson                                      Baby Be Mine                                        SR0000041965                   Sony Music Entertainment
  3218   Michael Jackson                                      Burn This Disco Out                                 SR0000011120                   Sony Music Entertainment
  3219   Michael Jackson                                      Don't Stop 'Til You Get Enough                      SR0000011105                   Sony Music Entertainment
  3220   Michael Jackson                                      Get On The Floor                                    SR0000011120                   Sony Music Entertainment
  3221   Michael Jackson                                      Girlfriend                                          SR0000011120                   Sony Music Entertainment
  3222   Michael Jackson                                      Human Nature                                        SR0000041965                   Sony Music Entertainment
  3223   Michael Jackson                                      I Can't Help It                                     SR0000011105                   Sony Music Entertainment
  3224   Michael Jackson                                      It's The Falling In Love                            SR0000011120                   Sony Music Entertainment
  3225   Michael Jackson                                      Off The Wall                                        SR0000011120                   Sony Music Entertainment
  3226   Michael Jackson                                      P.Y.T. (Pretty Young Thing)                         SR0000041965                   Sony Music Entertainment
  3227   Michael Jackson                                      The Lady In My Life                                 SR0000041965                   Sony Music Entertainment
  3228   Michael Jackson                                      Workin' Day And Night                               SR0000011120                   Sony Music Entertainment
  3229   Miguel                                               Adorn                                               SR0000709268                   Sony Music Entertainment
  3230   Miguel                                               All I Want Is You                                   SR0000673073                   Sony Music Entertainment
  3231   Miguel                                               Girl With The Tattoo Enter.lewd                     SR0000673073                   Sony Music Entertainment
  3232   Miguel                                               Girls Like You                                      SR0000673073                   Sony Music Entertainment
  3233   Miguel                                               Hard Way                                            SR0000673073                   Sony Music Entertainment
  3234   Miguel                                               Hero                                                SR0000673073                   Sony Music Entertainment
  3235   Miguel                                               How Many Drinks?                                    SR0000709268                   Sony Music Entertainment
  3236   Miguel                                               My Piece                                            SR0000673073                   Sony Music Entertainment
  3237   Miguel                                               Pay Me                                              SR0000673073                   Sony Music Entertainment
  3238   Miguel                                               Quickie                                             SR0000673073                   Sony Music Entertainment
  3239   Miguel                                               Sure Thing                                          SR0000673073                   Sony Music Entertainment
  3240   Miguel                                               Teach Me                                            SR0000673073                   Sony Music Entertainment
  3241   Miguel                                               To The Moon                                         SR0000673073                   Sony Music Entertainment
  3242   Miguel                                               Vixen                                               SR0000673073                   Sony Music Entertainment
  3243   Mike Posner                                          Cooler Than Me                                      SR0000657938                   Sony Music Entertainment
  3244   Miley Cyrus                                          #GETITRIGHT                                         SR0000735242                   Sony Music Entertainment
  3245   Miley Cyrus                                          Adore You                                           SR0000735242                   Sony Music Entertainment
  3246   Miley Cyrus                                          Do My Thang                                         SR0000735242                   Sony Music Entertainment
  3247   Miley Cyrus                                          Drive                                               SR0000735242                   Sony Music Entertainment
  3248   Miley Cyrus                                          Maybe You're Right                                  SR0000735242                   Sony Music Entertainment
  3249   Miley Cyrus                                          On My Own                                           SR0000735242                   Sony Music Entertainment
  3250   Miley Cyrus                                          Rooting for My Baby                                 SR0000735242                   Sony Music Entertainment
  3251   Miley Cyrus                                          Someone Else                                        SR0000735242                   Sony Music Entertainment


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                                    Artist                                               Track                          Registration Number                     Plaintiff
  3252   Miley Cyrus                                          We Can't Stop                                    SR0000726503                   Sony Music Entertainment
  3253   Miley Cyrus feat. Big Sean                           Love Money Party                                 SR0000735242                   Sony Music Entertainment
  3254   Miley Cyrus feat. Britney Spears                     SMS (Bangerz)                                    SR0000735242                   Sony Music Entertainment
  3255   Miley Cyrus feat. French Montana                     FU                                               SR0000735242                   Sony Music Entertainment
  3256   Miley Cyrus feat. Future                             My Darlin'                                       SR0000735242                   Sony Music Entertainment
  3257   Miley Cyrus feat. Ludacris                           Hands in the Air                                 SR0000735242                   Sony Music Entertainment
  3258   Miley Cyrus feat. Nelly                              4x4                                              SR0000735242                   Sony Music Entertainment
  3259   Miranda Lambert                                      Airstream Song                                   SR0000641403                   Sony Music Entertainment
  3260   Miranda Lambert                                      All Kinds of Kinds                               PA0001805349                   Sony Music Entertainment
  3261   Miranda Lambert                                      Automatic                                        SR0000738201                   Sony Music Entertainment
  3262   Miranda Lambert                                      Baggage Claim                                    PA0001805349                   Sony Music Entertainment
  3263   Miranda Lambert                                      Better In The Long Run                           PA0001805349                   Sony Music Entertainment
  3264   Miranda Lambert                                      Bring Me Down                                    SR0000367710                   Sony Music Entertainment
  3265   Miranda Lambert                                      Crazy Ex-Girlfriend                              SR0000746292                   Sony Music Entertainment
  3266   Miranda Lambert                                      Dead Flowers                                     SR0000641403                   Sony Music Entertainment
  3267   Miranda Lambert                                      Dear Diamond                                     PA0001805349                   Sony Music Entertainment
  3268   Miranda Lambert                                      Desperation                                      SR0000609529                   Sony Music Entertainment
  3269   Miranda Lambert                                      Down                                             SR0000609529                   Sony Music Entertainment
  3270   Miranda Lambert                                      Dry Town                                         SR0000609529                   Sony Music Entertainment
  3271   Miranda Lambert                                      Easy From Now On                                 SR0000609529                   Sony Music Entertainment
  3272   Miranda Lambert                                      Easy Living                                      PA0001805349                   Sony Music Entertainment
  3273   Miranda Lambert                                      Famous In A Small Town                           SR0000609529                   Sony Music Entertainment
  3274   Miranda Lambert                                      Fastest Girl In Town                             PA0001805349                   Sony Music Entertainment
  3275   Miranda Lambert                                      Fine Tune                                        PA0001805349                   Sony Music Entertainment
  3276   Miranda Lambert                                      Getting Ready                                    SR0000609529                   Sony Music Entertainment
  3277   Miranda Lambert                                      Greyhound Bound For Nowhere                      SR0000367710                   Sony Music Entertainment
  3278   Miranda Lambert                                      Guilty In Here                                   SR0000609529                   Sony Music Entertainment
  3279   Miranda Lambert                                      Gunpowder & Lead                                 SR0000609529                   Sony Music Entertainment
  3280   Miranda Lambert                                      Heart Like Mine                                  SR0000641403                   Sony Music Entertainment
  3281   Miranda Lambert                                      Hurts To Think                                   PA0001805349                   Sony Music Entertainment
  3282   Miranda Lambert                                      I Can't Be Bothered                              SR0000367710                   Sony Music Entertainment
  3283   Miranda Lambert                                      I Wanna Die                                      SR0000367710                   Sony Music Entertainment
  3284   Miranda Lambert                                      Kerosene                                         SR0000367710                   Sony Music Entertainment
  3285   Miranda Lambert                                      Look At Miss Ohio                                PA0001805349                   Sony Music Entertainment
  3286   Miranda Lambert                                      Love Is Looking For You                          SR0000367710                   Sony Music Entertainment
  3287   Miranda Lambert                                      Love Letters                                     SR0000609529                   Sony Music Entertainment
  3288   Miranda Lambert                                      Love Song                                        SR0000641403                   Sony Music Entertainment
  3289   Miranda Lambert                                      Love Your Memory                                 SR0000367710                   Sony Music Entertainment
  3290   Miranda Lambert                                      Maintain the Pain                                SR0000641403                   Sony Music Entertainment
  3291   Miranda Lambert                                      Makin' Plans                                     SR0000641403                   Sony Music Entertainment
  3292   Miranda Lambert                                      Mama, I'm Alright                                SR0000367710                   Sony Music Entertainment
  3293   Miranda Lambert                                      Mama's Broken Heart                              PA0001805349                   Sony Music Entertainment
  3294   Miranda Lambert                                      Me And Charlie Talking                           SR0000746293                   Sony Music Entertainment
  3295   Miranda Lambert                                      Me and Your Cigarettes                           SR0000641403                   Sony Music Entertainment
  3296   Miranda Lambert                                      More Like Her                                    SR0000609529                   Sony Music Entertainment
  3297   Miranda Lambert                                      New Strings                                      SR0000367710                   Sony Music Entertainment
  3298   Miranda Lambert                                      Nobody's Fool                                    PA0001805349                   Sony Music Entertainment
  3299   Miranda Lambert                                      Oklahoma Sky                                     PA0001805349                   Sony Music Entertainment
  3300   Miranda Lambert                                      Only Prettier                                    SR0000641403                   Sony Music Entertainment
  3301   Miranda Lambert                                      Over You                                         PA0001805349                   Sony Music Entertainment
  3302   Miranda Lambert                                      Safe                                             PA0001805349                   Sony Music Entertainment
  3303   Miranda Lambert                                      Same Old You                                     PA0001805349                   Sony Music Entertainment
  3304   Miranda Lambert                                      Sin For A Sin                                    SR0000641403                   Sony Music Entertainment
  3305   Miranda Lambert                                      Somewhere Trouble Don't Go                       SR0000641403                   Sony Music Entertainment
  3306   Miranda Lambert                                      That's the Way That the World Goes 'Round        SR0000641403                   Sony Music Entertainment
  3307   Miranda Lambert                                      There's A Wall                                   SR0000367710                   Sony Music Entertainment
  3308   Miranda Lambert                                      Time To Get A Gun                                SR0000641403                   Sony Music Entertainment
  3309   Miranda Lambert                                      Virginia Bluebell                                SR0000641403                   Sony Music Entertainment
  3310   Miranda Lambert                                      What About Georgia?                              SR0000367710                   Sony Music Entertainment
  3311   Miranda Lambert                                      White Liar                                       SR0000641403                   Sony Music Entertainment
  3312   Modest Mouse                                         Education                                        SR0000407040                   Sony Music Entertainment
  3313   Modest Mouse                                         Fire It Up                                       SR0000407040                   Sony Music Entertainment
  3314   Modest Mouse                                         Florida                                          SR0000407040                   Sony Music Entertainment
  3315   Modest Mouse                                         Fly Trapped In A Jar                             SR0000407040                   Sony Music Entertainment
  3316   Modest Mouse                                         Invisible                                        SR0000407040                   Sony Music Entertainment
  3317   Modest Mouse                                         Little Motel                                     SR0000407040                   Sony Music Entertainment
  3318   Modest Mouse                                         March Into The Sea                               SR0000407040                   Sony Music Entertainment
  3319   Modest Mouse                                         Missed The Boat                                  SR0000407040                   Sony Music Entertainment
  3320   Modest Mouse                                         Parting of the Sensory                           SR0000407040                   Sony Music Entertainment
  3321   Modest Mouse                                         People As Places As People                       SR0000407040                   Sony Music Entertainment
  3322   Modest Mouse                                         Spitting Venom                                   SR0000407040                   Sony Music Entertainment
  3323   Modest Mouse                                         Steam Engenius                                   SR0000407040                   Sony Music Entertainment
  3324   Modest Mouse                                         We've Got Everything                             SR0000407040                   Sony Music Entertainment
  3325   Monica feat. Rick Ross                               Anything (To Find You)                           SR0000700530                   Sony Music Entertainment
  3326   Montgomery Gentry                                    Daddy Won't Sell the Farm                        SR0000266467                   Sony Music Entertainment
  3327   Montgomery Gentry                                    Didn't I                                         PA0001079468                   Sony Music Entertainment
  3328   Montgomery Gentry                                    Gone                                             SR0000266467                   Sony Music Entertainment
  3329   Montgomery Gentry                                    Hell Yeah                                        SR0000314295                   Sony Music Entertainment
  3330   Montgomery Gentry                                    Lonely And Gone                                  SR0000266467                   Sony Music Entertainment
  3331   Montgomery Gentry                                    My Town                                          SR0000314295                   Sony Music Entertainment
  3332   Montgomery Gentry                                    She Don't Tell Me To                             SR0000386446                   Sony Music Entertainment
  3333   Montgomery Gentry                                    Something To Be Proud Of                         SR0000355896                   Sony Music Entertainment
  3334   Montgomery Gentry                                    Speed                                            SR0000314295                   Sony Music Entertainment
  3335   Mudvayne                                             (Per)Version of a truth                          SR0000346266                   Sony Music Entertainment
  3336   Mudvayne                                             A Key to Nothing                                 SR0000346266                   Sony Music Entertainment
  3337   Mudvayne                                             Mercy, Severity                                  SR0000346266                   Sony Music Entertainment


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                                   Artist                                                 Track                          Registration Number                     Plaintiff
  3338   Mudvayne                                             Severed                                           SR0000269973                   Sony Music Entertainment
  3339   Mudvayne                                             Shadow of a Man                                   SR0000346266                   Sony Music Entertainment
  3340   Mudvayne                                             Silenced                                          SR0000346266                   Sony Music Entertainment
  3341   Mudvayne                                             Skrying                                           SR0000346266                   Sony Music Entertainment
  3342   Mudvayne                                             Solve Et Coagula                                  SR0000346266                   Sony Music Entertainment
  3343   Mudvayne                                             The End of All Things to Come                     SR0000346266                   Sony Music Entertainment
  3344   Mudvayne                                             The Patient Mental                                SR0000346266                   Sony Music Entertainment
  3345   Mudvayne                                             Trapped In The Wake Of A Dream                    SR0000346266                   Sony Music Entertainment
  3346   Mudvayne                                             World So Cold                                     SR0000346266                   Sony Music Entertainment
  3347   Oh Land                                              Break The Chain                                   SR0000674211                   Sony Music Entertainment
  3348   Oh Land                                              Helicopter                                        SR0000674211                   Sony Music Entertainment
  3349   Oh Land                                              Human                                             SR0000674211                   Sony Music Entertainment
  3350   Oh Land                                              Lean                                              SR0000674211                   Sony Music Entertainment
  3351   Oh Land                                              Perfection                                        SR0000674211                   Sony Music Entertainment
  3352   Oh Land                                              Rainbow                                           SR0000674211                   Sony Music Entertainment
  3353   Oh Land                                              Sun Of A Gun                                      SR0000674211                   Sony Music Entertainment
  3354   Oh Land                                              Voodoo                                            SR0000674211                   Sony Music Entertainment
  3355   Oh Land                                              We Turn It Up                                     SR0000674211                   Sony Music Entertainment
  3356   Oh Land                                              White Nights                                      SR0000674211                   Sony Music Entertainment
  3357   Oh Land                                              Wolf & I                                          SR0000674211                   Sony Music Entertainment
  3358   One Direction                                        Everything About You                              SR0000703645                   Sony Music Entertainment
  3359   One Direction                                        Gotta Be You                                      SR0000703645                   Sony Music Entertainment
  3360   One Direction                                        I Want                                            SR0000703645                   Sony Music Entertainment
  3361   One Direction                                        I Wish                                            SR0000703645                   Sony Music Entertainment
  3362   One Direction                                        Kiss You                                          SR0000714020                   Sony Music Entertainment
  3363   One Direction                                        Moments                                           SR0000703645                   Sony Music Entertainment
  3364   One Direction                                        More Than This                                    SR0000703645                   Sony Music Entertainment
  3365   One Direction                                        One Thing                                         SR0000703645                   Sony Music Entertainment
  3366   One Direction                                        Same Mistakes                                     SR0000703645                   Sony Music Entertainment
  3367   One Direction                                        Save You Tonight                                  SR0000703645                   Sony Music Entertainment
  3368   One Direction                                        Stand Up                                          SR0000703645                   Sony Music Entertainment
  3369   One Direction                                        Stole My Heart                                    SR0000703645                   Sony Music Entertainment
  3370   One Direction                                        Taken                                             SR0000703645                   Sony Music Entertainment
  3371   One Direction                                        Tell Me A Lie                                     SR0000703645                   Sony Music Entertainment
  3372   One Direction                                        What Makes You Beautiful                          SR0000703645                   Sony Music Entertainment
  3373   OutKast                                              Idlewild Blue (Don'tchu Worry 'Bout Me)           SR0000747302                   Sony Music Entertainment
  3374   OutKast                                              Mighty "O"                                        SR0000747300                   Sony Music Entertainment
  3375   Ozzy Osbourne                                        21st Century Schizoid Man                         SR0000388035                   Sony Music Entertainment
  3376   Ozzy Osbourne                                        A.V.H.                                            SR0000135019                   Sony Music Entertainment
  3377   Ozzy Osbourne                                        Back on Earth                                     SR0000247732                   Sony Music Entertainment
  3378   Ozzy Osbourne                                        Bark At The Moon                                  SR0000053824                   Sony Music Entertainment
  3379   Ozzy Osbourne                                        Breakin' All The Rules                            SR0000098705                   Sony Music Entertainment
  3380   Ozzy Osbourne                                        Centre of Eternity                                SR0000053824                   Sony Music Entertainment
  3381   Ozzy Osbourne                                        Crazy Babies                                      SR0000098705                   Sony Music Entertainment
  3382   Ozzy Osbourne                                        Crazy Train                                       SR0000028652                   Sony Music Entertainment
  3383   Ozzy Osbourne                                        Desire                                            SR0000135019                   Sony Music Entertainment
  3384   Ozzy Osbourne                                        Diary of a Madman                                 SR0000034167                   Sony Music Entertainment
  3385   Ozzy Osbourne                                        Dreamer                                           SR0000303331                   Sony Music Entertainment
  3386   Ozzy Osbourne                                        Gets Me Through                                   SR0000303331                   Sony Music Entertainment
  3387   Ozzy Osbourne                                        Ghost Behind My Eyes                              SR0000171292                   Sony Music Entertainment
  3388   Ozzy Osbourne                                        Hellraiser                                        SR0000135019                   Sony Music Entertainment
  3389   Ozzy Osbourne                                        I Can't Save You                                  SR0000628282                   Sony Music Entertainment
  3390   Ozzy Osbourne                                        I Don't Wanna Stop                                SR0000628282                   Sony Music Entertainment
  3391   Ozzy Osbourne                                        I Don't Want to Change the World                  SR0000135019                   Sony Music Entertainment
  3392   Ozzy Osbourne                                        I Just Want You                                   SR0000171292                   Sony Music Entertainment
  3393   Ozzy Osbourne                                        In My Life                                        SR0000373744                   Sony Music Entertainment
  3394   Ozzy Osbourne                                        Mama, I'm Coming Home                             SR0000135019                   Sony Music Entertainment
  3395   Ozzy Osbourne                                        Miracle Man                                       SR0000098705                   Sony Music Entertainment
  3396   Ozzy Osbourne                                        Mississippi Queen                                 SR0000388035                   Sony Music Entertainment
  3397   Ozzy Osbourne                                        Mr. Crowley                                       SR0000028652                   Sony Music Entertainment
  3398   Ozzy Osbourne                                        Mr. Tinkertrain                                   SR0000135019                   Sony Music Entertainment
  3399   Ozzy Osbourne                                        Nightmare                                         SR0000628282                   Sony Music Entertainment
  3400   Ozzy Osbourne                                        No Easy Way Out                                   SR0000303331                   Sony Music Entertainment
  3401   Ozzy Osbourne                                        No More Tears                                     SR0000135019                   Sony Music Entertainment
  3402   Ozzy Osbourne                                        Not Going Away                                    SR0000628282                   Sony Music Entertainment
  3403   Ozzy Osbourne                                        Now You See It (Now You Don't)                    SR0000053824                   Sony Music Entertainment
  3404   Ozzy Osbourne                                        Over The Mountain                                 SR0000034167                   Sony Music Entertainment
  3405   Ozzy Osbourne                                        Perry Mason                                       SR0000171292                   Sony Music Entertainment
  3406   Ozzy Osbourne                                        Road To Nowhere                                   SR0000135019                   Sony Music Entertainment
  3407   Ozzy Osbourne                                        Rock 'n' Roll Rebel                               SR0000053824                   Sony Music Entertainment
  3408   Ozzy Osbourne                                        Shot In The Dark                                  SR0000076545                   Sony Music Entertainment
  3409   Ozzy Osbourne                                        Slow Down                                         SR0000053824                   Sony Music Entertainment
  3410   Ozzy Osbourne                                        So Tired                                          SR0000053824                   Sony Music Entertainment
  3411   Ozzy Osbourne                                        Spiders                                           SR0000054446                   Sony Music Entertainment
  3412   Ozzy Osbourne                                        Thunder Underground                               SR0000171292                   Sony Music Entertainment
  3413   Ozzy Osbourne                                        Time After Time                                   SR0000135019                   Sony Music Entertainment
  3414   Ozzy Osbourne                                        Waiting for Darkness                              SR0000053824                   Sony Music Entertainment
  3415   Ozzy Osbourne                                        Won't Be Coming Home (S.I.N.)                     SR0000135019                   Sony Music Entertainment
  3416   Ozzy Osbourne                                        You're No Different                               SR0000053824                   Sony Music Entertainment
  3417   Ozzy Osbourne                                        Zombie Stomp                                      SR0000135019                   Sony Music Entertainment
  3418   P!nk                                                 Are We All We Are                                 SR0000709056                   Sony Music Entertainment
  3419   P!nk                                                 Beam Me Up                                        SR0000709056                   Sony Music Entertainment
  3420   P!nk                                                 Chaos & Piss                                      SR0000709377                   Sony Music Entertainment
  3421   P!nk                                                 F**kin' Perfect                                   SR0000671699                   Sony Music Entertainment
  3422   P!nk                                                 How Come You're Not Here                          SR0000709056                   Sony Music Entertainment
  3423   P!nk                                                 Just Give Me a Reason                             SR0000709056                   Sony Music Entertainment


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                                    Artist                                              Track                             Registration Number                     Plaintiff
  3424   P!nk                                                 Push You Away                                      SR0000644873                   Sony Music Entertainment
  3425   P!nk                                                 Raise Your Glass                                   SR0000671699                   Sony Music Entertainment
  3426   P!nk                                                 Slut Like You                                      SR0000709056                   Sony Music Entertainment
  3427   P!nk                                                 So What                                            SR0000719121                   Sony Music Entertainment
  3428   P!nk                                                 Stupid Girls                                       SR0000727837                   Sony Music Entertainment
  3429   P!nk                                                 The Great Escape                                   SR0000709056                   Sony Music Entertainment
  3430   P!nk                                                 The Truth About Love                               SR0000709056                   Sony Music Entertainment
  3431   P!nk                                                 Timebomb                                           SR0000709377                   Sony Music Entertainment
  3432   P!nk                                                 Try                                                SR0000709056                   Sony Music Entertainment
  3433   P!nk                                                 Walk of Shame                                      SR0000709056                   Sony Music Entertainment
  3434   P!nk                                                 Where Did The Beat Go?                             SR0000709056                   Sony Music Entertainment
  3435   P!nk feat. Eminem                                    Here Comes The Weekend                             SR0000709056                   Sony Music Entertainment
  3436   P!nk feat. William Orbit                             Feel Good Time                                     PA0001242238                   Sony Music Entertainment
  3437   Passion Pit                                          Little Secrets                                     PA0001678112                   Sony Music Entertainment
  3438   Passion Pit                                          To Kingdom Come                                    PA0001683346                   Sony Music Entertainment
  3439   Paul Simon                                           Me and Julio Down By the Schoolyard                RE0000923092                   Sony Music Entertainment
  3440   Paul Simon                                           Mother And Child Reunion                           RE0000923092                   Sony Music Entertainment
  3441   Pearl Jam                                            1/2 Full                                           SR0000324204                   Sony Music Entertainment
  3442   Pearl Jam                                            All or None                                        SR0000324204                   Sony Music Entertainment
  3443   Pearl Jam                                            Animal (Remastered)                                SR0000207219                   Sony Music Entertainment
  3444   Pearl Jam                                            Arc                                                SR0000324204                   Sony Music Entertainment
  3445   Pearl Jam                                            Army Reserve                                       SR0000654748                   Sony Music Entertainment
  3446   Pearl Jam                                            Around The Bend                                    SR0000230851                   Sony Music Entertainment
  3447   Pearl Jam                                            Aye Davanita                                       SR0000206558                   Sony Music Entertainment
  3448   Pearl Jam                                            Better Man                                         SR0000206558                   Sony Music Entertainment
  3449   Pearl Jam                                            Big Wave                                           SR0000654748                   Sony Music Entertainment
  3450   Pearl Jam                                            Black                                              SR0000137787                   Sony Music Entertainment
  3451   Pearl Jam                                            Blood (Remastered)                                 SR0000207219                   Sony Music Entertainment
  3452   Pearl Jam                                            Brain Of J.                                        SR0000255869                   Sony Music Entertainment
  3453   Pearl Jam                                            Breakerfall                                        SR0000300972                   Sony Music Entertainment
  3454   Pearl Jam                                            Breath And A Scream                                SR0000635733                   Sony Music Entertainment
  3455   Pearl Jam                                            Bu$hleaguer                                        SR0000324204                   Sony Music Entertainment
  3456   Pearl Jam                                            Bugs                                               SR0000206558                   Sony Music Entertainment
  3457   Pearl Jam                                            Can't Keep                                         SR0000324204                   Sony Music Entertainment
  3458   Pearl Jam                                            Come Back                                          SR0000654748                   Sony Music Entertainment
  3459   Pearl Jam                                            Corduroy                                           SR0000206558                   Sony Music Entertainment
  3460   Pearl Jam                                            Cropduster                                         SR0000324204                   Sony Music Entertainment
  3461   Pearl Jam                                            Daughter                                           SR0000207219                   Sony Music Entertainment
  3462   Pearl Jam                                            Deep                                               SR0000137787                   Sony Music Entertainment
  3463   Pearl Jam                                            Dissident                                          SR0000207219                   Sony Music Entertainment
  3464   Pearl Jam                                            Do the Evolution                                   SR0000255869                   Sony Music Entertainment
  3465   Pearl Jam                                            Elderly Woman Behind The Counter in a Small Town   SR0000207219                   Sony Music Entertainment
  3466   Pearl Jam                                            Evacuation                                         SR0000300972                   Sony Music Entertainment
  3467   Pearl Jam                                            Even Flow                                          SR0000137787                   Sony Music Entertainment
  3468   Pearl Jam                                            Faithful                                           SR0000255869                   Sony Music Entertainment
  3469   Pearl Jam                                            Garden                                             SR0000137787                   Sony Music Entertainment
  3470   Pearl Jam                                            Get Right                                          SR0000324204                   Sony Music Entertainment
  3471   Pearl Jam                                            Ghost                                              SR0000324204                   Sony Music Entertainment
  3472   Pearl Jam                                            Given To Fly                                       SR0000255869                   Sony Music Entertainment
  3473   Pearl Jam                                            Glorified G                                        SR0000207219                   Sony Music Entertainment
  3474   Pearl Jam                                            Go                                                 SR0000207219                   Sony Music Entertainment
  3475   Pearl Jam                                            Gods' Dice                                         SR0000300972                   Sony Music Entertainment
  3476   Pearl Jam                                            Gone                                               SR0000654748                   Sony Music Entertainment
  3477   Pearl Jam                                            Green Disease                                      SR0000324204                   Sony Music Entertainment
  3478   Pearl Jam                                            Grievance                                          SR0000300972                   Sony Music Entertainment
  3479   Pearl Jam                                            Habit                                              SR0000230851                   Sony Music Entertainment
  3480   Pearl Jam                                            Hail, Hail                                         SR0000230851                   Sony Music Entertainment
  3481   Pearl Jam                                            Help Help                                          SR0000324204                   Sony Music Entertainment
  3482   Pearl Jam                                            I Am Mine                                          SR0000324204                   Sony Music Entertainment
  3483   Pearl Jam                                            I'm Open                                           SR0000230851                   Sony Music Entertainment
  3484   Pearl Jam                                            Immortality                                        SR0000206558                   Sony Music Entertainment
  3485   Pearl Jam                                            In My Tree                                         SR0000230851                   Sony Music Entertainment
  3486   Pearl Jam                                            Indifference (Remastered)                          SR0000207219                   Sony Music Entertainment
  3487   Pearl Jam                                            Inside Job                                         SR0000654748                   Sony Music Entertainment
  3488   Pearl Jam                                            Insignificance                                     SR0000300972                   Sony Music Entertainment
  3489   Pearl Jam                                            Jeremy                                             SR0000137787                   Sony Music Entertainment
  3490   Pearl Jam                                            Last Exit                                          SR0000206558                   Sony Music Entertainment
  3491   Pearl Jam                                            Leash                                              SR0000207219                   Sony Music Entertainment
  3492   Pearl Jam                                            Life Wasted                                        SR0000654748                   Sony Music Entertainment
  3493   Pearl Jam                                            Light Years                                        SR0000300972                   Sony Music Entertainment
  3494   Pearl Jam                                            Love Boat Captain                                  SR0000324204                   Sony Music Entertainment
  3495   Pearl Jam                                            Low Light                                          SR0000255869                   Sony Music Entertainment
  3496   Pearl Jam                                            Lukin                                              SR0000230851                   Sony Music Entertainment
  3497   Pearl Jam                                            Mankind                                            SR0000230851                   Sony Music Entertainment
  3498   Pearl Jam                                            Marker In The Sand                                 SR0000654748                   Sony Music Entertainment
  3499   Pearl Jam                                            MFC                                                SR0000255869                   Sony Music Entertainment
  3500   Pearl Jam                                            No Way                                             SR0000255869                   Sony Music Entertainment
  3501   Pearl Jam                                            Not For You                                        SR0000206558                   Sony Music Entertainment
  3502   Pearl Jam                                            Nothingman                                         SR0000206558                   Sony Music Entertainment
  3503   Pearl Jam                                            Oceans                                             SR0000137787                   Sony Music Entertainment
  3504   Pearl Jam                                            Of The Girl                                        SR0000300972                   Sony Music Entertainment
  3505   Pearl Jam                                            Off He Goes                                        SR0000230851                   Sony Music Entertainment
  3506   Pearl Jam                                            Once                                               SR0000137787                   Sony Music Entertainment
  3507   Pearl Jam                                            Parachutes                                         SR0000654748                   Sony Music Entertainment
  3508   Pearl Jam                                            Parting Ways                                       SR0000300972                   Sony Music Entertainment
  3509   Pearl Jam                                            Pilate                                             SR0000255869                   Sony Music Entertainment


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                                                                               EXHIBIT A - SOUND RECORDINGS

                                     Artist                                                Track                         Registration Number                     Plaintiff
  3510   Pearl Jam                                            Porch                                             SR0000137787                   Sony Music Entertainment
  3511   Pearl Jam                                            Present Tense                                     SR0000230851                   Sony Music Entertainment
  3512   Pearl Jam                                            Pry, To                                           SR0000206558                   Sony Music Entertainment
  3513   Pearl Jam                                            Push Me, Pull Me                                  SR0000255869                   Sony Music Entertainment
  3514   Pearl Jam                                            Rats (Remastered)                                 SR0000207219                   Sony Music Entertainment
  3515   Pearl Jam                                            Rearviewmirror                                    SR0000207219                   Sony Music Entertainment
  3516   Pearl Jam                                            Red Bar (also known as "●" or "The Color Red")    SR0000255869                   Sony Music Entertainment
  3517   Pearl Jam                                            Red Mosquito                                      SR0000230851                   Sony Music Entertainment
  3518   Pearl Jam                                            Release                                           SR0000137787                   Sony Music Entertainment
  3519   Pearl Jam                                            Rival                                             SR0000300972                   Sony Music Entertainment
  3520   Pearl Jam                                            Satan's Bed                                       SR0000206558                   Sony Music Entertainment
  3521   Pearl Jam                                            Save You                                          SR0000324204                   Sony Music Entertainment
  3522   Pearl Jam                                            Sleight Of Hand                                   SR0000300972                   Sony Music Entertainment
  3523   Pearl Jam                                            Smile                                             SR0000230851                   Sony Music Entertainment
  3524   Pearl Jam                                            Sometimes                                         SR0000230851                   Sony Music Entertainment
  3525   Pearl Jam                                            Soon Forget                                       SR0000300972                   Sony Music Entertainment
  3526   Pearl Jam                                            Spin The Black Circle                             SR0000206558                   Sony Music Entertainment
  3527   Pearl Jam                                            State Of Love And Trust                           SR0000635733                   Sony Music Entertainment
  3528   Pearl Jam                                            Stupid Mop                                        SR0000206558                   Sony Music Entertainment
  3529   Pearl Jam                                            Thin Air                                          SR0000300972                   Sony Music Entertainment
  3530   Pearl Jam                                            Thumbing My Way                                   SR0000324204                   Sony Music Entertainment
  3531   Pearl Jam                                            Tremor Christ                                     SR0000206558                   Sony Music Entertainment
  3532   Pearl Jam                                            Unemployable                                      SR0000654748                   Sony Music Entertainment
  3533   Pearl Jam                                            W.M.A.                                            SR0000207219                   Sony Music Entertainment
  3534   Pearl Jam                                            Wasted Reprise                                    SR0000654748                   Sony Music Entertainment
  3535   Pearl Jam                                            Whipping                                          SR0000206558                   Sony Music Entertainment
  3536   Pearl Jam                                            Who You Are                                       SR0000230851                   Sony Music Entertainment
  3537   Pearl Jam                                            Why Go                                            SR0000137787                   Sony Music Entertainment
  3538   Pearl Jam                                            Wishlist                                          SR0000255869                   Sony Music Entertainment
  3539   Pearl Jam                                            World Wide Suicide                                SR0000654748                   Sony Music Entertainment
  3540   Pearl Jam                                            Yellow Ledbetter                                  SR0000363498                   Sony Music Entertainment
  3541   Pharrell Williams Duet with Miley Cyrus              Come Get It Bae                                   SR0000756467                   Sony Music Entertainment
  3542   Pitbull                                              Call Of The Wild                                  SR0000641804                   Sony Music Entertainment
  3543   Pitbull                                              Can't Stop Me Now                                 SR0000641804                   Sony Music Entertainment
  3544   Pitbull                                              Celebrate                                         SR0000763595                   Sony Music Entertainment
  3545   Pitbull                                              Don't Stop the Party                              SR0000714736                   Sony Music Entertainment
  3546   Pitbull                                              Dope Ball (Interlude)                             SR0000641804                   Sony Music Entertainment
  3547   Pitbull                                              Drinks for You (Ladies Anthem)                    SR0000714643                   Sony Music Entertainment
  3548   Pitbull                                              Echa Pa'lla (Manos Pa'rriba)                      SR0000714643                   Sony Music Entertainment
  3549   Pitbull                                              Everybody Fucks                                   SR0000714643                   Sony Music Entertainment
  3550   Pitbull                                              Feel This Moment                                  SR0000714643                   Sony Music Entertainment
  3551   Pitbull                                              Get It Started                                    SR0000714740                   Sony Music Entertainment
  3552   Pitbull                                              Girls                                             SR0000641804                   Sony Music Entertainment
  3553   Pitbull                                              Give Me Everything                                SR0000681904                   Sony Music Entertainment
  3554   Pitbull                                              Give Them What They Ask For                       SR0000641804                   Sony Music Entertainment
  3555   Pitbull                                              Global Warming                                    SR0000714643                   Sony Music Entertainment
  3556   Pitbull                                              Have Some Fun                                     SR0000714643                   Sony Music Entertainment
  3557   Pitbull                                              Hotel Room Service                                SR0000641804                   Sony Music Entertainment
  3558   Pitbull                                              I Know You Want Me                                SR0000641804                   Sony Music Entertainment
  3559   Pitbull                                              I'm Off That                                      SR0000714643                   Sony Music Entertainment
  3560   Pitbull                                              International Love                                SR0000681904                   Sony Music Entertainment
  3561   Pitbull                                              Juice Box                                         SR0000641804                   Sony Music Entertainment
  3562   Pitbull                                              Last Night                                        SR0000714643                   Sony Music Entertainment
  3563   Pitbull                                              Pause                                             SR0000681904                   Sony Music Entertainment
  3564   Pitbull                                              Something For The DJs                             SR0000681904                   Sony Music Entertainment
  3565   Pitbull & Ne-Yo                                      Time of Our Lives                                 SR0000763598                   Sony Music Entertainment
  3566   Pitbull feat. Akon                                   Shut It Down                                      SR0000641804                   Sony Music Entertainment
  3567   Pitbull feat. Akon & DJ Frank E                      Mr. Right Now                                     SR0000683282                   Sony Music Entertainment
  3568   Pitbull feat. Avery Storm                            Triumph                                           SR0000641804                   Sony Music Entertainment
  3569   Pitbull feat. B.O.B.                                 Across The World                                  SR0000641804                   Sony Music Entertainment
  3570   Pitbull feat. Bebe Rexha                             This Is Not A Drill                               SR0000763598                   Sony Music Entertainment
  3571   Pitbull feat. Chloe Angelides                        Sexy Beaches                                      SR0000763598                   Sony Music Entertainment
  3572   Pitbull feat. Chris Brown                            Hope We Meet Again                                SR0000714643                   Sony Music Entertainment
  3573   Pitbull feat. Danny Mercer                           Outta Nowhere                                     SR0000714643                   Sony Music Entertainment
  3574   Pitbull feat. Enrique Iglesias                       Come N Go                                         SR0000681904                   Sony Music Entertainment
  3575   Pitbull feat. Enrique Iglesias                       Tchu Tchu Tcha                                    SR0000714643                   Sony Music Entertainment
  3576   Pitbull feat. G.R.L.                                 Wild Wild Love                                    SR0000763597                   Sony Music Entertainment
  3577   Pitbull feat. Heymous Molly                          Day Drinking                                      SR0000763598                   Sony Music Entertainment
  3578   Pitbull feat. Jamie Foxx                             Where Do We Go                                    SR0000681904                   Sony Music Entertainment
  3579   Pitbull feat. Jason Derulo & Juicy J                 Drive You Crazy                                   SR0000763598                   Sony Music Entertainment
  3580   Pitbull feat. Jennifer Lopez & Claudia Leitte        We Are One (Ole Ola)                              SR0000763333                   Sony Music Entertainment
  3581   Pitbull feat. Ke$ha                                  Timber                                            SR0000737322                   Sony Music Entertainment
  3582   Pitbull feat. Kelly Rowland & Jamie Drastik          Castle Made Of Sand                               SR0000681904                   Sony Music Entertainment
  3583   Pitbull feat. Lil Jon;Shawty Lo                      Krazy                                             SR0000641804                   Sony Music Entertainment
  3584   Pitbull feat. Nayer & Bass III Euro                  Full Of S**t                                      SR0000641804                   Sony Music Entertainment
  3585   Pitbull feat. Nelly                                  My Kinda Girl                                     SR0000683282                   Sony Music Entertainment
  3586   Pitbull feat. Red Foo, Vein & David Rush             Took My Love                                      SR0000641804                   Sony Music Entertainment
  3587   Pitbull feat. Sean Paul                              Ah Leke                                           SR0000763598                   Sony Music Entertainment
  3588   Pitbull feat. Slim                                   Daddy's Little Girl                               SR0000641804                   Sony Music Entertainment
  3589   Pitbull feat. T-Pain                                 Hey Baby (Drop It To The Floor)                   SR0000681904                   Sony Music Entertainment
  3590   Pitbull feat. T-Pain & Sean Paul                     Shake Senora                                      SR0000681904                   Sony Music Entertainment
  3591   Pitbull feat. T-Pain, Sean Paul & Ludacris           Shake Senora Remix                                SR0000683282                   Sony Music Entertainment
  3592   Pitbull feat. Usher & Afrojack                       Party Ain't Over                                  SR0000714643                   Sony Music Entertainment
  3593   Pitbull feat. Vein                                   11:59                                             SR0000714643                   Sony Music Entertainment
  3594   Pitbull feat. Vein                                   Mr. Worldwide (Intro)                             SR0000681904                   Sony Music Entertainment
  3595   Pitbull vs. Nicola Fasano                            Oye Baby                                          SR0000683282                   Sony Music Entertainment


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                                                                                   EXHIBIT A - SOUND RECORDINGS

                                    Artist                                                   Track                            Registration Number                     Plaintiff
  3596   R. Kelly                                                 Cookie                                             SR0000737848                   Sony Music Entertainment
  3597   R. Kelly                                                 Crazy Sex                                          SR0000737848                   Sony Music Entertainment
  3598   R. Kelly                                                 Every Position                                     SR0000737848                   Sony Music Entertainment
  3599   R. Kelly                                                 Genius                                             SR0000737850                   Sony Music Entertainment
  3600   R. Kelly                                                 Marry the P***y                                    SR0000737848                   Sony Music Entertainment
  3601   R. Kelly                                                 Physical                                           SR0000737848                   Sony Music Entertainment
  3602   R. Kelly                                                 Prelude                                            SR0000737848                   Sony Music Entertainment
  3603   R. Kelly                                                 Right Back                                         SR0000737848                   Sony Music Entertainment
  3604   R. Kelly                                                 Shut Up                                            SR0000737848                   Sony Music Entertainment
  3605   R. Kelly                                                 Spend That                                         SR0000737848                   Sony Music Entertainment
  3606   R. Kelly                                                 Throw This Money On You                            SR0000737848                   Sony Music Entertainment
  3607   R. Kelly                                                 You Deserve Better                                 SR0000737848                   Sony Music Entertainment
  3608   R. Kelly & Usher                                         Same Girl                                          SR0000611942                   Sony Music Entertainment
  3609   R. Kelly feat. 2 Chainz                                  My Story                                           SR0000737848                   Sony Music Entertainment
  3610   R. Kelly feat. Future                                    Tear It Up                                         SR0000737848                   Sony Music Entertainment
  3611   R. Kelly feat. Kelly Rowland                             All the Way                                        SR0000737848                   Sony Music Entertainment
  3612   R. Kelly feat. Ludacris                                  Legs Shakin'                                       SR0000737848                   Sony Music Entertainment
  3613   R. Kelly feat. Migos & Juicy J                           Show Ya P***y                                      SR0000737848                   Sony Music Entertainment
  3614   Raphael Saadiq                                           100 Yard Dash                                      SR0000619872                   Sony Music Entertainment
  3615   Raphael Saadiq                                           Calling                                            SR0000619872                   Sony Music Entertainment
  3616   Raphael Saadiq                                           Day Dreams                                         SR0000677734                   Sony Music Entertainment
  3617   Raphael Saadiq                                           Go To Hell                                         SR0000677734                   Sony Music Entertainment
  3618   Raphael Saadiq                                           Good Man                                           SR0000677734                   Sony Music Entertainment
  3619   Raphael Saadiq                                           Heart Attack                                       SR0000677734                   Sony Music Entertainment
  3620   Raphael Saadiq                                           Keep Marchin'                                      SR0000619872                   Sony Music Entertainment
  3621   Raphael Saadiq                                           Let's Take a Walk                                  SR0000619872                   Sony Music Entertainment
  3622   Raphael Saadiq                                           Love That Girl                                     SR0000619872                   Sony Music Entertainment
  3623   Raphael Saadiq                                           Movin' Down the Line                               SR0000677734                   Sony Music Entertainment
  3624   Raphael Saadiq                                           Oh Girl                                            SR0000619872                   Sony Music Entertainment
  3625   Raphael Saadiq                                           Over You                                           SR0000677734                   Sony Music Entertainment
  3626   Raphael Saadiq                                           Radio                                              SR0000677734                   Sony Music Entertainment
  3627   Raphael Saadiq                                           Sometimes                                          SR0000619872                   Sony Music Entertainment
  3628   Raphael Saadiq                                           Staying In Love                                    SR0000619872                   Sony Music Entertainment
  3629   Raphael Saadiq                                           Stone Rollin                                       SR0000677734                   Sony Music Entertainment
  3630   Raphael Saadiq                                           Sure Hope You Mean It                              SR0000619872                   Sony Music Entertainment
  3631   Raphael Saadiq                                           The Answer                                         SR0000677734                   Sony Music Entertainment
  3632   Raphael Saadiq feat. Joss Stone                          Just One Kiss                                      SR0000619872                   Sony Music Entertainment
  3633   Raphael Saadiq feat. The Infamous Young Spodie and the   Big Easy                                           SR0000619872                   Sony Music Entertainment
         Rebirth Brass Band
  3634   Raphael Saadiq feat. Yukimi Nakano                       Just Don't                                         SR0000677734                   Sony Music Entertainment
  3635   Ray Charles                                              Seven Spanish Angels                               SR0000058443                   Sony Music Entertainment
  3636   Ray Charles;Billy Joel                                   Baby Grand (duet w/Ray Charles)                    SR0000077612                   Sony Music Entertainment
  3637   Sade                                                     All About Our Love                                 SR0000298354                   Sony Music Entertainment
  3638   Sade                                                     Bulletproof Soul                                   SR0000183731                   Sony Music Entertainment
  3639   Sade                                                     By Your Side                                       SR0000298354                   Sony Music Entertainment
  3640   Sade                                                     Cherish The Day                                    SR0000183731                   Sony Music Entertainment
  3641   Sade                                                     Cherry Pie                                         SR0000069105                   Sony Music Entertainment
  3642   Sade                                                     Clean Heart                                        SR0000093822                   Sony Music Entertainment
  3643   Sade                                                     Every Word                                         SR0000298354                   Sony Music Entertainment
  3644   Sade                                                     Fear                                               SR0000071848                   Sony Music Entertainment
  3645   Sade                                                     Feel No Pain                                       SR0000183731                   Sony Music Entertainment
  3646   Sade                                                     Flow                                               SR0000298354                   Sony Music Entertainment
  3647   Sade                                                     Frankie's First Affair                             SR0000069105                   Sony Music Entertainment
  3648   Sade                                                     Give it Up                                         SR0000093822                   Sony Music Entertainment
  3649   Sade                                                     Hang On To Your Love                               SR0000069105                   Sony Music Entertainment
  3650   Sade                                                     Haunt Me                                           SR0000093822                   Sony Music Entertainment
  3651   Sade                                                     I Couldn't Love You More                           SR0000183731                   Sony Music Entertainment
  3652   Sade                                                     I Never Thought I'd See the Day                    SR0000093822                   Sony Music Entertainment
  3653   Sade                                                     I Will Be Your Friend                              SR0000069105                   Sony Music Entertainment
  3654   Sade                                                     Immigrant                                          SR0000298354                   Sony Music Entertainment
  3655   Sade                                                     Is It A Crime                                      SR0000071848                   Sony Music Entertainment
  3656   Sade                                                     It's Only Love That Gets You Through               SR0000298354                   Sony Music Entertainment
  3657   Sade                                                     Jezebel                                            SR0000071848                   Sony Music Entertainment
  3658   Sade                                                     Keep Looking                                       SR0000093822                   Sony Music Entertainment
  3659   Sade                                                     King of Sorrow                                     SR0000298354                   Sony Music Entertainment
  3660   Sade                                                     Kiss Of Life                                       SR0000183731                   Sony Music Entertainment
  3661   Sade                                                     Like a Tattoo                                      SR0000183731                   Sony Music Entertainment
  3662   Sade                                                     Love Is Stronger Than Pride                        SR0000093822                   Sony Music Entertainment
  3663   Sade                                                     Lovers Rock                                        SR0000298354                   Sony Music Entertainment
  3664   Sade                                                     Maureen                                            SR0000071848                   Sony Music Entertainment
  3665   Sade                                                     Mermaid                                            SR0000183731                   Sony Music Entertainment
  3666   Sade                                                     Never as Good as the First Time                    SR0000071848                   Sony Music Entertainment
  3667   Sade                                                     No Ordinary Love                                   SR0000183731                   Sony Music Entertainment
  3668   Sade                                                     Nothing Can Come Between Us                        SR0000093822                   Sony Music Entertainment
  3669   Sade                                                     Paradise                                           SR0000093822                   Sony Music Entertainment
  3670   Sade                                                     Pearls                                             SR0000183731                   Sony Music Entertainment
  3671   Sade                                                     Please Send Me Someone to Love                     SR0000233773                   Sony Music Entertainment
  3672   Sade                                                     Punch Drunk                                        SR0000071848                   Sony Music Entertainment
  3673   Sade                                                     Sally                                              SR0000069105                   Sony Music Entertainment
  3674   Sade                                                     Siempre Hay Esperanza                              SR0000093822                   Sony Music Entertainment
  3675   Sade                                                     Slave Song                                         SR0000298354                   Sony Music Entertainment
  3676   Sade                                                     Smooth Operator                                    SR0000069105                   Sony Music Entertainment
  3677   Sade                                                     Somebody Already Broke My Heart                    SR0000298354                   Sony Music Entertainment
  3678   Sade                                                     Tar Baby                                           SR0000071848                   Sony Music Entertainment
  3679   Sade                                                     The Sweetest Gift                                  SR0000298354                   Sony Music Entertainment
  3680   Sade                                                     Turn My Back On You                                SR0000093822                   Sony Music Entertainment


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                                                                              EXHIBIT A - SOUND RECORDINGS

                                  Artist                                                 Track                          Registration Number                     Plaintiff
  3681   Sade                                                 War of the Hearts                                SR0000071848                   Sony Music Entertainment
  3682   Sade                                                 When Am I Going To Make A Living                 SR0000069105                   Sony Music Entertainment
  3683   Sade                                                 Why Can't We Live Together                       SR0000069105                   Sony Music Entertainment
  3684   Sade                                                 You're Not The Man                               SR0000071848                   Sony Music Entertainment
  3685   Santana                                              All I Ever Wanted                                SR0000013645                   Sony Music Entertainment
  3686   Santana                                              Aqua Marine                                      SR0000013645                   Sony Music Entertainment
  3687   Santana                                              Blues for Salvador                               SR0000086429                   Sony Music Entertainment
  3688   Santana                                              Brightest Star                                   SR0000028839                   Sony Music Entertainment
  3689   Santana                                              Carnaval                                         N40322                         Sony Music Entertainment
  3690   Santana                                              Dance Sister Dance (Baila Mi Hermana)            N33113                         Sony Music Entertainment
  3691   Santana                                              Europa (Earth's Cry Heaven's Smile)              N33113                         Sony Music Entertainment
  3692   Santana                                              Flor D'Luna (Moonflower)                         N47421                         Sony Music Entertainment
  3693   Santana                                              Full Moon                                        SR0000118423                   Sony Music Entertainment
  3694   Santana                                              Gypsy Woman                                      SR0000118423                   Sony Music Entertainment
  3695   Santana                                              Hannibal                                         SR0000086429                   Sony Music Entertainment
  3696   Santana                                              Hold On                                          SR0000039658                   Sony Music Entertainment
  3697   Santana                                              How Long                                         SR0000065770                   Sony Music Entertainment
  3698   Santana                                              I Love You Much Too Much                         SR0000028774                   Sony Music Entertainment
  3699   Santana                                              I'll Be Waiting                                  N40322                         Sony Music Entertainment
  3700   Santana                                              La Fuente del Ritmo                              N3383; N5328                   Sony Music Entertainment
  3701   Santana                                              Let the Children Play                            N40322                         Sony Music Entertainment
  3702   Santana                                              Mirage                                           RE0000872000                   Sony Music Entertainment
  3703   Santana                                              Nowhere to Run                                   SR0000039763                   Sony Music Entertainment
  3704   Santana                                              One Chain (Don't Make No Prison)                 SR0000004781                   Sony Music Entertainment
  3705   Santana                                              Revelations                                      N40322                         Sony Music Entertainment
  3706   Santana                                              Say It Again                                     PA0000254926                   Sony Music Entertainment
  3707   Santana                                              The Sensitive Kind                               SR0000028774                   Sony Music Entertainment
  3708   Santana                                              Well All Right                                   SR0000004781                   Sony Music Entertainment
  3709   Santana                                              Winning                                          SR0000028839                   Sony Music Entertainment
  3710   Santana                                              You Know That I Love You                         SR0000013645                   Sony Music Entertainment
  3711   Sara Bareilles                                       1000 Times                                       SR0000727195                   Sony Music Entertainment
  3712   Sara Bareilles                                       Between The Lines                                SR0000609856                   Sony Music Entertainment
  3713   Sara Bareilles                                       Bottle It Up                                     SR0000609856                   Sony Music Entertainment
  3714   Sara Bareilles                                       Brave                                            SR0000727192                   Sony Music Entertainment
  3715   Sara Bareilles                                       Cassiopeia                                       SR0000727195                   Sony Music Entertainment
  3716   Sara Bareilles                                       Chasing The Sun                                  SR0000727195                   Sony Music Entertainment
  3717   Sara Bareilles                                       City                                             SR0000609856                   Sony Music Entertainment
  3718   Sara Bareilles                                       Come Round Soon                                  SR0000609856                   Sony Music Entertainment
  3719   Sara Bareilles                                       December                                         SR0000727195                   Sony Music Entertainment
  3720   Sara Bareilles                                       Eden                                             SR0000727195                   Sony Music Entertainment
  3721   Sara Bareilles                                       Fairytale                                        SR0000609856                   Sony Music Entertainment
  3722   Sara Bareilles                                       Gravity                                          SR0000609856                   Sony Music Entertainment
  3723   Sara Bareilles                                       Hercules                                         SR0000727195                   Sony Music Entertainment
  3724   Sara Bareilles                                       I Choose You                                     SR0000727195                   Sony Music Entertainment
  3725   Sara Bareilles                                       Islands                                          SR0000727195                   Sony Music Entertainment
  3726   Sara Bareilles                                       Little Black Dress                               SR0000727195                   Sony Music Entertainment
  3727   Sara Bareilles                                       Love On The Rocks                                SR0000609856                   Sony Music Entertainment
  3728   Sara Bareilles                                       Love Song                                        SR0000730822                   Sony Music Entertainment
  3729   Sara Bareilles                                       Manhattan                                        SR0000727193                   Sony Music Entertainment
  3730   Sara Bareilles                                       Many the Miles                                   SR0000609856                   Sony Music Entertainment
  3731   Sara Bareilles                                       Morningside                                      SR0000609856                   Sony Music Entertainment
  3732   Sara Bareilles                                       One Sweet Love                                   SR0000609856                   Sony Music Entertainment
  3733   Sara Bareilles                                       Satellite Call                                   SR0000727195                   Sony Music Entertainment
  3734   Sara Bareilles                                       Vegas                                            SR0000609856                   Sony Music Entertainment
  3735   Sarah McLachlan                                      Don't Give Up On Us                              SR0000661978                   Sony Music Entertainment
  3736   Sarah McLachlan                                      U Want Me 2                                      SR0000661978                   Sony Music Entertainment
  3737   Savage Garden                                        A Thousand Words                                 SR0000299097                   Sony Music Entertainment
  3738   Savage Garden                                        Affirmation                                      SR0000276120                   Sony Music Entertainment
  3739   Savage Garden                                        California                                       SR0000386428                   Sony Music Entertainment
  3740   Savage Garden                                        Carry On Dancing                                 SR0000299097                   Sony Music Entertainment
  3741   Savage Garden                                        Crash And Burn                                   SR0000276120                   Sony Music Entertainment
  3742   Savage Garden                                        Hold Me                                          SR0000276120                   Sony Music Entertainment
  3743   Savage Garden                                        Promises                                         SR0000299097                   Sony Music Entertainment
  3744   Savage Garden                                        So Beautiful                                     SR0000386428                   Sony Music Entertainment
  3745   Savage Garden                                        Tears Of Pearls                                  SR0000299097                   Sony Music Entertainment
  3746   Savage Garden                                        The Animal Song                                  SR0000276120                   Sony Music Entertainment
  3747   Savage Garden                                        Universe                                         SR0000299097                   Sony Music Entertainment
  3748   Savage Garden                                        Violet                                           SR0000299097                   Sony Music Entertainment
  3749   Sean Kingston and Justin Bieber                      Eenie Meenie                                     SR0000730824                   Sony Music Entertainment
  3750   Shakira                                              Devoción                                         SR0000669191                   Sony Music Entertainment
  3751   Shakira                                              Empire                                           SR0000756299                   Sony Music Entertainment
  3752   Shakira                                              Gordita                                          SR0000669191                   Sony Music Entertainment
  3753   Shakira                                              Lo Que Más                                       SR0000669191                   Sony Music Entertainment
  3754   Shakira                                              Loca (feat. Dizzee Rascal)                       SR0000669191                   Sony Music Entertainment
  3755   Shakira                                              Loca (feat. El Cata)                             SR0000669191                   Sony Music Entertainment
  3756   Shakira                                              Rabiosa                                          SR0000669191                   Sony Music Entertainment
  3757   Shakira                                              Waka Waka (This Time For Africa)                 SR0000669191                   Sony Music Entertainment
  3758   Sia                                                  Be Good To Me                                    SR0000655573                   Sony Music Entertainment
  3759   Sia                                                  Big Girl Little Girl                             SR0000655573                   Sony Music Entertainment
  3760   Sia                                                  Cloud                                            SR0000655573                   Sony Music Entertainment
  3761   Sia                                                  Hurting Me Now                                   SR0000655573                   Sony Music Entertainment
  3762   Sia                                                  I'm in Here                                      SR0000655573                   Sony Music Entertainment
  3763   Sia                                                  Never Gonna Leave Me                             SR0000655573                   Sony Music Entertainment
  3764   Sia                                                  Oh Father                                        SR0000655573                   Sony Music Entertainment
  3765   Sia                                                  Stop Trying                                      SR0000655573                   Sony Music Entertainment
  3766   Sia                                                  The Co-Dependent                                 SR0000655573                   Sony Music Entertainment


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                                 Artist                                                    Track                          Registration Number                     Plaintiff
  3767   Social Distortion                                    Ball And Chain                                     SR0000115085                   Sony Music Entertainment
  3768   Social Distortion                                    Ring Of Fire                                       SR0000115085                   Sony Music Entertainment
  3769   Social Distortion                                    Story Of My Life                                   SR0000115085                   Sony Music Entertainment
  3770   Stevie Ray Vaughan and Double Trouble                Boot Hill                                          SR0000138313                   Sony Music Entertainment
  3771   Stevie Ray Vaughan and Double Trouble                Chitlins Con Carne                                 SR0000138313                   Sony Music Entertainment
  3772   Stevie Ray Vaughan and Double Trouble                Close to You                                       SR0000138313                   Sony Music Entertainment
  3773   Stevie Ray Vaughan and Double Trouble                Empty Arms                                         SR0000138313                   Sony Music Entertainment
  3774   Stevie Ray Vaughan and Double Trouble                Life By The Drop                                   SR0000138313                   Sony Music Entertainment
  3775   Stevie Ray Vaughan and Double Trouble                Little Wing                                        SR0000138313                   Sony Music Entertainment
  3776   Stevie Ray Vaughan and Double Trouble                May I Have a Talk with You                         SR0000138313                   Sony Music Entertainment
  3777   Stevie Ray Vaughan and Double Trouble                So Excited                                         SR0000138313                   Sony Music Entertainment
  3778   Stevie Ray Vaughan and Double Trouble                Wham                                               SR0000138313                   Sony Music Entertainment
  3779   Stevie Ray Vaughan and Double Trouble                The Sky Is Crying                                  SR0000138313                   Sony Music Entertainment
  3780   Susan Boyle                                          Amazing Grace                                      SR0000645076                   Sony Music Entertainment
  3781   Susan Boyle                                          Cry Me A River                                     SR0000645076                   Sony Music Entertainment
  3782   Susan Boyle                                          Daydream Believer                                  SR0000645076                   Sony Music Entertainment
  3783   Susan Boyle                                          How Great Thou Art                                 SR0000645076                   Sony Music Entertainment
  3784   Susan Boyle                                          I Dreamed A Dream                                  SR0000645076                   Sony Music Entertainment
  3785   Susan Boyle                                          Proud                                              SR0000645076                   Sony Music Entertainment
  3786   Susan Boyle                                          Silent Night                                       SR0000645076                   Sony Music Entertainment
  3787   Susan Boyle                                          The End Of The World                               SR0000645076                   Sony Music Entertainment
  3788   Susan Boyle                                          Up To The Mountain                                 SR0000645076                   Sony Music Entertainment
  3789   Susan Boyle                                          Who I Was Born To Be                               SR0000645076                   Sony Music Entertainment
  3790   Susan Boyle                                          Wild Horses                                        SR0000645076                   Sony Music Entertainment
  3791   Susan Boyle                                          You'll See                                         SR0000645076                   Sony Music Entertainment
  3792   Switchfoot                                           Adding To The Noise                                SR0000347967                   Sony Music Entertainment
  3793   Switchfoot                                           Ammunition                                         SR0000347967                   Sony Music Entertainment
  3794   Switchfoot                                           Gone                                               SR0000347967                   Sony Music Entertainment
  3795   Switchfoot                                           Meant To Live                                      SR0000347967                   Sony Music Entertainment
  3796   Switchfoot                                           More Than Fine                                     SR0000347967                   Sony Music Entertainment
  3797   Switchfoot                                           On Fire                                            SR0000347967                   Sony Music Entertainment
  3798   Switchfoot                                           Redemption                                         SR0000347967                   Sony Music Entertainment
  3799   Switchfoot                                           The Beautiful Letdown                              SR0000347967                   Sony Music Entertainment
  3800   Switchfoot                                           Twenty-four                                        SR0000347967                   Sony Music Entertainment
  3801   System Of A Down                                     Attack                                             SR0000388170                   Sony Music Entertainment
  3802   System Of A Down                                     B.Y.O.B.                                           SR0000718994                   Sony Music Entertainment
  3803   System Of A Down                                     Cigaro                                             SR0000372792                   Sony Music Entertainment
  3804   System Of A Down                                     Dreaming                                           SR0000388170                   Sony Music Entertainment
  3805   System Of A Down                                     Holy Mountains                                     SR0000388170                   Sony Music Entertainment
  3806   System Of A Down                                     Hypnotize                                          SR0000748788                   Sony Music Entertainment
  3807   System Of A Down                                     Kill Rock 'n Roll                                  SR0000388170                   Sony Music Entertainment
  3808   System Of A Down                                     Lonely Day                                         SR0000388170                   Sony Music Entertainment
  3809   System Of A Down                                     Lost In Hollywood                                  SR0000372792                   Sony Music Entertainment
  3810   System Of A Down                                     Old School Hollywood                               SR0000372792                   Sony Music Entertainment
  3811   System Of A Down                                     Question!                                          SR0000372792                   Sony Music Entertainment
  3812   System Of A Down                                     Radio/Video                                        SR0000372792                   Sony Music Entertainment
  3813   System Of A Down                                     Revenga                                            SR0000372792                   Sony Music Entertainment
  3814   System Of A Down                                     Sad Statue                                         SR0000372792                   Sony Music Entertainment
  3815   System Of A Down                                     She's Like Heroin                                  SR0000388170                   Sony Music Entertainment
  3816   System Of A Down                                     Soldier Side                                       SR0000388170                   Sony Music Entertainment
  3817   System Of A Down                                     Soldier Side - Intro                               SR0000372792                   Sony Music Entertainment
  3818   System Of A Down                                     Stealing Society                                   SR0000388170                   Sony Music Entertainment
  3819   System Of A Down                                     Tentative                                          SR0000388170                   Sony Music Entertainment
  3820   System Of A Down                                     This Cocaine Makes Me Feel Like I'm On This Song   SR0000372792                   Sony Music Entertainment
  3821   System Of A Down                                     U-Fig                                              SR0000388170                   Sony Music Entertainment
  3822   System Of A Down                                     Vicinity Of Obscenity                              SR0000388170                   Sony Music Entertainment
  3823   System Of A Down                                     Violent Pornography                                SR0000372792                   Sony Music Entertainment
  3824   Teddy Pendergrass                                    All I Need Is You                                  SR0000012942                   Sony Music Entertainment
  3825   Teddy Pendergrass                                    And If I Had                                       RE0000926587                   Sony Music Entertainment
  3826   Teddy Pendergrass                                    Be Sure                                            RE0000926587                   Sony Music Entertainment
  3827   Teddy Pendergrass                                    Cold, Cold World                                   SR0000002510                   Sony Music Entertainment
  3828   Teddy Pendergrass                                    Do Me                                              SR0000012942                   Sony Music Entertainment
  3829   Teddy Pendergrass                                    Easy, Easy, Got To Take It Easy                    RE0000926587                   Sony Music Entertainment
  3830   Teddy Pendergrass                                    Get Up, Get Down, Get Funky, Get Loose             SR0000002555                   Sony Music Entertainment
  3831   Teddy Pendergrass                                    Girl You Know                                      SR0000019849                   Sony Music Entertainment
  3832   Teddy Pendergrass                                    I Just Called to Say                               SR0000019849                   Sony Music Entertainment
  3833   Teddy Pendergrass                                    If You Know Like I Know                            SR0000009608                   Sony Music Entertainment
  3834   Teddy Pendergrass                                    I'll Never See Heaven Again                        SR0000012942                   Sony Music Entertainment
  3835   Teddy Pendergrass                                    Is It Still Good To Ya?                            SR0000019849                   Sony Music Entertainment
  3836   Teddy Pendergrass                                    It Don't Hurt Now                                  SR0000002510                   Sony Music Entertainment
  3837   Teddy Pendergrass                                    Let Me Love You                                    SR0000019849                   Sony Music Entertainment
  3838   Teddy Pendergrass                                    Life Is A Circle                                   SR0000012942                   Sony Music Entertainment
  3839   Teddy Pendergrass                                    Life Is A Song Worth Singing                       SR0000002510                   Sony Music Entertainment
  3840   Teddy Pendergrass                                    Set Me Free                                        SR0000012942                   Sony Music Entertainment
  3841   Teddy Pendergrass                                    Somebody Told Me                                   RE0000926587                   Sony Music Entertainment
  3842   Teddy Pendergrass                                    When Somebody Loves You Back                       SR0000002510                   Sony Music Entertainment
  3843   Teddy Pendergrass                                    You Can't Hide From Yourself                       RE0000926587                   Sony Music Entertainment
  3844   Teddy Pendergrass & Stephanie Mills                  Feel the Fire                                      SR0000019849                   Sony Music Entertainment
  3845   Teddy Pendergrass & Stephanie Mills                  Take Me In Your Arms Tonight                       SR0000019849                   Sony Music Entertainment
  3846   Teena Marie                                          Call Me (I Got Yo Number)                          SR0000090900                   Sony Music Entertainment
  3847   Teena Marie                                          Cassanova Brown                                    SR0000050515                   Sony Music Entertainment
  3848   Teena Marie                                          Dear Lover                                         SR0000050515                   Sony Music Entertainment
  3849   Teena Marie                                          Here's Looking At You                              SR0000134764                   Sony Music Entertainment
  3850   Teena Marie                                          If I Were a Bell                                   SR0000134764                   Sony Music Entertainment
  3851   Teena Marie                                          Lovergirl                                          SR0000061732                   Sony Music Entertainment
  3852   Teena Marie                                          My Dear Mr. Gaye                                   SR0000062234                   Sony Music Entertainment


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                                    Artist                                                 Track                         Registration Number                     Plaintiff
  3853   Teena Marie                                          Out On A Limb                                     SR0000062234                   Sony Music Entertainment
  3854   Teena Marie                                          Work It                                           SR0000090900                   Sony Music Entertainment
  3855   The Clash                                            Bankrobber                                        SR0000030054                   Sony Music Entertainment
  3856   The Clash                                            Brand New Cadillac                                SR0000016270                   Sony Music Entertainment
  3857   The Clash                                            Capital Radio One                                 SR0000030054                   Sony Music Entertainment
  3858   The Clash                                            Career Opportunities                              SR0000293426                   Sony Music Entertainment
  3859   The Clash                                            Cheat                                             SR0000030054                   Sony Music Entertainment
  3860   The Clash                                            Clampdown                                         SR0000016270                   Sony Music Entertainment
  3861   The Clash                                            Complete Control                                  SR0000293426                   Sony Music Entertainment
  3862   The Clash                                            Death Or Glory                                    SR0000016270                   Sony Music Entertainment
  3863   The Clash                                            English Civil War                                 SR0000006482                   Sony Music Entertainment
  3864   The Clash                                            Four Horsemen                                     SR0000016270                   Sony Music Entertainment
  3865   The Clash                                            Ghetto Defendant                                  SR0000034959                   Sony Music Entertainment
  3866   The Clash                                            Groovy Times                                      SR0000013444                   Sony Music Entertainment
  3867   The Clash                                            Hateful                                           SR0000016270                   Sony Music Entertainment
  3868   The Clash                                            I'm Not Down                                      SR0000016270                   Sony Music Entertainment
  3869   The Clash                                            Ivan Meets G.I. Joe                               SR0000024334                   Sony Music Entertainment
  3870   The Clash                                            Jimmy Jazz                                        SR0000016270                   Sony Music Entertainment
  3871   The Clash                                            Julie's Been Working for the Drug Squad           SR0000006482                   Sony Music Entertainment
  3872   The Clash                                            Koka Kola                                         SR0000016270                   Sony Music Entertainment
  3873   The Clash                                            London Calling                                    SR0000016270                   Sony Music Entertainment
  3874   The Clash                                            Lost In The Supermarket                           SR0000016270                   Sony Music Entertainment
  3875   The Clash                                            Lover's Rock                                      SR0000016270                   Sony Music Entertainment
  3876   The Clash                                            Police on my Back                                 SR0000024334                   Sony Music Entertainment
  3877   The Clash                                            Revolution Rock                                   SR0000016270                   Sony Music Entertainment
  3878   The Clash                                            Rock the Casbah                                   SR0000034959                   Sony Music Entertainment
  3879   The Clash                                            Rudie Can't Fail                                  SR0000016270                   Sony Music Entertainment
  3880   The Clash                                            Safe European Home                                SR0000006482                   Sony Music Entertainment
  3881   The Clash                                            Somebody Got Murdered                             SR0000024334                   Sony Music Entertainment
  3882   The Clash                                            Spanish Bombs                                     SR0000016270                   Sony Music Entertainment
  3883   The Clash                                            Stay Free                                         SR0000006482                   Sony Music Entertainment
  3884   The Clash                                            Stop The World                                    SR0000760747                   Sony Music Entertainment
  3885   The Clash                                            Straight to Hell                                  SR0000034959                   Sony Music Entertainment
  3886   The Clash                                            The Card Cheat                                    SR0000016270                   Sony Music Entertainment
  3887   The Clash                                            The Guns Of Brixton                               SR0000016270                   Sony Music Entertainment
  3888   The Clash                                            The Magnificent Seven                             SR0000031262                   Sony Music Entertainment
  3889   The Clash                                            The Right Profile                                 SR0000016270                   Sony Music Entertainment
  3890   The Clash                                            The Street Parade                                 SR0000024334                   Sony Music Entertainment
  3891   The Clash                                            This Is England                                   SR0000070039                   Sony Music Entertainment
  3892   The Clash                                            This Is Radio Clash                               SR0000033898                   Sony Music Entertainment
  3893   The Clash                                            Tommy Gun                                         SR0000006482                   Sony Music Entertainment
  3894   The Clash                                            Train In Vain                                     SR0000293426                   Sony Music Entertainment
  3895   The Clash                                            Wrong 'Em Boyo                                    SR0000016270                   Sony Music Entertainment
  3896   The Fabulous Thunderbirds                            Look at That, Look at That                        SR0000076616                   Sony Music Entertainment
  3897   The Fabulous Thunderbirds                            Two Time My Lovin                                 SR0000076616                   Sony Music Entertainment
  3898   The Fabulous Thunderbirds                            Why Get Up                                        SR0000076616                   Sony Music Entertainment
  3899   The Fabulous Thunderbirds                            Wrap It Up                                        SR0000076616                   Sony Music Entertainment
  3900   The Fugees                                           Cowboys                                           SR0000222005                   Sony Music Entertainment
  3901   The Fugees                                           Family Business                                   SR0000222005                   Sony Music Entertainment
  3902   The Fugees                                           Killing Me Softly With His Song                   SR0000222005                   Sony Music Entertainment
  3903   The Fugees                                           The Beast                                         SR0000222005                   Sony Music Entertainment
  3904   The Neighbourhood                                    Sweater Weather                                   SR0000728982                   Sony Music Entertainment
  3905   The Staple Singers                                   Slippery People                                   SR0000061705                   Sony Music Entertainment
  3906   Three 6 Mafia                                        Stay Fly                                          PA0001305910                   Sony Music Entertainment
  3907   Three Days Grace                                     Animal I Have Become                              SR0000719115                   Sony Music Entertainment
  3908   Three Days Grace                                     Bitter Taste                                      SR0000641798                   Sony Music Entertainment
  3909   Three Days Grace                                     Break                                             SR0000641798                   Sony Music Entertainment
  3910   Three Days Grace                                     Goin' Down                                        SR0000641798                   Sony Music Entertainment
  3911   Three Days Grace                                     Last To Know                                      SR0000641798                   Sony Music Entertainment
  3912   Three Days Grace                                     Life Starts Now                                   SR0000641798                   Sony Music Entertainment
  3913   Three Days Grace                                     Lost In You                                       SR0000641798                   Sony Music Entertainment
  3914   Three Days Grace                                     No More                                           SR0000641798                   Sony Music Entertainment
  3915   Three Days Grace                                     Someone Who Cares                                 SR0000641798                   Sony Music Entertainment
  3916   Three Days Grace                                     The Good Life                                     SR0000641798                   Sony Music Entertainment
  3917   Three Days Grace                                     Without You                                       SR0000641798                   Sony Music Entertainment
  3918   Three Days Grace                                     World So Cold                                     SR0000641798                   Sony Music Entertainment
  3919   Tinashe feat. ScHoolboy Q                            2 On                                              SR0000763606                   Sony Music Entertainment
  3920   Tony Bennett & Amy Winehouse                         Body And Soul                                     SR0000701447                   Sony Music Entertainment
  3921   Tony Terry                                           With You                                          SR0000127422                   Sony Music Entertainment
  3922   T-Pain feat. B.o.B                                   Up Down (Do This All Day)                         SR0000766922                   Sony Music Entertainment
  3923   Train                                                50 Ways To Say Goodbye                            SR0000700152                   Sony Music Entertainment
  3924   Train                                                Drive By                                          SR0000700152                   Sony Music Entertainment
  3925   Tyler Farr                                           Ain't Even Drinkin'                               SR0000735228                   Sony Music Entertainment
  3926   Tyler Farr                                           Cowgirl                                           SR0000735228                   Sony Music Entertainment
  3927   Tyler Farr                                           Dirty                                             SR0000735228                   Sony Music Entertainment
  3928   Tyler Farr                                           Hello Goodbye                                     SR0000729158                   Sony Music Entertainment
  3929   Tyler Farr                                           Living With the Blues                             SR0000735228                   Sony Music Entertainment
  3930   Tyler Farr                                           Makes You Wanna Drink                             SR0000729124                   Sony Music Entertainment
  3931   Tyler Farr                                           Redneck Crazy                                     SR0000729105                   Sony Music Entertainment
  3932   Tyler Farr                                           Whiskey in My Water                               SR0000735228                   Sony Music Entertainment
  3933   Tyler Farr                                           Wish I Had a Boat                                 SR0000735228                   Sony Music Entertainment
  3934   Tyler Farr feat. Colt Ford                           Chicks, Trucks, and Beer                          SR0000735228                   Sony Music Entertainment
  3935   Usher                                                2nd Round                                         SR0000731104                   Sony Music Entertainment
  3936   Usher                                                Can't Stop Won't Stop                             SR0000731104                   Sony Music Entertainment
  3937   Usher                                                Climax                                            SR0000731104                   Sony Music Entertainment
  3938   Usher                                                Dive                                              SR0000731104                   Sony Music Entertainment


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                                   Artist                                                  Track                               Registration Number                     Plaintiff
  3939   Usher                                                Euphoria                                                SR0000731104                   Sony Music Entertainment
  3940   Usher                                                Good Kisser                                             SR0000773759                   Sony Music Entertainment
  3941   Usher                                                Hey Daddy (Daddy's Home)                                SR0000652023                   Sony Music Entertainment
  3942   Usher                                                I Care For U                                            SR0000731104                   Sony Music Entertainment
  3943   Usher                                                I.F.U.                                                  SR0000731104                   Sony Music Entertainment
  3944   Usher                                                Lemme See                                               SR0000731104                   Sony Music Entertainment
  3945   Usher                                                Lessons For The Lover                                   SR0000731104                   Sony Music Entertainment
  3946   Usher                                                Love In This Club                                       SR0000742199                   Sony Music Entertainment
  3947   Usher                                                More                                                    SR0000652023                   Sony Music Entertainment
  3948   Usher                                                Numb                                                    SR0000731104                   Sony Music Entertainment
  3949   Usher                                                Papers                                                  SR0000652023                   Sony Music Entertainment
  3950   Usher                                                Say The Words                                           SR0000731104                   Sony Music Entertainment
  3951   Usher                                                Scream                                                  SR0000731104                   Sony Music Entertainment
  3952   Usher                                                Show Me                                                 SR0000731104                   Sony Music Entertainment
  3953   Usher                                                Sins Of My Father                                       SR0000731104                   Sony Music Entertainment
  3954   Usher                                                There Goes My Baby                                      SR0000652023                   Sony Music Entertainment
  3955   Usher                                                What Happened To U                                      SR0000731104                   Sony Music Entertainment
  3956   Usher feat. A$AP Rocky                               Hot Thing                                               SR0000731104                   Sony Music Entertainment
  3957   Usher feat. Luke Steele                              Looking 4 Myself                                        SR0000731104                   Sony Music Entertainment
  3958   Usher feat. Nicki Minaj                              Lil Freak                                               SR0000652023                   Sony Music Entertainment
  3959   Usher feat. T.I.                                     Guilty                                                  SR0000652023                   Sony Music Entertainment
  3960   Usher feat. will.i.am                                OMG                                                     PA0001700214                   Sony Music Entertainment
  3961   Walk The Moon                                        Anna Sun                                                SR0000709118                   Sony Music Entertainment
  3962   WALK THE MOON                                        Next In Line                                            SR0000709118                   Sony Music Entertainment
  3963   WALK THE MOON                                        Tightrope                                               SR0000709118                   Sony Music Entertainment
  3964   Warrant                                              32 Pennies                                              SR0000103108                   Sony Music Entertainment
  3965   Warrant                                              Bed Of Roses                                            SR0000122785                   Sony Music Entertainment
  3966   Warrant                                              Big Talk                                                SR0000103108                   Sony Music Entertainment
  3967   Warrant                                              Cherry Pie                                              SR0000122785                   Sony Music Entertainment
  3968   Warrant                                              D.R.F.S.R.                                              SR0000103108                   Sony Music Entertainment
  3969   Warrant                                              Down Boys                                               SR0000103108                   Sony Music Entertainment
  3970   Warrant                                              Heaven                                                  SR0000103108                   Sony Music Entertainment
  3971   Warrant                                              I Saw Red                                               SR0000122785                   Sony Music Entertainment
  3972   Warrant                                              Mr. Rainmaker                                           SR0000122785                   Sony Music Entertainment
  3973   Warrant                                              Sometimes She Cries                                     SR0000103108                   Sony Music Entertainment
  3974   Warrant                                              Sure Feels Good to Me                                   SR0000122785                   Sony Music Entertainment
  3975   Warrant                                              The Hole In My Wall                                     SR0000146976                   Sony Music Entertainment
  3976   Warrant                                              Train, Train                                            SR0000122785                   Sony Music Entertainment
  3977   Warrant                                              Uncle Tom's Cabin                                       SR0000122785                   Sony Music Entertainment
  3978   Weird Al Yankovic                                    (This Song's Just) Six Words Long                       SR0000088931                   Sony Music Entertainment
  3979   Weird Al Yankovic                                    Alimony                                                 SR0000088931                   Sony Music Entertainment
  3980   Weird Al Yankovic                                    Another One Rides The Bus                               SR0000046144                   Sony Music Entertainment
  3981   Weird Al Yankovic                                    Attack Of The Radioactive Hamsters From A Planet Near   SR0000108100                   Sony Music Entertainment
                                                              Mars
  3982   Weird Al Yankovic                                    Buckingham Blues                                        SR0000046320                   Sony Music Entertainment
  3983   Weird Al Yankovic                                    Buy Me A Condo                                          SR0000054056                   Sony Music Entertainment
  3984   Weird Al Yankovic                                    Cable TV                                                SR0000068020                   Sony Music Entertainment
  3985   Weird Al Yankovic                                    Christmas At Ground Zero                                SR0000078099                   Sony Music Entertainment
  3986   Weird Al Yankovic                                    Dare To Be Stupid                                       SR0000068020                   Sony Music Entertainment
  3987   Weird Al Yankovic                                    Dog Eat Dog                                             SR0000078099                   Sony Music Entertainment
  3988   Weird Al Yankovic                                    Eat It                                                  SR0000054439                   Sony Music Entertainment
  3989   Weird Al Yankovic                                    Fat                                                     SR0000088931                   Sony Music Entertainment
  3990   Weird Al Yankovic                                    Fun Zone                                                SR0000108100                   Sony Music Entertainment
  3991   Weird Al Yankovic                                    Gandhi II                                               SR0000108100                   Sony Music Entertainment
  3992   Weird Al Yankovic                                    Generic Blues                                           SR0000108100                   Sony Music Entertainment
  3993   Weird Al Yankovic                                    George Of The Jungle                                    SR0000068020                   Sony Music Entertainment
  3994   Weird Al Yankovic                                    Girls Just Want To Have Lunch                           SR0000068020                   Sony Music Entertainment
  3995   Weird Al Yankovic                                    Good Enough For Now                                     SR0000078099                   Sony Music Entertainment
  3996   Weird Al Yankovic                                    Good Old Days                                           SR0000088931                   Sony Music Entertainment
  3997   Weird Al Yankovic                                    Gotta Boogie                                            SR0000046144                   Sony Music Entertainment
  3998   Weird Al Yankovic                                    Happy Birthday                                          SR0000046144                   Sony Music Entertainment
  3999   Weird Al Yankovic                                    Here's Johnny                                           SR0000078099                   Sony Music Entertainment
  4000   Weird Al Yankovic                                    Hooked On Polkas                                        SR0000068020                   Sony Music Entertainment
  4001   Weird Al Yankovic                                    I Lost On Jeopardy                                      SR0000054056                   Sony Music Entertainment
  4002   Weird Al Yankovic                                    I Love Rocky Road                                       SR0000046144                   Sony Music Entertainment
  4003   Weird Al Yankovic                                    I Want A New Duck                                       SR0000068020                   Sony Music Entertainment
  4004   Weird Al Yankovic                                    I'll Be Mellow When I'm Dead                            SR0000046144                   Sony Music Entertainment
  4005   Weird Al Yankovic                                    Isle Thing                                              SR0000108100                   Sony Music Entertainment
  4006   Weird Al Yankovic                                    King Of Suede                                           SR0000054056                   Sony Music Entertainment
  4007   Weird Al Yankovic                                    Lasagna                                                 SR0000088931                   Sony Music Entertainment
  4008   Weird Al Yankovic                                    Like A Surgeon                                          PA0000254936                   Sony Music Entertainment
  4009   Weird Al Yankovic                                    Melanie                                                 SR0000088931                   Sony Music Entertainment
  4010   Weird Al Yankovic                                    Midnight Star                                           SR0000054056                   Sony Music Entertainment
  4011   Weird Al Yankovic                                    Money for Nothing/Beverly Hillbillies                   SR0000108100                   Sony Music Entertainment
  4012   Weird Al Yankovic                                    Mr. Frump In The Iron Lung                              SR0000046144                   Sony Music Entertainment
  4013   Weird Al Yankovic                                    Mr. Popeil                                              SR0000054056                   Sony Music Entertainment
  4014   Weird Al Yankovic                                    Nature Trail To Hell                                    SR0000054056                   Sony Music Entertainment
  4015   Weird Al Yankovic                                    One More Minute                                         SR0000068020                   Sony Music Entertainment
  4016   Weird Al Yankovic                                    One Of Those Days                                       SR0000078099                   Sony Music Entertainment
  4017   Weird Al Yankovic                                    Polka Party                                             SR0000078099                   Sony Music Entertainment
  4018   Weird Al Yankovic                                    Polkas On 45                                            SR0000054056                   Sony Music Entertainment
  4019   Weird Al Yankovic                                    Ricky                                                   SR0000046320                   Sony Music Entertainment
  4020   Weird Al Yankovic                                    She Drives Like Crazy                                   SR0000108100                   Sony Music Entertainment
  4021   Weird Al Yankovic                                    Spam                                                    SR0000108100                   Sony Music Entertainment
  4022   Weird Al Yankovic                                    Spatula City                                            SR0000108100                   Sony Music Entertainment
  4023   Weird Al Yankovic                                    Stop Draggin' My Car Around                             SR0000046144                   Sony Music Entertainment


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                                   Artist                                                 Track                           Registration Number                       Plaintiff
  4024   Weird Al Yankovic                                    Such A Groovy Guy                                  SR0000046144                   Sony Music Entertainment
  4025   Weird Al Yankovic                                    That Boy Could Dance                               SR0000054439                   Sony Music Entertainment
  4026   Weird Al Yankovic                                    The Biggest Ball Of Twine In Minnesota             SR0000108100                   Sony Music Entertainment
  4027   Weird Al Yankovic                                    The Brady Bunch                                    SR0000054056                   Sony Music Entertainment
  4028   Weird Al Yankovic                                    The Check's In The Mail                            SR0000046144                   Sony Music Entertainment
  4029   Weird Al Yankovic                                    The Hot Rocks Polka                                SR0000108100                   Sony Music Entertainment
  4030   Weird Al Yankovic                                    Theme From Rocky XIII                              SR0000054056                   Sony Music Entertainment
  4031   Weird Al Yankovic                                    This Is The Life                                   SR0000068020                   Sony Music Entertainment
  4032   Weird Al Yankovic                                    Toothless People                                   SR0000078099                   Sony Music Entertainment
  4033   Weird Al Yankovic                                    Twister                                            SR0000088931                   Sony Music Entertainment
  4034   Weird Al Yankovic                                    Uhf                                                SR0000108100                   Sony Music Entertainment
  4035   Weird Al Yankovic                                    Velvet Elvis                                       SR0000088931                   Sony Music Entertainment
  4036   Weird Al Yankovic                                    Yoda                                               SR0000068020                   Sony Music Entertainment
  4037   Weird Al Yankovic                                    You Make Me                                        SR0000088931                   Sony Music Entertainment
  4038   Wham                                                 Careless Whisper                                   SR0000068616                   Sony Music Entertainment
  4039   Whitney Houston                                      A Song For You                                     SR0000644885                   Sony Music Entertainment
  4040   Whitney Houston                                      Call You Tonight                                   SR0000644885                   Sony Music Entertainment
  4041   Whitney Houston                                      For The Lovers                                     SR0000644885                   Sony Music Entertainment
  4042   Whitney Houston                                      I Didn't Know My Own Strength                      SR0000644885                   Sony Music Entertainment
  4043   Whitney Houston                                      I Got You                                          SR0000644885                   Sony Music Entertainment
  4044   Whitney Houston                                      I Look To You                                      SR0000644885                   Sony Music Entertainment
  4045   Whitney Houston                                      Million Dollar Bill                                SR0000644885                   Sony Music Entertainment
  4046   Whitney Houston                                      Nothin' But Love                                   SR0000644885                   Sony Music Entertainment
  4047   Whitney Houston                                      Salute                                             SR0000644885                   Sony Music Entertainment
  4048   Whitney Houston                                      Worth It                                           SR0000644885                   Sony Music Entertainment
  4049   Whitney Houston feat. Akon                           Like I Never Left                                  SR0000644885                   Sony Music Entertainment
  4050   Willie Nelson                                        Always On My Mind                                  SR0000034836                   Sony Music Entertainment
  4051   Willie Nelson                                        Angel Flying Too Close To The Ground               SR0000033917                   Sony Music Entertainment
  4052   Willie Nelson                                        City Of New Orleans                                SR0000055605                   Sony Music Entertainment
  4053   Willie Nelson                                        Forgiving You Was Easy                             SR0000064588                   Sony Music Entertainment
  4054   Willie Nelson                                        Good Hearted Woman                                 SR0000004979                   Sony Music Entertainment
  4055   Willie Nelson                                        Graceland                                          SR0000153066                   Sony Music Entertainment
  4056   Willie Nelson                                        Last Thing I Needed First Thing This Morning       SR0000034842                   Sony Music Entertainment
  4057   Willie Nelson                                        My Heroes Have Always Been Cowboys                 SR0000015871                   Sony Music Entertainment
  4058   Willie Nelson                                        On The Road Again                                  PA0000084966; SR0000034019     Sony Music Entertainment
  4059   Willie Nelson with Ray Price                         Faded Love                                         SR0000019676                   Sony Music Entertainment
  4060   Marc Anthony                                         A Quién Quiero Mentirle                            SR0000654928                   Sony Music Entertainment US Latin
  4061   Marc Anthony                                         Aguanile                                           SR0000615507                   Sony Music Entertainment US Latin
  4062   Marc Anthony                                         Amada Amante                                       SR0000654928                   Sony Music Entertainment US Latin
  4063   Marc Anthony                                         Che Che Colé                                       SR0000615507                   Sony Music Entertainment US Latin
  4064   Marc Anthony                                         El Cantante                                        SR0000615507                   Sony Music Entertainment US Latin
  4065   Marc Anthony                                         El Día de Mi Suerte                                SR0000615507                   Sony Music Entertainment US Latin
  4066   Marc Anthony                                         Escandalo                                          SR0000615507                   Sony Music Entertainment US Latin
  4067   Marc Anthony                                         Qué Lío                                            SR0000615507                   Sony Music Entertainment US Latin
  4068   Marc Anthony                                         Quítate Tú Pa' Ponerme Yo                          SR0000615507                   Sony Music Entertainment US Latin
  4069   Marc Anthony                                         Te Lo Pido Por Favor                               SR0000654928                   Sony Music Entertainment US Latin
  4070   Marc Anthony                                         Todo Tiene Su Final                                SR0000615507                   Sony Music Entertainment US Latin
  4071   Marc Anthony                                         Y Cómo Es Él                                       SR0000654928                   Sony Music Entertainment US Latin
  4072   Shakira                                              La Tortura                                         SR0000711081                   Sony Music Entertainment US Latin
  4073   Slipknot                                             (515)                                              SR0000330440                   The All Blacks U.S.A., Inc.
  4074   Slipknot                                             742617000027                                       SR0000301094                   The All Blacks U.S.A., Inc.
  4075   Slipknot                                             (sic)                                              SR0000301094                   The All Blacks U.S.A., Inc.
  4076   Slipknot                                             .execute.                                          SR0000656810                   The All Blacks U.S.A., Inc.
  4077   Slipknot                                             All Hope Is Gone                                   SR0000656810                   The All Blacks U.S.A., Inc.
  4078   Slipknot                                             Before I Forget                                    SR0000358238                   The All Blacks U.S.A., Inc.
  4079   Slipknot                                             Butcher's Hook                                     SR0000656810                   The All Blacks U.S.A., Inc.
  4080   Slipknot                                             Child Of Burning Time                              SR0000656810                   The All Blacks U.S.A., Inc.
  4081   Slipknot                                             Dead Memories                                      SR0000656810                   The All Blacks U.S.A., Inc.
  4082   Slipknot                                             Disasterpiece                                      SR0000330440                   The All Blacks U.S.A., Inc.
  4083   Slipknot                                             Duality                                            SR0000358238                   The All Blacks U.S.A., Inc.
  4084   Slipknot                                             Everything Ends                                    SR0000330440                   The All Blacks U.S.A., Inc.
  4085   Slipknot                                             Eyeless                                            SR0000301094                   The All Blacks U.S.A., Inc.
  4086   Slipknot                                             Gehenna                                            SR0000656810                   The All Blacks U.S.A., Inc.
  4087   Slipknot                                             Gematria (The Killing Name)                        SR0000656810                   The All Blacks U.S.A., Inc.
  4088   Slipknot                                             Iowa (Live Version)                                SR0000390797                   The All Blacks U.S.A., Inc.
  4089   Slipknot                                             Left Behind                                        SR0000330440                   The All Blacks U.S.A., Inc.
  4090   Slipknot                                             My Plague                                          SR0000330440                   The All Blacks U.S.A., Inc.
  4091   Slipknot                                             People = Shit                                      SR0000330440                   The All Blacks U.S.A., Inc.
  4092   Slipknot                                             Prelude 3.0                                        SR0000358238                   The All Blacks U.S.A., Inc.
  4093   Slipknot                                             Psychosocial                                       SR0000656810                   The All Blacks U.S.A., Inc.
  4094   Slipknot                                             Snuff                                              SR0000656810                   The All Blacks U.S.A., Inc.
  4095   Slipknot                                             Spit It Out                                        SR0000301094                   The All Blacks U.S.A., Inc.
  4096   Slipknot                                             Sulfur                                             SR0000656810                   The All Blacks U.S.A., Inc.
  4097   Slipknot                                             Surfacing                                          SR0000301094                   The All Blacks U.S.A., Inc.
  4098   Slipknot                                             The Blister Exists                                 SR0000358238                   The All Blacks U.S.A., Inc.
  4099   Slipknot                                             The Heretic Anthem                                 SR0000330440                   The All Blacks U.S.A., Inc.
  4100   Slipknot                                             The Nameless                                       SR0000358238                   The All Blacks U.S.A., Inc.
  4101   Slipknot                                             This Cold Black                                    SR0000656810                   The All Blacks U.S.A., Inc.
  4102   Slipknot                                             Til We Die                                         SR0000656810                   The All Blacks U.S.A., Inc.
  4103   Slipknot                                             Vendetta                                           SR0000656810                   The All Blacks U.S.A., Inc.
  4104   Slipknot                                             Vermilion                                          SR0000358238                   The All Blacks U.S.A., Inc.
  4105   Slipknot                                             Vermilion Pt. 2                                    SR0000358238                   The All Blacks U.S.A., Inc.
  4106   Slipknot                                             Vermilion Pt. 2 (Bloodstone Mix)                   SR0000656810                   The All Blacks U.S.A., Inc.
  4107   Slipknot                                             Wait And Bleed                                     SR0000301094                   The All Blacks U.S.A., Inc.
  4108   Slipknot                                             Wherein Lies Continue                              SR0000656810                   The All Blacks U.S.A., Inc.
  4109   Fozzy                                                A Passed Life                                      SR0000726755                   The Century Family, Inc.


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                                   Artist                                                 Track                         Registration Number                     Plaintiff
  4110   Fozzy                                                Blood Happens                                    SR0000726755                   The Century Family, Inc.
  4111   Fozzy                                                Dark Passenger                                   SR0000726755                   The Century Family, Inc.
  4112   Fozzy                                                Inside My Head                                   SR0000726755                   The Century Family, Inc.
  4113   Fozzy                                                Sandpaper                                        SR0000726755                   The Century Family, Inc.
  4114   Fozzy                                                She's My Addiction                               SR0000726755                   The Century Family, Inc.
  4115   Fozzy                                                Shine Forever                                    SR0000726755                   The Century Family, Inc.
  4116   Fozzy                                                Sin and Bones                                    SR0000726755                   The Century Family, Inc.
  4117   Fozzy                                                Spider in My Mouth                               SR0000726755                   The Century Family, Inc.
  4118   Fozzy                                                Storm the Beaches                                SR0000726755                   The Century Family, Inc.
  4119   In This Moment                                       A Star-Crossed Wasteland                         SR0000669909                   The Century Family, Inc.
  4120   In This Moment                                       Blazin'                                          SR0000669909                   The Century Family, Inc.
  4121   In This Moment                                       Gunshow                                          SR0000669909                   The Century Family, Inc.
  4122   In This Moment                                       Iron Army                                        SR0000669909                   The Century Family, Inc.
  4123   In This Moment                                       Just Drive                                       SR0000669909                   The Century Family, Inc.
  4124   In This Moment                                       Standing Alone                                   SR0000669909                   The Century Family, Inc.
  4125   In This Moment                                       The Last Cowboy                                  SR0000669909                   The Century Family, Inc.
  4126   In This Moment                                       The Promise                                      SR0000669909                   The Century Family, Inc.
  4127   In This Moment                                       The Road                                         SR0000669909                   The Century Family, Inc.
  4128   In This Moment                                       Whispers Of October                              SR0000610825                   The Century Family, Inc.
  4129   In This Moment                                       World In Flames                                  SR0000669909                   The Century Family, Inc.
  4130   In This Moment                                       You Always Believed                              SR0000630468                   The Century Family, Inc.
  4131   iwrestledabearonce                                   Break It Down Camacho                            SR0000697986                   The Century Family, Inc.
  4132   iwrestledabearonce                                   Deodorant Can't Fix Ugly                         SR0000697986                   The Century Family, Inc.
  4133   iwrestledabearonce                                   Gold Jacket, Green Jacket                        SR0000697986                   The Century Family, Inc.
  4134   iwrestledabearonce                                   I'm Gonna Shoot                                  SR0000697986                   The Century Family, Inc.
  4135   iwrestledabearonce                                   It Is "Bro" Isn't It?                            SR0000697986                   The Century Family, Inc.
  4136   iwrestledabearonce                                   Karate Nipples                                   SR0000697986                   The Century Family, Inc.
  4137   iwrestledabearonce                                   Next Visible Delicious                           SR0000697986                   The Century Family, Inc.
  4138   iwrestledabearonce                                   Stay to the Right                                SR0000697986                   The Century Family, Inc.
  4139   iwrestledabearonce                                   This Head Music Makes My Eyes Rain               SR0000697986                   The Century Family, Inc.
  4140   iwrestledabearonce                                   You Know That Ain't Them Dogs' Real Voice        SR0000697986                   The Century Family, Inc.
  4141   Otherwise                                            Crimson                                          SR0000704620                   The Century Family, Inc.
  4142   Otherwise                                            Die for You                                      SR0000704620                   The Century Family, Inc.
  4143   Otherwise                                            Don't Be Afraid                                  SR0000704620                   The Century Family, Inc.
  4144   Otherwise                                            Full Circle                                      SR0000704620                   The Century Family, Inc.
  4145   Otherwise                                            Heaven                                           SR0000704620                   The Century Family, Inc.
  4146   Otherwise                                            I                                                SR0000704620                   The Century Family, Inc.
  4147   Otherwise                                            I Don't Apologize (1000 Pictures)                SR0000704620                   The Century Family, Inc.
  4148   Otherwise                                            II                                               SR0000704620                   The Century Family, Inc.
  4149   Otherwise                                            III                                              SR0000704620                   The Century Family, Inc.
  4150   Otherwise                                            Lighthouse                                       SR0000704620                   The Century Family, Inc.
  4151   Otherwise                                            Scream Now                                       SR0000704620                   The Century Family, Inc.
  4152   Otherwise                                            Silence Reigns                                   SR0000704620                   The Century Family, Inc.
  4153   Otherwise                                            Soldiers                                         SR0000704620                   The Century Family, Inc.
  4154   Otherwise                                            Vegas Girl                                       SR0000704620                   The Century Family, Inc.
  4155   Suicide Silence                                      Bludgeoned to Death                              SR0000623967                   The Century Family, Inc.
  4156   Suicide Silence                                      Cancerous Skies                                  SR0000697040                   The Century Family, Inc.
  4157   Suicide Silence                                      Cross-Eyed Catastrophe                           SR0000697040                   The Century Family, Inc.
  4158   Suicide Silence                                      Destruction of a Statue                          SR0000623967                   The Century Family, Inc.
  4159   Suicide Silence                                      Disengage                                        SR0000643826                   The Century Family, Inc.
  4160   Suicide Silence                                      Eyes Sewn Shut                                   SR0000623967                   The Century Family, Inc.
  4161   Suicide Silence                                      Fuck Everything                                  SR0000697040                   The Century Family, Inc.
  4162   Suicide Silence                                      Genocide                                         SR0000643826                   The Century Family, Inc.
  4163   Suicide Silence                                      Girl of Glass                                    SR0000623967                   The Century Family, Inc.
  4164   Suicide Silence                                      Green Monster                                    SR0000623967                   The Century Family, Inc.
  4165   Suicide Silence                                      Hands of a Killer                                SR0000623967                   The Century Family, Inc.
  4166   Suicide Silence                                      Human Violence                                   SR0000697040                   The Century Family, Inc.
  4167   Suicide Silence                                      In a Photograph                                  SR0000623967                   The Century Family, Inc.
  4168   Suicide Silence                                      March To The Black Crown                         SR0000697040                   The Century Family, Inc.
  4169   Suicide Silence                                      No Pity For a Coward                             SR0000623967                   The Century Family, Inc.
  4170   Suicide Silence                                      No Time To Bleed                                 SR0000643826                   The Century Family, Inc.
  4171   Suicide Silence                                      O.C.D.                                           SR0000697040                   The Century Family, Inc.
  4172   Suicide Silence                                      Slaves to Substance                              SR0000697040                   The Century Family, Inc.
  4173   Suicide Silence                                      Smashed                                          SR0000697040                   The Century Family, Inc.
  4174   Suicide Silence                                      The Disease                                      SR0000623967                   The Century Family, Inc.
  4175   Suicide Silence                                      The Fallen                                       SR0000623967                   The Century Family, Inc.
  4176   Suicide Silence                                      The Only Thing That Sets Us Apart                SR0000697040                   The Century Family, Inc.
  4177   Suicide Silence                                      The Price of Beauty                              SR0000623967                   The Century Family, Inc.
  4178   Suicide Silence                                      Unanswered                                       SR0000623967                   The Century Family, Inc.
  4179   Suicide Silence                                      Witness the Addiction                            SR0000697040                   The Century Family, Inc.
  4180   Suicide Silence                                      You Only Live Once                               SR0000697040                   The Century Family, Inc.
  4181   In This Moment                                       All For You                                      SR0000630468                   The Century Family, Inc.
  4182   In This Moment                                       Ashes                                            SR0000610825                   The Century Family, Inc.
  4183   In This Moment                                       Beautiful Tragedy                                SR0000610825                   The Century Family, Inc.
  4184   In This Moment                                       Circles                                          SR0000610825                   The Century Family, Inc.
  4185   In This Moment                                       Forever                                          SR0000630468                   The Century Family, Inc.
  4186   In This Moment                                       He Said Eternity                                 SR0000610825                   The Century Family, Inc.
  4187   In This Moment                                       Her Kiss                                         SR0000630468                   The Century Family, Inc.
  4188   In This Moment                                       Into The Light                                   SR0000630468                   The Century Family, Inc.
  4189   In This Moment                                       Legacy of Odio                                   SR0000610825                   The Century Family, Inc.
  4190   In This Moment                                       Lost At Sea                                      SR0000630468                   The Century Family, Inc.
  4191   In This Moment                                       Mechanical Love                                  SR0000630468                   The Century Family, Inc.
  4192   In This Moment                                       Next Life                                        SR0000610825                   The Century Family, Inc.
  4193   In This Moment                                       Prayers                                          SR0000610829                   The Century Family, Inc.
  4194   In This Moment                                       The Dream                                        SR0000630468                   The Century Family, Inc.
  4195   In This Moment                                       The Great Divide                                 SR0000630468                   The Century Family, Inc.


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                                   Artist                                                Track                            Registration Number                     Plaintiff
  4196   In This Moment                                       The Rabbit Hole                                    SR0000630468                   The Century Family, Inc.
  4197   In This Moment                                       This Moment                                        SR0000610825                   The Century Family, Inc.
  4198   In This Moment                                       Violet Skies                                       SR0000630468                   The Century Family, Inc.
  4199   In This Moment                                       When the Storm Subsides                            SR0000610825                   The Century Family, Inc.
  4200   2 Chainz                                             Feds Watching                                      SR0000724645                   UMG Recordings, Inc.
  4201   2 Chainz                                             Ghetto Dreams                                      SR0000706415                   UMG Recordings, Inc.
  4202   2 Chainz                                             No Lie                                             SR0000700831                   UMG Recordings, Inc.
  4203   2 Chainz                                             Wut We Doin?                                       SR0000706415                   UMG Recordings, Inc.
  4204   2Pac                                                 2 Of Amerikaz Most Wanted                          SR0000331786                   UMG Recordings, Inc.
  4205   2Pac                                                 Brenda's Got A Baby                                SR0000172261                   UMG Recordings, Inc.
  4206   2Pac                                                 California Love                                    SR0000331786                   UMG Recordings, Inc.
  4207   2Pac                                                 Can U Get Away                                     SR0000198774                   UMG Recordings, Inc.
  4208   2Pac                                                 Changes                                            SR0000246223                   UMG Recordings, Inc.
  4209   2Pac                                                 Dear Mama                                          SR0000198941                   UMG Recordings, Inc.
  4210   2Pac                                                 Death Around The Corner                            SR0000198774                   UMG Recordings, Inc.
  4211   2Pac                                                 Definition Of A Thug N***a                         SR0000260354                   UMG Recordings, Inc.
  4212   2Pac                                                 Dopefiend's Diner                                  SR0000627960                   UMG Recordings, Inc.
  4213   2Pac                                                 Fuck The World                                     SR0000198774                   UMG Recordings, Inc.
  4214   2Pac                                                 Ghetto Gospel                                      SR0000366107                   UMG Recordings, Inc.
  4215   2Pac                                                 Hail Mary                                          SR0000230629                   UMG Recordings, Inc.
  4216   2Pac                                                 Heavy In The Game                                  SR0000198774                   UMG Recordings, Inc.
  4217   2Pac                                                 How Do U Want It                                   SR0000331786                   UMG Recordings, Inc.
  4218   2Pac                                                 I Ain't Mad At Cha                                 SR0000331786                   UMG Recordings, Inc.
  4219   2Pac                                                 If I Die 2Nite                                     SR0000198774                   UMG Recordings, Inc.
  4220   2Pac                                                 It Ain't Easy                                      SR0000198774                   UMG Recordings, Inc.
  4221   2Pac                                                 Keep Ya Head Up                                    SR0000152641                   UMG Recordings, Inc.
  4222   2Pac                                                 Lord Knows                                         SR0000198774                   UMG Recordings, Inc.
  4223   2Pac                                                 Me Against The World                               SR0000198774                   UMG Recordings, Inc.
  4224   2Pac                                                 Never Call U B**** Again                           SR0000323532                   UMG Recordings, Inc.
  4225   2Pac                                                 Old School                                         SR0000198774                   UMG Recordings, Inc.
  4226   2Pac                                                 Resist The Temptation                              SR0000628434                   UMG Recordings, Inc.
  4227   2Pac                                                 So Many Tears                                      SR0000198774                   UMG Recordings, Inc.
  4228   2Pac                                                 Still Ballin'                                      SR0000323532                   UMG Recordings, Inc.
  4229   2Pac                                                 Temptations                                        SR0000198774                   UMG Recordings, Inc.
  4230   2Pac                                                 They Don't Give A F**** About Us                   SR0000323532                   UMG Recordings, Inc.
  4231   2Pac                                                 Thugz Mansion                                      SR0000323532                   UMG Recordings, Inc.
  4232   2Pac                                                 Trapped                                            SR0000172261                   UMG Recordings, Inc.
  4233   2Pac                                                 Unconditional Love                                 SR0000246223                   UMG Recordings, Inc.
  4234   2Pac                                                 Until The End Of Time                              SR0000295873                   UMG Recordings, Inc.
  4235   2Pac                                                 When I Get Free                                    SR0000260354                   UMG Recordings, Inc.
  4236   2Pac                                                 Young Niggaz                                       SR0000198774                   UMG Recordings, Inc.
  4237   50 Cent                                              21 Questions (Explicit)                            SR0000332595                   UMG Recordings, Inc.
  4238   50 Cent                                              8 More Miles                                       SR0000338743                   UMG Recordings, Inc.
  4239   50 Cent                                              A Baltimore Love Thing                             SR0000366051                   UMG Recordings, Inc.
  4240   50 Cent                                              All Of Me                                          SR0000611234                   UMG Recordings, Inc.
  4241   50 Cent                                              Amusement Park                                     SR0000611234                   UMG Recordings, Inc.
  4242   50 Cent                                              Back Down                                          SR0000337801                   UMG Recordings, Inc.
  4243   50 Cent                                              Blood Hound                                        SR0000337801                   UMG Recordings, Inc.
  4244   50 Cent                                              Build You Up                                       SR0000366051                   UMG Recordings, Inc.
  4245   50 Cent                                              Candy Shop                                         SR0000366051                   UMG Recordings, Inc.
  4246   50 Cent                                              Come & Go                                          SR0000611234                   UMG Recordings, Inc.
  4247   50 Cent                                              Curtis 187                                         SR0000611234                   UMG Recordings, Inc.
  4248   50 Cent                                              Disco Inferno                                      SR0000366950                   UMG Recordings, Inc.
  4249   50 Cent                                              Don't Push Me                                      SR0000337801                   UMG Recordings, Inc.
  4250   50 Cent                                              Fire                                               SR0000611234                   UMG Recordings, Inc.
  4251   50 Cent                                              Follow My Lead                                     SR0000611234                   UMG Recordings, Inc.
  4252   50 Cent                                              Fully Loaded Clip                                  SR0000611234                   UMG Recordings, Inc.
  4253   50 Cent                                              GATman And Robbin                                  SR0000366051                   UMG Recordings, Inc.
  4254   50 Cent                                              Get In My Car                                      SR0000366051                   UMG Recordings, Inc.
  4255   50 Cent                                              God Gave Me Style                                  SR0000366051                   UMG Recordings, Inc.
  4256   50 Cent                                              Gotta Make It To Heaven                            SR0000337801                   UMG Recordings, Inc.
  4257   50 Cent                                              Gunz Come Out                                      SR0000366051                   UMG Recordings, Inc.
  4258   50 Cent                                              Hate It Or Love It                                 SR0000366051                   UMG Recordings, Inc.
  4259   50 Cent                                              Heat                                               SR0000337801                   UMG Recordings, Inc.
  4260   50 Cent                                              High All The Time                                  SR0000337801                   UMG Recordings, Inc.
  4261   50 Cent                                              Hustler's Ambition                                 SR0000382030                   UMG Recordings, Inc.
  4262   50 Cent                                              I Don't Need 'Em                                   SR0000366051                   UMG Recordings, Inc.
  4263   50 Cent                                              I Get Money                                        SR0000610389                   UMG Recordings, Inc.
  4264   50 Cent                                              If I Can't                                         SR0000337801                   UMG Recordings, Inc.
  4265   50 Cent                                              I'll Still Kill                                    SR0000611234                   UMG Recordings, Inc.
  4266   50 Cent                                              I'm Supposed To Die Tonight                        SR0000366051                   UMG Recordings, Inc.
  4267   50 Cent                                              In My Hood                                         SR0000366051                   UMG Recordings, Inc.
  4268   50 Cent                                              Intro                                              SR0000611234                   UMG Recordings, Inc.
  4269   50 Cent                                              Intro/ 50 Cent/ The Massacre                       SR0000366051                   UMG Recordings, Inc.
  4270   50 Cent                                              Just A Lil Bit                                     SR0000366051                   UMG Recordings, Inc.
  4271   50 Cent                                              Lifes On The Line                                  SR0000337801                   UMG Recordings, Inc.
  4272   50 Cent                                              Like My Style                                      SR0000337801                   UMG Recordings, Inc.
  4273   50 Cent                                              Man Down                                           SR0000611234                   UMG Recordings, Inc.
  4274   50 Cent                                              Many Men (Wish Death)                              SR0000337801                   UMG Recordings, Inc.
  4275   50 Cent                                              Movin On Up                                        SR0000611234                   UMG Recordings, Inc.
  4276   50 Cent                                              My Gun Go Off                                      SR0000611234                   UMG Recordings, Inc.
  4277   50 Cent                                              My Toy Soldier                                     SR0000366051                   UMG Recordings, Inc.
  4278   50 Cent                                              Outta Control                                      SR0000366051                   UMG Recordings, Inc.
  4279   50 Cent                                              P.I.M.P.                                           SR0000337801                   UMG Recordings, Inc.
  4280   50 Cent                                              Patiently Waiting                                  SR0000337801                   UMG Recordings, Inc.
  4281   50 Cent                                              Peep Show                                          SR0000611234                   UMG Recordings, Inc.


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                                   Artist                                                Track                              Registration Number                     Plaintiff
  4282   50 Cent                                              Piggy Bank                                           SR0000366051                   UMG Recordings, Inc.
  4283   50 Cent                                              Poor Lil Rich                                        SR0000337801                   UMG Recordings, Inc.
  4284   50 Cent                                              Position Of Power                                    SR0000366051                   UMG Recordings, Inc.
  4285   50 Cent                                              Ryder Music                                          SR0000366051                   UMG Recordings, Inc.
  4286   50 Cent                                              Ski Mask Way                                         SR0000366051                   UMG Recordings, Inc.
  4287   50 Cent                                              So Amazing                                           SR0000366051                   UMG Recordings, Inc.
  4288   50 Cent                                              Straight To The Bank                                 SR0000611234                   UMG Recordings, Inc.
  4289   50 Cent                                              This Is 50                                           SR0000366051                   UMG Recordings, Inc.
  4290   50 Cent                                              Touch The Sky                                        SR0000611234                   UMG Recordings, Inc.
  4291   50 Cent                                              U Not Like Me                                        SR0000337801                   UMG Recordings, Inc.
  4292   50 Cent                                              Wanksta                                              SR0000322706                   UMG Recordings, Inc.
  4293   50 Cent                                              What Up Gangsta                                      SR0000337801                   UMG Recordings, Inc.
  4294   A Perfect Circle                                     A Stranger                                           SR0000341312                   UMG Recordings, Inc.
  4295   A Perfect Circle                                     Crimes                                               SR0000341312                   UMG Recordings, Inc.
  4296   A Perfect Circle                                     Gravity                                              SR0000341312                   UMG Recordings, Inc.
  4297   A Perfect Circle                                     Lullaby                                              SR0000341312                   UMG Recordings, Inc.
  4298   A Perfect Circle                                     Pet                                                  SR0000341312                   UMG Recordings, Inc.
  4299   A Perfect Circle                                     The Noose                                            SR0000341312                   UMG Recordings, Inc.
  4300   A Perfect Circle                                     The Nurse Who Loved Me                               SR0000341312                   UMG Recordings, Inc.
  4301   A Perfect Circle                                     Vanishing                                            SR0000341312                   UMG Recordings, Inc.
  4302   A Perfect Circle                                     Weak And Powerless                                   SR0000341312                   UMG Recordings, Inc.
  4303   Ace Hood                                             Beautiful                                            SR0000681567                   UMG Recordings, Inc.
  4304   Ace Hood                                             Bitter World                                         SR0000681567                   UMG Recordings, Inc.
  4305   Ace Hood                                             Body 2 Body                                          SR0000681567                   UMG Recordings, Inc.
  4306   Ace Hood                                             ErrryThang                                           SR0000681567                   UMG Recordings, Inc.
  4307   Ace Hood                                             Go N' Get It                                         SR0000681573                   UMG Recordings, Inc.
  4308   Ace Hood                                             Hustle Hard                                          SR0000674482                   UMG Recordings, Inc.
  4309   Ace Hood                                             Hustle Hard Remix                                    SR0000681569                   UMG Recordings, Inc.
  4310   Ace Hood                                             I Know                                               SR0000681567                   UMG Recordings, Inc.
  4311   Ace Hood                                             King Of The Streets                                  SR0000681567                   UMG Recordings, Inc.
  4312   Ace Hood                                             Letter To My Ex's                                    SR0000681567                   UMG Recordings, Inc.
  4313   Ace Hood                                             Lord Knows                                           SR0000681567                   UMG Recordings, Inc.
  4314   Ace Hood                                             Memory Lane                                          SR0000681567                   UMG Recordings, Inc.
  4315   Ace Hood                                             Real Big                                             SR0000681567                   UMG Recordings, Inc.
  4316   Ace Hood                                             Spoke To My Momma                                    SR0000681567                   UMG Recordings, Inc.
  4317   Ace Hood                                             Tear Da Roof Off                                     SR0000681567                   UMG Recordings, Inc.
  4318   Ace Hood                                             Walk It Like I Talk It                               SR0000681567                   UMG Recordings, Inc.
  4319   Akon                                                 Blown Away                                           SR0000610156                   UMG Recordings, Inc.
  4320   Akon                                                 Gangsta Bop                                          SR0000610156                   UMG Recordings, Inc.
  4321   Akon                                                 I Can't Wait                                         SR0000610156                   UMG Recordings, Inc.
  4322   Akon                                                 Mama Africa                                          SR0000610156                   UMG Recordings, Inc.
  4323   Akon                                                 Never Took The Time                                  SR0000610156                   UMG Recordings, Inc.
  4324   Akon                                                 Once In A While                                      SR0000610156                   UMG Recordings, Inc.
  4325   Akon                                                 Shake Down                                           SR0000610156                   UMG Recordings, Inc.
  4326   Akon                                                 Smack That                                           SR0000411449                   UMG Recordings, Inc.
  4327   Akon                                                 The Rain                                             SR0000610156                   UMG Recordings, Inc.
  4328   Akon                                                 Tired Of Runnin'                                     SR0000610156                   UMG Recordings, Inc.
  4329   Alex Clare                                           Hands Are Clever                                     SR0000700527                   UMG Recordings, Inc.
  4330   Alex Clare                                           Humming Bird                                         SR0000700527                   UMG Recordings, Inc.
  4331   Alex Clare                                           I Love You                                           SR0000700527                   UMG Recordings, Inc.
  4332   Alex Clare                                           I Won't Let You Down                                 SR0000700527                   UMG Recordings, Inc.
  4333   Alex Clare                                           Relax My Beloved                                     SR0000700527                   UMG Recordings, Inc.
  4334   Alex Clare                                           Sanctuary                                            SR0000700527                   UMG Recordings, Inc.
  4335   Alex Clare                                           Treading Water                                       SR0000700527                   UMG Recordings, Inc.
  4336   Alex Clare                                           Up All Night                                         SR0000680301                   UMG Recordings, Inc.
  4337   Alex Clare                                           When Doves Cry                                       SR0000700527                   UMG Recordings, Inc.
  4338   Alex Clare                                           Whispering                                           SR0000700527                   UMG Recordings, Inc.
  4339   Amy Winehouse                                        (There Is) No Greater Love                           SR0000614121                   UMG Recordings, Inc.
  4340   Amy Winehouse                                        A Song For You                                       SR0000695755                   UMG Recordings, Inc.
  4341   Amy Winehouse                                        Amy Amy Amy                                          SR0000614121                   UMG Recordings, Inc.
  4342   Amy Winehouse                                        Best Friends, Right?                                 SR0000695755                   UMG Recordings, Inc.
  4343   Amy Winehouse                                        Between The Cheats                                   SR0000695755                   UMG Recordings, Inc.
  4344   Amy Winehouse                                        Cupid                                                SR0000636832                   UMG Recordings, Inc.
  4345   Amy Winehouse                                        Fuck Me Pumps                                        SR0000614121                   UMG Recordings, Inc.
  4346   Amy Winehouse                                        Half Time                                            SR0000695755                   UMG Recordings, Inc.
  4347   Amy Winehouse                                        Hey Little Rich Girl                                 SR0000636832                   UMG Recordings, Inc.
  4348   Amy Winehouse                                        I Heard Love Is Blind                                SR0000614121                   UMG Recordings, Inc.
  4349   Amy Winehouse                                        In My Bed                                            SR0000614121                   UMG Recordings, Inc.
  4350   Amy Winehouse                                        Intro / Stronger Than Me                             SR0000614121                   UMG Recordings, Inc.
  4351   Amy Winehouse                                        Know You Now                                         SR0000614121                   UMG Recordings, Inc.
  4352   Amy Winehouse                                        Like Smoke                                           SR0000695755                   UMG Recordings, Inc.
  4353   Amy Winehouse                                        Love Is A Losing Game                                SR0000407451                   UMG Recordings, Inc.
  4354   Amy Winehouse                                        Love Is A Losing Game (Demo)                         SR0000636832                   UMG Recordings, Inc.
  4355   Amy Winehouse                                        Me & Mr. Jones                                       SR0000407451                   UMG Recordings, Inc.
  4356   Amy Winehouse                                        Monkey Man                                           SR0000636832                   UMG Recordings, Inc.
  4357   Amy Winehouse                                        Moody's Mood For Love                                SR0000614121                   UMG Recordings, Inc.
  4358   Amy Winehouse                                        Mr Magic (Through The Smoke) (Janice Long Session)   SR0000614121                   UMG Recordings, Inc.
  4359   Amy Winehouse                                        October Song                                         SR0000614121                   UMG Recordings, Inc.
  4360   Amy Winehouse                                        Our Day Will Come                                    SR0000695755                   UMG Recordings, Inc.
  4361   Amy Winehouse                                        Rehab                                                SR0000410095                   UMG Recordings, Inc.
  4362   Amy Winehouse                                        Some Unholy War (Down Tempo)                         SR0000636832                   UMG Recordings, Inc.
  4363   Amy Winehouse                                        Stronger Than Me                                     SR0000614121                   UMG Recordings, Inc.
  4364   Amy Winehouse                                        Take The Box                                         SR0000614121                   UMG Recordings, Inc.
  4365   Amy Winehouse                                        Tears Dry                                            SR0000695755                   UMG Recordings, Inc.
  4366   Amy Winehouse                                        The Girl From Ipanema                                SR0000695755                   UMG Recordings, Inc.
  4367   Amy Winehouse                                        To Know Him Is To Love Him (Live)                    SR0000636832                   UMG Recordings, Inc.


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                                   Artist                                                Track                         Registration Number                     Plaintiff
  4368   Amy Winehouse                                        Valerie                                         SR0000636832                   UMG Recordings, Inc.
  4369   Amy Winehouse                                        What Is It About Men                            SR0000614121                   UMG Recordings, Inc.
  4370   Amy Winehouse                                        Will You Still Love Me Tomorrow?                SR0000695755                   UMG Recordings, Inc.
  4371   Amy Winehouse                                        You Know I'm No Good                            SR0000407451                   UMG Recordings, Inc.
  4372   Amy Winehouse                                        You Sent Me Flying                              SR0000614121                   UMG Recordings, Inc.
  4373   Amy Winehouse                                        You're Wondering Now                            SR0000636832                   UMG Recordings, Inc.
  4374   Ariana Grande                                        The Way                                         SR0000722427                   UMG Recordings, Inc.
  4375   Avant                                                4 Minutes                                       SR0000379553                   UMG Recordings, Inc.
  4376   Avant                                                AV                                              SR0000339561                   UMG Recordings, Inc.
  4377   Avant                                                Call On Me                                      SR0000308368                   UMG Recordings, Inc.
  4378   Avant                                                Destiny                                         SR0000281220                   UMG Recordings, Inc.
  4379   Avant                                                Director                                        SR0000396388                   UMG Recordings, Inc.
  4380   Avant                                                Don't Say No, Just Say Yes                      SR0000341102                   UMG Recordings, Inc.
  4381   Avant                                                Don't Take Your Love Away                       SR0000339561                   UMG Recordings, Inc.
  4382   Avant                                                Everything About You                            SR0000339561                   UMG Recordings, Inc.
  4383   Avant                                                Exclusive                                       SR0000396388                   UMG Recordings, Inc.
  4384   Avant                                                Feast                                           SR0000339561                   UMG Recordings, Inc.
  4385   Avant                                                Flickin'                                        SR0000339561                   UMG Recordings, Inc.
  4386   Avant                                                Get Away                                        SR0000281220                   UMG Recordings, Inc.
  4387   Avant                                                GPSA (Ghetto Public Service Announcement)       SR0000396388                   UMG Recordings, Inc.
  4388   Avant                                                Grown Ass Man                                   SR0000396388                   UMG Recordings, Inc.
  4389   Avant                                                Happy                                           SR0000281220                   UMG Recordings, Inc.
  4390   Avant                                                Have Some Fun                                   SR0000339561                   UMG Recordings, Inc.
  4391   Avant                                                Heaven                                          SR0000339561                   UMG Recordings, Inc.
  4392   Avant                                                Hooked                                          SR0000339561                   UMG Recordings, Inc.
  4393   Avant                                                I Wanna Know                                    SR0000281220                   UMG Recordings, Inc.
  4394   Avant                                                Imagination                                     SR0000396388                   UMG Recordings, Inc.
  4395   Avant                                                Jack & Jill                                     SR0000308368                   UMG Recordings, Inc.
  4396   Avant                                                Let's Make a Deal                               SR0000281220                   UMG Recordings, Inc.
  4397   Avant                                                Lie About Us                                    SR0000396388                   UMG Recordings, Inc.
  4398   Avant                                                Love School                                     SR0000308368                   UMG Recordings, Inc.
  4399   Avant                                                Makin' Good Love                                SR0000308368                   UMG Recordings, Inc.
  4400   Avant                                                Mr. Dream                                       SR0000396388                   UMG Recordings, Inc.
  4401   Avant                                                My First Love                                   SR0000281220                   UMG Recordings, Inc.
  4402   Avant                                                No Limit                                        SR0000308368                   UMG Recordings, Inc.
  4403   Avant                                                Now You Got Someone                             SR0000396388                   UMG Recordings, Inc.
  4404   Avant                                                One Way Street                                  SR0000308368                   UMG Recordings, Inc.
  4405   Avant                                                Ooh Aah                                         SR0000281220                   UMG Recordings, Inc.
  4406   Avant                                                Phone Sex (That's What's Up)                    SR0000339561                   UMG Recordings, Inc.
  4407   Avant                                                Private Room Intro                              SR0000339561                   UMG Recordings, Inc.
  4408   Avant                                                Reaction                                        SR0000281220                   UMG Recordings, Inc.
  4409   Avant                                                Read Your Mind                                  SR0000344351                   UMG Recordings, Inc.
  4410   Avant                                                Right Place, Wrong Time                         SR0000396388                   UMG Recordings, Inc.
  4411   Avant                                                Seems To Be                                     SR0000339561                   UMG Recordings, Inc.
  4412   Avant                                                Separated                                       SR0000281220                   UMG Recordings, Inc.
  4413   Avant                                                Serious                                         SR0000281220                   UMG Recordings, Inc.
  4414   Avant                                                Six In Da Morning                               SR0000308368                   UMG Recordings, Inc.
  4415   Avant                                                So Many Ways                                    SR0000396388                   UMG Recordings, Inc.
  4416   Avant                                                Sorry                                           SR0000308368                   UMG Recordings, Inc.
  4417   Avant                                                Suicide                                         SR0000308368                   UMG Recordings, Inc.
  4418   Avant                                                Thinkin' About You                              SR0000308368                   UMG Recordings, Inc.
  4419   Avant                                                This Is Your Night                              SR0000396388                   UMG Recordings, Inc.
  4420   Avant                                                This Time                                       SR0000281220                   UMG Recordings, Inc.
  4421   Avant                                                Wanna Be Close                                  SR0000339561                   UMG Recordings, Inc.
  4422   Avant                                                What Do You Want                                SR0000308368                   UMG Recordings, Inc.
  4423   Avant                                                Why                                             SR0000281220                   UMG Recordings, Inc.
  4424   Avant                                                With You                                        SR0000396388                   UMG Recordings, Inc.
  4425   Avant                                                You                                             SR0000339561                   UMG Recordings, Inc.
  4426   Avant                                                You Ain't Right                                 SR0000308368                   UMG Recordings, Inc.
  4427   Avant                                                You Got Me                                      SR0000339561                   UMG Recordings, Inc.
  4428   Avant                                                You Know What                                   SR0000378385                   UMG Recordings, Inc.
  4429   Bad Meets Evil                                       A Kiss                                          SR0000678636                   UMG Recordings, Inc.
  4430   Bad Meets Evil                                       Above The Law                                   SR0000678636                   UMG Recordings, Inc.
  4431   Bad Meets Evil                                       Echo                                            SR0000678636                   UMG Recordings, Inc.
  4432   Bad Meets Evil                                       Fast Lane                                       SR0000678637                   UMG Recordings, Inc.
  4433   Bad Meets Evil                                       I'm On Everything                               SR0000678636                   UMG Recordings, Inc.
  4434   Bad Meets Evil                                       Lighters                                        SR0000678636                   UMG Recordings, Inc.
  4435   Bad Meets Evil                                       Living Proof                                    SR0000678636                   UMG Recordings, Inc.
  4436   Bad Meets Evil                                       Loud Noises                                     SR0000678636                   UMG Recordings, Inc.
  4437   Bad Meets Evil                                       Take From Me                                    SR0000678636                   UMG Recordings, Inc.
  4438   Bad Meets Evil                                       The Reunion                                     SR0000678636                   UMG Recordings, Inc.
  4439   Bad Meets Evil                                       Welcome 2 Hell                                  SR0000678636                   UMG Recordings, Inc.
  4440   Bastille                                             Daniel in the Den                               SR0000753441                   UMG Recordings, Inc.
  4441   Bastille                                             Durban Skies                                    SR0000748676                   UMG Recordings, Inc.
  4442   Bastille                                             Flaws                                           SR0000753441                   UMG Recordings, Inc.
  4443   Bastille                                             Get Home                                        SR0000753441                   UMG Recordings, Inc.
  4444   Bastille                                             Haunt                                           SR0000728185                   UMG Recordings, Inc.
  4445   Bastille                                             Icarus                                          SR0000753441                   UMG Recordings, Inc.
  4446   Bastille                                             Laughter Lines                                  SR0000753441                   UMG Recordings, Inc.
  4447   Bastille                                             Laura Palmer (Abbey Road Sessions)              SR0000753441                   UMG Recordings, Inc.
  4448   Bastille                                             Oblivion                                        SR0000753441                   UMG Recordings, Inc.
  4449   Bastille                                             Of The Night                                    SR0000748676                   UMG Recordings, Inc.
  4450   Bastille                                             Overjoyed                                       SR0000728185                   UMG Recordings, Inc.
  4451   Bastille                                             Poet                                            SR0000748676                   UMG Recordings, Inc.
  4452   Bastille                                             Previously On Other People's Heartache...       SR0000748676                   UMG Recordings, Inc.
  4453   Bastille                                             Skulls                                          SR0000748676                   UMG Recordings, Inc.


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                                   Artist                                                Track                            Registration Number                     Plaintiff
  4454   Bastille                                             Sleepsong                                          SR0000748676                   UMG Recordings, Inc.
  4455   Bastille                                             The Draw                                           SR0000748676                   UMG Recordings, Inc.
  4456   Bastille                                             The Silence                                        SR0000753441                   UMG Recordings, Inc.
  4457   Bastille                                             These Streets                                      SR0000753441                   UMG Recordings, Inc.
  4458   Bastille                                             Things We Lost in the Fire                         SR0000753441                   UMG Recordings, Inc.
  4459   Bastille                                             Tuning Out...                                      SR0000748676                   UMG Recordings, Inc.
  4460   Bastille                                             Weight of Living, Pt. I                            SR0000753441                   UMG Recordings, Inc.
  4461   Bastille                                             What Would You Do                                  SR0000748676                   UMG Recordings, Inc.
  4462   Big Sean                                             Beware                                             SR0000730543                   UMG Recordings, Inc.
  4463   Big Sean                                             Celebrity                                          SR0000678630                   UMG Recordings, Inc.
  4464   Big Sean                                             Dance (Ass)                                        SR0000678630                   UMG Recordings, Inc.
  4465   Big Sean                                             Don't Tell Me You Love Me                          SR0000678630                   UMG Recordings, Inc.
  4466   Big Sean                                             Get It                                             SR0000678630                   UMG Recordings, Inc.
  4467   Big Sean                                             High                                               SR0000678630                   UMG Recordings, Inc.
  4468   Big Sean                                             Intro                                              SR0000678630                   UMG Recordings, Inc.
  4469   Big Sean                                             Keys                                               SR0000678630                   UMG Recordings, Inc.
  4470   Big Sean                                             Livin This Life                                    SR0000678630                   UMG Recordings, Inc.
  4471   Big Sean                                             Marvin & Chardonnay                                SR0000678630                   UMG Recordings, Inc.
  4472   Big Sean                                             Memories Pt 2                                      SR0000678630                   UMG Recordings, Inc.
  4473   Big Sean                                             My House                                           SR0000678630                   UMG Recordings, Inc.
  4474   Big Sean                                             So Much More                                       SR0000678630                   UMG Recordings, Inc.
  4475   Big Sean                                             Wait For Me                                        SR0000678630                   UMG Recordings, Inc.
  4476   Big Sean                                             What Goes Around                                   SR0000678632                   UMG Recordings, Inc.
  4477   Billy Currington                                     23 Degrees And South                               SR0000730540                   UMG Recordings, Inc.
  4478   Billy Currington                                     Another Day Without You                            SR0000730540                   UMG Recordings, Inc.
  4479   Billy Currington                                     Banana Pancakes                                    SR0000730540                   UMG Recordings, Inc.
  4480   Billy Currington                                     Closer Tonight                                     SR0000730540                   UMG Recordings, Inc.
  4481   Billy Currington                                     Don't                                              SR0000617590                   UMG Recordings, Inc.
  4482   Billy Currington                                     Every Reason Not To Go                             SR0000617590                   UMG Recordings, Inc.
  4483   Billy Currington                                     Everything                                         SR0000617590                   UMG Recordings, Inc.
  4484   Billy Currington                                     Hallelujah                                         SR0000730540                   UMG Recordings, Inc.
  4485   Billy Currington                                     Hard To Be A Hippie                                SR0000730540                   UMG Recordings, Inc.
  4486   Billy Currington                                     Heal Me                                            SR0000617590                   UMG Recordings, Inc.
  4487   Billy Currington                                     Hey Girl                                           SR0000722290                   UMG Recordings, Inc.
  4488   Billy Currington                                     I Shall Return                                     SR0000617590                   UMG Recordings, Inc.
  4489   Billy Currington                                     Let Me Down Easy                                   SR0000664523                   UMG Recordings, Inc.
  4490   Billy Currington                                     Life, Love And The Meaning Of                      SR0000617590                   UMG Recordings, Inc.
  4491   Billy Currington                                     No One Has Eyes Like You                           SR0000617590                   UMG Recordings, Inc.
  4492   Billy Currington                                     One Way Ticket                                     SR0000730540                   UMG Recordings, Inc.
  4493   Billy Currington                                     People Are Crazy                                   SR0000617590                   UMG Recordings, Inc.
  4494   Billy Currington                                     Swimmin' In Sunshine                               SR0000617590                   UMG Recordings, Inc.
  4495   Billy Currington                                     That's How Country Boys Roll                       SR0000617590                   UMG Recordings, Inc.
  4496   Billy Currington                                     Walk On                                            SR0000617590                   UMG Recordings, Inc.
  4497   Billy Currington                                     We Are Tonight                                     SR0000730540                   UMG Recordings, Inc.
  4498   Billy Currington                                     Wingman                                            SR0000730540                   UMG Recordings, Inc.
  4499   Black Eyed Peas                                      Alive                                              SR0000633587                   UMG Recordings, Inc.
  4500   Black Eyed Peas                                      Another Weekend                                    SR0000633584                   UMG Recordings, Inc.
  4501   Black Eyed Peas                                      Boom Boom Pow                                      SR0000633584                   UMG Recordings, Inc.
  4502   Black Eyed Peas                                      Do It Like This                                    SR0000670148                   UMG Recordings, Inc.
  4503   Black Eyed Peas                                      Don't Bring Me Down                                SR0000633584                   UMG Recordings, Inc.
  4504   Black Eyed Peas                                      Don't Phunk Around                                 SR0000633584                   UMG Recordings, Inc.
  4505   Black Eyed Peas                                      Don't Stop The Party                               SR0000670148                   UMG Recordings, Inc.
  4506   Black Eyed Peas                                      Electric City                                      SR0000633584                   UMG Recordings, Inc.
  4507   Black Eyed Peas                                      I Gotta Feeling                                    SR0000633584                   UMG Recordings, Inc.
  4508   Black Eyed Peas                                      I Gotta Feeling (FMIF Remix)                       SR0000652380                   UMG Recordings, Inc.
  4509   Black Eyed Peas                                      Imma Be                                            SR0000633585                   UMG Recordings, Inc.
  4510   Black Eyed Peas                                      Let's Get Re-Started                               SR0000633584                   UMG Recordings, Inc.
  4511   Black Eyed Peas                                      Light Up The Night                                 SR0000670148                   UMG Recordings, Inc.
  4512   Black Eyed Peas                                      Mare                                               SR0000633584                   UMG Recordings, Inc.
  4513   Black Eyed Peas                                      Meet Me Halfway                                    SR0000633584                   UMG Recordings, Inc.
  4514   Black Eyed Peas                                      Missing You                                        SR0000633584                   UMG Recordings, Inc.
  4515   Black Eyed Peas                                      Now Generation                                     SR0000633584                   UMG Recordings, Inc.
  4516   Black Eyed Peas                                      One Tribe                                          SR0000633584                   UMG Recordings, Inc.
  4517   Black Eyed Peas                                      Out Of My Head                                     SR0000633584                   UMG Recordings, Inc.
  4518   Black Eyed Peas                                      Party All The Time                                 SR0000633584                   UMG Recordings, Inc.
  4519   Black Eyed Peas                                      Pump It Harder                                     SR0000633584                   UMG Recordings, Inc.
  4520   Black Eyed Peas                                      Ring-A-Ling                                        SR0000633584                   UMG Recordings, Inc.
  4521   Black Eyed Peas                                      Rock That Body                                     SR0000633584                   UMG Recordings, Inc.
  4522   Black Eyed Peas                                      Rockin To The Beat                                 SR0000633584                   UMG Recordings, Inc.
  4523   Black Eyed Peas                                      Showdown                                           SR0000633584                   UMG Recordings, Inc.
  4524   Black Eyed Peas                                      Shut Up                                            SR0000347870                   UMG Recordings, Inc.
  4525   Black Eyed Peas                                      Simple Little Melody                               SR0000633584                   UMG Recordings, Inc.
  4526   Black Eyed Peas                                      That's The Joint                                   SR0000633584                   UMG Recordings, Inc.
  4527   Black Eyed Peas                                      The Time (Dirty Bit)                               SR0000717504                   UMG Recordings, Inc.
  4528   Black Eyed Peas                                      Where Ya Wanna Go                                  SR0000633584                   UMG Recordings, Inc.
  4529   Blue October                                         18th Floor Balcony                                 SR0000388117                   UMG Recordings, Inc.
  4530   Blue October                                         Congratulations                                    SR0000388117                   UMG Recordings, Inc.
  4531   Blue October                                         Drilled A Wire Through My Cheek                    SR0000388117                   UMG Recordings, Inc.
  4532   Blue October                                         Everlasting Friend                                 SR0000388117                   UMG Recordings, Inc.
  4533   Blue October                                         Hate Me                                            SR0000388117                   UMG Recordings, Inc.
  4534   Blue October                                         Into The Ocean                                     SR0000388117                   UMG Recordings, Inc.
  4535   Blue October                                         Let It Go                                          SR0000388117                   UMG Recordings, Inc.
  4536   Blue October                                         Overweight                                         SR0000388117                   UMG Recordings, Inc.
  4537   Blue October                                         She's My Ride Home                                 SR0000388117                   UMG Recordings, Inc.
  4538   Blue October                                         Sound Of Pulling Heaven Down                       SR0000388117                   UMG Recordings, Inc.
  4539   Blue October                                         What If We Could                                   SR0000388117                   UMG Recordings, Inc.


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                                 Artist                                                     Track                            Registration Number                     Plaintiff
  4540   Blue October                                         X-Amount Of Words                                     SR0000388117                   UMG Recordings, Inc.
  4541   Blue October                                         You Make Me Smile                                     SR0000615154                   UMG Recordings, Inc.
  4542   Bob Marley                                           Buffalo Soldier                                       SR0000045126                   UMG Recordings, Inc.
  4543   Bob Marley                                           Could You Be Loved                                    SR0000020594                   UMG Recordings, Inc.
  4544   Bob Marley                                           Mr Brown                                              SR0000152585                   UMG Recordings, Inc.
  4545   Bob Marley                                           One Love                                              RE0000926868                   UMG Recordings, Inc.
  4546   Bob Marley                                           Three Little Birds                                    N48538; RE0000926868           UMG Recordings, Inc.
  4547   Bob Marley & The Wailers                             Exodus                                                N48538; RE0000926868           UMG Recordings, Inc.
  4548   Bob Marley & The Wailers                             Get Up, Stand Up                                      NF137; RE0000931699            UMG Recordings, Inc.
  4549   Bob Marley & The Wailers                             Jamming                                               N48538; RE0000926868           UMG Recordings, Inc.
  4550   Bob Marley & The Wailers                             Misty Morning                                         SR0000001122                   UMG Recordings, Inc.
  4551   Bob Marley & The Wailers                             No Woman, No Cry                                      NF2048; RE0000906116           UMG Recordings, Inc.
  4552   Bob Marley & The Wailers                             Rebel Music (3 O'Clock Roadblock)                     RE0000906116                   UMG Recordings, Inc.
  4553   Bob Marley & The Wailers                             Redemption Song                                       SR0000019502                   UMG Recordings, Inc.
  4554   Bob Marley & The Wailers                             Satisfy My Soul                                       SR0000001122                   UMG Recordings, Inc.
  4555   Bob Marley & the Wailers                             So Much Things To Say                                 N48538; RE0000926868           UMG Recordings, Inc.
  4556   Bob Marley & the Wailers                             Stir It Up                                            N8793; RE0000860333            UMG Recordings, Inc.
  4557   Bob Marley & The Wailers                             Time Will Tell                                        SR0000001122                   UMG Recordings, Inc.
  4558   Bob Marley & The Wailers                             Waiting In Vain                                       N48538; RE0000926868           UMG Recordings, Inc.
  4559   Bob Marley & The Wailers                             Who The Cap Fit                                       SR0000323536                   UMG Recordings, Inc.
  4560   Bon Jovi                                             You Give Love A Bad Name                              SR0000071794                   UMG Recordings, Inc.
  4561   Brand New                                            At The Bottom                                         SR0000642061                   UMG Recordings, Inc.
  4562   Brand New                                            Be Gone                                               SR0000642060                   UMG Recordings, Inc.
  4563   Brand New                                            Bed                                                   SR0000642060                   UMG Recordings, Inc.
  4564   Brand New                                            Bought A Bride                                        SR0000642060                   UMG Recordings, Inc.
  4565   Brand New                                            Daisy                                                 SR0000642060                   UMG Recordings, Inc.
  4566   Brand New                                            Gasoline                                              SR0000642060                   UMG Recordings, Inc.
  4567   Brand New                                            In A Jar                                              SR0000642060                   UMG Recordings, Inc.
  4568   Brand New                                            Noro                                                  SR0000642060                   UMG Recordings, Inc.
  4569   Brand New                                            Sink                                                  SR0000642060                   UMG Recordings, Inc.
  4570   Brand New                                            Vices                                                 SR0000642060                   UMG Recordings, Inc.
  4571   Brand New                                            You Stole                                             SR0000642060                   UMG Recordings, Inc.
  4572   Bryan Adams                                          (Everything I Do) I Do It For You                     SR0000133214                   UMG Recordings, Inc.
  4573   Bryan Adams                                          Can't Stop This Thing We Started                      SR0000140512                   UMG Recordings, Inc.
  4574   Bryan Adams                                          Cuts Like A Knife                                     SR0000385401                   UMG Recordings, Inc.
  4575   Bryan Adams                                          Do I Have To Say The Words?                           SR0000140512                   UMG Recordings, Inc.
  4576   Bryan Adams                                          Heat Of The Night                                     SR0000085179                   UMG Recordings, Inc.
  4577   Bryan Adams                                          It's Only Love                                        SR0000058024                   UMG Recordings, Inc.
  4578   Bryan Adams                                          Kids Wanna Rock                                       SR0000058024                   UMG Recordings, Inc.
  4579   Bryan Adams                                          Please Forgive Me                                     SR0000183432                   UMG Recordings, Inc.
  4580   Bryan Adams                                          Run To You                                            SR0000058024                   UMG Recordings, Inc.
  4581   Bryan Adams                                          Somebody                                              SR0000206509                   UMG Recordings, Inc.
  4582   Bryan Adams                                          Summer Of '69                                         SR0000058024                   UMG Recordings, Inc.
  4583   Carly Rae Jepsen                                     Good Time                                             SR0000738473                   UMG Recordings, Inc.
  4584   Chamillionaire                                       Fly As The Sky                                        SR0000381901                   UMG Recordings, Inc.
  4585   Chamillionaire                                       Frontin'                                              SR0000381901                   UMG Recordings, Inc.
  4586   Chamillionaire                                       Grown and Sexy                                        SR0000381901                   UMG Recordings, Inc.
  4587   Chamillionaire                                       In The Trunk                                          SR0000381901                   UMG Recordings, Inc.
  4588   Chamillionaire                                       No Snitchin'                                          SR0000381901                   UMG Recordings, Inc.
  4589   Chamillionaire                                       Outro                                                 SR0000381901                   UMG Recordings, Inc.
  4590   Chamillionaire                                       Peepin' Me                                            SR0000381901                   UMG Recordings, Inc.
  4591   Chamillionaire                                       Picture Perfect                                       SR0000381901                   UMG Recordings, Inc.
  4592   Chamillionaire                                       Radio Interruption                                    SR0000381901                   UMG Recordings, Inc.
  4593   Chamillionaire                                       Rain                                                  SR0000381901                   UMG Recordings, Inc.
  4594   Chamillionaire                                       Ridin'                                                SR0000381901                   UMG Recordings, Inc.
  4595   Chamillionaire                                       Southern Takeover                                     SR0000381901                   UMG Recordings, Inc.
  4596   Chamillionaire                                       Think I'm Crazy                                       SR0000381901                   UMG Recordings, Inc.
  4597   Chamillionaire                                       Turn It Up                                            SR0000381901                   UMG Recordings, Inc.
  4598   Chamillionaire                                       Void In My Life                                       SR0000381901                   UMG Recordings, Inc.
  4599   Chrisette Michele                                    All I Ever Think About                                SR0000631429                   UMG Recordings, Inc.
  4600   Chrisette Michele                                    Another One                                           SR0000631429                   UMG Recordings, Inc.
  4601   Chrisette Michele                                    Epiphany (Radio)                                      SR0000631427                   UMG Recordings, Inc.
  4602   Chrisette Michele                                    Fragile                                               SR0000631429                   UMG Recordings, Inc.
  4603   Chrisette Michele                                    I'm Okay                                              SR0000631429                   UMG Recordings, Inc.
  4604   Chrisette Michele                                    Mr. Right                                             SR0000631429                   UMG Recordings, Inc.
  4605   Chrisette Michele                                    Notebook                                              SR0000631429                   UMG Recordings, Inc.
  4606   Chrisette Michele                                    On My Own                                             SR0000631429                   UMG Recordings, Inc.
  4607   Chrisette Michele                                    Playin' Our Song                                      SR0000631429                   UMG Recordings, Inc.
  4608   Chrisette Michele                                    Porcelain Doll                                        SR0000631429                   UMG Recordings, Inc.
  4609   Colbie Caillat                                       Battle                                                SR0000620297                   UMG Recordings, Inc.
  4610   Colbie Caillat                                       Begin Again                                           SR0000637479                   UMG Recordings, Inc.
  4611   Colbie Caillat                                       Brand New Me                                          SR0000619237                   UMG Recordings, Inc.
  4612   Colbie Caillat                                       Break Through                                         SR0000637479                   UMG Recordings, Inc.
  4613   Colbie Caillat                                       Breakin' At The Cracks                                SR0000637479                   UMG Recordings, Inc.
  4614   Colbie Caillat                                       Bubbly                                                SR0000620298                   UMG Recordings, Inc.
  4615   Colbie Caillat                                       Capri                                                 SR0000620297                   UMG Recordings, Inc.
  4616   Colbie Caillat                                       Circles                                               SR0000619237                   UMG Recordings, Inc.
  4617   Colbie Caillat                                       Don't Hold Me Down                                    SR0000637479                   UMG Recordings, Inc.
  4618   Colbie Caillat                                       Droplets                                              SR0000637479                   UMG Recordings, Inc.
  4619   Colbie Caillat                                       Fallin' For You                                       SR0000637478                   UMG Recordings, Inc.
  4620   Colbie Caillat                                       Fearless                                              SR0000637479                   UMG Recordings, Inc.
  4621   Colbie Caillat                                       Feelings Show                                         SR0000620297                   UMG Recordings, Inc.
  4622   Colbie Caillat                                       Hold Your Head High                                   SR0000637479                   UMG Recordings, Inc.
  4623   Colbie Caillat                                       Hoy Me Voy                                            SR0000619237                   UMG Recordings, Inc.
  4624   Colbie Caillat                                       I Never Told You                                      SR0000637479                   UMG Recordings, Inc.
  4625   Colbie Caillat                                       I Won't                                               SR0000637479                   UMG Recordings, Inc.


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                                   Artist                                                 Track                            Registration Number                     Plaintiff
  4626   Colbie Caillat                                       It Stops Today                                      SR0000637479                   UMG Recordings, Inc.
  4627   Colbie Caillat                                       Magic                                               SR0000620297                   UMG Recordings, Inc.
  4628   Colbie Caillat                                       Midnight Bottle                                     SR0000620297                   UMG Recordings, Inc.
  4629   Colbie Caillat                                       Never Let You Go                                    SR0000637479                   UMG Recordings, Inc.
  4630   Colbie Caillat                                       One Fine Wire                                       SR0000620297                   UMG Recordings, Inc.
  4631   Colbie Caillat                                       Out of My Mind                                      SR0000637479                   UMG Recordings, Inc.
  4632   Colbie Caillat                                       Oxygen                                              SR0000620297                   UMG Recordings, Inc.
  4633   Colbie Caillat                                       Rainbow                                             SR0000637479                   UMG Recordings, Inc.
  4634   Colbie Caillat                                       Realize                                             SR0000620297                   UMG Recordings, Inc.
  4635   Colbie Caillat                                       Runnin' Around                                      SR0000637479                   UMG Recordings, Inc.
  4636   Colbie Caillat                                       Somethin' Special                                   SR0000615614                   UMG Recordings, Inc.
  4637   Colbie Caillat                                       Stay With Me                                        SR0000637479                   UMG Recordings, Inc.
  4638   Colbie Caillat                                       Tailor Made                                         SR0000620297                   UMG Recordings, Inc.
  4639   Colbie Caillat                                       Tell Him                                            SR0000619237                   UMG Recordings, Inc.
  4640   Colbie Caillat                                       The Little Things                                   SR0000620297                   UMG Recordings, Inc.
  4641   Colbie Caillat                                       Tied Down                                           SR0000620297                   UMG Recordings, Inc.
  4642   Colbie Caillat                                       Turn Your Lights Down Low                           SR0000619237                   UMG Recordings, Inc.
  4643   Colbie Caillat                                       What I Wanted to Say                                SR0000637479                   UMG Recordings, Inc.
  4644   Colbie Caillat                                       You Got Me                                          SR0000637479                   UMG Recordings, Inc.
  4645   Counting Crows                                       A Murder Of One                                     SR0000172267                   UMG Recordings, Inc.
  4646   Counting Crows                                       Anna Begins                                         SR0000345378                   UMG Recordings, Inc.
  4647   Counting Crows                                       Ghost Train                                         SR0000172267                   UMG Recordings, Inc.
  4648   Counting Crows                                       Mr. Jones                                           SR0000172267                   UMG Recordings, Inc.
  4649   Counting Crows                                       Omaha                                               SR0000172267                   UMG Recordings, Inc.
  4650   Counting Crows                                       Perfect Blue Buildings                              SR0000172267                   UMG Recordings, Inc.
  4651   Counting Crows                                       Rain King                                           SR0000345378                   UMG Recordings, Inc.
  4652   Counting Crows                                       Raining In Baltimore                                SR0000172267                   UMG Recordings, Inc.
  4653   Counting Crows                                       Round Here                                          SR0000172267                   UMG Recordings, Inc.
  4654   Counting Crows                                       Sullivan Street                                     SR0000172267                   UMG Recordings, Inc.
  4655   Counting Crows                                       Time And Time Again                                 SR0000172267                   UMG Recordings, Inc.
  4656   Daniel Bedingfield                                   Blown It Again                                      SR0000321977                   UMG Recordings, Inc.
  4657   Daniel Bedingfield                                   Friday                                              SR0000321977                   UMG Recordings, Inc.
  4658   Daniel Bedingfield                                   Girlfriend                                          SR0000321977                   UMG Recordings, Inc.
  4659   Daniel Bedingfield                                   He Don't Love You Like I Love You                   SR0000321977                   UMG Recordings, Inc.
  4660   Daniel Bedingfield                                   Honest Questions                                    SR0000321977                   UMG Recordings, Inc.
  4661   Daniel Bedingfield                                   Inflate My Ego                                      SR0000321977                   UMG Recordings, Inc.
  4662   Daniel Bedingfield                                   James Dean (I Wanna Know)                           SR0000321977                   UMG Recordings, Inc.
  4663   Daniel Bedingfield                                   Without The Girl                                    SR0000321977                   UMG Recordings, Inc.
  4664   Disclosure                                           Latch                                               SR0000724303                   UMG Recordings, Inc.
  4665   Dr. Dre                                              I Need A Doctor                                     SR0000674469                   UMG Recordings, Inc.
  4666   Duffy                                                Delayed Devotion                                    SR0000613340                   UMG Recordings, Inc.
  4667   Duffy                                                Distant Dreamer                                     SR0000613340                   UMG Recordings, Inc.
  4668   Duffy                                                Hanging On Too Long                                 SR0000613340                   UMG Recordings, Inc.
  4669   Duffy                                                I'm Scared                                          SR0000613340                   UMG Recordings, Inc.
  4670   Duffy                                                Mercy                                               SR0000613340                   UMG Recordings, Inc.
  4671   Duffy                                                Rockferry                                           SR0000613340                   UMG Recordings, Inc.
  4672   Duffy                                                Serious                                             SR0000613340                   UMG Recordings, Inc.
  4673   Duffy                                                Stepping Stone                                      SR0000613340                   UMG Recordings, Inc.
  4674   Duffy                                                Syrup & Honey                                       SR0000613340                   UMG Recordings, Inc.
  4675   Duffy                                                Warwick Avenue                                      SR0000613340                   UMG Recordings, Inc.
  4676   Easton Corbin                                        A Thing For You                                     SR0000709974                   UMG Recordings, Inc.
  4677   Easton Corbin                                        All Over The Road                                   SR0000709974                   UMG Recordings, Inc.
  4678   Easton Corbin                                        Are You With Me                                     SR0000709974                   UMG Recordings, Inc.
  4679   Easton Corbin                                        Dance Real Slow                                     SR0000709974                   UMG Recordings, Inc.
  4680   Easton Corbin                                        Hearts Drawn In The Sand                            SR0000709972                   UMG Recordings, Inc.
  4681   Easton Corbin                                        I Think Of You                                      SR0000709974                   UMG Recordings, Inc.
  4682   Easton Corbin                                        Lovin' You Is Fun                                   SR0000699451                   UMG Recordings, Inc.
  4683   Easton Corbin                                        Only A Girl                                         SR0000710243                   UMG Recordings, Inc.
  4684   Easton Corbin                                        That's Gonna Leave A Memory                         SR0000709974                   UMG Recordings, Inc.
  4685   Easton Corbin                                        This Feels A Lot Like Love                          SR0000709974                   UMG Recordings, Inc.
  4686   Easton Corbin                                        Tulsa Texas                                         SR0000709974                   UMG Recordings, Inc.
  4687   Eli Young Band                                       Every Other Memory                                  SR0000684024                   UMG Recordings, Inc.
  4688   Eli Young Band                                       How Quickly You Forget                              SR0000684024                   UMG Recordings, Inc.
  4689   Eli Young Band                                       Life At Best                                        SR0000684024                   UMG Recordings, Inc.
  4690   Eli Young Band                                       My Old Man's Son                                    SR0000684024                   UMG Recordings, Inc.
  4691   Eli Young Band                                       On My Way                                           SR0000684024                   UMG Recordings, Inc.
  4692   Eli Young Band                                       Recover                                             SR0000684024                   UMG Recordings, Inc.
  4693   Eli Young Band                                       Say Goodnight                                       SR0000684024                   UMG Recordings, Inc.
  4694   Eli Young Band                                       The Falling                                         SR0000684024                   UMG Recordings, Inc.
  4695   Eli Young Band                                       War On A Desperate Man                              SR0000684024                   UMG Recordings, Inc.
  4696   Ellie Goulding                                       Animal                                              SR0000752677                   UMG Recordings, Inc.
  4697   Ellie Goulding                                       Anything Could Happen                               SR0000709961                   UMG Recordings, Inc.
  4698   Ellie Goulding                                       Atlantis                                            SR0000709960                   UMG Recordings, Inc.
  4699   Ellie Goulding                                       Believe Me                                          SR0000752677                   UMG Recordings, Inc.
  4700   Ellie Goulding                                       Dead In The Water                                   SR0000709960                   UMG Recordings, Inc.
  4701   Ellie Goulding                                       Don't Say A Word                                    SR0000709960                   UMG Recordings, Inc.
  4702   Ellie Goulding                                       Every Time You Go                                   SR0000752677                   UMG Recordings, Inc.
  4703   Ellie Goulding                                       Explosions                                          SR0000709960                   UMG Recordings, Inc.
  4704   Ellie Goulding                                       Figure 8                                            SR0000709960                   UMG Recordings, Inc.
  4705   Ellie Goulding                                       Guns And Horses                                     SR0000752677                   UMG Recordings, Inc.
  4706   Ellie Goulding                                       Halcyon                                             SR0000709960                   UMG Recordings, Inc.
  4707   Ellie Goulding                                       Hanging On                                          SR0000709960                   UMG Recordings, Inc.
  4708   Ellie Goulding                                       Home                                                SR0000752677                   UMG Recordings, Inc.
  4709   Ellie Goulding                                       Human                                               SR0000752677                   UMG Recordings, Inc.
  4710   Ellie Goulding                                       I Know You Care                                     SR0000709960                   UMG Recordings, Inc.
  4711   Ellie Goulding                                       I'll Hold My Breath                                 SR0000671828                   UMG Recordings, Inc.


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                                   Artist                                                   Track                               Registration Number                     Plaintiff
  4712   Ellie Goulding                                       In My City                                               SR0000709960                   UMG Recordings, Inc.
  4713   Ellie Goulding                                       Joy                                                      SR0000709960                   UMG Recordings, Inc.
  4714   Ellie Goulding                                       Lights                                                   SR0000671828                   UMG Recordings, Inc.
  4715   Ellie Goulding                                       Little Dreams                                            SR0000752677                   UMG Recordings, Inc.
  4716   Ellie Goulding                                       My Blood                                                 SR0000709960                   UMG Recordings, Inc.
  4717   Ellie Goulding                                       Only You                                                 SR0000709960                   UMG Recordings, Inc.
  4718   Ellie Goulding                                       Ritual                                                   SR0000709960                   UMG Recordings, Inc.
  4719   Ellie Goulding                                       Roscoe                                                   SR0000752677                   UMG Recordings, Inc.
  4720   Ellie Goulding                                       Salt Skin                                                SR0000752677                   UMG Recordings, Inc.
  4721   Ellie Goulding                                       Starry Eyed                                              SR0000664533                   UMG Recordings, Inc.
  4722   Ellie Goulding                                       The End                                                  SR0000752677                   UMG Recordings, Inc.
  4723   Ellie Goulding                                       The Writer                                               SR0000671828                   UMG Recordings, Inc.
  4724   Ellie Goulding                                       This Love (Will Be Your Downfall)                        SR0000752677                   UMG Recordings, Inc.
  4725   Ellie Goulding                                       Under The Sheets                                         SR0000752677                   UMG Recordings, Inc.
  4726   Ellie Goulding                                       Wish I Stayed                                            SR0000752677                   UMG Recordings, Inc.
  4727   Ellie Goulding                                       Without Your Love                                        SR0000709960                   UMG Recordings, Inc.
  4728   Ellie Goulding                                       Your Biggest Mistake                                     SR0000752677                   UMG Recordings, Inc.
  4729   Ellie Goulding                                       Your Song                                                SR0000752677                   UMG Recordings, Inc.
  4730   Elliott Smith                                        A Question Mark                                          SR0000241677                   UMG Recordings, Inc.
  4731   Elliott Smith                                        Amity                                                    SR0000241677                   UMG Recordings, Inc.
  4732   Elliott Smith                                        Baby Britain                                             SR0000241677                   UMG Recordings, Inc.
  4733   Elliott Smith                                        Better Be Quiet Now                                      SR0000280584                   UMG Recordings, Inc.
  4734   Elliott Smith                                        Bled White                                               SR0000241677                   UMG Recordings, Inc.
  4735   Elliott Smith                                        Bottle Up And Explode!                                   SR0000241677                   UMG Recordings, Inc.
  4736   Elliott Smith                                        Bye                                                      SR0000280584                   UMG Recordings, Inc.
  4737   Elliott Smith                                        Can't Make A Sound                                       SR0000280584                   UMG Recordings, Inc.
  4738   Elliott Smith                                        Colorbars                                                SR0000280584                   UMG Recordings, Inc.
  4739   Elliott Smith                                        Easy Way Out                                             SR0000280584                   UMG Recordings, Inc.
  4740   Elliott Smith                                        Everybody Cares, Everybody Understands                   SR0000241677                   UMG Recordings, Inc.
  4741   Elliott Smith                                        Everything Reminds Me Of Her                             SR0000280584                   UMG Recordings, Inc.
  4742   Elliott Smith                                        I Didn't Understand                                      SR0000241677                   UMG Recordings, Inc.
  4743   Elliott Smith                                        In The Lost And Found (Honky Bach)/The Roost             SR0000280584                   UMG Recordings, Inc.
  4744   Elliott Smith                                        Independence Day                                         SR0000241677                   UMG Recordings, Inc.
  4745   Elliott Smith                                        Junk Bond Trader                                         SR0000280584                   UMG Recordings, Inc.
  4746   Elliott Smith                                        Oh Well, Okay                                            SR0000241677                   UMG Recordings, Inc.
  4747   Elliott Smith                                        Pitseleh                                                 SR0000241677                   UMG Recordings, Inc.
  4748   Elliott Smith                                        Pretty Mary K                                            SR0000280584                   UMG Recordings, Inc.
  4749   Elliott Smith                                        Somebody That I Used To Know                             SR0000280584                   UMG Recordings, Inc.
  4750   Elliott Smith                                        Stupidity Tries                                          SR0000280584                   UMG Recordings, Inc.
  4751   Elliott Smith                                        Sweet Adeline                                            SR0000241677                   UMG Recordings, Inc.
  4752   Elliott Smith                                        Tomorrow Tomorrow                                        SR0000241677                   UMG Recordings, Inc.
  4753   Elliott Smith                                        Waltz #1                                                 SR0000241677                   UMG Recordings, Inc.
  4754   Elliott Smith                                        Wouldn't Mama Be Proud?                                  SR0000280584                   UMG Recordings, Inc.
  4755   Elton John                                           Bennie And The Jets                                      N10950                         UMG Recordings, Inc.
  4756   Elton John                                           Blue Eyes                                                SR0000035166                   UMG Recordings, Inc.
  4757   Elton John                                           Candle In The Wind                                       N10950                         UMG Recordings, Inc.
  4758   Elton John                                           Crocodile Rock                                           N6758                          UMG Recordings, Inc.
  4759   Elton John                                           Daniel                                                   N6759                          UMG Recordings, Inc.
  4760   Elton John                                           Don't Go Breaking My Heart                               N37165                         UMG Recordings, Inc.
  4761   Elton John                                           Don't Let The Sun Go Down On Me                          N0511; RE0000866913            UMG Recordings, Inc.
  4762   Elton John                                           Electricity                                              SR0000388053                   UMG Recordings, Inc.
  4763   Elton John                                           Goodbye Yellow Brick Road                                N10950                         UMG Recordings, Inc.
  4764   Elton John                                           Honky Cat                                                N1989                          UMG Recordings, Inc.
  4765   Elton John                                           I Feel Like A Bullet (In The Gun Of Robert Ford)         N27695                         UMG Recordings, Inc.
  4766   Elton John                                           I Guess That's Why They Call It The Blues                SR0000045784                   UMG Recordings, Inc.
  4767   Elton John                                           I Want Love                                              SR0000303795                   UMG Recordings, Inc.
  4768   Elton John                                           I'm Still Standing                                       SR0000046348                   UMG Recordings, Inc.
  4769   Elton John                                           Little Jeannie                                           SR0000023473                   UMG Recordings, Inc.
  4770   Elton John                                           Philadelphia Freedom                                     N22622; RE0000887755           UMG Recordings, Inc.
  4771   Elton John                                           Rocket Man (I Think It's Going To Be A Long Long Time)   N1989                          UMG Recordings, Inc.
  4772   Elton John                                           Sacrifice                                                SR0000107727                   UMG Recordings, Inc.
  4773   Elton John                                           Saturday Night's Alright For Fighting                    N10950                         UMG Recordings, Inc.
  4774   Elton John                                           The Bridge                                               SR0000396048                   UMG Recordings, Inc.
  4775   Elton John                                           This Train Don't Stop There Anymore                      SR0000303795                   UMG Recordings, Inc.
  4776   Elton John                                           Tinderbox                                                SR0000396047                   UMG Recordings, Inc.
  4777   Eminem                                               (Curtains Up - Encore version)                           SR0000364769                   UMG Recordings, Inc.
  4778   Eminem                                               25 To Life                                               SR0000653572                   UMG Recordings, Inc.
  4779   Eminem                                               3 a.m.                                                   SR0000633156                   UMG Recordings, Inc.
  4780   Eminem                                               8 Mile                                                   SR0000322706                   UMG Recordings, Inc.
  4781   Eminem                                               Almost Famous                                            SR0000653572                   UMG Recordings, Inc.
  4782   Eminem                                               Ass Like That                                            SR0000364769                   UMG Recordings, Inc.
  4783   Eminem                                               Beautiful                                                SR0000633152                   UMG Recordings, Inc.
  4784   Eminem                                               Berzerk                                                  SR0000729822                   UMG Recordings, Inc.
  4785   Eminem                                               Big Weenie                                               SR0000364769                   UMG Recordings, Inc.
  4786   Eminem                                               Business                                                 SR0000317924                   UMG Recordings, Inc.
  4787   Eminem                                               Cinderella Man                                           SR0000653572                   UMG Recordings, Inc.
  4788   Eminem                                               Cleanin' Out My Closet                                   SR0000317924                   UMG Recordings, Inc.
  4789   Eminem                                               Cold Wind Blows                                          SR0000653572                   UMG Recordings, Inc.
  4790   Eminem                                               Crack A Bottle                                           SR0000633152                   UMG Recordings, Inc.
  4791   Eminem                                               Crazy In Love                                            SR0000364769                   UMG Recordings, Inc.
  4792   Eminem                                               Curtains Close (Skit)                                    SR0000317924                   UMG Recordings, Inc.
  4793   Eminem                                               Curtains Up                                              SR0000364769                   UMG Recordings, Inc.
  4794   Eminem                                               Drips                                                    SR0000317924                   UMG Recordings, Inc.
  4795   Eminem                                               Em Calls Paul                                            SR0000364769                   UMG Recordings, Inc.
  4796   Eminem                                               Encore                                                   SR0000364769                   UMG Recordings, Inc.
  4797   Eminem                                               Encore / Curtains Up                                     SR0000364769                   UMG Recordings, Inc.


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  4798   Eminem                                               Encore/Curtains Down                              SR0000364769                   UMG Recordings, Inc.
  4799   Eminem                                               Evil Deeds                                        SR0000364769                   UMG Recordings, Inc.
  4800   Eminem                                               FACK                                              SR0000382840                   UMG Recordings, Inc.
  4801   Eminem                                               Final Thought (Skit)                              SR0000364769                   UMG Recordings, Inc.
  4802   Eminem                                               Get You Mad                                       SR0000265774                   UMG Recordings, Inc.
  4803   Eminem                                               Go To Sleep                                       SR0000327127                   UMG Recordings, Inc.
  4804   Eminem                                               Going Through Changes                             SR0000653572                   UMG Recordings, Inc.
  4805   Eminem                                               Guilty Conscience                                 SR0000262686                   UMG Recordings, Inc.
  4806   Eminem                                               Hailie's Song                                     SR0000317924                   UMG Recordings, Inc.
  4807   Eminem                                               Insane                                            SR0000633152                   UMG Recordings, Inc.
  4808   Eminem                                               Intro                                             SR0000382840                   UMG Recordings, Inc.
  4809   Eminem                                               Jimmy Crack Corn                                  SR0000405877                   UMG Recordings, Inc.
  4810   Eminem                                               Just Don't Give A Fuck                            SR0000262686                   UMG Recordings, Inc.
  4811   Eminem                                               Just Lose It                                      SR0000362082                   UMG Recordings, Inc.
  4812   Eminem                                               Like Toy Soldiers                                 SR0000364769                   UMG Recordings, Inc.
  4813   Eminem                                               Lose Yourself                                     SR0000322706                   UMG Recordings, Inc.
  4814   Eminem                                               Love The Way You Lie                              SR0000653572                   UMG Recordings, Inc.
  4815   Eminem                                               Love You More                                     SR0000364769                   UMG Recordings, Inc.
  4816   Eminem                                               Mockingbird                                       SR0000364769                   UMG Recordings, Inc.
  4817   Eminem                                               Mosh                                              SR0000364769                   UMG Recordings, Inc.
  4818   Eminem                                               My 1st Single                                     SR0000364769                   UMG Recordings, Inc.
  4819   Eminem                                               My Dad's Gone Crazy                               SR0000317924                   UMG Recordings, Inc.
  4820   Eminem                                               My Fault                                          SR0000262686                   UMG Recordings, Inc.
  4821   Eminem                                               My Name Is                                        SR0000262686                   UMG Recordings, Inc.
  4822   Eminem                                               Never Enough                                      SR0000364769                   UMG Recordings, Inc.
  4823   Eminem                                               No Apologies                                      SR0000401289                   UMG Recordings, Inc.
  4824   Eminem                                               No Love                                           SR0000653572                   UMG Recordings, Inc.
  4825   Eminem                                               Not Afraid                                        SR0000653571                   UMG Recordings, Inc.
  4826   Eminem                                               On Fire                                           SR0000653572                   UMG Recordings, Inc.
  4827   Eminem                                               One Shot 2 Shot                                   SR0000364769                   UMG Recordings, Inc.
  4828   Eminem                                               Paul                                              SR0000364769                   UMG Recordings, Inc.
  4829   Eminem                                               Paul (Skit)                                       SR0000364769                   UMG Recordings, Inc.
  4830   Eminem                                               Public Enemy #1                                   SR0000401289                   UMG Recordings, Inc.
  4831   Eminem                                               Puke                                              SR0000364769                   UMG Recordings, Inc.
  4832   Eminem                                               Rabbit Run                                        SR0000322706                   UMG Recordings, Inc.
  4833   Eminem                                               Rain Man                                          SR0000364769                   UMG Recordings, Inc.
  4834   Eminem                                               Rap God                                           SR0000735451                   UMG Recordings, Inc.
  4835   Eminem                                               Ricky Ticky Toc                                   SR0000364769                   UMG Recordings, Inc.
  4836   Eminem                                               Ridaz                                             SR0000659181                   UMG Recordings, Inc.
  4837   Eminem                                               Say Goodbye Hollywood                             SR0000317924                   UMG Recordings, Inc.
  4838   Eminem                                               Say What You Say                                  SR0000317924                   UMG Recordings, Inc.
  4839   Eminem                                               Seduction                                         SR0000653572                   UMG Recordings, Inc.
  4840   Eminem                                               Session One                                       SR0000659181                   UMG Recordings, Inc.
  4841   Eminem                                               Shake That                                        SR0000382840                   UMG Recordings, Inc.
  4842   Eminem                                               Sing For The Moment                               SR0000317924                   UMG Recordings, Inc.
  4843   Eminem                                               So Bad                                            SR0000653572                   UMG Recordings, Inc.
  4844   Eminem                                               Soldier                                           SR0000317924                   UMG Recordings, Inc.
  4845   Eminem                                               Space Bound                                       SR0000653572                   UMG Recordings, Inc.
  4846   Eminem                                               Spend Some Time                                   SR0000364769                   UMG Recordings, Inc.
  4847   Eminem                                               Square Dance                                      SR0000317924                   UMG Recordings, Inc.
  4848   Eminem                                               Stay Wide Awake                                   SR0000633152                   UMG Recordings, Inc.
  4849   Eminem                                               Still Don't Give                                  SR0000262686                   UMG Recordings, Inc.
  4850   Eminem                                               Superman                                          SR0000317924                   UMG Recordings, Inc.
  4851   Eminem                                               Survival                                          SR0000735450                   UMG Recordings, Inc.
  4852   Eminem                                               Talkin' 2 Myself                                  SR0000653572                   UMG Recordings, Inc.
  4853   Eminem                                               The Kiss (Skit)                                   SR0000317924                   UMG Recordings, Inc.
  4854   Eminem                                               The Monster                                       SR0000735452                   UMG Recordings, Inc.
  4855   Eminem                                               The Real Slim Shady                               SR0000293541                   UMG Recordings, Inc.
  4856   Eminem                                               The Re-Up                                         SR0000401289                   UMG Recordings, Inc.
  4857   Eminem                                               The Way I Am                                      SR0000287944                   UMG Recordings, Inc.
  4858   Eminem                                               Till I Collapse                                   SR0000317924                   UMG Recordings, Inc.
  4859   Eminem                                               Untitled                                          SR0000653572                   UMG Recordings, Inc.
  4860   Eminem                                               W.T.P.                                            SR0000653572                   UMG Recordings, Inc.
  4861   Eminem                                               We As Americans                                   SR0000364769                   UMG Recordings, Inc.
  4862   Eminem                                               We Made You                                       SR0000633152                   UMG Recordings, Inc.
  4863   Eminem                                               When I'm Gone                                     SR0000382840                   UMG Recordings, Inc.
  4864   Eminem                                               When The Music Stops                              SR0000317924                   UMG Recordings, Inc.
  4865   Eminem                                               White America                                     SR0000317924                   UMG Recordings, Inc.
  4866   Eminem                                               Without Me                                        SR0000317924                   UMG Recordings, Inc.
  4867   Eminem                                               Won't Back Down                                   SR0000653572                   UMG Recordings, Inc.
  4868   Eminem                                               Yellow Brick Road                                 SR0000364769                   UMG Recordings, Inc.
  4869   Eminem                                               You Don't Know                                    SR0000400225                   UMG Recordings, Inc.
  4870   Eminem                                               You're Never Over                                 SR0000653572                   UMG Recordings, Inc.
  4871   Eric Church                                          Give Me Back My Hometown                          SR0000741485                   UMG Recordings, Inc.
  4872   Eric Clapton                                         Cocaine                                           SR0000001112                   UMG Recordings, Inc.
  4873   Eric Clapton                                         I Shot The Sheriff                                N16785                         UMG Recordings, Inc.
  4874   Eric Clapton                                         Knockin' On Heaven's Door                         N25879                         UMG Recordings, Inc.
  4875   Eric Clapton                                         Let It Grow                                       N16809; RE0000866829           UMG Recordings, Inc.
  4876   Eric Clapton                                         Promises                                          SR0000630877                   UMG Recordings, Inc.
  4877   Fall Out Boy                                         Alone Together                                    SR0000720423                   UMG Recordings, Inc.
  4878   Fall Out Boy                                         American Beauty/American Psycho                   SR0000766295                   UMG Recordings, Inc.
  4879   Fall Out Boy                                         Centuries                                         SR0000750127                   UMG Recordings, Inc.
  4880   Fall Out Boy                                         Death Valley                                      SR0000720423                   UMG Recordings, Inc.
  4881   Fall Out Boy                                         Favorite Record                                   SR0000766550                   UMG Recordings, Inc.
  4882   Fall Out Boy                                         Fourth Of July                                    SR0000766550                   UMG Recordings, Inc.
  4883   Fall Out Boy                                         Immortals                                         SR0000766550                   UMG Recordings, Inc.


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                                   Artist                                                  Track                              Registration Number                     Plaintiff
  4884   Fall Out Boy                                         Irresistible                                           SR0000766295                   UMG Recordings, Inc.
  4885   Fall Out Boy                                         Jet Pack Blues                                         SR0000766550                   UMG Recordings, Inc.
  4886   Fall Out Boy                                         Just One Yesterday                                     SR0000720423                   UMG Recordings, Inc.
  4887   Fall Out Boy                                         Miss Missing You                                       SR0000720423                   UMG Recordings, Inc.
  4888   Fall Out Boy                                         My Songs Know What You Did In The Dark (Light Em Up)   SR0000718973                   UMG Recordings, Inc.
  4889   Fall Out Boy                                         Novocaine                                              SR0000766550                   UMG Recordings, Inc.
  4890   Fall Out Boy                                         Rat A Tat                                              SR0000720423                   UMG Recordings, Inc.
  4891   Fall Out Boy                                         Save Rock And Roll                                     SR0000720423                   UMG Recordings, Inc.
  4892   Fall Out Boy                                         The Kids Aren't Alright                                SR0000766934                   UMG Recordings, Inc.
  4893   Fall Out Boy                                         The Mighty Fall                                        SR0000720423                   UMG Recordings, Inc.
  4894   Fall Out Boy                                         The Phoenix                                            SR0000720423                   UMG Recordings, Inc.
  4895   Fall Out Boy                                         Thnks fr th Mmrs                                       SR0000766550                   UMG Recordings, Inc.
  4896   Fall Out Boy                                         Twin Skeleton's (Hotel In NYC)                         SR0000766550                   UMG Recordings, Inc.
  4897   Fall Out Boy                                         Uma Thurman                                            SR0000766286                   UMG Recordings, Inc.
  4898   Fall Out Boy                                         Where Did The Party Go                                 SR0000720423                   UMG Recordings, Inc.
  4899   Fall Out Boy                                         Young Volcanoes                                        SR0000720423                   UMG Recordings, Inc.
  4900   Far East Movement                                    Like A G6                                              SR0000658290                   UMG Recordings, Inc.
  4901   Feist                                                1234                                                   SR0000406935                   UMG Recordings, Inc.
  4902   Feist                                                Brandy Alexander                                       SR0000406936                   UMG Recordings, Inc.
  4903   Feist                                                Gatekeeper                                             SR0000374394                   UMG Recordings, Inc.
  4904   Feist                                                Honey Honey                                            SR0000406936                   UMG Recordings, Inc.
  4905   Feist                                                How My Heart Behaves                                   SR0000406936                   UMG Recordings, Inc.
  4906   Feist                                                I Feel It All                                          SR0000406936                   UMG Recordings, Inc.
  4907   Feist                                                Inside And Out                                         SR0000374394                   UMG Recordings, Inc.
  4908   Feist                                                Intuition                                              SR0000406936                   UMG Recordings, Inc.
  4909   Feist                                                Leisure Suite                                          SR0000374394                   UMG Recordings, Inc.
  4910   Feist                                                Let It Die                                             SR0000374394                   UMG Recordings, Inc.
  4911   Feist                                                Lonely Lonely                                          SR0000374394                   UMG Recordings, Inc.
  4912   Feist                                                Mushaboom                                              SR0000388836                   UMG Recordings, Inc.
  4913   Feist                                                My Moon My Man                                         SR0000620089                   UMG Recordings, Inc.
  4914   Feist                                                Now At Last                                            SR0000374394                   UMG Recordings, Inc.
  4915   Feist                                                One Evening                                            SR0000374394                   UMG Recordings, Inc.
  4916   Feist                                                Past In Present                                        SR0000406936                   UMG Recordings, Inc.
  4917   Feist                                                Sealion                                                SR0000406936                   UMG Recordings, Inc.
  4918   Feist                                                Secret Heart                                           SR0000374394                   UMG Recordings, Inc.
  4919   Feist                                                So Sorry                                               SR0000406936                   UMG Recordings, Inc.
  4920   Feist                                                The Limit To Your Love                                 SR0000406936                   UMG Recordings, Inc.
  4921   Feist                                                The Park                                               SR0000406936                   UMG Recordings, Inc.
  4922   Feist                                                The Water                                              SR0000406936                   UMG Recordings, Inc.
  4923   Feist                                                Tout Doucement                                         SR0000374394                   UMG Recordings, Inc.
  4924   Feist                                                When I Was A Young Girl                                SR0000374394                   UMG Recordings, Inc.
  4925   Fergie                                               All That I Got (The Make Up Song)                      SR0000393675                   UMG Recordings, Inc.
  4926   Fergie                                               Barracuda                                              SR0000613597                   UMG Recordings, Inc.
  4927   Fergie                                               Big Girls Don't Cry (Personal)                         SR0000393675                   UMG Recordings, Inc.
  4928   Fergie                                               Clumsy                                                 SR0000393675                   UMG Recordings, Inc.
  4929   Fergie                                               Fergalicious                                           SR0000393675                   UMG Recordings, Inc.
  4930   Fergie                                               Finally                                                SR0000393675                   UMG Recordings, Inc.
  4931   Fergie                                               Glamorous                                              SR0000393675                   UMG Recordings, Inc.
  4932   Fergie                                               Here I Come                                            SR0000393675                   UMG Recordings, Inc.
  4933   Fergie                                               Labels Or Love                                         SR0000613598                   UMG Recordings, Inc.
  4934   Fergie                                               London Bridge                                          SR0000399946                   UMG Recordings, Inc.
  4935   Fergie                                               Losing My Ground                                       SR0000393675                   UMG Recordings, Inc.
  4936   Fergie                                               Mary Jane Shoes                                        SR0000393675                   UMG Recordings, Inc.
  4937   Fergie                                               Pedestal                                               SR0000393675                   UMG Recordings, Inc.
  4938   Fergie                                               Velvet                                                 SR0000393675                   UMG Recordings, Inc.
  4939   Fergie                                               Voodoo Doll                                            SR0000393675                   UMG Recordings, Inc.
  4940   Flobots                                              Anne Braden                                            SR0000613276                   UMG Recordings, Inc.
  4941   Flobots                                              Combat                                                 SR0000613276                   UMG Recordings, Inc.
  4942   Flobots                                              Fight With Tools                                       SR0000613276                   UMG Recordings, Inc.
  4943   Flobots                                              Mayday!!!                                              SR0000613276                   UMG Recordings, Inc.
  4944   Flobots                                              Never Had It                                           SR0000613276                   UMG Recordings, Inc.
  4945   Flobots                                              Rise                                                   SR0000613276                   UMG Recordings, Inc.
  4946   Flobots                                              Same Thing                                             SR0000613276                   UMG Recordings, Inc.
  4947   Flobots                                              Stand Up                                               SR0000613276                   UMG Recordings, Inc.
  4948   Flobots                                              The Rhythm Method (Move!)                              SR0000613276                   UMG Recordings, Inc.
  4949   Flobots                                              There's A War Going On For Your Mind                   SR0000613276                   UMG Recordings, Inc.
  4950   Flobots                                              We Are Winning                                         SR0000613276                   UMG Recordings, Inc.
  4951   Florence + The Machine                               Between Two Lungs                                      SR0000645045                   UMG Recordings, Inc.
  4952   Florence + The Machine                               Blinding                                               SR0000645045                   UMG Recordings, Inc.
  4953   Florence + The Machine                               Cosmic Love                                            SR0000645045                   UMG Recordings, Inc.
  4954   Florence + The Machine                               Dog Days Are Over                                      SR0000645045                   UMG Recordings, Inc.
  4955   Florence + The Machine                               Girl With One Eye                                      SR0000645045                   UMG Recordings, Inc.
  4956   Florence + The Machine                               Howl                                                   SR0000645045                   UMG Recordings, Inc.
  4957   Florence + The Machine                               Hurricane Drunk                                        SR0000645045                   UMG Recordings, Inc.
  4958   Florence + The Machine                               I'm Not Calling You A Liar                             SR0000645045                   UMG Recordings, Inc.
  4959   Florence + The Machine                               My Boy Builds Coffins                                  SR0000645045                   UMG Recordings, Inc.
  4960   Florence + The Machine                               Rabbit Heart (Raise It Up)                             SR0000645045                   UMG Recordings, Inc.
  4961   Florence + The Machine                               You've Got The Love                                    SR0000645045                   UMG Recordings, Inc.
  4962   Frank Ocean                                          Bad Religion                                           SR0000704928                   UMG Recordings, Inc.
  4963   Frank Ocean                                          Crack Rock                                             SR0000704928                   UMG Recordings, Inc.
  4964   Frank Ocean                                          End                                                    SR0000704928                   UMG Recordings, Inc.
  4965   Frank Ocean                                          Fertilizer                                             SR0000704928                   UMG Recordings, Inc.
  4966   Frank Ocean                                          Forrest Gump                                           SR0000704928                   UMG Recordings, Inc.
  4967   Frank Ocean                                          Lost                                                   SR0000704928                   UMG Recordings, Inc.
  4968   Frank Ocean                                          Monks                                                  SR0000704928                   UMG Recordings, Inc.
  4969   Frank Ocean                                          Not Just Money                                         SR0000704928                   UMG Recordings, Inc.


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                                   Artist                                                   Track                                   Registration Number                     Plaintiff
  4970   Frank Ocean                                          Pilot Jones                                                  SR0000704928                   UMG Recordings, Inc.
  4971   Frank Ocean                                          Pink Matter                                                  SR0000704928                   UMG Recordings, Inc.
  4972   Frank Ocean                                          Pyramids                                                     SR0000704928                   UMG Recordings, Inc.
  4973   Frank Ocean                                          Sierra Leone                                                 SR0000704928                   UMG Recordings, Inc.
  4974   Frank Ocean                                          Start                                                        SR0000704928                   UMG Recordings, Inc.
  4975   Frank Ocean                                          Super Rich Kids                                              SR0000704928                   UMG Recordings, Inc.
  4976   Frank Ocean                                          Sweet Life                                                   SR0000704928                   UMG Recordings, Inc.
  4977   Frank Ocean                                          Thinkin Bout You                                             SR0000699626                   UMG Recordings, Inc.
  4978   Frank Ocean                                          White                                                        SR0000704928                   UMG Recordings, Inc.
  4979   Gary Allan                                           As Long As You're Looking Back                               SR0000613393                   UMG Recordings, Inc.
  4980   Gary Allan                                           Half Of My Mistakes                                          SR0000613393                   UMG Recordings, Inc.
  4981   Gary Allan                                           Like It's A Bad Thing                                        SR0000613393                   UMG Recordings, Inc.
  4982   Gary Allan                                           Living Hard                                                  SR0000613393                   UMG Recordings, Inc.
  4983   Gary Allan                                           She's So California                                          SR0000613393                   UMG Recordings, Inc.
  4984   Gary Allan                                           Trying To Matter                                             SR0000613393                   UMG Recordings, Inc.
  4985   Gary Allan                                           Watching Airplanes                                           SR0000613394                   UMG Recordings, Inc.
  4986   Gary Allan                                           We Touched The Sun                                           SR0000613393                   UMG Recordings, Inc.
  4987   Gary Allan                                           Wrecking Ball                                                SR0000613393                   UMG Recordings, Inc.
  4988   Gary Allan                                           Yesterday's Rain                                             SR0000613393                   UMG Recordings, Inc.
  4989   George Strait                                        A Fire I Can't Put Out                                       SR0000213745                   UMG Recordings, Inc.
  4990   George Strait                                        Ace In The Hole                                              SR0000100975                   UMG Recordings, Inc.
  4991   George Strait                                        Adalida                                                      SR0000278184                   UMG Recordings, Inc.
  4992   George Strait                                        All My Ex's Live In Texas                                    SR0000358502                   UMG Recordings, Inc.
  4993   George Strait                                        Am I Blue (Yes I'm Blue)                                     SR0000213745                   UMG Recordings, Inc.
  4994   George Strait                                        Amarillo By Morning                                          SR0000213745                   UMG Recordings, Inc.
  4995   George Strait                                        Baby Blue                                                    SR0000358502                   UMG Recordings, Inc.
  4996   George Strait                                        Baby's Gotten Good At Goodbye                                SR0000100975                   UMG Recordings, Inc.
  4997   George Strait                                        Blue Clear Sky                                               SR0000218886                   UMG Recordings, Inc.
  4998   George Strait                                        Carried Away                                                 SR0000358502                   UMG Recordings, Inc.
  4999   George Strait                                        Carrying Your Love With Me                                   SR0000358502                   UMG Recordings, Inc.
  5000   George Strait                                        Check Yes Or No                                              SR0000213745                   UMG Recordings, Inc.
  5001   George Strait                                        Cowboys Like Us                                              SR0000333733                   UMG Recordings, Inc.
  5002   George Strait                                        Desperately                                                  SR0000334394                   UMG Recordings, Inc.
  5003   George Strait                                        Does Fort Worth Ever Cross Your Mind                         SR0000213745                   UMG Recordings, Inc.
  5004   George Strait                                        Don't Make Me Come Over There And Love You                   SR0000270094                   UMG Recordings, Inc.
  5005   George Strait                                        Down And Out                                                 SR0000030829                   UMG Recordings, Inc.
  5006   George Strait                                        Drinking Champagne                                           SR0000213745                   UMG Recordings, Inc.
  5007   George Strait                                        Easy Come, Easy Go                                           SR0000213745                   UMG Recordings, Inc.
  5008   George Strait                                        Famous Last Words Of A Fool                                  SR0000358502                   UMG Recordings, Inc.
  5009   George Strait                                        Fool Hearted Memory                                          SR0000213745                   UMG Recordings, Inc.
  5010   George Strait                                        Go On                                                        SR0000270094                   UMG Recordings, Inc.
  5011   George Strait                                        Gone As A Girl Can Get                                       SR0000141229                   UMG Recordings, Inc.
  5012   George Strait                                        Good News, Bad News                                          SR0000372131                   UMG Recordings, Inc.
  5013   George Strait                                        Heartland                                                    SR0000213745                   UMG Recordings, Inc.
  5014   George Strait                                        How 'Bout Them Cowgirls                                      SR0000398524                   UMG Recordings, Inc.
  5015   George Strait                                        I Can Still Make Cheyenne                                    SR0000358502                   UMG Recordings, Inc.
  5016   George Strait                                        I Cross My Heart                                             SR0000213745                   UMG Recordings, Inc.
  5017   George Strait                                        I Hate Everything                                            SR0000358502                   UMG Recordings, Inc.
  5018   George Strait                                        I Just Want To Dance With You                                SR0000252101                   UMG Recordings, Inc.
  5019   George Strait                                        I Know She Still Loves Me                                    SR0000358502                   UMG Recordings, Inc.
  5020   George Strait                                        I'd Like To Have That One Back                               SR0000178495                   UMG Recordings, Inc.
  5021   George Strait                                        If I Know Me                                                 SR0000358502                   UMG Recordings, Inc.
  5022   George Strait                                        If You Ain't Lovin' (You Ain't Livin')                       SR0000213745                   UMG Recordings, Inc.
  5023   George Strait                                        If You Can Do Anything Else                                  SR0000270094                   UMG Recordings, Inc.
  5024   George Strait                                        If You're Thinking You Want A Stranger (There's One Coming   SR0000030829                   UMG Recordings, Inc.
                                                              Home)
  5025   George Strait                                        It Ain't Cool To Be Crazy About You                          SR0000358502                   UMG Recordings, Inc.
  5026   George Strait                                        I've Come To Expect It From You                              SR0000358502                   UMG Recordings, Inc.
  5027   George Strait                                        Lead On                                                      SR0000358502                   UMG Recordings, Inc.
  5028   George Strait                                        Let's Fall To Pieces Together                                SR0000358502                   UMG Recordings, Inc.
  5029   George Strait                                        Living And Living Well                                       SR0000309691                   UMG Recordings, Inc.
  5030   George Strait                                        Love Without End, Amen                                       SR0000358502                   UMG Recordings, Inc.
  5031   George Strait                                        Marina Del Rey                                               SR0000066434                   UMG Recordings, Inc.
  5032   George Strait                                        Meanwhile                                                    SR0000263154                   UMG Recordings, Inc.
  5033   George Strait                                        Nobody In His Right Mind Would've Left Her                   SR0000077926                   UMG Recordings, Inc.
  5034   George Strait                                        Ocean Front Property                                         SR0000079124                   UMG Recordings, Inc.
  5035   George Strait                                        One Night At A Time                                          SR0000358502                   UMG Recordings, Inc.
  5036   George Strait                                        Overnight Success                                            SR0000100975                   UMG Recordings, Inc.
  5037   George Strait                                        Right Or Wrong                                               SR0000358502                   UMG Recordings, Inc.
  5038   George Strait                                        Round About Way                                              SR0000358502                   UMG Recordings, Inc.
  5039   George Strait                                        Run                                                          SR0000358502                   UMG Recordings, Inc.
  5040   George Strait                                        She Let Herself Go                                           SR0000801476                   UMG Recordings, Inc.
  5041   George Strait                                        She'll Leave You With A Smile                                SR0000358502                   UMG Recordings, Inc.
  5042   George Strait                                        So Much Like My Dad                                          SR0000358502                   UMG Recordings, Inc.
  5043   George Strait                                        The Best Day                                                 SR0000278800                   UMG Recordings, Inc.
  5044   George Strait                                        The Big One                                                  SR0000358502                   UMG Recordings, Inc.
  5045   George Strait                                        The Chair                                                    SR0000073980                   UMG Recordings, Inc.
  5046   George Strait                                        The Chill Of An Early Fall                                   SR0000128640                   UMG Recordings, Inc.
  5047   George Strait                                        The Cowboy Rides Away                                        SR0000213745                   UMG Recordings, Inc.
  5048   George Strait                                        The Fireman                                                  SR0000213745                   UMG Recordings, Inc.
  5049   George Strait                                        The Love Bug                                                 SR0000178495                   UMG Recordings, Inc.
  5050   George Strait                                        The Man In Love With You                                     SR0000178495                   UMG Recordings, Inc.
  5051   George Strait                                        The Seashores Of Old Mexico                                  SR0000801476                   UMG Recordings, Inc.
  5052   George Strait                                        Today My World Slipped Away                                  SR0000278184                   UMG Recordings, Inc.
  5053   George Strait                                        True                                                         SR0000801476                   UMG Recordings, Inc.
  5054   George Strait                                        Unwound                                                      SR0000030829                   UMG Recordings, Inc.


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                                   Artist                                                Track                        Registration Number                     Plaintiff
  5055   George Strait                                        We Really Shouldn't Be Doing This              SR0000278184                   UMG Recordings, Inc.
  5056   George Strait                                        What Do You Say To That                        SR0000263154                   UMG Recordings, Inc.
  5057   George Strait                                        What's Going On In Your World                  SR0000100975                   UMG Recordings, Inc.
  5058   George Strait                                        When Did You Stop Loving Me                    SR0000146421                   UMG Recordings, Inc.
  5059   George Strait                                        Write This Down                                SR0000801476                   UMG Recordings, Inc.
  5060   George Strait                                        You Can't Make A Heart Love Somebody           SR0000200310                   UMG Recordings, Inc.
  5061   George Strait                                        You Know Me Better Than That                   SR0000213745                   UMG Recordings, Inc.
  5062   George Strait                                        You Look So Good In Love                       SR0000213745                   UMG Recordings, Inc.
  5063   George Strait                                        You'll Be There                                SR0000376078                   UMG Recordings, Inc.
  5064   George Strait                                        You're Something Special To Me                 SR0000073980                   UMG Recordings, Inc.
  5065   Gotye                                                Bronte                                         SR0000692982                   UMG Recordings, Inc.
  5066   Gotye                                                Don't Worry, We'll Be Watching You             SR0000692982                   UMG Recordings, Inc.
  5067   Gotye                                                Easy Way Out                                   SR0000692982                   UMG Recordings, Inc.
  5068   Gotye                                                Eyes Wide Open                                 SR0000692982                   UMG Recordings, Inc.
  5069   Gotye                                                Giving Me A Chance                             SR0000692982                   UMG Recordings, Inc.
  5070   Gotye                                                I Feel Better                                  SR0000692982                   UMG Recordings, Inc.
  5071   Gotye                                                In Your Light                                  SR0000692982                   UMG Recordings, Inc.
  5072   Gotye                                                Save Me                                        SR0000692982                   UMG Recordings, Inc.
  5073   Gotye                                                Smoke And Mirrors                              SR0000692982                   UMG Recordings, Inc.
  5074   Gotye                                                Somebody That I Used To Know                   SR0000692982                   UMG Recordings, Inc.
  5075   Gotye                                                State Of The Art                               SR0000692982                   UMG Recordings, Inc.
  5076   Gwen Stefani                                         4 In The Morning                               SR0000400614                   UMG Recordings, Inc.
  5077   Gwen Stefani                                         Breakin' Up                                    SR0000400614                   UMG Recordings, Inc.
  5078   Gwen Stefani                                         Bubble Pop Electric                            SR0000364759                   UMG Recordings, Inc.
  5079   Gwen Stefani                                         Cool                                           SR0000364759                   UMG Recordings, Inc.
  5080   Gwen Stefani                                         Crash                                          SR0000364759                   UMG Recordings, Inc.
  5081   Gwen Stefani                                         Danger Zone                                    SR0000364759                   UMG Recordings, Inc.
  5082   Gwen Stefani                                         Don't Get It Twisted                           SR0000400614                   UMG Recordings, Inc.
  5083   Gwen Stefani                                         Early Winter                                   SR0000400614                   UMG Recordings, Inc.
  5084   Gwen Stefani                                         Fluorescent                                    SR0000400614                   UMG Recordings, Inc.
  5085   Gwen Stefani                                         Harajuku Girls                                 SR0000364759                   UMG Recordings, Inc.
  5086   Gwen Stefani                                         Hollaback Girl                                 SR0000364759                   UMG Recordings, Inc.
  5087   Gwen Stefani                                         Long Way To Go                                 SR0000364759                   UMG Recordings, Inc.
  5088   Gwen Stefani                                         Luxurious                                      SR0000364759                   UMG Recordings, Inc.
  5089   Gwen Stefani                                         Now That You Got It                            SR0000400614                   UMG Recordings, Inc.
  5090   Gwen Stefani                                         Orange County Girl                             SR0000400614                   UMG Recordings, Inc.
  5091   Gwen Stefani                                         Rich Girl                                      SR0000364759                   UMG Recordings, Inc.
  5092   Gwen Stefani                                         Serious                                        SR0000364759                   UMG Recordings, Inc.
  5093   Gwen Stefani                                         The Real Thing                                 SR0000364759                   UMG Recordings, Inc.
  5094   Gwen Stefani                                         The Sweet Escape                               SR0000400614                   UMG Recordings, Inc.
  5095   Gwen Stefani                                         U Started It                                   SR0000400614                   UMG Recordings, Inc.
  5096   Gwen Stefani                                         What You Waiting For?                          SR0000364759                   UMG Recordings, Inc.
  5097   Gwen Stefani                                         Wind It Up                                     SR0000400613                   UMG Recordings, Inc.
  5098   Gwen Stefani                                         Yummy                                          SR0000400614                   UMG Recordings, Inc.
  5099   Hinder                                               Bed Of Roses                                   SR0000617110                   UMG Recordings, Inc.
  5100   Hinder                                               Better Than Me                                 SR0000379192                   UMG Recordings, Inc.
  5101   Hinder                                               Bliss (I Don't Wanna Know)                     SR0000379192                   UMG Recordings, Inc.
  5102   Hinder                                               Born To Be Wild                                SR0000617110                   UMG Recordings, Inc.
  5103   Hinder                                               By The Way                                     SR0000379192                   UMG Recordings, Inc.
  5104   Hinder                                               Far From Home                                  SR0000622802                   UMG Recordings, Inc.
  5105   Hinder                                               Get Stoned                                     SR0000379192                   UMG Recordings, Inc.
  5106   Hinder                                               Heartless                                      SR0000619828                   UMG Recordings, Inc.
  5107   Hinder                                               Heaven Sent                                    SR0000622802                   UMG Recordings, Inc.
  5108   Hinder                                               Homecoming Queen                               SR0000379192                   UMG Recordings, Inc.
  5109   Hinder                                               How Long                                       SR0000379192                   UMG Recordings, Inc.
  5110   Hinder                                               Last Kiss Goodbye                              SR0000622802                   UMG Recordings, Inc.
  5111   Hinder                                               Lips Of An Angel                               SR0000379192                   UMG Recordings, Inc.
  5112   Hinder                                               Live For Today                                 SR0000622802                   UMG Recordings, Inc.
  5113   Hinder                                               Loaded and Alone                               SR0000622802                   UMG Recordings, Inc.
  5114   Hinder                                               Lost In The Sun                                SR0000622802                   UMG Recordings, Inc.
  5115   Hinder                                               Nothin' Good About Goodbye                     SR0000379192                   UMG Recordings, Inc.
  5116   Hinder                                               One Night Stand                                SR0000619828                   UMG Recordings, Inc.
  5117   Hinder                                               Room 21                                        SR0000379192                   UMG Recordings, Inc.
  5118   Hinder                                               Running In The Rain                            SR0000622802                   UMG Recordings, Inc.
  5119   Hinder                                               Shoulda                                        SR0000379192                   UMG Recordings, Inc.
  5120   Hinder                                               Take It To The Limit                           SR0000622802                   UMG Recordings, Inc.
  5121   Hinder                                               Take Me Home Tonight                           SR0000617110                   UMG Recordings, Inc.
  5122   Hinder                                               The Best is Yet to Come                        SR0000622802                   UMG Recordings, Inc.
  5123   Hinder                                               Thing For You                                  SR0000622802                   UMG Recordings, Inc.
  5124   Hinder                                               Thunderstruck                                  SR0000622802                   UMG Recordings, Inc.
  5125   Hinder                                               Up All Night                                   SR0000619214                   UMG Recordings, Inc.
  5126   Hinder                                               Use Me                                         SR0000614599                   UMG Recordings, Inc.
  5127   Hinder                                               Without You                                    SR0000619215                   UMG Recordings, Inc.
  5128   Iggy Azalea                                          Work                                           SR0000720743                   UMG Recordings, Inc.
  5129   Imagine Dragons                                      America                                        SR0000717800                   UMG Recordings, Inc.
  5130   Imagine Dragons                                      Demons                                         SR0000695196                   UMG Recordings, Inc.
  5131   Imagine Dragons                                      Fallen                                         SR0000706680                   UMG Recordings, Inc.
  5132   Imagine Dragons                                      It's Time                                      SR0000695196                   UMG Recordings, Inc.
  5133   Imagine Dragons                                      My Fault                                       SR0000695196                   UMG Recordings, Inc.
  5134   Imagine Dragons                                      Radioactive                                    SR0000695196                   UMG Recordings, Inc.
  5135   Imagine Dragons                                      Round and Round                                SR0000695196                   UMG Recordings, Inc.
  5136   Imagine Dragons                                      Selene                                         SR0000707482                   UMG Recordings, Inc.
  5137   Imagine Dragons                                      The River                                      SR0000707482                   UMG Recordings, Inc.
  5138   Imagine Dragons                                      Working Man                                    SR0000706680                   UMG Recordings, Inc.
  5139   Jadakiss                                             Air It Out                                     SR0000356267                   UMG Recordings, Inc.
  5140   Jadakiss                                             Bring You Down                                 SR0000356267                   UMG Recordings, Inc.


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                                   Artist                                               Track                        Registration Number                     Plaintiff
  5141   Jadakiss                                             Hot Sauce To Go                               SR0000356267                   UMG Recordings, Inc.
  5142   Jadakiss                                             I'm Goin Back                                 SR0000356267                   UMG Recordings, Inc.
  5143   Jadakiss                                             Real Hip Hop                                  SR0000356267                   UMG Recordings, Inc.
  5144   Jadakiss                                             Shine                                         SR0000356267                   UMG Recordings, Inc.
  5145   Jadakiss                                             Still Feel Me                                 SR0000356267                   UMG Recordings, Inc.
  5146   Jadakiss                                             Welcome To D-Block                            SR0000356267                   UMG Recordings, Inc.
  5147   James Blake                                          Give Me My Month                              SR0000673339                   UMG Recordings, Inc.
  5148   James Blake                                          I Mind                                        SR0000673339                   UMG Recordings, Inc.
  5149   James Blake                                          I Never Learnt To Share                       SR0000673339                   UMG Recordings, Inc.
  5150   James Blake                                          Limit To Your Love                            SR0000673339                   UMG Recordings, Inc.
  5151   James Blake                                          Lindisfarne II                                SR0000673339                   UMG Recordings, Inc.
  5152   James Blake                                          Measurements                                  SR0000673339                   UMG Recordings, Inc.
  5153   James Blake                                          To Care (Like You)                            SR0000673339                   UMG Recordings, Inc.
  5154   James Blake                                          Unluck                                        SR0000673339                   UMG Recordings, Inc.
  5155   James Blake                                          Why Don't You Call Me?                        SR0000673339                   UMG Recordings, Inc.
  5156   James Morrison                                       Broken Strings                                SR0000629431                   UMG Recordings, Inc.
  5157   JAY Z                                                Gotta Have It                                 SR0000683714                   UMG Recordings, Inc.
  5158   JAY Z                                                Made In America                               SR0000683714                   UMG Recordings, Inc.
  5159   JAY Z                                                Murder To Excellence                          SR0000683714                   UMG Recordings, Inc.
  5160   JAY Z                                                New Day                                       SR0000683714                   UMG Recordings, Inc.
  5161   JAY Z                                                Ni**as In Paris                               SR0000683714                   UMG Recordings, Inc.
  5162   JAY Z                                                No Church In The Wild                         SR0000683714                   UMG Recordings, Inc.
  5163   JAY Z                                                Otis                                          SR0000683713                   UMG Recordings, Inc.
  5164   JAY Z                                                That's My Bitch                               SR0000683714                   UMG Recordings, Inc.
  5165   JAY Z                                                Welcome To The Jungle                         SR0000683714                   UMG Recordings, Inc.
  5166   JAY Z                                                Who Gon Stop Me                               SR0000683714                   UMG Recordings, Inc.
  5167   JAY Z                                                Why I Love You                                SR0000683714                   UMG Recordings, Inc.
  5168   JAY-Z                                                03' Bonnie & Clyde                            SR0000322448                   UMG Recordings, Inc.
  5169   JAY-Z                                                Renegade                                      SR0000305948                   UMG Recordings, Inc.
  5170   Jennifer Lopez                                       I'm Into You                                  SR0000751797                   UMG Recordings, Inc.
  5171   Jennifer Lopez                                       Papi                                          SR0000676979                   UMG Recordings, Inc.
  5172   Jeremih                                              Down On Me                                    SR0000664544                   UMG Recordings, Inc.
  5173   Jessie J                                             Domino                                        SR0000684339                   UMG Recordings, Inc.
  5174   Jimmy Eat World                                      Drugs Or Me                                   SR0000366508                   UMG Recordings, Inc.
  5175   Jimmy Eat World                                      Futures                                       SR0000366508                   UMG Recordings, Inc.
  5176   Jimmy Eat World                                      Just Tonight                                  SR0000366508                   UMG Recordings, Inc.
  5177   Jimmy Eat World                                      Kill                                          SR0000366508                   UMG Recordings, Inc.
  5178   Jimmy Eat World                                      Night Drive                                   SR0000366508                   UMG Recordings, Inc.
  5179   Jimmy Eat World                                      Nothing Wrong                                 SR0000366508                   UMG Recordings, Inc.
  5180   Jimmy Eat World                                      Polaris                                       SR0000366508                   UMG Recordings, Inc.
  5181   Jimmy Eat World                                      The World You Love                            SR0000366508                   UMG Recordings, Inc.
  5182   Josh Turner                                          All Over Me                                   SR0000645586                   UMG Recordings, Inc.
  5183   Josh Turner                                          Angels Fall Sometimes                         SR0000386947                   UMG Recordings, Inc.
  5184   Josh Turner                                          Another Try                                   SR0000615283                   UMG Recordings, Inc.
  5185   Josh Turner                                          As Fast As I Could                            SR0000645586                   UMG Recordings, Inc.
  5186   Josh Turner                                          Baby, I Go Crazy                              SR0000621056                   UMG Recordings, Inc.
  5187   Josh Turner                                          Baby's Gone Home To Mama                      SR0000386947                   UMG Recordings, Inc.
  5188   Josh Turner                                          Backwoods Boy                                 SR0000344336                   UMG Recordings, Inc.
  5189   Josh Turner                                          Everything Is Fine                            SR0000621055                   UMG Recordings, Inc.
  5190   Josh Turner                                          Eye Candy                                     SR0000645586                   UMG Recordings, Inc.
  5191   Josh Turner                                          Firecracker                                   SR0000621055                   UMG Recordings, Inc.
  5192   Josh Turner                                          Friday Paycheck                               SR0000645586                   UMG Recordings, Inc.
  5193   Josh Turner                                          Good Woman Bad                                SR0000344336                   UMG Recordings, Inc.
  5194   Josh Turner                                          Gravity                                       SR0000381628                   UMG Recordings, Inc.
  5195   Josh Turner                                          Haywire                                       SR0000645586                   UMG Recordings, Inc.
  5196   Josh Turner                                          I Had One One Time                            SR0000344336                   UMG Recordings, Inc.
  5197   Josh Turner                                          I Wouldn't Be A Man                           SR0000645586                   UMG Recordings, Inc.
  5198   Josh Turner                                          I'll Be There                                 SR0000645586                   UMG Recordings, Inc.
  5199   Josh Turner                                          In My Dreams                                  SR0000344336                   UMG Recordings, Inc.
  5200   Josh Turner                                          Jacksonville                                  SR0000344336                   UMG Recordings, Inc.
  5201   Josh Turner                                          Let's Find A Church                           SR0000645586                   UMG Recordings, Inc.
  5202   Josh Turner                                          Long Black Train                              SR0000344336                   UMG Recordings, Inc.
  5203   Josh Turner                                          Lord Have Mercy On A Country Boy              SR0000386947                   UMG Recordings, Inc.
  5204   Josh Turner                                          Loretta Lynn's Lincoln                        SR0000386947                   UMG Recordings, Inc.
  5205   Josh Turner                                          Lovin' You On My Mind                         SR0000645586                   UMG Recordings, Inc.
  5206   Josh Turner                                          Me And God                                    SR0000386947                   UMG Recordings, Inc.
  5207   Josh Turner                                          No Rush                                       SR0000386947                   UMG Recordings, Inc.
  5208   Josh Turner                                          Nowhere Fast                                  SR0000621055                   UMG Recordings, Inc.
  5209   Josh Turner                                          One Woman Man                                 SR0000621055                   UMG Recordings, Inc.
  5210   Josh Turner                                          She'll Go On You                              SR0000344336                   UMG Recordings, Inc.
  5211   Josh Turner                                          So Not My Baby                                SR0000621055                   UMG Recordings, Inc.
  5212   Josh Turner                                          Soulmate                                      SR0000621055                   UMG Recordings, Inc.
  5213   Josh Turner                                          South Carolina Low Country                    SR0000621055                   UMG Recordings, Inc.
  5214   Josh Turner                                          The Answer                                    SR0000645586                   UMG Recordings, Inc.
  5215   Josh Turner                                          The Difference Between A Woman And A Man      SR0000344336                   UMG Recordings, Inc.
  5216   Josh Turner                                          The Longer The Waiting                        SR0000621055                   UMG Recordings, Inc.
  5217   Josh Turner                                          The Way He Was Raised                         SR0000621055                   UMG Recordings, Inc.
  5218   Josh Turner                                          This Kind Of Love                             SR0000645586                   UMG Recordings, Inc.
  5219   Josh Turner                                          Trailerhood                                   SR0000621055                   UMG Recordings, Inc.
  5220   Josh Turner                                          Unburn All Our Bridges                        SR0000344336                   UMG Recordings, Inc.
  5221   Josh Turner                                          Way Down South                                SR0000386947                   UMG Recordings, Inc.
  5222   Josh Turner                                          What It Ain't                                 SR0000344336                   UMG Recordings, Inc.
  5223   Josh Turner                                          White Noise                                   SR0000386947                   UMG Recordings, Inc.
  5224   Josh Turner                                          Why Don't We Just Dance                       SR0000635058                   UMG Recordings, Inc.
  5225   Josh Turner                                          Would You Go With Me                          SR0000615305                   UMG Recordings, Inc.
  5226   Josh Turner                                          You Don't Mess Around With Jim                SR0000344336                   UMG Recordings, Inc.


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                                   Artist                                                  Track                                   Registration Number                     Plaintiff
  5227   Josh Turner                                          Your Man                                                    SR0000386947                   UMG Recordings, Inc.
  5228   Josh Turner                                          Your Smile                                                  SR0000645586                   UMG Recordings, Inc.
  5229   Justin Bieber                                        All Around The World                                        SR0000705166                   UMG Recordings, Inc.
  5230   Justin Bieber                                        All I Want For Christmas Is You (SuperFestive!) Duet with   SR0000704701                   UMG Recordings, Inc.
                                                              Mariah Carey
  5231   Justin Bieber                                        All I Want Is You                                           SR0000704701                   UMG Recordings, Inc.
  5232   Justin Bieber                                        As Long As You Love Me                                      SR0000710074                   UMG Recordings, Inc.
  5233   Justin Bieber                                        Baby                                                        SR0000647660                   UMG Recordings, Inc.
  5234   Justin Bieber                                        Be Alright                                                  SR0000710074                   UMG Recordings, Inc.
  5235   Justin Bieber                                        Beauty And A Beat                                           SR0000710074                   UMG Recordings, Inc.
  5236   Justin Bieber                                        Believe                                                     SR0000704844                   UMG Recordings, Inc.
  5237   Justin Bieber                                        Bigger                                                      SR0000638627                   UMG Recordings, Inc.
  5238   Justin Bieber                                        Boyfriend                                                   SR0000698585                   UMG Recordings, Inc.
  5239   Justin Bieber                                        Catching Feelings                                           SR0000710074                   UMG Recordings, Inc.
  5240   Justin Bieber                                        Christmas Eve                                               SR0000704701                   UMG Recordings, Inc.
  5241   Justin Bieber                                        Christmas Love                                              SR0000704701                   UMG Recordings, Inc.
  5242   Justin Bieber                                        Common Denominator                                          SR0000637163                   UMG Recordings, Inc.
  5243   Justin Bieber                                        Die In Your Arms                                            SR0000705165                   UMG Recordings, Inc.
  5244   Justin Bieber                                        Down To Earth                                               SR0000638627                   UMG Recordings, Inc.
  5245   Justin Bieber                                        Drummer Boy                                                 SR0000704701                   UMG Recordings, Inc.
  5246   Justin Bieber                                        Fa La La                                                    SR0000704701                   UMG Recordings, Inc.
  5247   Justin Bieber                                        Fall                                                        SR0000710074                   UMG Recordings, Inc.
  5248   Justin Bieber                                        Favorite Girl                                               SR0000638627                   UMG Recordings, Inc.
  5249   Justin Bieber                                        First Dance                                                 SR0000638627                   UMG Recordings, Inc.
  5250   Justin Bieber                                        Home This Christmas                                         SR0000704701                   UMG Recordings, Inc.
  5251   Justin Bieber                                        Love Me                                                     SR0000638627                   UMG Recordings, Inc.
  5252   Justin Bieber                                        Maria                                                       SR0000710074                   UMG Recordings, Inc.
  5253   Justin Bieber                                        Mistletoe                                                   SR0000704701                   UMG Recordings, Inc.
  5254   Justin Bieber                                        Never Let You Go                                            SR0000647662                   UMG Recordings, Inc.
  5255   Justin Bieber                                        Never Say Never                                             SR0000659942                   UMG Recordings, Inc.
  5256   Justin Bieber                                        One Less Lonely Girl                                        SR0000636192                   UMG Recordings, Inc.
  5257   Justin Bieber                                        One Love                                                    SR0000710074                   UMG Recordings, Inc.
  5258   Justin Bieber                                        Only Thing I Ever Get For Christmas                         SR0000704701                   UMG Recordings, Inc.
  5259   Justin Bieber                                        Out Of Town Girl                                            SR0000710074                   UMG Recordings, Inc.
  5260   Justin Bieber                                        Overboard                                                   SR0000647657                   UMG Recordings, Inc.
  5261   Justin Bieber                                        Right Here                                                  SR0000710074                   UMG Recordings, Inc.
  5262   Justin Bieber                                        Runaway Love                                                SR0000647657                   UMG Recordings, Inc.
  5263   Justin Bieber                                        Santa Claus Is Coming To Town                               SR0000704701                   UMG Recordings, Inc.
  5264   Justin Bieber                                        She Don't Like The Lights                                   SR0000710074                   UMG Recordings, Inc.
  5265   Justin Bieber                                        Silent Night                                                SR0000704701                   UMG Recordings, Inc.
  5266   Justin Bieber                                        Somebody To Love                                            SR0000647657                   UMG Recordings, Inc.
  5267   Justin Bieber                                        Stuck In The Moment                                         SR0000647657                   UMG Recordings, Inc.
  5268   Justin Bieber                                        Take You                                                    SR0000710074                   UMG Recordings, Inc.
  5269   Justin Bieber                                        That Should Be Me                                           SR0000647657                   UMG Recordings, Inc.
  5270   Justin Bieber                                        The Christmas Song (Chestnuts Roasting On An Open Fire)     SR0000704701                   UMG Recordings, Inc.

  5271   Justin Bieber                                        Thought Of You                                              SR0000710074                   UMG Recordings, Inc.
  5272   Justin Bieber                                        U Smile                                                     SR0000647657                   UMG Recordings, Inc.
  5273   K Camp                                               Cut Her Off                                                 SR0000741940                   UMG Recordings, Inc.
  5274   Kanye West                                           All Of The Lights                                           SR0000683430                   UMG Recordings, Inc.
  5275   Kanye West                                           All Of The Lights (Interlude)                               SR0000683430                   UMG Recordings, Inc.
  5276   Kanye West                                           Bad News                                                    SR0000620203                   UMG Recordings, Inc.
  5277   Kanye West                                           Barry Bonds                                                 SR0000615020                   UMG Recordings, Inc.
  5278   Kanye West                                           Big Brother                                                 SR0000615020                   UMG Recordings, Inc.
  5279   Kanye West                                           Bittersweet Poetry                                          SR0000614872                   UMG Recordings, Inc.
  5280   Kanye West                                           Blame Game                                                  SR0000683430                   UMG Recordings, Inc.
  5281   Kanye West                                           Bound 2                                                     SR0000724178                   UMG Recordings, Inc.
  5282   Kanye West                                           Breathe In Breathe Out                                      SR0000347391                   UMG Recordings, Inc.
  5283   Kanye West                                           Champion                                                    SR0000615020                   UMG Recordings, Inc.
  5284   Kanye West                                           Clique                                                      SR0000763373                   UMG Recordings, Inc.
  5285   Kanye West                                           Cold.1                                                      SR0000683430                   UMG Recordings, Inc.
  5286   Kanye West                                           Coldest Winter                                              SR0000620203                   UMG Recordings, Inc.
  5287   Kanye West                                           Dark Fantasy                                                SR0000683430                   UMG Recordings, Inc.
  5288   Kanye West                                           Devil In A New Dress                                        SR0000683430                   UMG Recordings, Inc.
  5289   Kanye West                                           Diamonds From Sierra Leone                                  SR0000372867                   UMG Recordings, Inc.
  5290   Kanye West                                           Don't Like.1                                                SR0000683430                   UMG Recordings, Inc.
  5291   Kanye West                                           Drunk And Hot Girls                                         SR0000615020                   UMG Recordings, Inc.
  5292   Kanye West                                           Everything I Am                                             SR0000615020                   UMG Recordings, Inc.
  5293   Kanye West                                           Get Em High                                                 SR0000347391                   UMG Recordings, Inc.
  5294   Kanye West                                           Good Morning                                                SR0000615020                   UMG Recordings, Inc.
  5295   Kanye West                                           Gorgeous                                                    SR0000683430                   UMG Recordings, Inc.
  5296   Kanye West                                           Graduation Day                                              SR0000347391                   UMG Recordings, Inc.
  5297   Kanye West                                           Hell Of A Life                                              SR0000683430                   UMG Recordings, Inc.
  5298   Kanye West                                           I Wonder                                                    SR0000615020                   UMG Recordings, Inc.
  5299   Kanye West                                           I'll Fly Away                                               SR0000347391                   UMG Recordings, Inc.
  5300   Kanye West                                           Last Call                                                   SR0000347391                   UMG Recordings, Inc.
  5301   Kanye West                                           Lil Jimmy Skit                                              SR0000347391                   UMG Recordings, Inc.
  5302   Kanye West                                           Lost In The World                                           SR0000683430                   UMG Recordings, Inc.
  5303   Kanye West                                           Mercy                                                       SR0000699408                   UMG Recordings, Inc.
  5304   Kanye West                                           Mercy.1                                                     SR0000763373                   UMG Recordings, Inc.
  5305   Kanye West                                           Monster                                                     SR0000683430                   UMG Recordings, Inc.
  5306   Kanye West                                           Never Let Me Down                                           SR0000347391                   UMG Recordings, Inc.
  5307   Kanye West                                           New God Flow.1                                              SR0000683430                   UMG Recordings, Inc.
  5308   Kanye West                                           Paranoid                                                    SR0000620203                   UMG Recordings, Inc.
  5309   Kanye West                                           Pinocchio Story (Freestyle Live From Singapore)             SR0000620203                   UMG Recordings, Inc.
  5310   Kanye West                                           POWER                                                       SR0000683430                   UMG Recordings, Inc.


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                                   Artist                                                 Track                           Registration Number                     Plaintiff
  5311   Kanye West                                           RoboCop                                            SR0000620203                   UMG Recordings, Inc.
  5312   Kanye West                                           Say You Will                                       SR0000620203                   UMG Recordings, Inc.
  5313   Kanye West                                           School Spirit                                      SR0000347391                   UMG Recordings, Inc.
  5314   Kanye West                                           School Spirit Skit 1                               SR0000347391                   UMG Recordings, Inc.
  5315   Kanye West                                           See Me Now                                         SR0000667365                   UMG Recordings, Inc.
  5316   Kanye West                                           See You In My Nightmares                           SR0000620203                   UMG Recordings, Inc.
  5317   Kanye West                                           Slow Jamz                                          SR0000347391                   UMG Recordings, Inc.
  5318   Kanye West                                           So Appalled                                        SR0000683430                   UMG Recordings, Inc.
  5319   Kanye West                                           Spaceship                                          SR0000347391                   UMG Recordings, Inc.
  5320   Kanye West                                           Street Lights                                      SR0000620203                   UMG Recordings, Inc.
  5321   Kanye West                                           Stronger                                           SR0000615019                   UMG Recordings, Inc.
  5322   Kanye West                                           The Glory                                          SR0000615020                   UMG Recordings, Inc.
  5323   Kanye West                                           The One                                            SR0000763373                   UMG Recordings, Inc.
  5324   Kanye West                                           To The World                                       SR0000763373                   UMG Recordings, Inc.
  5325   Kanye West                                           Two Words                                          SR0000347391                   UMG Recordings, Inc.
  5326   Kanye West                                           Way Too Cold                                       SR0000699415                   UMG Recordings, Inc.
  5327   Kanye West                                           We Don't Care                                      SR0000347391                   UMG Recordings, Inc.
  5328   Kanye West                                           Welcome To Heartbreak                              SR0000620203                   UMG Recordings, Inc.
  5329   Kanye West                                           Who Will Survive In America                        SR0000683430                   UMG Recordings, Inc.
  5330   Kanye West                                           Workout Plan                                       SR0000347391                   UMG Recordings, Inc.
  5331   Keane                                                Snowed Under                                       SR0000637459                   UMG Recordings, Inc.
  5332   Keane                                                Somewhere Only We Know                             SR0000355429                   UMG Recordings, Inc.
  5333   Keane                                                Walnut Tree                                        SR0000737377                   UMG Recordings, Inc.
  5334   Kelly Rowland                                        All Of The Night                                   SR0000681564                   UMG Recordings, Inc.
  5335   Kelly Rowland                                        Commander                                          SR0000658307                   UMG Recordings, Inc.
  5336   Kelly Rowland                                        Down For Whatever                                  SR0000681564                   UMG Recordings, Inc.
  5337   Kelly Rowland                                        Each Other                                         SR0000681564                   UMG Recordings, Inc.
  5338   Kelly Rowland                                        Feelin Me Right Now                                SR0000681564                   UMG Recordings, Inc.
  5339   Kelly Rowland                                        Heaven & Earth                                     SR0000681564                   UMG Recordings, Inc.
  5340   Kelly Rowland                                        I'm Dat Chick                                      SR0000681564                   UMG Recordings, Inc.
  5341   Kelly Rowland                                        Keep It Between Us                                 SR0000681564                   UMG Recordings, Inc.
  5342   Kelly Rowland                                        Lay It On Me                                       SR0000681564                   UMG Recordings, Inc.
  5343   Kelly Rowland                                        Motivation                                         SR0000677261                   UMG Recordings, Inc.
  5344   Kelly Rowland                                        Turn It Up                                         SR0000681564                   UMG Recordings, Inc.
  5345   Kelly Rowland                                        Work It Man                                        SR0000681564                   UMG Recordings, Inc.
  5346   Keri Hilson                                          Alienated                                          SR0000629123                   UMG Recordings, Inc.
  5347   Keri Hilson                                          Change Me                                          SR0000629123                   UMG Recordings, Inc.
  5348   Keri Hilson                                          Energy                                             SR0000612858                   UMG Recordings, Inc.
  5349   Keri Hilson                                          Get Your Money Up                                  SR0000629123                   UMG Recordings, Inc.
  5350   Keri Hilson                                          How Does It Feel                                   SR0000629123                   UMG Recordings, Inc.
  5351   Keri Hilson                                          Intro                                              SR0000629123                   UMG Recordings, Inc.
  5352   Keri Hilson                                          Intuition                                          SR0000629123                   UMG Recordings, Inc.
  5353   Keri Hilson                                          Knock You Down                                     SR0000629123                   UMG Recordings, Inc.
  5354   Keri Hilson                                          Make Love                                          SR0000629123                   UMG Recordings, Inc.
  5355   Keri Hilson                                          Return The Favor                                   SR0000619820                   UMG Recordings, Inc.
  5356   Keri Hilson                                          Slow Dance                                         SR0000629123                   UMG Recordings, Inc.
  5357   Keri Hilson                                          Tell Him The Truth                                 SR0000629123                   UMG Recordings, Inc.
  5358   Keri Hilson                                          Turnin Me On                                       SR0000621818                   UMG Recordings, Inc.
  5359   Keri Hilson                                          Where Did He Go                                    SR0000629123                   UMG Recordings, Inc.
  5360   Keyshia Cole                                         Didn't I Tell You                                  SR0000615233                   UMG Recordings, Inc.
  5361   Keyshia Cole                                         Enough Of No Love                                  SR0000704034                   UMG Recordings, Inc.
  5362   Keyshia Cole                                         Fallin' Out                                        SR0000615233                   UMG Recordings, Inc.
  5363   Keyshia Cole                                         Give Me More                                       SR0000615233                   UMG Recordings, Inc.
  5364   Keyshia Cole                                         Got To Get My Heart Back                           SR0000615233                   UMG Recordings, Inc.
  5365   Keyshia Cole                                         Heaven Sent                                        SR0000615233                   UMG Recordings, Inc.
  5366   Keyshia Cole                                         I Ain't Thru                                       SR0000670139                   UMG Recordings, Inc.
  5367   Keyshia Cole                                         I Remember                                         SR0000615233                   UMG Recordings, Inc.
  5368   Keyshia Cole                                         Just Like You                                      SR0000615233                   UMG Recordings, Inc.
  5369   Keyshia Cole                                         Last Night                                         SR0000615233                   UMG Recordings, Inc.
  5370   Keyshia Cole                                         Losing You                                         SR0000615233                   UMG Recordings, Inc.
  5371   Keyshia Cole                                         Same Thing                                         SR0000615233                   UMG Recordings, Inc.
  5372   Keyshia Cole                                         Shoulda Let You Go                                 SR0000615233                   UMG Recordings, Inc.
  5373   Keyshia Cole                                         Was It Worth It?                                   SR0000615233                   UMG Recordings, Inc.
  5374   Keyshia Cole                                         Work It Out                                        SR0000615233                   UMG Recordings, Inc.
  5375   Kid Cudi                                             Alive (Nightmare)                                  SR0000637865                   UMG Recordings, Inc.
  5376   Kid Cudi                                             All Along                                          SR0000696989                   UMG Recordings, Inc.
  5377   Kid Cudi                                             Ashin' Kusher                                      SR0000696989                   UMG Recordings, Inc.
  5378   Kid Cudi                                             Creepers                                           SR0000763372                   UMG Recordings, Inc.
  5379   Kid Cudi                                             Cudi Zone                                          SR0000637865                   UMG Recordings, Inc.
  5380   Kid Cudi                                             Day 'N' Nite                                       SR0000641952                   UMG Recordings, Inc.
  5381   Kid Cudi                                             Day 'N' Nite (Nightmare)                           SR0000637865                   UMG Recordings, Inc.
  5382   Kid Cudi                                             Don't Play This Song                               SR0000696989                   UMG Recordings, Inc.
  5383   Kid Cudi                                             Enter Galactic (Love Connection Part I)            SR0000637865                   UMG Recordings, Inc.
  5384   Kid Cudi                                             GHOST!                                             SR0000696989                   UMG Recordings, Inc.
  5385   Kid Cudi                                             Heart Of A Lion (Kid Cudi Theme Music)             SR0000637865                   UMG Recordings, Inc.
  5386   Kid Cudi                                             Hyyerr                                             SR0000637865                   UMG Recordings, Inc.
  5387   Kid Cudi                                             In My Dreams (Cudder Anthem)                       SR0000637865                   UMG Recordings, Inc.
  5388   Kid Cudi                                             Is There Any Love                                  SR0000637865                   UMG Recordings, Inc.
  5389   Kid Cudi                                             Make Her Say                                       SR0000641951                   UMG Recordings, Inc.
  5390   Kid Cudi                                             MANIAC                                             SR0000696989                   UMG Recordings, Inc.
  5391   Kid Cudi                                             Marijuana                                          SR0000696989                   UMG Recordings, Inc.
  5392   Kid Cudi                                             Mojo So Dope                                       SR0000696989                   UMG Recordings, Inc.
  5393   Kid Cudi                                             Mr. Rager                                          SR0000695775                   UMG Recordings, Inc.
  5394   Kid Cudi                                             My World                                           SR0000637865                   UMG Recordings, Inc.
  5395   Kid Cudi                                             Pursuit Of Happiness                               SR0000637865                   UMG Recordings, Inc.
  5396   Kid Cudi                                             Revolution (Revofev)                               SR0000696989                   UMG Recordings, Inc.


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                                   Artist                                                  Track                         Registration Number                     Plaintiff
  5397   Kid Cudi                                             Scott Mescudi Vs. The World                       SR0000696989                   UMG Recordings, Inc.
  5398   Kid Cudi                                             Simple As...                                      SR0000637865                   UMG Recordings, Inc.
  5399   Kid Cudi                                             Sky Might Fall                                    SR0000637865                   UMG Recordings, Inc.
  5400   Kid Cudi                                             Solo Dolo (Nightmare)                             SR0000637865                   UMG Recordings, Inc.
  5401   Kid Cudi                                             Soundtrack 2 My Life                              SR0000637865                   UMG Recordings, Inc.
  5402   Kid Cudi                                             T.G.I.F.                                          SR0000637865                   UMG Recordings, Inc.
  5403   Kid Cudi                                             The End                                           SR0000696989                   UMG Recordings, Inc.
  5404   Kid Cudi                                             The Mood                                          SR0000696989                   UMG Recordings, Inc.
  5405   Kid Cudi                                             These Worries                                     SR0000696989                   UMG Recordings, Inc.
  5406   Kid Cudi                                             Trapped In My Mind                                SR0000696989                   UMG Recordings, Inc.
  5407   Kid Cudi                                             Up Up & Away                                      SR0000637865                   UMG Recordings, Inc.
  5408   Kid Cudi                                             We Aite (Wake Your Mind Up)                       SR0000696989                   UMG Recordings, Inc.
  5409   Kid Cudi                                             Wyld'n Cuz I'm Young                              SR0000696989                   UMG Recordings, Inc.
  5410   La Roux                                              Bulletproof                                       SR0000628226                   UMG Recordings, Inc.
  5411   Lady Gaga                                            Again Again                                       SR0000617841                   UMG Recordings, Inc.
  5412   Lady Gaga                                            Alejandro                                         SR0000642917                   UMG Recordings, Inc.
  5413   Lady Gaga                                            Americano                                         SR0000678406                   UMG Recordings, Inc.
  5414   Lady Gaga                                            Bad Kids                                          SR0000678406                   UMG Recordings, Inc.
  5415   Lady Gaga                                            Bad Romance                                       SR0000642919                   UMG Recordings, Inc.
  5416   Lady Gaga                                            Beautiful, Dirty, Rich                            SR0000617842                   UMG Recordings, Inc.
  5417   Lady Gaga                                            Black Jesus (Amen Fashion)                        SR0000678406                   UMG Recordings, Inc.
  5418   Lady Gaga                                            Bloody Mary                                       SR0000678406                   UMG Recordings, Inc.
  5419   Lady Gaga                                            Born This Way                                     SR0000671815                   UMG Recordings, Inc.
  5420   Lady Gaga                                            Born This Way (Country Road Version)              SR0000678406                   UMG Recordings, Inc.
  5421   Lady Gaga                                            Boys Boys Boys                                    SR0000617841                   UMG Recordings, Inc.
  5422   Lady Gaga                                            Brown Eyes                                        SR0000617841                   UMG Recordings, Inc.
  5423   Lady Gaga                                            Christmas Tree                                    SR0000621816                   UMG Recordings, Inc.
  5424   Lady Gaga                                            Dance In The Dark                                 SR0000642917                   UMG Recordings, Inc.
  5425   Lady Gaga                                            Disco Heaven                                      SR0000619254                   UMG Recordings, Inc.
  5426   Lady Gaga                                            Eh, Eh (Nothing Else I Can Say)                   SR0000617841                   UMG Recordings, Inc.
  5427   Lady Gaga                                            Electric Chapel                                   SR0000678406                   UMG Recordings, Inc.
  5428   Lady Gaga                                            Fashion                                           SR0000737557                   UMG Recordings, Inc.
  5429   Lady Gaga                                            Fashion Of His Love                               SR0000678406                   UMG Recordings, Inc.
  5430   Lady Gaga                                            Fashion Of His Love (Fernando Garibay Remix)      SR0000678406                   UMG Recordings, Inc.
  5431   Lady Gaga                                            Government Hooker                                 SR0000678406                   UMG Recordings, Inc.
  5432   Lady Gaga                                            Hair                                              SR0000678406                   UMG Recordings, Inc.
  5433   Lady Gaga                                            Heavy Metal Lover                                 SR0000678406                   UMG Recordings, Inc.
  5434   Lady Gaga                                            Highway Unicorn (Road To Love)                    SR0000678406                   UMG Recordings, Inc.
  5435   Lady Gaga                                            I Like It Rough                                   SR0000617841                   UMG Recordings, Inc.
  5436   Lady Gaga                                            Judas                                             SR0000678407                   UMG Recordings, Inc.
  5437   Lady Gaga                                            Judas (DJ White Shadow Mulger)                    SR0000678406                   UMG Recordings, Inc.
  5438   Lady Gaga                                            Just Dance                                        SR0000613221                   UMG Recordings, Inc.
  5439   Lady Gaga                                            LoveGame                                          SR0000617841                   UMG Recordings, Inc.
  5440   Lady Gaga                                            Marry The Night                                   SR0000678406                   UMG Recordings, Inc.
  5441   Lady Gaga                                            Marry The Night (Zedd Remix)                      SR0000678406                   UMG Recordings, Inc.
  5442   Lady Gaga                                            Money Honey                                       SR0000617841                   UMG Recordings, Inc.
  5443   Lady Gaga                                            Monster                                           SR0000642917                   UMG Recordings, Inc.
  5444   Lady Gaga                                            Paparazzi                                         SR0000617841                   UMG Recordings, Inc.
  5445   Lady Gaga                                            Paparazzi (Radio Edit)                            SR0000617841                   UMG Recordings, Inc.
  5446   Lady Gaga                                            Paper Gangsta                                     SR0000617841                   UMG Recordings, Inc.
  5447   Lady Gaga                                            Poker Face                                        SR0000617843                   UMG Recordings, Inc.
  5448   Lady Gaga                                            Scheiße                                           SR0000678406                   UMG Recordings, Inc.
  5449   Lady Gaga                                            Scheiße (DJ White Shadow Mugler)                  SR0000678406                   UMG Recordings, Inc.
  5450   Lady Gaga                                            So Happy I Could Die                              SR0000642917                   UMG Recordings, Inc.
  5451   Lady Gaga                                            Speechless                                        SR0000642917                   UMG Recordings, Inc.
  5452   Lady Gaga                                            Starstruck                                        SR0000617841                   UMG Recordings, Inc.
  5453   Lady Gaga                                            Summerboy                                         SR0000617841                   UMG Recordings, Inc.
  5454   Lady Gaga                                            Teeth                                             SR0000642917                   UMG Recordings, Inc.
  5455   Lady Gaga                                            Telephone                                         SR0000642917                   UMG Recordings, Inc.
  5456   Lady Gaga                                            The Edge Of Glory                                 SR0000678409                   UMG Recordings, Inc.
  5457   Lady Gaga                                            The Fame                                          SR0000617841                   UMG Recordings, Inc.
  5458   Lady Gaga                                            The Queen                                         SR0000678406                   UMG Recordings, Inc.
  5459   Lady Gaga                                            You & I                                           SR0000678406                   UMG Recordings, Inc.
  5460   Lady Gaga                                            You And I                                         SR0000678406                   UMG Recordings, Inc.
  5461   Lana Del Rey                                         American                                          SR0000712342                   UMG Recordings, Inc.
  5462   Lana Del Rey                                         Bel Air                                           SR0000712342                   UMG Recordings, Inc.
  5463   Lana Del Rey                                         Blue Jeans                                        SR0000412524                   UMG Recordings, Inc.
  5464   Lana Del Rey                                         Blue Velvet                                       SR0000712342                   UMG Recordings, Inc.
  5465   Lana Del Rey                                         Body Electric                                     SR0000712342                   UMG Recordings, Inc.
  5466   Lana Del Rey                                         Born To Die                                       SR0000692991                   UMG Recordings, Inc.
  5467   Lana Del Rey                                         Burning Desire                                    SR0000711860                   UMG Recordings, Inc.
  5468   Lana Del Rey                                         Carmen                                            SR0000692991                   UMG Recordings, Inc.
  5469   Lana Del Rey                                         Cola                                              SR0000712342                   UMG Recordings, Inc.
  5470   Lana Del Rey                                         Dark Paradise                                     SR0000712345                   UMG Recordings, Inc.
  5471   Lana Del Rey                                         Diet Mountain Dew                                 SR0000729848                   UMG Recordings, Inc.
  5472   Lana Del Rey                                         Gods & Monsters                                   SR0000712342; SR0000412525     UMG Recordings, Inc.
  5473   Lana Del Rey                                         Lolita                                            SR0000692991                   UMG Recordings, Inc.
  5474   Lana Del Rey                                         Lucky Ones                                        SR0000692991                   UMG Recordings, Inc.
  5475   Lana Del Rey                                         Million Dollar Man                                SR0000692991                   UMG Recordings, Inc.
  5476   Lana Del Rey                                         National Anthem                                   SR0000692991                   UMG Recordings, Inc.
  5477   Lana Del Rey                                         Off To The Races                                  SR0000412524                   UMG Recordings, Inc.
  5478   Lana Del Rey                                         Radio                                             SR0000692991                   UMG Recordings, Inc.
  5479   Lana Del Rey                                         Ride                                              SR0000711860                   UMG Recordings, Inc.
  5480   Lana Del Rey                                         Summertime Sadness                                SR0000729848                   UMG Recordings, Inc.
  5481   Lana Del Rey                                         This Is What Makes Us Girls                       SR0000692991                   UMG Recordings, Inc.
  5482   Lana Del Rey                                         Video Games                                       SR0000693409                   UMG Recordings, Inc.


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                                   Artist                                                  Track                              Registration Number                     Plaintiff
  5483   Lana Del Rey                                         Without You                                            SR0000692991; SR0000412523     UMG Recordings, Inc.
  5484   Lana Del Rey                                         Yayo                                                   SR0000712342                   UMG Recordings, Inc.
  5485   Ledisi                                               BGTY                                                   SR0000678487                   UMG Recordings, Inc.
  5486   Ledisi                                               Bravo                                                  SR0000678487                   UMG Recordings, Inc.
  5487   Ledisi                                               Coffee                                                 SR0000678487                   UMG Recordings, Inc.
  5488   Ledisi                                               Hate Me                                                SR0000678487                   UMG Recordings, Inc.
  5489   Ledisi                                               I Gotta Get To You                                     SR0000678487                   UMG Recordings, Inc.
  5490   Ledisi                                               I Miss You Now                                         SR0000678487                   UMG Recordings, Inc.
  5491   Ledisi                                               Pieces Of Me                                           SR0000678490                   UMG Recordings, Inc.
  5492   Ledisi                                               Raise Up                                               SR0000678487                   UMG Recordings, Inc.
  5493   Ledisi                                               Shine                                                  SR0000678487                   UMG Recordings, Inc.
  5494   Ledisi                                               Shut Up                                                SR0000678487                   UMG Recordings, Inc.
  5495   Ledisi                                               So Into You                                            SR0000678487                   UMG Recordings, Inc.
  5496   Ledisi                                               Stay Together                                          SR0000678487                   UMG Recordings, Inc.
  5497   Lee Ann Womack                                       After I Fall                                           SR0000281198                   UMG Recordings, Inc.
  5498   Lee Ann Womack                                       Ashes By Now                                           SR0000281198                   UMG Recordings, Inc.
  5499   Lee Ann Womack                                       Does My Ring Burn Your Finger                          SR0000281198                   UMG Recordings, Inc.
  5500   Lee Ann Womack                                       I Feel Like I'm Forgetting Something                   SR0000281198                   UMG Recordings, Inc.
  5501   Lee Ann Womack                                       I Hope You Dance                                       SR0000281261                   UMG Recordings, Inc.
  5502   Lee Ann Womack                                       I Know Why The River Runs                              SR0000281261                   UMG Recordings, Inc.
  5503   Lee Ann Womack                                       Lonely Too                                             SR0000281198                   UMG Recordings, Inc.
  5504   Lee Ann Womack                                       Lord I Hope This Day Is Good                           SR0000281198                   UMG Recordings, Inc.
  5505   Lee Ann Womack                                       Stronger Than I Am                                     SR0000281198                   UMG Recordings, Inc.
  5506   Lee Ann Womack                                       The Healing Kind                                       SR0000281261                   UMG Recordings, Inc.
  5507   Lee Ann Womack                                       Thinkin' With My Heart Again                           SR0000281198                   UMG Recordings, Inc.
  5508   Lee Ann Womack                                       Why They Call It Falling                               SR0000281198                   UMG Recordings, Inc.
  5509   Lifehouse                                            All In All                                             SR0000370643                   UMG Recordings, Inc.
  5510   Lifehouse                                            Am I Ever Gonna Find Out                               SR0000321812                   UMG Recordings, Inc.
  5511   Lifehouse                                            Anchor                                                 SR0000321812                   UMG Recordings, Inc.
  5512   Lifehouse                                            Better Luck Next Time                                  SR0000370643                   UMG Recordings, Inc.
  5513   Lifehouse                                            Breathing                                              SR0000289389                   UMG Recordings, Inc.
  5514   Lifehouse                                            Bridges                                                SR0000409087                   UMG Recordings, Inc.
  5515   Lifehouse                                            Broken                                                 SR0000409087                   UMG Recordings, Inc.
  5516   Lifehouse                                            Chapter One                                            SR0000370643                   UMG Recordings, Inc.
  5517   Lifehouse                                            Cling And Clatter                                      SR0000289389                   UMG Recordings, Inc.
  5518   Lifehouse                                            Come Back Down                                         SR0000370643                   UMG Recordings, Inc.
  5519   Lifehouse                                            Days Go By                                             SR0000370643                   UMG Recordings, Inc.
  5520   Lifehouse                                            Easier To Be                                           SR0000409087                   UMG Recordings, Inc.
  5521   Lifehouse                                            Empty Space                                            SR0000321812                   UMG Recordings, Inc.
  5522   Lifehouse                                            Everything                                             SR0000289389                   UMG Recordings, Inc.
  5523   Lifehouse                                            From Where You Are                                     SR0000614087                   UMG Recordings, Inc.
  5524   Lifehouse                                            How Long                                               SR0000321812                   UMG Recordings, Inc.
  5525   Lifehouse                                            Into The Sun                                           SR0000370643                   UMG Recordings, Inc.
  5526   Lifehouse                                            Just Another Name                                      SR0000321812                   UMG Recordings, Inc.
  5527   Lifehouse                                            Learn You Inside Out                                   SR0000409087                   UMG Recordings, Inc.
  5528   Lifehouse                                            Make Me Over                                           SR0000409087                   UMG Recordings, Inc.
  5529   Lifehouse                                            Mesmerized                                             SR0000409087                   UMG Recordings, Inc.
  5530   Lifehouse                                            My Precious                                            SR0000321812                   UMG Recordings, Inc.
  5531   Lifehouse                                            Only One                                               SR0000289389                   UMG Recordings, Inc.
  5532   Lifehouse                                            Out Of Breath                                          SR0000321812                   UMG Recordings, Inc.
  5533   Lifehouse                                            Quasimodo                                              SR0000289389                   UMG Recordings, Inc.
  5534   Lifehouse                                            Sick Cycle Carousel                                    SR0000289389                   UMG Recordings, Inc.
  5535   Lifehouse                                            Simon                                                  SR0000289389                   UMG Recordings, Inc.
  5536   Lifehouse                                            Sky Is Falling                                         SR0000321812                   UMG Recordings, Inc.
  5537   Lifehouse                                            Someone Else's Song                                    SR0000289389                   UMG Recordings, Inc.
  5538   Lifehouse                                            Somewhere In Between                                   SR0000289389                   UMG Recordings, Inc.
  5539   Lifehouse                                            Spin                                                   SR0000321812                   UMG Recordings, Inc.
  5540   Lifehouse                                            Stanley Climbfall                                      SR0000321812                   UMG Recordings, Inc.
  5541   Lifehouse                                            Storm                                                  SR0000409087                   UMG Recordings, Inc.
  5542   Lifehouse                                            Take Me Away                                           SR0000321812                   UMG Recordings, Inc.
  5543   Lifehouse                                            The Beginning                                          SR0000321812                   UMG Recordings, Inc.
  5544   Lifehouse                                            The End Has Only Begun                                 SR0000370643                   UMG Recordings, Inc.
  5545   Lifehouse                                            The Joke                                               SR0000409087                   UMG Recordings, Inc.
  5546   Lifehouse                                            Trying                                                 SR0000289389                   UMG Recordings, Inc.
  5547   Lifehouse                                            Undone                                                 SR0000370643                   UMG Recordings, Inc.
  5548   Lifehouse                                            Unknown                                                SR0000289389                   UMG Recordings, Inc.
  5549   Lifehouse                                            Walking Away                                           SR0000370643                   UMG Recordings, Inc.
  5550   Lifehouse                                            Wash                                                   SR0000321812                   UMG Recordings, Inc.
  5551   Lifehouse                                            We'll Never Know                                       SR0000370643                   UMG Recordings, Inc.
  5552   Lifehouse                                            Whatever It Takes                                      SR0000409087                   UMG Recordings, Inc.
  5553   Lifehouse                                            You And Me                                             SR0000370643                   UMG Recordings, Inc.
  5554   Little Big Town                                      Pontoon                                                SR0000709014                   UMG Recordings, Inc.
  5555   Lloyd                                                Certified                                              SR0000391940                   UMG Recordings, Inc.
  5556   Lloyd                                                Girls Around The World                                 SR0000615838                   UMG Recordings, Inc.
  5557   Lloyd                                                Hazel                                                  SR0000391940                   UMG Recordings, Inc.
  5558   Lloyd                                                I Don't Mind                                           SR0000391940                   UMG Recordings, Inc.
  5559   Lloyd                                                I Want You                                             SR0000391940                   UMG Recordings, Inc.
  5560   Lloyd                                                Incredible                                             SR0000391940                   UMG Recordings, Inc.
  5561   Lloyd                                                Killing Me                                             SR0000391940                   UMG Recordings, Inc.
  5562   Lloyd                                                Lloyd (Intro)                                          SR0000391940                   UMG Recordings, Inc.
  5563   Lloyd                                                One For Me                                             SR0000391940                   UMG Recordings, Inc.
  5564   Lloyd                                                Player's Prayer                                        SR0000391940                   UMG Recordings, Inc.
  5565   Lloyd                                                StreetLove                                             SR0000391940                   UMG Recordings, Inc.
  5566   Lloyd                                                Take You Home                                          SR0000391940                   UMG Recordings, Inc.
  5567   Lloyd                                                Valentine                                              SR0000391940                   UMG Recordings, Inc.
  5568   Lloyd                                                What You Wanna Do                                      SR0000391940                   UMG Recordings, Inc.


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                                   Artist                                                  Track                            Registration Number                     Plaintiff
  5569   Lloyd                                                You (Edited)                                         SR0000391940                   UMG Recordings, Inc.
  5570   LMFAO                                                All Night Long                                       SR0000678646                   UMG Recordings, Inc.
  5571   LMFAO                                                Bounce                                               SR0000641967                   UMG Recordings, Inc.
  5572   LMFAO                                                Champagne Showers                                    SR0000678646                   UMG Recordings, Inc.
  5573   LMFAO                                                Get Crazy                                            SR0000641967                   UMG Recordings, Inc.
  5574   LMFAO                                                Hot Dog                                              SR0000678646                   UMG Recordings, Inc.
  5575   LMFAO                                                I Am Not A Whore                                     SR0000641967                   UMG Recordings, Inc.
  5576   LMFAO                                                I Don't Wanna Be                                     SR0000641967                   UMG Recordings, Inc.
  5577   LMFAO                                                I Shake, I Move                                      SR0000641967                   UMG Recordings, Inc.
  5578   LMFAO                                                I'm In Miami Bitch                                   SR0000621810                   UMG Recordings, Inc.
  5579   LMFAO                                                La La La                                             SR0000641993                   UMG Recordings, Inc.
  5580   LMFAO                                                Leaving U 4 The Groove                               SR0000641967                   UMG Recordings, Inc.
  5581   LMFAO                                                Lil' Hipster Girl                                    SR0000641967                   UMG Recordings, Inc.
  5582   LMFAO                                                One Day                                              SR0000678646                   UMG Recordings, Inc.
  5583   LMFAO                                                Put That A$$ To Work                                 SR0000678646                   UMG Recordings, Inc.
  5584   LMFAO                                                Reminds Me Of You                                    SR0000678646                   UMG Recordings, Inc.
  5585   LMFAO                                                Rock The Beat                                        SR0000641967                   UMG Recordings, Inc.
  5586   LMFAO                                                Rock The Beat II                                     SR0000678646                   UMG Recordings, Inc.
  5587   LMFAO                                                Scream My Name                                       SR0000641967                   UMG Recordings, Inc.
  5588   LMFAO                                                Sexy And I Know It                                   SR0000678646                   UMG Recordings, Inc.
  5589   LMFAO                                                Shots                                                SR0000641967                   UMG Recordings, Inc.
  5590   LMFAO                                                Sorry For Party Rocking                              SR0000678646                   UMG Recordings, Inc.
  5591   LMFAO                                                Take It To The Hole                                  SR0000678646                   UMG Recordings, Inc.
  5592   LMFAO                                                We Came Here To Party                                SR0000678646                   UMG Recordings, Inc.
  5593   LMFAO                                                What Happens At The Party                            SR0000641967                   UMG Recordings, Inc.
  5594   LMFAO                                                With You                                             SR0000678646                   UMG Recordings, Inc.
  5595   LMFAO                                                Yes                                                  SR0000641967                   UMG Recordings, Inc.
  5596   Lorde                                                400 Lux                                              SR0000732619                   UMG Recordings, Inc.
  5597   Lorde                                                A World Alone                                        SR0000732619                   UMG Recordings, Inc.
  5598   Lorde                                                Biting Down                                          SR0000724529                   UMG Recordings, Inc.
  5599   Lorde                                                Bravado                                              SR0000724529                   UMG Recordings, Inc.
  5600   Lorde                                                Buzzcut Season                                       SR0000733267                   UMG Recordings, Inc.
  5601   Lorde                                                Glory And Gore                                       SR0000732619                   UMG Recordings, Inc.
  5602   Lorde                                                Million Dollar Bills                                 SR0000724529                   UMG Recordings, Inc.
  5603   Lorde                                                No Better                                            SR0000736121                   UMG Recordings, Inc.
  5604   Lorde                                                Ribs                                                 SR0000732619                   UMG Recordings, Inc.
  5605   Lorde                                                Royals                                               SR0000724529                   UMG Recordings, Inc.
  5606   Lorde                                                Still Sane                                           SR0000732619                   UMG Recordings, Inc.
  5607   Lorde                                                Swingin Party                                        SR0000726964                   UMG Recordings, Inc.
  5608   Lorde                                                Team                                                 SR0000732619                   UMG Recordings, Inc.
  5609   Lorde                                                Tennis Court                                         SR0000726964                   UMG Recordings, Inc.
  5610   Lorde                                                The Love Club                                        SR0000724529                   UMG Recordings, Inc.
  5611   Lorde                                                White Teeth Teens                                    SR0000732619                   UMG Recordings, Inc.
  5612   Ludacris                                             One More Drink                                       SR0000620047                   UMG Recordings, Inc.
  5613   Ludacris                                             Undisputed                                           SR0000620048                   UMG Recordings, Inc.
  5614   Ludacris                                             What Them Girls Like                                 SR0000617041                   UMG Recordings, Inc.
  5615   M.I.A.                                               Attention                                            SR0000736308                   UMG Recordings, Inc.
  5616   M.I.A.                                               Bad Girls                                            SR0000698452                   UMG Recordings, Inc.
  5617   M.I.A.                                               Boom Skit                                            SR0000736308                   UMG Recordings, Inc.
  5618   M.I.A.                                               Come Walk With Me                                    SR0000736307                   UMG Recordings, Inc.
  5619   M.I.A.                                               Double Bubble Trouble                                SR0000736308                   UMG Recordings, Inc.
  5620   M.I.A.                                               Karmageddon                                          SR0000736308                   UMG Recordings, Inc.
  5621   M.I.A.                                               Know It Ain't Right                                  SR0000736308                   UMG Recordings, Inc.
  5622   M.I.A.                                               Lights                                               SR0000736308                   UMG Recordings, Inc.
  5623   M.I.A.                                               MATANGI                                              SR0000736308                   UMG Recordings, Inc.
  5624   M.I.A.                                               Only 1                                               SR0000736308                   UMG Recordings, Inc.
  5625   M.I.A.                                               Refugee-In-Tent                                      SR0000736308                   UMG Recordings, Inc.
  5626   M.I.A.                                               Sexodus                                              SR0000736308                   UMG Recordings, Inc.
  5627   M.I.A.                                               Sexodus (Hitboy Version)                             SR0000736308                   UMG Recordings, Inc.
  5628   M.I.A.                                               Warriors                                             SR0000736308                   UMG Recordings, Inc.
  5629   M.I.A.                                               Y.A.L.A.                                             SR0000736309                   UMG Recordings, Inc.
  5630   Macy Gray                                            Everybody                                            SR0000395382                   UMG Recordings, Inc.
  5631   Macy Gray                                            Get Out                                              SR0000395382                   UMG Recordings, Inc.
  5632   Macy Gray                                            Glad You're Here                                     SR0000395382                   UMG Recordings, Inc.
  5633   Macy Gray                                            Okay                                                 SR0000395382                   UMG Recordings, Inc.
  5634   Macy Gray                                            One For Me                                           SR0000395382                   UMG Recordings, Inc.
  5635   Macy Gray                                            Slowly                                               SR0000395382                   UMG Recordings, Inc.
  5636   Macy Gray                                            Strange Behavior                                     SR0000395382                   UMG Recordings, Inc.
  5637   Macy Gray                                            Treat Me Like Your Money                             SR0000395382                   UMG Recordings, Inc.
  5638   Macy Gray                                            What I Gotta Do                                      SR0000395382                   UMG Recordings, Inc.
  5639   Mariah Carey                                         #Beautiful                                           SR0000750755                   UMG Recordings, Inc.
  5640   Mariah Carey                                         Touch My Body                                        SR0000612879                   UMG Recordings, Inc.
  5641   Mariah Carey                                         Up Out My Face                                       SR0000633779                   UMG Recordings, Inc.
  5642   Maroon 5                                             Crazy Little Thing Called Love                       SR0000664531                   UMG Recordings, Inc.
  5643   Maroon 5                                             Doin' Dirt                                           SR0000705167                   UMG Recordings, Inc.
  5644   Maroon 5                                             Figure It Out                                        SR0000627938                   UMG Recordings, Inc.
  5645   Maroon 5                                             Get Back In My Life                                  SR0000664531                   UMG Recordings, Inc.
  5646   Maroon 5                                             Give A Little More                                   SR0000664529                   UMG Recordings, Inc.
  5647   Maroon 5                                             Hands All Over                                       SR0000664531                   UMG Recordings, Inc.
  5648   Maroon 5                                             Hello                                                SR0000393024                   UMG Recordings, Inc.
  5649   Maroon 5                                             How                                                  SR0000664531                   UMG Recordings, Inc.
  5650   Maroon 5                                             I Can't Lie                                          SR0000664531                   UMG Recordings, Inc.
  5651   Maroon 5                                             If I Ain't Got You                                   SR0000664531                   UMG Recordings, Inc.
  5652   Maroon 5                                             Just A Feeling                                       SR0000664531                   UMG Recordings, Inc.
  5653   Maroon 5                                             Last Chance                                          SR0000664531                   UMG Recordings, Inc.
  5654   Maroon 5                                             Let's Stay Together                                  SR0000705167                   UMG Recordings, Inc.


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                                   Artist                                                  Track                            Registration Number                     Plaintiff
  5655   Maroon 5                                             Misery                                               SR0000659947                   UMG Recordings, Inc.
  5656   Maroon 5                                             Miss You Love You                                    SR0000627938                   UMG Recordings, Inc.
  5657   Maroon 5                                             Moves Like Jagger                                    SR0000680542                   UMG Recordings, Inc.
  5658   Maroon 5                                             Must Get Out (Live)                                  SR0000393024                   UMG Recordings, Inc.
  5659   Maroon 5                                             Never Gonna Leave This Bed                           SR0000664531                   UMG Recordings, Inc.
  5660   Maroon 5                                             No Curtain Call                                      SR0000664531                   UMG Recordings, Inc.
  5661   Maroon 5                                             Not Coming Home (Live)                               SR0000393024                   UMG Recordings, Inc.
  5662   Maroon 5                                             One More Night                                       SR0000705170                   UMG Recordings, Inc.
  5663   Maroon 5                                             One More Night (Sticky K Remix)                      SR0000703878                   UMG Recordings, Inc.
  5664   Maroon 5                                             Out Of Goodbyes                                      SR0000664531                   UMG Recordings, Inc.
  5665   Maroon 5                                             Rag Doll                                             SR0000702833                   UMG Recordings, Inc.
  5666   Maroon 5                                             Runaway                                              SR0000664531                   UMG Recordings, Inc.
  5667   Maroon 5                                             Secret/Ain't No Sunshine                             SR0000393024                   UMG Recordings, Inc.
  5668   Maroon 5                                             She Will Be Loved                                    SR0000674174                   UMG Recordings, Inc.
  5669   Maroon 5                                             Stutter                                              SR0000664531                   UMG Recordings, Inc.
  5670   Maroon 5                                             Sweetest Goodbye (LIve)                              SR0000393024                   UMG Recordings, Inc.
  5671   Maroon 5                                             This Love                                            SR0000348508                   UMG Recordings, Inc.
  5672   Maroon 5                                             Through With You (Live)                              SR0000393024                   UMG Recordings, Inc.
  5673   Maroon 5 feat. Christina Aguilera                    Moves Like Jagger                                    SR0000690026                   UMG Recordings, Inc.
  5674   Marvin Gaye                                          Anger                                                SR0000005020                   UMG Recordings, Inc.
  5675   Marvin Gaye                                          Come Get To This                                     N08961; RE0000860289           UMG Recordings, Inc.
  5676   Marvin Gaye                                          Ego Tripping Out                                     SR0000012844                   UMG Recordings, Inc.
  5677   Marvin Gaye                                          Got To Give It Up                                    N42204                         UMG Recordings, Inc.
  5678   Marvin Gaye                                          Praise                                               SR0000024441                   UMG Recordings, Inc.
  5679   Marvin Gaye                                          You're The Man - Pts. I & II                         N03735; RE0000852280           UMG Recordings, Inc.
  5680   Mary J. Blige                                        Someone To Love Me (Naked)                           SR0000676435                   UMG Recordings, Inc.
  5681   Maze feat. Frankie Beverly                           Time Is On My Side                                   SR0000349929                   UMG Recordings, Inc.
  5682   Meat Loaf                                            I'd Do Anything For Love (But I Won't Do That)       SR0000316425                   UMG Recordings, Inc.
  5683   Meat Loaf                                            Life Is A Lemon And I Want My Money Back             SR0000316425                   UMG Recordings, Inc.
  5684   Nas                                                  America                                              SR0000614072                   UMG Recordings, Inc.
  5685   Nas                                                  Black President                                      SR0000614072                   UMG Recordings, Inc.
  5686   Nas                                                  Breathe                                              SR0000614072                   UMG Recordings, Inc.
  5687   Nas                                                  Fried Chicken                                        SR0000614072                   UMG Recordings, Inc.
  5688   Nas                                                  Hero                                                 SR0000614073                   UMG Recordings, Inc.
  5689   Nas                                                  Make The World Go Round                              SR0000614072                   UMG Recordings, Inc.
  5690   Nas                                                  N.I.*.*.E.R. (The Slave and the Master)              SR0000614072                   UMG Recordings, Inc.
  5691   Nas                                                  Project Roach                                        SR0000614072                   UMG Recordings, Inc.
  5692   Nas                                                  Queens Get The Money                                 SR0000614072                   UMG Recordings, Inc.
  5693   Nas                                                  Sly Fox                                              SR0000614072                   UMG Recordings, Inc.
  5694   Nas                                                  Testify                                              SR0000614072                   UMG Recordings, Inc.
  5695   Nas                                                  Untitled                                             SR0000614072                   UMG Recordings, Inc.
  5696   Nas                                                  We're Not Alone                                      SR0000614072                   UMG Recordings, Inc.
  5697   Nas                                                  Y'all My Ni**as                                      SR0000614072                   UMG Recordings, Inc.
  5698   Nas                                                  You Can't Stop Us Now                                SR0000614072                   UMG Recordings, Inc.
  5699   Nelly                                                Body On Me                                           SR0000616562                   UMG Recordings, Inc.
  5700   Nelly                                                Chill                                                SR0000616562                   UMG Recordings, Inc.
  5701   Nelly                                                Dilemma                                              SR0000339724                   UMG Recordings, Inc.
  5702   Nelly                                                Hold Up                                              SR0000616562                   UMG Recordings, Inc.
  5703   Nelly                                                Just A Dream                                         SR0000662586                   UMG Recordings, Inc.
  5704   Nelly                                                LA                                                   SR0000616562                   UMG Recordings, Inc.
  5705   Nelly                                                Let It Go Lil Mama                                   SR0000616562                   UMG Recordings, Inc.
  5706   Nelly                                                Lie                                                  SR0000616562                   UMG Recordings, Inc.
  5707   Nelly                                                Long Night                                           SR0000616562                   UMG Recordings, Inc.
  5708   Nelly                                                One & Only                                           SR0000616562                   UMG Recordings, Inc.
  5709   Nelly                                                Party People                                         SR0000613225                   UMG Recordings, Inc.
  5710   Nelly                                                Self Esteem                                          SR0000616562                   UMG Recordings, Inc.
  5711   Nelly                                                Stepped On My J'z                                    SR0000616562                   UMG Recordings, Inc.
  5712   Nelly                                                U Ain't Him                                          SR0000616562                   UMG Recordings, Inc.
  5713   Nelly                                                UCUD GEDIT                                           SR0000616562                   UMG Recordings, Inc.
  5714   Nelly                                                Who F*cks Wit Me                                     SR0000616562                   UMG Recordings, Inc.
  5715   Nelly Furtado                                        **** On The Radio (Remember The Days)                SR0000289461                   UMG Recordings, Inc.
  5716   Nelly Furtado                                        Crazy (Radio 1 Live Lounge Session)                  SR0000400012                   UMG Recordings, Inc.
  5717   Nelly Furtado                                        Forca                                                SR0000347749                   UMG Recordings, Inc.
  5718   Nelly Furtado                                        Fotografía                                           SR0000313682                   UMG Recordings, Inc.
  5719   Nelly Furtado                                        Girlfriend In The City                               SR0000729667                   UMG Recordings, Inc.
  5720   Nelly Furtado                                        I'm Like A Bird                                      SR0000289461                   UMG Recordings, Inc.
  5721   Nelly Furtado                                        In God's Hands                                       SR0000612217                   UMG Recordings, Inc.
  5722   Nelly Furtado                                        Island Of Wonder                                     SR0000347749                   UMG Recordings, Inc.
  5723   Nelly Furtado                                        Manos Al Aire                                        SR0000641955                   UMG Recordings, Inc.
  5724   Nelly Furtado                                        Night Is Young                                       SR0000756992                   UMG Recordings, Inc.
  5725   Nelly Furtado                                        Powerless (Say What You Want)                        SR0000729667                   UMG Recordings, Inc.
  5726   Nelly Furtado                                        Stars                                                SR0000729667                   UMG Recordings, Inc.
  5727   Nelly Furtado                                        Try                                                  SR0000347749                   UMG Recordings, Inc.
  5728   Neon Trees                                           Animal                                               SR0000647020                   UMG Recordings, Inc.
  5729   Neon Trees                                           Sleeping With A Friend                               SR0000737412                   UMG Recordings, Inc.
  5730   Ne-Yo                                                Addicted                                             SR0000394385                   UMG Recordings, Inc.
  5731   Ne-Yo                                                Ain't Thinking About You                             SR0000394385                   UMG Recordings, Inc.
  5732   Ne-Yo                                                Angel                                                SR0000668445                   UMG Recordings, Inc.
  5733   Ne-Yo                                                Because Of You                                       SR0000394385                   UMG Recordings, Inc.
  5734   Ne-Yo                                                Can We Chill                                         SR0000394385                   UMG Recordings, Inc.
  5735   Ne-Yo                                                Crazy                                                SR0000394385                   UMG Recordings, Inc.
  5736   Ne-Yo                                                Do You                                               SR0000394385                   UMG Recordings, Inc.
  5737   Ne-Yo                                                Go On Girl                                           SR0000394385                   UMG Recordings, Inc.
  5738   Ne-Yo                                                Leaving Tonight                                      SR0000394385                   UMG Recordings, Inc.
  5739   Ne-Yo                                                Let Me Love You (Until You Learn To Love Yourself)   SR0000705073                   UMG Recordings, Inc.
  5740   Ne-Yo                                                Make It Work                                         SR0000394385                   UMG Recordings, Inc.


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                                   Artist                                                Track                            Registration Number                     Plaintiff
  5741   Ne-Yo                                                Say It                                             SR0000394385                   UMG Recordings, Inc.
  5742   Ne-Yo                                                Sex With My Ex                                     SR0000394385                   UMG Recordings, Inc.
  5743   Ne-Yo                                                She Knows                                          SR0000750246                   UMG Recordings, Inc.
  5744   Nirvana                                              About A Girl                                       SR0000320325                   UMG Recordings, Inc.
  5745   Nirvana                                              All Apologies                                      SR0000178690                   UMG Recordings, Inc.
  5746   Nirvana                                              Been A Son                                         SR0000148333                   UMG Recordings, Inc.
  5747   Nirvana                                              Breed                                              SR0000135335                   UMG Recordings, Inc.
  5748   Nirvana                                              Come As You Are                                    SR0000178690                   UMG Recordings, Inc.
  5749   Nirvana                                              Drain You                                          SR0000135335                   UMG Recordings, Inc.
  5750   Nirvana                                              Dumb                                               SR0000172276                   UMG Recordings, Inc.
  5751   Nirvana                                              Heart Shaped Box                                   SR0000172276                   UMG Recordings, Inc.
  5752   Nirvana                                              In Bloom                                           SR0000135335                   UMG Recordings, Inc.
  5753   Nirvana                                              Lithium                                            SR0000135335                   UMG Recordings, Inc.
  5754   Nirvana                                              Lounge Act                                         SR0000135335                   UMG Recordings, Inc.
  5755   Nirvana                                              On A Plain                                         SR0000135335                   UMG Recordings, Inc.
  5756   Nirvana                                              Pennyroyal Tea                                     SR0000172276                   UMG Recordings, Inc.
  5757   Nirvana                                              Polly                                              SR0000135335                   UMG Recordings, Inc.
  5758   Nirvana                                              Rape Me                                            SR0000172276                   UMG Recordings, Inc.
  5759   Nirvana                                              Sliver                                             SR0000148333                   UMG Recordings, Inc.
  5760   Nirvana                                              Smells Like Teen Spirit                            SR0000134601                   UMG Recordings, Inc.
  5761   Nirvana                                              Something In The Way                               SR0000135335                   UMG Recordings, Inc.
  5762   Nirvana                                              Stay Away                                          SR0000135335                   UMG Recordings, Inc.
  5763   Nirvana                                              Territorial Pissings                               SR0000135335                   UMG Recordings, Inc.
  5764   Nirvana                                              The Man Who Sold The World (Live, MTV Unplugged)   SR0000178690                   UMG Recordings, Inc.
  5765   Nirvana                                              You Know You're Right                              SR0000320325                   UMG Recordings, Inc.
  5766   No Doubt                                             Settle Down                                        SR0000708747                   UMG Recordings, Inc.
  5767   Obie Trice                                           Adrenaline Rush (Explicit)                         SR0000322706                   UMG Recordings, Inc.
  5768   Obie Trice                                           Average Man                                        SR0000341637                   UMG Recordings, Inc.
  5769   Obie Trice                                           Bad Bitch                                          SR0000341637                   UMG Recordings, Inc.
  5770   Obie Trice                                           Cheers                                             SR0000341637                   UMG Recordings, Inc.
  5771   Obie Trice                                           Don't Come Down (Explicit)                         SR0000341637                   UMG Recordings, Inc.
  5772   Obie Trice                                           Follow My Life                                     SR0000341637                   UMG Recordings, Inc.
  5773   Obie Trice                                           Got Some Teeth (Explicit)                          SR0000341637                   UMG Recordings, Inc.
  5774   Obie Trice                                           Hands On You                                       SR0000341637                   UMG Recordings, Inc.
  5775   Obie Trice                                           Hoodrats                                           SR0000341637                   UMG Recordings, Inc.
  5776   Obie Trice                                           Lady                                               SR0000341637                   UMG Recordings, Inc.
  5777   Obie Trice                                           Look In My Eyes                                    SR0000341637                   UMG Recordings, Inc.
  5778   Obie Trice                                           Never Forget Ya                                    SR0000341637                   UMG Recordings, Inc.
  5779   Obie Trice                                           Oh!                                                SR0000341637                   UMG Recordings, Inc.
  5780   Obie Trice                                           Outro (Obie Trice/ Cheers)                         SR0000341637                   UMG Recordings, Inc.
  5781   Obie Trice                                           Rap Name                                           SR0000322706                   UMG Recordings, Inc.
  5782   Obie Trice                                           Shit Hits The Fan                                  SR0000341637                   UMG Recordings, Inc.
  5783   Obie Trice                                           Spread Yo Shit                                     SR0000341637                   UMG Recordings, Inc.
  5784   Obie Trice                                           The Setup                                          SR0000339737                   UMG Recordings, Inc.
  5785   Obie Trice                                           We All Die One Day                                 SR0000341637                   UMG Recordings, Inc.
  5786   Of Monsters and Men                                  Little Talks                                       SR0000694984                   UMG Recordings, Inc.
  5787   Of Monsters and Men                                  Your Bones                                         SR0000698589                   UMG Recordings, Inc.
  5788   OneRepublic                                          All Fall Down                                      SR0000614111                   UMG Recordings, Inc.
  5789   OneRepublic                                          All We Are                                         SR0000614111                   UMG Recordings, Inc.
  5790   OneRepublic                                          Come Home                                          SR0000632435                   UMG Recordings, Inc.
  5791   OneRepublic                                          Goodbye, Apathy                                    SR0000614111                   UMG Recordings, Inc.
  5792   OneRepublic                                          Prodigal                                           SR0000614111                   UMG Recordings, Inc.
  5793   OneRepublic                                          Someone To Save You                                SR0000614111                   UMG Recordings, Inc.
  5794   OneRepublic                                          Stop And Stare                                     SR0000614111                   UMG Recordings, Inc.
  5795   OneRepublic                                          Won't Stop                                         SR0000614111                   UMG Recordings, Inc.
  5796   Phillip Phillips                                     A Fool's Dance                                     SR0000712841                   UMG Recordings, Inc.
  5797   Phillip Phillips                                     Can't Go Wrong                                     SR0000712841                   UMG Recordings, Inc.
  5798   Phillip Phillips                                     Drive Me                                           SR0000712841                   UMG Recordings, Inc.
  5799   Phillip Phillips                                     Get Up Get Down                                    SR0000712841                   UMG Recordings, Inc.
  5800   Phillip Phillips                                     Gone, Gone, Gone                                   SR0000712841                   UMG Recordings, Inc.
  5801   Phillip Phillips                                     Hazel                                              SR0000712841                   UMG Recordings, Inc.
  5802   Phillip Phillips                                     Hold On                                            SR0000712841                   UMG Recordings, Inc.
  5803   Phillip Phillips                                     Home                                               SR0000712859                   UMG Recordings, Inc.
  5804   Phillip Phillips                                     Man On The Moon                                    SR0000712841                   UMG Recordings, Inc.
  5805   Phillip Phillips                                     So Easy                                            SR0000712841                   UMG Recordings, Inc.
  5806   Phillip Phillips                                     Tell Me A Story                                    SR0000712841                   UMG Recordings, Inc.
  5807   Phillip Phillips                                     Wanted Is Love                                     SR0000712841                   UMG Recordings, Inc.
  5808   Phillip Phillips                                     Where We Came From                                 SR0000712860                   UMG Recordings, Inc.
  5809   Phillip Phillips                                     Wicked Game                                        SR0000712841                   UMG Recordings, Inc.
  5810   Pusha T                                              New God Flow                                       SR0000703870                   UMG Recordings, Inc.
  5811   Pussycat Dolls                                       When I Grow Up                                     SR0000612860                   UMG Recordings, Inc.
  5812   Rick Ross                                            911                                                SR0000706411                   UMG Recordings, Inc.
  5813   Rick Ross                                            9 Piece                                            SR0000677844                   UMG Recordings, Inc.
  5814   Rick Ross                                            All I Have In This World                           SR0000642144                   UMG Recordings, Inc.
  5815   Rick Ross                                            All I Really Want                                  SR0000631749                   UMG Recordings, Inc.
  5816   Rick Ross                                            Billionaire                                        SR0000642144                   UMG Recordings, Inc.
  5817   Rick Ross                                            Cross That Line                                    SR0000394154                   UMG Recordings, Inc.
  5818   Rick Ross                                            DJ Khaled Interlude                                SR0000642144                   UMG Recordings, Inc.
  5819   Rick Ross                                            Here I Am                                          SR0000627325                   UMG Recordings, Inc.
  5820   Rick Ross                                            Hustlin'                                           SR0000387156                   UMG Recordings, Inc.
  5821   Rick Ross                                            Ice Cold                                           SR0000706411                   UMG Recordings, Inc.
  5822   Rick Ross                                            I'm Only Human                                     SR0000642144                   UMG Recordings, Inc.
  5823   Rick Ross                                            Luxury Tax                                         SR0000642144                   UMG Recordings, Inc.
  5824   Rick Ross                                            Mafia Music                                        SR0000631748                   UMG Recordings, Inc.
  5825   Rick Ross                                            Magnificent                                        SR0000631747                   UMG Recordings, Inc.
  5826   Rick Ross                                            Maybach Music                                      SR0000642144                   UMG Recordings, Inc.


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                                   Artist                                                  Track                         Registration Number                     Plaintiff
  5827   Rick Ross                                            Money Make Me Come                                SR0000642144                   UMG Recordings, Inc.
  5828   Rick Ross                                            Push It                                           SR0000394154                   UMG Recordings, Inc.
  5829   Rick Ross                                            Reppin My City                                    SR0000642144                   UMG Recordings, Inc.
  5830   Rick Ross                                            Speedin'                                          SR0000627979                   UMG Recordings, Inc.
  5831   Rick Ross                                            Street Life                                       SR0000394154                   UMG Recordings, Inc.
  5832   Rick Ross                                            The Boss                                          SR0000642192                   UMG Recordings, Inc.
  5833   Rick Ross                                            This Is The Life                                  SR0000642144                   UMG Recordings, Inc.
  5834   Rick Ross                                            This Me                                           SR0000642144                   UMG Recordings, Inc.
  5835   Rick Ross                                            Trilla Intro                                      SR0000642144                   UMG Recordings, Inc.
  5836   Rick Ross                                            Triple Beam Dream                                 SR0000706411                   UMG Recordings, Inc.
  5837   Rick Ross                                            We Shinin'                                        SR0000642144                   UMG Recordings, Inc.
  5838   Rick Ross                                            You The Boss                                      SR0000689369                   UMG Recordings, Inc.
  5839   Rihanna                                              Birthday Cake                                     SR0000689431                   UMG Recordings, Inc.
  5840   Rihanna                                              California King Bed                               SR0000684805                   UMG Recordings, Inc.
  5841   Rihanna                                              Cheers (Drink To That)                            SR0000684805                   UMG Recordings, Inc.
  5842   Rihanna                                              Cockiness (Love It)                               SR0000689431                   UMG Recordings, Inc.
  5843   Rihanna                                              Cold Case Love                                    SR0000644571                   UMG Recordings, Inc.
  5844   Rihanna                                              Complicated                                       SR0000684805                   UMG Recordings, Inc.
  5845   Rihanna                                              Disturbia                                         SR0000616718                   UMG Recordings, Inc.
  5846   Rihanna                                              Do Ya Thang                                       SR0000689431                   UMG Recordings, Inc.
  5847   Rihanna                                              Don't Stop The Music                              SR0000411459                   UMG Recordings, Inc.
  5848   Rihanna                                              Drunk On Love                                     SR0000689431                   UMG Recordings, Inc.
  5849   Rihanna                                              Fading                                            SR0000684805                   UMG Recordings, Inc.
  5850   Rihanna                                              Farewell                                          SR0000689431                   UMG Recordings, Inc.
  5851   Rihanna                                              Fire Bomb                                         SR0000644571                   UMG Recordings, Inc.
  5852   Rihanna                                              Fool In Love                                      SR0000689431                   UMG Recordings, Inc.
  5853   Rihanna                                              G4L                                               SR0000644571                   UMG Recordings, Inc.
  5854   Rihanna                                              Good Girl Gone Bad                                SR0000087124                   UMG Recordings, Inc.
  5855   Rihanna                                              Hard                                              SR0000644571                   UMG Recordings, Inc.
  5856   Rihanna                                              Hate That I Love You                              SR0000643083                   UMG Recordings, Inc.
  5857   Rihanna                                              Haunted                                           SR0000629434                   UMG Recordings, Inc.
  5858   Rihanna                                              Here I Go Again                                   SR0000372611                   UMG Recordings, Inc.
  5859   Rihanna                                              If It's Lovin' That You Want                      SR0000377878                   UMG Recordings, Inc.
  5860   Rihanna                                              Lemme Get That                                    SR0000411459                   UMG Recordings, Inc.
  5861   Rihanna                                              Let Me                                            SR0000372611                   UMG Recordings, Inc.
  5862   Rihanna                                              Love The Way You Lie (Part II)                    SR0000684805                   UMG Recordings, Inc.
  5863   Rihanna                                              Mad House                                         SR0000644571                   UMG Recordings, Inc.
  5864   Rihanna                                              Man Down                                          SR0000684805                   UMG Recordings, Inc.
  5865   Rihanna                                              Music Of The Sun                                  SR0000372611                   UMG Recordings, Inc.
  5866   Rihanna                                              Now I Know                                        SR0000372611                   UMG Recordings, Inc.
  5867   Rihanna                                              Only Girl (In The World)                          SR0000669316                   UMG Recordings, Inc.
  5868   Rihanna                                              Photographs                                       SR0000644571                   UMG Recordings, Inc.
  5869   Rihanna                                              Push Up On Me                                     SR0000411459                   UMG Recordings, Inc.
  5870   Rihanna                                              Question Existing                                 SR0000411459                   UMG Recordings, Inc.
  5871   Rihanna                                              Raining Men                                       SR0000684805                   UMG Recordings, Inc.
  5872   Rihanna                                              Red Lipstick                                      SR0000689431                   UMG Recordings, Inc.
  5873   Rihanna                                              Rehab                                             SR0000635072                   UMG Recordings, Inc.
  5874   Rihanna                                              Roc Me Out                                        SR0000689431                   UMG Recordings, Inc.
  5875   Rihanna                                              ROCKSTAR 101                                      SR0000644571                   UMG Recordings, Inc.
  5876   Rihanna                                              Rude Boy                                          SR0000644571                   UMG Recordings, Inc.
  5877   Rihanna                                              Rush                                              SR0000372611                   UMG Recordings, Inc.
  5878   Rihanna                                              Russian Roulette                                  SR0000644571                   UMG Recordings, Inc.
  5879   Rihanna                                              S&M                                               SR0000684805                   UMG Recordings, Inc.
  5880   Rihanna                                              Say It                                            SR0000411459                   UMG Recordings, Inc.
  5881   Rihanna                                              Shut Up and Drive                                 SR0000411459                   UMG Recordings, Inc.
  5882   Rihanna                                              Skin                                              SR0000684805                   UMG Recordings, Inc.
  5883   Rihanna                                              SOS                                               SR0000385674                   UMG Recordings, Inc.
  5884   Rihanna                                              Stupid In Love                                    SR0000644571                   UMG Recordings, Inc.
  5885   Rihanna                                              Take A Bow                                        SR0000616719                   UMG Recordings, Inc.
  5886   Rihanna                                              Talk That Talk                                    SR0000689431                   UMG Recordings, Inc.
  5887   Rihanna                                              Te Amo                                            SR0000644571                   UMG Recordings, Inc.
  5888   Rihanna                                              That La, La, La                                   SR0000372611                   UMG Recordings, Inc.
  5889   Rihanna                                              The Last Song                                     SR0000644571                   UMG Recordings, Inc.
  5890   Rihanna                                              The Last Time                                     SR0000372611                   UMG Recordings, Inc.
  5891   Rihanna                                              There's A Thug In My Life                         SR0000372611                   UMG Recordings, Inc.
  5892   Rihanna                                              Umbrella                                          SR0000615487                   UMG Recordings, Inc.
  5893   Rihanna                                              Wait Your Turn                                    SR0000644571                   UMG Recordings, Inc.
  5894   Rihanna                                              Watch N Learn                                     SR0000689431                   UMG Recordings, Inc.
  5895   Rihanna                                              We All Want Love                                  SR0000689431                   UMG Recordings, Inc.
  5896   Rihanna                                              We Found Love                                     SR0000684805                   UMG Recordings, Inc.
  5897   Rihanna                                              What's My Name?                                   SR0000669319                   UMG Recordings, Inc.
  5898   Rihanna                                              Where Have You Been                               SR0000689431                   UMG Recordings, Inc.
  5899   Rihanna                                              Willing To Wait                                   SR0000372611                   UMG Recordings, Inc.
  5900   Rihanna                                              You Da One                                        SR0000689433                   UMG Recordings, Inc.
  5901   Rihanna                                              You Don't Love Me (No, No, No)                    SR0000372611                   UMG Recordings, Inc.
  5902   Rise Against                                         A Gentlemen's Coup                                SR0000671827                   UMG Recordings, Inc.
  5903   Rise Against                                         Architects                                        SR0000671826                   UMG Recordings, Inc.
  5904   Rise Against                                         Broken Mirrors                                    SR0000671827                   UMG Recordings, Inc.
  5905   Rise Against                                         Disparity By Design                               SR0000671827                   UMG Recordings, Inc.
  5906   Rise Against                                         Endgame                                           SR0000671827                   UMG Recordings, Inc.
  5907   Rise Against                                         Help Is On The Way                                SR0000671825                   UMG Recordings, Inc.
  5908   Rise Against                                         Lanterns                                          SR0000674467                   UMG Recordings, Inc.
  5909   Rise Against                                         Make It Stop (September's Children)               SR0000671827                   UMG Recordings, Inc.
  5910   Rise Against                                         Midnight Hands                                    SR0000671827                   UMG Recordings, Inc.
  5911   Rise Against                                         Satellite                                         SR0000671827                   UMG Recordings, Inc.
  5912   Rise Against                                         Survivor Guilt                                    SR0000671827                   UMG Recordings, Inc.


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                                   Artist                                                Track                            Registration Number                     Plaintiff
  5913   Rise Against                                         This Is Letting Go                                 SR0000671827                   UMG Recordings, Inc.
  5914   Rise Against                                         Wait For Me                                        SR0000671827                   UMG Recordings, Inc.
  5915   Robin Thicke                                         Cry No More                                        SR0000617389                   UMG Recordings, Inc.
  5916   Robin Thicke                                         Dreamworld                                         SR0000617389                   UMG Recordings, Inc.
  5917   Robin Thicke                                         Ebb and Flow                                       SR0000618754                   UMG Recordings, Inc.
  5918   Robin Thicke                                         Everybody's a Star                                 SR0000618754                   UMG Recordings, Inc.
  5919   Robin Thicke                                         Hard On My Love                                    SR0000617389                   UMG Recordings, Inc.
  5920   Robin Thicke                                         I'm Coming Home                                    SR0000618754                   UMG Recordings, Inc.
  5921   Robin Thicke                                         Lost Without U                                     SR0000398513                   UMG Recordings, Inc.
  5922   Robin Thicke                                         Loverman                                           SR0000617389                   UMG Recordings, Inc.
  5923   Robin Thicke                                         Magic                                              SR0000622566                   UMG Recordings, Inc.
  5924   Robin Thicke                                         Magic Touch                                        SR0000618707                   UMG Recordings, Inc.
  5925   Robin Thicke                                         Ms. Harmony                                        SR0000617389                   UMG Recordings, Inc.
  5926   Robin Thicke                                         Sex Therapy                                        SR0000644567                   UMG Recordings, Inc.
  5927   Robin Thicke                                         Shadow of Doubt                                    SR0000617389                   UMG Recordings, Inc.
  5928   Robin Thicke                                         Sidestep                                           SR0000617389                   UMG Recordings, Inc.
  5929   Robin Thicke                                         Something Else                                     SR0000617389                   UMG Recordings, Inc.
  5930   Robin Thicke                                         The Sweetest Love                                  SR0000617386                   UMG Recordings, Inc.
  5931   Robin Thicke                                         Tie My Hands                                       SR0000617389                   UMG Recordings, Inc.
  5932   Robin Thicke                                         You're My Baby                                     SR0000617389                   UMG Recordings, Inc.
  5933   Saving Abel                                          18 Days                                            SR0000639174                   UMG Recordings, Inc.
  5934   Saving Abel                                          Addicted                                           SR0000639174                   UMG Recordings, Inc.
  5935   Saving Abel                                          Beautiful Day                                      SR0000639174                   UMG Recordings, Inc.
  5936   Saving Abel                                          Beautiful You                                      SR0000639174                   UMG Recordings, Inc.
  5937   Saving Abel                                          Drowning (Face Down)                               SR0000639174                   UMG Recordings, Inc.
  5938   Saving Abel                                          In God's Eyes                                      SR0000639174                   UMG Recordings, Inc.
  5939   Saving Abel                                          New Tatoo                                          SR0000639174                   UMG Recordings, Inc.
  5940   Saving Abel                                          Out Of My Face                                     SR0000639174                   UMG Recordings, Inc.
  5941   Saving Abel                                          Running From You                                   SR0000639174                   UMG Recordings, Inc.
  5942   Saving Abel                                          Sailed Away                                        SR0000639174                   UMG Recordings, Inc.
  5943   Saving Abel                                          She Got Over Me                                    SR0000639174                   UMG Recordings, Inc.
  5944   Schoolboy Q                                          Man Of The Year                                    SR0000733738                   UMG Recordings, Inc.
  5945   Schoolboy Q                                          Studio                                             SR0000740379                   UMG Recordings, Inc.
  5946   Scissor Sisters                                      Better Luck Next Time                              SR0000355220                   UMG Recordings, Inc.
  5947   Scissor Sisters                                      Filthy/Gorgeous                                    SR0000355220                   UMG Recordings, Inc.
  5948   Scissor Sisters                                      It Can't Come Quickly Enough                       SR0000355220                   UMG Recordings, Inc.
  5949   Scissor Sisters                                      Laura                                              SR0000355220                   UMG Recordings, Inc.
  5950   Scissor Sisters                                      Lovers In The Backseat                             SR0000355220                   UMG Recordings, Inc.
  5951   Scissor Sisters                                      Mary                                               SR0000355220                   UMG Recordings, Inc.
  5952   Scissor Sisters                                      Music Is The Victim                                SR0000355220                   UMG Recordings, Inc.
  5953   Scissor Sisters                                      Return To Oz                                       SR0000355220                   UMG Recordings, Inc.
  5954   Scissor Sisters                                      Take Your Mama                                     SR0000355220                   UMG Recordings, Inc.
  5955   Scissor Sisters                                      Tits On The Radio                                  SR0000355220                   UMG Recordings, Inc.
  5956   Scotty McCreery                                      Before Midnight                                    SR0000735611                   UMG Recordings, Inc.
  5957   Scotty McCreery                                      Blue Jean Baby                                     SR0000735611                   UMG Recordings, Inc.
  5958   Scotty McCreery                                      Buzzin'                                            SR0000735611                   UMG Recordings, Inc.
  5959   Scotty McCreery                                      Can You Feel It                                    SR0000735611                   UMG Recordings, Inc.
  5960   Scotty McCreery                                      Carolina Eyes                                      SR0000735611                   UMG Recordings, Inc.
  5961   Scotty McCreery                                      Carolina Moon                                      SR0000735611                   UMG Recordings, Inc.
  5962   Scotty McCreery                                      Feel Good Summer Song                              SR0000735611                   UMG Recordings, Inc.
  5963   Scotty McCreery                                      Feelin' It                                         SR0000735611                   UMG Recordings, Inc.
  5964   Scotty McCreery                                      Forget To Forget You                               SR0000735611                   UMG Recordings, Inc.
  5965   Scotty McCreery                                      Get Gone With You                                  SR0000735611                   UMG Recordings, Inc.
  5966   Scotty McCreery                                      I Don't Wanna Be Your Friend                       SR0000735611                   UMG Recordings, Inc.
  5967   Scotty McCreery                                      Roll Your Window Down                              SR0000735611                   UMG Recordings, Inc.
  5968   Scotty McCreery                                      See You Tonight                                    SR0000735611                   UMG Recordings, Inc.
  5969   Scotty McCreery                                      Something More                                     SR0000735611                   UMG Recordings, Inc.
  5970   Scotty McCreery                                      The Dash                                           SR0000735611                   UMG Recordings, Inc.
  5971   Taio Cruz                                            Break Your Heart                                   SR0000655287                   UMG Recordings, Inc.
  5972   Taio Cruz                                            Dynamite                                           SR0000670254                   UMG Recordings, Inc.
  5973   The Band Perry                                       Double Heart                                       SR0000664551                   UMG Recordings, Inc.
  5974   The Band Perry                                       Hip To My Heart                                    SR0000637103                   UMG Recordings, Inc.
  5975   The Band Perry                                       If I Die Young                                     SR0000653353                   UMG Recordings, Inc.
  5976   The Band Perry                                       Independence                                       SR0000664551                   UMG Recordings, Inc.
  5977   The Band Perry                                       Lasso                                              SR0000664551                   UMG Recordings, Inc.
  5978   The Band Perry                                       Miss You Being Gone                                SR0000664551                   UMG Recordings, Inc.
  5979   The Band Perry                                       Walk Me Down the Middle                            SR0000664551                   UMG Recordings, Inc.
  5980   The Band Perry                                       You Lie                                            SR0000664551                   UMG Recordings, Inc.
  5981   The Band Perry                                       All Your Life                                      SR0000653353                   UMG Recordings, Inc.
  5982   The Band Perry                                       Postcard From Paris                                SR0000653353                   UMG Recordings, Inc.
  5983   The Band Perry                                       Quittin? You                                       SR0000653353                   UMG Recordings, Inc.
  5984   The Black Eyed Peas                                  Fashion Beats                                      SR0000670148                   UMG Recordings, Inc.
  5985   The Black Eyed Peas                                  Just Can't Get Enough                              SR0000670148                   UMG Recordings, Inc.
  5986   The Black Eyed Peas                                  Love You Long Time                                 SR0000670148                   UMG Recordings, Inc.
  5987   The Black Eyed Peas                                  Own It                                             SR0000670148                   UMG Recordings, Inc.
  5988   The Black Eyed Peas                                  Play It Loud                                       SR0000670148                   UMG Recordings, Inc.
  5989   The Black Eyed Peas                                  Someday                                            SR0000670148                   UMG Recordings, Inc.
  5990   The Black Eyed Peas                                  The Best One Yet (The Boy)                         SR0000670148                   UMG Recordings, Inc.
  5991   The Black Eyed Peas                                  The Coming                                         SR0000670148                   UMG Recordings, Inc.
  5992   The Black Eyed Peas                                  The Situation                                      SR0000670148                   UMG Recordings, Inc.
  5993   The Black Eyed Peas                                  Whenever                                           SR0000670148                   UMG Recordings, Inc.
  5994   The Black Eyed Peas                                  XOXOXO                                             SR0000670148                   UMG Recordings, Inc.
  5995   The Cranberries                                      Animal Instinct                                    SR0000264395                   UMG Recordings, Inc.
  5996   The Cranberries                                      Daffodil Lament                                    SR0000218047                   UMG Recordings, Inc.
  5997   The Cranberries                                      Free To Decide                                     SR0000228075                   UMG Recordings, Inc.
  5998   The Cranberries                                      Hollywood                                          SR0000217619                   UMG Recordings, Inc.


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  5999   The Cranberries                                      I Can't Be With You                                        SR0000218047                   UMG Recordings, Inc.
  6000   The Cranberries                                      New New York                                               SR0000324975                   UMG Recordings, Inc.
  6001   The Cranberries                                      Promises                                                   SR0000264395                   UMG Recordings, Inc.
  6002   The Cranberries                                      Ridiculous Thoughts                                        SR0000218047                   UMG Recordings, Inc.
  6003   The Cranberries                                      This Is The Day                                            SR0000303013                   UMG Recordings, Inc.
  6004   The Cranberries                                      Time Is Ticking Out                                        SR0000303013                   UMG Recordings, Inc.
  6005   The Cranberries                                      You And Me                                                 SR0000264395                   UMG Recordings, Inc.
  6006   The Mowgli's                                         San Francisco                                              SR0000712405                   UMG Recordings, Inc.
  6007   The Pussycat Dolls                                   Stickwitu                                                  SR0000377102                   UMG Recordings, Inc.
  6008   Timbaland                                            2 Man Show                                                 SR0000411631                   UMG Recordings, Inc.
  6009   Timbaland                                            Apologize                                                  SR0000623039                   UMG Recordings, Inc.
  6010   Timbaland                                            Boardmeeting                                               SR0000411631                   UMG Recordings, Inc.
  6011   Timbaland                                            Bombay                                                     SR0000411631                   UMG Recordings, Inc.
  6012   Timbaland                                            Come and Get Me                                            SR0000411631                   UMG Recordings, Inc.
  6013   Timbaland                                            Fantasy                                                    SR0000411631                   UMG Recordings, Inc.
  6014   Timbaland                                            Kill Yourself                                              SR0000411631                   UMG Recordings, Inc.
  6015   Timbaland                                            Miscommunication                                           SR0000623039                   UMG Recordings, Inc.
  6016   Timbaland                                            Oh Timbaland                                               SR0000623039                   UMG Recordings, Inc.
  6017   Timbaland                                            One and Only                                               SR0000411631                   UMG Recordings, Inc.
  6018   Timbaland                                            Release                                                    SR0000623039                   UMG Recordings, Inc.
  6019   Timbaland                                            Scream                                                     SR0000411631                   UMG Recordings, Inc.
  6020   Timbaland                                            The Way I Are                                              SR0000623039                   UMG Recordings, Inc.
  6021   Timbaland                                            Throw It On Me                                             SR0000411631                   UMG Recordings, Inc.
  6022   Timbaland                                            Time                                                       SR0000411631                   UMG Recordings, Inc.
  6023   Toby Keith                                           Beer For My Horses                                         SR0000808555                   UMG Recordings, Inc.
  6024   Toby Keith                                           Country Comes To Town                                      SR0000278495                   UMG Recordings, Inc.
  6025   Toby Keith                                           Courtesy Of The Red, White And Blue (The Angry American)   SR0000307469                   UMG Recordings, Inc.

  6026   Toby Keith                                           Go With Her                                                SR0000363112                   UMG Recordings, Inc.
  6027   Toby Keith                                           How Do You Like Me Now?!                                   SR0000768442                   UMG Recordings, Inc.
  6028   Toby Keith                                           I Wanna Talk About Me                                      SR0000301479                   UMG Recordings, Inc.
  6029   Toby Keith                                           I'm Just Talkin' About Tonight                             SR0000301479                   UMG Recordings, Inc.
  6030   Toby Keith                                           Mockingbird                                                SR0000363112                   UMG Recordings, Inc.
  6031   Toby Keith                                           Should've Been A Cowboy                                    SR0000152653                   UMG Recordings, Inc.
  6032   Toby Keith                                           Stays In Mexico                                            SR0000363112                   UMG Recordings, Inc.
  6033   Toby Keith                                           Who's Your Daddy?                                          SR0000307469                   UMG Recordings, Inc.
  6034   Toby Keith                                           You Ain't Much Fun                                         SR0000363112                   UMG Recordings, Inc.
  6035   Toby Keith                                           You Shouldn't Kiss Me Like This                            SR0000278495                   UMG Recordings, Inc.
  6036   UB40                                                 (I Can't Help) Falling In Love With You                    SR0000205179                   UMG Recordings, Inc.
  6037   UB40                                                 Breakfast In Bed                                           SR0000205152                   UMG Recordings, Inc.
  6038   UB40                                                 Cherry Oh Baby                                             SR0000049244                   UMG Recordings, Inc.
  6039   UB40                                                 Come Back Darling                                          SR0000178976                   UMG Recordings, Inc.
  6040   UB40                                                 Don't Break My Heart                                       SR0000205152                   UMG Recordings, Inc.
  6041   UB40                                                 Groovin' (Out On Life)                                     SR0000112173                   UMG Recordings, Inc.
  6042   UB40                                                 Here I Am (Come And Take Me)                               SR0000205179                   UMG Recordings, Inc.
  6043   UB40                                                 Higher Ground                                              SR0000205179                   UMG Recordings, Inc.
  6044   UB40                                                 Homely Girl                                                SR0000112173                   UMG Recordings, Inc.
  6045   UB40                                                 I Got You Babe                                             SR0000205152                   UMG Recordings, Inc.
  6046   UB40                                                 If It Happens Again                                        SR0000205152                   UMG Recordings, Inc.
  6047   UB40                                                 Kingston Town                                              SR0000205179                   UMG Recordings, Inc.
  6048   UB40                                                 One In Ten                                                 SR0000205152                   UMG Recordings, Inc.
  6049   UB40                                                 Please Don't Make Me Cry                                   SR0000205152                   UMG Recordings, Inc.
  6050   UB40                                                 Rat In Mi Kitchen                                          SR0000205152                   UMG Recordings, Inc.
  6051   UB40                                                 Red Red Wine                                               SR0000205152                   UMG Recordings, Inc.
  6052   UB40                                                 Sing Our Own Song                                          SR0000205152                   UMG Recordings, Inc.
  6053   UB40                                                 The Way You Do The Things You Do                           SR0000205179                   UMG Recordings, Inc.
  6054   UB40                                                 Until My Dying Day                                         SR0000205179                   UMG Recordings, Inc.
  6055   Warren G                                             Do You See                                                 SR0000629800                   UMG Recordings, Inc.
  6056   Warren G                                             Gangsta Sermon                                             SR0000629800                   UMG Recordings, Inc.
  6057   Warren G                                             Recognize                                                  SR0000629800                   UMG Recordings, Inc.
  6058   Warren G                                             Regulate                                                   SR0000629800                   UMG Recordings, Inc.
  6059   Warren G                                             Super Soul Sis                                             SR0000629800                   UMG Recordings, Inc.
  6060   Warren G                                             This D.J.                                                  SR0000629800                   UMG Recordings, Inc.
  6061   Warren G                                             What's Next                                                SR0000629800                   UMG Recordings, Inc.
  6062   Weezer                                               Buddy Holly                                                SR0000187644                   UMG Recordings, Inc.
  6063   Weezer                                               Holiday                                                    SR0000350888                   UMG Recordings, Inc.
  6064   Weezer                                               In The Garage                                              SR0000187644                   UMG Recordings, Inc.
  6065   Weezer                                               My Name Is Jonas                                           SR0000350888                   UMG Recordings, Inc.
  6066   Weezer                                               No One Else                                                SR0000187644                   UMG Recordings, Inc.
  6067   Weezer                                               Only In Dreams                                             SR0000350888                   UMG Recordings, Inc.
  6068   Weezer                                               Say It Ain't So                                            SR0000187644                   UMG Recordings, Inc.
  6069   Weezer                                               Surf Wax America                                           SR0000187644                   UMG Recordings, Inc.
  6070   Weezer                                               The World Has Turned And Left Me Here                      SR0000187644                   UMG Recordings, Inc.
  6071   Weezer                                               Undone -- The Sweater Song                                 SR0000187644                   UMG Recordings, Inc.
  6072   Wisin & Yandel                                       Irresistible                                               SR0000665444                   UMG Recordings, Inc.
  6073   YG                                                   Who Do You Love?                                           SR0000745799                   UMG Recordings, Inc.
  6074   Young Jeezy                                          Amazin'                                                    SR0000616586                   UMG Recordings, Inc.
  6075   Young Jeezy                                          By The Way                                                 SR0000616586                   UMG Recordings, Inc.
  6076   Young Jeezy                                          Circulate                                                  SR0000616586                   UMG Recordings, Inc.
  6077   Young Jeezy                                          Crazy World                                                SR0000616586                   UMG Recordings, Inc.
  6078   Young Jeezy                                          Don't Do It                                                SR0000616586                   UMG Recordings, Inc.
  6079   Young Jeezy                                          Don't You Know                                             SR0000616586                   UMG Recordings, Inc.
  6080   Young Jeezy                                          Everything                                                 SR0000616586                   UMG Recordings, Inc.
  6081   Young Jeezy                                          Get Allot                                                  SR0000616586                   UMG Recordings, Inc.
  6082   Young Jeezy                                          Hustlaz Ambition                                           SR0000616586                   UMG Recordings, Inc.
  6083   Young Jeezy                                          My President                                               SR0000616586                   UMG Recordings, Inc.


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                                   Artist                                                Track                        Registration Number                     Plaintiff
  6084   Young Jeezy                                          Put On                                         SR0000615616                   UMG Recordings, Inc.
  6085   Young Jeezy                                          Takin' It There                                SR0000616586                   UMG Recordings, Inc.
  6086   Young Jeezy                                          The Recession                                  SR0000616586                   UMG Recordings, Inc.
  6087   Young Jeezy                                          The Recession (Intro)                          SR0000616586                   UMG Recordings, Inc.
  6088   Young Jeezy                                          Vacation                                       SR0000616586                   UMG Recordings, Inc.
  6089   Young Jeezy                                          Welcome Back                                   SR0000616586                   UMG Recordings, Inc.
  6090   Young Jeezy                                          What They Want                                 SR0000616586                   UMG Recordings, Inc.
  6091   Young Jeezy                                          Who Dat                                        SR0000616586                   UMG Recordings, Inc.
  6092   Young Jeezy                                          Word Play                                      SR0000616586                   UMG Recordings, Inc.
  6093   Zedd                                                 Clarity                                        SR0000736147                   UMG Recordings, Inc.
  6094   Zedd                                                 Epos                                           SR0000745858                   UMG Recordings, Inc.
  6095   Zedd                                                 Fall Into The Sky                              SR0000745858                   UMG Recordings, Inc.
  6096   Zedd                                                 Follow You Down                                SR0000709927                   UMG Recordings, Inc.
  6097   Zedd                                                 Hourglass                                      SR0000736147                   UMG Recordings, Inc.
  6098   Zedd                                                 Lost At Sea                                    SR0000744174                   UMG Recordings, Inc.
  6099   Zedd                                                 Shave It Up                                    SR0000709927                   UMG Recordings, Inc.
  6100   Zedd                                                 Spectrum                                       SR0000736147                   UMG Recordings, Inc.
  6101   Zedd                                                 Stache                                         SR0000745858                   UMG Recordings, Inc.
  6102   Zedd                                                 Stay The Night                                 SR0000736147                   UMG Recordings, Inc.
  6103   Weird Al Yankovic                                    A Complicated Song                             SR0000331347                   Volcano Entertainment III, LLC
  6104   Weird Al Yankovic                                    Achy Breaky Song                               SR0000184456                   Volcano Entertainment III, LLC
  6105   Weird Al Yankovic                                    Airline Amy                                    SR0000251666                   Volcano Entertainment III, LLC
  6106   Weird Al Yankovic                                    Amish Paradise                                 SR0000225008                   Volcano Entertainment III, LLC
  6107   Weird Al Yankovic                                    Angry White Boy Polka                          SR0000331347                   Volcano Entertainment III, LLC
  6108   Weird Al Yankovic                                    Bedrock Anthem                                 SR0000184456                   Volcano Entertainment III, LLC
  6109   Weird Al Yankovic                                    Bob                                            SR0000331347                   Volcano Entertainment III, LLC
  6110   Weird Al Yankovic                                    Bohemian Polka                                 SR0000184456                   Volcano Entertainment III, LLC
  6111   Weird Al Yankovic                                    Callin' In Sick                                SR0000225008                   Volcano Entertainment III, LLC
  6112   Weird Al Yankovic                                    Cavity Search                                  SR0000225008                   Volcano Entertainment III, LLC
  6113   Weird Al Yankovic                                    Couch Potato                                   SR0000331347                   Volcano Entertainment III, LLC
  6114   Weird Al Yankovic                                    Ebay                                           SR0000331347                   Volcano Entertainment III, LLC
  6115   Weird Al Yankovic                                    Everything You Know Is Wrong                   SR0000225008                   Volcano Entertainment III, LLC
  6116   Weird Al Yankovic                                    Frank's 2000" TV                               SR0000184456                   Volcano Entertainment III, LLC
  6117   Weird Al Yankovic                                    Genius In France                               SR0000331347                   Volcano Entertainment III, LLC
  6118   Weird Al Yankovic                                    Gump                                           SR0000225008                   Volcano Entertainment III, LLC
  6119   Weird Al Yankovic                                    Hardware Store                                 SR0000331347                   Volcano Entertainment III, LLC
  6120   Weird Al Yankovic                                    I Can't Watch This                             SR0000251666                   Volcano Entertainment III, LLC
  6121   Weird Al Yankovic                                    I Remember Larry                               SR0000225008                   Volcano Entertainment III, LLC
  6122   Weird Al Yankovic                                    I Was Only Kidding                             SR0000251666                   Volcano Entertainment III, LLC
  6123   Weird Al Yankovic                                    I'm So Sick Of You                             SR0000225008                   Volcano Entertainment III, LLC
  6124   Weird Al Yankovic                                    Jurassic Park                                  SR0000184456                   Volcano Entertainment III, LLC
  6125   Weird Al Yankovic                                    Livin' In The Fridge                           SR0000184456                   Volcano Entertainment III, LLC
  6126   Weird Al Yankovic                                    Ode To A Superhero                             SR0000331347                   Volcano Entertainment III, LLC
  6127   Weird Al Yankovic                                    Party At The Leper Colony                      SR0000331347                   Volcano Entertainment III, LLC
  6128   Weird Al Yankovic                                    Phony Calls                                    SR0000225008                   Volcano Entertainment III, LLC
  6129   Weird Al Yankovic                                    Polka Your Eyes Out                            SR0000251666                   Volcano Entertainment III, LLC
  6130   Weird Al Yankovic                                    She Never Told Me She Was A Mime               SR0000184456                   Volcano Entertainment III, LLC
  6131   Weird Al Yankovic                                    Smells Like Nirvana                            SR0000251666                   Volcano Entertainment III, LLC
  6132   Weird Al Yankovic                                    Spy Hard                                       SR0000251798                   Volcano Entertainment III, LLC
  6133   Weird Al Yankovic                                    Syndicated Inc.                                SR0000225008                   Volcano Entertainment III, LLC
  6134   Weird Al Yankovic                                    Taco Grande                                    SR0000251666                   Volcano Entertainment III, LLC
  6135   Weird Al Yankovic                                    Talk Soup                                      SR0000184456                   Volcano Entertainment III, LLC
  6136   Weird Al Yankovic                                    The Alternative Polka                          SR0000225008                   Volcano Entertainment III, LLC
  6137   Weird Al Yankovic                                    The Night Santa Went Crazy                     SR0000225008                   Volcano Entertainment III, LLC
  6138   Weird Al Yankovic                                    The Plumbing Song                              SR0000251666                   Volcano Entertainment III, LLC
  6139   Weird Al Yankovic                                    The White Stuff                                SR0000251666                   Volcano Entertainment III, LLC
  6140   Weird Al Yankovic                                    Traffic Jam                                    SR0000184456                   Volcano Entertainment III, LLC
  6141   Weird Al Yankovic                                    Trash Day                                      SR0000331347                   Volcano Entertainment III, LLC
  6142   Weird Al Yankovic                                    Trigger Happy                                  SR0000251666                   Volcano Entertainment III, LLC
  6143   Weird Al Yankovic                                    Waffle King                                    SR0000184456                   Volcano Entertainment III, LLC
  6144   Weird Al Yankovic                                    Wanna B Ur Lovr                                SR0000331347                   Volcano Entertainment III, LLC
  6145   Weird Al Yankovic                                    Why Does This Always Happen To Me?             SR0000331347                   Volcano Entertainment III, LLC
  6146   Weird Al Yankovic                                    You Don't Love Me Anymore                      SR0000251666                   Volcano Entertainment III, LLC
  6147   Weird Al Yankovic                                    Young, Dumb & Ugly                             SR0000184456                   Volcano Entertainment III, LLC
  6148   Nickelback                                           Burn It To The Ground                          SR0000651954                   Warner Music Inc.
  6149   Nickelback                                           Gotta Be Somebody                              SR0000651954                   Warner Music Inc.
  6150   Nickelback                                           How You Remind Me                              SR0000330446                   Warner Music Inc.
  6151   Nickelback                                           I'd Come For You                               SR0000651954                   Warner Music Inc.
  6152   Nickelback                                           If Today Was Your Last Day                     SR0000651954                   Warner Music Inc.
  6153   Nickelback                                           Just To Get High                               SR0000651954                   Warner Music Inc.
  6154   Nickelback                                           Never Gonna Be Alone                           SR0000651954                   Warner Music Inc.
  6155   Nickelback                                           Next Go Round                                  SR0000651954                   Warner Music Inc.
  6156   Nickelback                                           S.E.X.                                         SR0000651954                   Warner Music Inc.
  6157   Nickelback                                           Shakin' Hands                                  SR0000651954                   Warner Music Inc.
  6158   Nickelback                                           Something In Your Mouth                        SR0000651954                   Warner Music Inc.
  6159   Nickelback                                           This Afternoon                                 SR0000651954                   Warner Music Inc.
  6160   Stone Sour                                           1st Person                                     SR0000695030                   Warner Music Inc.
  6161   Stone Sour                                           30/30-150                                      SR0000695030                   Warner Music Inc.
  6162   Stone Sour                                           Bother                                         SR0000330447                   Warner Music Inc.
  6163   Stone Sour                                           Cardiff                                        SR0000695030                   Warner Music Inc.
  6164   Stone Sour                                           Choose                                         SR0000330447                   Warner Music Inc.
  6165   Stone Sour                                           Come What(ever) May                            SR0000695030                   Warner Music Inc.
  6166   Stone Sour                                           Digital (Did You Tell)                         SR0000689549                   Warner Music Inc.
  6167   Stone Sour                                           Get Inside                                     SR0000330447                   Warner Music Inc.
  6168   Stone Sour                                           Hell & Consequences                            SR0000695030                   Warner Music Inc.
  6169   Stone Sour                                           Home Again                                     SR0000689549                   Warner Music Inc.


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                                   Artist                                                 Track                          Registration Number                     Plaintiff
  6170   Stone Sour                                           Inhale                                            SR0000330447                   Warner Music Inc.
  6171   Stone Sour                                           Kill Everybody                                    SR0000357276                   Warner Music Inc.
  6172   Stone Sour                                           Made Of Scars                                     SR0000695030                   Warner Music Inc.
  6173   Stone Sour                                           Nylon 6/6                                         SR0000689549                   Warner Music Inc.
  6174   Stone Sour                                           Orchids                                           SR0000330447                   Warner Music Inc.
  6175   Stone Sour                                           Pieces                                            SR0000689549                   Warner Music Inc.
  6176   Stone Sour                                           Reborn                                            SR0000695030                   Warner Music Inc.
  6177   Stone Sour                                           Road Hogs                                         SR0000357276                   Warner Music Inc.
  6178   Stone Sour                                           Say You'll Haunt Me                               SR0000689549                   Warner Music Inc.
  6179   Stone Sour                                           Sillyworld                                        SR0000695030                   Warner Music Inc.
  6180   Stone Sour                                           Socio                                             SR0000695030                   Warner Music Inc.
  6181   Stone Sour                                           Take A Number                                     SR0000330447                   Warner Music Inc.
  6182   Stone Sour                                           The Bitter End                                    SR0000689549                   Warner Music Inc.
  6183   Stone Sour                                           Threadbare                                        SR0000689549                   Warner Music Inc.
  6184   Stone Sour                                           Through Glass                                     SR0000695030                   Warner Music Inc.
  6185   Stone Sour                                           Tumult                                            SR0000330447                   Warner Music Inc.
  6186   Stone Sour                                           Your God                                          SR0000695030                   Warner Music Inc.
  6187   Stone Sour                                           Zzyzx Rd.                                         SR0000695030                   Warner Music Inc.
  6188   Avenged Sevenfold                                    Bat Country                                       SR0000374368                   Warner Records Inc.
  6189   Avenged Sevenfold                                    Beast And The Harlot                              SR0000374368                   Warner Records Inc.
  6190   Avenged Sevenfold                                    Betrayed                                          SR0000374368                   Warner Records Inc.
  6191   Avenged Sevenfold                                    Blinded In Chains                                 SR0000374368                   Warner Records Inc.
  6192   Avenged Sevenfold                                    Burn It Down                                      SR0000374368                   Warner Records Inc.
  6193   Avenged Sevenfold                                    M.I.A.                                            SR0000374368                   Warner Records Inc.
  6194   Avenged Sevenfold                                    Seize The Day                                     SR0000374368                   Warner Records Inc.
  6195   Avenged Sevenfold                                    Sidewinder                                        SR0000374368                   Warner Records Inc.
  6196   Avenged Sevenfold                                    Strength Of The World                             SR0000374368                   Warner Records Inc.
  6197   Avenged Sevenfold                                    The Wicked End                                    SR0000374368                   Warner Records Inc.
  6198   Avenged Sevenfold                                    Trashed And Scattered                             SR0000374368                   Warner Records Inc.
  6199   Black Sabbath                                        Electric Funeral                                  N20213                         Warner Records Inc.
  6200   Black Sabbath                                        Hand Of Doom                                      N20213                         Warner Records Inc.
  6201   Black Sabbath                                        Iron Man                                          N20213                         Warner Records Inc.
  6202   Black Sabbath                                        Jack The Stripper/Fairies Wear Boots              N20213                         Warner Records Inc.
  6203   Black Sabbath                                        Paranoid                                          N20213                         Warner Records Inc.
  6204   Black Sabbath                                        Planet Caravan                                    N20213                         Warner Records Inc.
  6205   Black Sabbath                                        Rat Salad                                         N20213                         Warner Records Inc.
  6206   Black Sabbath                                        War Pigs                                          SR0000042886                   Warner Records Inc.
  6207   Blake Shelton                                        All About Tonight                                 SR0000668677                   Warner Records Inc.
  6208   Blake Shelton                                        Austin                                            SR0000299678                   Warner Records Inc.
  6209   Blake Shelton                                        Back There Again                                  SR0000406834                   Warner Records Inc.
  6210   Blake Shelton                                        Boys 'Round Here                                  SR0000721082                   Warner Records Inc.
  6211   Blake Shelton                                        Chances                                           SR0000644193                   Warner Records Inc.
  6212   Blake Shelton                                        Country On The Radio                              SR0000721082                   Warner Records Inc.
  6213   Blake Shelton                                        Do You Remember                                   SR0000721082                   Warner Records Inc.
  6214   Blake Shelton                                        Doin' What She Likes                              SR0000721082                   Warner Records Inc.
  6215   Blake Shelton                                        Don't Make Me                                     SR0000406834                   Warner Records Inc.
  6216   Blake Shelton                                        Drink On It                                       SR0000693085                   Warner Records Inc.
  6217   Blake Shelton                                        Get Some                                          SR0000693085                   Warner Records Inc.
  6218   Blake Shelton                                        God Gave Me You                                   SR0000693085                   Warner Records Inc.
  6219   Blake Shelton                                        Good Ole Boys                                     SR0000693085                   Warner Records Inc.
  6220   Blake Shelton                                        Goodbye Time                                      SR0000359309                   Warner Records Inc.
  6221   Blake Shelton                                        Granddaddy's Gun                                  SR0000721082                   Warner Records Inc.
  6222   Blake Shelton                                        Hey                                               SR0000693085                   Warner Records Inc.
  6223   Blake Shelton                                        Hillbilly Bone                                    SR0000685229                   Warner Records Inc.
  6224   Blake Shelton                                        Home                                              SR0000644193                   Warner Records Inc.
  6225   Blake Shelton                                        Honey Bee                                         SR0000693085                   Warner Records Inc.
  6226   Blake Shelton                                        I Can't Walk Away                                 SR0000644193                   Warner Records Inc.
  6227   Blake Shelton                                        I Don't Care                                      SR0000406834                   Warner Records Inc.
  6228   Blake Shelton                                        I Have Been Lonely                                SR0000406834                   Warner Records Inc.
  6229   Blake Shelton                                        I Still Got A Finger                              SR0000721082                   Warner Records Inc.
  6230   Blake Shelton                                        I'm Sorry                                         SR0000693085                   Warner Records Inc.
  6231   Blake Shelton                                        It Ain't Easy Bein' Me                            SR0000406834                   Warner Records Inc.
  6232   Blake Shelton                                        Kiss My Country Ass                               SR0000685229                   Warner Records Inc.
  6233   Blake Shelton                                        Lay Low                                           SR0000721082                   Warner Records Inc.
  6234   Blake Shelton                                        Mine Would Be You                                 SR0000721082                   Warner Records Inc.
  6235   Blake Shelton                                        My Eyes                                           SR0000721082                   Warner Records Inc.
  6236   Blake Shelton                                        Nobody But Me                                     SR0000359309                   Warner Records Inc.
  6237   Blake Shelton                                        Ol' Red                                           SR0000300565                   Warner Records Inc.
  6238   Blake Shelton                                        Over                                              SR0000693085                   Warner Records Inc.
  6239   Blake Shelton                                        Playboys Of The Southwestern World                SR0000331177                   Warner Records Inc.
  6240   Blake Shelton                                        Ready To Roll                                     SR0000693085                   Warner Records Inc.
  6241   Blake Shelton                                        Red River Blue                                    SR0000693085                   Warner Records Inc.
  6242   Blake Shelton                                        She Can't Get That                                SR0000406834                   Warner Records Inc.
  6243   Blake Shelton                                        She Don't Love Me                                 SR0000406834                   Warner Records Inc.
  6244   Blake Shelton                                        She Wouldn't Be Gone                              SR0000659650                   Warner Records Inc.
  6245   Blake Shelton                                        Small Town Big Time                               SR0000721082                   Warner Records Inc.
  6246   Blake Shelton                                        Some Beach                                        SR0000359307                   Warner Records Inc.
  6247   Blake Shelton                                        Sunny In Seattle                                  SR0000693085                   Warner Records Inc.
  6248   Blake Shelton                                        Sure Be Cool If You Did                           SR0000721082                   Warner Records Inc.
  6249   Blake Shelton                                        Ten Times Crazier                                 SR0000721082                   Warner Records Inc.
  6250   Blake Shelton                                        The Last Country Song                             SR0000406834                   Warner Records Inc.
  6251   Blake Shelton                                        The More I Drink                                  SR0000406834                   Warner Records Inc.
  6252   Blake Shelton                                        This Can't Be Good                                SR0000406834                   Warner Records Inc.
  6253   Blake Shelton                                        What I Wouldn't Give                              SR0000406834                   Warner Records Inc.
  6254   Blake Shelton                                        Who Are You When I'm Not Looking                  SR0000668677                   Warner Records Inc.
  6255   Daniel Powter                                        Bad Day                                           SR0000384148                   Warner Records Inc.


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                                   Artist                                                  Track                            Registration Number                     Plaintiff
  6256   David Draiman                                        Forsaken                                             SR0000308602                   Warner Records Inc.
  6257   Deftones                                             Entombed                                             SR0000719493                   Warner Records Inc.
  6258   Deftones                                             Gauze                                                SR0000719493                   Warner Records Inc.
  6259   Deftones                                             Goon Squad                                           SR0000719493                   Warner Records Inc.
  6260   Deftones                                             Graphic Nature                                       SR0000719493                   Warner Records Inc.
  6261   Deftones                                             Leathers                                             SR0000719493                   Warner Records Inc.
  6262   Deftones                                             Poltergeist                                          SR0000719493                   Warner Records Inc.
  6263   Deftones                                             Romantic Dreams                                      SR0000719493                   Warner Records Inc.
  6264   Deftones                                             Rosemary                                             SR0000719493                   Warner Records Inc.
  6265   Deftones                                             Swerve City                                          SR0000719493                   Warner Records Inc.
  6266   Deftones                                             Tempest                                              SR0000719493                   Warner Records Inc.
  6267   Deftones                                             What Happened To You?                                SR0000719493                   Warner Records Inc.
  6268   Disturbed                                            A Welcome Burden                                     SR0000685183                   Warner Records Inc.
  6269   Disturbed                                            Avarice                                              SR0000380289                   Warner Records Inc.
  6270   Disturbed                                            Awaken                                               SR0000316958                   Warner Records Inc.
  6271   Disturbed                                            Believe                                              SR0000316958                   Warner Records Inc.
  6272   Disturbed                                            Bound                                                SR0000316958                   Warner Records Inc.
  6273   Disturbed                                            Breathe                                              SR0000316958                   Warner Records Inc.
  6274   Disturbed                                            Conflict                                             SR0000288344                   Warner Records Inc.
  6275   Disturbed                                            Criminal                                             SR0000647297                   Warner Records Inc.
  6276   Disturbed                                            Decadence                                            SR0000380289                   Warner Records Inc.
  6277   Disturbed                                            Deceiver                                             SR0000647297                   Warner Records Inc.
  6278   Disturbed                                            Dehumanized                                          SR0000695381                   Warner Records Inc.
  6279   Disturbed                                            Deify                                                SR0000380289                   Warner Records Inc.
  6280   Disturbed                                            Devour                                               SR0000316958                   Warner Records Inc.
  6281   Disturbed                                            Divide                                               SR0000647297                   Warner Records Inc.
  6282   Disturbed                                            Down With The Sickness                               SR0000280324                   Warner Records Inc.
  6283   Disturbed                                            Droppin' Plates                                      SR0000280324                   Warner Records Inc.
  6284   Disturbed                                            Enough                                               SR0000647297                   Warner Records Inc.
  6285   Disturbed                                            Facade                                               SR0000647297                   Warner Records Inc.
  6286   Disturbed                                            Fear                                                 SR0000280324                   Warner Records Inc.
  6287   Disturbed                                            Forgiven                                             SR0000380289                   Warner Records Inc.
  6288   Disturbed                                            God Of The Mind                                      SR0000695381                   Warner Records Inc.
  6289   Disturbed                                            Guarded                                              SR0000374276                   Warner Records Inc.
  6290   Disturbed                                            Haunted                                              SR0000647297                   Warner Records Inc.
  6291   Disturbed                                            Hell                                                 SR0000695381                   Warner Records Inc.
  6292   Disturbed                                            I'm Alive                                            SR0000380289                   Warner Records Inc.
  6293   Disturbed                                            Indestructible                                       SR0000647297                   Warner Records Inc.
  6294   Disturbed                                            Inside The Fire                                      SR0000647297                   Warner Records Inc.
  6295   Disturbed                                            Intoxication                                         SR0000316958                   Warner Records Inc.
  6296   Disturbed                                            Just Stop                                            SR0000380289                   Warner Records Inc.
  6297   Disturbed                                            Land Of Confusion                                    SR0000380289                   Warner Records Inc.
  6298   Disturbed                                            Liberate                                             SR0000316958                   Warner Records Inc.
  6299   Disturbed                                            Meaning Of Life                                      SR0000280324                   Warner Records Inc.
  6300   Disturbed                                            Mistress                                             SR0000316958                   Warner Records Inc.
  6301   Disturbed                                            Monster                                              SR0000695381                   Warner Records Inc.
  6302   Disturbed                                            Numb                                                 SR0000685183                   Warner Records Inc.
  6303   Disturbed                                            Overburdened                                         SR0000380289                   Warner Records Inc.
  6304   Disturbed                                            Pain Redefined                                       SR0000380289                   Warner Records Inc.
  6305   Disturbed                                            Parasite                                             SR0000695381                   Warner Records Inc.
  6306   Disturbed                                            Perfect Insanity                                     SR0000647297                   Warner Records Inc.
  6307   Disturbed                                            Prayer                                               SR0000316958                   Warner Records Inc.
  6308   Disturbed                                            Remember                                             SR0000316958                   Warner Records Inc.
  6309   Disturbed                                            Rise                                                 SR0000316958                   Warner Records Inc.
  6310   Disturbed                                            Run                                                  SR0000695381                   Warner Records Inc.
  6311   Disturbed                                            Sacred Lie                                           SR0000380289                   Warner Records Inc.
  6312   Disturbed                                            Shout 2000                                           SR0000280324                   Warner Records Inc.
  6313   Disturbed                                            Sickened                                             SR0000695381                   Warner Records Inc.
  6314   Disturbed                                            Sons Of Plunder                                      SR0000380289                   Warner Records Inc.
  6315   Disturbed                                            Stricken                                             SR0000380288                   Warner Records Inc.
  6316   Disturbed                                            Stupify                                              SR0000280324                   Warner Records Inc.
  6317   Disturbed                                            Ten Thousand Fists                                   SR0000380289                   Warner Records Inc.
  6318   Disturbed                                            The Curse                                            SR0000647297                   Warner Records Inc.
  6319   Disturbed                                            The Game                                             SR0000280324                   Warner Records Inc.
  6320   Disturbed                                            The Night                                            SR0000647297                   Warner Records Inc.
  6321   Disturbed                                            This Moment                                          SR0000695381                   Warner Records Inc.
  6322   Disturbed                                            Torn                                                 SR0000647297                   Warner Records Inc.
  6323   Disturbed                                            Two Worlds                                           SR0000695381                   Warner Records Inc.
  6324   Disturbed                                            Violence Fetish                                      SR0000280324                   Warner Records Inc.
  6325   Disturbed                                            Voices                                               SR0000280324                   Warner Records Inc.
  6326   Disturbed                                            Want                                                 SR0000280324                   Warner Records Inc.
  6327   Eric Clapton                                         (I) Get Lost                                         SR0000276566                   Warner Records Inc.
  6328   Eric Clapton                                         Riding With The King                                 SR0000285808                   Warner Records Inc.
  6329   Faith Hill                                           A Man's Home Is His Castle                           SR0000169102                   Warner Records Inc.
  6330   Faith Hill                                           A Room In My Heart                                   SR0000169102                   Warner Records Inc.
  6331   Faith Hill                                           Baby You Belong                                      SR0000321377                   Warner Records Inc.
  6332   Faith Hill                                           Back To You                                          SR0000321377                   Warner Records Inc.
  6333   Faith Hill                                           Beautiful                                            SR0000321377                   Warner Records Inc.
  6334   Faith Hill                                           Bed Of Roses                                         SR0000169102                   Warner Records Inc.
  6335   Faith Hill                                           Better Days                                          SR0000253752                   Warner Records Inc.
  6336   Faith Hill                                           Breathe                                              SR0000276629                   Warner Records Inc.
  6337   Faith Hill                                           Bringing Out The Elvis                               SR0000276629                   Warner Records Inc.
  6338   Faith Hill                                           But I Will                                           SR0000182853                   Warner Records Inc.
  6339   Faith Hill                                           Cry                                                  SR0000321377                   Warner Records Inc.
  6340   Faith Hill                                           Dearly Beloved                                       SR0000374377                   Warner Records Inc.
  6341   Faith Hill                                           Fireflies                                            SR0000374377                   Warner Records Inc.


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                                   Artist                                                  Track                                 Registration Number                     Plaintiff
  6342   Faith Hill                                           Go The Distance                                           SR0000182853                   Warner Records Inc.
  6343   Faith Hill                                           I Can't Do That Anymore                                   SR0000169102                   Warner Records Inc.
  6344   Faith Hill                                           I Got My Baby                                             SR0000276629                   Warner Records Inc.
  6345   Faith Hill                                           I Love You                                                SR0000253752                   Warner Records Inc.
  6346   Faith Hill                                           I Think I Will                                            SR0000321377                   Warner Records Inc.
  6347   Faith Hill                                           I Want You                                                SR0000374377                   Warner Records Inc.
  6348   Faith Hill                                           I Would Be Stronger Than That                             SR0000182853                   Warner Records Inc.
  6349   Faith Hill                                           If I Should Fall Behind                                   SR0000276629                   Warner Records Inc.
  6350   Faith Hill                                           If I'm Not In Love                                        SR0000276629                   Warner Records Inc.
  6351   Faith Hill                                           If My Heart Had Wings                                     SR0000276629                   Warner Records Inc.
  6352   Faith Hill                                           If This Is The End                                        SR0000321377                   Warner Records Inc.
  6353   Faith Hill                                           If You Ask                                                SR0000374377                   Warner Records Inc.
  6354   Faith Hill                                           If You're Gonna Fly Away                                  SR0000321377                   Warner Records Inc.
  6355   Faith Hill                                           It Matters To Me                                          SR0000169102                   Warner Records Inc.
  6356   Faith Hill                                           It Will Be Me                                             SR0000276629                   Warner Records Inc.
  6357   Faith Hill                                           I've Got This Friend (With Larry Stewart)                 SR0000182853                   Warner Records Inc.
  6358   Faith Hill                                           Just About Now                                            SR0000182853                   Warner Records Inc.
  6359   Faith Hill                                           Just Around The Eyes                                      SR0000182853                   Warner Records Inc.
  6360   Faith Hill                                           Just To Hear You Say That You Love Me (with Tim McGraw)   SR0000253752                   Warner Records Inc.

  6361   Faith Hill                                           Keep Walkin' On                                           SR0000169102                   Warner Records Inc.
  6362   Faith Hill                                           Let Me Let Go                                             SR0000253752                   Warner Records Inc.
  6363   Faith Hill                                           Let's Go To Vegas                                         SR0000169102                   Warner Records Inc.
  6364   Faith Hill                                           Life's Too Short To Love Like That                        SR0000182853                   Warner Records Inc.
  6365   Faith Hill                                           Like We Never Loved At All                                SR0000374377                   Warner Records Inc.
  6366   Faith Hill                                           Love Ain't Like That                                      SR0000253752                   Warner Records Inc.
  6367   Faith Hill                                           Love Is A Sweet Thing                                     SR0000276629                   Warner Records Inc.
  6368   Faith Hill                                           Me                                                        SR0000253752                   Warner Records Inc.
  6369   Faith Hill                                           Mississippi Girl                                          SR0000374378                   Warner Records Inc.
  6370   Faith Hill                                           My Wild Frontier                                          SR0000253752                   Warner Records Inc.
  6371   Faith Hill                                           One                                                       SR0000321377                   Warner Records Inc.
  6372   Faith Hill                                           Piece Of My Heart                                         SR0000182853                   Warner Records Inc.
  6373   Faith Hill                                           Somebody Stand By Me                                      SR0000253752                   Warner Records Inc.
  6374   Faith Hill                                           Someone Else's Dream                                      SR0000169102                   Warner Records Inc.
  6375   Faith Hill                                           Stealing Kisses                                           SR0000374377                   Warner Records Inc.
  6376   Faith Hill                                           Stronger                                                  SR0000321377                   Warner Records Inc.
  6377   Faith Hill                                           Sunshine & Summertime                                     SR0000374377                   Warner Records Inc.
  6378   Faith Hill                                           Take Me As I Am                                           SR0000182853                   Warner Records Inc.
  6379   Faith Hill                                           That's How Love Moves                                     SR0000276629                   Warner Records Inc.
  6380   Faith Hill                                           The Hard Way                                              SR0000253752                   Warner Records Inc.
  6381   Faith Hill                                           The Lucky One                                             SR0000374377                   Warner Records Inc.
  6382   Faith Hill                                           The Secret Of Life                                        SR0000253752                   Warner Records Inc.
  6383   Faith Hill                                           The Way You Love Me                                       SR0000276629                   Warner Records Inc.
  6384   Faith Hill                                           There Will Come A Day                                     SR0000276629                   Warner Records Inc.
  6385   Faith Hill                                           This Is Me                                                SR0000321377                   Warner Records Inc.
  6386   Faith Hill                                           This Kiss (Pop Remix a.k.a. Radio Version)                SR0000181237                   Warner Records Inc.
  6387   Faith Hill                                           Unsaveable                                                SR0000321377                   Warner Records Inc.
  6388   Faith Hill                                           We've Got Nothing But Love To Prove                       SR0000374377                   Warner Records Inc.
  6389   Faith Hill                                           What's In It For Me                                       SR0000276629                   Warner Records Inc.
  6390   Faith Hill                                           When The Lights Go Down                                   SR0000321377                   Warner Records Inc.
  6391   Faith Hill                                           Wild One                                                  SR0000182853                   Warner Records Inc.
  6392   Faith Hill                                           Wish For You                                              SR0000374377                   Warner Records Inc.
  6393   Faith Hill                                           You Can't Lose Me                                         SR0000169102                   Warner Records Inc.
  6394   Faith Hill                                           You Give Me Love                                          SR0000253752                   Warner Records Inc.
  6395   Faith Hill                                           You Stay With Me                                          SR0000374377                   Warner Records Inc.
  6396   Faith Hill                                           You Will Be Mine                                          SR0000169102                   Warner Records Inc.
  6397   Faith Hill                                           You're Still Here                                         SR0000321377                   Warner Records Inc.
  6398   Faith Hill & Tim McGraw                              Let's Make Love                                           SR0000276629                   Warner Records Inc.
  6399   Gloriana                                             (Kissed You) Good Night                                   SR0000719998                   Warner Records Inc.
  6400   Green Day                                            ¡Viva La Gloria!                                          SR0000762131                   Warner Records Inc.
  6401   Green Day                                            American Eulogy: Mass Hysteria/Modern World               SR0000762131                   Warner Records Inc.
  6402   Green Day                                            Before The Lobotomy                                       SR0000762131                   Warner Records Inc.
  6403   Green Day                                            Christian's Inferno                                       SR0000762131                   Warner Records Inc.
  6404   Green Day                                            Horseshoes and Handgrenades                               SR0000762131                   Warner Records Inc.
  6405   Green Day                                            Last Night On Earth                                       SR0000762131                   Warner Records Inc.
  6406   Green Day                                            Murder City                                               SR0000762131                   Warner Records Inc.
  6407   Green Day                                            Peacemaker                                                SR0000762131                   Warner Records Inc.
  6408   Green Day                                            Restless Heart Syndrome                                   SR0000762131                   Warner Records Inc.
  6409   Green Day                                            See The Light                                             SR0000762131                   Warner Records Inc.
  6410   Green Day                                            Song Of The Century                                       SR0000762131                   Warner Records Inc.
  6411   Green Day                                            The Static Age                                            SR0000762131                   Warner Records Inc.
  6412   Gucci Mane                                           Haterade                                                  SR0000665931                   Warner Records Inc.
  6413   James Taylor                                         Don't Let Me Be Lonely Tonight                            N3810                          Warner Records Inc.
  6414   James Taylor                                         Golden Moments                                            N35786                         Warner Records Inc.
  6415   James Taylor                                         Steamroller (Live)                                        N38974                         Warner Records Inc.
  6416   Jason Derulo                                         Blind                                                     SR0000685175                   Warner Records Inc.
  6417   Jason Derulo                                         Encore                                                    SR0000685175                   Warner Records Inc.
  6418   Jason Derulo                                         Fallen                                                    SR0000685175                   Warner Records Inc.
  6419   Jason Derulo                                         In My Head                                                SR0000685175                   Warner Records Inc.
  6420   Jason Derulo                                         Love Hangover                                             SR0000685175                   Warner Records Inc.
  6421   Jason Derulo                                         Marry Me                                                  SR0000763207                   Warner Records Inc.
  6422   Jason Derulo                                         Ridin' Solo                                               SR0000685175                   Warner Records Inc.
  6423   Jason Derulo                                         Strobelight                                               SR0000685175                   Warner Records Inc.
  6424   Jason Derulo                                         Stupid Love                                               SR0000763207                   Warner Records Inc.
  6425   Jason Derulo                                         Talk Dirty                                                SR0000763207                   Warner Records Inc.
  6426   Jason Derulo                                         The Sky's The Limit                                       SR0000685175                   Warner Records Inc.


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                                  Artist                                                  Track                        Registration Number                     Plaintiff
  6427   Jason Derulo                                         Trumpets                                        SR0000763207                   Warner Records Inc.
  6428   Jason Derulo                                         Vertigo                                         SR0000763207                   Warner Records Inc.
  6429   Jason Derulo                                         What If                                         SR0000685175                   Warner Records Inc.
  6430   Jason Derulo                                         Whatcha Say                                     SR0000685175                   Warner Records Inc.
  6431   Jason Derulo                                         With The Lights On                              SR0000763207                   Warner Records Inc.
  6432   John Williams                                        Theme from Superman                             SR0000006230                   Warner Records Inc.
  6433   Kenny Rogers                                         The Vows Go Unbroken (Always True To You)       SR0000105862                   Warner Records Inc.
  6434   Linkin Park                                          1stp Klosr                                      SR0000316952                   Warner Records Inc.
  6435   Linkin Park                                          A Place For My Head                             SR0000288402                   Warner Records Inc.
  6436   Linkin Park                                          BURN IT DOWN                                    SR0000708311                   Warner Records Inc.
  6437   Linkin Park                                          BURN IT DOWN (Instrumental)                     SR0000708311                   Warner Records Inc.
  6438   Linkin Park                                          By Myself                                       SR0000288402                   Warner Records Inc.
  6439   Linkin Park                                          By_Myslf                                        SR0000316952                   Warner Records Inc.
  6440   Linkin Park                                          CASTLE OF GLASS                                 SR0000708311                   Warner Records Inc.
  6441   Linkin Park                                          CASTLE OF GLASS (Instrumental)                  SR0000708311                   Warner Records Inc.
  6442   Linkin Park                                          Crawling (Live In Texas)                        SR0000350998                   Warner Records Inc.
  6443   Linkin Park                                          Cure For The Itch                               SR0000288402                   Warner Records Inc.
  6444   Linkin Park                                          Dirt Off Your Shoulder/Lying From You           SR0000362315                   Warner Records Inc.
  6445   Linkin Park                                          Don't Stay                                      SR0000346247                   Warner Records Inc.
  6446   Linkin Park                                          Easier To Run                                   SR0000346247                   Warner Records Inc.
  6447   Linkin Park                                          Enth E Nd                                       SR0000316952                   Warner Records Inc.
  6448   Linkin Park                                          Faint                                           SR0000346247                   Warner Records Inc.
  6449   Linkin Park                                          Figure.09                                       SR0000346247                   Warner Records Inc.
  6450   Linkin Park                                          Forgotten                                       SR0000288402                   Warner Records Inc.
  6451   Linkin Park                                          Frgt/10                                         SR0000316952                   Warner Records Inc.
  6452   Linkin Park                                          H! Vltg3                                        SR0000316952                   Warner Records Inc.
  6453   Linkin Park                                          Hit The Floor                                   SR0000346247                   Warner Records Inc.
  6454   Linkin Park                                          I'LL BE GONE                                    SR0000708311                   Warner Records Inc.
  6455   Linkin Park                                          In Between                                      SR0000406841                   Warner Records Inc.
  6456   Linkin Park                                          IN MY REMAINS                                   SR0000708311                   Warner Records Inc.
  6457   Linkin Park                                          In Pieces                                       SR0000406841                   Warner Records Inc.
  6458   Linkin Park                                          In The End (Live In Texas)                      SR0000350998                   Warner Records Inc.
  6459   Linkin Park                                          Krwlng                                          SR0000316952                   Warner Records Inc.
  6460   Linkin Park                                          Kyur4 Th Ich                                    SR0000316952                   Warner Records Inc.
  6461   Linkin Park                                          Leave Out All The Rest                          SR0000406841                   Warner Records Inc.
  6462   Linkin Park                                          LIES GREED MISERY                               SR0000708311                   Warner Records Inc.
  6463   Linkin Park                                          LOST IN THE ECHO                                SR0000708311                   Warner Records Inc.
  6464   Linkin Park                                          My<Dsmbr                                        SR0000316952                   Warner Records Inc.
  6465   Linkin Park                                          Nobody's Listening                              SR0000346247                   Warner Records Inc.
  6466   Linkin Park                                          One Step Closer (Live In Texas)                 SR0000350998                   Warner Records Inc.
  6467   Linkin Park                                          P5hng Me A*wy (Live in Texas)                   SR0000350998                   Warner Records Inc.
  6468   Linkin Park                                          Papercut                                        SR0000288402                   Warner Records Inc.
  6469   Linkin Park                                          Plc.4 Mie Haed                                  SR0000316952                   Warner Records Inc.
  6470   Linkin Park                                          Points Of Authority                             SR0000288402                   Warner Records Inc.
  6471   Linkin Park                                          POWERLESS                                       SR0000708311                   Warner Records Inc.
  6472   Linkin Park                                          PPr:Kut                                         SR0000316952                   Warner Records Inc.
  6473   Linkin Park                                          Pts.OF.Athrty                                   SR0000316952                   Warner Records Inc.
  6474   Linkin Park                                          Rnw@y                                           SR0000316952                   Warner Records Inc.
  6475   Linkin Park                                          ROADS UNTRAVELED                                SR0000708311                   Warner Records Inc.
  6476   Linkin Park                                          Runaway                                         SR0000288402                   Warner Records Inc.
  6477   Linkin Park                                          Session                                         SR0000346247                   Warner Records Inc.
  6478   Linkin Park                                          SKIN TO BONE                                    SR0000708311                   Warner Records Inc.
  6479   Linkin Park                                          Somewhere I Belong                              SR0000346247                   Warner Records Inc.
  6480   Linkin Park                                          TINFOIL                                         SR0000708311                   Warner Records Inc.
  6481   Linkin Park                                          UNTIL IT BREAKS                                 SR0000708311                   Warner Records Inc.
  6482   Linkin Park                                          Valentine's Day                                 SR0000406841                   Warner Records Inc.
  6483   Linkin Park                                          VICTIMIZED                                      SR0000708311                   Warner Records Inc.
  6484   Linkin Park                                          Wake                                            SR0000406841                   Warner Records Inc.
  6485   Linkin Park                                          With You                                        SR0000288402                   Warner Records Inc.
  6486   Linkin Park                                          Wth>You                                         SR0000316952                   Warner Records Inc.
  6487   Linkin Park                                          X-Ecutioner Style                               SR0000316952                   Warner Records Inc.
  6488   Linkin Park & Jay-Z                                  Numb/Encore                                     SR0000362316                   Warner Records Inc.
  6489   Madonna                                              Revolver                                        SR0000662296                   Warner Records Inc.
  6490   Maze feat. Frankie Beverly                           All Night Long                                  SR0000171913                   Warner Records Inc.
  6491   Maze feat. Frankie Beverly                           Africa                                          SR0000107982                   Warner Records Inc.
  6492   Maze feat. Frankie Beverly                           Can't Get Over You                              SR0000107982                   Warner Records Inc.
  6493   Maze feat. Frankie Beverly                           Change Our Ways                                 SR0000107982                   Warner Records Inc.
  6494   Maze feat. Frankie Beverly                           Don't Wanna Lose Your Love                      SR0000171913                   Warner Records Inc.
  6495   Maze feat. Frankie Beverly                           In Time                                         SR0000171913                   Warner Records Inc.
  6496   Maze feat. Frankie Beverly                           Just Us                                         SR0000107982                   Warner Records Inc.
  6497   Maze feat. Frankie Beverly                           Laid Back Girl                                  SR0000171913                   Warner Records Inc.
  6498   Maze feat. Frankie Beverly                           Love Is                                         SR0000171913                   Warner Records Inc.
  6499   Maze feat. Frankie Beverly                           Love's On The Run                               SR0000107982                   Warner Records Inc.
  6500   Maze feat. Frankie Beverly                           Mandela                                         SR0000107982                   Warner Records Inc.
  6501   Maze feat. Frankie Beverly                           Midnight                                        SR0000107982                   Warner Records Inc.
  6502   Maze feat. Frankie Beverly                           Nobody Knows What You Feel Inside               SR0000171913                   Warner Records Inc.
  6503   Maze feat. Frankie Beverly                           Silky Soul                                      SR0000107982                   Warner Records Inc.
  6504   Maze feat. Frankie Beverly                           Somebody Else's Arms                            SR0000107982                   Warner Records Inc.
  6505   Maze feat. Frankie Beverly                           Songs Of Love                                   SR0000107982                   Warner Records Inc.
  6506   Maze feat. Frankie Beverly                           The Morning After                               SR0000171913                   Warner Records Inc.
  6507   Maze feat. Frankie Beverly                           Twilight                                        SR0000171913                   Warner Records Inc.
  6508   Maze feat. Frankie Beverly                           What Goes Up                                    SR0000171913                   Warner Records Inc.
  6509   Michael Bublé                                        Everything                                      SR0000406982                   Warner Records Inc.
  6510   Michael Bublé                                        Quando, Quando, Quando (with Nelly Furtado)     SR0000370205                   Warner Records Inc.
  6511   My Chemical Romance                                  Blood                                           SR0000651990                   Warner Records Inc.
  6512   My Chemical Romance                                  Bulletproof Heart                               SR0000681139                   Warner Records Inc.


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                                   Artist                                                   Track                        Registration Number                     Plaintiff
  6513   My Chemical Romance                                  Bury Me In Black (Demo)                           SR0000360198                   Warner Records Inc.
  6514   My Chemical Romance                                  Cancer                                            SR0000399985                   Warner Records Inc.
  6515   My Chemical Romance                                  Cancer (Live In Mexico)                           SR0000651990                   Warner Records Inc.
  6516   My Chemical Romance                                  Cemetery Drive                                    SR0000360197                   Warner Records Inc.
  6517   My Chemical Romance                                  Cemetery Drive (Live Version)                     SR0000400291                   Warner Records Inc.
  6518   My Chemical Romance                                  Dead!                                             SR0000399985                   Warner Records Inc.
  6519   My Chemical Romance                                  Dead! (Live In Mexico)                            SR0000651990                   Warner Records Inc.
  6520   My Chemical Romance                                  Desert Song                                       SR0000400291                   Warner Records Inc.
  6521   My Chemical Romance                                  Disenchanted                                      SR0000399985                   Warner Records Inc.
  6522   My Chemical Romance                                  Disenchanted (Live In Mexico)                     SR0000651990                   Warner Records Inc.
  6523   My Chemical Romance                                  Famous Last Words                                 SR0000399985                   Warner Records Inc.
  6524   My Chemical Romance                                  Famous Last Words (Live In Mexico)                SR0000651990                   Warner Records Inc.
  6525   My Chemical Romance                                  Give 'Em Hell, Kid                                SR0000360197                   Warner Records Inc.
  6526   My Chemical Romance                                  Give 'Em Hell, Kid (Live Version)                 SR0000400291                   Warner Records Inc.
  6527   My Chemical Romance                                  Hang 'Em High                                     SR0000360197                   Warner Records Inc.
  6528   My Chemical Romance                                  Headfirst For Halos (Live Version)                SR0000400291                   Warner Records Inc.
  6529   My Chemical Romance                                  Helena                                            SR0000360197                   Warner Records Inc.
  6530   My Chemical Romance                                  House Of Wolves                                   SR0000399985                   Warner Records Inc.
  6531   My Chemical Romance                                  House Of Wolves (Live In Mexico)                  SR0000651990                   Warner Records Inc.
  6532   My Chemical Romance                                  I Don't Love You                                  SR0000399985                   Warner Records Inc.
  6533   My Chemical Romance                                  I Don't Love You (Live In Mexico)                 SR0000651990                   Warner Records Inc.
  6534   My Chemical Romance                                  I Never Told You What I Do For A Living           SR0000360197                   Warner Records Inc.
  6535   My Chemical Romance                                  I Never Told You What I Do For A Living (Demo)    SR0000400291                   Warner Records Inc.
  6536   My Chemical Romance                                  I'm Not Okay (I Promise)                          SR0000360197                   Warner Records Inc.
  6537   My Chemical Romance                                  Interlude                                         SR0000360197                   Warner Records Inc.
  6538   My Chemical Romance                                  Interlude (Live In Mexico)                        SR0000651990                   Warner Records Inc.
  6539   My Chemical Romance                                  It's Not A Fashion Statement It's A Deathwish     SR0000360197                   Warner Records Inc.
  6540   My Chemical Romance                                  Mama                                              SR0000399985                   Warner Records Inc.
  6541   My Chemical Romance                                  Mama (Live In Mexico)                             SR0000651990                   Warner Records Inc.
  6542   My Chemical Romance                                  Na Na Na (Na Na Na Na Na Na Na Na Na)             SR0000681139                   Warner Records Inc.
  6543   My Chemical Romance                                  Planetary (GO!)                                   SR0000681139                   Warner Records Inc.
  6544   My Chemical Romance                                  Save Yourself, I'll Hold Them Back                SR0000681139                   Warner Records Inc.
  6545   My Chemical Romance                                  Sleep                                             SR0000399985                   Warner Records Inc.
  6546   My Chemical Romance                                  Sleep (Live In Mexico)                            SR0000651990                   Warner Records Inc.
  6547   My Chemical Romance                                  Teenagers                                         SR0000399985                   Warner Records Inc.
  6548   My Chemical Romance                                  Teenagers (Live In Mexico)                        SR0000651990                   Warner Records Inc.
  6549   My Chemical Romance                                  Thank You For The Venom                           SR0000360197                   Warner Records Inc.
  6550   My Chemical Romance                                  Thank You For The Venom (Live Version)            SR0000400291                   Warner Records Inc.
  6551   My Chemical Romance                                  The Black Parade Is Dead (Live In Mexico)         SR0000651990                   Warner Records Inc.
  6552   My Chemical Romance                                  The End.                                          SR0000399985                   Warner Records Inc.
  6553   My Chemical Romance                                  The End. (Live In Mexico)                         SR0000651990                   Warner Records Inc.
  6554   My Chemical Romance                                  The Ghost Of You                                  SR0000360197                   Warner Records Inc.
  6555   My Chemical Romance                                  The Jetset Life Is Gonna Kill You                 SR0000360197                   Warner Records Inc.
  6556   My Chemical Romance                                  The Kids From Yesterday                           SR0000681139                   Warner Records Inc.
  6557   My Chemical Romance                                  The Only Hope For Me Is You                       SR0000681139                   Warner Records Inc.
  6558   My Chemical Romance                                  The Sharpest Lives                                SR0000399985                   Warner Records Inc.
  6559   My Chemical Romance                                  The Sharpest Lives (Live In Mexico)               SR0000651990                   Warner Records Inc.
  6560   My Chemical Romance                                  This Is How I Disappear                           SR0000399985                   Warner Records Inc.
  6561   My Chemical Romance                                  This Is How I Disappear (Live In Mexico)          SR0000651990                   Warner Records Inc.
  6562   My Chemical Romance                                  To The End                                        SR0000360197                   Warner Records Inc.
  6563   My Chemical Romance                                  Vampire Money                                     SR0000681139                   Warner Records Inc.
  6564   My Chemical Romance                                  Welcome To The Black Parade                       SR0000399985                   Warner Records Inc.
  6565   My Chemical Romance                                  Welcome To The Black Parade (Live In Mexico)      SR0000651990                   Warner Records Inc.
  6566   My Chemical Romance                                  You Know What They Do To Guys Like Us In Prison   SR0000360197                   Warner Records Inc.
  6567   Prince                                               1999                                              SR0000039818                   Warner Records Inc.
  6568   Prince                                               200 Balloons                                      SR0000112253                   Warner Records Inc.
  6569   Prince                                               4 The Tears In Your Eyes                          SR0000172034                   Warner Records Inc.
  6570   Prince                                               Adore                                             SR0000082403                   Warner Records Inc.
  6571   Prince                                               Alphabet St.                                      SR0000085595                   Warner Records Inc.
  6572   Prince                                               Controversy                                       SR0000029922                   Warner Records Inc.
  6573   Prince                                               Delirious                                         SR0000041035                   Warner Records Inc.
  6574   Prince                                               Dirty Mind                                        SR0000021996                   Warner Records Inc.
  6575   Prince                                               Do Me, Baby                                       SR0000030445                   Warner Records Inc.
  6576   Prince                                               Escape                                            SR0000094291                   Warner Records Inc.
  6577   Prince                                               Feel U Up                                         SR0000109054                   Warner Records Inc.
  6578   Prince                                               Gotta Stop (Messin' About)                        SR0000172034                   Warner Records Inc.
  6579   Prince                                               Head                                              SR0000021996                   Warner Records Inc.
  6580   Prince                                               Horny Toad                                        SR0000049498                   Warner Records Inc.
  6581   Prince                                               How Come U Don't Call Me Anymore                  SR0000039818                   Warner Records Inc.
  6582   Prince                                               I Could Never Take The Place Of Your Man          SR0000082403                   Warner Records Inc.
  6583   Prince                                               I Feel for You                                    SR0000014281                   Warner Records Inc.
  6584   Prince                                               I Love U In Me                                    SR0000113649                   Warner Records Inc.
  6585   Prince                                               I Wanna Be Your Lover                             SR0000012043                   Warner Records Inc.
  6586   Prince                                               If I Was Your Girlfriend                          SR0000082403                   Warner Records Inc.
  6587   Prince                                               Irresistible Bitch                                SR0000050859                   Warner Records Inc.
  6588   Prince                                               La, La, La, He, He, Hee                           SR0000078909                   Warner Records Inc.
  6589   Prince                                               Little Red Corvette                               SR0000041035                   Warner Records Inc.
  6590   Prince                                               Peach                                             SR0000172034                   Warner Records Inc.
  6591   Prince                                               Pink Cashmere                                     SR0000172034                   Warner Records Inc.
  6592   Prince                                               Pope                                              SR0000172034                   Warner Records Inc.
  6593   Prince                                               Power Fantastic                                   SR0000172034                   Warner Records Inc.
  6594   Prince                                               Scarlet Pussy                                     SR0000102073                   Warner Records Inc.
  6595   Prince                                               Shockadelica                                      SR0000082213                   Warner Records Inc.
  6596   Prince                                               Sign 'O' The Times                                SR0000078909                   Warner Records Inc.
  6597   Prince                                               Soft And Wet                                      SR0000000839                   Warner Records Inc.
  6598   Prince                                               Thieves In The Temple                             SR0000139907                   Warner Records Inc.


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                                 Artist                                                   Track                                       Registration Number                     Plaintiff
  6599   Prince                                               Thieves In The Temple (Remix Version)                          SR0000139907                   Warner Records Inc.
  6600   Prince                                               U Got The Look                                                 SR0000082403                   Warner Records Inc.
  6601   Prince                                               Uptown                                                         SR0000021987                   Warner Records Inc.
  6602   Prince                                               When Doves Cry                                                 SR0000054684                   Warner Records Inc.
  6603   Prince                                               When You Were Mine                                             SR0000021996                   Warner Records Inc.
  6604   Prince                                               Why You Wanna Treat Me So Bad                                  SR0000014281                   Warner Records Inc.
  6605   Prince & The New Power Generation                    7                                                              SR0000146900                   Warner Records Inc.
  6606   Prince & The New Power Generation                    Cream                                                          SR0000135489                   Warner Records Inc.
  6607   Prince & The New Power Generation                    Diamonds And Pearls                                            SR0000135489                   Warner Records Inc.
  6608   Prince & The New Power Generation                    Nothing Compares 2 U                                           SR0000172034                   Warner Records Inc.
  6609   Prince & The New Power Generation                    Sexy M.F.                                                      SR0000146900                   Warner Records Inc.
  6610   Prince & The New Power Generation                    Gett Off                                                       SR0000135873                   Warner Records Inc.
  6611   Prince And The Revolution                            17 Days (the rain will come down, then U will have 2 choose.   SR0000054684                   Warner Records Inc.
                                                              If U believe, look 2 the dawn and U shall never loose)

  6612   Prince And The Revolution                            Another Lonely Christmas                                       SR0000058458                   Warner Records Inc.
  6613   Prince And The Revolution                            Erotic City                                                    SR0000055739                   Warner Records Inc.
  6614   Prince And The Revolution                            Girl                                                           SR0000066585                   Warner Records Inc.
  6615   Prince And The Revolution                            God                                                            SR0000057169                   Warner Records Inc.
  6616   Prince And The Revolution                            Hello                                                          SR0000064741                   Warner Records Inc.
  6617   Prince And The Revolution                            I Would Die 4 U                                                SR0000054679; SR0000055615     Warner Records Inc.
  6618   Prince And The Revolution                            Kiss                                                           SR0000069888                   Warner Records Inc.
  6619   Prince And The Revolution                            Let's Go Crazy                                                 SR0000054679; SR0000055615     Warner Records Inc.
  6620   Prince And The Revolution                            Pop Life                                                       SR0000062059                   Warner Records Inc.
  6621   Prince And The Revolution                            Purple Rain                                                    SR0000054679; SR0000055615     Warner Records Inc.
  6622   Prince And The Revolution                            Purple Rain (Short Version)                                    SR0000057169                   Warner Records Inc.
  6623   Prince And The Revolution                            Raspberry Beret                                                SR0000062059                   Warner Records Inc.
  6624   Prince And The Revolution                            She's Always In My Hair                                        SR0000062682                   Warner Records Inc.
  6625   Randy Travis                                         Forever And Ever, Amen                                         SR0000080879                   Warner Records Inc.
  6626   Red Hot Chili Peppers                                21st Century                                                   SR0000390775                   Warner Records Inc.
  6627   Red Hot Chili Peppers                                Animal Bar                                                     SR0000390775                   Warner Records Inc.
  6628   Red Hot Chili Peppers                                Charlie                                                        SR0000390775                   Warner Records Inc.
  6629   Red Hot Chili Peppers                                C'mon Girl                                                     SR0000390775                   Warner Records Inc.
  6630   Red Hot Chili Peppers                                Dani California                                                SR0000390774                   Warner Records Inc.
  6631   Red Hot Chili Peppers                                Death Of A Martian                                             SR0000390775                   Warner Records Inc.
  6632   Red Hot Chili Peppers                                Desecration Smile                                              SR0000390775                   Warner Records Inc.
  6633   Red Hot Chili Peppers                                Especially In Michigan                                         SR0000390775                   Warner Records Inc.
  6634   Red Hot Chili Peppers                                Hard To Concentrate                                            SR0000390775                   Warner Records Inc.
  6635   Red Hot Chili Peppers                                Hey                                                            SR0000390775                   Warner Records Inc.
  6636   Red Hot Chili Peppers                                Hump De Bump                                                   SR0000390775                   Warner Records Inc.
  6637   Red Hot Chili Peppers                                If                                                             SR0000390775                   Warner Records Inc.
  6638   Red Hot Chili Peppers                                Make You Feel Better                                           SR0000390775                   Warner Records Inc.
  6639   Red Hot Chili Peppers                                Readymade                                                      SR0000390775                   Warner Records Inc.
  6640   Red Hot Chili Peppers                                She Looks To Me                                                SR0000390775                   Warner Records Inc.
  6641   Red Hot Chili Peppers                                She's Only 18                                                  SR0000390775                   Warner Records Inc.
  6642   Red Hot Chili Peppers                                Slow Cheetah                                                   SR0000390775                   Warner Records Inc.
  6643   Red Hot Chili Peppers                                Snow (Hey Oh)                                                  SR0000390775                   Warner Records Inc.
  6644   Red Hot Chili Peppers                                So Much I                                                      SR0000390775                   Warner Records Inc.
  6645   Red Hot Chili Peppers                                Stadium Arcadium                                               SR0000390775                   Warner Records Inc.
  6646   Red Hot Chili Peppers                                Storm In A Teacup                                              SR0000390775                   Warner Records Inc.
  6647   Red Hot Chili Peppers                                Strip My Mind                                                  SR0000390775                   Warner Records Inc.
  6648   Red Hot Chili Peppers                                Tell Me Baby                                                   SR0000390775                   Warner Records Inc.
  6649   Red Hot Chili Peppers                                Torture Me                                                     SR0000390775                   Warner Records Inc.
  6650   Red Hot Chili Peppers                                Turn It Again                                                  SR0000390775                   Warner Records Inc.
  6651   Red Hot Chili Peppers                                Warlocks                                                       SR0000390775                   Warner Records Inc.
  6652   Red Hot Chili Peppers                                We Believe                                                     SR0000390775                   Warner Records Inc.
  6653   Red Hot Chili Peppers                                Wet Sand                                                       SR0000390775                   Warner Records Inc.
  6654   The Staple Singers                                   New Orleans                                                    N27244                         Warner Records Inc.
  6655   The Staples                                          Love Me, Love Me, Love Me                                      N36616                         Warner Records Inc.
  6656   The Cure                                             Let's Go To Bed                                                SR0000045130                   Warner Records/SIRE Ventures LLC
  6657   The Cure                                             The Caterpillar                                                SR0000054339                   Warner Records/SIRE Ventures LLC
  6658   Coldplay                                             A Rush Of Blood To The Head                                    SR0000322958                   WEA International Inc.
  6659   Coldplay                                             A Whisper                                                      SR0000322958                   WEA International Inc.
  6660   Coldplay                                             Amsterdam                                                      SR0000322958                   WEA International Inc.
  6661   Coldplay                                             Charlie Brown                                                  SR0000686471                   WEA International Inc.
  6662   Coldplay                                             Daylight                                                       SR0000322958                   WEA International Inc.
  6663   Coldplay                                             Everything's Not Lost (Includes Hidden Track 'Life Is For      SR0000328762                   WEA International Inc.
                                                              Living')
  6664   Coldplay                                             God Put A Smile Upon Your Face                                 SR0000322958                   WEA International Inc.
  6665   Coldplay                                             Green Eyes                                                     SR0000322958                   WEA International Inc.
  6666   Coldplay                                             High Speed                                                     SR0000328762                   WEA International Inc.
  6667   Coldplay                                             Lost!                                                          SRu000870150                   WEA International Inc.
  6668   Coldplay                                             Lovers In Japan (Osaka Sun Mix)                                SR0000651871                   WEA International Inc.
  6669   Coldplay                                             Parachutes                                                     SR0000328762                   WEA International Inc.
  6670   Coldplay                                             Politik                                                        SR0000322958                   WEA International Inc.
  6671   Coldplay                                             Sparks                                                         SR0000328762                   WEA International Inc.
  6672   Coldplay                                             Spies                                                          SR0000328762                   WEA International Inc.
  6673   Coldplay                                             Trouble                                                        SR0000328762                   WEA International Inc.
  6674   Coldplay                                             Violet Hill                                                    SRu000870150; SR0000652911     WEA International Inc.
  6675   Coldplay                                             Viva La Vida                                                   SR0000652909                   WEA International Inc.
  6676   Coldplay                                             Warning Sign                                                   SR0000322958                   WEA International Inc.
  6677   Coldplay                                             We Never Change                                                SR0000328762                   WEA International Inc.
  6678   David Bowie                                          1984                                                           N15958; RE0000918762           WEA International Inc.
  6679   David Bowie                                          Absolute Beginners                                             SR0000386234                   WEA International Inc.
  6680   David Bowie                                          Alabama Song                                                   SR0000386234                   WEA International Inc.
  6681   David Bowie                                          Ashes To Ashes                                                 SR0000021894                   WEA International Inc.


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                                   Artist                                                  Track                       Registration Number                      Plaintiff
  6682   David Bowie                                          Blue Jean                                       SR0000386234                   WEA International Inc.
  6683   David Bowie                                          Cat People (Putting Out Fire)                   SR0000043560                   WEA International Inc.
  6684   David Bowie                                          Changes                                         N32697; RE0000919011           WEA International Inc.
  6685   David Bowie                                          China Girl                                      SR0000043192                   WEA International Inc.
  6686   David Bowie                                          Criminal World                                  SR0000043192                   WEA International Inc.
  6687   David Bowie                                          Day-In Day-Out                                  SR0000081334                   WEA International Inc.
  6688   David Bowie                                          Fashion                                         SR0000021894                   WEA International Inc.
  6689   David Bowie                                          Heroes                                          N46597; SR0000032243           WEA International Inc.
  6690   David Bowie                                          Let's Dance                                     SR0000043560                   WEA International Inc.
  6691   David Bowie                                          Loving The Alien                                SR0000386234                   WEA International Inc.
  6692   David Bowie                                          Modern Love                                     SR0000043192                   WEA International Inc.
  6693   David Bowie                                          Moonage Daydream                                N01548; RE0000919238           WEA International Inc.
  6694   David Bowie                                          Ricochet                                        SR0000043192                   WEA International Inc.
  6695   David Bowie                                          Scary Monsters (And Super Creeps)               SR0000021894                   WEA International Inc.
  6696   David Bowie                                          Shake It                                        SR0000043192                   WEA International Inc.
  6697   David Bowie                                          Sorrow                                          N14159                         WEA International Inc.
  6698   David Bowie                                          Space Oddity                                    SR0000028765                   WEA International Inc.
  6699   David Bowie                                          Starman                                         N01548; RE0000919238           WEA International Inc.
  6700   David Bowie                                          The Drowned Girl                                SR0000386234                   WEA International Inc.
  6701   David Bowie                                          The Jean Genie                                  N06581; RE0000918856           WEA International Inc.
  6702   David Bowie                                          Time Will Crawl                                 SR0000081334                   WEA International Inc.
  6703   David Bowie                                          Up The Hill Backwards                           SR0000021894                   WEA International Inc.
  6704   David Bowie                                          When The Wind Blows                             SR0000386234                   WEA International Inc.
  6705   David Bowie                                          Without You                                     SR0000043192                   WEA International Inc.
  6706   David Bowie                                          Young Americans                                 N22804; SR0000032244           WEA International Inc.
  6707   David Bowie                                          Ziggy Stardust                                  N1548; RE0000919238            WEA International Inc.
  6708   David Guetta                                         Crank It Up                                     SR0000683523                   WEA International Inc.
  6709   David Guetta                                         Gettin' Over                                    SR0000649229                   WEA International Inc.
  6710   David Guetta                                         Gettin' Over You                                SR0000678038                   WEA International Inc.
  6711   David Guetta                                         I Can Only Imagine                              SR0000683523                   WEA International Inc.
  6712   David Guetta                                         In My Head                                      SR0000712148                   WEA International Inc.
  6713   David Guetta                                         Just One Last Time                              SR0000712148                   WEA International Inc.
  6714   David Guetta                                         Little Bad Girl                                 SR0000683522                   WEA International Inc.
  6715   David Guetta                                         Memories                                        SR0000643286                   WEA International Inc.
  6716   David Guetta                                         Metropolis (Edit)                               SR0000712148                   WEA International Inc.
  6717   David Guetta                                         Night Of Your Life                              SR0000683519                   WEA International Inc.
  6718   David Guetta                                         Play Hard                                       SR0000712148                   WEA International Inc.
  6719   David Guetta                                         Sexy Bitch                                      SR0000649218                   WEA International Inc.
  6720   David Guetta                                         She Wolf (Falling to Pieces)                    SR0000712148                   WEA International Inc.
  6721   David Guetta                                         Sunshine (Edit)                                 SR0000712148                   WEA International Inc.
  6722   David Guetta                                         Titanium                                        SR0000683518                   WEA International Inc.
  6723   David Guetta                                         Turn Me On                                      SR0000683523                   WEA International Inc.
  6724   David Guetta                                         Turn Me On (Sidney Samson Remix)                SR0000695541                   WEA International Inc.
  6725   David Guetta                                         What the F***                                   SR0000712148                   WEA International Inc.
  6726   David Guetta                                         When Love Takes Over                            SR0000643600                   WEA International Inc.
  6727   David Guetta                                         Without You                                     SR0000683523                   WEA International Inc.
  6728   David Guetta                                         I Just Wanna F.                                 SR0000683523                   WEA International Inc.
  6729   David Guetta                                         Lunar                                           SR0000683520                   WEA International Inc.
  6730   David Guetta                                         Nothing Really Matters                          SR0000683523                   WEA International Inc.
  6731   David Guetta                                         One Love                                        SR0000649227                   WEA International Inc.
  6732   David Guetta                                         Repeat                                          SR0000683523                   WEA International Inc.
  6733   David Guetta                                         Where Them Girls At                             SR0000683517                   WEA International Inc.
  6734   Ed Sheeran                                           Don't                                           SR0000411792                   WEA International Inc.
  6735   Ed Sheeran                                           Drunk                                           SR0000704259                   WEA International Inc.
  6736   Ed Sheeran                                           Give Me Love                                    SR0000704259                   WEA International Inc.
  6737   Ed Sheeran                                           Grade 8                                         SR0000704259                   WEA International Inc.
  6738   Ed Sheeran                                           Lego House                                      SR0000704259                   WEA International Inc.
  6739   Ed Sheeran                                           Small Bump                                      SR0000704259                   WEA International Inc.
  6740   Ed Sheeran                                           The A Team                                      SR0000704259                   WEA International Inc.
  6741   Ed Sheeran                                           The City                                        SR0000704259                   WEA International Inc.
  6742   Ed Sheeran                                           This                                            SR0000704259                   WEA International Inc.
  6743   Ed Sheeran                                           U.N.I.                                          SR0000704259                   WEA International Inc.
  6744   Ed Sheeran                                           Wake Me Up                                      SR0000704259                   WEA International Inc.
  6745   Ed Sheeran                                           You Need Me, I Don't Need You                   SR0000704259                   WEA International Inc.
  6746   Gorillaz                                             5/4                                             SR0000409208                   WEA International Inc.
  6747   Gorillaz                                             19-2000                                         SR0000409208                   WEA International Inc.
  6748   Gorillaz                                             All Alone                                       SR0000379135; SRu000573812     WEA International Inc.
  6749   Gorillaz                                             Clint Eastwood                                  SR0000409208                   WEA International Inc.
  6750   Gorillaz                                             DARE                                            SR0000379135; SRu000573812     WEA International Inc.
  6751   Gorillaz                                             Demon Days                                      SR0000379135; SRu000573812     WEA International Inc.
  6752   Gorillaz                                             Dirty Harry                                     SR0000379135; SRu000573812     WEA International Inc.
  6753   Gorillaz                                             Don't Get Lost In Heaven                        SR0000379135; SRu000573812     WEA International Inc.
  6754   Gorillaz                                             El Mañana                                       SR0000379135; SRu000573812     WEA International Inc.
  6755   Gorillaz                                             Every Planet We Reach Is Dead                   SR0000379135; SRu000573812     WEA International Inc.
  6756   Gorillaz                                             Feel Good Inc.                                  SR0000379134; SRu000573812     WEA International Inc.
  6757   Gorillaz                                             Fire Coming Out Of The Monkey's Head            SR0000379135; SRu000573812     WEA International Inc.
  6758   Gorillaz                                             Hong Kong                                       SR0000614363                   WEA International Inc.
  6759   Gorillaz                                             Kids With Guns                                  SR0000379135; SRu000573812     WEA International Inc.
  6760   Gorillaz                                             Last Living Souls                               SR0000379135; SRu000573812     WEA International Inc.
  6761   Gorillaz                                             November Has Come                               SR0000379135; SRu000573812     WEA International Inc.
  6762   Gorillaz                                             O Green World                                   SR0000379135; SRu000573812     WEA International Inc.
  6763   Gorillaz                                             On Melancholy Hill                              SR0000650312                   WEA International Inc.
  6764   Gorillaz                                             People                                          SR0000614363                   WEA International Inc.
  6765   Gorillaz                                             Re-Hash                                         SR0000409208                   WEA International Inc.
  6766   Gorillaz                                             Rhinestone Eyes                                 SR0000650312                   WEA International Inc.
  6767   Gorillaz                                             Rock The House                                  SR0000371589                   WEA International Inc.


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                                  Artist                                                  Track                                Registration Number                      Plaintiff
  6768   Gorillaz                                             Rockit                                                  SR0000614363                   WEA International Inc.
  6769   Gorillaz                                             Stylo                                                   SR0000650310                   WEA International Inc.
  6770   Gorillaz                                             Superfast Jellyfish                                     SR0000650312                   WEA International Inc.
  6771   Gorillaz                                             Tomorrow Comes Today                                    SR0000373824                   WEA International Inc.
  6772   Gorillaz                                             White Light                                             SR0000379135; SRu000573812     WEA International Inc.
  6773   Jarabe de Palo                                       La Flaca                                                SR0000319525                   WEA International Inc.
  6774   Muse                                                 Assassin                                                SR0000400299                   WEA International Inc.
  6775   Muse                                                 Bliss                                                   SR0000383074                   WEA International Inc.
  6776   Muse                                                 Citizen Erased                                          SR0000383074                   WEA International Inc.
  6777   Muse                                                 City Of Delusion                                        SR0000400299                   WEA International Inc.
  6778   Muse                                                 Exo-Politics                                            SR0000400299                   WEA International Inc.
  6779   Muse                                                 Feeling Good                                            SR0000383074                   WEA International Inc.
  6780   Muse                                                 Hoodoo                                                  SR0000400299                   WEA International Inc.
  6781   Muse                                                 Hyper Music                                             SR0000383074                   WEA International Inc.
  6782   Muse                                                 Invincible                                              SR0000400299                   WEA International Inc.
  6783   Muse                                                 Knights Of Cydonia                                      SR0000400299                   WEA International Inc.
  6784   Muse                                                 Map Of The Problematique                                SR0000400299                   WEA International Inc.
  6785   Muse                                                 Megalomania                                             SR0000383074                   WEA International Inc.
  6786   Muse                                                 Micro Cuts                                              SR0000383074                   WEA International Inc.
  6787   Muse                                                 New Born                                                SR0000383074                   WEA International Inc.
  6788   Muse                                                 Plug In Baby                                            SR0000383074                   WEA International Inc.
  6789   Muse                                                 Prelude                                                 SR0000721619                   WEA International Inc.
  6790   Muse                                                 Soldier's Poem                                          SR0000400299                   WEA International Inc.
  6791   Muse                                                 Starlight                                               SR0000400299                   WEA International Inc.
  6792   Muse                                                 Supermassive Black Hole                                 SR0000400298                   WEA International Inc.
  6793   Muse                                                 The 2nd Law: Unsustainable                              SR0000721619                   WEA International Inc.
  6794   Muse                                                 United States Of Eurasia (+Collateral Damage)           SR0000682053                   WEA International Inc.
  6795   Muse                                                 Uprising                                                SR0000682053                   WEA International Inc.
  6796   Space Monkeyz vs. Gorillaz                           Lil' Dub Chefin'                                        SR0000336541                   WEA International Inc.
  6797   Tinie Tempah                                         Written In The Stars                                    SR0000680992                   WEA International Inc.
  6798   Backstreet Boys                                      All I Have To Give                                      SR0000250678                   Zomba Recording LLC
  6799   Backstreet Boys                                      As Long As You Love Me                                  SR0000250678                   Zomba Recording LLC
  6800   Backstreet Boys                                      Drowning                                                SR0000291879                   Zomba Recording LLC
  6801   Backstreet Boys                                      Everybody (Backstreet's Back)                           SR0000254065                   Zomba Recording LLC
  6802   Backstreet Boys                                      I Want It That Way                                      SR0000275134                   Zomba Recording LLC
  6803   Backstreet Boys                                      I'll Never Break Your Heart                             SR0000250678                   Zomba Recording LLC
  6804   Backstreet Boys                                      Larger Than Life                                        SR0000275134                   Zomba Recording LLC
  6805   Backstreet Boys                                      More Than That                                          SR0000289455                   Zomba Recording LLC
  6806   Backstreet Boys                                      Quit Playing Games (With My Heart)                      SR0000250678                   Zomba Recording LLC
  6807   Backstreet Boys                                      Shape Of My Heart                                       SR0000289455                   Zomba Recording LLC
  6808   Backstreet Boys                                      Show Me The Meaning Of Being Lonely                     SR0000275134                   Zomba Recording LLC
  6809   Backstreet Boys                                      The Call                                                SR0000289455                   Zomba Recording LLC
  6810   Backstreet Boys                                      The One                                                 SR0000275134                   Zomba Recording LLC
  6811   Bowling For Soup                                     1985                                                    SR0000361081                   Zomba Recording LLC
  6812   Bowling For Soup                                     A-hole                                                  SR0000361081                   Zomba Recording LLC
  6813   Bowling For Soup                                     Almost                                                  SR0000361081                   Zomba Recording LLC
  6814   Bowling For Soup                                     Down For The Count                                      SR0000361081                   Zomba Recording LLC
  6815   Bowling For Soup                                     Friends O' Mine                                         SR0000361081                   Zomba Recording LLC
  6816   Bowling For Soup                                     Get Happy                                               SR0000361081                   Zomba Recording LLC
  6817   Bowling For Soup                                     Last Call Casualty                                      SR0000361081                   Zomba Recording LLC
  6818   Bowling For Soup                                     My Hometown                                             SR0000361081                   Zomba Recording LLC
  6819   Bowling For Soup                                     Next Ex-Girlfriend                                      SR0000361081                   Zomba Recording LLC
  6820   Bowling For Soup                                     Ohio                                                    SR0000361081                   Zomba Recording LLC
  6821   Bowling For Soup                                     Really Might Be Gone                                    SR0000361081                   Zomba Recording LLC
  6822   Bowling For Soup                                     Ridiculous                                              SR0000361081                   Zomba Recording LLC
  6823   Bowling For Soup                                     Sad Sad Situation                                       SR0000361081                   Zomba Recording LLC
  6824   Bowling For Soup                                     Shut-Up And Smile                                       SR0000361081                   Zomba Recording LLC
  6825   Bowling For Soup                                     Smoothie King                                           SR0000361081                   Zomba Recording LLC
  6826   Bowling For Soup                                     Trucker Hat                                             SR0000361081                   Zomba Recording LLC
  6827   Bowling For Soup                                     Two-Seater                                              SR0000361081                   Zomba Recording LLC
  6828   Britney Spears                                       (I Got That) Boom Boom                                  SR0000335267                   Zomba Recording LLC
  6829   Britney Spears                                       (I've Just Begun) Having My Fun                         SR0000361774                   Zomba Recording LLC
  6830   Britney Spears                                       (You Drive Me) Crazy                                    SR0000260870                   Zomba Recording LLC
  6831   Britney Spears                                       Amnesia                                                 SR0000620789                   Zomba Recording LLC
  6832   Britney Spears                                       Baby One More Time                                      SR0000260870                   Zomba Recording LLC
  6833   Britney Spears                                       Blur                                                    SR0000620789                   Zomba Recording LLC
  6834   Britney Spears                                       Born to Make You Happy                                  SR0000260870                   Zomba Recording LLC
  6835   Britney Spears                                       Boys                                                    SR0000301907                   Zomba Recording LLC
  6836   Britney Spears                                       Brave New Girl                                          SR0000335267                   Zomba Recording LLC
  6837   Britney Spears                                       Breathe On Me                                           SR0000335267                   Zomba Recording LLC
  6838   Britney Spears                                       Circus                                                  SR0000620789                   Zomba Recording LLC
  6839   Britney Spears                                       Don't Let Me Be The Last To Know                        SR0000285667                   Zomba Recording LLC
  6840   Britney Spears                                       Early Mornin'                                           SR0000335267                   Zomba Recording LLC
  6841   Britney Spears                                       Everytime                                               SR0000335267                   Zomba Recording LLC
  6842   Britney Spears                                       Gimme More                                              SR0000609441                   Zomba Recording LLC
  6843   Britney Spears                                       I Love Rock 'N' Roll                                    SR0000301907                   Zomba Recording LLC
  6844   Britney Spears                                       If U Seek Amy                                           SR0000620789                   Zomba Recording LLC
  6845   Britney Spears                                       I'm a Slave 4 U                                         SR0000301907                   Zomba Recording LLC
  6846   Britney Spears                                       I'm Not a Girl, Not Yet A Woman                         SR0000301907                   Zomba Recording LLC
  6847   Britney Spears                                       Kill The Lights                                         SR0000620789                   Zomba Recording LLC
  6848   Britney Spears                                       Lace and Leather                                        SR0000620789                   Zomba Recording LLC
  6849   Britney Spears                                       Lucky                                                   SR0000285667                   Zomba Recording LLC
  6850   Britney Spears                                       Mannequin                                               SR0000620789                   Zomba Recording LLC
  6851   Britney Spears                                       Me Against the Music                                    SR0000335267                   Zomba Recording LLC
  6852   Britney Spears                                       Me Against The Music (Rishi Rich's Desi Kulcha Remix)   SR0000335267                   Zomba Recording LLC
  6853   Britney Spears                                       Mmm Papi                                                SR0000620789                   Zomba Recording LLC


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                                   Artist                                                Track                              Registration Number                    Plaintiff
  6854   Britney Spears                                       My Baby                                              SR0000620789                   Zomba Recording LLC
  6855   Britney Spears                                       My Prerogative                                       SR0000361774                   Zomba Recording LLC
  6856   Britney Spears                                       Oops I Did It Again                                  SR0000285667                   Zomba Recording LLC
  6857   Britney Spears                                       Out From Under                                       SR0000620789                   Zomba Recording LLC
  6858   Britney Spears                                       Outrageous                                           SR0000335267                   Zomba Recording LLC
  6859   Britney Spears                                       Overprotected                                        SR0000301907                   Zomba Recording LLC
  6860   Britney Spears                                       Phonography                                          SR0000620789                   Zomba Recording LLC
  6861   Britney Spears                                       Piece Of Me                                          SR0000609604                   Zomba Recording LLC
  6862   Britney Spears                                       Radar                                                SR0000609604                   Zomba Recording LLC
  6863   Britney Spears                                       Rock Me In                                           SR0000620789                   Zomba Recording LLC
  6864   Britney Spears                                       Shadow                                               SR0000335267                   Zomba Recording LLC
  6865   Britney Spears                                       Shattered Glass                                      SR0000620789                   Zomba Recording LLC
  6866   Britney Spears                                       Showdown                                             SR0000335267                   Zomba Recording LLC
  6867   Britney Spears                                       Sometimes                                            SR0000260870                   Zomba Recording LLC
  6868   Britney Spears                                       The Hook Up                                          SR0000335267                   Zomba Recording LLC
  6869   Britney Spears                                       Touch Of My Hand                                     SR0000335267                   Zomba Recording LLC
  6870   Britney Spears                                       Toxic                                                SR0000335267                   Zomba Recording LLC
  6871   Britney Spears                                       Unusual You                                          SR0000620789                   Zomba Recording LLC
  6872   Britney Spears                                       Womanizer                                            PA0001619000                   Zomba Recording LLC
  6873   Chris Brown                                          Damage                                               SR0000630132                   Zomba Recording LLC
  6874   Chris Brown                                          Down                                                 SR0000630132                   Zomba Recording LLC
  6875   Chris Brown                                          Forever                                              SR0000613921                   Zomba Recording LLC
  6876   Chris Brown                                          Gimme Whatcha Got                                    SR0000630132                   Zomba Recording LLC
  6877   Chris Brown                                          Heart Ain't A Brain                                  SR0000613921                   Zomba Recording LLC
  6878   Chris Brown                                          Help Me                                              SR0000630132                   Zomba Recording LLC
  6879   Chris Brown                                          Hold Up                                              SR0000630132                   Zomba Recording LLC
  6880   Chris Brown                                          I Wanna Be                                           SR0000630132                   Zomba Recording LLC
  6881   Chris Brown                                          I'll Call Ya                                         SR0000630132                   Zomba Recording LLC
  6882   Chris Brown                                          Kiss Kiss                                            SR0000630132                   Zomba Recording LLC
  6883   Chris Brown                                          Lottery                                              SR0000630132                   Zomba Recording LLC
  6884   Chris Brown                                          Nice                                                 SR0000630132                   Zomba Recording LLC
  6885   Chris Brown                                          Picture Perfect                                      SR0000630132                   Zomba Recording LLC
  6886   Chris Brown                                          Superhuman                                           SR0000613921                   Zomba Recording LLC
  6887   Chris Brown                                          Take You Down                                        SR0000630132                   Zomba Recording LLC
  6888   Chris Brown                                          Throwed                                              SR0000630132                   Zomba Recording LLC
  6889   Chris Brown                                          Wall To Wall                                         PA0001634637                   Zomba Recording LLC
  6890   Chris Brown                                          With You                                             SR0000630132                   Zomba Recording LLC
  6891   Chris Brown                                          You                                                  SR0000630132                   Zomba Recording LLC
  6892   Ciara                                                And I                                                SR0000355316                   Zomba Recording LLC
  6893   Ciara                                                Crazy                                                SR0000355316                   Zomba Recording LLC
  6894   Ciara                                                Goodies                                              SR0000355316                   Zomba Recording LLC
  6895   Ciara                                                Hotline                                              SR0000355316                   Zomba Recording LLC
  6896   Ciara                                                Lookin' At You                                       SR0000355316                   Zomba Recording LLC
  6897   Ciara                                                Ooh Baby                                             SR0000355316                   Zomba Recording LLC
  6898   Ciara                                                Other Chicks                                         SR0000355316                   Zomba Recording LLC
  6899   Ciara                                                Pick Up The Phone                                    SR0000355316                   Zomba Recording LLC
  6900   Ciara                                                The Title                                            SR0000355316                   Zomba Recording LLC
  6901   Ciara                                                Thug Style                                           SR0000355316                   Zomba Recording LLC
  6902   Ciara feat. Missy Elliott                            One, Two Step                                        SR0000355316                   Zomba Recording LLC
  6903   Ciara feat. R. Kelly                                 Next To You                                          SR0000355316                   Zomba Recording LLC
  6904   Donell Jones feat. Left-Eye                          U Know What's Up                                     PA0001280927                   Zomba Recording LLC
  6905   Justin Timberlake                                    (And She Said) Take Me Now                           SR0000319834                   Zomba Recording LLC
  6906   Justin Timberlake                                    (Oh No) What You Got                                 SR0000319834                   Zomba Recording LLC
  6907   Justin Timberlake                                    Cry Me A River                                       SR0000319834                   Zomba Recording LLC
  6908   Justin Timberlake                                    Last Night                                           SR0000319834                   Zomba Recording LLC
  6909   Justin Timberlake                                    Let's Take A Ride                                    SR0000319834                   Zomba Recording LLC
  6910   Justin Timberlake                                    Like I Love You                                      SR0000321888                   Zomba Recording LLC
  6911   Justin Timberlake                                    Lovestoned/ I Think She Knows                        SR0000395943                   Zomba Recording LLC
  6912   Justin Timberlake                                    Medley: Sexy Ladies / Let Me Talk to You (Prelude)   SR0000395943                   Zomba Recording LLC
  6913   Justin Timberlake                                    Never Again                                          SR0000319834                   Zomba Recording LLC
  6914   Justin Timberlake                                    Nothin' Else                                         SR0000319834                   Zomba Recording LLC
  6915   Justin Timberlake                                    Right For Me                                         SR0000319834                   Zomba Recording LLC
  6916   Justin Timberlake                                    Rock Your Body                                       SR0000319834                   Zomba Recording LLC
  6917   Justin Timberlake                                    Senorita                                             SR0000319834                   Zomba Recording LLC
  6918   Justin Timberlake                                    Still On My Brain                                    SR0000319834                   Zomba Recording LLC
  6919   Justin Timberlake                                    Take It From Here                                    SR0000319834                   Zomba Recording LLC
  6920   Justin Timberlake                                    What Goes Around... Comes Around                     SR0000395943                   Zomba Recording LLC
  6921   Three Days Grace                                     Born Like This                                       SR0000338429                   Zomba Recording LLC
  6922   Three Days Grace                                     Burn                                                 SR0000338429                   Zomba Recording LLC
  6923   Three Days Grace                                     Drown                                                SR0000338429                   Zomba Recording LLC
  6924   Three Days Grace                                     Get Out Alive                                        SR0000397604                   Zomba Recording LLC
  6925   Three Days Grace                                     Gone Forever                                         SR0000397604                   Zomba Recording LLC
  6926   Three Days Grace                                     I Hate Everything About You                          SR0000338429                   Zomba Recording LLC
  6927   Three Days Grace                                     It's All Over                                        SR0000397604                   Zomba Recording LLC
  6928   Three Days Grace                                     Just Like You                                        SR0000338429                   Zomba Recording LLC
  6929   Three Days Grace                                     Let It Die                                           SR0000397604                   Zomba Recording LLC
  6930   Three Days Grace                                     Let You Down                                         SR0000338429                   Zomba Recording LLC
  6931   Three Days Grace                                     Never Too Late                                       SR0000397604                   Zomba Recording LLC
  6932   Three Days Grace                                     Now or Never                                         SR0000338429                   Zomba Recording LLC
  6933   Three Days Grace                                     On My Own                                            SR0000397604                   Zomba Recording LLC
  6934   Three Days Grace                                     One X                                                SR0000397604                   Zomba Recording LLC
  6935   Three Days Grace                                     Over And Over                                        SR0000397604                   Zomba Recording LLC
  6936   Three Days Grace                                     Overrated                                            SR0000338429                   Zomba Recording LLC
  6937   Three Days Grace                                     Riot                                                 SR0000397604                   Zomba Recording LLC
  6938   Three Days Grace                                     Scared                                               SR0000338429                   Zomba Recording LLC
  6939   Three Days Grace                                     Take Me Under                                        SR0000338429                   Zomba Recording LLC


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                                Artist                                                    Track                         Registration Number                    Plaintiff
  6940   Three Days Grace                                     Time Of Dying                                    SR0000397604                   Zomba Recording LLC
  6941   Three Days Grace                                     Wake Up                                          SR0000338429                   Zomba Recording LLC
  6942   UGK (Underground Kingz) feat. Outkast                Int'l Players Anthem (I Choose You)              PA0001634651                   Zomba Recording LLC
  6943   Usher                                                Confessions Part II (Remix)                      SR0000352165                   Zomba Recording LLC
  6944   Usher                                                My Boo                                           SR0000352165                   Zomba Recording LLC
  6945   Usher                                                Red Light                                        SR0000352165                   Zomba Recording LLC
  6946   Usher                                                Seduction                                        SR0000352165                   Zomba Recording LLC
  6947   Weird Al Yankovic                                    Albuquerque                                      SR0000275219                   Zomba Recording LLC
  6948   Weird Al Yankovic                                    Germs                                            SR0000275219                   Zomba Recording LLC
  6949   Weird Al Yankovic                                    Grapefruit Diet                                  SR0000275219                   Zomba Recording LLC
  6950   Weird Al Yankovic                                    It's All About The Pentiums                      SR0000275219                   Zomba Recording LLC
  6951   Weird Al Yankovic                                    Jerry Springer                                   SR0000275219                   Zomba Recording LLC
  6952   Weird Al Yankovic                                    My Baby's In Love With Eddie Vedder              SR0000275219                   Zomba Recording LLC
  6953   Weird Al Yankovic                                    Polka Power!                                     SR0000275219                   Zomba Recording LLC
  6954   Weird Al Yankovic                                    Pretty Fly For A Rabbi                           SR0000275219                   Zomba Recording LLC
  6955   Weird Al Yankovic                                    The Saga Begins                                  SR0000275219                   Zomba Recording LLC
  6956   Weird Al Yankovic                                    The Weird Al Show Theme                          SR0000275219                   Zomba Recording LLC
  6957   Weird Al Yankovic                                    Truck Drivin' Song                               SR0000275219                   Zomba Recording LLC
  6958   Weird Al Yankovic                                    Your Horoscope For Today                         SR0000275219                   Zomba Recording LLC
  6959   Whodini                                              Big Mouth                                        SR0000063110                   Zomba Recording LLC
  6960   Whodini                                              Escape (I Need A Break)                          SR0000063110                   Zomba Recording LLC
  6961   Whodini                                              Five Minutes Of Funk                             SR0000060859                   Zomba Recording LLC
  6962   Whodini                                              Freaks Come Out At Night                         SR0000063110                   Zomba Recording LLC
  6963   Whodini                                              Friends                                          SR0000060859                   Zomba Recording LLC




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                                                              EXHIBIT B - MUSICAL COMPOSITIONS

        Track                                                 Reg. No.         Plaintiff
   1    Pink                                                  PA0000849817     Colgems-EMI Music Inc.
   2    Freak Like Me                                         PA0001158289     Colgems-EMI Music Inc. / Screen Gems-EMI Music Inc.
   3    Guilty Conscience                                     PA0001207060;    Colgems-EMI Music Inc. / W Chappell Music Corp. d/b/a WC Music Corp.
                                                              PA0000954422;
                                                              PA0000962146
   4    Throw It On Me                                        PA0001760173     Cotillion Music, Inc.
   5    Wait A Minute                                         PA0001697038     Cotillion Music, Inc.
   6    When Something Is Wrong With My Baby                  Eu0000964275;    Cotillion Music, Inc.
                                                              RE0000654514
   7    Kids Say the Darndest Things                          RE0000835305     EMI Algee Music Corp.
   8    (515)                                                 PA0001062108     EMI April Music Inc.
   9    (sic)                                                 PA0001040104     EMI April Music Inc.
  10    1st Person                                            PA0001165086     EMI April Music Inc.
  11    2 Man Show                                            PA0001591430     EMI April Music Inc.
  12    30/30-150                                             PA0001165087     EMI April Music Inc.
  13    4 Minutes                                             PA0001164517     EMI April Music Inc.
  14    400 Lux                                               PA0002007289     EMI April Music Inc.
  15    50 Ways To Say Goodbye                                PA0001799437     EMI April Music Inc.
  16    A Little Piece Of Heaven                              PA0001591961     EMI April Music Inc.
  17    A New Beginning                                       PA0001111289     EMI April Music Inc.
  18    A World Alone                                         PA0002007289     EMI April Music Inc.
  19    Afterlife                                             PA0001591960     EMI April Music Inc.
  20    All I Need                                            PA0001104579     EMI April Music Inc.
  21    All I Wanted Was a Car                                PA0001167812     EMI April Music Inc.
  22    All That I Am                                         PA0001161185     EMI April Music Inc.
  23    All Your Reasons                                      PA0001588610     EMI April Music Inc.
  24    Almost Easy                                           PA0001591963     EMI April Music Inc.
  25    And I                                                 PA0001159779     EMI April Music Inc.
  26    Angel                                                 PA0001738403     EMI April Music Inc.
  27    Angel Eyes                                            PA0001810572     EMI April Music Inc.
  28    Another One                                           PA0001648125     EMI April Music Inc.
  29    As I Am (Intro)                                       PA0001590109     EMI April Music Inc.
  30    Attention                                             PA0001621899     EMI April Music Inc.
  31    Bat Country                                           PA0001162004     EMI April Music Inc.
  32    Be The One                                            PA0000795267     EMI April Music Inc.
  33    Be Your Everything                                    PA0001831407     EMI April Music Inc.
  34    Beast And The Harlot                                  PA0001162005     EMI April Music Inc.
  35    Before I Forget                                       PA0001231062     EMI April Music Inc.
  36    Betrayed                                              PA0001162006     EMI April Music Inc.
  37    Biting Down                                           PA0001904440     EMI April Music Inc.
  38    Blinded In Chains                                     PA0001162007     EMI April Music Inc.
  39    Bodies                                                PA0001731809     EMI April Music Inc.
  40    Book Of John                                          PA0001910898     EMI April Music Inc.
  41    Break Your Heart                                      PA0001687491     EMI April Music Inc.
  42    Brompton Cocktail                                     PA0001591959     EMI April Music Inc.
  43    Burn It Down                                          PA0001162008     EMI April Music Inc.
  44    Bust Your Windows                                     PA0001640781     EMI April Music Inc.
  45    Butterflyz                                            PA0001065075     EMI April Music Inc.
  46    By Your Side                                          PA0001159519     EMI April Music Inc.
  47    Caged Bird                                            PA0001065075     EMI April Music Inc.
  48    Camouflage                                            PA0001743344     EMI April Music Inc.
  49    Can U Handle It?                                      PA0001159345     EMI April Music Inc.
  50    Can U Help Me                                         PA0000846618     EMI April Music Inc.
  51    Cardiff                                               PA0001165077     EMI April Music Inc.
  52    Caught Up                                             PA0001159081     EMI April Music Inc.
  53    ChampagneChroniKnightCap                              PA0001955406     EMI April Music Inc.
  54    Choose                                                PA0001157849     EMI April Music Inc.
  55    Cleveland Is The City                                 PA0001105255     EMI April Music Inc.
  56    Cold Case Love                                        PA0001704466     EMI April Music Inc.
  57    Come Back                                             PA0000893388     EMI April Music Inc.
  58    Come What(ever) May                                   PA0001165078     EMI April Music Inc.
  59    Count On You                                          PA0001726662     EMI April Music Inc.
  60    Crazy World                                           PA0001831285     EMI April Music Inc.
  61    Creep                                                 PA0000797832     EMI April Music Inc.
  62    Critical Acclaim                                      PA0001591957     EMI April Music Inc.
  63    Cry Baby                                              PA0001731812     EMI April Music Inc.
  64    Daddy's Little Girl                                   PA0001706680     EMI April Music Inc.
  65    Dance With My Father                                  PA0001105451     EMI April Music Inc.
  66    Dear God                                              PA0001591954     EMI April Music Inc.
  67    Dear John                                             PA0001624582     EMI April Music Inc.
  68    Diary                                                 PA0001158368     EMI April Music Inc.
  69    Digital (Did You Tell)                                PA0001722498     EMI April Music Inc.
  70    Dilemma                                               PA0001073273     EMI April Music Inc.
  71    Dirt                                                  PA0001640796     EMI April Music Inc.
  72    Do It All Again                                       PA0001866549     EMI April Music Inc.
  73    Do It To Me                                           PA0001159080     EMI April Music Inc.
  74    Do The Right Thang                                    PA0001706726     EMI April Music Inc.




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        Track                                                 Reg. No.         Plaintiff
  75    Don't Tell Me                                         PA0001159306     EMI April Music Inc.
  76    Dragon Days                                           PA0001158214     EMI April Music Inc.
  77    Dress On                                              PA0001843834     EMI April Music Inc.
  78    Drips                                                 PA0001092246     EMI April Music Inc.
  79    Drive (For Daddy Gene)                                PA0001118350     EMI April Music Inc.
  80    Drive By                                              PA0001799432     EMI April Music Inc.
  81    Duality                                               PA0001231062     EMI April Music Inc.
  82    Ego Tripping Out                                      PA0000065832     EMI April Music Inc.
  83    Elevate                                               PA0001825038     EMI April Music Inc.
  84    Epiphany                                              PA0001648126     EMI April Music Inc.
  85    Ever The Same                                         PA0001161186     EMI April Music Inc.
  86    Every Now And Then                                    PA0001131589     EMI April Music Inc.
  87    Every Other Memory                                    PA0001765856     EMI April Music Inc.
  88    Everybody Hurts                                       PA0001761234     EMI April Music Inc.
  89    Everybody Needs Love                                  PA0001738398     EMI April Music Inc.
  90    Everything Ends                                       PA0001102120     EMI April Music Inc.
  91    Eyeless                                               PA0000965864     EMI April Music Inc.
  92    Fading                                                PA0001728370     EMI April Music Inc.
  93    Fall                                                  PA0001920169     EMI April Music Inc.
  94    Fallin'                                               PA0001118374     EMI April Music Inc.
  95    Fallin' To Pieces                                     PA0001161187     EMI April Music Inc.
  96    Fantasy                                               PA0001167356     EMI April Music Inc.
  97    Feeling U, Feeling Me (Interlude)                     PA0001158215     EMI April Music Inc.
  98    Fertilizer                                            PA0001830370     EMI April Music Inc.
  99    Fold Your Hands Child                                 PA0001656112     EMI April Music Inc.
  100   Follow Me                                             PA0001159084     EMI April Music Inc.
  101   Follow My Life                                        PA0001131993     EMI April Music Inc.
  102   Freak Out                                             PA0001159307     EMI April Music Inc.
  103   G Is For Girl (A-Z)                                   PA0001649993     EMI April Music Inc.
  104   Get In My Car                                         PA0001723647     EMI April Music Inc.
  105   Get Inside                                            PA0001115051     EMI April Music Inc.
  106   Get Up Get Down                                       PA0001839489     EMI April Music Inc.
  107   Girlfriend                                            PA0001065074     EMI April Music Inc.
  108   Glory And Gore                                        PA0002007289     EMI April Music Inc.
  109   Go                                                    PA0001735199     EMI April Music Inc.
  110   Go Ahead                                              PA0001590126     EMI April Music Inc.
  111   God Bless                                             PA0001111571     EMI April Music Inc.
  112   God Given Name                                        PA0001610591     EMI April Music Inc.
  113   God In Me                                             PA0001640766     EMI April Music Inc.
  114   Gone Be Fine                                          PA0000914750     EMI April Music Inc.
  115   Good Girl                                             PA0001807727     EMI April Music Inc.
  116   Good Girls Go Bad                                     PA0001662734;    EMI April Music Inc.
                                                              PA0001679605
  117   Guilty                                                PA0001807273     EMI April Music Inc.
  118   Gunslinger                                            PA0001591956     EMI April Music Inc.
  119   Hand Me Down                                          PA0001104642     EMI April Music Inc.
  120   Harlem's Nocturne                                     PA0001158371     EMI April Music Inc.
  121   Heart Ain't A Brain                                   PA0001885554     EMI April Music Inc.
  122   Heaven Sent                                           PA0001395845     EMI April Music Inc.
  123   Hell & Consequences                                   PA0001165079     EMI April Music Inc.
  124   Hero/Heroine                                          PA0001165802     EMI April Music Inc.
  125   Hold On                                               PA0001113696     EMI April Music Inc.
  126   Hot                                                   PA0001167507     EMI April Music Inc.
  127   How Do I Say                                          PA0000846620     EMI April Music Inc.
  128   How Far We've Come                                    PA0001588613     EMI April Music Inc.
  129   How Far We've Come                                    PA0001588613     EMI April Music Inc.
  130   How I Feel                                            PA0001159657     EMI April Music Inc.
  131   How Long                                              PA0001850276     EMI April Music Inc.
  132   I Always Get What I Want                              PA0001160190     EMI April Music Inc.
  133   I Can't Let U Go                                      PA0000846615     EMI April Music Inc.
  134   I Can't Wait To Meetchu                               PA0000986835     EMI April Music Inc.
  135   I Gotta Feeling                                       PA0001396542     EMI April Music Inc.
  136   I Love LA                                             PA0001920258;    EMI April Music Inc.
                                                              PA0001879197
  137   I Miss You                                            PA0000978102     EMI April Music Inc.
  138   I Wanna Be                                            PA0001589983     EMI April Music Inc.
  139   I Want You                                            PA0001731813     EMI April Music Inc.
  140   I Will                                                PA0001850366     EMI April Music Inc.
  141   I Wish                                                PA0001813030     EMI April Music Inc.
  142   If I Ain't Got You                                    PA0001158216     EMI April Music Inc.
  143   If I Fall                                             PA0001588611     EMI April Music Inc.
  144   I'll Believe You When                                 PA0001588615     EMI April Music Inc.
  145   I'm Okay                                              PA0001648136     EMI April Music Inc.
  146   I'm Running                                           PA0001640785     EMI April Music Inc.
  147   In God's Hands                                        PA0001164471     EMI April Music Inc.
  148   Inhale                                                PA0001115050     EMI April Music Inc.
  149   Innocence                                             PA0001194022     EMI April Music Inc.




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        Track                                                 Reg. No.         Plaintiff
  150   Innocence                                             PA0001167508     EMI April Music Inc.
  151   Intro                                                 PA0001159659     EMI April Music Inc.
  152   It's All About The Pentiums                           PA0000976952     EMI April Music Inc.
  153   I've Committed Murder                                 PA0000976706     EMI April Music Inc.
  154   Jane Doe                                              PA0001065078     EMI April Music Inc.
  155   Just For One Day                                      PA0001920253;    EMI April Music Inc.
                                                              PA0001879169
  156   Karma                                                 PA0001158372     EMI April Music Inc.
  157   Kissed It                                             PA0001737022     EMI April Music Inc.
  158   Land of the Snakes                                    PA0001975666     EMI April Music Inc.
  159   Lately                                                PA0001737021     EMI April Music Inc.
  160   Leaving California                                    PA0001831261     EMI April Music Inc.
  161   Left Behind                                           PA0001102120     EMI April Music Inc.
  162   Lesson Learned                                        PA0001590133     EMI April Music Inc.
  163   Let Me Love You                                       PA0001160636     EMI April Music Inc.
  164   Let's Go Out Tonight                                  PA0001166136     EMI April Music Inc.
  165   Life Of The Party                                     PA0001831259     EMI April Music Inc.
  166   Lifes On The Line                                     PA0001147481     EMI April Music Inc.
  167   Lifestyles Of The Rich & Famous                       PA0001113696     EMI April Music Inc.
  168   Lifetime                                              PA0001602821     EMI April Music Inc.
  169   Like Sugar                                            PA0001850238     EMI April Music Inc.
  170   Like You'll Never See Me Again                        PA0001590110     EMI April Music Inc.
  171   Lions, Tigers & Bears                                 PA0001640779     EMI April Music Inc.
  172   Little Girl                                           PA0001111575     EMI April Music Inc.
  173   Live A Lie                                            PA0001640780     EMI April Music Inc.
  174   London Bridge                                         PA0001165471     EMI April Music Inc.
  175   Lonely No More                                        PA0001161188     EMI April Music Inc.
  176   Losing Grip                                           PA0001101505     EMI April Music Inc.
  177   Lost                                                  PA0001591955     EMI April Music Inc.
  178   Love Drunk                                            PA0001735247     EMI April Music Inc.
  179   Love Of My Life                                       PA0001625858     EMI April Music Inc.
  180   Love Sex Magic                                        PA0001649982     EMI April Music Inc.
  181   Luxurious                                             PA0001160424     EMI April Music Inc.
  182   M.I.A.                                                PA0001162010     EMI April Music Inc.
  183   Made Of Scars                                         PA0001165080     EMI April Music Inc.
  184   Mannequin                                             PA0001888782     EMI April Music Inc.
  185   Million Dollar Bills                                  PA0001904440     EMI April Music Inc.
  186   Mobile                                                PA0001101509     EMI April Music Inc.
  187   Mr. Man                                               PA0001065080     EMI April Music Inc.
  188   MVP                                                   PA0001706727     EMI April Music Inc.
  189   My Bloody Valentine                                   PA0001113696     EMI April Music Inc.
  190   My Fondest Childhood Memories                         PA0001131694     EMI April Music Inc.
  191   My My My                                              PA0001161189     EMI April Music Inc.
  192   My Plague                                             PA0001102120     EMI April Music Inc.
  193   My Way                                                PA0000893387     EMI April Music Inc.
  194   Nasty Girl                                            PA0001706696     EMI April Music Inc.
  195   Nice And Slow                                         PA0000893386     EMI April Music Inc.
  196   No Better                                             PA0001882742     EMI April Music Inc.
  197   No One                                                PA0001590102     EMI April Music Inc.
  198   Nobody Not Really (Interlude)                         PA0001158373     EMI April Music Inc.
  199   Nobody's Business                                     PA0001881665     EMI April Music Inc.
  200   Nothing                                               PA0001072625     EMI April Music Inc.
  201   Now Comes The Night                                   PA0001161195     EMI April Music Inc.
  202   Nylon 6/6                                             PA0001718972     EMI April Music Inc.
  203   Old Man & Me                                          PA0000795267     EMI April Music Inc.
  204   On Fire                                               PA0001735856;    EMI April Music Inc.
                                                              PA0001731108
  205   One Day You'll Be Mine                                PA0000893389     EMI April Music Inc.
  206   One Of Those Girls                                    PA0001167509     EMI April Music Inc.
  207   One Thing                                             PA0001848513     EMI April Music Inc.
  208   Online                                                PA0001167813     EMI April Music Inc.
  209   Only Wanna Be With You                                PA0000734279     EMI April Music Inc.
  210   Orchids                                               PA0001115050     EMI April Music Inc.
  211   Our Song                                              PA0001850280     EMI April Music Inc.
  212   Overjoyed                                             PA0001850364     EMI April Music Inc.
  213   P.I.M.P.                                              PA0001105184     EMI April Music Inc.
  214   Papers                                                PA0001753740     EMI April Music Inc.
  215   Pete Wentz Is The Only Reason We're Famous            PA0001667218     EMI April Music Inc.
  216   Piano & I                                             PA0001065075     EMI April Music Inc.
  217   Pieces                                                PA0001718970     EMI April Music Inc.
  218   Pop Ya Collar                                         PA0001081875     EMI April Music Inc.
  219   Porcelain Doll                                        PA0001648132     EMI April Music Inc.
  220   Praise                                                PA0000101381     EMI April Music Inc.
  221   Prelude 3.0                                           PA0001231062     EMI April Music Inc.
  222   Prelude To A Kiss                                     PA0001590111     EMI April Music Inc.
  223   Pretty Boy Swag                                       PA0001734530     EMI April Music Inc.
  224   Problem Girl                                          PA0001161191     EMI April Music Inc.




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        Track                                                 Reg. No.         Plaintiff
  225   Push                                                  PA0001761225     EMI April Music Inc.
  226   Put Your Hands Up                                     PA0001850287     EMI April Music Inc.
  227   Radio                                                 PA0001850359     EMI April Music Inc.
  228   Reborn                                                PA0001165124     EMI April Music Inc.
  229   Relating To A Psychopath                              PA0001092131     EMI April Music Inc.
  230   Remind Me                                             PA0001743361     EMI April Music Inc.
  231   Return The Favor                                      PA0001667243     EMI April Music Inc.
  232   Ribs                                                  PA0002007289     EMI April Music Inc.
  233   Riot Girl                                             PA0001157807     EMI April Music Inc.
  234   Rock Me In                                            PA0001626940     EMI April Music Inc.
  235   Rock That Body                                        PA0001666771     EMI April Music Inc.
  236   Royals                                                PA0002007289     EMI April Music Inc.
  237   Russian Roulette                                      PA0001704500     EMI April Music Inc.
  238   Samsonite Man                                         PA0001158374     EMI April Music Inc.
  239   Satisfied                                             PA0001731823     EMI April Music Inc.
  240   Say Anything                                          PA0001157807     EMI April Music Inc.
  241   Say You'll Haunt Me                                   PA0001722494     EMI April Music Inc.
  242   Scream                                                PA0001591958     EMI April Music Inc.
  243   Seduction                                             PA0001159869     EMI April Music Inc.
  244   Seize The Day                                         PA0001162009     EMI April Music Inc.
  245   Sensuality                                            PA0001395664     EMI April Music Inc.
  246   Sexual Healing                                        PA0000162210     EMI April Music Inc.
  247   Shattered Heart                                       PA0001624650     EMI April Music Inc.
  248   She's Gone                                            PA0001627413     EMI April Music Inc.
  249   She's Got A Boyfriend Now                             PA0001736534     EMI April Music Inc.
  250   She's So Mean                                         PA0001850358     EMI April Music Inc.
  251   Shortie Like Mine                                     PA0001647447     EMI April Music Inc.
  252   Shotgun                                               PA0001878368     EMI April Music Inc.
  253   Show Me                                               PA0001804834     EMI April Music Inc.
  254   Sidewinder                                            PA0001162011     EMI April Music Inc.
  255   Sillyworld                                            PA0001165081     EMI April Music Inc.
  256   Sleeping At The Wheel                                 PA0001850160     EMI April Music Inc.
  257   Slow Down                                             PA0001158938     EMI April Music Inc.
  258   So Beautiful                                          PA0001624586     EMI April Music Inc.
  259   Socio                                                 PA0001165082     EMI April Music Inc.
  260   Someone Like You                                      PA0001735195     EMI April Music Inc.
  261   Something Special                                     PA0001602832     EMI April Music Inc.
  262   Something To Be                                       PA0001161192     EMI April Music Inc.
  263   Space                                                 PA0001194022     EMI April Music Inc.
  264   Speechless                                            PA0001131696     EMI April Music Inc.
  265   Spit It Out                                           PA0000965864     EMI April Music Inc.
  266   Spread Yo Shit                                        PA0001245481     EMI April Music Inc.
  267   Still                                                 PA0000986836     EMI April Music Inc.
  268   Still On My Brain                                     PA0001118861     EMI April Music Inc.
  269   Still Sane                                            PA0002007289     EMI April Music Inc.
  270   Stranger                                              PA0001760579     EMI April Music Inc.
  271   Streets Of New York                                   PA0001162554     EMI April Music Inc.
  272   Strength Of The World                                 PA0001162012     EMI April Music Inc.
  273   Stuck in the Middle                                   PA0001831360     EMI April Music Inc.
  274   Superwoman                                            PA0001590140     EMI April Music Inc.
  275   Surfacing                                             PA0000965864     EMI April Music Inc.
  276   T.O.N.Y.                                              PA0001608776     EMI April Music Inc.
  277   Take A Number                                         PA0001115050     EMI April Music Inc.
  278   Take Me Away                                          PA0001656152     EMI April Music Inc.
  279   Take Me Away                                          PA0001159308     EMI April Music Inc.
  280   Take Me Home                                          PA0001831437     EMI April Music Inc.
  281   Take Our Time                                         PA0000797830     EMI April Music Inc.
  282   Taken                                                 PA0001813025     EMI April Music Inc.
  283   Team                                                  PA0002007289     EMI April Music Inc.
  284   Tell You Something (Nana's Reprise)                   PA0001590108     EMI April Music Inc.
  285   Tennis Court                                          PA0002007289     EMI April Music Inc.
  286   Thank You                                             PA0001653144     EMI April Music Inc.
  287   The Answer                                            PA0001279740;    EMI April Music Inc.
                                                              PA0001223278
  288   The Anthem                                            PA0001157807     EMI April Music Inc.
  289   The Bitter End                                        PA0001718944     EMI April Music Inc.
  290   The Blister Exists                                    PA0001231062     EMI April Music Inc.
  291   The Day That I Die                                    PA0001157807     EMI April Music Inc.
  292   The Definition                                        PA0001626025     EMI April Music Inc.
  293   The Fighter                                           PA0001806416     EMI April Music Inc.
  294   The First Time                                        PA0001831419     EMI April Music Inc.
  295   The Heretic Anthem                                    PA0001102120     EMI April Music Inc.
  296   The Impossible                                        PA0001073283     EMI April Music Inc.
  297   The Life                                              PA0001065079     EMI April Music Inc.
  298   The Love Club                                         PA0001904440     EMI April Music Inc.
  299   The More I Drink                                      PA0001993843     EMI April Music Inc.
  300   The Nameless                                          PA0001231062     EMI April Music Inc.




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        Track                                                 Reg. No.         Plaintiff
  301   The Scene Is Dead; Long Live The Scene                PA0001662732     EMI April Music Inc.
  302   The Shot Heard 'Round The World                       PA0001735286     EMI April Music Inc.
  303   The Story Of My Old Man                               PA0001113696     EMI April Music Inc.
  304   The Wicked End                                        PA0001162014     EMI April Music Inc.
  305   The World Will Never Do                               PA0001662901     EMI April Music Inc.
  306   The Young & The Hopeless                              PA0001113696     EMI April Music Inc.
  307   These Hard Times                                      PA0001588614     EMI April Music Inc.
  308   Think About You                                       PA0001105460     EMI April Music Inc.
  309   Think Like A Man                                      PA0001820629     EMI April Music Inc.
  310   Threadbare                                            PA0001718936     EMI April Music Inc.
  311   Through Glass                                         PA0001165083     EMI April Music Inc.
  312   Throwback                                             PA0001159346     EMI April Music Inc.
  313   Thug Mentality                                        PA0001023895     EMI April Music Inc.
  314   Ticks                                                 PA0001167818     EMI April Music Inc.
  315   Time Well Wasted                                      PA0001162300     EMI April Music Inc.
  316   Trashed And Scattered                                 PA0001162013     EMI April Music Inc.
  317   Troubles                                              PA0001065076     EMI April Music Inc.
  318   Tumult                                                PA0001157849     EMI April Music Inc.
  319   Twork It Out                                          PA0000846613     EMI April Music Inc.
  320   U Make Me Wanna                                       PA000115929      EMI April Music Inc.
  321   Unbound (The Wild Ride)                               PA0001591987     EMI April Music Inc.
  322   Undisputed                                            PA0001707774     EMI April Music Inc.
  323   Valentine's Day                                       PA0001958626     EMI April Music Inc.
  324   Vermilion Pt. 2                                       PA0001231062     EMI April Music Inc.
  325   Wait And Bleed                                        PA0001040104     EMI April Music Inc.
  326   Wake Up                                               PA0001158369     EMI April Music Inc.
  327   Walking                                               PA0001738379     EMI April Music Inc.
  328   Wanksta                                               PA0001105183     EMI April Music Inc.
  329   Want U Back                                           PA0001835074     EMI April Music Inc.
  330   Waterfalls                                            PA0000797831     EMI April Music Inc.
  331   Welcome To Jamrock                                    PA0001162406     EMI April Music Inc.
  332   Wet Hot American Summer                               PA0001662916     EMI April Music Inc.
  333   What Makes You Beautiful                              PA0001790417     EMI April Music Inc.
  334   What Them Girls Like                                  PA0001620075     EMI April Music Inc.
  335   What's A Guy Gotta Do                                 PA0001159557     EMI April Music Inc.
  336   When It Hurts                                         PA0001621885     EMI April Music Inc.
  337   When The Heartache Ends                               PA0001161193     EMI April Music Inc.
  338   When You Really Love Someone                          PA0001158370     EMI April Music Inc.
  339   When You're Gone                                      PA0001167506     EMI April Music Inc.
  340   Where Do We Go From Here                              PA0001590129     EMI April Music Inc.
  341   Where Were You (When the World Stopped Turning)       PA0001076926     EMI April Music Inc.
  342   White Teeth Teens                                     PA0002007289     EMI April Music Inc.
  343   Who Is She To U                                       PA0001159573     EMI April Music Inc.
  344   Why Is It So Hard                                     PA0001738400     EMI April Music Inc.
  345   Will Work For Love                                    PA0001658983     EMI April Music Inc.
  346   With You                                              PA0001163725     EMI April Music Inc.
  347   Wondering                                             PA0001157807     EMI April Music Inc.
  348   Wreckless Love                                        PA0001589833     EMI April Music Inc.
  349   Y.O.U.                                                PA0001621886     EMI April Music Inc.
  350   Yeah 3x                                               PA0001884071     EMI April Music Inc.
  351   Yeah!                                                 PA0001159089     EMI April Music Inc.
  352   You Make Me Wanna...                                  PA0000893384     EMI April Music Inc.
  353   You Need a Man Around Here                            PA0001162302     EMI April Music Inc.
  354   You'll Think Of Me                                    PA0001073550     EMI April Music Inc.
  355   Your God                                              PA0001165084     EMI April Music Inc.
  356   Your Secret Love                                      PA0000826398     EMI April Music Inc.
  357   You're So Real                                        PA0001104643     EMI April Music Inc.
  358   Zzyzx Rd.                                             PA0001165085     EMI April Music Inc.
  359   Hot Tottie                                            PA0001760557     EMI April Music Inc. / W Chappell Music Corp. d/b/a WC Music Corp.
  360   Just Like Me                                          PA0001033071;    EMI April Music Inc. / Warner-Tamerlane Publishing Corp.
                                                              PA0000893385
  361   3AM                                                   PA0000844647     EMI April Music Inc. / EMI Blackwood Music Inc.
  362   All I Ever Wanted                                     PA0001131835     EMI April Music Inc. / EMI Blackwood Music Inc.
  363   Back 2 Good                                           PA0000844646     EMI April Music Inc. / EMI Blackwood Music Inc.
  364   Bed Of Lies                                           PA0001006952     EMI April Music Inc. / EMI Blackwood Music Inc.
  365   Before I Met You                                      PA0001673114     EMI April Music Inc. / EMI Blackwood Music Inc.
  366   Better Version                                        PA0001131836     EMI April Music Inc. / EMI Blackwood Music Inc.
  367   Black & White People                                  PA0001006950     EMI April Music Inc. / EMI Blackwood Music Inc.
  368   Busted                                                PA0000844644     EMI April Music Inc. / EMI Blackwood Music Inc.
  369   Changes                                               PA0001731492     EMI April Music Inc. / EMI Blackwood Music Inc.
  370   Crutch                                                PA0001006950     EMI April Music Inc. / EMI Blackwood Music Inc.
  371   Damn                                                  PA0000844644     EMI April Music Inc. / EMI Blackwood Music Inc.
  372   Disease                                               PA0001105084     EMI April Music Inc. / EMI Blackwood Music Inc.
  373   Don't Look Down                                       PA0001738410     EMI April Music Inc. / EMI Blackwood Music Inc.
  374   Downfall                                              PA0001104581     EMI April Music Inc. / EMI Blackwood Music Inc.
  375   Everywhere                                            PA0001731500     EMI April Music Inc. / EMI Blackwood Music Inc.
  376   Fallin' Out                                           PA0001589919     EMI April Music Inc. / EMI Blackwood Music Inc.




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        Track                                                 Reg. No.         Plaintiff
  377   Girl Like That                                        PA0000844644     EMI April Music Inc. / EMI Blackwood Music Inc.
  378   Hang                                                  PA0000844644     EMI April Music Inc. / EMI Blackwood Music Inc.
  379   Have Some Fun                                         PA0001158407     EMI April Music Inc. / EMI Blackwood Music Inc.
  380   Heart Heart Heartbreak                                PA0001735191;    EMI April Music Inc. / EMI Blackwood Music Inc.
                                                              PA0001730760
  381   Heartbreak Hotel                                      PA0000927023     EMI April Music Inc. / EMI Blackwood Music Inc.
  382   I Need You                                            PA0001590128     EMI April Music Inc. / EMI Blackwood Music Inc.
  383   If You're Gone                                        PA0001006950;    EMI April Music Inc. / EMI Blackwood Music Inc.
                                                              PA0001038500
  384   If You're Out There                                   PA0001646374     EMI April Music Inc. / EMI Blackwood Music Inc.
  385   In Memory                                             PA0001131837     EMI April Music Inc. / EMI Blackwood Music Inc.
  386   It's Not Right But It's Okay                          PA0000954971     EMI April Music Inc. / EMI Blackwood Music Inc.
  387   Kody                                                  PA0000844644     EMI April Music Inc. / EMI Blackwood Music Inc.
  388   Lacerated                                             PA0001131838     EMI April Music Inc. / EMI Blackwood Music Inc.
  389   Leave                                                 PA0001006950     EMI April Music Inc. / EMI Blackwood Music Inc.
  390   Left Out                                              PA0001131839     EMI April Music Inc. / EMI Blackwood Music Inc.
  391   Long Day                                              PA0000844644     EMI April Music Inc. / EMI Blackwood Music Inc.
  392   Mad Season                                            PA0001006950     EMI April Music Inc. / EMI Blackwood Music Inc.
  393   Make My Day                                           PA0001731490     EMI April Music Inc. / EMI Blackwood Music Inc.
  394   Never Forget You                                      PA0001738485     EMI April Music Inc. / EMI Blackwood Music Inc.
  395   One Less Lonely Girl                                  PA0001704465     EMI April Music Inc. / EMI Blackwood Music Inc.
  396   Outro (Obie Trice/ Cheers)                            PA0001159257     EMI April Music Inc. / EMI Blackwood Music Inc.
  397   Piano Man                                             PA0001625977     EMI April Music Inc. / EMI Blackwood Music Inc.
  398   Push                                                  PA0000844645     EMI April Music Inc. / EMI Blackwood Music Inc.
  399   Push (Time Capsule Version)                           PA0000844645     EMI April Music Inc. / EMI Blackwood Music Inc.
  400   Real World                                            PA0001655141     EMI April Music Inc. / EMI Blackwood Music Inc.
  401   Rest Stop                                             PA0001038500     EMI April Music Inc. / EMI Blackwood Music Inc.
  402   Right On the Money                                    PA0000922532     EMI April Music Inc. / EMI Blackwood Music Inc.
  403   So Simple                                             PA0001158375     EMI April Music Inc. / EMI Blackwood Music Inc.
  404   Take Your Hand                                        PA0001159167     EMI April Music Inc. / EMI Blackwood Music Inc.
  405   Takin' It There                                       PA0001640699     EMI April Music Inc. / EMI Blackwood Music Inc.
  406   Teenage Love Affair                                   PA0001590132     EMI April Music Inc. / EMI Blackwood Music Inc.
  407   Un-thinkable (I'm Ready)                              PA0001666749     EMI April Music Inc. / EMI Blackwood Music Inc.
  408   Warm It Up (With Love)                                PA0001624745     EMI April Music Inc. / EMI Blackwood Music Inc.
  409   Wasted                                                PA0002067753     EMI April Music Inc. / EMI Blackwood Music Inc.
  410   When The Music Stops                                  PA0001073068     EMI April Music Inc. / EMI Blackwood Music Inc.
  411   Who Dat                                               PA0001640769     EMI April Music Inc. / EMI Blackwood Music Inc.
  412   You Don't Know My Name                                PA0001158217     EMI April Music Inc. / EMI Blackwood Music Inc.
  413   You Won't Be Mine                                     PA0001006950,    EMI April Music Inc. / EMI Blackwood Music Inc.
                                                              PA0001038500
  414   Fallen                                                PA0001712987     EMI April Music Inc. / EMI Blackwood Music Inc./ Sony/ATV Music Publishing LLC
  415   Like This                                             PA0001072623     EMI April Music Inc. / EMI Blackwood Music Inc./ Sony/ATV Music Publishing LLC
  416   Last Beautiful Girl                                   PA0000978638;    EMI April Music Inc. / EMI Blackwood Music Inc./ W Chappell Music Corp. d/b/a WC Music Corp.
                                                              PA0001006951
  417   Out Of My Head                                        PA0001750279;    EMI April Music Inc. / EMI Blackwood Music Inc./ W Chappell Music Corp. d/b/a WC Music Corp.
                                                              PA0001738574
  418   That's My Kind Of Night                               PA0001870880;    EMI April Music Inc. / EMI Blackwood Music Inc./ W Chappell Music Corp. d/b/a WC Music Corp. /
                                                              PA0001967409     Warner Chappell Music, Inc.
  419   We Run This Town                                      PA0001967419     EMI April Music Inc. / EMI Blackwood Music Inc./ W Chappell Music Corp. d/b/a WC Music Corp. /
                                                                               Warner Chappell Music, Inc.
  420   Make It Last Forever                                  PA0001375846;    EMI April Music Inc. / EMI Blackwood Music Inc./ W Chappell Music Corp. d/b/a WC Music Corp. /
                                                              PA0001166656     Warner-Tamerlane Publishing Corp.
  421   It's a Beautiful Life                                 PA0001203953     EMI April Music Inc. / EMI Blackwood Music Inc./ Warner-Tamerlane Publishing Corp.
  422   Someone To Love Me (Naked)                            PA0001842413     EMI April Music Inc. / EMI Blackwood Music Inc./ Warner-Tamerlane Publishing Corp.
  423   Turn It Up                                            PA0001763350     EMI April Music Inc. / EMI Blackwood Music Inc./ Warner-Tamerlane Publishing Corp.
  424   A Moment To Myself                                    PA0000986838     EMI April Music Inc. / EMI Consortium Songs Inc. d/b/a EMI Longitude Music
  425   Backagain                                             PA0001395994     EMI April Music Inc. / EMI Consortium Songs Inc. d/b/a EMI Longitude Music
  426   Blame It On Me                                        PA0001670195     EMI April Music Inc. / EMI Entertainment World Inc. d/b/a EMI Foray Music / Warner-Tamerlane
                                                                               Publishing Corp.
  427   Fragile                                               PA0001648128     EMI April Music Inc. / EMI Entertainment World Inc. d/b/a EMI Foray Music / Warner-Tamerlane
                                                                               Publishing Corp.
  428   Mr. Right                                             PA0001670188     EMI April Music Inc. / EMI Entertainment World Inc. d/b/a EMI Foray Music / Warner-Tamerlane
                                                                               Publishing Corp.
  429   Notebook                                              PA0001670195     EMI April Music Inc. / EMI Entertainment World Inc. d/b/a EMI Foray Music / Warner-Tamerlane
                                                                               Publishing Corp.
  430   Until                                                 PA0001624579     EMI April Music Inc. / Jobete Music Co Inc.
  431   Everybody Hates Chris                                 PA0001706689     EMI April Music Inc. / Jobete Music Co. Inc.
  432   Superstar                                             PA0001159085     EMI April Music Inc. / Jobete Music Co. Inc.
  433   Good Man                                              PA0001752533     EMI April Music Inc. / Polygram Publishing, Inc.
  434   All My Life                                           PA0001644944     EMI April Music Inc. / Sony/ATV Music Publishing LLC
  435   Call Up The Homies                                    PA0001706741     EMI April Music Inc. / Sony/ATV Music Publishing LLC
  436   Energy                                                PA0001840559     EMI April Music Inc. / Sony/ATV Music Publishing LLC
  437   First Dance                                           PA0001749344     EMI April Music Inc. / Sony/ATV Music Publishing LLC
  438   Never Took The Time                                   PA0001663701     EMI April Music Inc. / Sony/ATV Music Publishing LLC
  439   Save You Tonight                                      PA0001784623     EMI April Music Inc. / Sony/ATV Music Publishing LLC
  440   Slower                                                PA0001835570     EMI April Music Inc. / Sony/ATV Music Publishing LLC
  441   Without You                                           PA0001877914     EMI April Music Inc. / Sony/ATV Music Publishing LLC




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        Track                                                 Reg. No.         Plaintiff
  442   Lemme See                                             PA0001828069     EMI April Music Inc. / Sony/ATV Music Publishing LLC / EMI Blackwood Music Inc.
  443   Brand New                                             PA0001858773     EMI April Music Inc. / Sony/ATV Music Publishing LLC / Warner-Tamerlane Publishing Corp.
  444   You Can't Stop Us Now                                 PA0001396096     EMI April Music Inc. / Stone Agate Music (a division of Jobete Music Co. Inc.)
  445   Living In The Sky With Diamonds                       PA0001678956     EMI April Music Inc. / Unichappell Music Inc.
  446   My Boo                                                PA0001159778     EMI April Music Inc. / Unichappell Music Inc.
  447   Turn It Up                                            PA0001317543     EMI April Music Inc. / Universal Music Corp.
  448   Billionaire                                           PA0001740847;    EMI April Music Inc. / W Chappell Music Corp. d/b/a WC Music Corp.
                                                              PA0001714525
  449   Breakdown                                             PA0000896279     EMI April Music Inc. / W Chappell Music Corp. d/b/a WC Music Corp.
  450   Heartburn                                             PA0001158218;    EMI April Music Inc. / W Chappell Music Corp. d/b/a WC Music Corp.
                                                              PA0001879469
  451   High Price                                            PA0001659051     EMI April Music Inc. / W Chappell Music Corp. d/b/a WC Music Corp.
  452   I Do It For Hip Hop                                   PA0001869933     EMI April Music Inc. / W Chappell Music Corp. d/b/a WC Music Corp.
  453   Niggaz Know                                           PA0001884065     EMI April Music Inc. / W Chappell Music Corp. d/b/a WC Music Corp.
  454   Shackles (Praise You)                                 PA0001157819     EMI April Music Inc. / W Chappell Music Corp. d/b/a WC Music Corp.
  455   Take You Down                                         PA0001395676     EMI April Music Inc. / W Chappell Music Corp. d/b/a WC Music Corp.
  456   Turn It Up                                            PA0001236716;    EMI April Music Inc. / W Chappell Music Corp. d/b/a WC Music Corp.
                                                              PA0001159468
  457   Until It Breaks                                       PA0001840841     EMI April Music Inc. / W Chappell Music Corp. d/b/a WC Music Corp.
  458   Where I Wanna Be                                      PA0001087580;    EMI April Music Inc. / W Chappell Music Corp. d/b/a WC Music Corp.
                                                              PA0001024534
  459   Baby                                                  PA0001733297     EMI April Music Inc. / W Chappell Music Corp. d/b/a WC Music Corp.
  460   Billionaire                                           PA0001740847;    EMI April Music Inc. / W Chappell Music Corp. d/b/a WC Music Corp.
                                                              PA00001714525
  461   A Little Home                                         PA0001853121;    EMI April Music Inc. / W Chappell Music Corp. d/b/a WC Music Corp. / Warner Chappell Music, Inc.
                                                              PA0001910890
  462   Be The Lake                                           PA0001743353;    EMI April Music Inc. / W Chappell Music Corp. d/b/a WC Music Corp. / Warner Chappell Music, Inc.
                                                              PA0002004490
  463   Working On A Tan                                      PA0001742330;    EMI April Music Inc. / W Chappell Music Corp. d/b/a WC Music Corp. / Warner Chappell Music, Inc.
                                                              PA0002004468
  464   We Made You                                           PA0001848047;    EMI April Music Inc. / W Chappell Music Corp. d/b/a WC Music Corp. / Warner-Tamerlane Publishing
                                                              PA0001706448;    Corp.
                                                              PA0001957226
  465   4 Years Old                                           PA0001842281     EMI April Music Inc. / W Chappell Music Corp. d/b/a WC Music Corp. / Warner-Tamerlane Publishing
                                                                               Corp.
  466   Best Thing                                            PA0001690183     EMI April Music Inc. / W Chappell Music Corp. d/b/a WC Music Corp. / Warner-Tamerlane Publishing
                                                                               Corp.
  467   Lighters                                              PA0001842411     EMI April Music Inc. / W Chappell Music Corp. d/b/a WC Music Corp. / Warner-Tamerlane Publishing
                                                                               Corp.
  468   Nice Guys Finish Last                                 PA0001656109     EMI April Music Inc. / W Chappell Music Corp. d/b/a WC Music Corp. / Warner-Tamerlane Publishing
                                                                               Corp.
  469   Real Hip Hop                                          PA0001314213;    EMI April Music Inc. / W Chappell Music Corp. d/b/a WC Music Corp. / Warner-Tamerlane Publishing
                                                              PA0001159524;    Corp.
                                                              PA0001241282
  470   Someone Else                                          PA0001870024     EMI April Music Inc. / W Chappell Music Corp. d/b/a WC Music Corp. / Warner-Tamerlane Publishing
                                                                               Corp.
  471   All Of The Night                                      PA0001868329     EMI April Music Inc. / W.C.M. Music Corp.
  472   Appetite                                              PA0001699247;    EMI April Music Inc. / W.C.M. Music Corp.
                                                              PA0001687431
  473   Burn                                                  PA0001227181;    EMI April Music Inc. / W.C.M. Music Corp.
                                                              PA0001159079
  474   Confessions pt. 2                                     PA0001227181;    EMI April Music Inc. / W.C.M. Music Corp.
                                                              PA0001159082
  475   Confessions pt. 2 Remix                               PA0001160227     EMI April Music Inc. / W.C.M. Music Corp.
  476   Hey Daddy (Daddy's Home)                              PA0001700475;    EMI April Music Inc. / W.C.M. Music Corp.
                                                              PA0001707160
  477   U Got It Bad                                          PA0001248726;    EMI April Music Inc. / W.C.M. Music Corp.
                                                              PA0000846614
  478   All-American Girl                                     PA0001590017     EMI April Music Inc. / Warner Chappell Music, Inc.
  479   Above The Law                                         PA0001808400     EMI April Music Inc. / Warner-Tamerlane Publishing Corp.
  480   Cheated                                               PA0001853123     EMI April Music Inc. / Warner-Tamerlane Publishing Corp.
  481   Hold Up                                               PA0001851053     EMI April Music Inc. / Warner-Tamerlane Publishing Corp.
  482   I'm On Everything                                     PA0001808404     EMI April Music Inc. / Warner-Tamerlane Publishing Corp.
  483   I'm Still A Guy                                       PA0001167815     EMI April Music Inc. / Warner-Tamerlane Publishing Corp.
  484   Loud Noises                                           PA0001808399     EMI April Music Inc. / Warner-Tamerlane Publishing Corp.
  485   One of Those Lives                                    PA0002004472     EMI April Music Inc. / Warner-Tamerlane Publishing Corp.
  486   Take From Me                                          PA0001808393     EMI April Music Inc. / Warner-Tamerlane Publishing Corp.
  487   You Know What                                         PA0001373489     EMI April Music Inc. / Warner-Tamerlane Publishing Corp.
  488   A Milli                                               PA0001651821;    EMI April Music Inc. / Warner-Tamerlane Publishing Corp.
                                                              PA0001646370
  489   Bad Girl                                              PA0001227184;    EMI April Music Inc. / Warner-Tamerlane Publishing Corp.
                                                              PA0001159548
  490   Einstein                                              PA0001851192;    EMI April Music Inc. / Warner-Tamerlane Publishing Corp.
                                                              PA0001771871
  491   Enough Of No Love                                     PA0001850232;    EMI April Music Inc. / Warner-Tamerlane Publishing Corp.
                                                              PA0001833132
  492   Good To Me                                            PA0001016045     EMI April Music Inc. / Warner-Tamerlane Publishing Corp.




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        Track                                                 Reg. No.         Plaintiff
  493   Ground Zero                                           PA0001728545;    EMI April Music Inc. / Warner-Tamerlane Publishing Corp.
                                                              PA0001706473
  494   Gun Shot                                              PA0001868333     EMI April Music Inc. / Warner-Tamerlane Publishing Corp.
  495   Hands in the Air                                      PA0001869999     EMI April Music Inc. / Warner-Tamerlane Publishing Corp.
  496   Hip Hop                                               PA0001852357;    EMI April Music Inc. / Warner-Tamerlane Publishing Corp.
                                                              PA0001874306
  497   Hot Mess                                              PA0001679596;    EMI April Music Inc. / Warner-Tamerlane Publishing Corp.
                                                              PA0001662752
  498   Hustlenomics                                          PA0001648809;    EMI April Music Inc. / Warner-Tamerlane Publishing Corp.
                                                              PA0001648764
  499   I'm A G                                               PA0001648787     EMI April Music Inc. / Warner-Tamerlane Publishing Corp.
  500   Incredible                                            PA0001387427;    EMI April Music Inc. / Warner-Tamerlane Publishing Corp.
                                                              PA0001167536
  501   It's Goin' Down                                       PA0001349210;    EMI April Music Inc. / Warner-Tamerlane Publishing Corp.
                                                              PA0001164441
  502   Last Of A Dying Breed                                 PA0001660091     EMI April Music Inc. / Warner-Tamerlane Publishing Corp.
  503   Legs Shakin'                                          PA0001933961     EMI April Music Inc. / Warner-Tamerlane Publishing Corp.
  504   Living Proof                                          PA0001841719     EMI April Music Inc. / Warner-Tamerlane Publishing Corp.
  505   Pieces Of Me                                          PA0001778259;    EMI April Music Inc. / Warner-Tamerlane Publishing Corp.
                                                              PA0001760343
  506   Rock the Pants                                        PA0001720639     EMI April Music Inc. / Warner-Tamerlane Publishing Corp.
  507   Simple Things                                         PA0001227182;    EMI April Music Inc. / Warner-Tamerlane Publishing Corp.
                                                              PA0001159549
  508   Super Bass                                            PA0001852528     EMI April Music Inc. / Warner-Tamerlane Publishing Corp.
  509   That Ain't Me                                         PA0001745296;    EMI April Music Inc. / Warner-Tamerlane Publishing Corp.
                                                              PA0001744900
  510   That's What It's Made For                             PA0001227183;    EMI April Music Inc. / Warner-Tamerlane Publishing Corp.
                                                              PA0001159550
  511   The Bed                                               PA0001227153;    EMI April Music Inc. / Warner-Tamerlane Publishing Corp.
                                                              PA0001159332
  512   Truth Hurts                                           PA0001227182;    EMI April Music Inc. / Warner-Tamerlane Publishing Corp.
                                                              PA0001159551
  513   We Were Us                                            PA0001878243;    EMI April Music Inc. / Warner-Tamerlane Publishing Corp.
                                                              PA0001947445
  514   Lost In The Sun                                       PA0001641063     EMI Blackwood Music Inc
  515   911                                                   PA0001837905     EMI Blackwood Music Inc.
  516   (I Got That) Boom Boom                                PA0001158397     EMI Blackwood Music Inc.
  517   10 Days Late                                          PA0000986880     EMI Blackwood Music Inc.
  518   Across The World                                      PA0001706677     EMI Blackwood Music Inc.
  519   All About Tonight                                     PA0001716538     EMI Blackwood Music Inc.
  520   All Over Me                                           PA0001732490     EMI Blackwood Music Inc.
  521   Amazin'                                               PA0001640767     EMI Blackwood Music Inc.
  522   Anna Begins                                           PA0000708858     EMI Blackwood Music Inc.
  523   Back When It Was                                      PA0001321505     EMI Blackwood Music Inc.
  524   Bad Things                                            PA0001164354     EMI Blackwood Music Inc.
  525   Ballin'                                               PA0001855548     EMI Blackwood Music Inc.
  526   Bang It Up                                            PA0001626146     EMI Blackwood Music Inc.
  527   Beautiful Mess                                        PA0001073133     EMI Blackwood Music Inc.
  528   Better Than Me                                        PA0001162964     EMI Blackwood Music Inc.
  529   BGTY                                                  PA0001760358     EMI Blackwood Music Inc.
  530   Black Crowns                                          PA0001788405     EMI Blackwood Music Inc.
  531   Bliss (I Don't Wanna Know)                            PA0001162965     EMI Blackwood Music Inc.
  532   Boys 'Round Here                                      PA0001837383     EMI Blackwood Music Inc.
  533   Burning Bright                                        PA0001278083     EMI Blackwood Music Inc.
  534   By The Way                                            PA0001640696     EMI Blackwood Music Inc.
  535   Call Me                                               PA0001601050     EMI Blackwood Music Inc.
  536   Calling                                               PA0001832167     EMI Blackwood Music Inc.
  537   Careless World                                        PA0001788401     EMI Blackwood Music Inc.
  538   Celebrate                                             PA0001775496     EMI Blackwood Music Inc.
  539   Celebration                                           PA0001788393     EMI Blackwood Music Inc.
  540   Circulate                                             PA0001640772     EMI Blackwood Music Inc.
  541   Comin' Home                                           PA0001167517     EMI Blackwood Music Inc.
  542   Contagious                                            PA0001354282     EMI Blackwood Music Inc.
  543   Cool                                                  PA0001160425     EMI Blackwood Music Inc.
  544   Cool                                                  PA0001627481     EMI Blackwood Music Inc.
  545   Crazy Dream                                           PA0001159601     EMI Blackwood Music Inc.
  546   Crazy World                                           PA0001640764     EMI Blackwood Music Inc.
  547   Deuces                                                PA0001738384     EMI Blackwood Music Inc.
  548   Devour                                                PA0001601052     EMI Blackwood Music Inc.
  549   Dime Mi Amor                                          PA0001159602     EMI Blackwood Music Inc.
  550   Dive                                                  PA0001828070     EMI Blackwood Music Inc.
  551   Do It All                                             PA0001788396     EMI Blackwood Music Inc.
  552   Don't You Know                                        PA0001640771     EMI Blackwood Music Inc.
  553   Dreamer                                               PA0001071485     EMI Blackwood Music Inc.
  554   Dust in The Wind                                      RE0000912166     EMI Blackwood Music Inc.
  555   English Town                                          PA0001850285     EMI Blackwood Music Inc.
  556   Even The Stars Fall 4 U                               PA0001947441     EMI Blackwood Music Inc.




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        Track                                                 Reg. No.        Plaintiff
  557   Everybody                                             PA0001592998    EMI Blackwood Music Inc.
  558   Everything Back But You                               PA0001167505    EMI Blackwood Music Inc.
  559   Faded                                                 PA0001788407    EMI Blackwood Music Inc.
  560   Far Away                                              PA0001788325    EMI Blackwood Music Inc.
  561   Far From Home                                         PA0001641064    EMI Blackwood Music Inc.
  562   Fine Again                                            PA0001627411    EMI Blackwood Music Inc.
  563   Get Allot                                             PA0001640710    EMI Blackwood Music Inc.
  564   Get Stoned                                            PA0001162973    EMI Blackwood Music Inc.
  565   Get To Me                                             PA0001867242    EMI Blackwood Music Inc.
  566   Glass                                                 PA0001743265    EMI Blackwood Music Inc.
  567   Good Ole Boys                                         PA0001760428    EMI Blackwood Music Inc.
  568   Goodbye Earl                                          PA0000969189    EMI Blackwood Music Inc.
  569   Heaven                                                PA0001158408    EMI Blackwood Music Inc.
  570   Heaven                                                PA0001159600    EMI Blackwood Music Inc.
  571   Her Heart                                             PA0001768280    EMI Blackwood Music Inc.
  572   Hi-Definitions                                        PA0001600815    EMI Blackwood Music Inc.
  573   Hollywood                                             PA0001159603    EMI Blackwood Music Inc.
  574   Homecoming Queen                                      PA0001162966    EMI Blackwood Music Inc.
  575   Honestly                                              PA0001972855    EMI Blackwood Music Inc.
  576   Honey Bee                                             PA0001760410    EMI Blackwood Music Inc.
  577   How Long                                              PA0001162974    EMI Blackwood Music Inc.
  578   Hurry Baby                                            PA0001910891    EMI Blackwood Music Inc.
  579   Hustlaz Ambition                                      PA0001640768    EMI Blackwood Music Inc.
  580   I Ain't Ready To Quit                                 PA0001728141    EMI Blackwood Music Inc.
  581   I Did It For Sho                                      PA0001627415    EMI Blackwood Music Inc.
  582   I Drive Your Truck                                    PA0001900113    EMI Blackwood Music Inc.
  583   If U Seek Amy                                         PA0001881662    EMI Blackwood Music Inc.
  584   If You Can Do Anything Else                           PA0000981323    EMI Blackwood Music Inc.
  585   If You Only Knew                                      PA0001601046    EMI Blackwood Music Inc.
  586   I'm Gone                                              PA0001788402    EMI Blackwood Music Inc.
  587   In My Business                                        PA0000931051    EMI Blackwood Music Inc.
  588   Independence                                          PA0001728329    EMI Blackwood Music Inc.
  589   International Harvester                               PA0001642429    EMI Blackwood Music Inc.
  590   Involve Yourself                                      PA0001395666    EMI Blackwood Music Inc.
  591   Jaded                                                 PA0001042785    EMI Blackwood Music Inc.
  592   Jesse James                                           PA0000787272    EMI Blackwood Music Inc.
  593   La Contestacion                                       PA0001159599    EMI Blackwood Music Inc.
  594   Lasso                                                 PA0001728410    EMI Blackwood Music Inc.
  595   Last Kiss Goodbye                                     PA0001641015    EMI Blackwood Music Inc.
  596   Lay You Down                                          PA0001788308    EMI Blackwood Music Inc.
  597   Light Dreams                                          PA0001788323    EMI Blackwood Music Inc.
  598   Lips Of An Angel                                      PA0001162967    EMI Blackwood Music Inc.
  599   Little Bit Of Everything                              PA0001947440    EMI Blackwood Music Inc.
  600   Loaded and Alone                                      PA0001641065    EMI Blackwood Music Inc.
  601   Long Distance Interlude                               PA0001641290    EMI Blackwood Music Inc.
  602   Love Ain't Like That                                  PA0000894510    EMI Blackwood Music Inc.
  603   Love Game                                             PA0001788312    EMI Blackwood Music Inc.
  604   Mexicoma                                              PA0001910901    EMI Blackwood Music Inc.
  605   Mine Would Be You                                     PA0001859225    EMI Blackwood Music Inc.
  606   Miss You Being Gone                                   PA0001727845    EMI Blackwood Music Inc.
  607   More Than Love                                        PA0001159604    EMI Blackwood Music Inc.
  608   Muthaf**ka Up                                         PA0001788404    EMI Blackwood Music Inc.
  609   My Happy Ending                                       PA0001159309    EMI Blackwood Music Inc.
  610   My President                                          PA0001697454    EMI Blackwood Music Inc.
  611   N.I.*.*.E.R. (The Slave and the Master)               PA0001396103    EMI Blackwood Music Inc.
  612   No One Gonna Love You                                 PA0001738399    EMI Blackwood Music Inc.
  613   Nobody Else                                           PA0001159606    EMI Blackwood Music Inc.
  614   Nothin' Good About Goodbye                            PA0001162969    EMI Blackwood Music Inc.
  615   Now I Know                                            PA0001162729    EMI Blackwood Music Inc.
  616   Nowhere Fast                                          PA0001642920    EMI Blackwood Music Inc.
  617   Onda                                                  PA0001160202    EMI Blackwood Music Inc.
  618   Out of Character                                      PA0001395668    EMI Blackwood Music Inc.
  619   Parking Lot Party                                     PA0001900112    EMI Blackwood Music Inc.
  620   Pirate Flag                                           PA0001904652    EMI Blackwood Music Inc.
  621   Potty Mouth                                           PA0001783085    EMI Blackwood Music Inc.
  622   Praise You Forever                                    PA0001708382    EMI Blackwood Music Inc.
  623   Prayin' For You/Superman                              PA0001627414    EMI Blackwood Music Inc.
  624   Promise                                               PA0001166650    EMI Blackwood Music Inc.
  625   Pucker Up                                             PA0001649988    EMI Blackwood Music Inc.
  626   Raining In Baltimore                                  PA0000708863    EMI Blackwood Music Inc.
  627   Real Emotions                                         PA0001159607    EMI Blackwood Music Inc.
  628   Red Light                                             PA0001241918    EMI Blackwood Music Inc.
  629   Right There                                           PA0001745930    EMI Blackwood Music Inc.
  630   Room 21                                               PA0001162970    EMI Blackwood Music Inc.
  631   Round Here                                            PA0000708854    EMI Blackwood Music Inc.
  632   Say Goodnight                                         PA0001756544    EMI Blackwood Music Inc.
  633   Second Chance                                         PA0001601042    EMI Blackwood Music Inc.




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        Track                                                 Reg. No.          Plaintiff
  634   See You Again                                         PA0001807700      EMI Blackwood Music Inc.
  635   Senorita                                              PA0001159605      EMI Blackwood Music Inc.
  636   She Thinks My Tractor's Sexy                          PA0000950753      EMI Blackwood Music Inc.
  637   She's So California                                   PA0001695824      EMI Blackwood Music Inc.
  638   Shoulda                                               PA0001162975      EMI Blackwood Music Inc.
  639   Should've Kissed You                                  PA0001772278      EMI Blackwood Music Inc.
  640   Sin With A Grin                                       PA0001601054      EMI Blackwood Music Inc.
  641   Something To Do With My Hands                         PA0001800963      EMI Blackwood Music Inc.
  642   Songbird                                              PA0000330273      EMI Blackwood Music Inc.
  643   Sound Of Madness                                      PA0001601045      EMI Blackwood Music Inc.
  644   Spectrum                                              PA0001832077      EMI Blackwood Music Inc.
  645   Spend That                                            PA0001933956      EMI Blackwood Music Inc.
  646   Stop Cheatin' On Me                                   PA0001907989      EMI Blackwood Music Inc.
  647   Take It To The Limit                                  PA0001641026      EMI Blackwood Music Inc.
  648   Tell Me Why                                           PA0001159608      EMI Blackwood Music Inc.
  649   Ten Times Crazier                                     PA0001859226      EMI Blackwood Music Inc.
  650   That's Why I'm Here                                   PA0000867535      EMI Blackwood Music Inc.
  651   The Best Damn Thing                                   PA0001354251      EMI Blackwood Music Inc.
  652   The Best is Yet to Come                               PA0001641028      EMI Blackwood Music Inc.
  653   The Crow & The Butterfly                              PA0001601051      EMI Blackwood Music Inc.
  654   The Dollar                                            PA0001163958      EMI Blackwood Music Inc.
  655   The More Boys I Meet                                  PA0001590022      EMI Blackwood Music Inc.
  656   The One That Got Away                                 PA0001818449      EMI Blackwood Music Inc.
  657   The Point Of It All                                   PA0001631133      EMI Blackwood Music Inc.
  658   The Recession                                         PA0001640694      EMI Blackwood Music Inc.
  659   The Recession (Intro)                                 PA0001640694      EMI Blackwood Music Inc.
  660   There Goes My Baby                                    PA0001716542      EMI Blackwood Music Inc.
  661   Thing For You                                         PA0001641062      EMI Blackwood Music Inc.
  662   This Is Like                                          PA0001788320      EMI Blackwood Music Inc.
  663   Til I Forget About You                                PA0001733313      EMI Blackwood Music Inc.
  664   Time Flies                                            PA0001807051      EMI Blackwood Music Inc.
  665   U Dont Know Me (Like U Used To)                       PA0000965774      EMI Blackwood Music Inc.
  666   Unwell                                                PA0001104578      EMI Blackwood Music Inc.
  667   Up All Night                                          PA0001641019      EMI Blackwood Music Inc.
  668   Use Me                                                PA0001640932      EMI Blackwood Music Inc.
  669   Vacation                                              PA0001640774      EMI Blackwood Music Inc.
  670   Velvet Sky                                            PA0001159613      EMI Blackwood Music Inc.
  671   Welcome Back                                          PA0001640693      EMI Blackwood Music Inc.
  672   We're Young and Beautiful                             PA0001162893      EMI Blackwood Music Inc.
  673   What A Shame                                          PA0001601047      EMI Blackwood Music Inc.
  674   What About Now                                        PA0001166336      EMI Blackwood Music Inc.
  675   What They Want                                        PA0001640765      EMI Blackwood Music Inc.
  676   When I Grow Up                                        PA0001640788      EMI Blackwood Music Inc.
  677   When You Touch Me                                     PA0001072626      EMI Blackwood Music Inc.
  678   Why                                                   PA0001660621      EMI Blackwood Music Inc.
  679   Wine After Whiskey                                    PA0001807696      EMI Blackwood Music Inc.
  680   Without You                                           PA0001641023      EMI Blackwood Music Inc.
  681   You Lie                                               PA0001728328      EMI Blackwood Music Inc.
  682   Your Man                                              PA0001163481      EMI Blackwood Music Inc.
  683   Chemicals Collide                                     PA0001735285      EMI Blackwood Music Inc. / EMI April Music Inc.
  684   Hey You                                               PA0001831262      EMI Blackwood Music Inc. / EMI April Music Inc.
  685   I Decided                                             PA0001608769      EMI Blackwood Music Inc. / EMI April Music Inc.
  686   Ode to Marvin                                         PA0001608798      EMI Blackwood Music Inc. / EMI April Music Inc.
  687   Party Ain't Over                                      PA0001833663      EMI Blackwood Music Inc. / EMI April Music Inc.
  688   Real Thing                                            PA0001735194      EMI Blackwood Music Inc. / EMI April Music Inc.
  689   Sandcastle Disco                                      PA0001615101      EMI Blackwood Music Inc. / EMI April Music Inc.
  690   Take You Out                                          PA0001068165      EMI Blackwood Music Inc. / EMI April Music Inc.
  691   The Great Escape                                      PA0001165808      EMI Blackwood Music Inc. / EMI April Music Inc.
  692   What About Us?                                        PA0001072616      EMI Blackwood Music Inc. / EMI April Music Inc.
  693   Would've Been the One                                 PA0001608779      EMI Blackwood Music Inc. / EMI April Music Inc.
  694   Hot In Here                                           PA0001853118;     EMI Blackwood Music Inc./ EMI April Music Inc. / W Chappell Music Corp. d/b/a WC Music Corp. /
                                                              PA0001790447;     Warner Chappell Music, Inc.
                                                              PA0001910894
  695   Lil Freak                                             PA0001700473      EMI Blackwood Music Inc./ Jobete Music Co. Inc./ EMI April Music Inc.
  696   Ay Chico (Lengua Afuera)                              PA0001166251      EMI Blackwood Music Inc./ Sony/ATV Music Publishing LLC
  697   Back in Time                                          PA0001833789      EMI Blackwood Music Inc./ Sony/ATV Music Publishing LLC
  698   Black Leather Jacket                                  PA0001947438      EMI Blackwood Music Inc./ Sony/ATV Music Publishing LLC
  699   Blame It On Waylon                                    PA0001896309      EMI Blackwood Music Inc./ Sony/ATV Music Publishing LLC
  700   Clarity                                               PA0001832089      EMI Blackwood Music Inc./ Sony/ATV Music Publishing LLC
  701   Glad You're Here                                      PA0001167415      EMI Blackwood Music Inc./ Sony/ATV Music Publishing LLC
  702   Ice Cold                                              PA0001854208      EMI Blackwood Music Inc./ Sony/ATV Music Publishing LLC
  703   I'm Off That                                          PA0001833780      EMI Blackwood Music Inc./ Sony/ATV Music Publishing LLC
  704   Last Night                                            PA0001833744      EMI Blackwood Music Inc./ Sony/ATV Music Publishing LLC
  705   Love's Poster Child                                   PA0001947446      EMI Blackwood Music Inc./ Sony/ATV Music Publishing LLC
  706   Show Me                                               PA0001933694      EMI Blackwood Music Inc./ Sony/ATV Music Publishing LLC
  707   Love In This Club                                     PA0001690182;     EMI Blackwood Music Inc./ Sony/ATV Music Publishing LLC / EMI April Music Inc. / Warner-
                                                              PA0001659003      Tamerlane Publishing Corp.




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        Track                                                 Reg. No.          Plaintiff
  708   Love in This Club, Pt. II                             PA0001658976      EMI Blackwood Music Inc./ Sony/ATV Music Publishing LLC / EMI April Music Inc. / Warner-
                                                                                Tamerlane Publishing Corp.
  709   Untitled                                              PA0001735849      EMI Blackwood Music Inc./ Unichappell Music Inc.
  710   Angel                                                 PA0001976122      EMI Blackwood Music Inc./ W Chappell Music Corp. d/b/a WC Music Corp.
  711   Anywhere With You                                     PA0001917492      EMI Blackwood Music Inc./ W Chappell Music Corp. d/b/a WC Music Corp.
  712   Don't Pay 4 It                                        PA0001852368      EMI Blackwood Music Inc./ W Chappell Music Corp. d/b/a WC Music Corp.
  713   Everything                                            PA0001640776      EMI Blackwood Music Inc./ W Chappell Music Corp. d/b/a WC Music Corp.
  714   For The Fame                                          PA0001814505;     EMI Blackwood Music Inc./ W Chappell Music Corp. d/b/a WC Music Corp.
                                                              PA0001788406
  715   Gimmie That Girl                                      PA0001741424      EMI Blackwood Music Inc./ W Chappell Music Corp. d/b/a WC Music Corp.
  716   How Many Drinks?                                      PA0001832802;     EMI Blackwood Music Inc./ W Chappell Music Corp. d/b/a WC Music Corp.
                                                              PA0001917890
  717   It Was Faith                                          PA0001657887      EMI Blackwood Music Inc./ W Chappell Music Corp. d/b/a WC Music Corp.
  718   King & Queens                                         PA0001814504;     EMI Blackwood Music Inc./ W Chappell Music Corp. d/b/a WC Music Corp.
                                                              PA0001788319
  719   Red Lipstick                                          PA0001771886;     EMI Blackwood Music Inc./ W Chappell Music Corp. d/b/a WC Music Corp.
                                                              PA0001786336
  720   The Shape I'm In                                      PA0001741424;     EMI Blackwood Music Inc./ W Chappell Music Corp. d/b/a WC Music Corp.
                                                              PA0001717909
  721   Up To You                                             PA0001750517      EMI Blackwood Music Inc./ W Chappell Music Corp. d/b/a WC Music Corp.
  722   Cameltosis                                            PA0001058923      EMI Blackwood Music Inc./ W Chappell Music Corp. d/b/a WC Music Corp.
  723   Fingerprints                                          PA0001687080      EMI Blackwood Music Inc./ W Chappell Music Corp. d/b/a WC Music Corp.
  724   Generation Away                                       PA0001864847      EMI Blackwood Music Inc./ W Chappell Music Corp. d/b/a WC Music Corp. / W.C.M. Music Corp.

  725   Play It Again                                         PA0001870876;     EMI Blackwood Music Inc./ W Chappell Music Corp. d/b/a WC Music Corp. / Warner Chappell Music,
                                                              PA0001967424      Inc.
  726   100 Favors                                            PA0001976129      EMI Blackwood Music Inc./ W Chappell Music Corp. d/b/a WC Music Corp. / Warner-Tamerlane
                                                                                Publishing Corp.
  727   3 a.m.                                                PA0001848044;     EMI Blackwood Music Inc./ W Chappell Music Corp. d/b/a WC Music Corp. / Warner-Tamerlane
                                                              PA0001707168      Publishing Corp.
  728   Back in the Day                                       PA0001693859;     EMI Blackwood Music Inc./ W Chappell Music Corp. d/b/a WC Music Corp. / Warner-Tamerlane
                                                              PA0001707143      Publishing Corp.
  729   Bottoms Up                                            PA0001856248;     EMI Blackwood Music Inc./ W Chappell Music Corp. d/b/a WC Music Corp. / Warner-Tamerlane
                                                              PA0001747296      Publishing Corp.
  730   Deja Vu                                               PA0001848045;     EMI Blackwood Music Inc./ W Chappell Music Corp. d/b/a WC Music Corp. / Warner-Tamerlane
                                                              PA0001706428      Publishing Corp.
  731   Good Good Night                                       PA0001825014;     EMI Blackwood Music Inc./ W Chappell Music Corp. d/b/a WC Music Corp. / Warner-Tamerlane
                                                              PA0001814345      Publishing Corp.
  732   Insane                                                PA0001848044;     EMI Blackwood Music Inc./ W Chappell Music Corp. d/b/a WC Music Corp. / Warner-Tamerlane
                                                              PA0001666843      Publishing Corp.
  733   Kick It In The Sticks                                 PA0001693858;     EMI Blackwood Music Inc./ W Chappell Music Corp. d/b/a WC Music Corp. / Warner-Tamerlane
                                                              PA0001707147      Publishing Corp.
  734   Must Be The Ganja                                     PA0001848040;     EMI Blackwood Music Inc./ W Chappell Music Corp. d/b/a WC Music Corp. / Warner-Tamerlane
                                                              PA0001706429      Publishing Corp.
  735   My Kind of Crazy                                      PA0001693858;     EMI Blackwood Music Inc./ W Chappell Music Corp. d/b/a WC Music Corp. / Warner-Tamerlane
                                                              PA0001707144      Publishing Corp.
  736   Old Time's Sake                                       PA0001848040;     EMI Blackwood Music Inc./ W Chappell Music Corp. d/b/a WC Music Corp. / Warner-Tamerlane
                                                              PA0001706421      Publishing Corp.
  737   So Bad                                                PA0001861898;     EMI Blackwood Music Inc./ W Chappell Music Corp. d/b/a WC Music Corp. / Warner-Tamerlane
                                                              PA0001730981      Publishing Corp.
  738   Stay Wide Awake                                       PA0001848044;     EMI Blackwood Music Inc./ W Chappell Music Corp. d/b/a WC Music Corp. / Warner-Tamerlane
                                                              PA0001943940      Publishing Corp.
  739   Take It To The Head                                   PA0001852373;     EMI Blackwood Music Inc./ W Chappell Music Corp. d/b/a WC Music Corp. / Warner-Tamerlane
                                                              PA0001844665      Publishing Corp.
  740   No Such Thing As Too Late                             PA0001835409;     EMI Blackwood Music Inc./ W.C.M. Music Corp.
                                                              PA0001882752
  741   Sunburnt Lips                                         PA0001884828      EMI Blackwood Music Inc./ W.C.M. Music Corp.
  742   Drink to That All Night                               PA0001953394;     EMI Blackwood Music Inc./ W.C.M. Music Corp. / W Chappell Music Corp. d/b/a WC Music Corp.
                                                              PA0001910988
  743   Get Out Of This Town                                  PA0001590007;     EMI Blackwood Music Inc./ Warner Chappell Music, Inc.
                                                              PA0001396401
  744   Push Up On Me                                         PA0001167699      EMI Blackwood Music Inc./ Warner Chappell Music, Inc.
  745   Fuego                                                 PA0001884048      EMI Blackwood Music Inc./ Warner-Tamerlane Publishing Corp.
  746   I Don't See 'Em                                       PA0002071585      EMI Blackwood Music Inc./ Warner-Tamerlane Publishing Corp.
  747   Manager                                               PA0001647731      EMI Blackwood Music Inc./ Warner-Tamerlane Publishing Corp.
  748   Alone                                                 PA0001856241;     EMI Blackwood Music Inc./ Warner-Tamerlane Publishing Corp.
                                                              PA0001786329
  749   Blind                                                 PA0001771887;     EMI Blackwood Music Inc./ Warner-Tamerlane Publishing Corp.
                                                              PA0001728367
  750   Burn The House                                        PA0001976123      EMI Blackwood Music Inc./ Warner-Tamerlane Publishing Corp.
  751   Can't Be Friends                                      PA0001856245;     EMI Blackwood Music Inc./ Warner-Tamerlane Publishing Corp.
                                                              PA0001787041
  752   Duffle Bag Boy                                        PA0001680553;     EMI Blackwood Music Inc./ Warner-Tamerlane Publishing Corp.
                                                              PA0001590878
  753   Echoes Interlude                                      PA0001814506;     EMI Blackwood Music Inc./ Warner-Tamerlane Publishing Corp.
                                                              PA0001788398




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        Track                                                     Reg. No.          Plaintiff
  754   Goodies                                                   PA0001263487;     EMI Blackwood Music Inc./ Warner-Tamerlane Publishing Corp.
                                                                  PA0001241896,
                                                                  PA0001352650
  755   High                                                      PA0001808178      EMI Blackwood Music Inc./ Warner-Tamerlane Publishing Corp.
  756   I'm A Dog                                                 PA0001058124;     EMI Blackwood Music Inc./ Warner-Tamerlane Publishing Corp.
                                                                  PA0001114111
  757   Let It Show                                               PA0001802342;     EMI Blackwood Music Inc./ Warner-Tamerlane Publishing Corp.
                                                                  PA0001788316
  758   Live Your Life                                            PA0001850546;     EMI Blackwood Music Inc./ Warner-Tamerlane Publishing Corp.
                                                                  PA0001654952
  759   Massage                                                   PA0001856242;     EMI Blackwood Music Inc./ Warner-Tamerlane Publishing Corp.
                                                                  PA0001786345
  760   Motivation                                                PA0001763331;     EMI Blackwood Music Inc./ Warner-Tamerlane Publishing Corp.
                                                                  PA0001760929
  761   No Worries                                                PA0001842289;     EMI Blackwood Music Inc./ Warner-Tamerlane Publishing Corp.
                                                                  PA0001885790
  762   Number One                                                PA0001299027;     EMI Blackwood Music Inc./ Warner-Tamerlane Publishing Corp.
                                                                  PA0001160616
  763   Triple Beam Dream                                         PA0001868417      EMI Blackwood Music Inc./ Warner-Tamerlane Publishing Corp.
  764   We Owned The Night                                        PA0001817027      EMI Blackwood Music Inc./ Warner-Tamerlane Publishing Corp.
  765   Body Party                                                PA0001898101      EMI Blackwood Music Inc./ Warner-Tamerlane Publishing Corp. / W Chappell Music Corp. d/b/a WC
                                                                                    Music Corp.
  766   Up In It                                                  PA0001834384;     EMI Blackwood Music Inc./ Warner-Tamerlane Publishing Corp. / W.C.M. Music Corp.
                                                                  PA0001951620
  767   Let's Get Lifted                                          PA0001160615      EMI Blackwood Music, Inc.
  768   Paris, Tokyo                                              PA0001600832      EMI Consortium Music Publishing Inc. d/b/a EMI Full Keel Music
  769   She's Got It All                                          PA0000886673      EMI Consortium Music Publishing Inc. d/b/a EMI Full Keel Music
  770   Angel Flying Too Close To The Ground                      PA0000049322      EMI Consortium Songs Inc. d/b/a EMI Longitude Music
  771   The Only Way                                              PA0001163482      EMI Consortium Songs Inc. d/b/a EMI Longitude Music
  772   A Baltimore Love Thing                                    PA0001160841      EMI Consortium Songs Inc. d/b/a EMI Longitude Music
  773   Commander (feat. David Guetta)                            PA0001750325      EMI Entertainment World Inc. d/b/a EMI Foray Music
  774   Feelin Me Right Now                                       PA0001760951      EMI Entertainment World Inc. d/b/a EMI Foray Music
  775   I'm Just Sayin'                                           PA0001807726      EMI Entertainment World Inc. d/b/a EMI Foray Music
  776   2012                                                      PA0001842279      EMI Entertainment World Inc. d/b/a EMI Foray Music / Warner-Tamerlane Publishing Corp.
  777   Trucker Anthem                                            PA0001058125;     EMI Feist Catalog Inc. / Warner-Tamerlane Publishing Corp.
                                                                  PA0001142644
  778   Gatman And Robbin'                                        PA0001160842      EMI Miller Catalog Inc.
  779   Mighty "O"                                                PA0001165509      EMI Mills Music, Inc.
  780   Down With The King                                        PA0001143443      EMI U Catalog Inc.
  781   Forbidden Fruit                                           PA0001975701      EMI Unart Catalog Inc.
  782   Let It Roll                                               PA0001887832      EMI Unart Catalog Inc. / Sony/ATV Music Publishing LLC
  783   Blowin' Up Your Speakers                                  PA0001158291      Famous Music LLC
  784   Forgiveness                                               PA0001158290      Famous Music LLC
  785   Good Enough For Now                                       PA0000311496      Famous Music LLC
  786   I'll Still Kill                                           PA0001645337      Famous Music LLC
  787   Nature Trail To Hell                                      PA0000205633      Famous Music LLC
  788   Talk About Our Love                                       PA0001281568      Intersong U.S.A., Inc.
  789   Two Words                                                 PA0001292803      Intersong U.S.A., Inc.
  790   Gotta Have It                                             PA0001762033      Intersong U.S.A., Inc. / W Chappell Music Corp. d/b/a WC Music Corp.
  791   No Church In The Wild                                     PA0001762032      Intersong U.S.A., Inc. / W Chappell Music Corp. d/b/a WC Music Corp.
  792   Otis                                                      PA0001762031      Intersong U.S.A., Inc. / W Chappell Music Corp. d/b/a WC Music Corp.
  793   Hitch Hike                                                Eu0000750856;     Jobete Music Co Inc. / Stone Agate Music (a division of Jobete Music Co. Inc.)
                                                                  RE0000498339
  794   If I Could Build My Whole World Around You                EP0000229884      Jobete Music Co Inc. / Stone Agate Music (a division of Jobete Music Co. Inc.)
  795   What's Going On                                           EP0000281238      Jobete Music Co Inc. / Stone Agate Music (a division of Jobete Music Co. Inc.)
  796   You                                                       EP0000232619      Jobete Music Co Inc. / Stone Agate Music (a division of Jobete Music Co. Inc.)
  797   Ain't Nothing Like The Real Thing                         EP0000234188      Jobete Music Co. Inc.
  798   Ain't That Peculiar                                       EP0000203959      Jobete Music Co. Inc.
  799   Come Get To This                                          EP0000315837      Jobete Music Co. Inc.
  800   Dance (Ass)                                               PA0001760422      Jobete Music Co. Inc.
  801   Distant Lover                                             EP0000291366      Jobete Music Co. Inc.
  802   Good Lovin' Ain't Easy To Come By                         EP0000254456      Jobete Music Co. Inc.
  803   I Ain't Mad At Cha                                        PA0001070600      Jobete Music Co. Inc.
  804   I'll Be Doggone                                           EP0000198501      Jobete Music Co. Inc.
  805   Inner City Blues (Make Me Wanna Holler)                   EP0000287807      Jobete Music Co. Inc.
  806   Mercy Mercy Me (The Ecology)                              EP0000288939      Jobete Music Co. Inc.
  807   Never Can Say Goodbye                                     Eu0000187089      Jobete Music Co. Inc.
  808   Stay Fly                                                  PA0001328092      Jobete Music Co. Inc.
  809   The Onion Song                                            EP0000259283      Jobete Music Co. Inc.
  810   Too Busy Thinking About My Baby                           EP0000219339      Jobete Music Co. Inc.
  811   Trouble Man                                               EP0000307204      Jobete Music Co. Inc.
  812   When Did You Stop Loving Me, When Did I Stop Loving You   PA0000041232      Jobete Music Co. Inc.
  813   Your Precious Love                                        EP0000232154      Jobete Music Co. Inc.
  814   You're A Wonderful One                                    EP0000330074      Jobete Music Co. Inc.
  815   You're All I Need To Get By                               EP0000248214      Jobete Music Co. Inc.
  816   Anger                                                     PA0000041233      Jobete Music Co. Inc./ Stone Diamond Music Corp.
  817   Let's Get It On                                           EP0000314589      Jobete Music Co. Inc./ Stone Diamond Music Corp.




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        Track                                                 Reg. No.          Plaintiff
  818   Die In Your Arms                                      PA0001793961      Jobete Music Co. Inc./ W Chappell Music Corp. d/b/a WC Music Corp.
  819   Anything                                              PA0000664027      Music Corporation of America
  820   Cat People (Putting Out Fire)                         PA0000131825      Music Corporation of America
  821   Fine Time                                             PA0000810654      Music Corporation of America
  822   For Tha Love Of $                                     PA0000713004      Music Corporation of America
  823   Hand In My Pocket                                     PA0000705730      Music Corporation of America
  824   Head Over Feet                                        PA0000705734      Music Corporation of America
  825   Ironic                                                PA0000705736      Music Corporation of America
  826   It's About Time                                       PA0000689802      Music Corporation of America
  827   Right Here                                            PA0000665447      Music Corporation of America
  828   SWV (In The House)                                    PA0000664036      Music Corporation of America
  829   That's What I'm Here For                              PA0000810658      Music Corporation of America
  830   Thug Luv                                              PA0000943396      Music Corporation of America
  831   Unconditional Love                                    PA0000980713      Music Corporation of America
  832   Weak                                                  PA0000664030      Music Corporation of America
  833   You Learn                                             PA0000705733      Music Corporation of America
  834   You Oughta Know                                       PA0000705728      Music Corporation of America
  835   1/2 Full                                              PA0001134600      Polygram Publishing, Inc.
  836   All or None                                           PA0001134602      Polygram Publishing, Inc.
  837   Anybody Seen My Baby?                                 PA0000863872;     Polygram Publishing, Inc.
                                                              PA0000938844
  838   Arc                                                   PA0001134601      Polygram Publishing, Inc.
  839   Army Reserve                                          PA0001701781      Polygram Publishing, Inc.
  840   Around The Bend                                       PAu002141246      Polygram Publishing, Inc.
  841   Babylon                                               PA0000340645      Polygram Publishing, Inc.
  842   Big Wave                                              PA0001701775      Polygram Publishing, Inc.
  843   Black                                                 PA0000544550      Polygram Publishing, Inc.
  844   Blinding                                              PA0001892797      Polygram Publishing, Inc.
  845   Blue Eyes                                             PA0000148270      Polygram Publishing, Inc.
  846   Breakerfall                                           PA0001006823      Polygram Publishing, Inc.
  847   Breathe On Me                                         PA0001219076      Polygram Publishing, Inc.
  848   Bu$hleaguer                                           PA0001134599      Polygram Publishing, Inc.
  849   Bugs                                                  PA0000663647      Polygram Publishing, Inc.
  850   Candle In The Wind 1997                               PA0000861158      Polygram Publishing, Inc.
  851   Can't Keep                                            PA0001134588      Polygram Publishing, Inc.
  852   Come Back                                             PA0001701782      Polygram Publishing, Inc.
  853   Criminal                                              PA0001767537      Polygram Publishing, Inc.
  854   Cropduster                                            PA0001134591      Polygram Publishing, Inc.
  855   Daughter                                              PA0000669753      Polygram Publishing, Inc.
  856   Deep                                                  PA0000544551      Polygram Publishing, Inc.
  857   Delayed Devotion                                      PA0001698343      Polygram Publishing, Inc.
  858   Down And Out                                          PA0000126583      Polygram Publishing, Inc.
  859   Evacuation                                            PA0001006825      Polygram Publishing, Inc.
  860   Even Flow                                             PA0000544552      Polygram Publishing, Inc.
  861   Evil Ways                                             RE0000774048      Polygram Publishing, Inc.
  862   Garden                                                PA0000544553      Polygram Publishing, Inc.
  863   Get Right                                             PA0001134596      Polygram Publishing, Inc.
  864   Ghost                                                 PA0001134592      Polygram Publishing, Inc.
  865   Gods' Dice                                            PA0001006824      Polygram Publishing, Inc.
  866   Gone                                                  PA0001701776      Polygram Publishing, Inc.
  867   Good Hearted Woman                                    RE0000664954      Polygram Publishing, Inc.
  868   Green Disease                                         PA0001134597      Polygram Publishing, Inc.
  869   Grievance                                             PA0001006831      Polygram Publishing, Inc.
  870   Habit                                                 PAu002141247      Polygram Publishing, Inc.
  871   Heavy In Your Arms                                    PA0001776732      Polygram Publishing, Inc.
  872   Help Help                                             PA0001134598      Polygram Publishing, Inc.
  873   Higher Ground                                         PA0000798022      Polygram Publishing, Inc.
  874   Howl                                                  PA0001892798      Polygram Publishing, Inc.
  875   I Ain't Never                                         EU0000580612;     Polygram Publishing, Inc.
                                                              RE0000346333
  876   I Guess That's Why They Call It The Blues             PA0000176776      Polygram Publishing, Inc.
  877   If It Happens Again                                   PA0000798031      Polygram Publishing, Inc.
  878   If It Kills Me                                        PA0001679623      Polygram Publishing, Inc.
  879   I'm Only Me When I'm With You                         PA0001624202      Polygram Publishing, Inc.
  880   I'm Open                                              PAu002141245      Polygram Publishing, Inc.
  881   I'm Still Standing                                    PA0000262822      Polygram Publishing, Inc.
  882   In My Tree                                            PAu002141250      Polygram Publishing, Inc.
  883   Inside Job                                            PA0001701783      Polygram Publishing, Inc.
  884   Inside Your Heaven                                    PA0001292859      Polygram Publishing, Inc.
  885   Insignificance                                        PA0001006829      Polygram Publishing, Inc.
  886   It Must Be Love                                       PA0000057204;     Polygram Publishing, Inc.
                                                              PA0000018884
  887   It's Not Enough                                       PA0000457166      Polygram Publishing, Inc.
  888   Just Don't                                            PA0001752532      Polygram Publishing, Inc.
  889   Keep Walkin' On                                       PA0000583382      Polygram Publishing, Inc.
  890   Last Exit                                             PA0000663639      Polygram Publishing, Inc.
  891   Leatherman                                            PA0001146750      Polygram Publishing, Inc.




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        Track                                                 Reg. No.          Plaintiff
  892   Life Wasted                                           PA0001701738      Polygram Publishing, Inc.
  893   Little Jeannie                                        PA0000094296      Polygram Publishing, Inc.
  894   Love Boat Captain                                     PA0001134590      Polygram Publishing, Inc.
  895   Love For A Child                                      PA0001679625      Polygram Publishing, Inc.
  896   Love Me                                               PA0001816048      Polygram Publishing, Inc.
  897   Love Rescue Me                                        PA0000410155      Polygram Publishing, Inc.
  898   Lukin                                                 PAu002141242      Polygram Publishing, Inc.
  899   Mankind                                               PAu002141244      Polygram Publishing, Inc.
  900   Marina Del Rey                                        PA0000132713      Polygram Publishing, Inc.
  901   Marker In The Sand                                    PA0001701759      Polygram Publishing, Inc.
  902   Mercy                                                 PA0001698348      Polygram Publishing, Inc.
  903   Monkey Man                                            PA0000086306      Polygram Publishing, Inc.
  904   My Dear Mr. Gaye                                      PA0000237265      Polygram Publishing, Inc.
  905   Nikita                                                PA0000267371      Polygram Publishing, Inc.
  906   Nobody In His Right Mind Would've Left Her            PA0000310517;     Polygram Publishing, Inc.
                                                              PA0000088151
  907   Oceans                                                PA0000544555      Polygram Publishing, Inc.
  908   Of The Girl                                           PA0001006830      Polygram Publishing, Inc.
  909   On & On                                               PA0000741101      Polygram Publishing, Inc.
  910   Once                                                  PA0000544557      Polygram Publishing, Inc.
  911   One In Ten                                            PA0000820149      Polygram Publishing, Inc.
  912   Parachutes                                            PA0001701764      Polygram Publishing, Inc.
  913   Parting Ways                                          PA0001006835      Polygram Publishing, Inc.
  914   Porch                                                 PA0000544556      Polygram Publishing, Inc.
  915   Present Tense                                         PAu002141243      Polygram Publishing, Inc.
  916   Pry, To                                               PA0000663645      Polygram Publishing, Inc.
  917   Radio                                                 PA0001752514      Polygram Publishing, Inc.
  918   Raining On Sunday                                     PA0000919724      Polygram Publishing, Inc.
  919   Rather Be feat. Jess Glynne                           PA0002008748      Polygram Publishing, Inc.
  920   Red Mosquito                                          PAu002141240      Polygram Publishing, Inc.
  921   Release                                               PA0000544558      Polygram Publishing, Inc.
  922   Right As Rain                                         PA0001735121      Polygram Publishing, Inc.
  923   Rival                                                 PA0001006832      Polygram Publishing, Inc.
  924   Runnin' Wit No Breaks                                 PA0000896405      Polygram Publishing, Inc.
  925   Sacrifice                                             PA0000445454      Polygram Publishing, Inc.
  926   Satan's Bed                                           PA0000663648      Polygram Publishing, Inc.
  927   Should've Been A Cowboy                               PA0000606001      Polygram Publishing, Inc.
  928   Sleight Of Hand                                       PA0001006833      Polygram Publishing, Inc.
  929   Smile                                                 PAu002141249      Polygram Publishing, Inc.
  930   Sometimes                                             PAu002141252      Polygram Publishing, Inc.
  931   Song For Guy                                          PA0000017378      Polygram Publishing, Inc.
  932   Soon Forget                                           PA0001006834      Polygram Publishing, Inc.
  933   Stepping Stone                                        PA0001698359      Polygram Publishing, Inc.
  934   Strangeness And Charm                                 PA0001781742      Polygram Publishing, Inc.
  935   Stupidmop                                             PA0000663652      Polygram Publishing, Inc.
  936   Thin Air                                              PA0001006828      Polygram Publishing, Inc.
  937   Thumbing My Way                                       PA0001134594      Polygram Publishing, Inc.
  938   Today My World Slipped Away                           PA0000094587      Polygram Publishing, Inc.
  939   Toxic                                                 PA0001287636      Polygram Publishing, Inc.
  940   Tremor Christ                                         PA0000663642      Polygram Publishing, Inc.
  941   Unemployable                                          PA0001701773      Polygram Publishing, Inc.
  942   Unwound                                               PA0000126622      Polygram Publishing, Inc.
  943   Wasted Reprise                                        PA0001701779      Polygram Publishing, Inc.
  944   Whipping                                              PA0000663644      Polygram Publishing, Inc.
  945   Why Go                                                PA0000544559      Polygram Publishing, Inc.
  946   Work                                                  PA0001981018      Polygram Publishing, Inc.
  947   World Wide Suicide                                    PA0001701741      Polygram Publishing, Inc.
  948   Yellow Ledbetter                                      PA0000756318      Polygram Publishing, Inc.
  949   You Give Love A Bad Name                              PA0000315520      Polygram Publishing, Inc.
  950   You Know Me Better Than That                          PA0000511213      Polygram Publishing, Inc.
  951   (White Man) in Hammersmith Palais                     PA0000066409      Polygram Publishing, Inc.
  952   A Man I'll Never Be                                   PA0000014792      Polygram Publishing, Inc.
  953   Achy Breaky Song                                      PA0000713892      Polygram Publishing, Inc.
  954   Amanda                                                PA0000312407      Polygram Publishing, Inc.
  955   Amish Paradise                                        PA0000809516      Polygram Publishing, Inc.
  956   Angel                                                 PA0000342822      Polygram Publishing, Inc.
  957   Animals (Original Mix)                                PA0001899929      Polygram Publishing, Inc.
  958   Another Night                                         PA0000795554      Polygram Publishing, Inc.
  959   Back To You                                           PA0001120340      Polygram Publishing, Inc.
  960   Bad Day                                               PA0001025285      Polygram Publishing, Inc.
  961   Bittersweet                                           PA0000893227      Polygram Publishing, Inc.
  962   Breathe                                               PA0000999862      Polygram Publishing, Inc.
  963   Can't Stop The Rain                                   PA0001991134      Polygram Publishing, Inc.
  964   Clash City Rockers                                    PA0000066407      Polygram Publishing, Inc.
  965   Complete Control                                      PA0000066408      Polygram Publishing, Inc.
  966   Cool The Engines                                      PA0000312410      Polygram Publishing, Inc.
  967   Days With You                                         PA0001245154      Polygram Publishing, Inc.




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        Track                                                 Reg. No.          Plaintiff
  968   Die Like This                                         PA0001245156      Polygram Publishing, Inc.
  969   Don't Break My Heart                                  PA0000781963      Polygram Publishing, Inc.
  970   Don't Let Me Be The Last One To Know                  PA0001010089      Polygram Publishing, Inc.
  971   Don't Look Back                                       PA0000014789      Polygram Publishing, Inc.
  972   Down                                                  PA0001025288      Polygram Publishing, Inc.
  973   Down Inside Of You                                    PA0001245163      Polygram Publishing, Inc.
  974   Easy                                                  PA0001025287      Polygram Publishing, Inc.
  975   Empty Spaces                                          PA0001025283      Polygram Publishing, Inc.
  976   English Civil War                                     PA0000044735      Polygram Publishing, Inc.
  977   Falls On Me                                           PA0001245161      Polygram Publishing, Inc.
  978   Feelin' Satisfied                                     PA0000014793      Polygram Publishing, Inc.
  979   Garageland                                            PA0000044756      Polygram Publishing, Inc.
  980   Getting Thru?                                         PA0001245157      Polygram Publishing, Inc.
  981   Gone Country                                          PA0000642408      Polygram Publishing, Inc.
  982   Hate & War                                            PA0000044748      Polygram Publishing, Inc.
  983   Hemorrhage (In My Hands)                              PA0001025282      Polygram Publishing, Inc.
  984   Hideaway                                              PA0000893223      Polygram Publishing, Inc.
  985   Higher Power (Kalodner Edit)                          PA0000863654      Polygram Publishing, Inc.
  986   Home By Now/No Matter What                            PA0001144121      Polygram Publishing, Inc.
  987   I Ain't In Checotah Anymore                           PA0001327781      Polygram Publishing, Inc.
  988   I Was Country When Country Wasn't Cool                PA0000126702      Polygram Publishing, Inc.
  989   I'm So Bored with the U.S.A.                          PA0000044746      Polygram Publishing, Inc.
  990   Innocent                                              PA0001025291      Polygram Publishing, Inc.
  991   Is Nothing Sacred                                     PA0000936094      Polygram Publishing, Inc.
  992   It's Come To This                                     PA0000893229      Polygram Publishing, Inc.
  993   Janie Jones                                           PA0000044744      Polygram Publishing, Inc.
  994   Jesus Or A Gun                                        PA0000893225      Polygram Publishing, Inc.
  995   Jurassic Park                                         PA0000713893      Polygram Publishing, Inc.
  996   Knives                                                PA0001025290      Polygram Publishing, Inc.
  997   Last Time                                             PA0001025281      Polygram Publishing, Inc.
  998   Livin' For You                                        PAu001802362      Polygram Publishing, Inc.
  999   London's Burning                                      PA0000044751      Polygram Publishing, Inc.
 1000   Love Gun                                              PA0001727659      Polygram Publishing, Inc.
 1001   Luck                                                  PA0001245155      Polygram Publishing, Inc.
 1002   Mary Pretends                                         PA0000893220      Polygram Publishing, Inc.
 1003   Million Miles                                         PA0001245162      Polygram Publishing, Inc.
 1004   Most Of All                                           PA0001245158      Polygram Publishing, Inc.
 1005   New Thing                                             PA0000893230      Polygram Publishing, Inc.
 1006   No More I Love You's                                  PA0000753262      Polygram Publishing, Inc.
 1007   Ozone                                                 PA0000893222      Polygram Publishing, Inc.
 1008   Prove                                                 PA0001025286      Polygram Publishing, Inc.
 1009   Rat In Mi Kitchen                                     PA0000779746      Polygram Publishing, Inc.
 1010   Recognize                                             PA0000896403      Polygram Publishing, Inc.
 1011   Running Away                                          PA0001245159      Polygram Publishing, Inc.
 1012   Safe European Home                                    PA0000044734      Polygram Publishing, Inc.
 1013   Scar                                                  PA0001025284      Polygram Publishing, Inc.
 1014   Shimmer                                               PA0000893226      Polygram Publishing, Inc.
 1015   Shotz To Tha Double Glock                             PA0000767835      Polygram Publishing, Inc.
 1016   Sing Our Own Song                                     PA0000779749      Polygram Publishing, Inc.
 1017   Slow                                                  PA0001025292      Polygram Publishing, Inc.
 1018   So Many Ways                                          PA0000896404      Polygram Publishing, Inc.
 1019   Solace                                                PA0001025289      Polygram Publishing, Inc.
 1020   Someone                                               PA0001003696      Polygram Publishing, Inc.
 1021   Song For You                                          PA0000893221      Polygram Publishing, Inc.
 1022   Stay Free                                             PA0000044740      Polygram Publishing, Inc.
 1023   Tell Me                                               PA0000863655      Polygram Publishing, Inc.
 1024   The Best Day                                          PA0001028241      Polygram Publishing, Inc.
 1025   The Motto                                             PA0001804402      Polygram Publishing, Inc.
 1026   The Star Spangled Banner                              PA0000863656      Polygram Publishing, Inc.
 1027   These Things                                          PA0001245160      Polygram Publishing, Inc.
 1028   Tommy Gun                                             PA0000044736      Polygram Publishing, Inc.
 1029   Train In Vain                                         PA0000066125      Polygram Publishing, Inc.
 1030   Untitled                                              PA0000893228      Polygram Publishing, Inc.
 1031   White Riot                                            PA0000044747      Polygram Publishing, Inc.
 1032   I'm So Lonesome I Could Cry                           EP0000041630;     Rightsong Music, Inc.
                                                              R644980
 1033   So Much Like My Dad                                   PA0000225775      Rightsong Music, Inc.
 1034   Get Out                                               PA0001592997      Screen Gems-EMI Music Inc.
 1035   2 Of Amerikaz Most Wanted                             PA0001070596      Songs of Universal, Inc.
 1036   200 Balloons                                          PA0000426579      Songs of Universal, Inc.
 1037   25 To Life                                            PA0001730984      Songs of Universal, Inc.
 1038   2nd Sucks                                             PA0001748917      Songs of Universal, Inc.
 1039   50 Plates                                             V9929D321         Songs of Universal, Inc.
 1040   A Fool's Dance                                        PA0001839497      Songs of Universal, Inc.
 1041   A Kiss                                                PA0001784201      Songs of Universal, Inc.
 1042   All I Have In This World                              PA0001639922      Songs of Universal, Inc.
 1043   All I Want For Christmas Is You (SuperFestive!)       PA0001780229      Songs of Universal, Inc.




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        Track                                                    Reg. No.          Plaintiff
 1044   All I Want Is You                                        PA0001751391      Songs of Universal, Inc.
 1045   All Signs Point To Lauderdale                            PA0001748918      Songs of Universal, Inc.
 1046   Almost Doesn't Count                                     PA0000917406      Songs of Universal, Inc.
 1047   Almost Famous                                            PA0001730979      Songs of Universal, Inc.
 1048   And The Grass Won't Pay No Mind                          PA0000043004      Songs of Universal, Inc.
 1049   Another Day Without You                                  PA0001878112      Songs of Universal, Inc.
 1050   Another Round                                            PA0001730878      Songs of Universal, Inc.
 1051   As Fast As I Could                                       PA0001700896      Songs of Universal, Inc.
 1052   Baby Love                                                PA0001602408      Songs of Universal, Inc.
 1053   Backpackers                                              PA0001773699      Songs of Universal, Inc.
 1054   Ballad Of The Beaconsfield Miners                        V3551D653         Songs of Universal, Inc.
 1055   Be (Intro)                                               PA0001302097      Songs of Universal, Inc.
 1056   Be With You                                              PA0001208967      Songs of Universal, Inc.
 1057   Beautiful People                                         PA0001752889      Songs of Universal, Inc.
 1058   Beautiful People                                         PA0001750727      Songs of Universal, Inc.
 1059   Best Friend                                              PA0000757400      Songs of Universal, Inc.
 1060   Best Of You                                              PA0001730963      Songs of Universal, Inc.
 1061   Beware                                                   PA0001916151      Songs of Universal, Inc.
 1062   Bonfire                                                  PA0001773709      Songs of Universal, Inc.
 1063   Boom Skit                                                PA0001915826      Songs of Universal, Inc.
 1064   Born Sinner                                              PA0001975727      Songs of Universal, Inc.
 1065   Bottle Pop                                               PA0001645597      Songs of Universal, Inc.
 1066   Break Ya Back                                            PA0001395672      Songs of Universal, Inc.
 1067   Brooklyn Roads                                           PA0000040394      Songs of Universal, Inc.
 1068   Brother Love's Traveling Salvation Show                  PA0000043013      Songs of Universal, Inc.
 1069   But, Honestly                                            PA0001625341      Songs of Universal, Inc.
 1070   Call Me Up                                               PA0001882786      Songs of Universal, Inc.
 1071   Can't Go Wrong                                           PA0001839494      Songs of Universal, Inc.
 1072   Changes                                                  PA0001070591      Songs of Universal, Inc.
 1073   Cheer Up, Boys (Your Make Up Is Running)                 PA0001625323      Songs of Universal, Inc.
 1074   Cherry, Cherry                                           PA0000043000      Songs of Universal, Inc.
 1075   Chi-City                                                 PA0001302103      Songs of Universal, Inc.
 1076   Ciara To The Stage                                       PA0001729154      Songs of Universal, Inc.
 1077   Cinderella Man                                           PA0001730987      Songs of Universal, Inc.
 1078   Cold Day In The Sun                                      PA0001731042      Songs of Universal, Inc.
 1079   Cold Wind Blows                                          PA0001731091      Songs of Universal, Inc.
 1080   Come & Get It                                            PA0001916312      Songs of Universal, Inc.
 1081   Come Alive                                               PA0001625311      Songs of Universal, Inc.
 1082   Crazy Arms                                               RE0000204817      Songs of Universal, Inc.
 1083   Dangerous                                                PA0001678612      Songs of Universal, Inc.
 1084   Death Around The Corner                                  PA0001070586      Songs of Universal, Inc.
 1085   Demons                                                   PA0001796478      Songs of Universal, Inc.
 1086   Deuces                                                   PA0001750516;     Songs of Universal, Inc.
                                                                 PA0001738384
 1087   Did It On Em                                             PA0001745300      Songs of Universal, Inc.
 1088   Didn't You Know How Much I Loved You                     PA0001376310      Songs of Universal, Inc.
 1089   Director                                                 PA0001371419      Songs of Universal, Inc.
 1090   Disturbia                                                V3574D452         Songs of Universal, Inc.
 1091   DOA                                                      PA0001730972      Songs of Universal, Inc.
 1092   Don't Give up on Me                                      PA0001899457      Songs of Universal, Inc.
 1093   Don't Phunk Around                                       PA0001824676      Songs of Universal, Inc.
 1094   Down                                                     PA0001659053      Songs of Universal, Inc.
 1095   Drive Me                                                 PA0001839492      Songs of Universal, Inc.
 1096   Drop It Low                                              PA0001748634      Songs of Universal, Inc.
 1097   Echo                                                     PA0001842409      Songs of Universal, Inc.
 1098   End Over End                                             PA0001730846      Songs of Universal, Inc.
 1099   Erase/Replace                                            PA0001625296      Songs of Universal, Inc.
 1100   Erotic City (Make Love Not War Erotic City Come Alive)   PA0000227083      Songs of Universal, Inc.
 1101   Everything                                               PA0001600375      Songs of Universal, Inc.
 1102   Eye Candy                                                PA0001681746      Songs of Universal, Inc.
 1103   Fallen                                                   PA0001840137      Songs of Universal, Inc.
 1104   Fallin' In Love                                          PA0001603747      Songs of Universal, Inc.
 1105   Farewell                                                 PA0001778700      Songs of Universal, Inc.
 1106   Fool In Love                                             PA0001804439      Songs of Universal, Inc.
 1107   Forever In Blue Jeans                                    PAU000066694;     Songs of Universal, Inc.
                                                                 PA0000027116
 1108   Free Me                                                  PA0001730772      Songs of Universal, Inc.
 1109   French Pedicure                                          PA0001395670      Songs of Universal, Inc.
 1110   Friend Of A Friend                                       PA0001730881      Songs of Universal, Inc.
 1111   Friend Of A Friend                                       PA0001856075      Songs of Universal, Inc.
 1112   FU                                                       PA0001904193      Songs of Universal, Inc.
 1113   Gangsta                                                  PA0001115190      Songs of Universal, Inc.
 1114   Get It                                                   PA0001780728      Songs of Universal, Inc.
 1115   Girl You Know                                            PA0001395613      Songs of Universal, Inc.
 1116   Girls Chase Boys                                         PA0001932052      Songs of Universal, Inc.
 1117   Give Me Back My Hometown                                 PA0001902269      Songs of Universal, Inc.
 1118   Going Through Changes                                    PA0001731106      Songs of Universal, Inc.




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        Track                                                 Reg. No.          Plaintiff
 1119   Gotta Stop Messin' About                              PAu000221275      Songs of Universal, Inc.
 1120   Grandma's Hands                                       RE0000827149      Songs of Universal, Inc.
 1121   Hard To Breathe                                       PA0001768251      Songs of Universal, Inc.
 1122   Haywire                                               PA0001700892      Songs of Universal, Inc.
 1123   Hazel                                                 PA0001848179      Songs of Universal, Inc.
 1124   Heartbeat                                             PA0001773703      Songs of Universal, Inc.
 1125   Hell                                                  PA0001731003      Songs of Universal, Inc.
 1126   Hold On                                               PA0001839485      Songs of Universal, Inc.
 1127   Hold You Down                                         PA0001773584      Songs of Universal, Inc.
 1128   Holly Holy                                            PA0000040389      Songs of Universal, Inc.
 1129   Home                                                  PA0001625349      Songs of Universal, Inc.
 1130   Horny Toad                                            PA0000193309      Songs of Universal, Inc.
 1131   How Do U Want It                                      PA0001070595      Songs of Universal, Inc.
 1132   I Am Your Leader                                      PA0001917811      Songs of Universal, Inc.
 1133   I Could Never Take The Place Of Your Man              PA0000339616      Songs of Universal, Inc.
 1134   I Don't Feel Like Loving You Today                    PA0001299754      Songs of Universal, Inc.
 1135   I Don't Know                                          EU0000093241;     Songs of Universal, Inc.
                                                              RE0000751859
 1136   I Don't Want You on My Mind                           RE0000832589      Songs of Universal, Inc.
 1137   I Know                                                PA0001924185      Songs of Universal, Inc.
 1138   I Want Crazy (Encore)                                 PA0001856536      Songs of Universal, Inc.
 1139   I.F.U.                                                PA0001833854      Songs of Universal, Inc.
 1140   If Ever I Could Love                                  PA0001701008      Songs of Universal, Inc.
 1141   If I Leave                                            PA0001748919      Songs of Universal, Inc.
 1142   If I Were A Boy                                       PAU003358950      Songs of Universal, Inc.
 1143   I'll Call Ya                                          PA0001644932      Songs of Universal, Inc.
 1144   I'm On Everything                                     PA0001784199      Songs of Universal, Inc.
 1145   Imagination                                           PA0001371420      Songs of Universal, Inc.
 1146   In Your Honor                                         PA0001730947      Songs of Universal, Inc.
 1147   Intro                                                 PA0001780742      Songs of Universal, Inc.
 1148   It Ain't Easy                                         PA0001070585      Songs of Universal, Inc.
 1149   It's Me Snitches                                      PA0001334184      Songs of Universal, Inc.
 1150   It's Time                                             PA0001796482      Songs of Universal, Inc.
 1151   It's Your World                                       PA0001302107;     Songs of Universal, Inc.
                                                              PA0001302108
 1152   Just Lose It                                          PA0001284525      Songs of Universal, Inc.
 1153   Kids                                                  PA0001773582      Songs of Universal, Inc.
 1154   Kiss Kiss                                             PA0001395675      Songs of Universal, Inc.
 1155   Leaf                                                  PA0002000110      Songs of Universal, Inc.
 1156   Lean On Me                                            EP0000304954      Songs of Universal, Inc.
 1157   Leave Love Alone                                      PA0001810767      Songs Of Universal, Inc.
 1158   Let It Die                                            PA0001625293      Songs of Universal, Inc.
 1159   Let Me Go                                             PA0001846372      Songs of Universal, Inc.
 1160   Letter Home                                           PA0001773708      Songs of Universal, Inc.
 1161   Letter To My Ex's                                     PA0001780260      Songs of Universal, Inc.
 1162   Lil' Hipster Girl                                     PA0001749813      Songs of Universal, Inc.
 1163   Livin This Life                                       PA0001780720      Songs of Universal, Inc.
 1164   Long Road To Ruin                                     PA0001625301      Songs of Universal, Inc.
 1165   Lost In You                                           PA0001855522      Songs of Universal, Inc.
 1166   Love Is A Sweet Thing                                 PA0001295806      Songs of Universal, Inc.
 1167   Love is...                                            PA0001302102      Songs of Universal, Inc.
 1168   Love More                                             PA0001914221      Songs of Universal, Inc.
 1169   Love The Way You Lie                                  PA0001730976      Songs of Universal, Inc.
 1170   Love The Way You Lie (Part II)                        PA0001732821      Songs of Universal, Inc.
 1171   Love The Way You Love Me                              PA0001612853      Songs of Universal, Inc.
 1172   Man On The Moon                                       PA0001839481      Songs of Universal, Inc.
 1173   Material Things                                       PA0001395669      Songs of Universal, Inc.
 1174   Meet Me Halfway                                       PA0001659066      Songs of Universal, Inc.
 1175   Memories Pt 2                                         PA0001780744      Songs of Universal, Inc.
 1176   Miracle                                               PA0001730876      Songs of Universal, Inc.
 1177   Missing You                                           PA0001659068      Songs of Universal, Inc.
 1178   Music Of The Sun                                      PA0001163426;     Songs of Universal, Inc.
                                                              V3533D359
 1179   My Eyes                                               PA0001915209      Songs of Universal, Inc.
 1180   New York Times                                        PA0001898830      Songs of Universal, Inc.
 1181   Next To You                                           PA0001750522      Songs of Universal, Inc.
 1182   No BS                                                 PA0001750518      Songs of Universal, Inc.
 1183   No Idea                                               PA0001751186      Songs of Universal, Inc.
 1184   No Way Back                                           PA0001730955      Songs of Universal, Inc.
 1185   Not Afraid                                            PA0001730957      Songs of Universal, Inc.
 1186   Not Tonight                                           PA0002000109      Songs of Universal, Inc.
 1187   Nothin' Like The First Time                           PA0001858363      Songs of Universal, Inc.
 1188   Nothin' On You                                        PA0001731018      Songs of Universal, Inc.
 1189   Nothin' On You                                        PA0001731018      Songs of Universal, Inc.
 1190   Nothing Compares 2 U                                  PA0000261000      Songs of Universal, Inc.
 1191   Now That You Got It                                   PA0001382157      Songs of Universal, Inc.
 1192   On & On                                               PA0001733345      Songs of Universal, Inc.




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        Track                                                 Reg. No.          Plaintiff
 1193   On The Mend                                           PA0001730887      Songs of Universal, Inc.
 1194   One Chain Don't Make No Prison                        RE0000755069      Songs of Universal, Inc.
 1195   One Tribe                                             PA0001659076      Songs of Universal, Inc.
 1196   Only Wanna Give It To You                             PA0002000105      Songs of Universal, Inc.
 1197   Out Of My Head                                        PA0001659074      Songs of Universal, Inc.
 1198   Over And Out                                          PA0001730884      Songs of Universal, Inc.
 1199   Peach                                                 PA0000669561      Songs of Universal, Inc.
 1200   Pedestal                                              PA0001370492      Songs of Universal, Inc.
 1201   Perfect Gentleman                                     PA0001395665      Songs of Universal, Inc.
 1202   Picture Perfect                                       PA0001395677      Songs of Universal, Inc.
 1203   Play                                                  PA0001726635      Songs of Universal, Inc.
 1204   Play Me                                               PA0000040399      Songs of Universal, Inc.
 1205   Pretty Amazing Grace                                  PA0001687595      Songs of Universal, Inc.
 1206   Private Room Intro                                    PA0001371763      Songs of Universal, Inc.
 1207   Purple Rain                                           PA0000217254      Songs of Universal, Inc.
 1208   Put You In A Song                                     PA0001725330      Songs of Universal, Inc.
 1209   Radioactive                                           PA0001796477      Songs of Universal, Inc.
 1210   Raining Men                                           PA0001732814      Songs of Universal, Inc.
 1211   Rap God                                               PA0001965450      Songs of Universal, Inc.
 1212   Razor                                                 PA0001731043      Songs of Universal, Inc.
 1213   Real Big                                              PA0001784187      Songs of Universal, Inc.
 1214   Real People                                           PA0001302105      Songs of Universal, Inc.
 1215   Red Red Wine                                          RE0000653689      Songs of Universal, Inc.
 1216   Remember My Name                                      PA0001821988      Songs of Universal, Inc.
 1217   Reminding Me (Of Self)                                PA0001011173      Songs of Universal, Inc.
 1218   Resolve                                               PA0001730791      Songs of Universal, Inc.
 1219   Rewind (feat. Wyclef Jean)                            PA0001744940      Songs of Universal, Inc.
 1220   Rich N****z                                           PA0001975684      Songs of Universal, Inc.
 1221   Rich Niggaz                                           PA0001975684      Songs of Universal, Inc.
 1222   Right Place, Wrong Time                               PA0001371418      Songs of Universal, Inc.
 1223   Riot                                                  PA0001916362      Songs of Universal, Inc.
 1224   Roc Me Out                                            PA0001773644      Songs of Universal, Inc.
 1225   Rockin To The Beat                                    PA0001659078      Songs of Universal, Inc.
 1226   Roman Holiday                                         PA0001915014      Songs of Universal, Inc.
 1227   Round and Round                                       PA0001796481      Songs of Universal, Inc.
 1228   Rush                                                  V3521D389         Songs of Universal, Inc.
 1229   Save Me                                               PA0001745307      Songs of Universal, Inc.
 1230   Seduction                                             PA0001730951      Songs of Universal, Inc.
 1231   Selene                                                PA0001822212      Songs of Universal, Inc.
 1232   Sex Therapy                                           PA0001678887      Songs of Universal, Inc.
 1233   Sexy M.F.                                             PA0000607812      Songs of Universal, Inc.
 1234   Shilo                                                 PA0000040397      Songs of Universal, Inc.
 1235   Shine                                                 PA0001911373      Songs of Universal, Inc.
 1236   Shoo Be Doo                                           PA0001593120      Songs of Universal, Inc.
 1237   Shots                                                 PA0001691942      Songs of Universal, Inc.
 1238   Skin And Bones                                        PA0001368334      Songs of Universal, Inc.
 1239   So Fly                                                PA0002000112      Songs of Universal, Inc.
 1240   So Much More                                          PA0001780714      Songs of Universal, Inc.
 1241   Soft And Wet                                          PA0000492348      Songs of Universal, Inc.
 1242   Solitary Man                                          PA0000042999      Songs of Universal, Inc.
 1243   Somebody Like You                                     PA0001146316      Songs of Universal, Inc.
 1244   Somewhere In My Car                                   PA0001898869      Songs of Universal, Inc.
 1245   Song Sung Blue                                        EU0000322568;     Songs of Universal, Inc.
                                                              RE0000813919
 1246   Soolaimon                                             PA0000043012      Songs of Universal, Inc.
 1247   Sorry For Partyin'                                    PA0001882788      Songs of Universal, Inc.
 1248   Soul's On Fire                                        PA0001768252      Songs of Universal, Inc.
 1249   Sound Proof Room                                      PA0002000107      Songs of Universal, Inc.
 1250   Space Bound                                           PA0001730989      Songs of Universal, Inc.
 1251   Spoke To My Momma                                     PA0001780259      Songs of Universal, Inc.
 1252   Statues                                               PA0001625338      Songs of Universal, Inc.
 1253   Stay The Night                                        PA0001902216      Songs of Universal, Inc.
 1254   Still                                                 PA0001730871      Songs of Universal, Inc.
 1255   Stones                                                PA0000040398      Songs of Universal, Inc.
 1256   Stop The Clock                                        PA0002000111      Songs of Universal, Inc.
 1257   Stranger Things Have Happened                         PA0001625352      Songs of Universal, Inc.
 1258   Stronger                                              PA0001120338      Songs of Universal, Inc.
 1259   Stupid Hoe                                            PA0001910348      Songs of Universal, Inc.
 1260   Summer's End                                          PA0001625330      Songs of Universal, Inc.
 1261   Super Rich Kids                                       PA0001825834      Songs of Universal, Inc.
 1262   Sweet Caroline                                        PA0000043001      Songs of Universal, Inc.
 1263   Take It To The Hole                                   PA0001821597      Songs of Universal, Inc.
 1264   Takin' Over The World                                 PA0001646201      Songs of Universal, Inc.
 1265   Talkin 2 Myself                                       PA0001730970      Songs of Universal, Inc.
 1266   Talkin' 2 Myself                                      PA0001730970      Songs of Universal, Inc.
 1267   Tell Me A Story                                       PA0001839488      Songs of Universal, Inc.
 1268   Testify                                               PA0001302101      Songs of Universal, Inc.




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        Track                                                 Reg. No.          Plaintiff
 1269   That's Gonna Leave A Memory                           PA0001910312      Songs of Universal, Inc.
 1270   That's Right                                          PA0001885587      Songs of Universal, Inc.
 1271   The Boys                                              PA0001822067      Songs of Universal, Inc.
 1272   The Corner                                            PA0001302098      Songs of Universal, Inc.
 1273   The Deepest Blues Are Black                           PA0001730830      Songs of Universal, Inc.
 1274   The Last Song                                         PA0001731040      Songs of Universal, Inc.
 1275   The Last Time                                         PA0001328099      Songs of Universal, Inc.
 1276   The Monster                                           PA0001965626      Songs of Universal, Inc.
 1277   The News                                              PA0001631133      Songs of Universal, Inc.
 1278   The One                                               PA0001867783      Songs of Universal, Inc.
 1279   The Pretender                                         PA0001623649      Songs of Universal, Inc.
 1280   The Reunion                                           PA0001784195;     Songs of Universal, Inc.
                                                              PA0001842406
 1281   The River                                             PA0001822211      Songs of Universal, Inc.
 1282   The Sellout                                           PA0001733312      Songs of Universal, Inc.
 1283   The Way You Do Me                                     PA0001367649      Songs of Universal, Inc.
 1284   They Say                                              PA0001302106      Songs of Universal, Inc.
 1285   This Is Me                                            PA0001131262      Songs of Universal, Inc.
 1286   This Is The House That Doubt Built                    PA0001748916      Songs of Universal, Inc.
 1287   Trouble                                               PA0001975677      Songs of Universal, Inc.
 1288   U Remind Me                                           PA0001147408      Songs of Universal, Inc.
 1289   Uma Thurman                                           PA0001975921      Songs of Universal, Inc.
 1290   Universal Mind Control (UMC)                          PA0001395696      Songs of Universal, Inc.
 1291   Up All Night                                          PA0001715364      Songs of Universal, Inc.
 1292   Use Me                                                RE0000832587      Songs of Universal, Inc.
 1293   Va Va Voom                                            PA0001835092      Songs of Universal, Inc.
 1294   Video Phone                                           PA0001657245      Songs of Universal, Inc.
 1295   Virginia Moon                                         PAu003542317      Songs of Universal, Inc.
 1296   W.T.P.                                                PA0001730966      Songs of Universal, Inc.
 1297   Wait For Me                                           PA0001780732      Songs of Universal, Inc.
 1298   Wait For You                                          PA0001821989      Songs of Universal, Inc.
 1299   Wanted Is Love                                        PA0001839493      Songs of Universal, Inc.
 1300   Wave Ya Hand                                          PA0001730648      Songs of Universal, Inc.
 1301   We All Want Love                                      PA0001778698      Songs of Universal, Inc.
 1302   We Oughta Be Drinkin'                                 PA0001878369      Songs of Universal, Inc.
 1303   Wedding Day                                           PA0001768169      Songs of Universal, Inc.
 1304   What A World                                          PA0001656994      Songs of Universal, Inc.
 1305   What Goes Around                                      PA0001780251      Songs of Universal, Inc.
 1306   What I Gotta Do                                       PA0001734468      Songs of Universal, Inc.
 1307   What If I Do?                                         PA0001730872      Songs of Universal, Inc.
 1308   Wheels                                                PA0001705842      Songs of Universal, Inc.
 1309   Where We Came From                                    PA0001839490      Songs of Universal, Inc.
 1310   Where Ya Wanna Go                                     PA0001824684      Songs of Universal, Inc.
 1311   Who Do You Love?                                      PA0001897250      Songs of Universal, Inc.
 1312   Why's It Feel So Long                                 PA0001679953      Songs of Universal, Inc.
 1313   Willing To Wait                                       PA0001328103      Songs of Universal, Inc.
 1314   With You                                              PA0001371417      Songs of Universal, Inc.
 1315   Without You                                           PA0000577490      Songs of Universal, Inc.
 1316   Word Forward                                          PA0001678922      Songs of Universal, Inc.
 1317   Words I Never Said                                    PA0001739113      Songs of Universal, Inc.
 1318   Working Man                                           PA0001840143      Songs of Universal, Inc.
 1319   Ying & The Yang                                       PA0001678487      Songs of Universal, Inc.
 1320   You Da One                                            PA0001778697      Songs of Universal, Inc.
 1321   You Don't Know                                        PA0001396073      Songs of Universal, Inc.
 1322   You See Me                                            PA0001773581      Songs of Universal, Inc.
 1323   Your Love                                             PA0001745312      Songs of Universal, Inc.
 1324   You're Never Over                                     PA0001731110      Songs of Universal, Inc.
 1325   My Fault                                              PA0001796476      Songs of Universal, Inc.
 1326   Where Them Girls At                                   PA0001761902;     Songs of Universal, Inc. / EMI April Music Inc. / Sony/ATV Music Publishing
                                                              PA0001741154
 1327   Don't Tell Me You Love Me                             PA0001780734      Songs of Universal, Inc. / Sony/ATV Music Publishing LLC
 1328   I'm In Miami Bitch                                    PA0001749811      Songs of Universal, Inc. / Sony/ATV Music Publishing LLC
 1329   Up In Flames                                          PA0001840535      Songs of Universal, Inc. / Sony/ATV Music Publishing LLC
 1330   Young Forever                                         PA0001822065      Songs of Universal, Inc. / Sony/ATV Music Publishing LLC
 1331   Hush Hush                                             PA0001612724      Songs of Universal, Inc. / Universal Music - MGB NA LLC
 1332   Diamond In The Rough                                  PA0001768249      Songs of Universal, Inc. / Universal Music Corp.
 1333   Easy                                                  PA0001726638      Songs of Universal, Inc. / Universal Music Corp.
 1334   2024                                                  PA0001794286      Sony/ATV Music Publishing LLC
 1335   2 On                                                  PA0001910781      Sony/ATV Music Publishing LLC
 1336   9 Piece                                               PA0001864281      Sony/ATV Music Publishing LLC
 1337   A Capella (Something's Missing)                       PA0001821297      Sony/ATV Music Publishing LLC
 1338   A Gentlemen's Coup                                    PA0001887807      Sony/ATV Music Publishing LLC
 1339   A Name In This Town                                   PA0001777805      Sony/ATV Music Publishing LLC
 1340   Aberdeen                                              PA0001794286      Sony/ATV Music Publishing LLC
 1341   Ack Like You Know                                     PA0001644889      Sony/ATV Music Publishing LLC
 1342   Again Again                                           PA0001397132      Sony/ATV Music Publishing LLC
 1343   Ain't No Rest for the Wicked                          PA0001794291      Sony/ATV Music Publishing LLC




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        Track                                                 Reg. No.         Plaintiff
 1344   Airstream Song                                        PA0001682737     Sony/ATV Music Publishing LLC
 1345   Alejandro                                             PA0001751975     Sony/ATV Music Publishing LLC
 1346   All Around The World                                  PA0001850389     Sony/ATV Music Publishing LLC
 1347   All I Ever Think About                                PA0001661603     Sony/ATV Music Publishing LLC
 1348   All I Really Want                                     PA0001748296     Sony/ATV Music Publishing LLC
 1349   All The Money In The World                            PA0001821914     Sony/ATV Music Publishing LLC
 1350   Always Been Me                                        PA0001777807     Sony/ATV Music Publishing LLC
 1351   Always Something                                      PA0001794286     Sony/ATV Music Publishing LLC
 1352   Anna Sun                                              PA0001778240     Sony/ATV Music Publishing LLC
 1353   Anything (To Find You)                                PA0001900915     Sony/ATV Music Publishing LLC
 1354   Architects                                            PA0001887807     Sony/ATV Music Publishing LLC
 1355   Around My Head                                        PA0001794286     Sony/ATV Music Publishing LLC
 1356   As Long As You Love Me                                PA0001834758     Sony/ATV Music Publishing LLC
 1357   Aston Martin Music                                    PA0001821912     Sony/ATV Music Publishing LLC
 1358   Automatic                                             PA0001822058     Sony/ATV Music Publishing LLC
 1359   Available                                             PA0001807827     Sony/ATV Music Publishing LLC
 1360   B.M.F. (Blowin' Money Fast)                           PA0001821909     Sony/ATV Music Publishing LLC
 1361   Back Against The Wall                                 PA0001794291     Sony/ATV Music Publishing LLC
 1362   Back Stabbin' Betty                                   PA0001794291     Sony/ATV Music Publishing LLC
 1363   Bad Habits                                            PA0001707770     Sony/ATV Music Publishing LLC
 1364   Bad Kids                                              PA0001752325     Sony/ATV Music Publishing LLC
 1365   Bad Romance                                           PA0001751974     Sony/ATV Music Publishing LLC
 1366   Bassline                                              PA0001896024     Sony/ATV Music Publishing LLC
 1367   Beautiful Freaks                                      PA0001803641     Sony/ATV Music Publishing LLC
 1368   Beautiful, Dirty, Rich                                PA0001685320     Sony/ATV Music Publishing LLC
 1369   Beer For My Horses                                    PA0001109842     Sony/ATV Music Publishing LLC
 1370   Believe                                               PA0001835123     Sony/ATV Music Publishing LLC
 1371   Bigger                                                PA0001749345     Sony/ATV Music Publishing LLC
 1372   Black Jesus (Amen Fashion)                            PA0001752320     Sony/ATV Music Publishing LLC
 1373   Blind                                                 PA0001813213     Sony/ATV Music Publishing LLC
 1374   Blowin Money Fast                                     PA0001821909     Sony/ATV Music Publishing LLC
 1375   Bojangles                                             PA0001338581     Sony/ATV Music Publishing LLC
 1376   Boys Boys Boys                                        PA0001685351     Sony/ATV Music Publishing LLC
 1377   Bravado                                               PA0001904440     Sony/ATV Music Publishing LLC
 1378   Brave                                                 PA0001967864     Sony/ATV Music Publishing LLC
 1379   Broken Mirrors                                        PA0001887807     Sony/ATV Music Publishing LLC
 1380   Brown Eyes                                            PA0001685359     Sony/ATV Music Publishing LLC
 1381   Bubbly                                                PA0001391445     Sony/ATV Music Publishing LLC
 1382   Can't Stop Me Now                                     PA0001733402     Sony/ATV Music Publishing LLC
 1383   Center Stage                                          PA0001952597     Sony/ATV Music Publishing LLC
 1384   Chartreuse                                            PA0001952597     Sony/ATV Music Publishing LLC
 1385   Chasing You                                           PA0001952597     Sony/ATV Music Publishing LLC
 1386   Christmas Tree                                        PA0001969613     Sony/ATV Music Publishing LLC
 1387   Church Pew Or Bar Stool                               PA0001897745     Sony/ATV Music Publishing LLC
 1388   Climax                                                PA0001825135     Sony/ATV Music Publishing LLC
 1389   Club Can't Handle Me (Feat. David Guetta)             PA0001739599     Sony/ATV Music Publishing LLC
 1390   Club Zydeco Moon                                      PA0001776561     Sony/ATV Music Publishing LLC
 1391   Cold                                                  PA0001707770     Sony/ATV Music Publishing LLC
 1392   Come N Go                                             PA0001780999     Sony/ATV Music Publishing LLC
 1393   Coming Up Strong                                      PA0001892993     Sony/ATV Music Publishing LLC
 1394   Crazy Ain't Original                                  PA0001881665     Sony/ATV Music Publishing LLC
 1395   Dead Flowers                                          PA0001682745     Sony/ATV Music Publishing LLC
 1396   Disparity By Design                                   PA0001887807     Sony/ATV Music Publishing LLC
 1397   Disturbia                                             PA0001692669     Sony/ATV Music Publishing LLC
 1398   DJ Khaled Interlude                                   PA0001661345     Sony/ATV Music Publishing LLC
 1399   Don't Give Up On Us                                   PA0001719662     Sony/ATV Music Publishing LLC
 1400   Don't Judge Me                                        PA0001896026     Sony/ATV Music Publishing LLC
 1401   Don't Play This Song                                  PA0001750006     Sony/ATV Music Publishing LLC
 1402   Don't Stop The Music                                  PA0001637008     Sony/ATV Music Publishing LLC
 1403   Dope Ball (Interlude)                                 PA0001733400     Sony/ATV Music Publishing LLC
 1404   Down For Whatever                                     PA0001823983     Sony/ATV Music Publishing LLC
 1405   Drones In The Valley                                  PA0001794291     Sony/ATV Music Publishing LLC
 1406   Eh, Eh (Nothing Else I Can Say)                       PA0001685326     Sony/ATV Music Publishing LLC
 1407   Electric Chapel                                       PA0001752318     Sony/ATV Music Publishing LLC
 1408   Encore                                                PA0001813214     Sony/ATV Music Publishing LLC
 1409   Endgame                                               PA0001887807     Sony/ATV Music Publishing LLC
 1410   Every Reason Not To Go                                PA0001909205     Sony/ATV Music Publishing LLC
 1411   Farrah Fawcett Hair                                   PA0001952598     Sony/ATV Music Publishing LLC
 1412   Finally Here                                          PA0001807843     Sony/ATV Music Publishing LLC
 1413   Fire Burns                                            PA0001822066     Sony/ATV Music Publishing LLC
 1414   Fistful Of Tears                                      PA0001707770     Sony/ATV Music Publishing LLC
 1415   Flow                                                  PA0001794286     Sony/ATV Music Publishing LLC
 1416   Fly                                                   PA0001745306     Sony/ATV Music Publishing LLC
 1417   Forca                                                 PA0001239138     Sony/ATV Music Publishing LLC
 1418   Forever                                               PA0001677037     Sony/ATV Music Publishing LLC
 1419   Freaky Deaky (feat. Trey Songz)                       PA0001644872     Sony/ATV Music Publishing LLC
 1420   Free Love                                             PA0001794291     Sony/ATV Music Publishing LLC




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        Track                                                 Reg. No.         Plaintiff
 1421   Freedom                                               PA0001840533     Sony/ATV Music Publishing LLC
 1422   Gangsta Bop                                           PA0001167178     Sony/ATV Music Publishing LLC
 1423   Ghost!                                                PA0001750014     Sony/ATV Music Publishing LLC
 1424   Girlfriend In The City                                PA0001753993     Sony/ATV Music Publishing LLC
 1425   Girls                                                 PA0001733986     Sony/ATV Music Publishing LLC
 1426   Girls Like You                                        PA0001808680     Sony/ATV Music Publishing LLC
 1427   Give Me Back My Hometown                              PA0001998347     Sony/ATV Music Publishing LLC
 1428   Give Me Everything                                    PA0001780977     Sony/ATV Music Publishing LLC
 1429   Give Them What They Ask For                           PA0001733406     Sony/ATV Music Publishing LLC
 1430   Glasgow                                               PA0001774897     Sony/ATV Music Publishing LLC
 1431   Gotta Get It [Dancer]                                 PA0001807837     Sony/ATV Music Publishing LLC
 1432   Hair                                                  PA0001752317     Sony/ATV Music Publishing LLC
 1433   Happy On The Hey Now (A Song For Kristi)              PA0001899369     Sony/ATV Music Publishing LLC
 1434   Heart Like Mine                                       PA0001682741     Sony/ATV Music Publishing LLC
 1435   Help Is On The Way                                    PA0001887807     Sony/ATV Music Publishing LLC
 1436   Help Somebody                                         PA0001707770     Sony/ATV Music Publishing LLC
 1437   Hey Baby (Drop It To The Floor)                       PA0001719812     Sony/ATV Music Publishing LLC
 1438   I Choose You                                          PA0001967866     Sony/ATV Music Publishing LLC
 1439   I Don't Care                                          PA0001996421     Sony/ATV Music Publishing LLC
 1440   I Know You Know                                       PA0001807117     Sony/ATV Music Publishing LLC
 1441   I Like It                                             PA0001786618     Sony/ATV Music Publishing LLC
 1442   I Shall Return                                        PA0001909221     Sony/ATV Music Publishing LLC
 1443   I Sold My Bed, But Not My Stereo                      PA0001952597     Sony/ATV Music Publishing LLC
 1444   I Told You So                                         PA0001892989     Sony/ATV Music Publishing LLC
 1445   I Won't Go Crazy                                      PA0001777806     Sony/ATV Music Publishing LLC
 1446   If I Ruled The World                                  PA0001825040     Sony/ATV Music Publishing LLC
 1447   I'm Gone                                              PA0001971310     Sony/ATV Music Publishing LLC
 1448   I'm Not A Star                                        PA0001821873     Sony/ATV Music Publishing LLC
 1449   I'm Your Woman                                        PA0001681664     Sony/ATV Music Publishing LLC
 1450   In One Ear                                            PA0001794292     Sony/ATV Music Publishing LLC
 1451   In The Dark                                           PA0001783660     Sony/ATV Music Publishing LLC
 1452   Indy Kidz                                             PA0001794286     Sony/ATV Music Publishing LLC
 1453   Intro                                                 PA0001874326     Sony/ATV Music Publishing LLC
 1454   Invisible                                             PA0001825037     Sony/ATV Music Publishing LLC
 1455   It's OK                                               PA0001769596     Sony/ATV Music Publishing LLC
 1456   It's That Time Of Day                                 PA0001899360     Sony/ATV Music Publishing LLC
 1457   James Brown                                           PA0001794291     Sony/ATV Music Publishing LLC
 1458   Japanese Buffalo                                      PA0001794286     Sony/ATV Music Publishing LLC
 1459   Jet Pack Blues                                        PA0002149777     Sony/ATV Music Publishing LLC
 1460   Judas                                                 PA0001752321     Sony/ATV Music Publishing LLC
 1461   Juice Box                                             PA0001733404     Sony/ATV Music Publishing LLC
 1462   Jump [feat. Nelly Furtado]                            PA0001807841     Sony/ATV Music Publishing LLC
 1463   Just Dance                                            PA0001685310     Sony/ATV Music Publishing LLC
 1464   Just One Last Time                                    PA0001896046     Sony/ATV Music Publishing LLC
 1465   Kangaroo Court                                        PA0001952597     Sony/ATV Music Publishing LLC
 1466   Keep It Between Us                                    PA0001823996     Sony/ATV Music Publishing LLC
 1467   Krazy                                                 PA0001733987     Sony/ATV Music Publishing LLC
 1468   Last Chance                                           PA0001728914     Sony/ATV Music Publishing LLC
 1469   Lazy Lies                                             PA0001952597     Sony/ATV Music Publishing LLC
 1470   Like A G6                                             PA0001778021     Sony/ATV Music Publishing LLC
 1471   Lindy                                                 PA0001899353     Sony/ATV Music Publishing LLC
 1472   Little Bad Girl                                       PA0001814075     Sony/ATV Music Publishing LLC
 1473   Long Distance                                         PA0001821287     Sony/ATV Music Publishing LLC
 1474   Lotus                                                 PA0001794291     Sony/ATV Music Publishing LLC
 1475   Love Away                                             PA0001952597     Sony/ATV Music Publishing LLC
 1476   Love The Girls                                        PA0001772294     Sony/ATV Music Publishing LLC
 1477   Love Who You Love                                     PA0001661382     Sony/ATV Music Publishing LLC
 1478   Love You                                              PA0001707770     Sony/ATV Music Publishing LLC
 1479   LoveGame                                              PA0001685315     Sony/ATV Music Publishing LLC
 1480   Lunar                                                 PA0001814079     Sony/ATV Music Publishing LLC
 1481   Lunar (Party Mix)                                     PA0001814079     Sony/ATV Music Publishing LLC
 1482   Mafia Music                                           PA0001748285     Sony/ATV Music Publishing LLC
 1483   Maintain the Pain                                     PA0001682745     Sony/ATV Music Publishing LLC
 1484   Make It Stop (September's Children)                   PA0001887807     Sony/ATV Music Publishing LLC
 1485   Makin' Plans                                          PA0001682745     Sony/ATV Music Publishing LLC
 1486   Mama Africa                                           PA0001167181     Sony/ATV Music Publishing LLC
 1487   Manos Al Aire                                         PA0001760999     Sony/ATV Music Publishing LLC
 1488   Maria                                                 PA0001834767     Sony/ATV Music Publishing LLC
 1489   Marley                                                PA0001899367     Sony/ATV Music Publishing LLC
 1490   Marry Me                                              PA0001896439     Sony/ATV Music Publishing LLC
 1491   Maybach Music                                         PA0001639897     Sony/ATV Music Publishing LLC
 1492   MC Hammer                                             PA0001821908     Sony/ATV Music Publishing LLC
 1493   Me and Your Cigarettes                                PA0001682744     Sony/ATV Music Publishing LLC
 1494   Metropolis                                            PA0001827951     Sony/ATV Music Publishing LLC
 1495   Midnight Hands                                        PA0001887807     Sony/ATV Music Publishing LLC
 1496   Mirage                                                PA0001896025     Sony/ATV Music Publishing LLC
 1497   Mmm Yeah                                              PA0001886182     Sony/ATV Music Publishing LLC




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        Track                                                 Reg. No.         Plaintiff
 1498   Mojo So Dope                                          PA0001750010     Sony/ATV Music Publishing LLC
 1499   Money Right                                           PA0001644871     Sony/ATV Music Publishing LLC
 1500   Monster                                               PA0001751978     Sony/ATV Music Publishing LLC
 1501   Mr. Rager                                             PA0001750006     Sony/ATV Music Publishing LLC
 1502   Muny                                                  PA0001786604     Sony/ATV Music Publishing LLC
 1503   Murda                                                 PA0001996420     Sony/ATV Music Publishing LLC
 1504   Music Sounds Better                                   PA0001825036     Sony/ATV Music Publishing LLC
 1505   Must Be Something I Missed                            PA0001899368     Sony/ATV Music Publishing LLC
 1506   My Heart Beats For Love                               PA0001708952     Sony/ATV Music Publishing LLC
 1507   My Heart Is Open                                      PA0001661390     Sony/ATV Music Publishing LLC
 1508   Never                                                 PA0001807823     Sony/ATV Music Publishing LLC
 1509   Never Say Never                                       PA0001806271     Sony/ATV Music Publishing LLC
 1510   Nice                                                  PA0001659024     Sony/ATV Music Publishing LLC
 1511   Night Is Young                                        PA0001753995     Sony/ATV Music Publishing LLC
 1512   No. 1                                                 PA0001821894     Sony/ATV Music Publishing LLC
 1513   Nothing Even Matters                                  PA0001807063     Sony/ATV Music Publishing LLC
 1514   Nothing Really Matters                                PA0001814078     Sony/ATV Music Publishing LLC
 1515   Oh My Love                                            PA0001772289     Sony/ATV Music Publishing LLC
 1516   Oh Yeah                                               PA0001807062     Sony/ATV Music Publishing LLC
 1517   On and On                                             PA0001735747     Sony/ATV Music Publishing LLC
 1518   Only Prettier                                         PA0001682740     Sony/ATV Music Publishing LLC
 1519   Origami                                               PA0001952597     Sony/ATV Music Publishing LLC
 1520   Out Of Town Girl                                      PA0001835122     Sony/ATV Music Publishing LLC
 1521   Paparazzi                                             PA0001685323     Sony/ATV Music Publishing LLC
 1522   Paper Gangsta                                         PA0001685367     Sony/ATV Music Publishing LLC
 1523   Papi                                                  PA0001810026     Sony/ATV Music Publishing LLC
 1524   Patience Gets Us Nowhere Fast                         PA0001952597     Sony/ATV Music Publishing LLC
 1525   Pause                                                 PA0001780988     Sony/ATV Music Publishing LLC
 1526   Pay Me                                                PA0001808680     Sony/ATV Music Publishing LLC
 1527   Phoenix Rise                                          PA0001707770     Sony/ATV Music Publishing LLC
 1528   Play Hard                                             PA0001827956     Sony/ATV Music Publishing LLC
 1529   Playing Possum                                        PA0001707770     Sony/ATV Music Publishing LLC
 1530   Poker Face                                            PA0001685342     Sony/ATV Music Publishing LLC
 1531   Pretty Wings                                          PA0001707770     Sony/ATV Music Publishing LLC
 1532   Priceless                                             PA0001644888     Sony/ATV Music Publishing LLC
 1533   Put It Down                                           PA0001787201     Sony/ATV Music Publishing LLC
 1534   Quickie                                               PA0001808680     Sony/ATV Music Publishing LLC
 1535   R.O.O.T.S.                                            PA0001807832     Sony/ATV Music Publishing LLC
 1536   Radio                                                 PA0001807090     Sony/ATV Music Publishing LLC
 1537   Raise 'Em Up                                          PA0001947439     Sony/ATV Music Publishing LLC
 1538   Raw (How You Like It)                                 PA0001848766     Sony/ATV Music Publishing LLC
 1539   Ready To Roll                                         PA0001890859     Sony/ATV Music Publishing LLC
 1540   Respirator                                            PA0001821672     Sony/ATV Music Publishing LLC
 1541   Ridin' Solo                                           PA0001813218     Sony/ATV Music Publishing LLC
 1542   Right Before My Eyes                                  PA0001794286     Sony/ATV Music Publishing LLC
 1543   Right By My Side                                      PA0001822037     Sony/ATV Music Publishing LLC
 1544   Right Here (Departed)                                 PA0001821289     Sony/ATV Music Publishing LLC
 1545   Right Round                                           PA0001648304     Sony/ATV Music Publishing LLC
 1546   Right Thru Me                                         PA0001745303     Sony/ATV Music Publishing LLC
 1547   Robot                                                 PA0001708950     Sony/ATV Music Publishing LLC
 1548   Rubber Ball                                           PA0001794286     Sony/ATV Music Publishing LLC
 1549   Run (feat. RedFoo of LMFAO)                           PA0001887865     Sony/ATV Music Publishing LLC
 1550   Runnin' Around                                        PA0001698432     Sony/ATV Music Publishing LLC
 1551   Sabertooth Tiger                                      PA0001794286     Sony/ATV Music Publishing LLC
 1552   Safe and Sound                                        PA0001952597     Sony/ATV Music Publishing LLC
 1553   Satellite                                             PA0001887807     Sony/ATV Music Publishing LLC
 1554   Say It With Me                                        PA0001772291     Sony/ATV Music Publishing LLC
 1555   Scared Of Beautiful                                   PA0001846377     Sony/ATV Music Publishing LLC
 1556   Scars                                                 PA0001708950     Sony/ATV Music Publishing LLC
 1557   Sell Yourself                                         PA0001794286     Sony/ATV Music Publishing LLC
 1558   Sexy Bitch                                            PA0001703244     Sony/ATV Music Publishing LLC
 1559   She Don't Like The Lights                             PA0001822166     Sony/ATV Music Publishing LLC
 1560   She Wolf (Falling to Pieces)                          PA0001896051     Sony/ATV Music Publishing LLC
 1561   She'd Be California                                   PA0001661378     Sony/ATV Music Publishing LLC
 1562   Shiza                                                 PA0001752319     Sony/ATV Music Publishing LLC
 1563   Shut It Down                                          PA0001733390     Sony/ATV Music Publishing LLC
 1564   Silence                                               PA0000740717     Sony/ATV Music Publishing LLC
 1565   Sin For A Sin                                         PA0001682734     Sony/ATV Music Publishing LLC
 1566   Sinner                                                PA0001777809     Sony/ATV Music Publishing LLC
 1567   So Happy I Could Die                                  PA0001668692     Sony/ATV Music Publishing LLC
 1568   Soil To The Sun                                       PA0001794291     Sony/ATV Music Publishing LLC
 1569   South Of You                                          PA0001776561     Sony/ATV Music Publishing LLC
 1570   Spaghetti                                             PA0001879175     Sony/ATV Music Publishing LLC
 1571   Speechless                                            PA0001751979     Sony/ATV Music Publishing LLC
 1572   Spread The Love                                       PA0001899352     Sony/ATV Music Publishing LLC
 1573   Stand Up                                              PA0001946133     Sony/ATV Music Publishing LLC
 1574   Stars                                                 PA0001753996     Sony/ATV Music Publishing LLC




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        Track                                                 Reg. No.          Plaintiff
 1575   Starstruck                                            PA0001685366      Sony/ATV Music Publishing LLC
 1576   Stay                                                  PA0001708951      Sony/ATV Music Publishing LLC
 1577   Stay With Me                                          PA0001698437      Sony/ATV Music Publishing LLC
 1578   Still Missin                                          PA0001644870      Sony/ATV Music Publishing LLC
 1579   Stop The World                                        PA0001707770      Sony/ATV Music Publishing LLC
 1580   Strip                                                 PA0001896031      Sony/ATV Music Publishing LLC
 1581   Stupid Hoe                                            PA0001822069      Sony/ATV Music Publishing LLC
 1582   Summerboy                                             PA0001685365      Sony/ATV Music Publishing LLC
 1583   Super High                                            PA0001821907      Sony/ATV Music Publishing LLC
 1584   Superhuman                                            PA0001659015      Sony/ATV Music Publishing LLC
 1585   Superstar                                             PA0001825039      Sony/ATV Music Publishing LLC
 1586   Survivor Guilt                                        PA0001887807      Sony/ATV Music Publishing LLC
 1587   Sweat                                                 PA0001803810      Sony/ATV Music Publishing LLC
 1588   Sweat (Snoop Dogg vs. David Guetta)                   PA0001814071      Sony/ATV Music Publishing LLC
 1589   Sweet Spot                                            PA0001887850      Sony/ATV Music Publishing LLC
 1590   Sweet Surrender                                       PA0000866242      Sony/ATV Music Publishing LLC
 1591   Take Me Along                                         PA0001708950      Sony/ATV Music Publishing LLC
 1592   Teeth                                                 PA0001751976      Sony/ATV Music Publishing LLC
 1593   Tell Me How To Live                                   PA0001952597      Sony/ATV Music Publishing LLC
 1594   That Should Be Me                                     PA0001729714      Sony/ATV Music Publishing LLC
 1595   The Fame                                              PA0001685344      Sony/ATV Music Publishing LLC
 1596   The Future                                            PA0001774893      Sony/ATV Music Publishing LLC
 1597   The Future (Party Mix)                                PA0001774893      Sony/ATV Music Publishing LLC
 1598   The Only One                                          PA0001807094      Sony/ATV Music Publishing LLC
 1599   The Sweet Escape                                      PA0001166379      Sony/ATV Music Publishing LLC
 1600   The Time (Dirty Bit)                                  PA0001796440      Sony/ATV Music Publishing LLC
 1601   The War Is Over                                       PA0001821672      Sony/ATV Music Publishing LLC
 1602   These Worries                                         PA0001750006      Sony/ATV Music Publishing LLC
 1603   Things That Matter                                    PA0001661359      Sony/ATV Music Publishing LLC
 1604   This Is Letting Go                                    PA0001887807      Sony/ATV Music Publishing LLC
 1605   Thought Of You                                        PA0001834762      Sony/ATV Music Publishing LLC
 1606   Tik Tik Boom                                          PA0001917951      Sony/ATV Music Publishing LLC
 1607   Til It's Gone                                         PA0001917966      Sony/ATV Music Publishing LLC
 1608   Time                                                  PA0001874359      Sony/ATV Music Publishing LLC
 1609   Tiny Little Robots                                    PA0001794291      Sony/ATV Music Publishing LLC
 1610   Titanium                                              PA0001814072      Sony/ATV Music Publishing LLC
 1611   Tonight Tonight                                       PA0001765703      Sony/ATV Music Publishing LLC
 1612   Too Many Fish                                         PA0001864542      Sony/ATV Music Publishing LLC
 1613   Torn Down                                             PA0001821291      Sony/ATV Music Publishing LLC
 1614   Touch Me                                              PA0001896041      Sony/ATV Music Publishing LLC
 1615   Touch Me                                              PA0001807825      Sony/ATV Music Publishing LLC
 1616   Toy Story                                             PA0001774895      Sony/ATV Music Publishing LLC
 1617   Triumph                                               PA0001733388      Sony/ATV Music Publishing LLC
 1618   Turn Me On                                            PA0001814076;     Sony/ATV Music Publishing LLC
                                                              PA0001822072
 1619   Twisted                                               PA0001642854      Sony/ATV Music Publishing LLC
 1620   U Want Me 2                                           PA0001719661      Sony/ATV Music Publishing LLC
 1621   Up                                                    PA0001729713      Sony/ATV Music Publishing LLC
 1622   Us                                                    PA0001339679      Sony/ATV Music Publishing LLC
 1623   Virginia Bluebell                                     PA0001682743      Sony/ATV Music Publishing LLC
 1624   Vixen                                                 PA0001808680      Sony/ATV Music Publishing LLC
 1625   Wait For Me                                           PA0001887807      Sony/ATV Music Publishing LLC
 1626   Watching Airplanes                                    PA0001644061      Sony/ATV Music Publishing LLC
 1627   Way Out Here                                          PA0001777804      Sony/ATV Music Publishing LLC
 1628   We Aite (Wake Your Mind Up)                           PA0001750006      Sony/ATV Music Publishing LLC
 1629   We Are Young (feat. Janelle Mone)                     PA0001811978      Sony/ATV Music Publishing LLC
 1630   Wet The Bed                                           PA0001883692      Sony/ATV Music Publishing LLC
 1631   What I Wanted to Say                                  PA0001698434      Sony/ATV Music Publishing LLC
 1632   What If                                               PA0001813212      Sony/ATV Music Publishing LLC
 1633   Whatcha Say                                           PA0001813211      Sony/ATV Music Publishing LLC
 1634   When Love Takes Over                                  PA0001682910;     Sony/ATV Music Publishing LLC
                                                              PA0001644855
 1635   White Liar                                            PA0001682738      Sony/ATV Music Publishing LLC
 1636   Who I Am With You                                     PA0001887676      Sony/ATV Music Publishing LLC
 1637   Why Don't We Just Dance                               PA0001689774      Sony/ATV Music Publishing LLC
 1638   With You, Without You                                 PA0001607900      Sony/ATV Music Publishing LLC
 1639   Won't Be Lonely Long - On The Road                    PA0001777801      Sony/ATV Music Publishing LLC
 1640   XO                                                    PA0001879186      Sony/ATV Music Publishing LLC
 1641   You Ain't Seen Country Yet                            PA0001777803      Sony/ATV Music Publishing LLC
 1642   You And I                                             PA0001751989      Sony/ATV Music Publishing LLC
 1643   TRUE                                                  PA0001821294      Sony/ATV Music Publishing LLC
 1644   Without You                                           PA0001814077      Sony/ATV Music Publishing LLC / EMI April Music Inc.
 1645   Unfortunate                                           PA0001856240;     Sony/ATV Music Publishing LLC / Warner-Tamerlane Publishing Corp.
                                                              PA0001787038
 1646 You're Not In On The Joke                               PA0001875761;     Sony/ATV Music Publishing LLC / EMI April Music Inc.
                                                              PA0001662742
 1647 Home This Christmas                                     PA0001780222      Sony/ATV Music Publishing LLC / EMI April Music Inc.




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      Track                                                   Reg. No.          Plaintiff
 1648 Trouble On My Mind                                      PA0001789134      Sony/ATV Music Publishing LLC / EMI April Music Inc.
 1649 Move Like You Gonna Die                                 PA0001875762;     Sony/ATV Music Publishing LLC / EMI April Music Inc.
                                                              PA0001662776
 1650 The Way                                                 PA0001903036      Sony/ATV Music Publishing LLC / EMI April Music Inc.
 1651 U Smile                                                 PA0001729700      Sony/ATV Music Publishing LLC / EMI April Music Inc. / EMI Blackwood Music Inc.
 1652 Here I Stand                                            PA0001673111;     Sony/ATV Music Publishing LLC / EMI April Music Inc. / W Chappell Music Corp. d/b/a WC Music
                                                              PA0001659007      Corp.
 1653 Refill                                                  PA0002000106      Sony/ATV Music Publishing LLC / EMI April Music Inc. / W Chappell Music Corp. d/b/a WC Music
                                                                                Corp.
 1654 Talk That Talk                                          PA0001848908;     Sony/ATV Music Publishing LLC / EMI April Music Inc. / W Chappell Music Corp. d/b/a WC Music
                                                              PA0002003919      Corp.
 1655 Castle Made Of Sand                                     PA0001771874;     W Chappell Music Corp. d/b/a WC Music Corp. / W.C.M. Music Corp.
                                                              PA0001780992
 1656 Jay Z Blue                                              PA0001858812;     Sony/ATV Music Publishing LLC / EMI April Music Inc. / W Chappell Music Corp. d/b/a WC Music
                                                              PA0001878202      Corp. / Warner-Tamerlane Publishing Corp.
 1657 Work It Man                                             PA0001763347      Sony/ATV Music Publishing LLC / EMI April Music Inc. / Warner-Tamerlane Publishing Corp.
 1658   Call Of The Wild                                      PA0001733405      Sony/ATV Music Publishing LLC / EMI Blackwood Music Inc.
 1659   Dirty                                                 PA0001895398      Sony/ATV Music Publishing LLC / EMI Blackwood Music Inc.
 1660   Downtown                                              PA0001864826      Sony/ATV Music Publishing LLC / EMI Blackwood Music Inc.
 1661   Drinks for You (Ladies Anthem)                        PA0001833788      Sony/ATV Music Publishing LLC / EMI Blackwood Music Inc.
 1662   Feel This Moment                                      PA0001858590      Sony/ATV Music Publishing LLC / EMI Blackwood Music Inc.
 1663   Global Warming                                        PA0001858589      Sony/ATV Music Publishing LLC / EMI Blackwood Music Inc.
 1664   Hope We Meet Again                                    PA0001858593      Sony/ATV Music Publishing LLC / EMI Blackwood Music Inc.
 1665   Mind On My Money                                      PA0001807828      Sony/ATV Music Publishing LLC / EMI Blackwood Music Inc.
 1666   More                                                  PA0001745641      Sony/ATV Music Publishing LLC / EMI Blackwood Music Inc.
 1667   Your Mama Should've Named You Whiskey                 PA0001914393      Sony/ATV Music Publishing LLC / EMI Blackwood Music Inc.
 1668   Big Night                                             PA0001807064      Sony/ATV Music Publishing LLC / EMI Blackwood Music Inc. / EMI April Music Inc.
 1669   Dirt Road Diary                                       PA0001870870;     Sony/ATV Music Publishing LLC / EMI Blackwood Music Inc. / W Chappell Music Corp. d/b/a WC
                                                              PA0001967431      Music Corp.
 1670 I Did It For My Dawgz                                   PA0001852371;     Sony/ATV Music Publishing LLC / EMI Blackwood Music Inc. / W Chappell Music Corp. d/b/a WC
                                                              PA0001874308      Music Corp.
 1671 With The Lights On                                      PA0001924140      Sony/ATV Music Publishing LLC / EMI Blackwood Music Inc. / W Chappell Music Corp. d/b/a WC
                                                                                Music Corp.
 1672 Hotel Room Service                                      PA0001677761      Sony/ATV Music Publishing LLC / EMI Blackwood Music Inc. / Warner-Tamerlane Publishing Corp.

 1673 Without A Woman                                         PA0001865872      Sony/ATV Music Publishing LLC / EMI Blackwood Music Inc. / Warner-Tamerlane Publishing Corp.

 1674 Overboard                                               PA0001729705      Sony/ATV Music Publishing LLC / EMI Entertainment World Inc. d/b/a EMI Foray Music
 1675 Thinking Of You                                         PA0001884080      Sony/ATV Music Publishing LLC / EMI Entertainment World Inc. d/b/a EMI Foray Music / Warner-
                                                                                Tamerlane Publishing Corp.
 1676 Tears Of Joy                                            PA0001821877      Sony/ATV Music Publishing LLC / Jobete Music Co. Inc
 1677 Down On Me                                              PA0001722077      Sony/ATV Music Publishing LLC / Universal Music Corp.
 1678 All Alone                                               PA0001791456;     Sony/ATV Music Publishing LLC / W Chappell Music Corp. d/b/a WC Music Corp.
                                                              PA0001810597
 1679 All Alright                                             PA0001791457;     Sony/ATV Music Publishing LLC / W Chappell Music Corp. d/b/a WC Music Corp.
                                                              PA0001810599
 1680 Boyfriend                                               PA0001834755      Sony/ATV Music Publishing LLC / W Chappell Music Corp. d/b/a WC Music Corp.
 1681 Carry On                                                PA0001791456;     Sony/ATV Music Publishing LLC / W Chappell Music Corp. d/b/a WC Music Corp.
                                                              PA0001812238
 1682 Each Other                                              PA0001823951;     Sony/ATV Music Publishing LLC / W Chappell Music Corp. d/b/a WC Music Corp.
                                                              PA0001763340
 1683 Free Mason                                              PA0001715518,     Sony/ATV Music Publishing LLC / W Chappell Music Corp. d/b/a WC Music Corp.
                                                              PA0001821875
 1684 Get It Started                                          PA0001833984;     Sony/ATV Music Publishing LLC / W Chappell Music Corp. d/b/a WC Music Corp.
                                                              PA0001856139
 1685 Hustlin'                                                PA0001334589;     Sony/ATV Music Publishing LLC / W Chappell Music Corp. d/b/a WC Music Corp.
                                                              PA0001367972
 1686 I Cry                                                   PA0001864854;     Sony/ATV Music Publishing LLC / W Chappell Music Corp. d/b/a WC Music Corp.
                                                              PA0001887864
 1687 I Know You Want Me (Calle Ocho)                         PA0001706662;     Sony/ATV Music Publishing LLC / W Chappell Music Corp. d/b/a WC Music Corp.
                                                              PA0001733983
 1688 It Gets Better                                          PA0001791456;     Sony/ATV Music Publishing LLC / W Chappell Music Corp. d/b/a WC Music Corp.
                                                              PA0001810595
 1689 Lace and Leather                                        PA0001622996;     Sony/ATV Music Publishing LLC / W Chappell Music Corp. d/b/a WC Music Corp.
                                                              PA0001647942
 1690 Lover's Thing                                           PA0001659046;     Sony/ATV Music Publishing LLC / W Chappell Music Corp. d/b/a WC Music Corp.
                                                              PA0001755160
 1691 Magnificent                                             PA0001651715      Sony/ATV Music Publishing LLC / W Chappell Music Corp. d/b/a WC Music Corp.
 1692 One Foot                                                PA0001811984      Sony/ATV Music Publishing LLC / W Chappell Music Corp. d/b/a WC Music Corp.
 1693 Sexodus                                                 PA0001919070;     Sony/ATV Music Publishing LLC / W Chappell Music Corp. d/b/a WC Music Corp.
                                                              PA0001955249
 1694 She Ain't You                                           PA0001775944;     Sony/ATV Music Publishing LLC / W Chappell Music Corp. d/b/a WC Music Corp.
                                                              PA0001772287
 1695 Some Nights                                             PA0001791456;     Sony/ATV Music Publishing LLC / W Chappell Music Corp. d/b/a WC Music Corp.
                                                              PA0001810594
 1696 Some Nights (Intro)                                     PA0001791456;     Sony/ATV Music Publishing LLC / W Chappell Music Corp. d/b/a WC Music Corp.
                                                              PA0001810593




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      Track                                                   Reg. No.          Plaintiff
 1697 Stars                                                   PA0001791456;     Sony/ATV Music Publishing LLC / W Chappell Music Corp. d/b/a WC Music Corp.
                                                              PA0001810598
 1698 The Sky's The Limit                                     PA0001742577;     Sony/ATV Music Publishing LLC / W Chappell Music Corp. d/b/a WC Music Corp.
                                                              PA0001813221
 1699 Turn Around (5,4,3,2,1)                                 PA0001745024;     Sony/ATV Music Publishing LLC / W Chappell Music Corp. d/b/a WC Music Corp.
                                                              PA0001821659
 1700 We Are Young                                            PA0001791456;     Sony/ATV Music Publishing LLC / W Chappell Music Corp. d/b/a WC Music Corp.
                                                              PA0001811978
 1701 Why Am I the One                                        PA0001791456;     Sony/ATV Music Publishing LLC / W Chappell Music Corp. d/b/a WC Music Corp.
                                                              PA0001810596
 1702 Why You Up In Here                                      PA0001741641;     Sony/ATV Music Publishing LLC / W Chappell Music Corp. d/b/a WC Music Corp.
                                                              PA0001821674
 1703   American Beauty/American Psycho                       PA0001967312      Sony/ATV Music Publishing LLC / W Chappell Music Corp. d/b/a WC Music Corp.
 1704   BO$$                                                  PA0001961615      Sony/ATV Music Publishing LLC / W Chappell Music Corp. d/b/a WC Music Corp.
 1705   Bomb                                                  PA0001736350      Sony/ATV Music Publishing LLC / W Chappell Music Corp. d/b/a WC Music Corp.
 1706   Cooler Than Me                                        PA0001740827      Sony/ATV Music Publishing LLC / W Chappell Music Corp. d/b/a WC Music Corp.
 1707   Down To Earth                                         PA0001733328      Sony/ATV Music Publishing LLC / W Chappell Music Corp. d/b/a WC Music Corp.
 1708   Somebody To Love                                      PA0001733294      Sony/ATV Music Publishing LLC / W Chappell Music Corp. d/b/a WC Music Corp.
 1709   Stuck In The Moment                                   PA0001733295      Sony/ATV Music Publishing LLC / W Chappell Music Corp. d/b/a WC Music Corp.
 1710   Beg For It                                            PA0001864144;     Sony/ATV Music Publishing LLC / W Chappell Music Corp. d/b/a WC Music Corp. / Warner-Tamerlane
                                                              PA0001772282      Publishing Corp.
 1711 Biggest Fan                                             PA0001842280;     Sony/ATV Music Publishing LLC / W Chappell Music Corp. d/b/a WC Music Corp. / Warner-Tamerlane
                                                              PA0001896028      Publishing Corp.
 1712 Heaven                                                  PA0001858834      Sony/ATV Music Publishing LLC / W Chappell Music Corp. d/b/a WC Music Corp. / Warner-Tamerlane
                                                                                Publishing Corp.
 1713 Maybe You're Right                                      PA0001870023;     Sony/ATV Music Publishing LLC / W Chappell Music Corp. d/b/a WC Music Corp. / Warner-Tamerlane
                                                              PA0001920676      Publishing Corp.
 1714 My Darlin'                                              PA0001870022      Sony/ATV Music Publishing LLC / W Chappell Music Corp. d/b/a WC Music Corp. / Warner-Tamerlane
                                                                                Publishing Corp.
 1715 Picasso Baby                                            PA0001398432;     Sony/ATV Music Publishing LLC / W Chappell Music Corp. d/b/a WC Music Corp. / Warner-Tamerlane
                                                              PA0001858799      Publishing Corp.
 1716 Remember You                                            PA0001872896      Sony/ATV Music Publishing LLC / W Chappell Music Corp. d/b/a WC Music Corp. / Warner-Tamerlane
                                                                                Publishing Corp.
 1717 Tom Ford                                                PA0001858805      Sony/ATV Music Publishing LLC / W Chappell Music Corp. d/b/a WC Music Corp. / Warner-Tamerlane
                                                                                Publishing Corp.
 1718   Never Let You Go                                      PA0001733293      Sony/ATV Music Publishing LLC / W.C.M. Music Corp.
 1719   21                                                    PA0001741677      Sony/ATV Music Publishing LLC / Warner-Tamerlane Publishing Corp.
 1720   Automatic                                             PA0001932906      Sony/ATV Music Publishing LLC / Warner-Tamerlane Publishing Corp.
 1721   Fast Lane                                             PA0001842407      Sony/ATV Music Publishing LLC / Warner-Tamerlane Publishing Corp.
 1722   No New Friends                                        PA0001975061      Sony/ATV Music Publishing LLC / Warner-Tamerlane Publishing Corp.
 1723   Paint Tha Town                                        PA0001976126      Sony/ATV Music Publishing LLC / Warner-Tamerlane Publishing Corp.
 1724   Roman Reloaded                                        PA0001842418      Sony/ATV Music Publishing LLC / Warner-Tamerlane Publishing Corp.
 1725   American Superstar                                    PA0001638917;     Sony/ATV Music Publishing LLC / Warner-Tamerlane Publishing Corp.
                                                              PA0001644943
 1726 Americano                                               PA0001757746;     Sony/ATV Music Publishing LLC / Warner-Tamerlane Publishing Corp.
                                                              PA0001752324
 1727 Back Around                                             PA0001693110;     Sony/ATV Music Publishing LLC / Warner-Tamerlane Publishing Corp.
                                                              PA0001777802
 1728 Bloody Mary                                             PA0001757746;     Sony/ATV Music Publishing LLC / Warner-Tamerlane Publishing Corp.
                                                              PA0001752323
 1729 Blunt Blowin                                            PA0001807230;     Sony/ATV Music Publishing LLC / Warner-Tamerlane Publishing Corp.
                                                              PA0001811893
 1730 Born This Way                                           PA0001757756;     Sony/ATV Music Publishing LLC / Warner-Tamerlane Publishing Corp.
                                                              PA0001751981
 1731   Born This Way (Country Road Version)                  PA0001757756      Sony/ATV Music Publishing LLC / Warner-Tamerlane Publishing Corp.
 1732   Cut Throat                                            PA0001648869      Sony/ATV Music Publishing LLC / Warner-Tamerlane Publishing Corp.
 1733   Dance In The Dark                                     PA0001668360      Sony/ATV Music Publishing LLC / Warner-Tamerlane Publishing Corp.
 1734   Don't Know How To Act                                 PA0001647060;     Sony/ATV Music Publishing LLC / Warner-Tamerlane Publishing Corp.
                                                              PA0001644874
 1735 Fall Asleep                                             PA0001874350      Sony/ATV Music Publishing LLC / Warner-Tamerlane Publishing Corp.
 1736 Fashion Of His Love                                     PA0001757748;     Sony/ATV Music Publishing LLC / Warner-Tamerlane Publishing Corp.
                                                              PA0001751985
 1737 Got Everything                                          PA0001951624;     Sony/ATV Music Publishing LLC / Warner-Tamerlane Publishing Corp.
                                                              PA0001874348
 1738 Government Hooker                                       PA0001757746;     Sony/ATV Music Publishing LLC / Warner-Tamerlane Publishing Corp.
                                                              PA0001752316
 1739 Heavy Metal Lover                                       PA0001757748;     Sony/ATV Music Publishing LLC / Warner-Tamerlane Publishing Corp.
                                                              PA0001751982
 1740 High School                                             PA0001995833;     Sony/ATV Music Publishing LLC / Warner-Tamerlane Publishing Corp.
                                                              PA0001840527
 1741 Highway Unicorn (Road To Love)                          PA0001757746;     Sony/ATV Music Publishing LLC / Warner-Tamerlane Publishing Corp.
                                                              PA0001752322
 1742 Honestly                                                PA0001856126;     Sony/ATV Music Publishing LLC / Warner-Tamerlane Publishing Corp.
                                                              PA0001803614
 1743 In My Head                                              PA0001742580;     Sony/ATV Music Publishing LLC / Warner-Tamerlane Publishing Corp.
                                                              PA0001813215




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                                                              EXHIBIT B - MUSICAL COMPOSITIONS

      Track                                                   Reg. No.          Plaintiff
 1744 In The Ayer                                             PA0001647062;     Sony/ATV Music Publishing LLC / Warner-Tamerlane Publishing Corp.
                                                              PA0001644948
 1745 International Love                                      PA0001771867      Sony/ATV Music Publishing LLC / Warner-Tamerlane Publishing Corp.
 1746 John                                                    PA0001807238      Sony/ATV Music Publishing LLC / Warner-Tamerlane Publishing Corp.
 1747 Let It Go                                               PA0001951623;     Sony/ATV Music Publishing LLC / Warner-Tamerlane Publishing Corp.
                                                              PA0001874344
 1748 Let It Roll Part 2                                      PA0001863569      Sony/ATV Music Publishing LLC / Warner-Tamerlane Publishing Corp.
 1749 Love Hangover                                           PA0001742580;     Sony/ATV Music Publishing LLC / Warner-Tamerlane Publishing Corp.
                                                              PA0001813216
 1750 Love Song                                               PA0001691877;     Sony/ATV Music Publishing LLC / Warner-Tamerlane Publishing Corp.
                                                              PA0001682742
 1751 Marilyn Monroe                                          PA0001807225;     Sony/ATV Music Publishing LLC / Warner-Tamerlane Publishing Corp.
                                                              PA0001822206
 1752 Marry The Night                                         PA0001757748;     Sony/ATV Music Publishing LLC / Warner-Tamerlane Publishing Corp.
                                                              PA0001751986
 1753 No Limit                                                PA0001951617;     Sony/ATV Music Publishing LLC / Warner-Tamerlane Publishing Corp.
                                                              PA0001874362
 1754 Not A Bad Thing                                         PA0001896719      Sony/ATV Music Publishing LLC / Warner-Tamerlane Publishing Corp.
 1755 Paperbond                                               PA0001874342      Sony/ATV Music Publishing LLC / Warner-Tamerlane Publishing Corp.
 1756 Permanent December                                      PA0001741420;     Sony/ATV Music Publishing LLC / Warner-Tamerlane Publishing Corp.
                                                              PA0001708953
 1757   Roman's Revenge                                       PA0001786576      Sony/ATV Music Publishing LLC / Warner-Tamerlane Publishing Corp.
 1758   Side FX                                               PA0001896430      Sony/ATV Music Publishing LLC / Warner-Tamerlane Publishing Corp.
 1759   Stackin                                               PA0001841819      Sony/ATV Music Publishing LLC / Warner-Tamerlane Publishing Corp.
 1760   Starships                                             PA0001807221;     Sony/ATV Music Publishing LLC / Warner-Tamerlane Publishing Corp.
                                                              PA0001822042
 1761   Stupid Love                                           PA0001924144      Sony/ATV Music Publishing LLC / Warner-Tamerlane Publishing Corp.
 1762   Talk Dirty                                            PA0001924145      Sony/ATV Music Publishing LLC / Warner-Tamerlane Publishing Corp.
 1763   The Bluff                                             PA0001874346      Sony/ATV Music Publishing LLC / Warner-Tamerlane Publishing Corp.
 1764   The Edge Of Glory                                     PA0001757746;     Sony/ATV Music Publishing LLC / Warner-Tamerlane Publishing Corp.
                                                              PA0001751987
 1765 The Plan                                                PA0001874363;     Sony/ATV Music Publishing LLC / Warner-Tamerlane Publishing Corp.
                                                              PA0001913727
 1766 The Queen                                               PA0001757748;     Sony/ATV Music Publishing LLC / Warner-Tamerlane Publishing Corp.
                                                              PA0001751984
 1767 The Show Goes On                                        PA0001750275;     Sony/ATV Music Publishing LLC / Warner-Tamerlane Publishing Corp.
                                                              PA0001735709
 1768 Unusual                                                 PA0001771888;     Sony/ATV Music Publishing LLC / Warner-Tamerlane Publishing Corp.
                                                              PA0001787047
 1769 What's Wrong With Them                                  PA0001741927;     Sony/ATV Music Publishing LLC / Warner-Tamerlane Publishing Corp.
                                                              PA0001804877
 1770 Whip It                                                 PA0001807223;     Sony/ATV Music Publishing LLC / Warner-Tamerlane Publishing Corp.
                                                              PA0001822050
 1771 You Just Need Me                                        PA0001771889;     Sony/ATV Music Publishing LLC / Warner-Tamerlane Publishing Corp.
                                                              PA0001787045
 1772 Maybach Music III                                       PA0001739159      Sony/ATV Music Publishing LLC / Warner-Tamerlane Publishing Corp. / W Chappell Music Corp.
                                                                                d/b/a WC Music Corp.
 1773 Speedin'                                                PA0001647947      Sony/ATV Music Publishing LLC / Warner-Tamerlane Publishing Corp. / W Chappell Music Corp.
                                                                                d/b/a WC Music Corp.
 1774 Centuries                                               PA0001967311      Sony/ATV Music Publishing LLC / Warner-Tamerlane Publishing Corp./W Chappell Music Corp. d/b/a
                                                                                WC Music Corp.
 1775 Can I Get A Witness                                     Eu0000789133;     Stone Agate Music (a division of Jobete Music Co. Inc.)
                                                              RE0000535701
 1776   It Takes Two                                          EP0000214841      Stone Agate Music (a division of Jobete Music Co. Inc.)
 1777   That's The Way Love Is                                RE0000678602      Stone Agate Music (a division of Jobete Music Co. Inc.)
 1778   God Gave Me Style                                     PA0001160843      Stone Diamond Music Corp. / Jobete Music Co. Inc.
 1779   Always Late (with Your Kisses)                        EP0000056342;     Unichappell Music Inc.
                                                              RE0000017054
 1780 Chaining Day                                            PA0001939572      Unichappell Music Inc.
 1781 Don't Like (RMX)                                        PA0001808408      Unichappell Music Inc.
 1782 Down In The Valley                                      Eu0000721849;     Unichappell Music Inc.
                                                              RE0000490969
 1783 Hallelujah I Love Her So                                EU0000437231;     Unichappell Music Inc.
                                                              RE0000193661
 1784 Home In Your Heart                                      Eu0000760358;     Unichappell Music Inc.
                                                              RE0000519130
 1785   Live Fast, Die Young                                  PA0001739156      Unichappell Music Inc.
 1786   Lost In The World                                     PA0001784045      Unichappell Music Inc.
 1787   Necromancer                                           Eu0000236563      Unichappell Music Inc.
 1788   New God Flow                                          PA0001839620      Unichappell Music Inc.
 1789   Papa's Got A Brand New Bag                            Eu0000937504;     Unichappell Music Inc.
                                                              EP0000204266;
                                                              RE0000660458;
                                                              RE0000621005
 1790 Piece Of My Heart                                       EU19125;          Unichappell Music Inc.
                                                              RE0000695041
 1791 Where Have You Been                                     PA0001801575      Unichappell Music Inc.




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        Track                                                 Reg. No.          Plaintiff
 1792   1st Of Tha Month                                      PA0000782831      Unichappell Music Inc.
 1793   In The Rain                                           PA0001697043      Unichappell Music Inc.
 1794   Pump It Harder                                        PA0001723093      Unichappell Music Inc.
 1795   Somebody That I Used To Know                          PA0001785517      Unichappell Music Inc.
 1796   The Food                                              PA0001299025      Unichappell Music Inc.
 1797   The Title                                             PA0001263488      Unichappell Music Inc.
 1798   Walking the Floor over You                            R437580           Unichappell Music Inc.
 1799   Crazy in Love                                         PA0001131132      Unichappell Music Inc. / W Chappell Music Corp. d/b/a WC Music Corp.
 1800   Crazy in Love                                         PA0001208972      Unichappell Music Inc. / W Chappell Music Corp. d/b/a WC Music Corp.
 1801   That's My Bitch                                       PA0001762034      Unichappell Music Inc. / W Chappell Music Corp. d/b/a WC Music Corp.
 1802   It's a Man's Man's Man's World                        EU934266;         Unichappell Music Inc. / Warner-Tamerlane Publishing Corp.
                                                              RE0000648306
 1803   TKO                                                   PA0001896712      Unichappell Music Inc. / Warner-Tamerlane Publishing Corp.
 1804   (Rock) Superstar                                      PA0001009112      Universal Music - MGB NA LLC
 1805   A Distorted Reality Is Now A Necessity To Be Free     PA0001160161      Universal Music - MGB NA LLC
 1806   A Fond Farewell                                       PA0001160152      Universal Music - MGB NA LLC
 1807   A Passing Feeling                                     PA0001160156      Universal Music - MGB NA LLC
 1808   A Question Mark                                       PA0000943571      Universal Music - MGB NA LLC
 1809   A Thousand Beautiful Things                           PA0001105462      Universal Music - MGB NA LLC
 1810   Ace In The Hole                                       PA0000419894      Universal Music - MGB NA LLC
 1811   Alameda                                               PA0000859622      Universal Music - MGB NA LLC
 1812   All Black Everything                                  PA0001740713      Universal Music - MGB NA LLC
 1813   Alphabet Town                                         PA0000787969      Universal Music - MGB NA LLC
 1814   Amity                                                 PA0000943572      Universal Music - MGB NA LLC
 1815   Angeles                                               PA0000859623      Universal Music - MGB NA LLC
 1816   Baby Britain                                          PA0000943582      Universal Music - MGB NA LLC
 1817   Ballad Of Big Nothing                                 PA0000859624      Universal Music - MGB NA LLC
 1818   Beautiful                                             PA0001073465      Universal Music - MGB NA LLC
 1819   Beautiful Lasers (2 Ways)                             PA0001739094      Universal Music - MGB NA LLC
 1820   Behind The Crooked Cross                              PA0000398150      Universal Music - MGB NA LLC
 1821   Better Be Quiet Now                                   PA0001015796      Universal Music - MGB NA LLC
 1822   Between The Bars                                      PA0000859625      Universal Music - MGB NA LLC
 1823   Bled White                                            PA0000943583      Universal Music - MGB NA LLC
 1824   Bless The Broken Road                                 PA0000734451      Universal Music - MGB NA LLC
 1825   Breakdown                                             PA0001166373      Universal Music - MGB NA LLC
 1826   Bye                                                   PA0001015793      Universal Music - MGB NA LLC
 1827   Candyman                                              PA0001165131      Universal Music - MGB NA LLC
 1828   Candyman                                              PA0001600087      Universal Music - MGB NA LLC
 1829   Can't Get the Best of Me                              PA0001009100      Universal Music - MGB NA LLC
 1830   Can't Make A Sound                                    PA0001015792      Universal Music - MGB NA LLC
 1831   Christian Brothers                                    PA0000787963      Universal Music - MGB NA LLC
 1832   Cleanse The Soul                                      PA0000398146      Universal Music - MGB NA LLC
 1833   Clementine                                            PA0000787964      Universal Music - MGB NA LLC
 1834   Coast To Coast                                        PA0001160148      Universal Music - MGB NA LLC
 1835   Colorbars                                             PA0001015789      Universal Music - MGB NA LLC
 1836   Coming Up                                             PA0001739096      Universal Music - MGB NA LLC
 1837   Coming Up Roses                                       PA0000787967      Universal Music - MGB NA LLC
 1838   Condor Ave                                            PA0000874054      Universal Music - MGB NA LLC
 1839   Cowboy Take Me Away                                   PA0000976781      Universal Music - MGB NA LLC
 1840   Crashed                                               PA0001166377      Universal Music - MGB NA LLC
 1841   Crawling Back to You                                  PA0001777988      Universal Music - MGB NA LLC
 1842   Crazy Dreams                                          PA0001642863      Universal Music - MGB NA LLC
 1843   Culo (feat. Lil Jon)                                  PA0001160641      Universal Music - MGB NA LLC
 1844   Cupids Trick                                          PA0000859633      Universal Music - MGB NA LLC
 1845   Don't Go Down                                         PA0001160150      Universal Music - MGB NA LLC
 1846   Dr. Greenthumb                                        PA0000944325      Universal Music - MGB NA LLC
 1847   Drive All Over Town                                   PA0000874058      Universal Music - MGB NA LLC
 1848   Easy Way Out                                          PA0001015787      Universal Music - MGB NA LLC
 1849   Eight Easy Steps                                      PA0001160026      Universal Music - MGB NA LLC
 1850   Everybody Cares, Everybody Understands                PA0000943580      Universal Music - MGB NA LLC
 1851   Everything                                            PA0001160035      Universal Music - MGB NA LLC
 1852   Everything Means Nothing To Me                        PA0001015783      Universal Music - MGB NA LLC
 1853   Everything Reminds Me Of Her                          PA0001015782      Universal Music - MGB NA LLC
 1854   Everything's Coming Our Way                           V2694P487;        Universal Music - MGB NA LLC
                                                              EU284167
 1855 Eye In The Sky                                          PAu000586337;     Universal Music - MGB NA LLC
                                                              PA0000144130
 1856   Feel The Beat                                         PA0001015351      Universal Music - MGB NA LLC
 1857   Get Back In My Life                                   PA0001726280      Universal Music - MGB NA LLC
 1858   Ghosts of War                                         PA0000398148      Universal Music - MGB NA LLC
 1859   Give A Little More                                    PA0001726268      Universal Music - MGB NA LLC
 1860   Gone                                                  PA0001694264      Universal Music - MGB NA LLC
 1861   Good To Go                                            PA0000787971      Universal Music - MGB NA LLC
 1862   Guajira                                               V2694P487;        Universal Music - MGB NA LLC
                                                              EU284166
 1863 Happiness                                               PA0001015790      Universal Music - MGB NA LLC
 1864 Harder To Breathe                                       PA0001073084      Universal Music - MGB NA LLC




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        Track                                                 Reg. No.         Plaintiff
 1865   Help Me                                               PA0001395680     Universal Music - MGB NA LLC
 1866   Home                                                  PA0001166372     Universal Music - MGB NA LLC
 1867   How                                                   PA0001784067     Universal Music - MGB NA LLC
 1868   How 'Bout Them Cowgirls                               PA0001165925     Universal Music - MGB NA LLC
 1869   I Can't Lie                                           PA0001784067     Universal Music - MGB NA LLC
 1870   I Care                                                PA0001748375     Universal Music - MGB NA LLC
 1871   I Didn't Understand                                   PA0000943573     Universal Music - MGB NA LLC
 1872   I Don't Wanna Care Right Now                          PA0001739119     Universal Music - MGB NA LLC
 1873   I Forgive You                                         PA0001771873     Universal Music - MGB NA LLC
 1874   In The Lost And Found (Honky Bach)/The Roost          PA0001015785     Universal Music - MGB NA LLC
 1875   Independence Day                                      PA0000846538     Universal Music - MGB NA LLC
 1876   Junk Bond Trader                                      PA0001015781     Universal Music - MGB NA LLC
 1877   Just A Feeling                                        PA0001726281     Universal Music - MGB NA LLC
 1878   King's Crossing                                       PA0001160154     Universal Music - MGB NA LLC
 1879   Kiwi Maddog 2020                                      PA0000874061     Universal Music - MGB NA LLC
 1880   Lamborghini Angels                                    PA0001936327     Universal Music - MGB NA LLC
 1881   Last Call                                             PA0000874060     Universal Music - MGB NA LLC
 1882   Last Name                                             PA0001642858     Universal Music - MGB NA LLC
 1883   Let It Die                                            PA0001166700     Universal Music - MGB NA LLC
 1884   Let's Get Lost                                        PA0001160147     Universal Music - MGB NA LLC
 1885   Letting Go                                            PA0001739109     Universal Music - MGB NA LLC
 1886   Life is a Highway                                     PA0000683569     Universal Music - MGB NA LLC
 1887   Little One                                            PA0001160160     Universal Music - MGB NA LLC
 1888   Live Undead                                           PA0000398142     Universal Music - MGB NA LLC
 1889   Lonely Lonely                                         PA0001166704     Universal Music - MGB NA LLC
 1890   Lose My Cool                                          PA0000884231     Universal Music - MGB NA LLC
 1891   Lose Myself                                           PA0000884229     Universal Music - MGB NA LLC
 1892   Love Was Easy                                         PA0001899459     Universal Music - MGB NA LLC
 1893   Lowrider                                              PA0001058017     Universal Music - MGB NA LLC
 1894   Mamacita                                              PA0001635799     Universal Music - MGB NA LLC
 1895   Mandatory Suicide                                     PA0000398149     Universal Music - MGB NA LLC
 1896   Me                                                    PA0000898017     Universal Music - MGB NA LLC
 1897   Memory Lane                                           PA0001160159     Universal Music - MGB NA LLC
 1898   Misery                                                PA0001726265     Universal Music - MGB NA LLC
 1899   Miss Misery                                           PA0000880149     Universal Music - MGB NA LLC
 1900   Mmm Papi                                              PA0001800249     Universal Music - MGB NA LLC
 1901   Moves Like Jagger                                     PA0001801572     Universal Music - MGB NA LLC
 1902   Mushaboom                                             PA0001166692     Universal Music - MGB NA LLC
 1903   Must Get Out                                          PA0001073090     Universal Music - MGB NA LLC
 1904   My Kinda Girl                                         PA0002008135     Universal Music - MGB NA LLC
 1905   Needle In The Hay                                     PA0000787962     Universal Music - MGB NA LLC
 1906   Never Gonna Leave This Bed                            PA0001726273     Universal Music - MGB NA LLC
 1907   No Curtain Call                                       PA0001726287     Universal Music - MGB NA LLC
 1908   No Name : No. 1                                       PA0000874055     Universal Music - MGB NA LLC
 1909   No Name : No. 2                                       PA0000874056     Universal Music - MGB NA LLC
 1910   No Name : No. 3                                       PA0000874057     Universal Music - MGB NA LLC
 1911   No Name : No. 4                                       PA0000874059     Universal Music - MGB NA LLC
 1912   No Name No. 5                                         PA0000859632     Universal Music - MGB NA LLC
 1913   No Substitute Love                                    PA0001911376     Universal Music - MGB NA LLC
 1914   Nobody Ever Told You                                  PA0001810765     Universal Music - MGB NA LLC
 1915   Not Coming Home                                       PA0001073094     Universal Music - MGB NA LLC
 1916   Nothing´s Gonna Stop Us Now                           PA0000318621     Universal Music - MGB NA LLC
 1917   Oh Well, OK                                           PA0000943579     Universal Music - MGB NA LLC
 1918   One More Night                                        PA0001810344     Universal Music - MGB NA LLC
 1919   One Way Ticket                                        PA0001810764     Universal Music - MGB NA LLC
 1920   Ostrich & Chirping                                    PA0001160153     Universal Music - MGB NA LLC
 1921   Out Of Control                                        PA0001015243     Universal Music - MGB NA LLC
 1922   Out Of Goodbyes                                       PA0001726285     Universal Music - MGB NA LLC
 1923   Pictures Of Me                                        PA0000859626     Universal Music - MGB NA LLC
 1924   Pitseleh                                              PA0000943578     Universal Music - MGB NA LLC
 1925   Pretty (Ugly Before)                                  PA0001160149     Universal Music - MGB NA LLC
 1926   Pretty Mary K (Other Version)                         PA0001015791     Universal Music - MGB NA LLC
 1927   Pretty Mary K                                         PA0001015791     Universal Music - MGB NA LLC
 1928   Punch And Judy                                        PA0000859627     Universal Music - MGB NA LLC
 1929   Rag Doll                                              PA0001805172     Universal Music - MGB NA LLC
 1930   Read Between The Lies                                 PA0000398147     Universal Music - MGB NA LLC
 1931   Ready To Run                                          PA0000955178     Universal Music - MGB NA LLC
 1932   Return of the "G"                                     PA0000956080     Universal Music - MGB NA LLC
 1933   Roman Candle                                          PA0000874053     Universal Music - MGB NA LLC
 1934   Rose Parade                                           PA0000859628     Universal Music - MGB NA LLC
 1935   Runaway                                               PA0001726283     Universal Music - MGB NA LLC
 1936   Sacrifice                                             PA0001163825     Universal Music - MGB NA LLC
 1937   Samba Pa Ti                                           V2694P487;       Universal Music - MGB NA LLC
                                                              EU221030
 1938 Sandstorm                                               PA0000981355     Universal Music - MGB NA LLC
 1939 Sandstorm (Js 16 Remix)                                 PA0001015249     Universal Music - MGB NA LLC
 1940 Sara                                                    PA0000289967     Universal Music - MGB NA LLC




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      Track                                                   Reg. No.          Plaintiff
 1941 Satellite                                               PA0000787968      Universal Music - MGB NA LLC
 1942 Say Yes                                                 PA0000859629      Universal Music - MGB NA LLC
 1943 Se a Cabo                                               V2694P487;        Universal Music - MGB NA LLC
                                                              EU221029
 1944   Secret                                                PA0001073092      Universal Music - MGB NA LLC
 1945   She Will Be Loved                                     PA0001073087      Universal Music - MGB NA LLC
 1946   Shiver                                                PA0001073086      Universal Music - MGB NA LLC
 1947   Shooting Star                                         PA0001160158      Universal Music - MGB NA LLC
 1948   Shoulda Let You Go                                    PA0001395956      Universal Music - MGB NA LLC
 1949   Silent Scream                                         PA0000398144      Universal Music - MGB NA LLC
 1950   Single File                                           PA0000787966      Universal Music - MGB NA LLC
 1951   So Small                                              PA0001642868      Universal Music - MGB NA LLC
 1952   Some Song                                             PA0000977171      Universal Music - MGB NA LLC
 1953   Somebody That I Used To Know                          PA0001015780      Universal Music - MGB NA LLC
 1954   Son Of Sam                                            PA0001015779      Universal Music - MGB NA LLC
 1955   Song of the Wind                                      RE0000834788      Universal Music - MGB NA LLC
 1956   Soul Sacrifice                                        V2694P487;        Universal Music - MGB NA LLC
                                                              EU133364
 1957   South Of Heaven                                       PA0000398143      Universal Music - MGB NA LLC
 1958   Southern Belle                                        PA0000787965      Universal Music - MGB NA LLC
 1959   Speed Trials                                          PA0000859630      Universal Music - MGB NA LLC
 1960   Spill The Blood                                       PA0000398145      Universal Music - MGB NA LLC
 1961   St. Ides Heaven                                       PA0000787970      Universal Music - MGB NA LLC
 1962   State Run Radio                                       PA0001739098      Universal Music - MGB NA LLC
 1963   Still Ballin'                                         PA0001219183      Universal Music - MGB NA LLC
 1964   Stronger (What Doesn't Kill You)                      PA0001771872      Universal Music - MGB NA LLC
 1965   Strung Out Again                                      PA0001160151      Universal Music - MGB NA LLC
 1966   Stupidity Tries                                       PA0001015786      Universal Music - MGB NA LLC
 1967   Stutter                                               PA0001784067      Universal Music - MGB NA LLC
 1968   Sunday Morning                                        PA0001073091      Universal Music - MGB NA LLC
 1969   Superstar                                             PA0001914364      Universal Music - MGB NA LLC
 1970   Sweet Adeline                                         PA0000943577      Universal Music - MGB NA LLC
 1971   Sweetest Goodbye                                      PA0001073095      Universal Music - MGB NA LLC
 1972   Tangled                                               PA0001073088      Universal Music - MGB NA LLC
 1973   Tequila Sunrise                                       PA0000978418      Universal Music - MGB NA LLC
 1974   The Last Hour                                         PA0001160157      Universal Music - MGB NA LLC
 1975   The Quiet Things That No One Ever Knows               PA0001160997      Universal Music - MGB NA LLC
 1976   The Sun                                               PA0001073089      Universal Music - MGB NA LLC
 1977   The White Lady Loves You More                         PA0000787972      Universal Music - MGB NA LLC
 1978   There And Back Again                                  PA0001166375      Universal Music - MGB NA LLC
 1979   There Will Come A Day                                 PA0001104206      Universal Music - MGB NA LLC
 1980   This Love                                             PA0001073085      Universal Music - MGB NA LLC
 1981   Through With You                                      PA0001073093      Universal Music - MGB NA LLC
 1982   Throw Your Set In The Air                             PA0000864778      Universal Music - MGB NA LLC
 1983   Thugz Cry                                             PA0000980074      Universal Music - MGB NA LLC
 1984   Tomorrow Tomorrow                                     PA0000943576      Universal Music - MGB NA LLC
 1985   Tulsa Texas                                           PA0001910314      Universal Music - MGB NA LLC
 1986   Twilight                                              PA0001160155      Universal Music - MGB NA LLC
 1987   Used To                                               PA0001166369      Universal Music - MGB NA LLC
 1988   Waltz No. 1                                           PA0000943575      Universal Music - MGB NA LLC
 1989   Waltz No. 2 (XO)                                      PA0000943574      Universal Music - MGB NA LLC
 1990   Welcome 2 Hell                                        PA0001808402;     Universal Music - MGB NA LLC
                                                              PA0001784192
 1991   What I Want                                           PA0001166370      Universal Music - MGB NA LLC
 1992   When U Cry                                            PA0000884230      Universal Music - MGB NA LLC
 1993   Who Will You Run To                                   PA0000332738      Universal Music - MGB NA LLC
 1994   Why                                                   PA0001166751      Universal Music - MGB NA LLC
 1995   Wouldn't Mama Be Proud                                PA0001015788      Universal Music - MGB NA LLC
 1996   You Can't Make A Heart Love Somebody                  PA0000693782      Universal Music - MGB NA LLC
 1997   You Want Her Too                                      PA0000423641      Universal Music - MGB NA LLC
 1998   Far From Home                                         PA0001646452      Universal Music – MGB NA LLC
 1999   Pavement Cracks                                       PA0001105463      Universal Music – MGB NA LLC
 2000   She's Hotter                                          PA0001163809      Universal Music – MGB NA LLC
 2001   The Bully                                             PA0001164906      Universal Music – MGB NA LLC
 2002   Whatcha Think About That                              PA0001657436      Universal Music – MGB NA LLC
 2003   Eye Pieces                                            V3594D824         Universal Music - MGB NA LLC
 2004   Homecoming Queen                                      PA0001915831      Universal Music - MGB NA LLC
 2005   One Of Those Nights                                   PA0001856074      Universal Music - MGB NA LLC
 2006   Sweetest Girl (Dollar Bill)                           PA0001776575      Universal Music - MGB NA LLC
 2007   1985                                                  PA0001159762      Universal Music - Z Tunes LLC
 2008   A Modern Myth                                         PA0001627815      Universal Music - Z Tunes LLC
 2009   After The Hurricane                                   PA0001897144      Universal Music - Z Tunes LLC
 2010   A-hole                                                PA0001159770      Universal Music - Z Tunes LLC
 2011   Alien                                                 PA0001917964      Universal Music - Z Tunes LLC
 2012   All I Have To Give                                    PA0000859324      Universal Music - Z Tunes LLC
 2013   All I Wanna Do Is Make Love To You                    PA0000063695      Universal Music - Z Tunes LLC
 2014   All The Way                                           PA0001933959      Universal Music - Z Tunes LLC




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        Track                                                            Reg. No.          Plaintiff
 2015   Almost                                                           PA0001159760      Universal Music - Z Tunes LLC
 2016   Almost Home                                                      PA0001159842      Universal Music - Z Tunes LLC
 2017   Anything                                                         PA0001166331      Universal Music - Z Tunes LLC
 2018   As Long As You Love Me                                           PA0000859323      Universal Music - Z Tunes LLC
 2019   Attack                                                           PA0001630069      Universal Music - Z Tunes LLC
 2020   AV                                                               PA0001158617      Universal Music - Z Tunes LLC
 2021   Baby One More Time                                               PA0000922764      Universal Music - Z Tunes LLC
 2022   Be On You (feat. Ne-Yo)                                          PA0001744934      Universal Music - Z Tunes LLC
 2023   Beauty in the World                                              PA0001733325      Universal Music - Z Tunes LLC
 2024   Because Of You                                                   PA0001643835      Universal Music - Z Tunes LLC
 2025   Body Count                                                       PA0001843832      Universal Music - Z Tunes LLC
 2026   Boo                                                              PA0001068355      Universal Music - Z Tunes LLC
 2027   Born to Make You Happy                                           PA0000932240      Universal Music - Z Tunes LLC
 2028   Brave New Girl                                                   PA0001158592      Universal Music - Z Tunes LLC
 2029   Brenda's Got A Baby                                              PA0001319771      Universal Music - Z Tunes LLC
 2030   Brightest Morning Star                                           PA0001915188      Universal Music - Z Tunes LLC
 2031   Burn It Down                                                     PA0001805742      Universal Music - Z Tunes LLC
 2032   Caligula                                                         PA0000982321      Universal Music - Z Tunes LLC
 2033   Call Me Guilty                                                   PA0001897137      Universal Music - Z Tunes LLC
 2034   Call On Me                                                       PA0001087663      Universal Music - Z Tunes LLC
 2035   Castle of Glass                                                  PA0001805745      Universal Music - Z Tunes LLC
 2036   Celebrity                                                        PA0001752525      Universal Music - Z Tunes LLC
 2037   Chillin' With You                                                PA0001917967      Universal Music - Z Tunes LLC
 2038   Come And Get Some                                                PA0000951393      Universal Music - Z Tunes LLC
 2039   Come Together                                                    PA0001131225      Universal Music - Z Tunes LLC
 2040   Coming Home                                                      PA0000968742      Universal Music - Z Tunes LLC
 2041   Crawling                                                         PA0001092510      Universal Music - Z Tunes LLC
 2042   Damn Girl                                                        PA0001165054      Universal Music - Z Tunes LLC
 2043   Destiny                                                          PA0001012581      Universal Music - Z Tunes LLC
 2044   Do Something                                                     PA0000965750      Universal Music - Z Tunes LLC
 2045   Don't Cry                                                        PA0001917968      Universal Music - Z Tunes LLC
 2046   Don't Say No, Just Say Yes                                       PA0001087665      Universal Music - Z Tunes LLC
 2047   Don't Take Your Love Away                                        PA0001158619      Universal Music - Z Tunes LLC
 2048   Down For The Count                                               PA0001159774      Universal Music - Z Tunes LLC
 2049   Dream Big                                                        PA0001897124      Universal Music - Z Tunes LLC
 2050   Drowning                                                         PA0001065910      Universal Music - Z Tunes LLC
 2051   Early Mornin'                                                    PA0001162999      Universal Music - Z Tunes LLC
 2052   Epiphany                                                         PA0001908943      Universal Music - Z Tunes LLC
 2053   Everybody (Backstreet's Back)                                    PA0000821647      Universal Music - Z Tunes LLC
 2054   Everything About You                                             PA0001158625      Universal Music - Z Tunes LLC
 2055   Everytime                                                        PA0001158595      Universal Music - Z Tunes LLC
 2056   F**k Faces                                                       PA0000951093      Universal Music - Z Tunes LLC
 2057   Fear                                                             PA0001897132      Universal Music - Z Tunes LLC
 2058   Feast                                                            PA0001158622      Universal Music - Z Tunes LLC
 2059   Finally Made Me Happy                                            PA0001167770      Universal Music - Z Tunes LLC
 2060   Flickin'                                                         PA0001158627      Universal Music - Z Tunes LLC
 2061   Fly As An Eagle (feat. Foxx and Pimp C)                          PA0001924161      Universal Music - Z Tunes LLC
 2062   Friends O' Mine                                                  PA0001159776      Universal Music - Z Tunes LLC
 2063   From Yesterday                                                   PA0001627824      Universal Music - Z Tunes LLC
 2064   Get Away                                                         PA0001025466      Universal Music - Z Tunes LLC
 2065   Get Happy                                                        PA0001159763      Universal Music - Z Tunes LLC
 2066   Gimme All Your Lovin' or I Will Kill You                         PA0001068357      Universal Music - Z Tunes LLC
 2067   Go On Girl                                                       PA0001167568      Universal Music - Z Tunes LLC
 2068   Good Girl Gone Bad                                               PA0001641361      Universal Music - Z Tunes LLC
 2069   Good To Know That If I Ever Need Attention All I Have To Do is   PA0001160994      Universal Music - Z Tunes LLC
        Die
 2070   Guernica                                                         PA0001160999      Universal Music - Z Tunes LLC
 2071   Happiness                                                        PA0001131229      Universal Music - Z Tunes LLC
 2072   Happy                                                            PA0001012579      Universal Music - Z Tunes LLC
 2073   Hate That I Love You                                             PA0001641335      Universal Music - Z Tunes LLC
 2074   Here Comes Goodbye                                               PA0001655601      Universal Music - Z Tunes LLC
 2075   His Mistakes                                                     PA0001658991;     Universal Music - Z Tunes LLC
                                                                         PA0001602812
 2076   Hold On Tight                                                    PA0001915189      Universal Music - Z Tunes LLC
 2077   Hooked                                                           PA0001158620      Universal Music - Z Tunes LLC
 2078   I Can't Wait                                                     PA0001396082      Universal Music - Z Tunes LLC
 2079   I Don't Remember                                                 PA0001729163      Universal Music - Z Tunes LLC
 2080   I Hate Everything                                                PA0001159807      Universal Music - Z Tunes LLC
 2081   I Wanna Know                                                     PA0001012580      Universal Music - Z Tunes LLC
 2082   I Want It That Way                                               PA0000940714      Universal Music - Z Tunes LLC
 2083   I Will                                                           PA0000925699      Universal Music - Z Tunes LLC
 2084   I Will Play My Game Beneath The Spin Light                       PA0001160991      Universal Music - Z Tunes LLC
 2085   If It's Lovin' That You Want                                     PA0001167048;     Universal Music - Z Tunes LLC
                                                                         PA0001162726
 2086 I'LL BE GONE                                                       PA0001805744      Universal Music - Z Tunes LLC
 2087 I'll Never Break Your Heart                                        PA0000859260      Universal Music - Z Tunes LLC
 2088 In Between Us                                                      PA0001113731      Universal Music - Z Tunes LLC




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        Track                                                 Reg. No.         Plaintiff
 2089   In Love With Another Man                              PA0001897134     Universal Music - Z Tunes LLC
 2090   In My Remains                                         PA0001805741     Universal Music - Z Tunes LLC
 2091   In The End                                            PA0001092513     Universal Music - Z Tunes LLC
 2092   Int'l Players Anthem (I Choose You)                   PA0001646582     Universal Music - Z Tunes LLC
 2093   It Ain't The Money                                    PA0001131222     Universal Music - Z Tunes LLC
 2094   It Should Be Easy                                     PA0001917963     Universal Music - Z Tunes LLC
 2095   Jack & Jill                                           PA0001087674     Universal Music - Z Tunes LLC
 2096   Jaws Theme Swimming                                   PA0001160998     Universal Music - Z Tunes LLC
 2097   King Of The Streets                                   PA0001774746     Universal Music - Z Tunes LLC
 2098   Larger Than Life                                      PA0000940713     Universal Music - Z Tunes LLC
 2099   Last Call Casualty                                    PA0001159767     Universal Music - Z Tunes LLC
 2100   Leave Out All The Rest                                PA0001167571     Universal Music - Z Tunes LLC
 2101   Let Me C It (Feat. Petey Pablo)                       PA0001241429     Universal Music - Z Tunes LLC
 2102   Let Me Love You (Until You Learn To Love Yourself)    PA0001831966     Universal Music - Z Tunes LLC
 2103 Let You Win                                             PA0001733341     Universal Music - Z Tunes LLC
 2104   Let's Make a Deal                                     PA0001025467     Universal Music - Z Tunes LLC
 2105   Lie About Us                                          PA0001167119     Universal Music - Z Tunes LLC
 2106   Lies Greed Misery                                     PA0001805743     Universal Music - Z Tunes LLC
 2107   Like Smoke                                            PA0001804417     Universal Music - Z Tunes LLC
 2108   Lost in the Echo                                      PA0001805740     Universal Music - Z Tunes LLC
 2109   Love Me Love Me                                       PA0001784544     Universal Music - Z Tunes LLC
 2110   Love School                                           PA0001087673     Universal Music - Z Tunes LLC
 2111   Makin' Good Love                                      PA0001087666     Universal Music - Z Tunes LLC
 2112   Marry The P***y                                       PA0001934438     Universal Music - Z Tunes LLC
 2113   Me Against The Music                                  PA0001158586     Universal Music - Z Tunes LLC
 2114   Me vs. Maradona vs. Elvis                             PA0001161000     Universal Music - Z Tunes LLC
 2115   My Baby                                               PA0001888781     Universal Music - Z Tunes LLC
 2116   My Hometown                                           PA0001159769     Universal Music - Z Tunes LLC
 2117   Need U Bad                                            PA0001932031     Universal Music - Z Tunes LLC
 2118   Next Ex-Girlfriend                                    PA0001159768     Universal Music - Z Tunes LLC
 2119   Next To You                                           PA0001641326     Universal Music - Z Tunes LLC
 2120   No Diggity                                            PA0000839312     Universal Music - Z Tunes LLC
 2121   No Limit                                              PA0001087668     Universal Music - Z Tunes LLC
 2122   Now That I Found You                                  PA0001915191     Universal Music - Z Tunes LLC
 2123   Oblivion                                              PA0001066429     Universal Music - Z Tunes LLC
 2124   Okay I Believe You, But My Tommy Gun Don't            PA0001160992     Universal Music - Z Tunes LLC
 2125   One Night Stand                                       PA0001897141     Universal Music - Z Tunes LLC
 2126   One Way Street                                        PA0001087672     Universal Music - Z Tunes LLC
 2127   Ooh Aah                                               PA0001012582     Universal Music - Z Tunes LLC
 2128   Oops I Did It Again                                   PA0001005838     Universal Music - Z Tunes LLC
 2129   Outrageous                                            PA0001158594     Universal Music - Z Tunes LLC
 2130   Papercut                                              PA0001092506     Universal Music - Z Tunes LLC
 2131   Parachute                                             PA0001856273     Universal Music - Z Tunes LLC
 2132   Perfume (The Dreaming Mix)                            PA0001915193     Universal Music - Z Tunes LLC
 2133   Phone Sex (That's What's Up)                          PA0001158621     Universal Music - Z Tunes LLC
 2134   Play Crack The Sky                                    PA0001160996     Universal Music - Z Tunes LLC
 2135   Plc.4 Mie Haed                                        PA0001237296     Universal Music - Z Tunes LLC
 2136   Points Of Authority                                   PA0001092509     Universal Music - Z Tunes LLC
 2137   Powerless                                             PA0001805751     Universal Music - Z Tunes LLC
 2138   PPr:Kut                                               PA0001237300     Universal Music - Z Tunes LLC
 2139   Pts.OF.Athrty                                         PA0001237292     Universal Music - Z Tunes LLC
 2140   Question Existing                                     PA0001641356     Universal Music - Z Tunes LLC
 2141   Quit Playing Games (With My Heart)                    PA0000893064     Universal Music - Z Tunes LLC
 2142   Rather Hazy                                           PA0001010168     Universal Music - Z Tunes LLC
 2143   Reaction                                              PA0001054035     Universal Music - Z Tunes LLC
 2144   Read Your Mind                                        PA0001158618     Universal Music - Z Tunes LLC
 2145   Real Love                                             PA0001733344     Universal Music - Z Tunes LLC
 2146   Really Might Be Gone                                  PA0001159773     Universal Music - Z Tunes LLC
 2147   Rehab                                                 PA0001641351     Universal Music - Z Tunes LLC
 2148   R-Evolve                                              PA0001627821     Universal Music - Z Tunes LLC
 2149   Ridiculous                                            PA0001159765     Universal Music - Z Tunes LLC
 2150   Rnw@y                                                 PA0001237301     Universal Music - Z Tunes LLC
 2151   Roads Untraveled                                      PA0001805747     Universal Music - Z Tunes LLC
 2152   Run (feat. RedFoo of LMFAO)                           PA0001824805     Universal Music - Z Tunes LLC
 2153   Runaway                                               PA0001092511     Universal Music - Z Tunes LLC
 2154   Sad Sad Situation                                     PA0001159772     Universal Music - Z Tunes LLC
 2155   Savior                                                PA0001627837     Universal Music - Z Tunes LLC
 2156   Screamin'                                             PA0001131232     Universal Music - Z Tunes LLC
 2157   Seems To Be                                           PA0001158623     Universal Music - Z Tunes LLC
 2158   Separated                                             PA0001012575     Universal Music - Z Tunes LLC
 2159   Serious                                               PA0001025468     Universal Music - Z Tunes LLC
 2160   Session                                               PA0001256413     Universal Music - Z Tunes LLC
 2161   Sex-o-matic Venus Freak                               PA0000982322     Universal Music - Z Tunes LLC
 2162   Sexual Revolution                                     PA0001088199     Universal Music - Z Tunes LLC
 2163   Shadow                                                PA0001158591     Universal Music - Z Tunes LLC
 2164   She Ain't Right for You                               PA0001131223     Universal Music - Z Tunes LLC
 2165   She Don't Write Songs About You                       PA0001131226     Universal Music - Z Tunes LLC




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        Track                                                 Reg. No.         Plaintiff
 2166   Show Me The Meaning Of Being Lonely                   PA0000940715     Universal Music - Z Tunes LLC
 2167   Showdown                                              PA0001158589     Universal Music - Z Tunes LLC
 2168   Shut-Up And Smile                                     PA0001159766     Universal Music - Z Tunes LLC
 2169   Sic Transit Gloria                                    PA0001160995     Universal Music - Z Tunes LLC
 2170   Six In Da Morning                                     PA0001087670     Universal Music - Z Tunes LLC
 2171   Skin to Bone                                          PA0001805748     Universal Music - Z Tunes LLC
 2172   Smoothie King                                         PA0001159771     Universal Music - Z Tunes LLC
 2173   Somewhere I Belong                                    PA0001256410     Universal Music - Z Tunes LLC
 2174   Sorry                                                 PA0001087667     Universal Music - Z Tunes LLC
 2175   Stalker                                               PA0001733343     Universal Music - Z Tunes LLC
 2176   Still Hurts                                           PA0001733323     Universal Music - Z Tunes LLC
 2177   Stupid In Love                                        PA0001668436     Universal Music - Z Tunes LLC
 2178   Suicide                                               PA0001087675     Universal Music - Z Tunes LLC
 2179   Switch!                                               PA0001897139     Universal Music - Z Tunes LLC
 2180   Take A Bow                                            PA0001692696     Universal Music - Z Tunes LLC
 2181   Tautou                                                PA0001160990     Universal Music - Z Tunes LLC
 2182   That Man                                              PA0001733342     Universal Music - Z Tunes LLC
 2183   The Boss                                              PA0001643618     Universal Music - Z Tunes LLC
 2184   The Boy Who Blocked His Own Shot                      PA0001160993     Universal Music - Z Tunes LLC
 2185   The Call                                              PA0001034531     Universal Music - Z Tunes LLC
 2186   The Comeback                                          PA0001733346     Universal Music - Z Tunes LLC
 2187   The Fantasy                                           PA0001627841     Universal Music - Z Tunes LLC
 2188   The Hook Up                                           PA0001158587     Universal Music - Z Tunes LLC
 2189   The Kill [Bury Me]                                    PA0001630065     Universal Music - Z Tunes LLC
 2190   The Letter                                            PA0000982327     Universal Music - Z Tunes LLC
 2191   The One                                               PA0000940719     Universal Music - Z Tunes LLC
 2192   The Story                                             PA0001627822     Universal Music - Z Tunes LLC
 2193   These Dreams                                          PA0000265527     Universal Music - Z Tunes LLC
 2194   They Down With Us                                     PA0001032839     Universal Music - Z Tunes LLC
 2195   Things That Made Me Change                            PA0001131224     Universal Music - Z Tunes LLC
 2196   Thinkin' About You                                    PA0001087669     Universal Music - Z Tunes LLC
 2197   This Time                                             PA0001025469     Universal Music - Z Tunes LLC
 2198   Throw This Money On You                               PA0001934439     Universal Music - Z Tunes LLC
 2199   Tinfoil                                               PA0001805750     Universal Music - Z Tunes LLC
 2200   Touch Of My Hand                                      PA0001158590     Universal Music - Z Tunes LLC
 2201   Treat Me Like Your Money                              PA0001167777     Universal Music - Z Tunes LLC
 2202   Trucker Hat                                           PA0001159761     Universal Music - Z Tunes LLC
 2203   Two-Seater                                            PA0001159775     Universal Music - Z Tunes LLC
 2204   Valentine's Day                                       PA0001167577     Universal Music - Z Tunes LLC
 2205   Victimized                                            PA0001805746     Universal Music - Z Tunes LLC
 2206   Wake                                                  PA0001167569     Universal Music - Z Tunes LLC
 2207   Wanna Be Close                                        PA0001158624     Universal Music - Z Tunes LLC
 2208   Was It A Dream?                                       PA0001630066     Universal Music - Z Tunes LLC
 2209   We Built This City                                    PA0000265529     Universal Music - Z Tunes LLC
 2210   What Do You Want                                      PA0001087664     Universal Music - Z Tunes LLC
 2211   When I See You                                        PA0001131221     Universal Music - Z Tunes LLC
 2212   Why                                                   PA0001012583     Universal Music - Z Tunes LLC
 2213   Why Didn't You Call Me                                PA0000982319     Universal Music - Z Tunes LLC
 2214   With You                                              PA0001092508     Universal Music - Z Tunes LLC
 2215   Worldwide                                             PA0001731533     Universal Music - Z Tunes LLC
 2216   You Ain't Right                                       PA0001087671     Universal Music - Z Tunes LLC
 2217   You Deserve Better                                    PA0001933962     Universal Music - Z Tunes LLC
 2218   You Got Me                                            PA0001208305     Universal Music - Z Tunes LLC
 2219   You're Not Alone                                      PA0001784547     Universal Music - Z Tunes LLC
 2220   El Farol                                              PA0001397135     Universal Music Corp
 2221   Primavera                                             PA0001005029     Universal Music Corp
 2222   45                                                    PA0001278086     Universal Music Corp.
 2223   1999                                                  PA0000157921     Universal Music Corp.
 2224   #Beautiful                                            PA0001888760     Universal Music Corp.
 2225   (Everything I Do) I Do It For You                     PA0000544254     Universal Music Corp.
 2226   (I've Just Begun) Having My Fun                       PA0001287638     Universal Music Corp.
 2227   (Sittin' On) The Dock Of The Bay                      V3448D467        Universal Music Corp.
 2228   03' Bonnie & Clyde                                    PA0001147399     Universal Music Corp.
 2229   17 Days                                               PA0000220372     Universal Music Corp.
 2230   4 Real                                                PA0001742275     Universal Music Corp.
 2231   4 The Tears In Your Eyes                              PA0000246463     Universal Music Corp.
 2232   7 (Seven)                                             PA0000608652     Universal Music Corp.
 2233   A Complicated Song                                    PA0001334252     Universal Music Corp.
 2234   A Matter Of Trust                                     PA0000304122     Universal Music Corp.
 2235   Adore                                                 PA0000339619     Universal Music Corp.
 2236   Adore You                                             PA0001904203     Universal Music Corp.
 2237   Adorn                                                 PA0001899234     Universal Music Corp.
 2238   Adrenaline Rush                                       PA0001145821     Universal Music Corp.
 2239   Aftermath                                             PA0001916365     Universal Music Corp.
 2240   Ain't It The Life                                     PA0001693327     Universal Music Corp.
 2241   Alice                                                 PA0001728745     Universal Music Corp.
 2242   Alive                                                 PA0000544549     Universal Music Corp.




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        Track                                                 Reg. No.          Plaintiff
 2243   All About Soul                                        PA0000693483      Universal Music Corp.
 2244   All Back                                              PA0001750523      Universal Music Corp.
 2245   All For Leyna                                         PA0000077964      Universal Music Corp.
 2246   All I Want Is You                                     PA0001780224      Universal Music Corp.
 2247   All That Sh** Is Gone                                 PA0001677408      Universal Music Corp.
 2248   Allentown                                             PA0000186933      Universal Music Corp.
 2249   Alphabet St.                                          PA0000377936      Universal Music Corp.
 2250   An Innocent Man                                       PA0000235369      Universal Music Corp.
 2251   Annabelle                                             PA0000787740      Universal Music Corp.
 2252   Another Lonely Christmas                              PA0000247822      Universal Music Corp.
 2253   Another Try                                           PA0001642916      Universal Music Corp.
 2254   Anything But Ordinary                                 PA0001101512      Universal Music Corp.
 2255   April The 14th Part 1                                 PA0001063438      Universal Music Corp.
 2256   Are We All We Are                                     PA0001817460      Universal Music Corp.
 2257   Astronaut Chick                                       PA0001856280      Universal Music Corp.
 2258   Atlantic                                              PA0001777097      Universal Music Corp.
 2259   Aurora                                                PA0001693316      Universal Music Corp.
 2260   Average Man                                           PA0001245479      Universal Music Corp.
 2261   Baby, I Go Crazy                                      PA0001642909      Universal Music Corp.
 2262   Be Alright                                            PA0001850370      Universal Music Corp.
 2263   Better Days                                           PA0000877830      Universal Music Corp.
 2264   Better Man                                            PA0000663649      Universal Music Corp.
 2265   Black And White                                       PA0000391485      Universal Music Corp.
 2266   Black Star                                            PA0001742258      Universal Music Corp.
 2267   Blessed                                               PA0001681897      Universal Music Corp.
 2268   Blind Man                                             PA0000782950      Universal Music Corp.
 2269   Boogie Nights                                         EU0000741567;     Universal Music Corp.
                                                              RE0000890921
 2270   Breakout                                              PA0001693301      Universal Music Corp.
 2271   Breakout                                              PA0001705474      Universal Music Corp.
 2272   Burn For You                                          PA0000426815      Universal Music Corp.
 2273   By The Mark                                           PA0000787742      Universal Music Corp.
 2274   Cant Leave Em Alone                                   PA0001885593      Universal Music Corp.
 2275   Can't Stop This Thing We Started                      PA0000549559      Universal Music Corp.
 2276   Can't Stop Won't Stop                                 PA0001831957      Universal Music Corp.
 2277   Ceiling of Plankton                                   PA0001777095      Universal Music Corp.
 2278   Cheers                                                PA0001245485      Universal Music Corp.
 2279   Cheers (Drink To That)                                PA0001732810      Universal Music Corp.
 2280   Christmas Eve                                         PA0001780227      Universal Music Corp.
 2281   Complicated                                           PA0001101506      Universal Music Corp.
 2282   Complicated                                           PA0001732820      Universal Music Corp.
 2283   Controversy                                           PA0000130927      Universal Music Corp.
 2284   Corduroy                                              PA0000663646      Universal Music Corp.
 2285   Cowgirl                                               PA0001889382      Universal Music Corp.
 2286   Crept And We Came                                     PA0000767829      Universal Music Corp.
 2287   Crying Out                                            PA0001278085      Universal Music Corp.
 2288   Cuts Like A Knife                                     PA0000164472      Universal Music Corp.
 2289   Dancing On The Jetty                                  PA0000391475;     Universal Music Corp.
                                                              PA0000426815
 2290   Darlin                                                PA0001742277      Universal Music Corp.
 2291   Dear Someone                                          PA0001063436      Universal Music Corp.
 2292   Delirious                                             PA0000157924      Universal Music Corp.
 2293   Destiny                                               PA0001131247      Universal Music Corp.
 2294   Deuces Are Wild                                       PA0000693447      Universal Music Corp.
 2295   Diamonds And Pearls                                   PA0000549272      Universal Music Corp.
 2296   Didn't We Almost Have It All                          PA0000348786      Universal Music Corp.
 2297   Die Die Die                                           PA0000782833      Universal Music Corp.
 2298   Dissident                                             PA0000669755      Universal Music Corp.
 2299   DJ Play A Love Song                                   PA0001696017      Universal Music Corp.
 2300   Do I Have To Say The Words?                           PA0000549565      Universal Music Corp.
 2301   Do Me, Baby                                           PA0000130925      Universal Music Corp.
 2302   Do That There                                         PA0001931123      Universal Music Corp.
 2303   Dog And Butterfly                                     PA0000091423      Universal Music Corp.
 2304   Don't Ask Me Why                                      PA0000077962      Universal Music Corp.
 2305   Don't Change                                          PA0000167323      Universal Music Corp.
 2306   Don't Come Down                                       PA0001245487      Universal Music Corp.
 2307   Drinkin' Dark Whiskey                                 PA0001132067      Universal Music Corp.
 2308   East 1999                                             PA0000767827      Universal Music Corp.
 2309   Echo                                                  PA0001727653      Universal Music Corp.
 2310   Eenie Meenie                                          PA0001703249      Universal Music Corp.
 2311   End Of The Road                                       PA0001649584      Universal Music Corp.
 2312   Eternal                                               PA0000767828      Universal Music Corp.
 2313   Euphoria                                              PA0001831963      Universal Music Corp.
 2314   Everybody Loves You Now                               PA0000119693      Universal Music Corp.
 2315   Everything Is Fine                                    PA0001642898      Universal Music Corp.
 2316   Everything Is Free                                    PA0001063442      Universal Music Corp.
 2317   Exclusive                                             PA0001323360      Universal Music Corp.




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        Track                                                 Reg. No.          Plaintiff
 2318   Fall To Pieces                                        PA0001251271      Universal Music Corp.
 2319   Far Behind                                            PA0001649582      Universal Music Corp.
 2320   Fashion Beats                                         PA0001730827      Universal Music Corp.
 2321   Feel Good Summer Song                                 PA0001902463      Universal Music Corp.
 2322   Fire Bomb                                             PA0001668448      Universal Music Corp.
 2323   Firecracker                                           PA0001642904      Universal Music Corp.
 2324   Fly As The Sky                                        PA0001317549      Universal Music Corp.
 2325   Fly From The Inside                                   PA0001278080      Universal Music Corp.
 2326   Forgotten                                             PA0001251273      Universal Music Corp.
 2327   Free Run                                              PA0001821987      Universal Music Corp.
 2328   Frontin'                                              PA0001317546      Universal Music Corp.
 2329   Fuck The World                                        PA0000956432      Universal Music Corp.
 2330   Generator                                             PA0001693314      Universal Music Corp.
 2331   Get Your Number                                       PA0001931129      Universal Music Corp.
 2332   Ghetto Dreams                                         PA0001833561      Universal Music Corp.
 2333   Ghetto Gospel                                         PA0001323618      Universal Music Corp.
 2334   Gimme Stitches                                        PA0001693310      Universal Music Corp.
 2335   Girl                                                  PA0000125252      Universal Music Corp.
 2336   Girlfriend                                            PA0001334139      Universal Music Corp.
 2337   Given To Fly                                          PAu002290743      Universal Music Corp.
 2338   Glamorous                                             PA0001370493      Universal Music Corp.
 2339   Go Out All Night                                      PA0001777099      Universal Music Corp.
 2340   Good Woman Bad                                        PA0000785095      Universal Music Corp.
 2341   Goodbye                                               PA0001742279      Universal Music Corp.
 2342   Goodbye Girl                                          PA0001870813      Universal Music Corp.
 2343   Got Some Teeth                                        PA0001245484      Universal Music Corp.
 2344   Gotta Get Thru This                                   PA0001241752      Universal Music Corp.
 2345   GPSA (Ghetto Public Service Announcement)             PA0001371422      Universal Music Corp.
 2346   Grind Time                                            PA0001628178      Universal Music Corp.
 2347   Guaranteed                                            PA0001685123      Universal Music Corp.
 2348   Hail, Hail                                            PAu002141241      Universal Music Corp.
 2349   Halo                                                  PA0001645604;     Universal Music Corp.
                                                              PA0001612567
 2350   Hand Of The Dead Body                                 PA0000794897      Universal Music Corp.
 2351   Hands Clean                                           PA0001077640      Universal Music Corp.
 2352   Hands On You                                          PA0001245491      Universal Music Corp.
 2353   Hangman Jury                                          PA0000343989      Universal Music Corp.
 2354   Happy                                                 PA0001997701      Universal Music Corp.
 2355   Have Some Fun                                         PA0001858598      Universal Music Corp.
 2356   He Wasn't                                             PA0001251276      Universal Music Corp.
 2357   Head                                                  PA0000085237      Universal Music Corp.
 2358   Headwires                                             PA0001693324      Universal Music Corp.
 2359   Heartbreak Road                                       PA0001855537      Universal Music Corp.
 2360   Heat Of The Night                                     PA0000334491      Universal Music Corp.
 2361   Heaven                                                PA0001073138      Universal Music Corp.
 2362   Heavy In The Game                                     PA0000914501      Universal Music Corp.
 2363   Help Me                                               PA0001733340      Universal Music Corp.
 2364   Here Comes The Weekend                                PA0001817456      Universal Music Corp.
 2365   Here I Am                                             PA0001661331      Universal Music Corp.
 2366   Here I Am (Come And Take Me)                          V3448D468;        Universal Music Corp.
                                                              V3448D471;
                                                              EU420200
 2367   Hero                                                  PA0001751381      Universal Music Corp.
 2368   Hey Girl                                              PA0001295883      Universal Music Corp.
 2369   Hit The Floor (feat. Pitbull)                         PA0001312069      Universal Music Corp.
 2370   Homewrecker                                           PA0001248780      Universal Music Corp.
 2371   Homicide                                              PA0001856324      Universal Music Corp.
 2372   Honesty                                               PA0000015392      Universal Music Corp.
 2373   Hoodrats                                              PA0001245492      Universal Music Corp.
 2374   How Come U Don't Call Me Anymore                      PA0000157922      Universal Music Corp.
 2375   How Does It Feel                                      PA0001251275      Universal Music Corp.
 2376   How Will I Know                                       PAu000817628;     Universal Music Corp.
                                                              PA0000243349;
                                                              PA0000266437
 2377   I Can Do Better                                       PA0001334140      Universal Music Corp.
 2378   I Don't Give                                          PA0001233579      Universal Music Corp.
 2379   I Don't Have To Try                                   PA0001724691      Universal Music Corp.
 2380   I Dream A Highway                                     PA0001063443      Universal Music Corp.
 2381   I Feel for You                                        PA0000064971      Universal Music Corp.
 2382   I Go To Extremes                                      PA0000458310      Universal Music Corp.
 2383   I Got Id                                              PA0000776998      Universal Music Corp.
 2384   I Got My Baby                                         PA0000976310      Universal Music Corp.
 2385   I Got To Be Myself                                    PAu002166303      Universal Music Corp.
 2386   I Just Want You                                       PA0000774129      Universal Music Corp.
 2387   I Love College                                        PA0001731209      Universal Music Corp.
 2388   I Love U In Me                                        PA0000461532      Universal Music Corp.
 2389   I Love You                                            PA0001785768      Universal Music Corp.




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                                                              EXHIBIT B - MUSICAL COMPOSITIONS

        Track                                                 Reg. No.         Plaintiff
 2390   I Love You Much Too Much                              R411311          Universal Music Corp.
 2391   I Need To Hear A Country Song                         PA0001773110     Universal Music Corp.
 2392   I Send A Message                                      PA0000257721     Universal Music Corp.
 2393   I Wanna Be Your Lover                                 PA0000061545     Universal Music Corp.
 2394   I Want To Sing That Rock And Roll                     PA0001063439     Universal Music Corp.
 2395   I Want You                                            PA0001302581     Universal Music Corp.
 2396   I Will Love You Still (feat. Mallary Hope)            PA0001864794     Universal Music Corp.
 2397   I Would Die 4 U                                       PA0000217252     Universal Music Corp.
 2398   I'd Rather                                            PA0001053165     Universal Music Corp.
 2399   If I Was Your Girlfriend                              PA0000339614     Universal Music Corp.
 2400   If It Hadn't Been For Love                            PA0001160703     Universal Music Corp.
 2401   If You Only Knew                                      PA0001931127     Universal Music Corp.
 2402   If You're Ready (Come Go With Me)                     V1916P470;       Universal Music Corp.
                                                              EU369365
 2403   I'll Take You There                                   RE0000816283     Universal Music Corp.
 2404   I'm Goin Back                                         PA0001159522     Universal Music Corp.
 2405   I'm Out                                               PA0001936025     Universal Music Corp.
 2406   I'm Trippin                                           PA0001856289     Universal Music Corp.
 2407   I'm with You                                          PA0001101508     Universal Music Corp.
 2408   Imma Be                                               PA0001682852     Universal Music Corp.
 2409   Immortality                                           PA0000663651     Universal Music Corp.
 2410   In My Eyes                                            PA0001777096     Universal Music Corp.
 2411   In Person                                             PA0001612567     Universal Music Corp.
 2412   In The Trunk                                          PA0001317542     Universal Music Corp.
 2413   Indifference                                          PA0000669762     Universal Music Corp.
 2414   Intro                                                 PA0001931121     Universal Music Corp.
 2415   Irresistable Bitch                                    PA0000193308     Universal Music Corp.
 2416   It's All About U                                      PA0000809080     Universal Music Corp.
 2417   It's Only Love                                        PA0000238136     Universal Music Corp.
 2418   It's Still Rock & Roll to Me                          PA0000077963     Universal Music Corp.
 2419   It's Your World                                       PA0001856072     Universal Music Corp.
 2420   I've Come To Expect It From You                       PA0000482947     Universal Music Corp.
 2421   Just Around The Eyes                                  PA0000713702     Universal Music Corp.
 2422   Just Keep Walking                                     PA0000213896     Universal Music Corp.
 2423   Just The Way You Are                                  PA0000046908     Universal Music Corp.
 2424   Keep Holding On                                       PA0001353010     Universal Music Corp.
 2425   Kids Wanna Rock                                       PA0000238135     Universal Music Corp.
 2426   Kill Yourself                                         PA0001761891     Universal Music Corp.
 2427   Kristofferson                                         PA0001372033     Universal Music Corp.
 2428   Lady                                                  PA0001245486     Universal Music Corp.
 2429   Learn To Fly                                          PA0001693305     Universal Music Corp.
 2430   Leavin' The Light On                                  PA0001845163     Universal Music Corp.
 2431   Leningrad                                             PA0000458313     Universal Music Corp.
 2432   Let's Go                                              PA0001825022     Universal Music Corp.
 2433   Let's Go Crazy                                        PA0000217248     Universal Music Corp.
 2434   Lie To Me                                             PA0001868630     Universal Music Corp.
 2435   Life, Love And The Meaning Of                         PA0001697492     Universal Music Corp.
 2436   Light Years                                           PA0001006826     Universal Music Corp.
 2437   Little Red Corvette                                   PA0000157923     Universal Music Corp.
 2438   Live-In Skin                                          PA0001693317     Universal Music Corp.
 2439   Long Live The Pimp                                    PA0001856319     Universal Music Corp.
 2440   Long Nights                                           PA0001685123     Universal Music Corp.
 2441   Long Walk To D.C.                                     V1916P484;       Universal Music Corp.
                                                              EU66925
 2442   Look What You Made Me                                 PA0001931122     Universal Music Corp.
 2443   Love Is (What I Say)                                  PA0000257720     Universal Music Corp.
 2444   Love You Gently                                       PA0001602834     Universal Music Corp.
 2445   M.I.A.                                                PA0001693329     Universal Music Corp.
 2446   Magic                                                 PA0001645604     Universal Music Corp.
 2447   Man Down                                              PA0001732813     Universal Music Corp.
 2448   Meantime                                              PA0001777091     Universal Music Corp.
 2449   Merry Go Round                                        PA0000494345     Universal Music Corp.
 2450   Miss You                                              PA0001864797     Universal Music Corp.
 2451   Modern Woman                                          PA0000304118     Universal Music Corp.
 2452   Mo'Murda                                              PA0000767834     Universal Music Corp.
 2453   Movin' On                                             PA0000757403     Universal Music Corp.
 2454   Movin' Out (Anthony's Song)                           PA0000046906     Universal Music Corp.
 2455   Mr. Bill Collector                                    PA0000767831     Universal Music Corp.
 2456   Ms. Hangover                                          PA0001639096     Universal Music Corp.
 2457   Music                                                 PA0001823264     Universal Music Corp.
 2458   My First Lover                                        PA0001063435     Universal Music Corp.
 2459   My Foolish Heart                                      PA0001950235     Universal Music Corp.
 2460   My Life                                               PA0000015393     Universal Music Corp.
 2461   My Love                                               PA0001885589     Universal Music Corp.
 2462   My Piece                                              PA0001751375     Universal Music Corp.
 2463   Naked                                                 PA0001101517     Universal Music Corp.
 2464   Never Call U B**** Again                              PA0001115088     Universal Music Corp.




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        Track                                                 Reg. No.          Plaintiff
 2465   Never Forget Ya                                       PA0001245493      Universal Music Corp.
 2466   New York State Of Mind                                PA0000046360      Universal Music Corp.
 2467   Next Year                                             PA0001693320      Universal Music Corp.
 2468   No Ceiling                                            PA0001685123      Universal Music Corp.
 2469   No More Love                                          PA0001278081      Universal Music Corp.
 2470   No One Has Eyes Like You                              PA0001618391      Universal Music Corp.
 2471   No Snitchin'                                          PA0001317545      Universal Music Corp.
 2472   Nobody's Fool                                         PA0001101515      Universal Music Corp.
 2473   Nobody's Home                                         PA0001251268      Universal Music Corp.
 2474   Noche Nada                                            PA0001777094      Universal Music Corp.
 2475   Not Enough                                            PA0001742273      Universal Music Corp.
 2476   Not For You                                           PA0000663641      Universal Music Corp.
 2477   Nothin' At All                                        PA0000284908      Universal Music Corp.
 2478   Nothingman                                            PA0000663643      Universal Music Corp.
 2479   Now You Got Someone                                   PA0001371421      Universal Music Corp.
 2480   Numb                                                  PA0001831959      Universal Music Corp.
 2481   Off He Goes                                           PAu002141248      Universal Music Corp.
 2482   Ohio                                                  PA0001245008      Universal Music Corp.
 2483   Once And Forever                                      PA0001779598      Universal Music Corp.
 2484   One                                                   PA0001120335      Universal Music Corp.
 2485   One Love                                              PA0001850371      Universal Music Corp.
 2486   One Night                                             PA0001931125      Universal Music Corp.
 2487   Only Thing I Ever Get For Christmas                   PA0001780235      Universal Music Corp.
 2488   Original Sin                                          PA0000213647      Universal Music Corp.
 2489   Orphan Girl                                           PA0000714948      Universal Music Corp.
 2490   Outerspace                                            PA0001931128      Universal Music Corp.
 2491   Outro                                                 PA0001317551      Universal Music Corp.
 2492   Pass You By                                           PA0000787739      Universal Music Corp.
 2493   Permanent Scar                                        PA0001856298      Universal Music Corp.
 2494   Picture Perfect                                       PA0001317548      Universal Music Corp.
 2495   Pink Cashmere                                         PAu001770697      Universal Music Corp.
 2496   Played                                                PA0001702956      Universal Music Corp.
 2497   Please Forgive Me                                     PA0000675008      Universal Music Corp.
 2498   Pop Life                                              PA0000255667      Universal Music Corp.
 2499   Pope                                                  PAu001770696      Universal Music Corp.
 2500   Power Fantastic                                       PAu001835512      Universal Music Corp.
 2501   Purple Rain                                           PA0000217254      Universal Music Corp.
 2502   Rag Doll                                              PA0000349998      Universal Music Corp.
 2503   Rain                                                  PA0001317547      Universal Music Corp.
 2504   Raspberry Beret                                       PA0000255668      Universal Music Corp.
 2505   Red Clay Halo                                         PA0001063437      Universal Music Corp.
 2506   Remember When                                         PAu003539449      Universal Music Corp.
 2507   Resist The Temptation                                 PA0001640073      Universal Music Corp.
 2508   Respect Yourself                                      PAu002166307      Universal Music Corp.
 2509   Revelator                                             PA0001063434      Universal Music Corp.
 2510   Ride                                                  PA0001849604      Universal Music Corp.
 2511   Rider                                                 PA0001395512      Universal Music Corp.
 2512   Ridin'                                                PA0001317544      Universal Music Corp.
 2513   Ring-A-Ling                                           PA0001698118      Universal Music Corp.
 2514   Ripe                                                  PA0001777093      Universal Music Corp.
 2515   Rise                                                  PA0001685123      Universal Music Corp.
 2516   Roll (feat. Sean Kingston)                            PA0001639100      Universal Music Corp.
 2517   Ruination Day Part 2                                  PA0001063441      Universal Music Corp.
 2518   Run To You                                            PA0000232065      Universal Music Corp.
 2519   Runaway                                               PAu003117483      Universal Music Corp.
 2520   Same Damn Time                                        PA0001859144      Universal Music Corp.
 2521   Save You                                              PA0001134589      Universal Music Corp.
 2522   Saving All My Love For You                            PAu000012547;     Universal Music Corp.
                                                              PAu000148525;
                                                              PAu000082895
 2523   Saw You First                                         PA0001777092      Universal Music Corp.
 2524   Setting Forth                                         PA0001649580      Universal Music Corp.
 2525   Sexy Beaches                                          PA0001999032      Universal Music Corp.
 2526   She's Always A Woman                                  PA0000046912      Universal Music Corp.
 2527   She's Always In My Hair                               PAu000722566      Universal Music Corp.
 2528   She's Got A Way                                       PA0000119692      Universal Music Corp.
 2529   Shine                                                 PA0001864791      Universal Music Corp.
 2530   Shockadelica                                          PA0000335358      Universal Music Corp.
 2531   Sign 'O' The Times                                    PA0000322108      Universal Music Corp.
 2532   Silent Night                                          PA0001782591      Universal Music Corp.
 2533   Simple Together                                       PA0001229065      Universal Music Corp.
 2534   Sins Of My Father                                     PA0001831961      Universal Music Corp.
 2535   Sister Blister                                        PA0001229062      Universal Music Corp.
 2536   Sk8er Boi                                             PA0001101507      Universal Music Corp.
 2537   Slipped Away                                          PA0001251269      Universal Music Corp.
 2538   Smile                                                 PA0001785766      Universal Music Corp.




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      Track                                                   Reg. No.          Plaintiff
 2539 Smile                                                   PA0000815805;     Universal Music Corp.
                                                              PA0000815968
 2540   So Many Ways                                          PA0001371413      Universal Music Corp.
 2541   Somebody                                              PA0000238133      Universal Music Corp.
 2542   Someone Else's Dream                                  PA0000764860      Universal Music Corp.
 2543   Soulsville                                            PAu002345664      Universal Music Corp.
 2544   Spin The Black Circle                                 PA0000663640      Universal Music Corp.
 2545   Stacked Actors                                        PA0001693331      Universal Music Corp.
 2546   Stay Young                                            PA0000226784      Universal Music Corp.
 2547   Sticks That Made Thunder                              V3506D864         Universal Music Corp.
 2548   Still                                                 PA0000988335      Universal Music Corp.
 2549   Stop Standing There                                   PA0001742271      Universal Music Corp.
 2550   Straight From The Heart                               PA0000191885      Universal Music Corp.
 2551   Strange Behavior                                      PA0001592905      Universal Music Corp.
 2552   Streetlife Serenader                                  RE0000862278      Universal Music Corp.
 2553   Suicidal Thoughts                                     PA0001874310      Universal Music Corp.
 2554   Summer Of '69                                         PA0000238134      Universal Music Corp.
 2555   Sure Thing                                            PA0001751394      Universal Music Corp.
 2556   Survival                                              PA0001965032      Universal Music Corp.
 2557   Take Me Home                                          PA0001864792      Universal Music Corp.
 2558   Take Your Shirt Off                                   V3586D796         Universal Music Corp.
 2559   Te Amo                                                PA0001668373      Universal Music Corp.
 2560   Tear My Stillhouse Down                               PA0000762783      Universal Music Corp.
 2561   Tell Her About It                                     PAU000487423      Universal Music Corp.
 2562   Territorial Pissings                                  PA0000541276      Universal Music Corp.
 2563   Text Me Texas                                         PA0001878108      Universal Music Corp.
 2564   Thank You                                             PA0000940228      Universal Music Corp.
 2565   That I Would Be Good                                  PA0000940240      Universal Music Corp.
 2566   The Business                                          PA0001931124      Universal Music Corp.
 2567   The Chair                                             PA0000482311      Universal Music Corp.
 2568   The Downeaster 'Alexa'                                PA0000458309      Universal Music Corp.
 2569   The Entertainer                                       RE0000862276      Universal Music Corp.
 2570   The Future Is Now                                     PA0001856271      Universal Music Corp.
 2571   The Ghetto                                            RE0000729667      Universal Music Corp.
 2572   The Groove Line                                       PA0000003812      Universal Music Corp.
 2573   The Longest Time                                      PA0001307631      Universal Music Corp.
 2574   The One                                               PA0001076952      Universal Music Corp.
 2575   The One Thing                                         PA0000247197      Universal Music Corp.
 2576   The Other Side                                        PA0000437593      Universal Music Corp.
 2577   The Rain                                              PA0001396083      Universal Music Corp.
 2578   The River Of Dreams                                   PA0000693490      Universal Music Corp.
 2579   The Way He Was Raised                                 PA0001642914      Universal Music Corp.
 2580   The Wolf                                              PA0001685123      Universal Music Corp.
 2581   These Days                                            PA0001113927      Universal Music Corp.
 2582   They Don't Give A F**** About Us                      PA0001115097      Universal Music Corp.
 2583   Things I'll Never Say                                 PA0001101513      Universal Music Corp.
 2584   This Is The Time                                      PA0000304115      Universal Music Corp.
 2585   This Is Your Night                                    PA0001371414      Universal Music Corp.
 2586   This Kiss                                             PA0000740722      Universal Music Corp.
 2587   This Time                                             PA0000164471      Universal Music Corp.
 2588   Thugz Mansion                                         PA0001115087      Universal Music Corp.
 2589   Tired Of Runnin'                                      PA0001396084      Universal Music Corp.
 2590   To Look At You                                        PA0000167320      Universal Music Corp.
 2591   To The Moon                                           PA0001751378      Universal Music Corp.
 2592   Together                                              PA0001251278      Universal Music Corp.
 2593   Tomorrow                                              PA0001101511      Universal Music Corp.
 2594   Tony Montana - Behind The Scenes                      PA0001859140      Universal Music Corp.
 2595   Top of the World                                      PA0001114803      Universal Music Corp.
 2596   Touch A Hand (Make A Friend)                          RE0000837111      Universal Music Corp.
 2597   Trailerhood                                           PA0001642900      Universal Music Corp.
 2598   True Believers                                        PA0001864805      Universal Music Corp.
 2599   Truth No. 2                                           PA0001114802      Universal Music Corp.
 2600   Tuolumne                                              PA0001685126      Universal Music Corp.
 2601   Turntables                                            PA0001732352      Universal Music Corp.
 2602   Uninvited                                             PA0000921947      Universal Music Corp.
 2603   Unsaveable                                            PA0001120337      Universal Music Corp.
 2604   Up To The Mountain                                    PA0001367095      Universal Music Corp.
 2605   Up Up Up                                              PA0001777090      Universal Music Corp.
 2606   Uptown                                                PA0000085236      Universal Music Corp.
 2607   Uptown Girl                                           PA0000194055      Universal Music Corp.
 2608   Vertigo                                               PA0001896435      Universal Music Corp.
 2609   Victory Lap featuring Eve and Collie Buddz            PA0001931130      Universal Music Corp.
 2610   Void In My Life                                       PA0001317550      Universal Music Corp.
 2611   Walk On Water                                         PA0001015665      Universal Music Corp.
 2612   Walking The Dog                                       RE0000525576      Universal Music Corp.
 2613   We All Die One Day                                    PA0001245480      Universal Music Corp.
 2614   We Are Tonight                                        PA0001884879      Universal Music Corp.




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        Track                                                 Reg. No.          Plaintiff
 2615   We Didn't Start the Fire                              PA0000458308      Universal Music Corp.
 2616   What About Love                                       PA0000265040      Universal Music Corp.
 2617   What The Hell                                         PA0001785765      Universal Music Corp.
 2618   Whatcha Need                                          PA0000996029      Universal Music Corp.
 2619   Whatchamacallit                                       PA0001612567      Universal Music Corp.
 2620   What's In It For Me                                   PA0000976311      Universal Music Corp.
 2621   When Doves Cry                                        PA0000220373      Universal Music Corp.
 2622   When I Get Free                                       PA0001051889      Universal Music Corp.
 2623   When You Were Mine                                    PA0000085233      Universal Music Corp.
 2624   Where Do We Go                                        PA0001701864      Universal Music Corp.
 2625   Who Knows                                             PA0001251272      Universal Music Corp.
 2626   Who Took The Merry Out Of Christmas                   RE0000775151      Universal Music Corp.
 2627   Who You Are                                           PAu002141251      Universal Music Corp.
 2628   Why You Wanna Treat Me So Bad                         PA0000238841      Universal Music Corp.
 2629   Wide Awake                                            PA0001765708      Universal Music Corp.
 2630   Wish You Were Here                                    PA0001785767      Universal Music Corp.
 2631   Wishing It Was                                        PA0000968772      Universal Music Corp.
 2632   Womanizer                                             PA0001888788      Universal Music Corp.
 2633   Words                                                 PA0001777098      Universal Music Corp.
 2634   Write This Down                                       PA0000947848      Universal Music Corp.
 2635   Wth>You                                               PA0001237298      Universal Music Corp.
 2636   You                                                   PA0001757407      Universal Music Corp.
 2637   You May Be Right                                      PA0000077960      Universal Music Corp.
 2638   You Stay With Me                                      PA0001302582      Universal Music Corp.
 2639   You're Only Human (Second Wind)                       PA0000258497      Universal Music Corp.
 2640   You're The One                                        PA0000801851      Universal Music Corp.
 2641   All Over Again                                        PA0001784542      Universal Music Corp.
 2642   All That I Got (The Make Up Song)                     PA0001397001      Universal Music Corp.
 2643   American Boy                                          PA0001659161      Universal Music Corp.
 2644   Bad Kids                                              PA0001748640      Universal Music Corp.
 2645   Beauty And A Beat                                     PA0001850375      Universal Music Corp.
 2646   Believe                                               PA0001850360      Universal Music Corp.
 2647   Bigger                                                PA0001816039      Universal Music Corp.
 2648   Blue Jeans                                            PA0001811642      Universal Music Corp.
 2649   Catching Feelings                                     PA0001850383      Universal Music Corp.
 2650   Cream                                                 PAu001547996;     Universal Music Corp.
                                                              PA0000549273;
                                                              PA0000543529
 2651   Darling Nikki                                         PA0000217251      Universal Music Corp.
 2652   Electric Chapel                                       PA0001748642      Universal Music Corp.
 2653   Every Reason Not To Go                                PA0001697511      Universal Music Corp.
 2654   Fa La La                                              PA0001780232      Universal Music Corp.
 2655   Gangsta Lovin                                         PA0001209325      Universal Music Corp.
 2656   Gett Off                                              PA0000535946      Universal Music Corp.
 2657   I Proceed                                             PA0001626064      Universal Music Corp.
 2658   I Shall Return                                        PA0001697550      Universal Music Corp.
 2659   Keep Ya Head Up                                       PA0000719813      Universal Music Corp.
 2660   Kiss                                                  PA0000284474      Universal Music Corp.
 2661   Mistletoe                                             PA0001780233      Universal Music Corp.
 2662   Never                                                 PA0001744937      Universal Music Corp.
 2663   Never                                                 PA0000259654      Universal Music Corp.
 2664   Ooh Baby                                              PA0001320484      Universal Music Corp.
 2665   Overboard                                             PA0001702873      Universal Music Corp.
 2666   Radar                                                 PA0001732673      Universal Music Corp.
 2667   Right Here                                            PA0001834759      Universal Music Corp.
 2668   Runaway Love                                          PA0001703247      Universal Music Corp.
 2669   Shone                                                 PA0001744931      Universal Music Corp.
 2670   Speechless                                            PA0001745545      Universal Music Corp.
 2671   That Should Be Me                                     PA0001703254      Universal Music Corp.
 2672   That's How Country Boys Roll                          PA0001697544      Universal Music Corp.
 2673   The Mighty Fall                                       PA0001844743      Universal Music Corp.
 2674   Thought Of You                                        PA0001850376      Universal Music Corp.
 2675   Trapped                                               PA0000587083      Universal Music Corp.
 2676   U Got The Look                                        PA0000339613      Universal Music Corp.
 2677   U Smile                                               PA0001703246      Universal Music Corp.
 2678   Up                                                    PA0001703251      Universal Music Corp.
 2679   When The Lights Go Down                               PA0001120336      Universal Music Corp.
 2680   Will You Be There (In The Morning)                    PA0000689442      Universal Music Corp.
 2681   Young Niggaz                                          PA0000773739      Universal Music Corp.
 2682   Dirty Mind                                            PA0000085232      Universal Music Corp. / Songs of Universal, Inc.
 2683   Sexy Lady                                             PA0001925127      Universal Music Corp. / Songs of Universal, Inc.
 2684   42                                                    PA0001820455      Universal Music Publ. MGB Ltd.
 2685   1234                                                  PA0001692663      Universal Music Publ. MGB Ltd.
 2686   8 Mile                                                PA0001204555      Universal Music Publ. MGB Ltd.
 2687   A Few Hours After This                                PA0000344062      Universal Music Publ. MGB Ltd.
 2688   A Forest                                              PA0000194922      Universal Music Publ. MGB Ltd.
 2689   A Man Inside My Mouth                                 PA0000287956      Universal Music Publ. MGB Ltd.




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        Track                                                 Reg. No.          Plaintiff
 2690   A Night Like This                                     PA0000279380      Universal Music Publ. MGB Ltd.
 2691   A Rush Of Blood To The Head                           PA0001073309      Universal Music Publ. MGB Ltd.
 2692   A Whisper                                             PA0001073308      Universal Music Publ. MGB Ltd.
 2693   Amsterdam                                             PA0001073310      Universal Music Publ. MGB Ltd.
 2694   Amy Amy Amy                                           PA0001792200      Universal Music Publ. MGB Ltd.
 2695   Brandy Alexander                                      PA0001692661      Universal Music Publ. MGB Ltd.
 2696   Brothers And Sisters                                  PA0001072997      Universal Music Publ. MGB Ltd.
 2697   Cemeteries Of London                                  PA0001820453      Universal Music Publ. MGB Ltd.
 2698   Charlie Brown                                         PA0001766986      Universal Music Publ. MGB Ltd.
 2699   Charlotte Sometimes                                   PA0000344066      Universal Music Publ. MGB Ltd.
 2700   Cleanin Out My Closet                                 PA0001073403;     Universal Music Publ. MGB Ltd.
                                                              PA0001225996
 2701   Close To Me                                           PA0000279388      Universal Music Publ. MGB Ltd.
 2702   Crazy In Love                                         PA0001295397      Universal Music Publ. MGB Ltd.
 2703   Daylight                                              PA0001073306      Universal Music Publ. MGB Ltd.
 2704   Death And All His Friends                             PA0001820461      Universal Music Publ. MGB Ltd.
 2705   Encore/Curtains Down                                  PA0001295406      Universal Music Publ. MGB Ltd.
 2706   Everything's Not Lost                                 PA0000981365      Universal Music Publ. MGB Ltd.
 2707   Gatekeeper                                            PA0001166701      Universal Music Publ. MGB Ltd.
 2708   God Put A Smile Upon Your Face                        PA0001073302      Universal Music Publ. MGB Ltd.
 2709   Green Eyes                                            PA0001073305      Universal Music Publ. MGB Ltd.
 2710   High Speed                                            PA0000981363      Universal Music Publ. MGB Ltd.
 2711   Honey Honey                                           PA0001692656      Universal Music Publ. MGB Ltd.
 2712   How My Heart Behaves                                  PA0001692650      Universal Music Publ. MGB Ltd.
 2713   I Feel It All                                         PA0001692643      Universal Music Publ. MGB Ltd.
 2714   In Between Days                                       PA0000279383      Universal Music Publ. MGB Ltd.
 2715   Inbetween Days                                        PA0000279383      Universal Music Publ. MGB Ltd.
 2716   Intuition                                             PA0001692658      Universal Music Publ. MGB Ltd.
 2717   Jumping Someone Else's Train                          PA0000205032      Universal Music Publ. MGB Ltd.
 2718   Just Don't Give A Fuck                                PA0000954432      Universal Music Publ. MGB Ltd.
 2719   Killing An Arab                                       PA0000205039      Universal Music Publ. MGB Ltd.
 2720   Kyoto Song                                            PA0000279387      Universal Music Publ. MGB Ltd.
 2721   Leisure Suite                                         PA0001166703      Universal Music Publ. MGB Ltd.
 2722   Let's Go To Bed                                       PA0000190147      Universal Music Publ. MGB Ltd.
 2723   Lose Yourself                                         PA0001152688      Universal Music Publ. MGB Ltd.
 2724   Lost!                                                 PA0001820454      Universal Music Publ. MGB Ltd.
 2725   Lost?                                                 PA0001820454      Universal Music Publ. MGB Ltd.
 2726   Lovers In Japan                                       PA0001820456      Universal Music Publ. MGB Ltd.
 2727   Lovers In Japan (Osaka Sun Mix)                       PA0001820456      Universal Music Publ. MGB Ltd.
 2728   Lullaby                                               PA0001073354      Universal Music Publ. MGB Ltd.
 2729   My Fault                                              PA0000954429      Universal Music Publ. MGB Ltd.
 2730   My Moon My Man                                        PA0001692639      Universal Music Publ. MGB Ltd.
 2731   October Song                                          PA0001792201      Universal Music Publ. MGB Ltd.
 2732   One Evening                                           PA0001166702      Universal Music Publ. MGB Ltd.
 2733   Other Voices                                          PA0000194927      Universal Music Publ. MGB Ltd.
 2734   Parachutes                                            PA0000981361      Universal Music Publ. MGB Ltd.
 2735   Past In Present                                       PA0001692670      Universal Music Publ. MGB Ltd.
 2736   Pattern Of My Life                                    PAU002965709      Universal Music Publ. MGB Ltd.
 2737   Paul (Skit)                                           PA0001295388      Universal Music Publ. MGB Ltd.
 2738   Play For Today                                        PA0000194917      Universal Music Publ. MGB Ltd.
 2739   Politik                                               PA0001073300      Universal Music Publ. MGB Ltd.
 2740   Primary                                               PA0000194926      Universal Music Publ. MGB Ltd.
 2741   Push                                                  PA0000279386      Universal Music Publ. MGB Ltd.
 2742   Rap Name                                              PA0001248992      Universal Music Publ. MGB Ltd.
 2743   Say Goodbye Hollywood                                 PA0001090374      Universal Music Publ. MGB Ltd.
 2744   Screw                                                 PA0000279385      Universal Music Publ. MGB Ltd.
 2745   Sing For The Moment                                   PA0001093104      Universal Music Publ. MGB Ltd.
 2746   Sinking                                               PA0000279379      Universal Music Publ. MGB Ltd.
 2747   Six Different Ways                                    PA0000279384      Universal Music Publ. MGB Ltd.
 2748   Soldier                                               PA0001073064      Universal Music Publ. MGB Ltd.
 2749   Somewhere Only We Know                                PA0001160739      Universal Music Publ. MGB Ltd.
 2750   Sparks                                                PA0000981359      Universal Music Publ. MGB Ltd.
 2751   Speed Of Sound                                        PA0001700393      Universal Music Publ. MGB Ltd.
 2752   Spend Some Time                                       PA0001295395      Universal Music Publ. MGB Ltd.
 2753   Spies                                                 PA0000981358      Universal Music Publ. MGB Ltd.
 2754   Square Dance                                          PA0001073065      Universal Music Publ. MGB Ltd.
 2755   Still Don't Give                                      PA0000954424      Universal Music Publ. MGB Ltd.
 2756   Stop Dead                                             PA0000292281      Universal Music Publ. MGB Ltd.
 2757   Strawberry Swing                                      PA0001820460      Universal Music Publ. MGB Ltd.
 2758   Superman                                              PA0001073066      Universal Music Publ. MGB Ltd.
 2759   The Baby Screams                                      PA0000279381      Universal Music Publ. MGB Ltd.
 2760   The Blood                                             PA0000279382      Universal Music Publ. MGB Ltd.
 2761   The Caterpillar                                       PA0000215389      Universal Music Publ. MGB Ltd.
 2762   The Exploding Boy                                     PA0000344061      Universal Music Publ. MGB Ltd.
 2763   The Hanging Garden                                    PA0000192007      Universal Music Publ. MGB Ltd.
 2764   The Limit To Your Love                                PA0001692667      Universal Music Publ. MGB Ltd.
 2765   The Park                                              PA0001692751      Universal Music Publ. MGB Ltd.




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        Track                                                 Reg. No.          Plaintiff
 2766   The Walk                                              PA0000190145      Universal Music Publ. MGB Ltd.
 2767   The Water                                             PA0001692757      Universal Music Publ. MGB Ltd.
 2768   Trouble                                               PA0000981362      Universal Music Publ. MGB Ltd.
 2769   Violet Hill                                           PA0001820463      Universal Music Publ. MGB Ltd.
 2770   Viva La Vida                                          PA0001820459      Universal Music Publ. MGB Ltd.
 2771   Walnut Tree: Under the Walnut Tree                    PA0001248670      Universal Music Publ. MGB Ltd.
 2772   Warning Sign                                          PA0001073307      Universal Music Publ. MGB Ltd.
 2773   We Never Change                                       PA0000981364      Universal Music Publ. MGB Ltd.
 2774   Yes                                                   PA0001820464      Universal Music Publ. MGB Ltd.
 2775   3                                                     PA0001744943      Universal Music Publishing AB
 2776   Bringing Out The Elvis                                PA0000955483      Universal Music Publishing AB
 2777   Done Stealin'                                         PA0001677401      Universal Music Publishing AB
 2778   How I Roll                                            PA0001767515      Universal Music Publishing AB
 2779   If My Heart Had Wings                                 PA0000976309      Universal Music Publishing AB
 2780   Shape Of My Heart                                     PA0001039513      Universal Music Publishing AB
 2781   Something To Die For                                  PA0001677407      Universal Music Publishing AB
 2782   Sometimes                                             PA0000932239      Universal Music Publishing AB
 2783   Warzone                                               PA0001896532      Universal Music Publishing AB
 2784   After The Storm                                       PA0001932494      Universal Music Publishing Ltd.
 2785   Babel                                                 PA0001818828      Universal Music Publishing Ltd.
 2786   Bad Blood                                             PA0001915737      Universal Music Publishing Ltd.
 2787   Below My Feet                                         PA0001818826      Universal Music Publishing Ltd.
 2788   Best For Last                                         PA0001975721      Universal Music Publishing Ltd.
 2789   Between Two Lungs                                     PA0001892800      Universal Music Publishing Ltd.
 2790   Broken Crown                                          PA0001818825      Universal Music Publishing Ltd.
 2791   Chasing Cars                                          PA0001990266      Universal Music Publishing Ltd.
 2792   Chasing Pavements                                     PA0001975709      Universal Music Publishing Ltd.
 2793   Clint Eastwood                                        PA0001066504      Universal Music Publishing Ltd.
 2794   Cold Shoulder                                         PA0001975723      Universal Music Publishing Ltd.
 2795   Cosmic Love                                           PA0001892799      Universal Music Publishing Ltd.
 2796   Crazy For You                                         PA0001975719      Universal Music Publishing Ltd.
 2797   Crocodile Rock                                        EFO000159444;     Universal Music Publishing Ltd.
                                                              RE0000822540;
                                                              EP0000309236;
                                                              RE0000836270
 2798 Daniel                                                  EF0000161087;     Universal Music Publishing Ltd.
                                                              RE0000822570;
                                                              EU0000387491;
                                                              RE0000836513
 2799   Daniel in the Den                                     PA0001915733      Universal Music Publishing Ltd.
 2800   Daydreamer                                            PA0001975694      Universal Music Publishing Ltd.
 2801   Distractions                                          PA0001263481      Universal Music Publishing Ltd.
 2802   Dog Days Are Over                                     PA0001892802      Universal Music Publishing Ltd.
 2803   Don't Let The Sun Go Down On Me                       EU0000493982;     Universal Music Publishing Ltd.
                                                              RE0000857914
 2804   Don't You Remember                                    PA0001734876      Universal Music Publishing Ltd.
 2805   Durban Skies                                          PA0001981858      Universal Music Publishing Ltd.
 2806   Feels Like Today                                      PA0001245179      Universal Music Publishing Ltd.
 2807   First Episode At Hienton                              RE0000750700      Universal Music Publishing Ltd.
 2808   First Love                                            PA0001975718      Universal Music Publishing Ltd.
 2809   Flaws                                                 PA0001915732      Universal Music Publishing Ltd.
 2810   For Those Below                                       PA0001818816      Universal Music Publishing Ltd.
 2811   Get Home                                              PA0001915736      Universal Music Publishing Ltd.
 2812   Ghosts That We Knew                                   PA0001818832      Universal Music Publishing Ltd.
 2813   Give Me My Month                                      PA0001824175      Universal Music Publishing Ltd.
 2814   Goodbye Yellow Brick Road                             EFO000170947;     Universal Music Publishing Ltd.
                                                              RE0000838312
 2815   Hands Are Clever                                      PA0001806286      Universal Music Publishing Ltd.
 2816   Hanging On Too Long                                   PA0001698354      Universal Music Publishing Ltd.
 2817   Haunt                                                 PA0001917699      Universal Music Publishing Ltd.
 2818   He Won't Go                                           PA0001734873      Universal Music Publishing Ltd.
 2819   Holland Road                                          PA0001818831      Universal Music Publishing Ltd.
 2820   Hometown Glory                                        PA0001975714      Universal Music Publishing Ltd.
 2821   Hopeless Wanderer                                     PA0001818824      Universal Music Publishing Ltd.
 2822   Humming Bird                                          PA0001806288      Universal Music Publishing Ltd.
 2823   I Dreamed I Saw Phil Ochs Last Night                  PA0001324545      Universal Music Publishing Ltd.
 2824   I Love You                                            PA0001806282      Universal Music Publishing Ltd.
 2825   I Mind                                                PA0001827817      Universal Music Publishing Ltd.
 2826   I Never Learnt To Share                               PA0001827811      Universal Music Publishing Ltd.
 2827   I Want Love                                           PA0001064720      Universal Music Publishing Ltd.
 2828   I Will Wait                                           PA0001818830      Universal Music Publishing Ltd.
 2829   I Won't Let You Down                                  PA0001806274      Universal Music Publishing Ltd.
 2830   Icarus                                                PA0001915730      Universal Music Publishing Ltd.
 2831   I'll Be Waiting                                       PA0001734871      Universal Music Publishing Ltd.
 2832   I'm Not Calling You A Liar                            PA0001892801      Universal Music Publishing Ltd.
 2833   I'm Scared                                            PA0001698335      Universal Music Publishing Ltd.
 2834   Ivan Meets G.I. Joe                                   PA0000112397      Universal Music Publishing Ltd.




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        Track                                                 Reg. No.          Plaintiff
 2835   Kiss With A Fist                                      PA0001892795      Universal Music Publishing Ltd.
 2836   Latch                                                 PA0001916095      Universal Music Publishing Ltd.
 2837   Laughter Lines                                        PA0001915739      Universal Music Publishing Ltd.
 2838   Laura Palmer                                          PA0001915734      Universal Music Publishing Ltd.
 2839   Lindisfarne II                                        PA0001827813      Universal Music Publishing Ltd.
 2840   Little Lion Man                                       PA0001932483      Universal Music Publishing Ltd.
 2841   Lover Of The Light                                    PA0001818820      Universal Music Publishing Ltd.
 2842   Lovers' Eyes                                          PA0001818822      Universal Music Publishing Ltd.
 2843   Mad House                                             PA0001669186      Universal Music Publishing Ltd.
 2844   Measurements                                          PA0001824202      Universal Music Publishing Ltd.
 2845   Melt My Heart To Stone                                PA0001975706      Universal Music Publishing Ltd.
 2846   More Than This                                        PA0001830362      Universal Music Publishing Ltd.
 2847   My Same                                               PA0001975716      Universal Music Publishing Ltd.
 2848   Not With Haste                                        PA0001818827      Universal Music Publishing Ltd.
 2849   Oblivion                                              PA0001915731      Universal Music Publishing Ltd.
 2850   One And Only                                          PA0001734869      Universal Music Publishing Ltd.
 2851   One Foot Wrong                                        PA0001698064      Universal Music Publishing Ltd.
 2852   Overjoyed                                             PA0001915735      Universal Music Publishing Ltd.
 2853   Philadelphia Freedom                                  RE0000875356      Universal Music Publishing Ltd.
 2854   Poet                                                  PA0001981843      Universal Music Publishing Ltd.
 2855   Rabbit Heart (Raise It Up)                            PA0001892789      Universal Music Publishing Ltd.
 2856   Relax My Beloved                                      PA0001806292      Universal Music Publishing Ltd.
 2857   Reminder                                              PA0001818823      Universal Music Publishing Ltd.
 2858   Repeat (feat. Jessie J)                               PA0001761918      Universal Music Publishing Ltd.
 2859   Rolling In The Deep                                   PA0001734866      Universal Music Publishing Ltd.
 2860   Rumour Has It                                         PA0001734865      Universal Music Publishing Ltd.
 2861   Sanctuary                                             PA0001806278      Universal Music Publishing Ltd.
 2862   Saturday Night's Alright (For Fighting)               RE0000834705      Universal Music Publishing Ltd.
 2863   Set Fire To The Rain                                  PA0001734875      Universal Music Publishing Ltd.
 2864   Should I Stay Or Should I Go                          PA0000146741      Universal Music Publishing Ltd.
 2865   Sigh No More                                          PA0001932474      Universal Music Publishing Ltd.
 2866   Sixty Years On                                        RE0000750225      Universal Music Publishing Ltd.
 2867   Skulls                                                PA0001981876      Universal Music Publishing Ltd.
 2868   Sleepsong                                             PA0001981854      Universal Music Publishing Ltd.
 2869   Somebody Got Murdered                                 PA0000112402      Universal Music Publishing Ltd.
 2870   Someone Like You                                      PA0001734868      Universal Music Publishing Ltd.
 2871   Sorry Seems To Be The Hardest Word                    RE0000895651      Universal Music Publishing Ltd.
 2872   Stole My Heart                                        PA0001830363      Universal Music Publishing Ltd.
 2873   Take It All                                           PA0001734872      Universal Music Publishing Ltd.
 2874   The Bridge                                            PA0001343239      Universal Music Publishing Ltd.
 2875   The Cave                                              PA0001932476      Universal Music Publishing Ltd.
 2876   The Draw                                              PA0001981866      Universal Music Publishing Ltd.
 2877   The Magnificent Seven                                 PA0000112394      Universal Music Publishing Ltd.
 2878   The Silence                                           PA0001915740      Universal Music Publishing Ltd.
 2879   The Street Parade                                     PA0000112420      Universal Music Publishing Ltd.
 2880   The Wilhelm Scream                                    PA0001824165      Universal Music Publishing Ltd.
 2881   These Streets                                         PA0001915727      Universal Music Publishing Ltd.
 2882   Things We Lost in the Fire                            PA0001915726      Universal Music Publishing Ltd.
 2883   This Train Don't Stop There Anymore                   PA0001064725      Universal Music Publishing Ltd.
 2884   Tinderbox                                             PA0001343236      Universal Music Publishing Ltd.
 2885   Tiny Dancer                                           EU0000283994;     Universal Music Publishing Ltd.
                                                              RE0000802431
 2886   Tired                                                 PA0001975712      Universal Music Publishing Ltd.
 2887   To Care (Like You)                                    PA0001824177      Universal Music Publishing Ltd.
 2888   Treading Water                                        PA0001806293      Universal Music Publishing Ltd.
 2889   True Love                                             PA0001817461      Universal Music Publishing Ltd.
 2890   Tuning Out...                                         PA0001981868      Universal Music Publishing Ltd.
 2891   Turning Tables                                        PA0001734878      Universal Music Publishing Ltd.
 2892   Up All Night                                          PA0001806294      Universal Music Publishing Ltd.
 2893   Wait Your Turn                                        PA0001668381      Universal Music Publishing Ltd.
 2894   Warriors                                              PA0001898514      Universal Music Publishing Ltd.
 2895   Warwick Avenue                                        PA0001698368      Universal Music Publishing Ltd.
 2896   Weight of Living, Pt. I                               PA0001915728      Universal Music Publishing Ltd.
 2897   Where Are You Now                                     PA0001818817      Universal Music Publishing Ltd.
 2898   Whispering                                            PA0001806283      Universal Music Publishing Ltd.
 2899   Whispers In The Dark                                  PA0001818829      Universal Music Publishing Ltd.
 2900   White Blank Page                                      PA0001932481      Universal Music Publishing Ltd.
 2901   Why Don't You Call Me?                                PA0001827815      Universal Music Publishing Ltd.
 2902   Winter Winds                                          PA0001932478      Universal Music Publishing Ltd.
 2903   Without Me                                            PA0001143650      Universal Music Publishing Ltd.
 2904   Signs                                                 PA0001193822      Universal Music Publishing, Inc.
 2905   Animal Instinct                                       PA0000968355      Universal/Island Music Ltd.
 2906   Daffodil Lament                                       PA0000734582      Universal/Island Music Ltd.
 2907   Free To Decide                                        PA0000791577      Universal/Island Music Ltd.
 2908   Hollywood                                             PA0000791574      Universal/Island Music Ltd.
 2909   I Can't Be With You                                   PA0000734572      Universal/Island Music Ltd.
 2910   Police & Thieves                                      PA0000046453      Universal/Island Music Ltd.




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        Track                                                 Reg. No.          Plaintiff
 2911   Promises                                              PA0000968357      Universal/Island Music Ltd.
 2912   Ridiculous Thoughts                                   PA0000734579      Universal/Island Music Ltd.
 2913   This Is The Day                                       PA0001277414      Universal/Island Music Ltd.
 2914   Time Is Ticking Out                                   PA0001277412      Universal/Island Music Ltd.
 2915   You And Me                                            PA0000968358      Universal/Island Music Ltd.
 2916   Big Girl Little Girl                                  PA0001711304      Universal/MCA Music Ltd.
 2917   Electric Bird                                         PA0001994826      Universal/MCA Music Ltd.
 2918   Ghost Behind My Eyes                                  PA0000795018      Universal/MCA Music Ltd.
 2919   Run To You                                            PA0000840168      Universal/MCA Music Ltd.
 2920   Angel                                                 PA0001046461      Universal/MCA Music Publishing Pty. Ltd.
 2921   Back on Earth                                         PA0000895946      Universal/MCA Music Publishing Pty. Ltd.
 2922   Can U Get Away                                        PA0000875890      Universal/MCA Music Publishing Pty. Ltd.
 2923   Definition Of A Thug N***a                            PA0000776781      Universal/MCA Music Publishing Pty. Ltd.
 2924   Dreams of Our Fathers                                 PA0001039322      Universal/MCA Music Publishing Pty. Ltd.
 2925   Everyday                                              PA0001039330      Universal/MCA Music Publishing Pty. Ltd.
 2926   Falling In Love (Is Hard On The Knees)                PA0000847442      Universal/MCA Music Publishing Pty. Ltd.
 2927   Fool to Think                                         PA0001039327      Universal/MCA Music Publishing Pty. Ltd.
 2928   Hand On The Pump                                      PA0000538434      Universal/MCA Music Publishing Pty. Ltd.
 2929   Here I Go Again                                       PA0001328100;     Universal/MCA Music Publishing Pty. Ltd.
                                                              PA0001162725
 2930   Hits From The Bong                                    PA0000791818      Universal/MCA Music Publishing Pty. Ltd.
 2931   How I Could Just Kill A Man                           PA0000796241      Universal/MCA Music Publishing Pty. Ltd.
 2932   I Did It                                              PA0001039319      Universal/MCA Music Publishing Pty. Ltd.
 2933   If I Die 2Nite                                        PA0000773737      Universal/MCA Music Publishing Pty. Ltd.
 2934   If I Had It All                                       PA0001039324      Universal/MCA Music Publishing Pty. Ltd.
 2935   If I Told You That                                    PA0001004813      Universal/MCA Music Publishing Pty. Ltd.
 2936   I'm so into You                                       PA0000664028      Universal/MCA Music Publishing Pty. Ltd.
 2937   Insane In The Brain                                   PA0000664235      Universal/MCA Music Publishing Pty. Ltd.
 2938   Just About Now                                        PA0000669876      Universal/MCA Music Publishing Pty. Ltd.
 2939   Just Push Play                                        PA0001048574      Universal/MCA Music Publishing Pty. Ltd.
 2940   Lady, Lady                                            PA0000731125      Universal/MCA Music Publishing Pty. Ltd.
 2941   Livin' On The Edge                                    PA0000832940      Universal/MCA Music Publishing Pty. Ltd.
 2942   Lord Knows                                            PA0000773740      Universal/MCA Music Publishing Pty. Ltd.
 2943   Love Is On The Way (Real Love)                        PA0000731122      Universal/MCA Music Publishing Pty. Ltd.
 2944   Me Against The World                                  PA0000700333      Universal/MCA Music Publishing Pty. Ltd.
 2945   Mother Father                                         PA0001039329      Universal/MCA Music Publishing Pty. Ltd.
 2946   Old School                                            PA0000773742      Universal/MCA Music Publishing Pty. Ltd.
 2947   Rain                                                  PA0001004572      Universal/MCA Music Publishing Pty. Ltd.
 2948   Secret Heart                                          PA0000807140      Universal/MCA Music Publishing Pty. Ltd.
 2949   Sleep to Dream Her                                    PA0001039328      Universal/MCA Music Publishing Pty. Ltd.
 2950   So Many Tears                                         PA0000773738      Universal/MCA Music Publishing Pty. Ltd.
 2951   So Right                                              PA0001039323      Universal/MCA Music Publishing Pty. Ltd.
 2952   Soul Intact                                           PA0000810659      Universal/MCA Music Publishing Pty. Ltd.
 2953   That's What I Need                                    PA0000664035      Universal/MCA Music Publishing Pty. Ltd.
 2954   There's A Thug In My Life                             PA0001162730      Universal/MCA Music Publishing Pty. Ltd.
 2955   Think You're Gonna Like It                            PA0000664034      Universal/MCA Music Publishing Pty. Ltd.
 2956   Truthfully                                            PA0001147359      Universal/MCA Music Publishing Pty. Ltd.
 2957   We Run The Night                                      PA0001929045      Universal/MCA Music Publishing Pty. Ltd.
 2958   What Can I Do?                                        V3497D308         Universal/MCA Music Publishing Pty. Ltd.
 2959   What You Are                                          PA0001039325      Universal/MCA Music Publishing Pty. Ltd.
 2960   What's It Gonna Be                                    PA0000810659      Universal/MCA Music Publishing Pty. Ltd.
 2961   When The World Ends                                   PA0001046455      Universal/MCA Music Publishing Pty. Ltd.
 2962   You're Always On My Mind                              PA0000664031      Universal/MCA Music Publishing Pty. Ltd.
 2963   Ass Like That                                         PA0001284525      W Chappell Music Corp. d/b/a WC Music Corp. / Warner-Tamerlane Publishing Corp.
 2964   107                                                   PA0001022575      W Chappell Music Corp. d/b/a WC Music Corp.
 2965   (Drop Dead) Beautiful                                 PA0001750218      W Chappell Music Corp. d/b/a WC Music Corp.
 2966   (Kissed You) Good Night                               PA0001840707      W Chappell Music Corp. d/b/a WC Music Corp.
 2967   (Oh No) What You Got                                  PA0001149533      W Chappell Music Corp. d/b/a WC Music Corp.
 2968   (One Of Those) Crazy Girls                            PA0001854435      W Chappell Music Corp. d/b/a WC Music Corp.
 2969   ***Flawless                                           PA0001918122      W Chappell Music Corp. d/b/a WC Music Corp.
 2970   1+1                                                   PA0001861929      W Chappell Music Corp. d/b/a WC Music Corp.
 2971   21 Questions                                          PA0001147207      W Chappell Music Corp. d/b/a WC Music Corp.
 2972   A Flat                                                PA0000951000      W Chappell Music Corp. d/b/a WC Music Corp.
 2973   A Welcome Burden                                      PA0001059185      W Chappell Music Corp. d/b/a WC Music Corp.
 2974   Addicted                                              PA0001084656      W Chappell Music Corp. d/b/a WC Music Corp.
 2975   Afrodisiac                                            PA0001236712      W Chappell Music Corp. d/b/a WC Music Corp.
 2976   All Her Love                                          PA0001087582      W Chappell Music Corp. d/b/a WC Music Corp.
 2977   All I Ask For                                         PA0001146376      W Chappell Music Corp. d/b/a WC Music Corp.
 2978   All I Want                                            PA0001608904      W Chappell Music Corp. d/b/a WC Music Corp.
 2979   All I Wanted                                          PA0001676908      W Chappell Music Corp. d/b/a WC Music Corp.
 2980   All In The Name Of...                                 PA0000354504      W Chappell Music Corp. d/b/a WC Music Corp.
 2981   All Over The Road                                     PA0001859563      W Chappell Music Corp. d/b/a WC Music Corp.
 2982   All The Same                                          PA0000914816      W Chappell Music Corp. d/b/a WC Music Corp.
 2983   Already Gone                                          PA0001249431      W Chappell Music Corp. d/b/a WC Music Corp.
 2984   Amen                                                  PA0001842305      W Chappell Music Corp. d/b/a WC Music Corp.
 2985   American Eulogy: Mass Hysteria/Modern World           PA0001859360      W Chappell Music Corp. d/b/a WC Music Corp.
 2986   And I Waited                                          PA0001733326      W Chappell Music Corp. d/b/a WC Music Corp.




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        Track                                                 Reg. No.          Plaintiff
 2987   And The Radio Played                                  PA0001889065      W Chappell Music Corp. d/b/a WC Music Corp.
 2988   Anklebiters                                           PA0001854436      W Chappell Music Corp. d/b/a WC Music Corp.
 2989   Announcement                                          PA0001656977      W Chappell Music Corp. d/b/a WC Music Corp.
 2990   Avarice                                               PA0001352640;     W Chappell Music Corp. d/b/a WC Music Corp.
                                                              PA0001296201
 2991   Aw Naw                                                PA0001887674      W Chappell Music Corp. d/b/a WC Music Corp.
 2992   Awaken                                                PA0001111236      W Chappell Music Corp. d/b/a WC Music Corp.
 2993   Ayo Technology                                        PA0001876618      W Chappell Music Corp. d/b/a WC Music Corp.
 2994   B.B.K.                                                PA0000776191      W Chappell Music Corp. d/b/a WC Music Corp.
 2995   Baby You Belong                                       PA0001147137      W Chappell Music Corp. d/b/a WC Music Corp.
 2996   Back Down                                             PA0001248732      W Chappell Music Corp. d/b/a WC Music Corp.
 2997   Back To School (Mini Maggit)                          PA0001033072      W Chappell Music Corp. d/b/a WC Music Corp.
 2998   Bad Bitch                                             PA0001245809      W Chappell Music Corp. d/b/a WC Music Corp.
 2999   Bad Boy Boogie                                        PA0000354502      W Chappell Music Corp. d/b/a WC Music Corp.
 3000   Bad News                                              PA0001633768      W Chappell Music Corp. d/b/a WC Music Corp.
 3001   bang bang bang                                        PA0001750215      W Chappell Music Corp. d/b/a WC Music Corp.
 3002   Basement                                              PA0001075310      W Chappell Music Corp. d/b/a WC Music Corp.
 3003   Battle-axe                                            PA0001157470      W Chappell Music Corp. d/b/a WC Music Corp.
 3004   BBC                                                   PA0001858826      W Chappell Music Corp. d/b/a WC Music Corp.
 3005   Be Alone                                              PA0001854435      W Chappell Music Corp. d/b/a WC Music Corp.
 3006   Be Quiet And Drive                                    PA0000870906      W Chappell Music Corp. d/b/a WC Music Corp.
 3007   Before The Lobotomy                                   PA0001859360      W Chappell Music Corp. d/b/a WC Music Corp.
 3008   Believe                                               PA0001111236      W Chappell Music Corp. d/b/a WC Music Corp.
 3009   Believe                                               PA0001608897      W Chappell Music Corp. d/b/a WC Music Corp.
 3010   Berzerk                                               PA0001863184      W Chappell Music Corp. d/b/a WC Music Corp.
 3011   Best Thing I Never Had                                PA0001752857      W Chappell Music Corp. d/b/a WC Music Corp.
 3012   Betty's a Bombshell                                   PA0001762863      W Chappell Music Corp. d/b/a WC Music Corp.
 3013   Beware                                                PA0001373477      W Chappell Music Corp. d/b/a WC Music Corp.
 3014   Big Pimpin'/Papercut                                  PA0001080612      W Chappell Music Corp. d/b/a WC Music Corp.
 3015   Birdman Interlude                                     PA0001814502      W Chappell Music Corp. d/b/a WC Music Corp.
 3016   Birthday Cake                                         PA0001841920      W Chappell Music Corp. d/b/a WC Music Corp.
 3017   Birthmark                                             PA0000776635      W Chappell Music Corp. d/b/a WC Music Corp.
 3018   Black Moon                                            PA0001336033      W Chappell Music Corp. d/b/a WC Music Corp.
 3019   Blessed Redeemer                                      PA0001686148      W Chappell Music Corp. d/b/a WC Music Corp.
 3020   Blood Brothers                                        PA0001870874      W Chappell Music Corp. d/b/a WC Music Corp.
 3021   Blow Away                                             PA0001157386      W Chappell Music Corp. d/b/a WC Music Corp.
 3022   Blue Clear Sky                                        PA0000828422      W Chappell Music Corp. d/b/a WC Music Corp.
 3023   Bored                                                 PA0000776635      W Chappell Music Corp. d/b/a WC Music Corp.
 3024   Born For This                                         PA0001595081      W Chappell Music Corp. d/b/a WC Music Corp.
 3025   Bottom                                                PA0001225978      W Chappell Music Corp. d/b/a WC Music Corp.
 3026   Bound                                                 PA0001111236      W Chappell Music Corp. d/b/a WC Music Corp.
 3027   Break Away                                            PA0001608902      W Chappell Music Corp. d/b/a WC Music Corp.
 3028   Bring Me Down                                         PA0001311759      W Chappell Music Corp. d/b/a WC Music Corp.
 3029   Broken Glass                                          PA0001335215      W Chappell Music Corp. d/b/a WC Music Corp.
 3030   Brokenhearted                                         PA0000757404      W Chappell Music Corp. d/b/a WC Music Corp.
 3031   Brooklyn                                              PA0001335215      W Chappell Music Corp. d/b/a WC Music Corp.
 3032   Buried Alive Interlude                                PA0001869935      W Chappell Music Corp. d/b/a WC Music Corp.
 3033   Business                                              PA0001118664      W Chappell Music Corp. d/b/a WC Music Corp.
 3034   California Gurls                                      PA0001753646      W Chappell Music Corp. d/b/a WC Music Corp.
 3035   Can't Believe                                         PA0001060038      W Chappell Music Corp. d/b/a WC Music Corp.
 3036   Careful                                               PA0001676905      W Chappell Music Corp. d/b/a WC Music Corp.
 3037   Carousel                                              PA0001335214      W Chappell Music Corp. d/b/a WC Music Corp.
 3038   Carry You There                                       PA0001733326      W Chappell Music Corp. d/b/a WC Music Corp.
 3039   Change                                                PA0001060039      W Chappell Music Corp. d/b/a WC Music Corp.
 3040   Change (In The House Of Flies)                        PA0001029983      W Chappell Music Corp. d/b/a WC Music Corp.
 3041   Change My Mind                                        PA0001204552      W Chappell Music Corp. d/b/a WC Music Corp.
 3042   Chasin' That Neon Rainbow                             PA0000458323      W Chappell Music Corp. d/b/a WC Music Corp.
 3043   Chasing Sirens                                        PA0001022575      W Chappell Music Corp. d/b/a WC Music Corp.
 3044   Chattahoochee                                         PA0000587430      W Chappell Music Corp. d/b/a WC Music Corp.
 3045   Check On It                                           PA0001163316      W Chappell Music Corp. d/b/a WC Music Corp.
 3046   Cherry Waves                                          PA0001373477      W Chappell Music Corp. d/b/a WC Music Corp.
 3047   Children Of The Korn                                  PA0001058922      W Chappell Music Corp. d/b/a WC Music Corp.
 3048   Chloe                                                 PA0001762863      W Chappell Music Corp. d/b/a WC Music Corp.
 3049   Christian's Inferno                                   PA0001859360      W Chappell Music Corp. d/b/a WC Music Corp.
 3050   Circle The Drain                                      PA0001753641      W Chappell Music Corp. d/b/a WC Music Corp.
 3051   Clique                                                PA0001913932      W Chappell Music Corp. d/b/a WC Music Corp.
 3052   Close Your Eyes and Count to Ten                      PA0001762863      W Chappell Music Corp. d/b/a WC Music Corp.
 3053   Closure                                               PA0001859504      W Chappell Music Corp. d/b/a WC Music Corp.
 3054   Cloud 9                                               PA0001262375      W Chappell Music Corp. d/b/a WC Music Corp.
 3055   Clumsy                                                PA0001165468      W Chappell Music Corp. d/b/a WC Music Corp.
 3056   Coffee                                                PA0001779668      W Chappell Music Corp. d/b/a WC Music Corp.
 3057   Colours                                               PA0001397703      W Chappell Music Corp. d/b/a WC Music Corp.
 3058   Combat                                                PA0001373482      W Chappell Music Corp. d/b/a WC Music Corp.
 3059   Come As You Are                                       PA0001236710      W Chappell Music Corp. d/b/a WC Music Corp.
 3060   Come Rain or Come Shine                               EP0000001893;     W Chappell Music Corp. d/b/a WC Music Corp.
                                                              R547891
 3061 Comfortable Liar                                        PA0001859610      W Chappell Music Corp. d/b/a WC Music Corp.




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                                                              EXHIBIT B - MUSICAL COMPOSITIONS

        Track                                                 Reg. No.         Plaintiff
 3062   Conflict                                              PA0001000622     W Chappell Music Corp. d/b/a WC Music Corp.
 3063   Could It Be                                           PA0001157385     W Chappell Music Corp. d/b/a WC Music Corp.
 3064   Countdown                                             PA0001861897     W Chappell Music Corp. d/b/a WC Music Corp.
 3065   Crash My Party                                        PA0001870878     W Chappell Music Corp. d/b/a WC Music Corp.
 3066   Crawl                                                 PA0000951000     W Chappell Music Corp. d/b/a WC Music Corp.
 3067   Crazy                                                 PA0001251376     W Chappell Music Corp. d/b/a WC Music Corp.
 3068   Crazy                                                 PA0001858858     W Chappell Music Corp. d/b/a WC Music Corp.
 3069   Crenshaw Punch / I'll Throw Rocks At You              PA0001336034     W Chappell Music Corp. d/b/a WC Music Corp.
 3070   Criminal                                              PA0001697247     W Chappell Music Corp. d/b/a WC Music Corp.
 3071   Cross To Bear                                         PA0001287783     W Chappell Music Corp. d/b/a WC Music Corp.
 3072   Cruel and Beautiful World                             PA0001762863     W Chappell Music Corp. d/b/a WC Music Corp.
 3073   crushcrushcrush                                       PA0001595045     W Chappell Music Corp. d/b/a WC Music Corp.
 3074   Cry Me A River                                        PA0001266147     W Chappell Music Corp. d/b/a WC Music Corp.
 3075   Dai The Flu                                           PA0000870906     W Chappell Music Corp. d/b/a WC Music Corp.
 3076   Damage                                                PA0001395679     W Chappell Music Corp. d/b/a WC Music Corp.
 3077   Dance For You                                         PA0002096977     W Chappell Music Corp. d/b/a WC Music Corp.
 3078   Dance Real Slow                                       PA0001859563     W Chappell Music Corp. d/b/a WC Music Corp.
 3079   Dancing On Glass                                      PA0000354501     W Chappell Music Corp. d/b/a WC Music Corp.
 3080   Dangerously In Love                                   PA0000954078     W Chappell Music Corp. d/b/a WC Music Corp.
 3081   Daydreaming                                           PA0001854435     W Chappell Music Corp. d/b/a WC Music Corp.
 3082   Dead Bodies Everywhere                                PA0000776191     W Chappell Music Corp. d/b/a WC Music Corp.
 3083   Deathblow                                             PA0001157470     W Chappell Music Corp. d/b/a WC Music Corp.
 3084   Decadence                                             PA0001296200     W Chappell Music Corp. d/b/a WC Music Corp.
 3085   Deceiver                                              PA0001697227     W Chappell Music Corp. d/b/a WC Music Corp.
 3086   Dehumanized                                           PA0001224644     W Chappell Music Corp. d/b/a WC Music Corp.
 3087   Deify                                                 PA0001296199     W Chappell Music Corp. d/b/a WC Music Corp.
 3088   Devour                                                PA0001111236     W Chappell Music Corp. d/b/a WC Music Corp.
 3089   Digital Bath                                          PA0001029983     W Chappell Music Corp. d/b/a WC Music Corp.
 3090   Dirt Off Your Shoulder/Lying From You                 PA0001937215     W Chappell Music Corp. d/b/a WC Music Corp.
 3091   Dissention                                            PA0000914816     W Chappell Music Corp. d/b/a WC Music Corp.
 3092   Divide                                                PA0001697247     W Chappell Music Corp. d/b/a WC Music Corp.
 3093   Don't Rock The Jukebox                                PA0000525633     W Chappell Music Corp. d/b/a WC Music Corp.
 3094   Don't Wake Me Up                                      PA0001842282     W Chappell Music Corp. d/b/a WC Music Corp.
 3095   Don't Wanna Think About You                           PA0001238984     W Chappell Music Corp. d/b/a WC Music Corp.
 3096   Dopefiend's Diner                                     PA0001696337     W Chappell Music Corp. d/b/a WC Music Corp.
 3097   Double Bubble Trouble                                 PA0001919079     W Chappell Music Corp. d/b/a WC Music Corp.
 3098   Down With The Sickness                                PA0001000622     W Chappell Music Corp. d/b/a WC Music Corp.
 3099   Dramatica                                             PA0001022575     W Chappell Music Corp. d/b/a WC Music Corp.
 3100   Dressin' Up                                           PA0001816541     W Chappell Music Corp. d/b/a WC Music Corp.
 3101   Drift And Die                                         PA0001075312     W Chappell Music Corp. d/b/a WC Music Corp.
 3102   Droppin' Plates                                       PA0001000622     W Chappell Music Corp. d/b/a WC Music Corp.
 3103   Drumming Song                                         PA0001892793     W Chappell Music Corp. d/b/a WC Music Corp.
 3104   E.T.                                                  PA0001753644     W Chappell Music Corp. d/b/a WC Music Corp.
 3105   Elevator                                              PA0001647059     W Chappell Music Corp. d/b/a WC Music Corp.
 3106   End Of Time                                           PA0001861922     W Chappell Music Corp. d/b/a WC Music Corp.
 3107   Enough                                                PA0001697242     W Chappell Music Corp. d/b/a WC Music Corp.
 3108   Entombed                                              PA0001849262     W Chappell Music Corp. d/b/a WC Music Corp.
 3109   Epiphany                                              PA0001060035     W Chappell Music Corp. d/b/a WC Music Corp.
 3110   Eva                                                   PA0001022575     W Chappell Music Corp. d/b/a WC Music Corp.
 3111   Everything                                            PA0001335214     W Chappell Music Corp. d/b/a WC Music Corp.
 3112   Everything Changes                                    PA0001287780     W Chappell Music Corp. d/b/a WC Music Corp.
 3113   Everytime                                             PA0001251376     W Chappell Music Corp. d/b/a WC Music Corp.
 3114   Eyes-Radio-Lies                                       PA0001022575     W Chappell Music Corp. d/b/a WC Music Corp.
 3115   F*ckwithmeyouknowigotit                               PA0001858846     W Chappell Music Corp. d/b/a WC Music Corp.
 3116   Facade                                                PA0001697247     W Chappell Music Corp. d/b/a WC Music Corp.
 3117   Fade                                                  PA0001060039     W Chappell Music Corp. d/b/a WC Music Corp.
 3118   Failing                                               PA0001763314     W Chappell Music Corp. d/b/a WC Music Corp.
 3119   Fall                                                  PA0001884084     W Chappell Music Corp. d/b/a WC Music Corp.
 3120   Falling                                               PA0001287783     W Chappell Music Corp. d/b/a WC Music Corp.
 3121   Falling Down                                          PA0001157385     W Chappell Music Corp. d/b/a WC Music Corp.
 3122   Fast                                                  PA0001935086     W Chappell Music Corp. d/b/a WC Music Corp.
 3123   Fast In My Car                                        PA0001854436     W Chappell Music Corp. d/b/a WC Music Corp.
 3124   Fear                                                  PA0001000622     W Chappell Music Corp. d/b/a WC Music Corp.
 3125   Feeling Sorry                                         PA0001676906     W Chappell Music Corp. d/b/a WC Music Corp.
 3126   Fences                                                PA0001595053     W Chappell Music Corp. d/b/a WC Music Corp.
 3127   Fetisha                                               PA0000914814     W Chappell Music Corp. d/b/a WC Music Corp.
 3128   Fiction (Dreams In Digital)                           PA0001022579     W Chappell Music Corp. d/b/a WC Music Corp.
 3129   Fiend                                                 PA0000914814     W Chappell Music Corp. d/b/a WC Music Corp.
 3130   Fill Me Up                                            PA0001157384     W Chappell Music Corp. d/b/a WC Music Corp.
 3131   Finally                                               PA0001236713     W Chappell Music Corp. d/b/a WC Music Corp.
 3132   Fireal                                                PA0000776635     W Chappell Music Corp. d/b/a WC Music Corp.
 3133   Firework                                              PA0001753920     W Chappell Music Corp. d/b/a WC Music Corp.
 3134   Five Years Dead                                       PA0000332227     W Chappell Music Corp. d/b/a WC Music Corp.
 3135   Focus                                                 PA0001236716     W Chappell Music Corp. d/b/a WC Music Corp.
 3136   For A Pessimist, I'm Pretty Optimistic                PA0001595045     W Chappell Music Corp. d/b/a WC Music Corp.
 3137   For My Dawgs                                          PA0001847144     W Chappell Music Corp. d/b/a WC Music Corp.
 3138   For You                                               PA0001060038     W Chappell Music Corp. d/b/a WC Music Corp.




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                                                              EXHIBIT B - MUSICAL COMPOSITIONS

      Track                                                   Reg. No.          Plaintiff
 3139 Forfeit                                                 PA0001859504      W Chappell Music Corp. d/b/a WC Music Corp.
 3140 Forgiven                                                PA0001352640;     W Chappell Music Corp. d/b/a WC Music Corp.
                                                              PA0001296201
 3141   Fray                                                  PA0001157384      W Chappell Music Corp. d/b/a WC Music Corp.
 3142   Freak Of The World                                    PA0001225980      W Chappell Music Corp. d/b/a WC Music Corp.
 3143   Freak On A Leash                                      PA0000776191      W Chappell Music Corp. d/b/a WC Music Corp.
 3144   Fu-Gee-La                                             PA0000794856      W Chappell Music Corp. d/b/a WC Music Corp.
 3145   Future                                                PA0001854435      W Chappell Music Corp. d/b/a WC Music Corp.
 3146   Gauze                                                 PA0001849262      W Chappell Music Corp. d/b/a WC Music Corp.
 3147   Gender                                                PA0000914814      W Chappell Music Corp. d/b/a WC Music Corp.
 3148   Get Your Money Up                                     PA0001881522      W Chappell Music Corp. d/b/a WC Music Corp.
 3149   Give A Little                                         PA0001733326      W Chappell Music Corp. d/b/a WC Music Corp.
 3150   Gladiator                                             PA0001731495      W Chappell Music Corp. d/b/a WC Music Corp.
 3151   Go                                                    PA0001302099      W Chappell Music Corp. d/b/a WC Music Corp.
 3152   God Must Hate Me                                      PA0001084657      W Chappell Music Corp. d/b/a WC Music Corp.
 3153   God Of The Mind                                       PA0001045439      W Chappell Music Corp. d/b/a WC Music Corp.
 3154   Goon Squad                                            PA0001849262      W Chappell Music Corp. d/b/a WC Music Corp.
 3155   Gorilla                                               PA0001869823      W Chappell Music Corp. d/b/a WC Music Corp.
 3156   Got The Life                                          PA0000776191      W Chappell Music Corp. d/b/a WC Music Corp.
 3157   Graphic Nature                                        PA0001849262      W Chappell Music Corp. d/b/a WC Music Corp.
 3158   Grow Up                                               PA0001854435      W Chappell Music Corp. d/b/a WC Music Corp.
 3159   Guarded                                               PA0001296198      W Chappell Music Corp. d/b/a WC Music Corp.
 3160   Gunz Come Out                                         PA0001281577      W Chappell Music Corp. d/b/a WC Music Corp.
 3161   Hallelujah                                            PA0001595045      W Chappell Music Corp. d/b/a WC Music Corp.
 3162   Hard                                                  PA0001711867      W Chappell Music Corp. d/b/a WC Music Corp.
 3163   Hate                                                  PA0001711046      W Chappell Music Corp. d/b/a WC Music Corp.
 3164   Hate To See Your Heart Break                          PA0001854435      W Chappell Music Corp. d/b/a WC Music Corp.
 3165   Haterade                                              PA0001778471      W Chappell Music Corp. d/b/a WC Music Corp.
 3166   Haunted                                               PA0001697242      W Chappell Music Corp. d/b/a WC Music Corp.
 3167   Have You Seen Her                                     PA0001087579      W Chappell Music Corp. d/b/a WC Music Corp.
 3168   He Won't Hurt You                                     PA0001087585      W Chappell Music Corp. d/b/a WC Music Corp.
 3169   Headup                                                PA0000870907      W Chappell Music Corp. d/b/a WC Music Corp.
 3170   Heartache That Don't Stop Hurting                     PA0001727379      W Chappell Music Corp. d/b/a WC Music Corp.
 3171   Heartland                                             PA0000643056      W Chappell Music Corp. d/b/a WC Music Corp.
 3172   Heat                                                  PA0001248730      W Chappell Music Corp. d/b/a WC Music Corp.
 3173   Hell                                                  PA0001310671      W Chappell Music Corp. d/b/a WC Music Corp.
 3174   Hello                                                 PA0001789865      W Chappell Music Corp. d/b/a WC Music Corp.
 3175   Hello                                                 PA0000839504      W Chappell Music Corp. d/b/a WC Music Corp.
 3176   Hello World                                           PA0001896735      W Chappell Music Corp. d/b/a WC Music Corp.
 3177   Here In The Real World                                PA0000458321      W Chappell Music Corp. d/b/a WC Music Corp.
 3178   Hexagram                                              PA0001157469      W Chappell Music Corp. d/b/a WC Music Corp.
 3179   Hey Hey What Can I Do?                                Eu0000222687      W Chappell Music Corp. d/b/a WC Music Corp.
 3180   Hip Hop Star                                          PA0001208970      W Chappell Music Corp. d/b/a WC Music Corp.
 3181   Hold On, We're Going Home                             PA0001891428      W Chappell Music Corp. d/b/a WC Music Corp.
 3182   Holding On                                            PA0001644614      W Chappell Music Corp. d/b/a WC Music Corp.
 3183   Hole In The Earth                                     PA0001373476      W Chappell Music Corp. d/b/a WC Music Corp.
 3184   Home                                                  PA0000951000      W Chappell Music Corp. d/b/a WC Music Corp.
 3185   Homies                                                PA0001847137      W Chappell Music Corp. d/b/a WC Music Corp.
 3186   Horseshoes And Handgrenades                           PA0001859362      W Chappell Music Corp. d/b/a WC Music Corp.
 3187   Hot N Cold                                            PA0001697567      W Chappell Music Corp. d/b/a WC Music Corp.
 3188   How About You                                         PA0001157383      W Chappell Music Corp. d/b/a WC Music Corp.
 3189   Human Nature                                          PA0000158773      W Chappell Music Corp. d/b/a WC Music Corp.
 3190   Hummingbird Heartbeat                                 PA0001753638      W Chappell Music Corp. d/b/a WC Music Corp.
 3191   I Can Wait Forever                                    PA0001644607      W Chappell Music Corp. d/b/a WC Music Corp.
 3192   I Feel Like I'm Forgetting Something                  PAu002504855;     W Chappell Music Corp. d/b/a WC Music Corp.
                                                              PA0001120877
 3193   I Just Wanna F.                                       PA0001778193      W Chappell Music Corp. d/b/a WC Music Corp.
 3194   I Kissed A Girl                                       PA0001686870      W Chappell Music Corp. d/b/a WC Music Corp.
 3195   I Tried                                               PA0001236714      W Chappell Music Corp. d/b/a WC Music Corp.
 3196   I Wanna Luv U                                         PA0001087576      W Chappell Music Corp. d/b/a WC Music Corp.
 3197   I Won't Be There                                      PA0001084657      W Chappell Music Corp. d/b/a WC Music Corp.
 3198   I'd Do Anything                                       PA0001084655      W Chappell Music Corp. d/b/a WC Music Corp.
 3199   If I Can't                                            PA0001248731      W Chappell Music Corp. d/b/a WC Music Corp.
 3200   If I Could Love You                                   PA0001657879      W Chappell Music Corp. d/b/a WC Music Corp.
 3201   If We've Ever Needed You                              PA0001686148      W Chappell Music Corp. d/b/a WC Music Corp.
 3202   If You Can Afford Me                                  PA0001687085      W Chappell Music Corp. d/b/a WC Music Corp.
 3203   I'm Alive                                             PA0001296200      W Chappell Music Corp. d/b/a WC Music Corp.
 3204   I'm Just A Kid                                        PA0001084655      W Chappell Music Corp. d/b/a WC Music Corp.
 3205   I'm So Sure                                           PA0001669444      W Chappell Music Corp. d/b/a WC Music Corp.
 3206   I'm Still Breathing                                   PA0001686861      W Chappell Music Corp. d/b/a WC Music Corp.
 3207   Indestructible                                        PA0001697227      W Chappell Music Corp. d/b/a WC Music Corp.
 3208   Inhale                                                PA0001731503      W Chappell Music Corp. d/b/a WC Music Corp.
 3209   Inhale                                                PA0001395698      W Chappell Music Corp. d/b/a WC Music Corp.
 3210   Inside The Fire                                       PA0001697227      W Chappell Music Corp. d/b/a WC Music Corp.
 3211   Interlude: Holiday                                    PA0001854437      W Chappell Music Corp. d/b/a WC Music Corp.
 3212   Interlude: I'm Not Angry Anymore                      PA0001854435      W Chappell Music Corp. d/b/a WC Music Corp.
 3213   Interlude: Moving On                                  PA0001854435      W Chappell Music Corp. d/b/a WC Music Corp.




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        Track                                                 Reg. No.         Plaintiff
 3214   Intoxication                                          PA0001111236     W Chappell Music Corp. d/b/a WC Music Corp.
 3215   Intro                                                 PA0001157386     W Chappell Music Corp. d/b/a WC Music Corp.
 3216   It Matters To Me                                      PAu001966659     W Chappell Music Corp. d/b/a WC Music Corp.
 3217   Itchin' On A Photograph                               PA0001762863     W Chappell Music Corp. d/b/a WC Music Corp.
 3218   It's Alright                                          PA0001087587     W Chappell Music Corp. d/b/a WC Music Corp.
 3219   It's Been Awhile                                      PA0001060039     W Chappell Music Corp. d/b/a WC Music Corp.
 3220   It's On!                                              PA0000776191     W Chappell Music Corp. d/b/a WC Music Corp.
 3221   Izzo/In The End                                       PA0001038342     W Chappell Music Corp. d/b/a WC Music Corp.
 3222   Jar Of Hearts                                         PA0001750215     W Chappell Music Corp. d/b/a WC Music Corp.
 3223   Jesus Take The Wheel                                  PA0001339680     W Chappell Music Corp. d/b/a WC Music Corp.
 3224   Jesus, Hold Me Now                                    PA0001686148     W Chappell Music Corp. d/b/a WC Music Corp.
 3225   Jigga What/Faint                                      PA0001937227     W Chappell Music Corp. d/b/a WC Music Corp.
 3226   Joyful, Joyful                                        PA0001686148     W Chappell Music Corp. d/b/a WC Music Corp.
 3227   Jump                                                  PA0001251376     W Chappell Music Corp. d/b/a WC Music Corp.
 3228   Just Go                                               PA0000951000     W Chappell Music Corp. d/b/a WC Music Corp.
 3229   Just Stop                                             PA0001296198     W Chappell Music Corp. d/b/a WC Music Corp.
 3230   Justin                                                PA0000776191     W Chappell Music Corp. d/b/a WC Music Corp.
 3231   Karmageddon                                           PA0001919074     W Chappell Music Corp. d/b/a WC Music Corp.
 3232   Keep Dancin' On Me                                    PA0001659055     W Chappell Music Corp. d/b/a WC Music Corp.
 3233   King Of All Excuses                                   PA0001287780     W Chappell Music Corp. d/b/a WC Music Corp.
 3234   Kiss Me When You Come Home                            PA0001733326     W Chappell Music Corp. d/b/a WC Music Corp.
 3235   Knife Prty                                            PA0001029983     W Chappell Music Corp. d/b/a WC Music Corp.
 3236   Last Friday Night (T.G.I.F.)                          PA0001753637     W Chappell Music Corp. d/b/a WC Music Corp.
 3237   Last Hope                                             PA0001854435     W Chappell Music Corp. d/b/a WC Music Corp.
 3238   Last Night On Earth                                   PA0001859360     W Chappell Music Corp. d/b/a WC Music Corp.
 3239   Layne                                                 PA0001157384     W Chappell Music Corp. d/b/a WC Music Corp.
 3240   Leathers                                              PA0001849262     W Chappell Music Corp. d/b/a WC Music Corp.
 3241   Let Me Blow Ya Mind                                   PA0001060407     W Chappell Music Corp. d/b/a WC Music Corp.
 3242   Let The Flames Begin                                  PA0001595049     W Chappell Music Corp. d/b/a WC Music Corp.
 3243   Lhabia                                                PA0000870906     W Chappell Music Corp. d/b/a WC Music Corp.
 3244   Liberate                                              PA0001111236     W Chappell Music Corp. d/b/a WC Music Corp.
 3245   Lifter                                                PA0000776635     W Chappell Music Corp. d/b/a WC Music Corp.
 3246   Light Up                                              PA0001732180     W Chappell Music Corp. d/b/a WC Music Corp.
 3247   Like A Surgeon                                        PA0001659055     W Chappell Music Corp. d/b/a WC Music Corp.
 3248   Little Man                                            PA0000914493     W Chappell Music Corp. d/b/a WC Music Corp.
 3249   Livin' On Love                                        PA0000727505     W Chappell Music Corp. d/b/a WC Music Corp.
 3250   Locked Out of Heaven                                  PA0001869823     W Chappell Music Corp. d/b/a WC Music Corp.
 3251   Look In My Eyes                                       PA0001245810     W Chappell Music Corp. d/b/a WC Music Corp.
 3252   Looking Up                                            PA0001676905     W Chappell Music Corp. d/b/a WC Music Corp.
 3253   Lost                                                  PA0001669756     W Chappell Music Corp. d/b/a WC Music Corp.
 3254   Lost Along The Way                                    PA0001608902     W Chappell Music Corp. d/b/a WC Music Corp.
 3255   Love Her Like She's Leavin'                           PA0001769705     W Chappell Music Corp. d/b/a WC Music Corp.
 3256   Love On Top                                           PA0001861938     W Chappell Music Corp. d/b/a WC Music Corp.
 3257   Love Them Like Jesus                                  PA0001301680     W Chappell Music Corp. d/b/a WC Music Corp.
 3258   Love Will Save Your Soul                              PA0001762863     W Chappell Music Corp. d/b/a WC Music Corp.
 3259   Lovely Cup                                            PA0001762863     W Chappell Music Corp. d/b/a WC Music Corp.
 3260   Lucky You                                             PA0001146106     W Chappell Music Corp. d/b/a WC Music Corp.
 3261   Make Her Say                                          PA0001847910     W Chappell Music Corp. d/b/a WC Music Corp.
 3262   Make It Out Alive                                     PA0001733326     W Chappell Music Corp. d/b/a WC Music Corp.
 3263   Man Down (Censored)                                   PA0001693409     W Chappell Music Corp. d/b/a WC Music Corp.
 3264   Mannequin                                             PA0001687076     W Chappell Music Corp. d/b/a WC Music Corp.
 3265   Marvins Room / Buried Alive Interlude                 PA0001869935     W Chappell Music Corp. d/b/a WC Music Corp.
 3266   MATANGI                                               PA0001919076     W Chappell Music Corp. d/b/a WC Music Corp.
 3267   Me                                                    PA0000951000     W Chappell Music Corp. d/b/a WC Music Corp.
 3268   Me & U                                                PA0001627318     W Chappell Music Corp. d/b/a WC Music Corp.
 3269   Me Against The World                                  PA0001251376     W Chappell Music Corp. d/b/a WC Music Corp.
 3270   Me Myself And I                                       PA0001733326     W Chappell Music Corp. d/b/a WC Music Corp.
 3271   Meaning Of Life                                       PA0001000622     W Chappell Music Corp. d/b/a WC Music Corp.
 3272   Meet You There                                        PA0001084656     W Chappell Music Corp. d/b/a WC Music Corp.
 3273   Merry Go Round                                        PA0001657844     W Chappell Music Corp. d/b/a WC Music Corp.
 3274   Midnight In Montgomery                                PA0000533558     W Chappell Music Corp. d/b/a WC Music Corp.
 3275   Mine                                                  PA0001918125     W Chappell Music Corp. d/b/a WC Music Corp.
 3276   Minerva                                               PA0001157469     W Chappell Music Corp. d/b/a WC Music Corp.
 3277   Minus Blindfold                                       PA0000776635     W Chappell Music Corp. d/b/a WC Music Corp.
 3278   Miracle                                               PA0001595049     W Chappell Music Corp. d/b/a WC Music Corp.
 3279   Misguided Ghosts                                      PA0001676906     W Chappell Music Corp. d/b/a WC Music Corp.
 3280   Mistress                                              PA0001111236     W Chappell Music Corp. d/b/a WC Music Corp.
 3281   Moana                                                 PA0001157471     W Chappell Music Corp. d/b/a WC Music Corp.
 3282   Moonshine                                             PA0001669444     W Chappell Music Corp. d/b/a WC Music Corp.
 3283   Mudshovel                                             PA0000951000     W Chappell Music Corp. d/b/a WC Music Corp.
 3284   Mudshuvel                                             PA0001084423     W Chappell Music Corp. d/b/a WC Music Corp.
 3285   Murder City                                           PA0001859360     W Chappell Music Corp. d/b/a WC Music Corp.
 3286   Murder To Excellence                                  PA0001816414     W Chappell Music Corp. d/b/a WC Music Corp.
 3287   Musical Ride                                          PA0001733326     W Chappell Music Corp. d/b/a WC Music Corp.
 3288   MX                                                    PA0000870906     W Chappell Music Corp. d/b/a WC Music Corp.
 3289   My Alien                                              PA0001084656     W Chappell Music Corp. d/b/a WC Music Corp.
 3290   My Dad's Gone Crazy                                   PA0001118665     W Chappell Music Corp. d/b/a WC Music Corp.




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                                                              EXHIBIT B - MUSICAL COMPOSITIONS

        Track                                                 Reg. No.          Plaintiff
 3291   My Gift To You                                        PA0000776191      W Chappell Music Corp. d/b/a WC Music Corp.
 3292   Naked Kids                                            PA0001762865      W Chappell Music Corp. d/b/a WC Music Corp.
 3293   Never Change                                          PA0001311759      W Chappell Music Corp. d/b/a WC Music Corp.
 3294   Never Enough                                          PA0001284523      W Chappell Music Corp. d/b/a WC Music Corp.
 3295   Never Let Me Down                                     PA0001159068      W Chappell Music Corp. d/b/a WC Music Corp.
 3296   Never Say Never                                       PA0000949112      W Chappell Music Corp. d/b/a WC Music Corp.
 3297   Next 2 You                                            PA0001335216      W Chappell Music Corp. d/b/a WC Music Corp.
 3298   Nickels And Dimes                                     PA0001858821      W Chappell Music Corp. d/b/a WC Music Corp.
 3299   No Angel                                              PA0001918140      W Chappell Music Corp. d/b/a WC Music Corp.
 3300   No Hands                                              PA0001739078      W Chappell Music Corp. d/b/a WC Music Corp.
 3301   No Love                                               PA0001644610      W Chappell Music Corp. d/b/a WC Music Corp.
 3302   No Miracles                                           PA0001896740      W Chappell Music Corp. d/b/a WC Music Corp.
 3303   No Trash in My Trailer                                PA0001056014      W Chappell Music Corp. d/b/a WC Music Corp.
 3304   Nobody Feelin' No Pain                                PA0001904211      W Chappell Music Corp. d/b/a WC Music Corp.
 3305   Nobody Told Me                                        PA0001075310      W Chappell Music Corp. d/b/a WC Music Corp.
 3306   Nosebleed                                             PA0000776635      W Chappell Music Corp. d/b/a WC Music Corp.
 3307   Not Again                                             PA0001763314      W Chappell Music Corp. d/b/a WC Music Corp.
 3308   Not Like The Movies                                   PA0001753643      W Chappell Music Corp. d/b/a WC Music Corp.
 3309   Nothing Left To Lose                                  PA0001249431      W Chappell Music Corp. d/b/a WC Music Corp.
 3310   Nothing Left To Say                                   PA0001608897      W Chappell Music Corp. d/b/a WC Music Corp.
 3311   Notorious Thugs                                       PA0001005836      W Chappell Music Corp. d/b/a WC Music Corp.
 3312   Now                                                   PA0001854435      W Chappell Music Corp. d/b/a WC Music Corp.
 3313   Now                                                   PA0001763314      W Chappell Music Corp. d/b/a WC Music Corp.
 3314   Numb                                                  PA0001000622      W Chappell Music Corp. d/b/a WC Music Corp.
 3315   Numb/Encore                                           PA0001160198      W Chappell Music Corp. d/b/a WC Music Corp.
 3316   O Let's Do It                                         PA0001847140      W Chappell Music Corp. d/b/a WC Music Corp.
 3317   Oceans                                                PA0001858843      W Chappell Music Corp. d/b/a WC Music Corp.
 3318   Oh Timbaland                                          PA0001759709      W Chappell Music Corp. d/b/a WC Music Corp.
 3319   Oh!                                                   PA0001245811      W Chappell Music Corp. d/b/a WC Music Corp.
 3320   On And On                                             PA0001745026      W Chappell Music Corp. d/b/a WC Music Corp.
 3321   On My Highway                                         PA0001935081      W Chappell Music Corp. d/b/a WC Music Corp.
 3322   One                                                   PA0001251378      W Chappell Music Corp. d/b/a WC Music Corp.
 3323   One and Only                                          PA0001759715      W Chappell Music Corp. d/b/a WC Music Corp.
 3324   One Day                                               PA0001084657      W Chappell Music Corp. d/b/a WC Music Corp.
 3325   One For Me                                            PA0001396264      W Chappell Music Corp. d/b/a WC Music Corp.
 3326   One Of The Boys                                       PA0001687082      W Chappell Music Corp. d/b/a WC Music Corp.
 3327   One Weak                                              PA0000776635      W Chappell Music Corp. d/b/a WC Music Corp.
 3328   Onset                                                 PA0001335215      W Chappell Music Corp. d/b/a WC Music Corp.
 3329   Open Your Eyes                                        PA0001060039      W Chappell Music Corp. d/b/a WC Music Corp.
 3330   Opticon                                               PA0001022575      W Chappell Music Corp. d/b/a WC Music Corp.
 3331   Out Like That                                         PA0001870872      W Chappell Music Corp. d/b/a WC Music Corp.
 3332   Out of Line                                           PA0001335214      W Chappell Music Corp. d/b/a WC Music Corp.
 3333   Out Of My Head                                        PA0001153778      W Chappell Music Corp. d/b/a WC Music Corp.
 3334   Out on the Town                                       PA0001791458      W Chappell Music Corp. d/b/a WC Music Corp.
 3335   Outside                                               PA0001041716      W Chappell Music Corp. d/b/a WC Music Corp.
 3336   Outta Control                                         PA0001298486      W Chappell Music Corp. d/b/a WC Music Corp.
 3337   Overburdened                                          PA0001296200      W Chappell Music Corp. d/b/a WC Music Corp.
 3338   Pain Redefined                                        PA0001352640;     W Chappell Music Corp. d/b/a WC Music Corp.
                                                              PA0001296201
 3339   Pantomime                                             PA0000914814      W Chappell Music Corp. d/b/a WC Music Corp.
 3340   Paper Jesus                                           PA0001287782      W Chappell Music Corp. d/b/a WC Music Corp.
 3341   Paper Wings                                           PA0001763314      W Chappell Music Corp. d/b/a WC Music Corp.
 3342   Parasite                                              PA0001677916      W Chappell Music Corp. d/b/a WC Music Corp.
 3343   Pardon Me                                             PA0001608902      W Chappell Music Corp. d/b/a WC Music Corp.
 3344   Part II                                               PA0001854436      W Chappell Music Corp. d/b/a WC Music Corp.
 3345   Part Of Me                                            PA0001845827      W Chappell Music Corp. d/b/a WC Music Corp.
 3346   Passenger                                             PA0001911867      W Chappell Music Corp. d/b/a WC Music Corp.
 3347   Passenger                                             PA0001029982      W Chappell Music Corp. d/b/a WC Music Corp.
 3348   Payback                                               PA0001969099      W Chappell Music Corp. d/b/a WC Music Corp.
 3349   Peacemaker                                            PA0001859360      W Chappell Music Corp. d/b/a WC Music Corp.
 3350   Peacock                                               PA0001753921      W Chappell Music Corp. d/b/a WC Music Corp.
 3351   Pearl                                                 PA0001753642      W Chappell Music Corp. d/b/a WC Music Corp.
 3352   Perfect                                               PA0001084657      W Chappell Music Corp. d/b/a WC Music Corp.
 3353   Perfect Insanity                                      PA0001687498      W Chappell Music Corp. d/b/a WC Music Corp.
 3354   Perfect World                                         PA0001251377      W Chappell Music Corp. d/b/a WC Music Corp.
 3355   Pink Cellphone                                        PA0001373481      W Chappell Music Corp. d/b/a WC Music Corp.
 3356   Pink Maggit                                           PA0001029983      W Chappell Music Corp. d/b/a WC Music Corp.
 3357   Platinum                                              PA0000914814      W Chappell Music Corp. d/b/a WC Music Corp.
 3358   Please                                                PA0001287783      W Chappell Music Corp. d/b/a WC Music Corp.
 3359   Points Of Authority/99 Problems/One Step Closer       PA0001937228      W Chappell Music Corp. d/b/a WC Music Corp.
 3360   Poltergeist                                           PA0001849262      W Chappell Music Corp. d/b/a WC Music Corp.
 3361   Praise You In This Storm                              PA0001301680      W Chappell Music Corp. d/b/a WC Music Corp.
 3362   Prayer                                                PA0001111236      W Chappell Music Corp. d/b/a WC Music Corp.
 3363   Pressure                                              PA0001060036      W Chappell Music Corp. d/b/a WC Music Corp.
 3364   Pretty                                                PA0000776191      W Chappell Music Corp. d/b/a WC Music Corp.
 3365   Pretty Hurts                                          PA0001918127      W Chappell Music Corp. d/b/a WC Music Corp.
 3366   Price To Play                                         PA0001157383      W Chappell Music Corp. d/b/a WC Music Corp.




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                                                              EXHIBIT B - MUSICAL COMPOSITIONS

        Track                                                 Reg. No.          Plaintiff
 3367   Promise                                               PA0001251378      W Chappell Music Corp. d/b/a WC Music Corp.
 3368   Proof                                                 PA0001854436      W Chappell Music Corp. d/b/a WC Music Corp.
 3369   Punch Drunk Love                                      PA0001656968      W Chappell Music Corp. d/b/a WC Music Corp.
 3370   Pushin'                                               PA0001087577      W Chappell Music Corp. d/b/a WC Music Corp.
 3371   Quando, Quando, Quando (with Nelly Furtado)           EP0000162847;     W Chappell Music Corp. d/b/a WC Music Corp.
                                                              RE0000451824
 3372   Radiate                                               PA0001657838      W Chappell Music Corp. d/b/a WC Music Corp.
 3373   Raining Again                                         PA0001608897      W Chappell Music Corp. d/b/a WC Music Corp.
 3374   Rainy Day Parade                                      PA0001608902      W Chappell Music Corp. d/b/a WC Music Corp.
 3375   Raw                                                   PA0000951000      W Chappell Music Corp. d/b/a WC Music Corp.
 3376   Reality                                               PA0001157385      W Chappell Music Corp. d/b/a WC Music Corp.
 3377   Reclaim My Place                                      PA0000776191      W Chappell Music Corp. d/b/a WC Music Corp.
 3378   Re-Creation                                           PA0001022578      W Chappell Music Corp. d/b/a WC Music Corp.
 3379   Red Camaro                                            PA0001878244      W Chappell Music Corp. d/b/a WC Music Corp.
 3380   Red Lipstick                                          PA0001841921      W Chappell Music Corp. d/b/a WC Music Corp.
 3381   Release                                               PA0001761877      W Chappell Music Corp. d/b/a WC Music Corp.
 3382   Remember                                              PA0001111236      W Chappell Music Corp. d/b/a WC Music Corp.
 3383   Renegade                                              PA0001038351      W Chappell Music Corp. d/b/a WC Music Corp.
 3384   Reply                                                 PA0001287780      W Chappell Music Corp. d/b/a WC Music Corp.
 3385   Restless Heart Syndrome                               PA0001859360      W Chappell Music Corp. d/b/a WC Music Corp.
 3386   Revival                                               PA0000914815      W Chappell Music Corp. d/b/a WC Music Corp.
 3387   Rhinestone Cowboy                                     Eu0000459595      W Chappell Music Corp. d/b/a WC Music Corp.
 3388   Rich Girl                                             PA0001274357      W Chappell Music Corp. d/b/a WC Music Corp.
 3389   Right For Me                                          PA0001149533      W Chappell Music Corp. d/b/a WC Music Corp.
 3390   Right Here                                            PA0001287782      W Chappell Music Corp. d/b/a WC Music Corp.
 3391   Roar                                                  PA0001861206      W Chappell Music Corp. d/b/a WC Music Corp.
 3392   Rock The Beat                                         PA0001679015      W Chappell Music Corp. d/b/a WC Music Corp.
 3393   Rock The House                                        PA0001066507      W Chappell Music Corp. d/b/a WC Music Corp.
 3394   Rockstar 101                                          PA0001711708      W Chappell Music Corp. d/b/a WC Music Corp.
 3395   Romantic Dreams                                       PA0001849262      W Chappell Music Corp. d/b/a WC Music Corp.
 3396   Rosemary                                              PA0001849262      W Chappell Music Corp. d/b/a WC Music Corp.
 3397   Round Midnight                                        EP0000107653;     W Chappell Music Corp. d/b/a WC Music Corp.
                                                              RE0000246069
 3398   Run Away                                              PA0001287782      W Chappell Music Corp. d/b/a WC Music Corp.
 3399   Run The World (Girls)                                 PA0001861905      W Chappell Music Corp. d/b/a WC Music Corp.
 3400   Running Out of Time                                   PA0001644610      W Chappell Music Corp. d/b/a WC Music Corp.
 3401   Rx Queen                                              PA0001029983      W Chappell Music Corp. d/b/a WC Music Corp.
 3402   Sacred Lie                                            PA0001352640;     W Chappell Music Corp. d/b/a WC Music Corp.
                                                              PA0001296201
 3403   Sadiddy                                               PA0001236712      W Chappell Music Corp. d/b/a WC Music Corp.
 3404   Safe Place                                            PA0001060038      W Chappell Music Corp. d/b/a WC Music Corp.
 3405   Said                                                  PA0001153778      W Chappell Music Corp. d/b/a WC Music Corp.
 3406   Same Girl                                             PAu003411255      W Chappell Music Corp. d/b/a WC Music Corp.
 3407   Same Old You                                          PA0001789997      W Chappell Music Corp. d/b/a WC Music Corp.
 3408   Save You                                              PA0001644614      W Chappell Music Corp. d/b/a WC Music Corp.
 3409   Saving Faces                                          PA0001022576      W Chappell Music Corp. d/b/a WC Music Corp.
 3410   Say It                                                PA0001641339      W Chappell Music Corp. d/b/a WC Music Corp.
 3411   Say What You Say                                      PA0001118663      W Chappell Music Corp. d/b/a WC Music Corp.
 3412   Schizophrenic Conversations                           PA0001287782      W Chappell Music Corp. d/b/a WC Music Corp.
 3413   Schoolin' Life                                        PA0002096976      W Chappell Music Corp. d/b/a WC Music Corp.
 3414   Sealion                                               PA0001382155      W Chappell Music Corp. d/b/a WC Music Corp.
 3415   See The Light                                         PA0001859360      W Chappell Music Corp. d/b/a WC Music Corp.
 3416   Seed                                                  PA0000776191      W Chappell Music Corp. d/b/a WC Music Corp.
 3417   Self Inflicted                                        PA0001689948      W Chappell Music Corp. d/b/a WC Music Corp.
 3418   Send The Pain Below                                   PA0001859504      W Chappell Music Corp. d/b/a WC Music Corp.
 3419   Sentimental                                           PA0000627933;     W Chappell Music Corp. d/b/a WC Music Corp.
                                                              PA0000597871
 3420   Sex 4 Suga                                            PA0001731496      W Chappell Music Corp. d/b/a WC Music Corp.
 3421   Shawty                                                PA0001765610      W Chappell Music Corp. d/b/a WC Music Corp.
 3422   She Couldn't Change Me                                PA0001095336      W Chappell Music Corp. d/b/a WC Music Corp.
 3423   She's Got the Rhythm (And I Got the Blues)            PA0000586645;     W Chappell Music Corp. d/b/a WC Music Corp.
                                                              PAu001522810
 3424   Shit Hits The Fan                                     PA0001245810      W Chappell Music Corp. d/b/a WC Music Corp.
 3425   Shorty (Got Her Eyes On Me)                           PA0001087581      W Chappell Music Corp. d/b/a WC Music Corp.
 3426   Should I Go                                           PA0001236715      W Chappell Music Corp. d/b/a WC Music Corp.
 3427   Shout Out To The Real                                 PA0001852372      W Chappell Music Corp. d/b/a WC Music Corp.
 3428   Shut It Down                                          PA0001728551      W Chappell Music Corp. d/b/a WC Music Corp.
 3429   Shut Up!                                              PA0001251377      W Chappell Music Corp. d/b/a WC Music Corp.
 3430   Sickened                                              PA0001790006      W Chappell Music Corp. d/b/a WC Music Corp.
 3431   Single Ladies (Put A Ring On It)                      PA0001630370      W Chappell Music Corp. d/b/a WC Music Corp.
 3432   Sister Rose                                           PA0000627931      W Chappell Music Corp. d/b/a WC Music Corp.
 3433   Slow                                                  PA0001762863      W Chappell Music Corp. d/b/a WC Music Corp.
 3434   Slow Dance                                            PA0001767256      W Chappell Music Corp. d/b/a WC Music Corp.
 3435   Smash Into You                                        PA0001624967      W Chappell Music Corp. d/b/a WC Music Corp.
 3436   So Far                                                PA0001335214      W Chappell Music Corp. d/b/a WC Music Corp.
 3437   So Far Away                                           PA0001157383      W Chappell Music Corp. d/b/a WC Music Corp.
 3438   Social Enemies                                        PA0000914813      W Chappell Music Corp. d/b/a WC Music Corp.




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                                                              EXHIBIT B - MUSICAL COMPOSITIONS

      Track                                                   Reg. No.          Plaintiff
 3439 Somebody Stand By Me                                    PA0000705224      W Chappell Music Corp. d/b/a WC Music Corp.
 3440 Someone To Watch Over Me                                E00000651512;     W Chappell Music Corp. d/b/a WC Music Corp.
                                                              EP234827
 3441   Something To Remind You                               PA0001763314      W Chappell Music Corp. d/b/a WC Music Corp.
 3442   Song Of The Century                                   PA0001859360      W Chappell Music Corp. d/b/a WC Music Corp.
 3443   Sons Of Plunder                                       PA0001296200      W Chappell Music Corp. d/b/a WC Music Corp.
 3444   Sorry                                                 PA0001335216      W Chappell Music Corp. d/b/a WC Music Corp.
 3445   Spin You Around                                       PA0001249431      W Chappell Music Corp. d/b/a WC Music Corp.
 3446   Spleen                                                PA0000951000      W Chappell Music Corp. d/b/a WC Music Corp.
 3447   Spun                                                  PA0001762863      W Chappell Music Corp. d/b/a WC Music Corp.
 3448   Still Into You                                        PA0001854435      W Chappell Music Corp. d/b/a WC Music Corp.
 3449   Stitches                                              PA0000914814      W Chappell Music Corp. d/b/a WC Music Corp.
 3450   Stricken                                              PA0001296198      W Chappell Music Corp. d/b/a WC Music Corp.
 3451   Stronger                                              PA0001597242      W Chappell Music Corp. d/b/a WC Music Corp.
 3452   Stunt on Ya Haters                                    PA0001977398      W Chappell Music Corp. d/b/a WC Music Corp.
 3453   Stupid Girls                                          PA0001320435      W Chappell Music Corp. d/b/a WC Music Corp.
 3454   Stupify                                               PA0001000622      W Chappell Music Corp. d/b/a WC Music Corp.
 3455   Suckerface                                            PA0001022575      W Chappell Music Corp. d/b/a WC Music Corp.
 3456   Suffer                                                PA0001060038      W Chappell Music Corp. d/b/a WC Music Corp.
 3457   Suffocate                                             PA0000951000      W Chappell Music Corp. d/b/a WC Music Corp.
 3458   Sumthin' For Nuthin'                                  PA0000332225      W Chappell Music Corp. d/b/a WC Music Corp.
 3459   Sunshine                                              PA0001335215      W Chappell Music Corp. d/b/a WC Music Corp.
 3460   Superpower                                            PA0001918119      W Chappell Music Corp. d/b/a WC Music Corp.
 3461   Swerve City                                           PA0001849262      W Chappell Music Corp. d/b/a WC Music Corp.
 3462   Sydney                                                PA0001225980      W Chappell Music Corp. d/b/a WC Music Corp.
 3463   Take A Breath                                         PA0001763314      W Chappell Music Corp. d/b/a WC Music Corp.
 3464   Take It                                               PA0001060037      W Chappell Music Corp. d/b/a WC Music Corp.
 3465   Take My Hand                                          PA0001644614      W Chappell Music Corp. d/b/a WC Music Corp.
 3466   Take This                                             PA0001287781      W Chappell Music Corp. d/b/a WC Music Corp.
 3467   Tangled Up In You                                     PA0001608903      W Chappell Music Corp. d/b/a WC Music Corp.
 3468   Tattoo Of My Name                                     PA0001896737      W Chappell Music Corp. d/b/a WC Music Corp.
 3469   Tear Da Roof Off                                      PA0001728662      W Chappell Music Corp. d/b/a WC Music Corp.
 3470   Teenage Dream                                         PA0001753645      W Chappell Music Corp. d/b/a WC Music Corp.
 3471   Tell Me What Your Name Is                             PA0001659058      W Chappell Music Corp. d/b/a WC Music Corp.
 3472   Tempest                                               PA0001849262      W Chappell Music Corp. d/b/a WC Music Corp.
 3473   Ten Thousand Fists                                    PA0001347236      W Chappell Music Corp. d/b/a WC Music Corp.
 3474   Thank You                                             PA0001251377      W Chappell Music Corp. d/b/a WC Music Corp.
 3475   That's How You Like It                                PA0001131257      W Chappell Music Corp. d/b/a WC Music Corp.
 3476   That's What You Get                                   PA0001595073      W Chappell Music Corp. d/b/a WC Music Corp.
 3477   The Bottom                                            PA0001763314      W Chappell Music Corp. d/b/a WC Music Corp.
 3478   The Chill Of An Early Fall                            PA0000472652      W Chappell Music Corp. d/b/a WC Music Corp.
 3479   The Corner                                            PA0001608904      W Chappell Music Corp. d/b/a WC Music Corp.
 3480   The Curse                                             PA0001697242      W Chappell Music Corp. d/b/a WC Music Corp.
 3481   The Game                                              PA0001000622      W Chappell Music Corp. d/b/a WC Music Corp.
 3482   The Last Song                                         PA0001704476      W Chappell Music Corp. d/b/a WC Music Corp.
 3483   The Lazy Song                                         PA0001869989      W Chappell Music Corp. d/b/a WC Music Corp.
 3484   The Night                                             PA0001697227      W Chappell Music Corp. d/b/a WC Music Corp.
 3485   The Night I Fell in Love                              PA0000259621      W Chappell Music Corp. d/b/a WC Music Corp.
 3486   The Odyssey                                           PA0001022577      W Chappell Music Corp. d/b/a WC Music Corp.
 3487   The One That Got Away                                 PA0001753639      W Chappell Music Corp. d/b/a WC Music Corp.
 3488   The Real Slim Shady                                   PA0001040874      W Chappell Music Corp. d/b/a WC Music Corp.
 3489   The Red                                               PA0001859504      W Chappell Music Corp. d/b/a WC Music Corp.
 3490   The Setup                                             PA0001245808      W Chappell Music Corp. d/b/a WC Music Corp.
 3491   The Static Age                                        PA0001859360      W Chappell Music Corp. d/b/a WC Music Corp.
 3492   The Truth                                             PA0001935087      W Chappell Music Corp. d/b/a WC Music Corp.
 3493   The Way I Am                                          PA0001608904      W Chappell Music Corp. d/b/a WC Music Corp.
 3494   The Way You Love Me                                   PA0000977102      W Chappell Music Corp. d/b/a WC Music Corp.
 3495   The Wedding Song                                      PA0000627930      W Chappell Music Corp. d/b/a WC Music Corp.
 3496   The Worst Day Ever                                    PA0001084655      W Chappell Music Corp. d/b/a WC Music Corp.
 3497   These Walls                                           PA0001733326      W Chappell Music Corp. d/b/a WC Music Corp.
 3498   They Ready                                            PA0001995515      W Chappell Music Corp. d/b/a WC Music Corp.
 3499   Think                                                 PA0001225979;     W Chappell Music Corp. d/b/a WC Music Corp.
                                                              PA0001204554
 3500   Think About It (Don't Call My Crib)                   PA0001087584      W Chappell Music Corp. d/b/a WC Music Corp.
 3501   Thinking About You                                    PA0001657895      W Chappell Music Corp. d/b/a WC Music Corp.
 3502   Thinking 'Bout Somethin'                              PA0001733326      W Chappell Music Corp. d/b/a WC Music Corp.
 3503   Thinking Of You                                       PA0001687082      W Chappell Music Corp. d/b/a WC Music Corp.
 3504   This Is It                                            PA0001608897      W Chappell Music Corp. d/b/a WC Music Corp.
 3505   This Luv                                              PA0001087578      W Chappell Music Corp. d/b/a WC Music Corp.
 3506   This Moment                                           PA0001599219      W Chappell Music Corp. d/b/a WC Music Corp.
 3507   Throw It All Away                                     PA0001763314      W Chappell Music Corp. d/b/a WC Music Corp.
 3508   Till I Get There                                      PA0001739115      W Chappell Music Corp. d/b/a WC Music Corp.
 3509   Time Flies                                            PA0001225979      W Chappell Music Corp. d/b/a WC Music Corp.
 3510   Time To Say Goodbye                                   PA0001644605      W Chappell Music Corp. d/b/a WC Music Corp.
 3511   To Know You                                           PA0001686146      W Chappell Music Corp. d/b/a WC Music Corp.
 3512   Tongue Tied                                           PA0001762863      W Chappell Music Corp. d/b/a WC Music Corp.
 3513   Tonight                                               PA0001157385      W Chappell Music Corp. d/b/a WC Music Corp.




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                                                              EXHIBIT B - MUSICAL COMPOSITIONS

        Track                                                 Reg. No.          Plaintiff
 3514   Torn                                                  PA0001697247      W Chappell Music Corp. d/b/a WC Music Corp.
 3515   Touch My Body                                         PA0001769539      W Chappell Music Corp. d/b/a WC Music Corp.
 3516   Treasure                                              PA0001869830      W Chappell Music Corp. d/b/a WC Music Corp.
 3517   Turn It Off                                           PA0001676905      W Chappell Music Corp. d/b/a WC Music Corp.
 3518   U Know What's Up                                      PA0001087586      W Chappell Music Corp. d/b/a WC Music Corp.
 3519   U,U,D,D,L,R,L,R,A,B,Select,Start                      PA0001373479      W Chappell Music Corp. d/b/a WC Music Corp.
 3520   UCUD GEDIT                                            PA0001851073      W Chappell Music Corp. d/b/a WC Music Corp.
 3521   Umbrella                                              PA0001602373      W Chappell Music Corp. d/b/a WC Music Corp.
 3522   Until The End Of Time                                 PA0001053379      W Chappell Music Corp. d/b/a WC Music Corp.
 3523   Until The Whole World Hears                           PA0001686149      W Chappell Music Corp. d/b/a WC Music Corp.
 3524   Up Out My Face                                        PA0001677862      W Chappell Music Corp. d/b/a WC Music Corp.
 3525   Upgrade U                                             PA0001384822      W Chappell Music Corp. d/b/a WC Music Corp.
 3526   Ur So Gay                                             PA0001686689      W Chappell Music Corp. d/b/a WC Music Corp.
 3527   Use Me Up                                             PA0001733326      W Chappell Music Corp. d/b/a WC Music Corp.
 3528   Vapor Transmission (Intro)                            PA0001022575      W Chappell Music Corp. d/b/a WC Music Corp.
 3529   Versus                                                PA0001858836      W Chappell Music Corp. d/b/a WC Music Corp.
 3530   Violence Fetish                                       PA0001000622      W Chappell Music Corp. d/b/a WC Music Corp.
 3531   Voice In The Chorus                                   PA0001733326      W Chappell Music Corp. d/b/a WC Music Corp.
 3532   Voices                                                PA0001000622      W Chappell Music Corp. d/b/a WC Music Corp.
 3533   Waiting For This                                      PA0001733326      W Chappell Music Corp. d/b/a WC Music Corp.
 3534   Waking Up In Vegas                                    PA0001687508      W Chappell Music Corp. d/b/a WC Music Corp.
 3535   Wannabe                                               PA0001763316      W Chappell Music Corp. d/b/a WC Music Corp.
 3536   Want                                                  PA0001000622      W Chappell Music Corp. d/b/a WC Music Corp.
 3537   We Are Broken                                         PA0001595053      W Chappell Music Corp. d/b/a WC Music Corp.
 3538   We are Young                                          PA0001791456      W Chappell Music Corp. d/b/a WC Music Corp.
 3539   What A World                                          PA0001395699      W Chappell Music Corp. d/b/a WC Music Corp.
 3540   What Happened To You?                                 PA0001849262      W Chappell Music Corp. d/b/a WC Music Corp.
 3541   When Girls Telephone Boys                             PA0001157470      W Chappell Music Corp. d/b/a WC Music Corp.
 3542   When I'm With You                                     PA0001084656      W Chappell Music Corp. d/b/a WC Music Corp.
 3543   When It Rains                                         PA0001595076      W Chappell Music Corp. d/b/a WC Music Corp.
 3544   Where's Gerrold                                       PA0001022574      W Chappell Music Corp. d/b/a WC Music Corp.
 3545   Who Am I Living For?                                  PA0001753640      W Chappell Music Corp. d/b/a WC Music Corp.
 3546   Who's Gonna Fill Their Shoes                          PAu000755785;     W Chappell Music Corp. d/b/a WC Music Corp.
                                                              PA0000258925
 3547   Why They Call It Falling                              PA0001032265      W Chappell Music Corp. d/b/a WC Music Corp.
 3548   www.memory                                            PA0001013750      W Chappell Music Corp. d/b/a WC Music Corp.
 3549   XO                                                    PA0001918135      W Chappell Music Corp. d/b/a WC Music Corp.
 3550   Y.A.L.A.                                              PA0001919078      W Chappell Music Corp. d/b/a WC Music Corp.
 3551   Yesterday                                             PA0001157383      W Chappell Music Corp. d/b/a WC Music Corp.
 3552   You Can't Win                                         PA0001789856      W Chappell Music Corp. d/b/a WC Music Corp.
 3553   You Love Me                                           PA0001789870      W Chappell Music Corp. d/b/a WC Music Corp.
 3554   Your Love Is A Lie                                    PA0001644614      W Chappell Music Corp. d/b/a WC Music Corp.
 3555   You're All I Need                                     PA0000354505      W Chappell Music Corp. d/b/a WC Music Corp.
 3556   Zoe Jane                                              PA0001157384      W Chappell Music Corp. d/b/a WC Music Corp.
 3557   Run This Town                                         PA0001678122      W Chappell Music Corp. d/b/a WC Music Corp.
 3558   Ni**as In Paris                                       PA0001762035      W Chappell Music Corp. d/b/a WC Music Corp. / Unichappell Music Inc.
 3559   Mr. Know It All                                       PA0001851190      W Chappell Music Corp. d/b/a WC Music Corp. / Universal Music Corp.
 3560   Can't Stand The Rain                                  PA0001864761      W Chappell Music Corp. d/b/a WC Music Corp. / W.C.M. Music Corp.
 3561   Generation                                            PA0001644603      W Chappell Music Corp. d/b/a WC Music Corp. / W.C.M. Music Corp.
 3562   Goodbye Town                                          PA0001864759      W Chappell Music Corp. d/b/a WC Music Corp. / W.C.M. Music Corp.
 3563   Life As We Know It                                    PA0001879182      W Chappell Music Corp. d/b/a WC Music Corp. / W.C.M. Music Corp.
 3564   Long Teenage Goodbye                                  PA0001867241      W Chappell Music Corp. d/b/a WC Music Corp. / W.C.M. Music Corp.
 3565   The End                                               PA0001644615      W Chappell Music Corp. d/b/a WC Music Corp. / W.C.M. Music Corp.
 3566   When I'm Gone                                         PA0001644615      W Chappell Music Corp. d/b/a WC Music Corp. / W.C.M. Music Corp.
 3567   When I'm Gone (Acoustic Version)                      PA0001644615      W Chappell Music Corp. d/b/a WC Music Corp. / W.C.M. Music Corp.
 3568   Cop Car                                               PA0001878240      W Chappell Music Corp. d/b/a WC Music Corp. / Warner Chappell Music, Inc.
 3569   Don't Let Me Be Misunderstood                         Eu0000845843;     W Chappell Music Corp. d/b/a WC Music Corp. / Warner Chappell Music, Inc.
                                                              EP0000198593
 3570 Don't Let Me Be Misunderstood                           EP0000198593;     W Chappell Music Corp. d/b/a WC Music Corp. / Warner Chappell Music, Inc.
                                                              RE0000650481
 3571   Lift Off                                              PA0001768255      W Chappell Music Corp. d/b/a WC Music Corp. / Warner Chappell Music, Inc.
 3572   Radio                                                 PA0001939474      W Chappell Music Corp. d/b/a WC Music Corp. / Warner Chappell Music, Inc.
 3573   SexyBack                                              PA0001165048      W Chappell Music Corp. d/b/a WC Music Corp. / Warner Chappell Music, Inc.
 3574   Thank God For Hometowns                               PA0001848754      W Chappell Music Corp. d/b/a WC Music Corp. / Warner Chappell Music, Inc.
 3575   What Are We Doin' In Love                             PA0000101285      W Chappell Music Corp. d/b/a WC Music Corp. / Warner Chappell Music, Inc.
 3576   Work It Out                                           PA0001073475      W Chappell Music Corp. d/b/a WC Music Corp. / Warner Chappell Music, Inc.
 3577   All Me                                                PA0001967814      W Chappell Music Corp. d/b/a WC Music Corp. / Warner-Tamerlane Publishing Corp.
 3578   Bang                                                  PA0001739089      W Chappell Music Corp. d/b/a WC Music Corp. / Warner-Tamerlane Publishing Corp.
 3579   Beautiful                                             PA0001868404      W Chappell Music Corp. d/b/a WC Music Corp. / Warner-Tamerlane Publishing Corp.
 3580   Big Weenie                                            PA0001284525      W Chappell Music Corp. d/b/a WC Music Corp. / Warner-Tamerlane Publishing Corp.
 3581   Evil Deeds                                            PA0001284525      W Chappell Music Corp. d/b/a WC Music Corp. / Warner-Tamerlane Publishing Corp.
 3582   Fire                                                  PA0001643192      W Chappell Music Corp. d/b/a WC Music Corp. / Warner-Tamerlane Publishing Corp.
 3583   I Have Never Been To Memphis                          PA0001969119      W Chappell Music Corp. d/b/a WC Music Corp. / Warner-Tamerlane Publishing Corp.
 3584   Karma                                                 PA0001739133      W Chappell Music Corp. d/b/a WC Music Corp. / Warner-Tamerlane Publishing Corp.
 3585   Monster                                               PA0001806092      W Chappell Music Corp. d/b/a WC Music Corp. / Warner-Tamerlane Publishing Corp.
 3586   No Lie                                                PA0001846688      W Chappell Music Corp. d/b/a WC Music Corp. / Warner-Tamerlane Publishing Corp.
 3587   Outlaw                                                PA0000754054      W Chappell Music Corp. d/b/a WC Music Corp. / Warner-Tamerlane Publishing Corp.




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                                                              EXHIBIT B - MUSICAL COMPOSITIONS

        Track                                                 Reg. No.         Plaintiff
 3588   2 Reasons                                             PA0001865859     W Chappell Music Corp. d/b/a WC Music Corp. / Warner-Tamerlane Publishing Corp.
 3589   Beach Is Better                                       PA0001858808     W Chappell Music Corp. d/b/a WC Music Corp. / Warner-Tamerlane Publishing Corp.
 3590   Bitches & Bottles (Let's Get It Started)              PA0001852363     W Chappell Music Corp. d/b/a WC Music Corp. / Warner-Tamerlane Publishing Corp.
 3591   Blow                                                  PA0001918139     W Chappell Music Corp. d/b/a WC Music Corp. / Warner-Tamerlane Publishing Corp.
 3592   Blue                                                  PA0001918115     W Chappell Music Corp. d/b/a WC Music Corp. / Warner-Tamerlane Publishing Corp.
 3593   Boardmeeting                                          PA0001761903     W Chappell Music Corp. d/b/a WC Music Corp. / Warner-Tamerlane Publishing Corp.
 3594   Bricksquad                                            PA0001739083     W Chappell Music Corp. d/b/a WC Music Corp. / Warner-Tamerlane Publishing Corp.
 3595   Bustin' At 'Em                                        PA0001739055     W Chappell Music Corp. d/b/a WC Music Corp. / Warner-Tamerlane Publishing Corp.
 3596   But I Will                                            PA0000669875     W Chappell Music Corp. d/b/a WC Music Corp. / Warner-Tamerlane Publishing Corp.
 3597   California King Bed                                   PA0001771890     W Chappell Music Corp. d/b/a WC Music Corp. / Warner-Tamerlane Publishing Corp.
 3598   Check Me Out                                          PA0001865883     W Chappell Music Corp. d/b/a WC Music Corp. / Warner-Tamerlane Publishing Corp.
 3599   Coffee Shop                                           PA0001858764     W Chappell Music Corp. d/b/a WC Music Corp. / Warner-Tamerlane Publishing Corp.
 3600   Crack A Bottle                                        PA0001848051     W Chappell Music Corp. d/b/a WC Music Corp. / Warner-Tamerlane Publishing Corp.
 3601   Crown                                                 PA0001858816     W Chappell Music Corp. d/b/a WC Music Corp. / Warner-Tamerlane Publishing Corp.
 3602   Do You Know What You Have                             PA0001882749     W Chappell Music Corp. d/b/a WC Music Corp. / Warner-Tamerlane Publishing Corp.
 3603   Drive                                                 PA0001870025     W Chappell Music Corp. d/b/a WC Music Corp. / Warner-Tamerlane Publishing Corp.
 3604   Drunk in Love                                         PA0001918132     W Chappell Music Corp. d/b/a WC Music Corp. / Warner-Tamerlane Publishing Corp.
 3605   Encore                                                PA0001284526     W Chappell Music Corp. d/b/a WC Music Corp. / Warner-Tamerlane Publishing Corp.
 3606   F**k The Club Up                                      PA0001847136     W Chappell Music Corp. d/b/a WC Music Corp. / Warner-Tamerlane Publishing Corp.
 3607   F**k This Industry                                    PA0001739132     W Chappell Music Corp. d/b/a WC Music Corp. / Warner-Tamerlane Publishing Corp.
 3608   F.U.T.W.                                              PA0001858842     W Chappell Music Corp. d/b/a WC Music Corp. / Warner-Tamerlane Publishing Corp.
 3609   G Check                                               PA0001739116     W Chappell Music Corp. d/b/a WC Music Corp. / Warner-Tamerlane Publishing Corp.
 3610   Gimme Whatcha Got                                     PA0001732722     W Chappell Music Corp. d/b/a WC Music Corp. / Warner-Tamerlane Publishing Corp.
 3611   Haunted                                               PA0001918115     W Chappell Music Corp. d/b/a WC Music Corp. / Warner-Tamerlane Publishing Corp.
 3612   Heaven                                                PA0001918115     W Chappell Music Corp. d/b/a WC Music Corp. / Warner-Tamerlane Publishing Corp.
 3613   Holy Grail                                            PA0001858794     W Chappell Music Corp. d/b/a WC Music Corp. / Warner-Tamerlane Publishing Corp.
 3614   How Forever Feels                                     PA0001044172     W Chappell Music Corp. d/b/a WC Music Corp. / Warner-Tamerlane Publishing Corp.
 3615   Jealous                                               PA0001918143     W Chappell Music Corp. d/b/a WC Music Corp. / Warner-Tamerlane Publishing Corp.
 3616   La Familia                                            PA0001858842     W Chappell Music Corp. d/b/a WC Music Corp. / Warner-Tamerlane Publishing Corp.
 3617   Live By The Gun                                       PA0001746038     W Chappell Music Corp. d/b/a WC Music Corp. / Warner-Tamerlane Publishing Corp.
 3618   Living The Life                                       PA0001648817     W Chappell Music Corp. d/b/a WC Music Corp. / Warner-Tamerlane Publishing Corp.
 3619   Love Money Party                                      PA0001870000     W Chappell Music Corp. d/b/a WC Music Corp. / Warner-Tamerlane Publishing Corp.
 3620   Loyal                                                 PA0001912898     W Chappell Music Corp. d/b/a WC Music Corp. / Warner-Tamerlane Publishing Corp.
 3621   Made In America                                       PA0001768256     W Chappell Music Corp. d/b/a WC Music Corp. / Warner-Tamerlane Publishing Corp.
 3622   Mirror                                                PA0001842434     W Chappell Music Corp. d/b/a WC Music Corp. / Warner-Tamerlane Publishing Corp.
 3623   Mosh                                                  PA0001284524     W Chappell Music Corp. d/b/a WC Music Corp. / Warner-Tamerlane Publishing Corp.
 3624   Move That Dope                                        PA0001888725     W Chappell Music Corp. d/b/a WC Music Corp. / Warner-Tamerlane Publishing Corp.
 3625   Neva End                                              PA0001856290     W Chappell Music Corp. d/b/a WC Music Corp. / Warner-Tamerlane Publishing Corp.
 3626   New Day                                               PA0001941862     W Chappell Music Corp. d/b/a WC Music Corp. / Warner-Tamerlane Publishing Corp.
 3627   Panty Droppa (Intro)                                  PA0001703149     W Chappell Music Corp. d/b/a WC Music Corp. / Warner-Tamerlane Publishing Corp.
 3628   Part II (On The Run)                                  PA0001858831     W Chappell Music Corp. d/b/a WC Music Corp. / Warner-Tamerlane Publishing Corp.
 3629   Partition                                             PA0001918144     W Chappell Music Corp. d/b/a WC Music Corp. / Warner-Tamerlane Publishing Corp.
 3630   Pound Cake / Paris Morton Music 2                     PA0001967812     W Chappell Music Corp. d/b/a WC Music Corp. / Warner-Tamerlane Publishing Corp.
 3631   POWER                                                 PA0001866095     W Chappell Music Corp. d/b/a WC Music Corp. / Warner-Tamerlane Publishing Corp.
 3632   Rain Man                                              PA0001284524     W Chappell Music Corp. d/b/a WC Music Corp. / Warner-Tamerlane Publishing Corp.
 3633   Revolver                                              PA0001764628     W Chappell Music Corp. d/b/a WC Music Corp. / Warner-Tamerlane Publishing Corp.
 3634   Ridaz                                                 PA0001848889     W Chappell Music Corp. d/b/a WC Music Corp. / Warner-Tamerlane Publishing Corp.
 3635   Saving Amy                                            PA0001694078     W Chappell Music Corp. d/b/a WC Music Corp. / Warner-Tamerlane Publishing Corp.
 3636   Shine                                                 PA0001305505     W Chappell Music Corp. d/b/a WC Music Corp. / Warner-Tamerlane Publishing Corp.
 3637   Slip of the Tongue                                    PA0000308826     W Chappell Music Corp. d/b/a WC Music Corp. / Warner-Tamerlane Publishing Corp.
 3638   Smoke, Drank                                          PA0001847147     W Chappell Music Corp. d/b/a WC Music Corp. / Warner-Tamerlane Publishing Corp.
 3639   SMS (Bangerz)                                         PA0001870020     W Chappell Music Corp. d/b/a WC Music Corp. / Warner-Tamerlane Publishing Corp.
 3640   So Appalled                                           PA0001740945     W Chappell Music Corp. d/b/a WC Music Corp. / Warner-Tamerlane Publishing Corp.
 3641   Somewhereinamerica                                    PA0001858818     W Chappell Music Corp. d/b/a WC Music Corp. / Warner-Tamerlane Publishing Corp.
 3642   Suit & Tie                                            PA0001939563     W Chappell Music Corp. d/b/a WC Music Corp. / Warner-Tamerlane Publishing Corp.
 3643   Swagger Jagger                                        PA0001884104     W Chappell Music Corp. d/b/a WC Music Corp. / Warner-Tamerlane Publishing Corp.
 3644   Take You                                              PA0001884089     W Chappell Music Corp. d/b/a WC Music Corp. / Warner-Tamerlane Publishing Corp.
 3645   Tattoo                                                PA0001872991     W Chappell Music Corp. d/b/a WC Music Corp. / Warner-Tamerlane Publishing Corp.
 3646   The Big One                                           PA0000811780     W Chappell Music Corp. d/b/a WC Music Corp. / Warner-Tamerlane Publishing Corp.
 3647   Timber                                                PA0001868393     W Chappell Music Corp. d/b/a WC Music Corp. / Warner-Tamerlane Publishing Corp.
 3648   Truth Gonna Hurt You                                  PA0001852655     W Chappell Music Corp. d/b/a WC Music Corp. / Warner-Tamerlane Publishing Corp.
 3649   TTG (Trained To Go)                                   PA0001739067     W Chappell Music Corp. d/b/a WC Music Corp. / Warner-Tamerlane Publishing Corp.
 3650   Turn On The Lights                                    PA0001852654     W Chappell Music Corp. d/b/a WC Music Corp. / Warner-Tamerlane Publishing Corp.
 3651   Two More Lonely People                                PA0001741421     W Chappell Music Corp. d/b/a WC Music Corp. / Warner-Tamerlane Publishing Corp.
 3652   We Can't Stop                                         PA0001870026     W Chappell Music Corp. d/b/a WC Music Corp. / Warner-Tamerlane Publishing Corp.
 3653   Welcome To The Jungle                                 PA0001816412     W Chappell Music Corp. d/b/a WC Music Corp. / Warner-Tamerlane Publishing Corp.
 3654   When I Was Down                                       PA0001087575     W Chappell Music Corp. d/b/a WC Music Corp. / Warner-Tamerlane Publishing Corp.
 3655   Who Gon Stop Me                                       PA0001850662     W Chappell Music Corp. d/b/a WC Music Corp. / Warner-Tamerlane Publishing Corp.
 3656   Worst Behavior                                        PA0001967813     W Chappell Music Corp. d/b/a WC Music Corp. / Warner-Tamerlane Publishing Corp.
 3657   You Deserve It                                        PA0001808144     W Chappell Music Corp. d/b/a WC Music Corp. / Warner-Tamerlane Publishing Corp.
 3658   You Give Me Love                                      PA0000901849     W Chappell Music Corp. d/b/a WC Music Corp. / Warner-Tamerlane Publishing Corp.
 3659   Come & Go                                             PA0001643195     W Chappell Music Corp. d/b/a/ WC Music Corp.
 3660   Hands All Over                                        PA0001784067     W Chappell Music Corp. d/b/a/ WC Music Corp. / Universal Music - MGB NA LLC
 3661   Last Chance                                           PA0001784067     W Chappell Music Corp. d/b/a/ WC Music Corp. / Universal Music - MGB NA LLC
 3662   Rocket                                                PA0001918124     W Chappell Music Corp. d/b/a/ WC Music Corp. / Warner-Tamerlane Publishing Corp. / Universal
                                                                               Music - Z Tunes LLC
 3663 Come and Get Me                                         PA0001761874     W.C.M. Music Corp.




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        Track                                                 Reg. No.          Plaintiff
 3664   Confessions                                           PA0001227181      W.C.M. Music Corp.
 3665   Friends We Won't Forget                               PA0001800763      W.C.M. Music Corp.
 3666   Got You Home                                          PA0001343363      W.C.M. Music Corp.
 3667   Lloyd (Intro)                                         PA0001387423      W.C.M. Music Corp.
 3668   Lovestoned/I Think She Knows                          PA0001368884      W.C.M. Music Corp.
 3669   Medley: Sexy Ladies / Let Me Talk to You (Prelude)    PA0001368884      W.C.M. Music Corp.

 3670 Miscommunication                                        PA0001759717      W.C.M. Music Corp.
 3671   Oklahoma Sky                                          PA0001789998      W.C.M. Music Corp.
 3672   Scream                                                PA0001761672      W.C.M. Music Corp.
 3673   Sexy Ladies                                           PA0001368884      W.C.M. Music Corp.
 3674   So Hard                                               PA0001375845      W.C.M. Music Corp.
 3675   The Way I Are                                         PA0001761677      W.C.M. Music Corp.
 3676   Throwed                                               PA0001719705      W.C.M. Music Corp.
 3677   Was It Worth It?                                      PA0001603613      W.C.M. Music Corp.
 3678   What Goes Around... Comes Around                      PA0001368884      W.C.M. Music Corp.
 3679   Where Did He Go                                       PA0001767261      W.C.M. Music Corp.
 3680   Gimme More                                            PA0001680545      W.C.M. Music Corp.
 3681   Hardly Breathing                                      PA0001882751      W.C.M. Music Corp. / Warner-Tamerlane Publishing Corp.
 3682   I Can Only Imagine                                    PA0001778164      W.C.M. Music Corp. / Warner-Tamerlane Publishing Corp.
 3683   Mr. Right Now                                         PA0001852397;     W.C.M. Music Corp./W Chappell Music Corp. d/b/a WC Music Corp.
                                                              PA0001780994
 3684   1 Mo Time                                             PA0001765676      Warner Chappell Music, Inc.
 3685   Already There                                         PA0001768165      Warner Chappell Music, Inc.
 3686   Better In Time                                        PA0001740494      Warner Chappell Music, Inc.
 3687   Bouquet of Roses                                      EP0000027412;     Warner Chappell Music, Inc.
                                                              R607912
 3688   Breakin' Up                                           PA0001166321      Warner Chappell Music, Inc.
 3689   California Waiting                                    PA0001204543      Warner Chappell Music, Inc.
 3690   Closer                                                PA0001615767      Warner Chappell Music, Inc.
 3691   Cry Me a River                                        EP0000094728;     Warner Chappell Music, Inc.
                                                              RE0000169218
 3692 Don't Take Your Guns to Town                            Eu0000548552;     Warner Chappell Music, Inc.
                                                              RE0000283032
 3693   Faithful                                              PA0001299024      Warner Chappell Music, Inc.
 3694   Friday                                                PA0001765676      Warner Chappell Music, Inc.
 3695   Genius                                                PA0001204546      Warner Chappell Music, Inc.
 3696   Happy Alone                                           PA0001204539      Warner Chappell Music, Inc.
 3697   Hollaback Girl                                        PA0001160423      Warner Chappell Music, Inc.
 3698   Holy Roller Novocaine                                 PA0001204548      Warner Chappell Music, Inc.
 3699   I Am The Club                                         PA0001765676      Warner Chappell Music, Inc.
 3700   I Still Miss Someone                                  Eu0000541378;     Warner Chappell Music, Inc.
                                                              RE0000283809
 3701   I'm a Slave 4 U                                       PA0001060309      Warner Chappell Music, Inc.
 3702   Joe's Head                                            PA0001204541      Warner Chappell Music, Inc.
 3703   Just A Dream                                          PA0001742365      Warner Chappell Music, Inc.
 3704   Let's Take A Ride                                     PA0001133272      Warner Chappell Music, Inc.
 3705   Little Miss Strange                                   Eu0000081092      Warner Chappell Music, Inc.
 3706   Losing You                                            PA0001637010      Warner Chappell Music, Inc.
 3707   Molly's Chambers                                      PA0001204545      Warner Chappell Music, Inc.
 3708   My Funny Valentine                                    EP0000061055;     Warner Chappell Music, Inc.
                                                              R333857
 3709   Nothin' Else                                          PA0001133267      Warner Chappell Music, Inc.
 3710   Orange County Girl                                    PA0001166322      Warner Chappell Music, Inc.
 3711   Position Of Power                                     PA0001868739      Warner Chappell Music, Inc.
 3712   Red Morning Light                                     PA0001204538      Warner Chappell Music, Inc.
 3713   She's So Fine                                         Eu0000031444      Warner Chappell Music, Inc.
 3714   So Amazing                                            PA0001868740      Warner Chappell Music, Inc.
 3715   Spiral Staircase                                      PA0001204544      Warner Chappell Music, Inc.
 3716   Stand                                                 PA0001345399      Warner Chappell Music, Inc.
 3717   Take Care                                             PA0001841723      Warner Chappell Music, Inc.
 3718   Take It From Here                                     PA0001133263      Warner Chappell Music, Inc.
 3719   The Legend Of John Henry's Hammer                     Eu0000753362;     Warner Chappell Music, Inc.
                                                              RE0000519119
 3720   Trani                                                 PA0001204542      Warner Chappell Music, Inc.
 3721   Trip To Your Heart                                    PA0001750219      Warner Chappell Music, Inc.
 3722   U Started It                                          PA0001166323      Warner Chappell Music, Inc.
 3723   Understand Your Man                                   Eu0000805018      Warner Chappell Music, Inc.
 3724   Wasted Time                                           PA0001204540      Warner Chappell Music, Inc.
 3725   You Look So Good In Love                              PAu000502409      Warner Chappell Music, Inc.
 3726   Yummy                                                 PA0001166324      Warner Chappell Music, Inc.
 3727   Better In The Long Run                                PA0001790002      Warner Chappell Music, Inc. / Warner-Tamerlane Publishing Corp.
 3728   1st Time                                              PA0001347989      Warner-Tamerlane Publishing Corp.
 3729   6 Foot 7 Foot                                         PA0001807261      Warner-Tamerlane Publishing Corp.
 3730   Abortion                                              PA0001842433      Warner-Tamerlane Publishing Corp.
 3731   All Kinds of Kinds                                    PA0001789995      Warner-Tamerlane Publishing Corp.
 3732   All Of The Lights                                     PA0001791088      Warner-Tamerlane Publishing Corp.




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        Track                                                 Reg. No.          Plaintiff
 3733   All Of The Lights (Interlude)                         PA0001773393      Warner-Tamerlane Publishing Corp.
 3734   All Summer Long                                       PA0001643681      Warner-Tamerlane Publishing Corp.
 3735   All The Shine                                         PA0001773706      Warner-Tamerlane Publishing Corp.
 3736   Almost Lose It                                        PA0001846094      Warner-Tamerlane Publishing Corp.
 3737   Already Taken                                         PA0001902781      Warner-Tamerlane Publishing Corp.
 3738   Apple Pie Moonshine                                   PA0001761402      Warner-Tamerlane Publishing Corp.
 3739   As You Turn Away                                      PA0001817433      Warner-Tamerlane Publishing Corp.
 3740   Baby Come Home                                        PA0001114113      Warner-Tamerlane Publishing Corp.
 3741   Bad Decisions                                         PA0001865868      Warner-Tamerlane Publishing Corp.
 3742   Banjo                                                 PA0001853119      Warner-Tamerlane Publishing Corp.
 3743   Barry Bonds                                           PA0001861693      Warner-Tamerlane Publishing Corp.
 3744   Because Of Your Love                                  PA0001249901      Warner-Tamerlane Publishing Corp.
 3745   Bending the Rules and Breaking the Law                PA0001694074      Warner-Tamerlane Publishing Corp.
 3746   Blame Game                                            PA0001784046      Warner-Tamerlane Publishing Corp.
 3747   Blaze Of Glory                                        PA0000115623      Warner-Tamerlane Publishing Corp.
 3748   Blue Ocean Floor                                      PA0001915504      Warner-Tamerlane Publishing Corp.
 3749   Body 2 Body                                           PA0001868401      Warner-Tamerlane Publishing Corp.
 3750   Body Ache                                             PA0001917965      Warner-Tamerlane Publishing Corp.
 3751   Bottle Poppin'                                        PA0001648776      Warner-Tamerlane Publishing Corp.
 3752   Bound 2                                               PA0001921191      Warner-Tamerlane Publishing Corp.
 3753   Bravo                                                 PA0001778260      Warner-Tamerlane Publishing Corp.
 3754   Breathe                                               PA0001349255      Warner-Tamerlane Publishing Corp.
 3755   Burn It To The Ground                                 PA0001638902      Warner-Tamerlane Publishing Corp.
 3756   BYOB                                                  PA0001648815      Warner-Tamerlane Publishing Corp.
 3757   Camouflage                                            PA0002001267      Warner-Tamerlane Publishing Corp.
 3758   Candy                                                 PA0001763960      Warner-Tamerlane Publishing Corp.
 3759   Carried Away                                          PA0000830048      Warner-Tamerlane Publishing Corp.
 3760   Carrying Your Love With Me                            PA0000849801      Warner-Tamerlane Publishing Corp.
 3761   Champion                                              PA0001807224      Warner-Tamerlane Publishing Corp.
 3762   Changed                                               PA0001853120      Warner-Tamerlane Publishing Corp.
 3763   Chapter V                                             PA0001865863      Warner-Tamerlane Publishing Corp.
 3764   Chevy Smile                                           PA0001648814      Warner-Tamerlane Publishing Corp.
 3765   Cigarettes and Coffee                                 Eu0000684610;     Warner-Tamerlane Publishing Corp.
                                                              RE0000442404
 3766 Circus                                                  PA0001622999      Warner-Tamerlane Publishing Corp.
 3767 Cocky                                                   PAu002625389;     Warner-Tamerlane Publishing Corp.
                                                              PA0001114105
 3768   Cold As Stone                                         PA0001817040      Warner-Tamerlane Publishing Corp.
 3769   Come A Little Closer                                  PA0001069964      Warner-Tamerlane Publishing Corp.
 3770   Come Wake Me Up                                       PA0001853117      Warner-Tamerlane Publishing Corp.
 3771   Compass                                               PA0001879179      Warner-Tamerlane Publishing Corp.
 3772   Control Myself                                        PA0001599521      Warner-Tamerlane Publishing Corp.
 3773   Crazy                                                 PA0001338240      Warner-Tamerlane Publishing Corp.
 3774   Dancin' Away With My Heart                            PA0001817030      Warner-Tamerlane Publishing Corp.
 3775   Days Like These                                       PA0001790666      Warner-Tamerlane Publishing Corp.
 3776   Dear Mama                                             PA0000773741      Warner-Tamerlane Publishing Corp.
 3777   Dear Old Nicki                                        PA0001739207      Warner-Tamerlane Publishing Corp.
 3778   Devil In A New Dress                                  PA0001791337      Warner-Tamerlane Publishing Corp.
 3779   Dirt Road Anthem                                      PA0001694080      Warner-Tamerlane Publishing Corp.
 3780   Dive In                                               PA0001868040      Warner-Tamerlane Publishing Corp.
 3781   Domino                                                PA0001853396      Warner-Tamerlane Publishing Corp.
 3782   Don't Be Scared                                       PA0001931589      Warner-Tamerlane Publishing Corp.
 3783   Don't Forget Me                                       EU0000494299;     Warner-Tamerlane Publishing Corp.
                                                              RE0000857922
 3784   Don't Hold The Wall                                   PA0001915504      Warner-Tamerlane Publishing Corp.
 3785   Don't Play Wit It                                     PA0001347984      Warner-Tamerlane Publishing Corp.
 3786   Don't Tell Me U Love Me                               PA0001638755      Warner-Tamerlane Publishing Corp.
 3787   Doorbell                                              PA0001856251      Warner-Tamerlane Publishing Corp.
 3788   Dope Boy Magic                                        PA0001347985      Warner-Tamerlane Publishing Corp.
 3789   Downtown Girl                                         PA0001856129      Warner-Tamerlane Publishing Corp.
 3790   Drop The World                                        PA0001848752      Warner-Tamerlane Publishing Corp.
 3791   Drunk And Hot Girls                                   PA0001592989      Warner-Tamerlane Publishing Corp.
 3792   Drunk In the Morning                                  PAu002607513;     Warner-Tamerlane Publishing Corp.
                                                              PA0001114114
 3793   Easy                                                  PA0001349254      Warner-Tamerlane Publishing Corp.
 3794   Every Girl                                            PA0001741596      Warner-Tamerlane Publishing Corp.
 3795   Extravaganza                                          PA0001323666      Warner-Tamerlane Publishing Corp.
 3796   Fall Into Me                                          PA0001884101      Warner-Tamerlane Publishing Corp.
 3797   Fancy                                                 PA0001852254      Warner-Tamerlane Publishing Corp.
 3798   Fast Cars And Freedom                                 PA0001268341      Warner-Tamerlane Publishing Corp.
 3799   Feng Shui                                             PA0001338255      Warner-Tamerlane Publishing Corp.
 3800   Find Your Way Back                                    PAU000291891      Warner-Tamerlane Publishing Corp.
 3801   Fire Fly                                              PA0001773710      Warner-Tamerlane Publishing Corp.
 3802   Flip Flop                                             PA0001347987      Warner-Tamerlane Publishing Corp.
 3803   Flowers                                               PA0001162294      Warner-Tamerlane Publishing Corp.
 3804   Forever                                               PAu002635078;     Warner-Tamerlane Publishing Corp.
                                                              PA0001114104




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        Track                                                 Reg. No.         Plaintiff
 3805   Forever Unstoppable                                   PA0001856129     Warner-Tamerlane Publishing Corp.
 3806   Forever Yours                                         PA0001865870     Warner-Tamerlane Publishing Corp.
 3807   Fumble                                                PA0001866132     Warner-Tamerlane Publishing Corp.
 3808   Gasoline                                              PA0001750221     Warner-Tamerlane Publishing Corp.
 3809   Get Some                                              PA0001253726     Warner-Tamerlane Publishing Corp.
 3810   Getting To Da Money                                   PA0001648763     Warner-Tamerlane Publishing Corp.
 3811   Ghetto Love                                           PA0001396265     Warner-Tamerlane Publishing Corp.
 3812   Girls Around The World                                PA0001677803     Warner-Tamerlane Publishing Corp.
 3813   Go N' Get It                                          PA0001808406     Warner-Tamerlane Publishing Corp.
 3814   Gorgeous                                              PA0001740943     Warner-Tamerlane Publishing Corp.
 3815   Got To Get My Heart Back                              PA0001603589     Warner-Tamerlane Publishing Corp.
 3816   Gotta Be Somebody                                     PA0001638896     Warner-Tamerlane Publishing Corp.
 3817   Hail Mary                                             PA0001865861     Warner-Tamerlane Publishing Corp.
 3818   Halfway to Heaven                                     PA0001693861     Warner-Tamerlane Publishing Corp.
 3819   Harajuku Girls                                        PA0001274356     Warner-Tamerlane Publishing Corp.
 3820   Hate Sleeping Alone                                   PA0001997263     Warner-Tamerlane Publishing Corp.
 3821   Hear Me Coming                                        PA0001347989     Warner-Tamerlane Publishing Corp.
 3822   Heart Attack                                          PA0001931588     Warner-Tamerlane Publishing Corp.
 3823   Hell On Wheels                                        PA0001694071     Warner-Tamerlane Publishing Corp.
 3824   Hell Yeah                                             PA0001648815     Warner-Tamerlane Publishing Corp.
 3825   Hello                                                 PA0001892996     Warner-Tamerlane Publishing Corp.
 3826   Hello Good Morning                                    PA0001745034     Warner-Tamerlane Publishing Corp.
 3827   Hold Up                                               PA0001741949     Warner-Tamerlane Publishing Corp.
 3828   Hollywood Divorce                                     PA0001603423     Warner-Tamerlane Publishing Corp.
 3829   How To Hate                                           PA0001807231     Warner-Tamerlane Publishing Corp.
 3830   How To Love                                           PA0001807262     Warner-Tamerlane Publishing Corp.
 3831   How You Remind Me                                     PA0001103818     Warner-Tamerlane Publishing Corp.
 3832   Hustle Hard Remix                                     PA0001794383     Warner-Tamerlane Publishing Corp.
 3833   Hustlemania (Skit)                                    PA0001648764     Warner-Tamerlane Publishing Corp.
 3834   HYFR (Hell Ya F***ing Right)                          PA0001869936     Warner-Tamerlane Publishing Corp.
 3835   Hyyerr                                                PA0001679583     Warner-Tamerlane Publishing Corp.
 3836   I Ain't Goin' Out Like That                           PA0000848472     Warner-Tamerlane Publishing Corp.
 3837   I Am Not A Human Being                                PA0001741896     Warner-Tamerlane Publishing Corp.
 3838   I Can Transform Ya                                    PA0001744956     Warner-Tamerlane Publishing Corp.
 3839   I Cross My Heart                                      PA0000593349     Warner-Tamerlane Publishing Corp.
 3840   I Get It                                              PA0001387419     Warner-Tamerlane Publishing Corp.
 3841   I Know You See It                                     PA0001347990     Warner-Tamerlane Publishing Corp.
 3842   I Know You Won't                                      PA0001644685     Warner-Tamerlane Publishing Corp.
 3843   I Like It Like That                                   PA0001856125     Warner-Tamerlane Publishing Corp.
 3844   I Like The View                                       PA0001807227     Warner-Tamerlane Publishing Corp.
 3845   I Melt                                                PA0001136262     Warner-Tamerlane Publishing Corp.
 3846   I Run To You                                          PA0001706945     Warner-Tamerlane Publishing Corp.
 3847   I Stand Accused                                       EP0000329319     Warner-Tamerlane Publishing Corp.
 3848   I'd Come For You                                      PA0001708562     Warner-Tamerlane Publishing Corp.
 3849   If Drinkin' Don't Kill Me (Her Memory Will)           PA0000102104     Warner-Tamerlane Publishing Corp.
 3850   If Today Was Your Last Day                            PA0001622259     Warner-Tamerlane Publishing Corp.
 3851   If You Want A Bad Boy                                 PA0001971305     Warner-Tamerlane Publishing Corp.
 3852   I'm Him                                               PA0001347988     Warner-Tamerlane Publishing Corp.
 3853   I'm Me                                                PA0001619819     Warner-Tamerlane Publishing Corp.
 3854   I'm Single                                            PA0001741951     Warner-Tamerlane Publishing Corp.
 3855   I'm So Blessed                                        PA0001852361     Warner-Tamerlane Publishing Corp.
 3856   I'm So Over You                                       PA0001732191     Warner-Tamerlane Publishing Corp.
 3857   I'm The Best                                          PA0001739207     Warner-Tamerlane Publishing Corp.
 3858   Initiation                                            PA0001951618     Warner-Tamerlane Publishing Corp.
 3859   Inside Interlewd                                      PA0001866129     Warner-Tamerlane Publishing Corp.
 3860   Interlude                                             PA0001807226     Warner-Tamerlane Publishing Corp.
 3861   Interlude4U                                           PA0001865878     Warner-Tamerlane Publishing Corp.
 3862   Intro                                                 PA0001807226     Warner-Tamerlane Publishing Corp.
 3863   Islands In The Stream                                 PA0000188026     Warner-Tamerlane Publishing Corp.
 3864   It Did                                                PA0001628194     Warner-Tamerlane Publishing Corp.
 3865   It Will Be Me                                         PA0000988177     Warner-Tamerlane Publishing Corp.
 3866   It's Five O' Clock Somewhere                          PA0001158580     Warner-Tamerlane Publishing Corp.
 3867   It's Good                                             PA0001842432     Warner-Tamerlane Publishing Corp.
 3868   It's Not Over                                         PA0001349172     Warner-Tamerlane Publishing Corp.
 3869   Jackson, Mississippi                                  PA0001311747     Warner-Tamerlane Publishing Corp.
 3870   Jam For The Ladies                                    PA0001075467     Warner-Tamerlane Publishing Corp.
 3871   Jane                                                  PAU000269243     Warner-Tamerlane Publishing Corp.
 3872   Jesus For A Day                                       PA0001157410     Warner-Tamerlane Publishing Corp.
 3873   Johnny Cash                                           PA0001292991     Warner-Tamerlane Publishing Corp.
 3874   Just A Kiss                                           PA0001817035     Warner-Tamerlane Publishing Corp.
 3875   Just To Get High                                      PA0001622259     Warner-Tamerlane Publishing Corp.
 3876   Keep The Girl                                         PA0001935083     Warner-Tamerlane Publishing Corp.
 3877   Keep You With Me                                      PA0001856129     Warner-Tamerlane Publishing Corp.
 3878   Knock It Out                                          PA0001347991     Warner-Tamerlane Publishing Corp.
 3879   Knock You Down                                        PA0001767248     Warner-Tamerlane Publishing Corp.
 3880   Ladies Go Wild                                        PA0001846093     Warner-Tamerlane Publishing Corp.




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      Track                                                   Reg. No.          Plaintiff
 3881 Lay It On Me                                            PAu002607508;     Warner-Tamerlane Publishing Corp.
                                                              PA0001114110
 3882   Layin' It on the Line                                 PA0000215600      Warner-Tamerlane Publishing Corp.
 3883   LES                                                   PA0001773586      Warner-Tamerlane Publishing Corp.
 3884   Let It Rock                                           PA0001624274      Warner-Tamerlane Publishing Corp.
 3885   Let The Beat Build                                    PA0001621374      Warner-Tamerlane Publishing Corp.
 3886   Let The Groove Get In                                 PA0001915504      Warner-Tamerlane Publishing Corp.
 3887   Let's Make Love                                       PA0000988178      Warner-Tamerlane Publishing Corp.
 3888   Lifeline                                              PA0001671748      Warner-Tamerlane Publishing Corp.
 3889   Like I Love You                                       PA0001157796      Warner-Tamerlane Publishing Corp.
 3890   Like My Style                                         PA0001248733      Warner-Tamerlane Publishing Corp.
 3891   Like We Never Loved At All                            PA0001290857      Warner-Tamerlane Publishing Corp.
 3892   Linger                                                PA0000608834      Warner-Tamerlane Publishing Corp.
 3893   Lollipop                                              PA0001619781      Warner-Tamerlane Publishing Corp.
 3894   Lonely Road Of Faith                                  PAu002635077;     Warner-Tamerlane Publishing Corp.
                                                              PA0001114106
 3895   Look At Me Now                                        PA0001921210      Warner-Tamerlane Publishing Corp.
 3896   Lookin' At You                                        PA0001263491      Warner-Tamerlane Publishing Corp.
 3897   Looks That Kill                                       PA0000193924      Warner-Tamerlane Publishing Corp.
 3898   Love Faces                                            PA0001856243      Warner-Tamerlane Publishing Corp.
 3899   Love In This Club, Part II                            PA0001690182      Warner-Tamerlane Publishing Corp.
 3900   Love I've Found In You                                PA0001817038      Warner-Tamerlane Publishing Corp.
 3901   Made To Be Together                                   PA0001856238      Warner-Tamerlane Publishing Corp.
 3902   Main Title (From "Star Wars")                         PA0000062943      Warner-Tamerlane Publishing Corp.
 3903   Make Me Proud                                         PA0001869946      Warner-Tamerlane Publishing Corp.
 3904   Mama's Broken Heart                                   PA0001790000      Warner-Tamerlane Publishing Corp.
 3905   Medicated                                             PA0001952869      Warner-Tamerlane Publishing Corp.
 3906   MegaMan                                               PA0001807233      Warner-Tamerlane Publishing Corp.
 3907   Memory Lane                                           PA0001868403      Warner-Tamerlane Publishing Corp.
 3908   Mercy                                                 PA0001913931      Warner-Tamerlane Publishing Corp.
 3909   Midnight Train To Memphis                             PA0001114112      Warner-Tamerlane Publishing Corp.
 3910   Miss Me                                               PA0001728552      Warner-Tamerlane Publishing Corp.
 3911   Moment 4 Life                                         PA0001739210      Warner-Tamerlane Publishing Corp.
 3912   Momma                                                 PA0001648755      Warner-Tamerlane Publishing Corp.
 3913   My Kinda Party                                        PA0001750920      Warner-Tamerlane Publishing Corp.
 3914   Never Again                                           PA0001819832      Warner-Tamerlane Publishing Corp.
 3915   Never Ever                                            PA0001659049      Warner-Tamerlane Publishing Corp.
 3916   New Joc City - Intro                                  PA0001347982      Warner-Tamerlane Publishing Corp.
 3917   Next Go Round                                         PA0001622259      Warner-Tamerlane Publishing Corp.
 3918   Nightmares Of The Bottom                              PA0001915461      Warner-Tamerlane Publishing Corp.
 3919   No                                                    PA0001628202      Warner-Tamerlane Publishing Corp.
 3920   Not Over You                                          PA0001763962      Warner-Tamerlane Publishing Corp.
 3921   One Last Time                                         PA0001625727      Warner-Tamerlane Publishing Corp.
 3922   One, Two Step                                         PA0001263489      Warner-Tamerlane Publishing Corp.
 3923   Outro                                                 PA0001807226      Warner-Tamerlane Publishing Corp.
 3924   Outside                                               PA0001773713      Warner-Tamerlane Publishing Corp.
 3925   Outta Here                                            PA0001209421      Warner-Tamerlane Publishing Corp.
 3926   Own It                                                PA0001891427      Warner-Tamerlane Publishing Corp.
 3927   P.Y.T. (Pretty Young Thing)                           PA0000159305      Warner-Tamerlane Publishing Corp.
 3928   Paint This House                                      PA0001882750      Warner-Tamerlane Publishing Corp.
 3929   Pak Man                                               PA0001648771      Warner-Tamerlane Publishing Corp.
 3930   Panic Prone                                           PA0001253726      Warner-Tamerlane Publishing Corp.
 3931   Panty Wetter                                          PA0001865865      Warner-Tamerlane Publishing Corp.
 3932   Paper Scissors Rock                                   PA0001866592      Warner-Tamerlane Publishing Corp.
 3933   Patron                                                PA0001347986      Warner-Tamerlane Publishing Corp.
 3934   Phone Home                                            PA0001621245      Warner-Tamerlane Publishing Corp.
 3935   Pick Up The Phone                                     PA0001263490      Warner-Tamerlane Publishing Corp.
 3936   Picture Perfect                                       PA0001347992      Warner-Tamerlane Publishing Corp.
 3937   Play Your Cards                                       PA0001648743      Warner-Tamerlane Publishing Corp.
 3938   Player's Prayer                                       PA0001387429      Warner-Tamerlane Publishing Corp.
 3939   Playin' Hard                                          PA0001866123      Warner-Tamerlane Publishing Corp.
 3940   Playin' Our Song                                      PA0001670197      Warner-Tamerlane Publishing Corp.
 3941   Please Return My Call                                 PA0001771885      Warner-Tamerlane Publishing Corp.
 3942   Pocahontas Proud                                      PA0001227155      Warner-Tamerlane Publishing Corp.
 3943   Pop That                                              PA0001861940      Warner-Tamerlane Publishing Corp.
 3944   Popular                                               PA0001741903      Warner-Tamerlane Publishing Corp.
 3945   Prayin' For Daylight                                  PA0000978701      Warner-Tamerlane Publishing Corp.
 3946   President Carter                                      PA0001807235      Warner-Tamerlane Publishing Corp.
 3947   Pretty Girl's Lie                                     PA0001865867      Warner-Tamerlane Publishing Corp.
 3948   Pusher Love Girl                                      PA0001915504      Warner-Tamerlane Publishing Corp.
 3949   Queen Of Hearts                                       PA0001742580      Warner-Tamerlane Publishing Corp.
 3950   Radiation                                             PA0001763960      Warner-Tamerlane Publishing Corp.
 3951   Radio                                                 PA0001630369      Warner-Tamerlane Publishing Corp.
 3952   Ready Or Not                                          PA0000844694      Warner-Tamerlane Publishing Corp.
 3953   Rest Of Our Life                                      PA0001896429      Warner-Tamerlane Publishing Corp.
 3954   Rewind                                                PA0001969112      Warner-Tamerlane Publishing Corp.
 3955   Right Above It                                        PA0001741926      Warner-Tamerlane Publishing Corp.




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        Track                                                 Reg. No.          Plaintiff
 3956   Right One Time                                        PA0001853122      Warner-Tamerlane Publishing Corp.
 3957   Rise Above                                            PA0001951621      Warner-Tamerlane Publishing Corp.
 3958   Rock Your Body                                        PA0001157796      Warner-Tamerlane Publishing Corp.
 3959   Run Every Time                                        PA0001763961      Warner-Tamerlane Publishing Corp.
 3960   S.E.X.                                                PA0001622259      Warner-Tamerlane Publishing Corp.
 3961   Salvation                                             PA0000791575      Warner-Tamerlane Publishing Corp.
 3962   See Me Now                                            PA0001865581      Warner-Tamerlane Publishing Corp.
 3963   See You In My Nightmares                              PA0001643088      Warner-Tamerlane Publishing Corp.
 3964   See You When I See You                                PA0001790669      Warner-Tamerlane Publishing Corp.
 3965   Senorita                                              PA0001157796      Warner-Tamerlane Publishing Corp.
 3966   Session One                                           PA0001848890      Warner-Tamerlane Publishing Corp.
 3967   Sex In The Lounge                                     PA0001842417      Warner-Tamerlane Publishing Corp.
 3968   Shakin' Hands                                         PA0001638848      Warner-Tamerlane Publishing Corp.
 3969   Shame                                                 PA0001878241      Warner-Tamerlane Publishing Corp.
 3970   Shattered Glass                                       PA0001632385      Warner-Tamerlane Publishing Corp.
 3971   She Don't Have to Know                                PA0001299028      Warner-Tamerlane Publishing Corp.
 3972   She Will                                              PA0001807232      Warner-Tamerlane Publishing Corp.
 3973   Shine                                                 PA0001778259      Warner-Tamerlane Publishing Corp.
 3974   Shoot Me Down                                         PA0001915522      Warner-Tamerlane Publishing Corp.
 3975   Shut It Down                                          PA0001870871      Warner-Tamerlane Publishing Corp.
 3976   Simply Amazing                                        PA0001868036      Warner-Tamerlane Publishing Corp.
 3977   Skeletons                                             PA0001789847      Warner-Tamerlane Publishing Corp.
 3978   Ski Mask Way                                          PA0001281578      Warner-Tamerlane Publishing Corp.
 3979   So Special                                            PA0001807229      Warner-Tamerlane Publishing Corp.
 3980   Something In Your Mouth                               PA0001638848      Warner-Tamerlane Publishing Corp.
 3981   Somewhere Love Remains                                PA0001817433      Warner-Tamerlane Publishing Corp.
 3982   Spaceship Coupe                                       PA0001915506      Warner-Tamerlane Publishing Corp.
 3983   Spell It Out                                          PA0001763961      Warner-Tamerlane Publishing Corp.
 3984   St. Elsewhere                                         PA0001338251      Warner-Tamerlane Publishing Corp.
 3985   Stealing                                              PA0001763960      Warner-Tamerlane Publishing Corp.
 3986   Stop, Look, Listen (To Your Heart)                    EP0000286226      Warner-Tamerlane Publishing Corp.
 3987   Straight Jacket Fashion                               PA0001387418      Warner-Tamerlane Publishing Corp.
 3988   Straight Up                                           PA0001808141      Warner-Tamerlane Publishing Corp.
 3989   Stranger                                              PAU000291890      Warner-Tamerlane Publishing Corp.
 3990   Strawberry Bubblegum                                  PA0001915506      Warner-Tamerlane Publishing Corp.
 3991   StreetLove                                            PA0001387433      Warner-Tamerlane Publishing Corp.
 3992   Summon The Heroes                                     PA0000844744      Warner-Tamerlane Publishing Corp.
 3993   Sunrise                                               PA0001773580      Warner-Tamerlane Publishing Corp.
 3994   Sunshine & Summertime                                 PA0001290858      Warner-Tamerlane Publishing Corp.
 3995   Sweeter                                               PA0001763962      Warner-Tamerlane Publishing Corp.
 3996   Take It Outside                                       PA0001694081      Warner-Tamerlane Publishing Corp.
 3997   Take You Home                                         PA0001387431      Warner-Tamerlane Publishing Corp.
 3998   Tapout                                                PA0001976125      Warner-Tamerlane Publishing Corp.
 3999   Tattoos On This Town                                  PA0001790667      Warner-Tamerlane Publishing Corp.
 4000   Teach Me How To Dougie                                PA0001744864      Warner-Tamerlane Publishing Corp.
 4001   Tell Somebody                                         PA0001842284      Warner-Tamerlane Publishing Corp.
 4002   Texas Was You                                         PA0001790669      Warner-Tamerlane Publishing Corp.
 4003   That Girl                                             PA0001915505      Warner-Tamerlane Publishing Corp.
 4004   That Power                                            PA0001773578      Warner-Tamerlane Publishing Corp.
 4005   The Boogie Monster                                    PA0001338253      Warner-Tamerlane Publishing Corp.
 4006   The Clincher                                          PA0001253725      Warner-Tamerlane Publishing Corp.
 4007   The Fad                                               PA0001387418      Warner-Tamerlane Publishing Corp.
 4008   The Night Before (Life Goes On)                       PA0001302091      Warner-Tamerlane Publishing Corp.
 4009   The Real Her                                          PA0001869994      Warner-Tamerlane Publishing Corp.
 4010   Them Boys                                             PA0001693846      Warner-Tamerlane Publishing Corp.
 4011   There Goes My Life                                    PA0001209420      Warner-Tamerlane Publishing Corp.
 4012   This Afternoon                                        PA0001638899      Warner-Tamerlane Publishing Corp.
 4013   Thug Style                                            PA0001263491      Warner-Tamerlane Publishing Corp.
 4014   Tie My Hands                                          PA0001621378      Warner-Tamerlane Publishing Corp.
 4015   Till I Die                                            PA0001842278      Warner-Tamerlane Publishing Corp.
 4016   Time                                                  PA0001760169      Warner-Tamerlane Publishing Corp.
 4017   Transformer                                           PA0001338256      Warner-Tamerlane Publishing Corp.
 4018   Trumpet Lights                                        PA0001842283      Warner-Tamerlane Publishing Corp.
 4019   Tunnel Vision                                         PA0001915506      Warner-Tamerlane Publishing Corp.
 4020   Turnin Me On                                          PA0001881520      Warner-Tamerlane Publishing Corp.
 4021   Two Shots                                             PA0001842435      Warner-Tamerlane Publishing Corp.
 4022   Under Ground Kings                                    PA0001808381      Warner-Tamerlane Publishing Corp.
 4023   Up Up And Away                                        PA0001997140      Warner-Tamerlane Publishing Corp.
 4024   Valentine                                             PA0001387428      Warner-Tamerlane Publishing Corp.
 4025   Vitamin R (Leading Us Along)                          PA0001253726      Warner-Tamerlane Publishing Corp.
 4026   Waitin' On a Woman                                    PA0001288292      Warner-Tamerlane Publishing Corp.
 4027   Walking On The Moon                                   PA0001893004      Warner-Tamerlane Publishing Corp.
 4028   Wanted You More                                       PA0001817205      Warner-Tamerlane Publishing Corp.
 4029   Wasted                                                PA0001302090      Warner-Tamerlane Publishing Corp.
 4030   Watch N Learn                                         PA0001842405      Warner-Tamerlane Publishing Corp.
 4031   WCSR                                                  PAu002607518;     Warner-Tamerlane Publishing Corp.
                                                              PA0001114103




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        Track                                                 Reg. No.          Plaintiff
 4032   We Been On                                            PA0001995834      Warner-Tamerlane Publishing Corp.
 4033   We'll Be Fine                                         PA0001869942      Warner-Tamerlane Publishing Corp.
 4034   Well Enough Alone                                     PA0001387417      Warner-Tamerlane Publishing Corp.
 4035   What Happened                                         PA0001227154      Warner-Tamerlane Publishing Corp.
 4036   What I Learned Out On The Road                        PAu002625391;     Warner-Tamerlane Publishing Corp.
                                                              PA0001114109
 4037   What You Wanna Do                                     PA0001387432      Warner-Tamerlane Publishing Corp.
 4038   Whatever                                              PA0001856129      Warner-Tamerlane Publishing Corp.
 4039   When I Think About Cheatin'                           PA0001227155      Warner-Tamerlane Publishing Corp.
 4040   When I Think About Leaving                            PA0001209065      Warner-Tamerlane Publishing Corp.
 4041   When It Rains                                         PA0001227155      Warner-Tamerlane Publishing Corp.
 4042   When U Love Someone                                   PA0001638755      Warner-Tamerlane Publishing Corp.
 4043   When You Were Mine                                    PA0001817032      Warner-Tamerlane Publishing Corp.
 4044   Where You Are                                         PA0001763960      Warner-Tamerlane Publishing Corp.
 4045   Wide Open                                             PA0001935080      Warner-Tamerlane Publishing Corp.
 4046   Wild Ones                                             PA0001883945      Warner-Tamerlane Publishing Corp.
 4047   Wind Beneath My Wings / He Hawai`i Au                 PA0000154386      Warner-Tamerlane Publishing Corp.
 4048   Wish You Would                                        PA0001660102      Warner-Tamerlane Publishing Corp.
 4049   Work Hard, Play Hard                                  PA0001951615      Warner-Tamerlane Publishing Corp.
 4050   Wut We Doin?                                          PA0001846684      Warner-Tamerlane Publishing Corp.
 4051   You                                                   PA0001387424      Warner-Tamerlane Publishing Corp.
 4052   You And Me                                            PA0001271822      Warner-Tamerlane Publishing Corp.
 4053   You Are Everything                                    EP0000291953      Warner-Tamerlane Publishing Corp.
 4054   You Know Where I'm At                                 PA0001763960      Warner-Tamerlane Publishing Corp.
 4055   You Never Met A Motherf**Ker Quite Like Me            PAu002607516;     Warner-Tamerlane Publishing Corp.
                                                              PA0001114102
 4056   You Will Be Mine                                      PAu001966658      Warner-Tamerlane Publishing Corp.
 4057   Zombie                                                PA0000734574      Warner-Tamerlane Publishing Corp.
 4058   TRUE                                                  PA0000895879      Warner-Tamerlane Publishing Corp.
 4059   Grove St. Party                                       PA0001739117      Warner-Tamerlane Publishing Corp.
 4060   My Wild Frontier                                      PA0000901850      Warner-Tamerlane Publishing Corp.
 4061   Naughty Girl                                          PA0001375850      Warner-Tamerlane Publishing Corp.
 4062   No Love                                               PA0001735858      Warner-Tamerlane Publishing Corp.
 4063   Sugar                                                 PA0001638753      Warner-Tamerlane Publishing Corp.
 4064   Marvin & Chardonnay                                   PA0001780731      Warner-Tamerlane Publishing Corp. / Songs of Universal, Inc.




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